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             ORAL ARGUMENT NOT YET SCHEDULED

                         No. 23-1175 (L), 23-1222

        UNITED STATES COURT OF APPEALS FOR THE
             DISTRICT OF COLUMBIA CIRCUIT


                      CITY OF PORT ISABEL, et al.,
                                Petitioners,
                                     v.
         FEDERAL ENERGY REGULATORY COMMISSION,
                                Respondent.



                     TEXAS LNG BROWNSVILLE, LLC,
                         Intervenor for Respondent.


                 On Petition for Review of Order of the
                Federal Energy Regulatory Commission


                           JOINT APPENDIX

                             VOLUME I OF I



              COUNSEL LISTED ON INSIDE COVER

                                                      Dated: March 15, 2024
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                                       183 FERC ¶ 61,047
                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Willie L. Phillips, Acting Chairman;
                               James P. Danly, Allison Clements,
                               and Mark C. Christie.

         Texas LNG Brownsville LLC                                         Docket No. CP16-116-002

                                           ORDER ON REMAND

                                           (Issued April 21, 2023)

                 The United States Court of Appeals for the District of Columbia Circuit (D.C.
         Circuit)1 remanded the Commission’s orders authorizing Texas LNG Brownsville LLC’s
         (Texas LNG) construction and operation of the Texas LNG Project,2 directing the
         Commission to (1) explain whether 40 C.F.R. § 1502.21(c) calls for [the Commission] to
         apply the social cost of carbon protocol or some other analytical framework, as ‘generally
         accepted in the scientific community’ within the meaning of the regulation, and if not,
         why not;”3 and (2) “explain why it chose to analyze the projects’ impacts only on
         [environmental justice] communities in census blocks within two miles of the project
         sites, or else analyze the projects’ impacts on [environmental justice] communities within
         a different radius of each project site.”4 Further, the court directed the Commission to
         revisit its public interest determination under section 3 of the Natural Gas Act (NGA).5



               1
                 Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321
         (D.C. Cir. 2021) (Vecinos).
               2
                  Texas LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019) (Authorization Order),
         order on reh’g, Texas LNG Brownsville LLC, 170 FERC ¶ 61,139 (2020) (Rehearing
         Order). The D.C. Circuit also remanded, in the same opinion, the Commission’s
         authorization for Rio Grande LNG, LLC to construct and operate an LNG terminal and
         pipeline, which the Commission addressed in a separate order issued concurrently.
         Rio Grande LNG, LLC, 183 FERC ¶ 61,046 (2023).
               3
                   Vecinos, 6 F.4th at 1330.
               4
                   Id. at 1331.
               5
                   Vecinos, 6 F.4th at 1331-32.




                                                                                        JA001
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                We supplement our environmental analysis of the Texas LNG Project by
         (1) addressing the argument regarding the social cost of carbon and 40 C.F.R.
         § 1502.21(c); and (2) updating our analysis of the project’s environmental justice impacts
         consistent with the Commission’s current practice. We reaffirm that the Texas LNG
         Project, as conditioned in the Order Granting Authorization Under Section 3 of the NGA
         (Authorization Order)6 and as modified herein, is not inconsistent with the public
         interest.7

        I.      Background

                Texas LNG, a limited liability company organized under the laws of Delaware
         with its headquarters in Houston, Texas, is a single purpose subsidiary of
         Texas LNG LLC. As its operations will not be in interstate commerce, Texas LNG will
         not be a natural gas company as defined in the NGA,8 although it will be subject to the
         Commission’s jurisdiction under NGA section 3.

                A.       Authorization Order

                On November 22, 2019, the Commission authorized Texas LNG to construct and
         operate a liquefied natural gas (LNG) export terminal and associated facilities in order to
         export approximately 4 million metric tonnes per annum (MTPA) of natural gas as LNG.9
         The project will be sited on 625 acres of land10 and include two full-containment LNG


                6
                    Authorization Order, 169 FERC ¶ 61,130.
                7
                    See id. PP 21, 86.
                8
                   Section 2(6) of the NGA defines a natural gas company to be a person engaged
         in the transportation of natural gas in interstate commerce. 15 U.S.C. § 717a(6).
                9
                  On September 24, 2015, Texas LNG received authorization from the Department
         of Energy, Office of Fossil Energy (DOE) to export the project’s full capacity, which is
         equivalent to 204.4 billion cubic feet (Bcf) annually (approximately 0.56 Bcf per
         day (Bcf/d)) equivalent of natural gas, in the form of LNG to countries with which the
         United States has a Free Trade Agreement (FTA). Texas LNG Brownsville LNG,
         DOE/FE Docket No. 15-62-LNG, Order No. 3716 (Sept. 24, 2015),
         https://www.energy.gov/sites/prod/files/2015/09/f26/ord3716.pdf. On February 10,
         2020, DOE issued an order authorizing Texas LNG to export LNG to non-FTA nations,
         but with which the U.S. still permits such trade. Texas LNG Brownsville LNG, DOE/FE
         Docket No. 15-62-LNG; Order No. 4489 (Feb. 10, 2020)
         https://www.energy.gov/sites/prod/files/2020/02/f71/ord4489.pdf.
                10
                     Of the 625 acres, about 312 acres would be disturbed for construction of the



                                                                                          JA002
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         storage tanks with a capacity of approximately 210,000 cubic meters of LNG each; two
         liquefaction trains, each with a capacity of 2.0 MTPA of LNG;11 a single LNG carrier
         berth; mooring and loading facilities; and other appurtenant facilities.12 The terminal will
         receive natural gas via an approximately 10.2-mile-long non-jurisdictional intrastate
         natural gas pipeline that would interconnect with the Valley Crossing Pipeline.13 To date,
         Texas LNG has not begun construction of any facilities.

                 The Commission determined, based on the findings in the final Environmental
         Impact Statement (EIS) for the project,14 that the project’s direct and indirect impacts on
         environmental resources would be temporary or reduced to less-than-significant levels by
         the implementation of appropriate mitigation measures, with the exception of impacts on
         visual resources where the project would result in significant impacts when viewed from
         the Laguna Atascosa National Wildlife Refuge.15 In addition, the final EIS concluded
         that the Texas LNG Project, combined with other projects in the relevant geographic
         scope, would result in significant cumulative impacts: from sediment/turbidity and
         shoreline erosion within the Brownsville Ship Channel during operations from vessel
         transits;16 on the federally listed ocelot and jaguarundi, from habitat loss and potential for
         increased vehicular strikes during construction;17 on the federally listed aplomado falcon,
         from habitat loss;18 and on visual resources from the presence of aboveground



         project facilities. Authorization Order, 169 FERC ¶ 61,130 at P 54.
                11
                 While each liquefaction train will have a nameplate capacity of 2.25 MTPA,
         Texas LNG anticipates that as operated, each train will produce approximately 2.0 MTPA
         of LNG for export. Id. at n.5 (citing Application at 4, n.8).
                12
                     Id. P 5.
                13
                  The Valley Crossing Pipeline is a non-jurisdictional natural gas pipeline that
         extends southwest from a header system near the Agua Dulce natural gas hub in Nueces
         County, Texas, to a jurisdictional border-crossing facility east of Cameron County,
         Texas. See Valley Crossing Pipeline, LLC, 161 FERC ¶ 61,084, at P 4 (2017).
                14
                     The Texas LNG final EIS was issued on March 15, 2019.
                15
                     Final EIS at 4-115.
                16
                     Id. at 4-303.
                17
                     Id. at 4-317.
                18
                     Id. at 4-318.




                                                                                            JA003
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         structures.19 The final EIS noted that the Commission could not determine the project’s
         impacts on the environment caused by GHG emissions nor could it determine the
         significance of the project’s contribution to climate change.20 The final EIS found that
         neither the construction nor operation of the project would result in disproportionately
         high or adverse environmental and human health impacts on environmental justice
         communities.21 The Commission agreed with the conclusions presented in the final EIS
         and found that the project, if constructed and operated as described in the final EIS, is an
         environmentally acceptable action.22

                B.        Rehearing Order

                 On December 23, 2019, Sierra Club and seven other petitioners jointly23 sought
         rehearing of the Authorization Order. Sierra Club raised numerous concerns, including,
         air quality impacts, environmental justice impacts, mitigation measures, greenhouse gas
         emissions, and the Commission’s public interest determination. Specifically, Sierra Club
         stated that the Commission violated NEPA by failing to take a hard look at whether
         environmental justice communities will bear a disproportionate share of the negative
         environmental consequences from the project.24 Sierra Club also asserted that the
         Commission’s conclusions regarding its inability to determine whether the project’s GHG
         emissions and contribution to climate change were significant and its reasoning as to why
         it would not use the social cost of carbon protocol to assess the impacts from the project’s
         GHG emissions were arbitrary.25

                On February 21, 2020, the Commission denied rehearing. The Commission
         affirmed the Authorization Order’s decision to not calculate or apply the social cost of



                19
                     Id. at 4-327.
                20
                     Id. at 4-344.
                21
                     Id. at 4-156 to 4-157.
                22
                     Authorization Order, 169 FERC ¶ 61,130 at P 86
                23
                 Specifically, Sierra Club, Texas Rio Grande Legal Aid, Save RGV from LGV,
         Defenders of Wildlife, the City of South Padre Island, the City of Port Isabel, and the
         Town of Laguna Vista (collectively, Sierra Club) filed a request for rehearing.
                24
                     Sierra Club Request for Rehearing and Stay at 14-22.
                25
                     Id. at 27.




                                                                                           JA004
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         carbon protocol.26 The Commission concluded that the final EIS adequately identified
         and addressed impacts on environmental justice communities,27 and reaffirmed the
         conclusion from the final EIS and Authorization Order that there would not be any
         disproportionately high or adverse environmental and human health impacts on those
         communities.28 Subsequently, Sierra Club petitioned for review of the Authorization and
         Rehearing Orders in the D.C. Circuit.

                C.       The Court’s Remand Order

                On August 3, 2021, the D.C. Circuit remanded the Authorization and Rehearing
         Orders, holding that the Commission’s NEPA analyses of the project’s impacts on
         climate change and environmental justice communities were deficient under the
         Administrative Procedures Act (APA), and thus, the Commission “must also revisit its
         determinations of public interest and convenience under Sections 3 and 7 of the NGA.”29
         Specifically, the court held that the Commission failed to address the petitioners’
         argument concerning the applicability of the Council on Environmental Quality’s (CEQ)
         regulations with respect to whether the social cost of carbon protocol is “generally
         accepted” analytical tool for assessing the significance of GHG impacts, thereby
         rendering the analysis of the project’s GHG emissions deficient.30 The court directed the
         Commission on remand to: “explain whether 40 C.F.R. § 1502.21(c) calls for [the
         Commission] to apply the social cost of carbon protocol or some other analytical
         framework, as ‘generally accepted in the scientific community’ within the meaning of the
         regulation, and if not, why not.”31



                26
                     Rehearing Order, 170 FERC ¶ 61,139 at PP 72-74.
                27
                     Id. P 40.
                28
                     Id. PP 45, 47.
                29
                     Vecinos, 6 F.4th at 1331.
                30
                     Id. at 1329.
                31
                  Id. at 1329-30. Section 1502.21(c) provides that “[i]f . . . information relevant
         to reasonably foreseeable significant adverse impacts cannot be obtained because . . . the
         means to obtain it are not known, the agency shall include within the environmental
         impact statement . . . [t]he agency’s evaluation of such impacts based upon theoretical
         approaches or research methods generally accepted in the scientific community.”
         40 C.F.R § 1502.21(c) (2022). In its 2020 rulemaking, CEQ redesignated § 1502.22,
         “Incomplete or unavailable information” as § 1502.21 in the final rule.




                                                                                         JA005
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                 The court also held that the Commission’s decision to limit its environmental
         justice analysis of the project’s impacts to those affecting communities in census blocks
         within two miles of the project sites was arbitrary,32 given that the EIS had determined
         that certain environmental effects of the project would extend beyond that radius
         (e.g., the court noted that air quality impacts could occur within a radius of 31 miles).33
         The court directed the Commission on remand to explain why it chose to analyze the
         project’s impacts only on communities within a two-mile radius, or, in the alternative, to
         analyze the project’s impacts on communities within a different radius from the project
         site, and determine whether the Commission’s environmental justice conclusion still
         holds.34 Additionally, because the Commission’s analyses of the project’s impacts on
         climate change and environmental justice communities were deficient, the court directed
         the Commission to revisit its NGA public interest and public convenience and necessity
         determinations.35

         II.    Procedural Issues

                On February 3, August 16, August 31, and October 28, 2022, and on January 6,
         2023, Commission staff issued environmental information requests to Texas LNG
         regarding environmental justice communities, visual impacts, air quality modeling, and
         emergency planning, in order to address deficiencies noted in the D.C. Circuit’s decision.
         Texas LNG responded to Commission staff’s information requests on March 4, May 2,
         September 15, September 21, October 3, and November 7, 2022, and on January 30, and
         February 23, 2023.

               On September 30, 2022, the Commission issued a notice seeking public comments
         on Texas LNG’s responses. The notice stipulated that initial comments were due no later
         than October 21, 2022, and reply comments no later than November 4, 2022.

                 Numerous comments were filed during the initial comment period, including:
         (1) statements in general opposition to or support for the project; (2) assertions of
         deficiencies in Texas LNG’s responses, including the revised air modeling; (3) concerns
         with project impacts on environmental justice communities, including the air quality
         impacts of volatile organic compounds (VOC) and particulate matter on those
         communities, inadequate outreach to environmental justice communities, and insufficient
         information provided on the impacts of offsite parking locations and Texas LNG’s

                32
                     Vecinos, 6 F.4th at 1331.
                33
                     Id. at 1330.
                34
                     Id. at 1331.
                35
                     Id.




                                                                                          JA006
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         Emergency Response Plan; (4) concerns regarding climate change and GHGs; and
         (5) requests for public meetings in a town hall format with Spanish language translation
         and for all permit documents to be translated into the Spanish language. These comments
         are addressed below.

                On November 4, 2022, Texas LNG and American Petroleum Institute submitted
         reply comments requesting a prompt ruling on the remanded issues. As we are issuing
         this order, the requests are moot.

                As noted, commenters requested that the Commission hold public meetings in a
         town hall format.36 Commenters also requested that the Commission provide greater
         access to Spanish-speaking communities by providing Spanish language translation at
         any public meetings and provide a translated version of the Commission’s requests for
         information and the comments and responses to the information requests from
         Texas LNG.37

                In this proceeding, and consistent with how the Commission has processed other
         remand orders,38 we reviewed the record to determine whether the deficiencies identified
         by the court could be redressed and what, if any, additional information would be helpful.
         This order addresses the particular issues identified by the court on remand.39 Although
         the public had opportunities for involvement during the prefiling and environmental
         review processes associated with the Commission’s original consideration of the
         project,40 during this remand proceeding the Commission provided additional

               36
               See Sierra Club Oct. 19, 2022 Comments at 3-4; Nancy McNab Oct. 21, 2022
         Comments at 1.
               37
                    See Sierra Club Oct. 19, 2022 Comments at 3-4.
               38
                  See Spire STL Pipeline LLC, 181 FERC ¶ 61,232, at PP 18-20 (2022)
         (determining the record was sufficient to allow the Commission to address the issues
         on remand without additional requested briefing); on reh’g, Spire STL Pipeline LLC,
         183 FERC ¶ 31,048 (2023); NEXUS Gas Transmission, LLC, 172 FERC ¶ 61,199 (2020)
         (reviewing the record and the court’s instructions on remand to issue a certificate of
         convenience and public necessity without soliciting additional comments).
               39
                  See, e.g., SFPP, L.P. v. FERC, 967 F.3d 788, 797 (D.C. Cir. 2020), cert.
         dismissed, 141 S. Ct. 2170 (2021) (finding that on remand it is up to the Commission to
         determine if the record should be reopened).
               40
                  See Final EIS at 4-468. As the final EIS notes, the applicant provided materials
         regarding the project in both English and Spanish and Spanish-speaking representatives
         were present at both the public scoping and comment meetings held in Port Isabel.




                                                                                        JA007
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         opportunities for the public to comment and respond to information filed by Texas LNG
         related to the issues before us on remand. As stated above, on September 30, 2022, we
         explicitly solicited comments on the responses provided by Texas LNG to Commission
         staff’s information requests and received over 100 comments. We have considered and
         responded to all comments within the scope of this remand proceeding and, therefore,
         because the record is sufficient for us to address the issues identified by the court, we
         decline to hold additional public meetings on the remanded issues. As for requests
         related to Spanish translation of documents, while we are not providing such translations
         in this proceeding, the Commission continues to consider how we can provide greater
         accessibility to our processes for non-English speaking populations.

                 Commenters also raised issues that are outside the scope of the court’s mandate,
         generally falling within the following categories: (1) opposition to the Texas LNG
         Project; (2) general comments in support of the projects and requests for regulatory
         clarity; (3) cultural resource concerns, including concerns relating to consultation with
         Tribes; (4) biological resource concerns, including impacts on endangered species,
         wildlife and wildlife habitat, migratory birds, and coastal resources; and (5) general
         statements about the Commission, LNG, and energy infrastructure. Mr. John Young also
         questions whether Texas LNG has obtained feedgas from the Valley Crossing Pipeline
         and whether the Valley Crossing Pipeline operates as an intrastate natural gas pipeline.41
         The Commission will not address these arguments because the Commission considered
         them in the Authorization and Rehearing Orders42 and the court’s remand was limited to
         two issues—whether the social cost of GHG or similar protocol should be used and the
         scope of the Commission’s environmental justice analysis—and they thus are collateral
         attacks on those orders and need not be considered further.43




                41
                     Mr. John Young November 12, 2021 Comments at 5, 6.
                42
                   See Authorization Order, 169 FERC ¶ 61,130 at PP 18-21 (making a finding that
         the project is in the public interest); Final EIS at 4-160 (addressing concerns raised by the
         Carrizo Comecrudo Tribe of Texas); Authorization Order, 169 FERC ¶ 61,130 at PP 42-
         48 (discussing the impacts on wildlife, migratory birds, and aquatic resources);
         Authorization Order, 169 FERC ¶ 61,130 at P 4 (noting that Valley Crossing is not a
         jurisdictional pipeline).
                43
                  See, e.g., Fla. Se. Connection, 162 FERC ¶ 61,233, at P 16 (2018) (declining to
         consider issues that fell outside the scope of the court’s mandate); Arlington Storage Co.,
         LLC, 149 FERC ¶ 61,158 (2015) (rejecting a request for rehearing of a notice to proceed
         with construction as a collateral attack on the underlying orders).




                                                                                          JA008
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         III.   Discussion

                As discussed above, the D.C. Circuit remanded the Commission’s orders
         authorizing the Texas LNG Project and directed the Commission to (1) address the
         argument of whether it must, under CEQ’s regulations, apply the social cost of GHG to
         analyze the project’s impacts on climate change, and (2) explain the decision to limit the
         scope of its environmental justice analysis of the project’s impacts to those communities
         within two miles of the project or else analyze the project’s impacts within a different
         radius. In response to the court’s directive, we address the argument regarding the social
         cost of carbon and 40 C.F.R. § 1502.21(c), as well as update our analysis of the project’s
         environmental justice impacts consistent with the Commission’s current practice and with
         CEQ44 and the U.S. Environmental Protection Agency (EPA) guidance.45

                A.       Greenhouse Gas Emissions and Climate Change

                The court directed the Commission, on remand, to explain whether
         section 1502.21(c) of CEQ’s NEPA-implementing regulations requires the Commission
         to “apply the social cost of carbon protocol or some other analytical framework, as
         ‘generally accepted in the scientific community’ within the meaning of the regulation,
         and if not, why not.”46

                Section 1502.21(c) of CEQ’s regulations requires that,

                         [i]f the information relevant to reasonably foreseeable
                         significant adverse impacts cannot be obtained because the
                         overall costs of obtaining it are unreasonable or the means to
                         obtain it are not known, the agency shall include within the
                         environmental impact statement:




                44
                  CEQ, Environmental Justice: Guidance Under the National Environmental
         Policy Act 4 (Dec. 1997) (CEQ’s Environmental Justice Guidance),
         https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-CEQ-
         EJGuidance.pdf.
                45
                  See generally EPA, Promising Practices for EJ Methodologies in NEPA
         Reviews (Mar. 2016) (Promising
         Practices), https://www.epa.gov/sites/default/files/2016-
         08/documents/nepa_promising_practices_document_2016.pdf.
                46
                     Vecinos, 6 F.4th at 1330 (quoting 40 C.F.R. § 1502.21(c)).




                                                                                            JA009
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                         (1) A statement that such information is incomplete or
                         unavailable;

                         (2) A statement of the relevance of the incomplete or
                         unavailable information to evaluating reasonably foreseeable
                         significant adverse impacts on the human environment;

                         (3) A summary of existing credible scientific evidence that is
                         relevant to evaluating the reasonably foreseeable significant
                         adverse impacts on the human environment; and

                         (4) The agency’s evaluation of such impacts based upon
                         theoretical approaches or research methods generally
                         accepted in the scientific community.47

                The social cost of carbon protocol, now updated to calculate the social cost of
         specific GHGs,48 is an administrative tool intended to quantify, in dollars, estimates of
         long-term damage that may result from future emissions of carbon dioxide, nitrous oxide,
         and methane. Accordingly, although we are including the social cost of GHG figures for
         informational purposes, we find that because the social cost of GHGs tool was not
         developed for project level review and, as discussed below, does not enable the
         Commission to credibly determine whether the GHG emissions are significant,
         section 1502.21 of the CEQ regulations does not require its use in this proceeding.

         While we have recognized in some past orders that social cost of GHGs may have utility
         in certain contexts such as rulemakings,49 we have also found that calculating the social
         cost of GHGs does not enable the Commission to determine credibly whether the
         reasonably foreseeable GHG emissions associated with a project are significant or not
         significant in terms of their impact on global climate change.50 Currently, however,

                47
                  40 C.F.R. § 1502.21(c). We pause to note that at the time the final EIS was
         prepared, this regulation was codified at 40 C.F.R. § 1502.22(b).
                48
                   The Interagency Working Group on the Social Cost of Greenhouse Gases
         (IWG) published its first estimates of the social cost of carbon in 2010, which calculated
         the cost of the damages created by one extra ton of carbon dioxide emissions. In 2016,
         the IWG published a technical update that included the social costs of methane (social
         cost of CH4) and nitrous oxide (social cost of N2O) thus creating the social cost of GHG
         nomenclature.
                49
                     Fla. Se. Connection, LLC, 164 FERC ¶ 61,099, at PP 35-37 (2018).
                50
                   See Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, (2017),
         aff’d sub nom., Appalachian Voices v. FERC, 2019 WL 847199 (D.C. Cir. 2019); Del.



                                                                                            JA010
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        there are no criteria to identify what monetized values are significant for NEPA purposes,
        and we are currently unable to identify any such appropriate criteria.51 Nor are we aware
        of any other currently scientifically accepted method that would enable the Commission
        to determine the significance of reasonably foreseeable GHG emissions.52 The D.C.
        Circuit has repeatedly upheld the Commission’s decisions not to use the social cost of
        GHGs, including to assess significance.53

                For informational purposes, we are disclosing Commission staff’s estimate of the
         social cost of GHGs associated with the reasonably foreseeable emissions from the
         project, i.e., the emissions from the construction and operation of the project.54



         Riverkeeper v. FERC, 45 F.th 104, 111 (D.C. Cir. 2022). The social cost of GHGs tool
         merely converts GHG emissions estimates into a range of dollar-denominated figures; it
         does not, in itself, provide a mechanism or standard for judging “significance.”
               51
                    Tenn. Gas Pipeline Co., L.L.C., 181 FERC ¶ 61,051 at P 37; see also Mountain
         Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, order on reh’g, 163 FERC ¶ 61,197,
         at PP 275-297 (2018), aff’d, Appalachian Voices v. FERC, No. 17-1271, 2019 WL
         847199, at 2 (D.C. Cir. Feb. 19, 2019) (unpublished) (“[The Commission] gave several
         reasons why it believed petitioners’ preferred metric, the Social Cost of Carbon tool, is
         not an appropriate measure of project-level climate change impacts and their significance
         under NEPA or the Natural Gas Act. That is all that is required for NEPA
         purposes.”); EarthReports v. FERC, 828 F.3d 949, 956 (D.C. Cir. 2016) (accepting the
         Commission’s explanation why the social cost of carbon tool would not be appropriate or
         informative for project-specific review, including because “there are no established
         criteria identifying the monetized values that are to be considered significant for NEPA
         purposes”); Tenn. Gas Pipeline Co., L.L.C., 180 FERC ¶ 61,205, at P 75 (2022); See,
         e.g., LA Storage, LLC, 182 FERC ¶ 61,026 at P 14; Columbia Gulf Transmission, LLC,
         180 FERC ¶ 61,206, at P 91 (2022).
               52
                    See, e.g., LA Storage, LLC, 182 FERC ¶ 61,026 at P 14 (“there are currently no
         criteria to identify what monetized values are significant for NEPA purposes, and we are
         currently unable to identify any such appropriate criteria.”)
               53
                   See, e.g., EarthReports, 828 F.3d at 956 (upholding the Commission’s decision
         not to use the social cost of carbon tool due to a lack of standardized criteria or
         methodologies, among other things); Del. Riverkeeper v. FERC, 45 F.4th 104 (also
         upholding the Commission’s decision not to use the social cost of carbon); Appalachian
         Voices v. FERC, 2019 WL 847199 (D.C. Cir. 2019) (same).
               54
                    See Vecinos, 6 F.4th at 1329-30.




                                                                                        JA011
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                Commission staff calculated the social cost of GHGs based on methods and values
         contained in the Interagency Working Group on the Social Cost of Greenhouse Gases
         (IWG)’s current draft guidance but note that different values will result from the use of
         other methods.55

                For this proposed action, the reasonably foreseeable and causally connected GHG
         emissions are those associated with the project’s construction and operation. Based on its
         filed emissions data, Texas LNG estimated that construction of the Texas LNG Project
         would result in 122,048 tons of carbon dioxide equivalent (CO2e) emissions (equivalent
         to 110,720 metric tons of CO2e) over the six years of construction, inclusive of terminal,
         barge, and commissioning emissions.56 GHG emissions from the operation of the Texas
         LNG Project would result in annual CO2e emissions of about 701,709 tons per year (tpy)
         (equivalent to 636,580 metric tpy),57 which calculation assumes 100% utilization; i.e., it
         is assumed that the facilities are operated at maximum capacity for 365 days/year,
         24 hours/day.58

                Commission staff calculated the social cost of carbon dioxide, nitrous oxide, and
         methane for the construction and operation of the Texas LNG Project. For the
         calculations, staff assumed discount rates of 5%, 3%, and 2.5%,59 the project would begin

                55
                  Technical Support Document: Social Cost of Carbon, Methane, and Nitrous
         Oxide Interim Estimates under Executive Order 13990, Interagency Working Group on
         Social Cost of Greenhouse Gases, United States Government, (Feb. 2021),
         https://www.whitehouse.gov/wp-content/uploads/2021/02/TechnicalSupportDocument_
         SocialCostofCarbonMethaneNitrousOxide.pdf (accessed Dec. 14, 2022) (IWG Interim
         Estimates Technical Support Document).
                56
                  Texas LNG Mar. 4, 2022 Response to Commission staff Feb. 3, 2022 Data
         Request at attach. 9-1.
                57
                  Texas LNG May 2, 2022 Response to Commission staff Feb. 3, 2022 Data
         Request at attach. 9-1. The Texas LNG Project will be constructed and begin operation
         in two phases, the first phase operational emissions would be 433,227 tons of CO2e
         emissions (equivalent to 393,017 metric tons of CO2e) in 2026 and 2027. Id.
                58
                   Id. The estimate also includes fugitive emissions. We note that this calculation
         is an overestimate because facilities likely operate at full capacity during, what are
         typically, limited periods of full demand.
                59
                   IWG Interim Estimates Technical Support Document at 24. To quantify the
         potential damages associated with estimated emissions, the IWG methodology applies
         consumption discount rates to estimated emissions costs. The IWG’s discount rates are a
         function of the rate of economic growth where higher growth scenarios lead to higher
         discount rates. For example, IWG’s method includes the 2.5% discount rate to address



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        construction activities in 2023, and that once construction activities are complete,
        emissions would transition to operational emissions. Noting these assumptions, the
        emissions from construction and operation of the Texas LNG Project are calculated
        to result in a total social cost of GHGs equal to $215,011,202, $697,367,480, and
        $1,013,421,544, respectively (all in 2020 dollars).60 Based on the 95th percentile
        of the social cost of GHGs and the three percent discount rate,61 the total social cost
        of GHGs from the project is calculated to be $2,022,865,531 (in 2020 dollars).

                The Commission has disclosed the project’s reasonably foreseeable GHG
         emissions. By adopting the analysis in the final EIS, we recognize that the project’s
         contributions to GHG emissions globally contributes incrementally to future climate
         change impacts,62 including impacts in the region.63 We note that there currently are no
         accepted tools or methods for the Commission to use to determine significance, therefore
         Commission is not herein characterizing these emissions as significant or insignificant.64
         Accordingly, we have taken the required “hard look” and have satisfied our obligations
         under NEPA.


        the concern that interest rates are highly uncertain over time; the 3% value to be
        consistent with Office of Management and Budget Circular A-4 (2003) and the real rate
        of return on 10-year Treasury Securities from the prior 30 years (1973 through 2002); and
        the 5% discount rate to represent the possibility that climate-related damages may be
        positively correlated with market returns. Thus, higher discount rates further discount
        future impacts based on estimated economic growth. Values based on lower discount
        rates are consistent with studies of discounting approaches relevant for intergenerational
        analysis. Id. at 18-19, 23-24.
                60
                     The IWG draft guidance identifies costs in 2020 dollars. Id. at 5 (Table ES-I).
                61
                   This value represents “higher-than-expected economic impacts from climate
         change further out in the tails of the [social cost of CO2] distribution.” Id. at 11. In other
         words, it represents a higher impact scenario with a lower probability of occurring.
                62
                     Final EIS at 4-342 to 4-344.
                63
                     Id. (discussing observations from the Fourth Assessment Report).
                64
                  The February 18, 2022 Interim GHG Policy Statement, Consideration of
         Greenhouse Gas Emissions in Nat. Gas Infrastructure Project Revs., 178 FERC ¶ 61,108
         (2022) which proposed to establish a NEPA significance threshold of 100,000 tons per
         year of CO2e as a matter of policy, has been suspended, and opened to further public
         comment. Certification of New Interstate Nat. Gas Facilities, 178 FERC ¶ 61,197, at P 2
         (2022).




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                B.       Environmental Justice

                 The court found the Commission’s analysis of environmental justice impacts to be
         deficient, directing the Commission on remand to either explain why it chose to analyze
         the projects’ impacts only on communities within a two-mile-radius area of review, or, in
         the alternative, to analyze the projects’ impacts on communities in an area of review with
         a different radius from each project site and determine whether the Commission’s
         environmental justice conclusion still holds.65 Accordingly, on remand, Commission
         staff conducted a new environmental justice analysis using our current methods for
         determining an area of review, consistent with CEQ66 and EPA67 guidance and
         recommendations, and analyzed the project’s impacts on environmental justice
         communities within those areas. Below, Commission staff has identified the presence of
         impacted environmental justice communities and has analyzed associated impacts from
         the Texas LNG Project.
                In conducting NEPA reviews of proposed natural gas projects, the Commission
         follows Executive Order 12898, which directs federal agencies to identify and address
         “disproportionately high and adverse human health or environmental effects” of their
         actions on minority and low-income populations (i.e., environmental justice
         communities).68 Executive Order 14008 also directs agencies to develop “programs,
         policies, and activities to address the disproportionately high and adverse human health,
         environmental, climate-related and other cumulative impacts on disadvantaged


                65
                     Vecinos, 6 F.4th at 1331.
                66
                  CEQ, Environmental Justice: Guidance Under the National Environmental
         Policy Act 4 (Dec. 1997) (CEQ’s Environmental Justice Guidance),
         https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-CEQ-
         EJGuidance.pdf.
                67
                 See generally Promising Practices https://www.epa.gov/sites/default/files/2016-
         08/ documents/nepa_promising_practices_ document_2016.pdf.
                68
                   Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16, 1994). While the
         Commission is not one of the specified agencies in Executive Order 12898, the
         Commission nonetheless addresses environmental justice in its analysis, in accordance
         with our governing regulations and guidance, and statutory duties. See 15 U.S.C. § 717b;
         see also 18 C.F.R. § 380.12(g) (2022) (requiring applicants for projects involving
         significant aboveground facilities to submit information about the socioeconomic impact
         area of a project for the Commission’s consideration during NEPA review); FERC
         Guidance Manual for Environmental Report Preparation at 4-76 to 4-80 (Feb. 2017),
         https://www.ferc.gov/sites/default/files/2020-04/guidance-manual-volume-1.pdf.




                                                                                         JA014
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        communities, as well as the accompanying economic challenges of such impacts.”69
        Environmental justice is “the fair treatment and meaningful involvement of all people
        regardless of race, color, national origin, or income with respect to the development,
        implementation, and enforcement of environmental laws, regulations, and policies.”70
                Consistent with CEQ and EPA guidance and recommendations, the Commission’s
         methodology for assessing environmental justice impacts considers: (1) whether
         environmental justice communities (e.g., minority or low-income populations)71 exist in
         the project area; (2) whether impacts on environmental justice communities are
         disproportionately high and adverse; and (3) possible mitigation measures.72 Consistent
         with the Commission’s current methodology for identification of environmental justice

               69
                   Exec. Order No. 14,008, 86 Fed. Reg. 7619 (Feb. 1, 2021). The term
         “environmental justice community” includes disadvantaged communities that have been
         historically marginalized and overburdened by pollution. Id. at 7629. The term also
         includes, but may not be limited to minority populations, low-income populations, or
         indigenous peoples. See EPA, EJ 2020 Glossary (Aug. 18, 2022),
         https://www.epa.gov/environmentaljustice/ej-2020-glossary.
               70
                   EPA, Learn About Environmental Justice,
         https://www.epa.gov/environmentaljustice/learn-about-environmental-justice (Sep. 6,
         2022). Fair treatment means that no group of people should bear a disproportionate share
         of the negative environmental consequences resulting from industrial, governmental, and
         commercial operations or policies. Id. Meaningful involvement of potentially affected
         environmental justice community residents means: (1) people have an appropriate
         opportunity to participate in decisions about a proposed activity that may affect their
         environment and/or health; (2) the public’s contributions can influence the regulatory
         agency’s decision; (3) community concerns will be considered in the decision-making
         process; and (4) decision-makers will seek out and facilitate the involvement of those
         potentially affected. Id.
               71
                  See generally Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16, 1994).
         Minority populations are those groups that include: American Indian or Alaskan Native;
         Asian or Pacific Islander; Black, not of Hispanic origin; or Hispanic.
               72
                   CEQ offers recommendations on how federal agencies can provide
         opportunities for effective community participation in the NEPA process, including
         identifying potential effects and mitigation measures in consultation with affected
         communities and improving the accessibility of public meetings, crucial documents, and
         notices. There were opportunities for public involvement during the Commission’s
         prefiling and environmental review processes. Final EIS at 1-10 to 1-13, and 4-333. In
         addition, the Commission requested public comment on responses to recent information
         requests related to the remand.




                                                                                       JA015
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        communities, staff reviewed the 2020 U.S. Census Bureau American Community survey
        data for the impact area surrounding the Texas LNG terminal project. As recommended
        in Promising Practices, the Commission uses the 50% and the meaningfully greater
        analysis methods to identify minority populations.73 Specifically, a minority population
        is present where either: (1) the aggregate minority population of the block groups in the
        affected area exceeds 50%; or (2) the aggregate minority population in the block group
        affected is 10% higher than the aggregate minority population percentage in the county.74

                 CEQ’s Environmental Justice Guidance also directs low-income populations to be
         identified based on the annual statistical poverty thresholds from the U.S. Census Bureau.
         Using Promising Practices’ low-income threshold criteria method, low-income
         populations are identified as block groups where the percent of a low-income population
         in the identified block group is equal to or greater than that of the county.

                 To identify potential environmental justice communities, Commission staff used
         2020 U.S. Census American Community Survey data75 for the race, ethnicity, and
         poverty data at the state, county, and block group level.76 Additionally, in accordance
         with Promising Practices, Commission staff used EJScreen, EPA’s environmental justice
         mapping and screening tool, as an initial step to gather information regarding minority
         and low-income populations; potential environmental quality issues; environmental and
         demographic indicators; and other important factors. Appendix B provides current
         environmental justice community data for the areas affected by the project, including data
         for the affected block groups, state, and county and maps detailing the affected block
         groups in relation to the Texas LNG Project.

                 Commission staff collected the block group level data, as discussed in further
         detail below, and conducted an impacts analysis for the identified environmental justice
         communities and evaluated health and environmental hazards; the natural physical

               73
                    See Promising Practices at 21-25.
               74
                  Here, we selected Cameron and Willacy Counties, Texas as the comparable
         reference communities to ensure that affected environmental justice communities are
         properly identified.
               75
                  U.S. Census Bureau, American Community Survey 2020 ACS 5-Year Estimates
         Detailed Tables, File# B17017, Poverty Status in the Past 12 Months by Household Type
         by Age of Householder, https://data.census.gov/cedsci/table?q=B17017; File #B03002
         Hispanic or Latino Origin By Race, https://data.census.gov/cedsci/table?q=b03002.
               76
                  Appendix B includes the data used to inform this environmental justice analysis.
         Table 1 of Appendix B includes block groups within the 50-kilometer radius of the
         project.




                                                                                        JA016
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        environment; and associated social, economic, and cultural factors to determine whether
        impacts would be disproportionately high and adverse on environmental justice
        communities and also whether those impacts would be significant.77 Commission staff
        assessed whether those impacts on an environmental justice community are
        disproportionately high and adverse, consistent with EPA’s recommendations in
        Promising Practices.78

                 As discussed above, the court’s opinion explained that an agency’s environmental
         justice analysis must have an area of review for impacts on environmental justice
         communities that is reasonable and adequately explained, with a rational connection
         between the facts and the decision made.79 In response, Commission staff has reanalyzed
         the project’s impacts on environmental justice communities within an area of review
         based on the measured distance of the furthest estimated direct impact.
                Commission staff determined that the furthest potential direct impact for this
         project is air quality impacts. A 50-kilometer radius around the project represents a
         conservative estimate of the furthest possible extent of potential impacts associated with
         air quality.80 Accordingly, staff determined that a 50-kilometer radius (approximately
         31-mile radius) around the approved Texas LNG site is the appropriate geographic area
         of analysis for identification of project impacts on environmental justice communities.
         Further, air modeling for the project indicates that the radius of impact, or the distance at
         which the concentration of a criteria pollutant goes from above to below the significant
         impact level81 is approximately 24 kilometers (approximately 15 miles), which is within

                77
                  See Promising Practices at 33 (stating that “an agency may determine that
         impacts are disproportionately high and adverse, but not significant within the meaning
         of NEPA” and in other circumstances “an agency may determine that an impact is both
         disproportionately high and adverse and significant within the meaning of NEPA”).
                78
                   Id. at 44-46 (explaining that there are various approaches to determining
         whether an action will cause a disproportionately high and adverse impact, and that one
         recommended approach is to consider whether an impact would be “predominantly borne
         by minority populations or low-income populations”). We recognize that EPA and CEQ
         are in the process of updating their guidance regarding environmental justice and we will
         review and incorporate that anticipated guidance in our future analysis, as appropriate.
                79
                     Vecinos, 6 F.4th at 1330.
                80
                  Fifty kilometers is the distance used by the EPA for cumulative air modeling for
         major stationary sources under its Prevention of Significant Deterioration (PSD) air
         permitting requirements. 40 C.F.R. pt. 51, app. W.
                81
                  A modeled result predicting that a proposed source’s maximum impact will be
         below the corresponding significant impact level value may generally be considered to be



                                                                                           JA017
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        the 50-kilometer radius of analysis for impacts on environmental justice communities.82
                Within a 50-kilometer radius of the Texas LNG Project, there are 284 total census
         block groups and, out of this total, Commission staff identified 279 environmental justice
         community block groups. Of those 279 environmental justice block groups, 124 have a
         minority population that exceeds 50% or is meaningfully greater than their respective
         counties, one has a low-income population that is equal to or greater than their respective
         counties, and 154 have both a minority population and a low-income population that
         exceed the respective thresholds.83 The Texas LNG Project itself is located within an
         environmental justice community.
                 This order includes an updated analysis of impacts on environmental justice
         communities using an expanded radius. In reviewing the data, Commission staff
         determined that potential impacts on the identified environmental justice communities
         may relate to wetlands, recreational fishing, tourism, socioeconomics, traffic, noise,
         safety, air quality, greenhouse gases, and visual resources. Environmental justice
         concerns are not present for other resource areas such as geology, groundwater, surface
         water,84 wildlife, land use, or cultural resources, because the project would have a
         minimal impact on these resources. The applicable topics, and related mitigation
         measures, are covered below.
                         1.     Wetlands

                The final EIS documents that the total impacted wetland area for the Texas LNG
         Project (42.9 acres) represents about 0.07% of the approximately 65,495 acres of
         wetlands contained within the hydrologic unit code (HUC) 12 where the project is
         located.85 The loss of wetland habitat, and the subsequent decrease in wetland benefits

         a sufficient demonstration that the proposed source will not cause or contribute to a
         violation of the applicable National Ambient Air Quality Standard or Prevention of
         Significant Deterioration increment.
                82
                     See infra PP 67-78.
                83
                     App. B tbl. 1.
                84
                  The final EIS determined that increased vessel traffic along the Brownsville
         Ship Channel would result in a significant cumulative impact on surface water resources
         during operations from increases in turbidity and shoreline erosion. Final EIS at 4-304.
         Impacts on environmental justice communities associated with turbidity are discussed
         below in Section III.B.4, Tourism. Impacts on environmental justice communities
         associated with shoreline erosion are discussed below in Section III.B.7, Marine Traffic.
                85
                     Bahia Grande-BSC Hydrological Unit Code (HUC) 12 Watershed.




                                                                                         JA018
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        (i.e., shoreline and habitat protection for a variety of plant and animal species that can be
        used for recreation and/or sustenance, and education opportunities), could affect
        environmental justice communities near the watershed, in which the project is located,86
        particularly the communities in Census Tract 142.02, Block Group 2 and Census
        Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census Tract
        123.05, Block Group 1, because these communities are closest to the impacts and as the
        distance from the project increases, the impacts on wetlands decreases.87 We note that
        Texas LNG is required to obtain applicable U.S. Army Corps of Engineers (Army Corps)
        Clean Water Act permits for permanent loss of wetland habitat and implement any
        mitigation measures required by the Army Corps for that loss.88

                All wetlands mitigation for the project would take place at the Loma Ecological
         Preserve, a preserve located one mile south of the project and within the same watershed
         as the project.89 Based on the foregoing analysis, we conclude that, with implementation
         of these mitigation measures, impacts on wetlands would be minimized and would not
         have a significant impact on environmental justice communities.

                Environmental justice communities in the study area would experience cumulative
         impacts on wetlands due to impacts previously discussed along with additional impacts
         from the additional projects within the cumulative geographic scope for wetlands.90
         Wetland impacts, even with the addition of the Texas LNG Project, would be less than
         significant91 and all impacts from the various projects with the geographic scope for
         wetlands would be appropriately mitigated through implementation of the Clean Water
         Act permits (state and federal). Thus, overall cumulative wetland impacts on
         environmental justice communities would be less than significant.




               86
                    Final EIS at 4-31.
               87
                    App. B Fig. 5-1-1 to 5-2-15.
               88
                    Final EIS at 4-35 to 4-36.
               89
                    Id.
               90
                    Id. at 4-274.
               91
                    Id. at 4-37.




                                                                                          JA019
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                         2.      Recreational and Subsistence Fishing

                 As stated in the final EIS, construction and operation of the project could
         cause some local anglers to use undesignated areas further from the project site.92
         Texas LNG’s proposed pile driving could cause fish to temporarily leave the area,
         altering behavior patterns of fish near the project, potentially affecting recreational
         fishing success.93 Given that a majority of the communities within the study area are
         environmental justice communities, recreational and subsistence fishing users of the area
         waterbodies likely include individuals from environmental justice communities,
         particularly the communities located in Census Tract 142.02, Block Group 2 and Census
         Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census Tract
         123.05, Block Group 1.94 Anglers using unknown and undesignated fishing areas near
         the project site would likely seek other fishing opportunities in the region.95 Construction
         activities at the Texas LNG Project site would not restrict fishing access to bays in the
         project area or the Gulf of Mexico. In addition, fishing opportunities exist along the
         remainder of the undeveloped channel shoreline. Permanent impacts on recreational and
         subsistence fishing by individuals from environmental justice communities may occur
         due to the loss of available fishing areas from the loss of approximately 1 mile of
         shoreline due to operation of the LNG marine facilities and loss of in-water fishing areas
         at certain times due to LNG carrier traffic. Overall, the final EIS concludes that impacts
         on recreational fishing as a result of the project are not anticipated to be significant.96
         Based on the foregoing analysis, we conclude that recreational and subsistence fishing
         impacts on environmental justice communities associated with construction and operation
         of the Texas LNG Project would occur, but due to the overall size of the waterway and
         existing alternative recreational and subsistence fishing opportunities in the area, we
         conclude impacts would be less than significant.

                 Environmental justice communities in the study area would experience cumulative
         impacts on fishing, including recreational and subsistence fishing due to fishing vessel
         traffic from the project along with additional impacts from the projects within the
         cumulative geographic scope for recreational and subsistence fishing.97 Based on the

                92
                     Id. at 4-153.
                93
                     Id. at 4-153.
                94
                     App. B Figs. 5-1-1 to 5-2-15.
                95
                     Id. at 4-153.
                96
                     Id. at 4-152.
                97
                     Id. at 4-274.




                                                                                          JA020
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        foregoing analysis, and due to the overall size of the waterway and existing alternative
        recreational and subsistence fishing opportunities in the area, we conclude that
        cumulative recreational and subsistence fishing impacts on environmental justice
        communities would be less than significant.

                            3.   Tourism

                Overall, the final EIS found that construction and operation of the project could
         impact local tourism as a result of increased noise, traffic along area roads, traffic within
         the Brownsville Ship Channel, as well as impacting visual resources in the area
         (primarily from the presence of the LNG aboveground structures in the viewshed).98
         Impacts on tourism may result in a loss of revenue or jobs for individuals from
         environmental justice communities. Noise during construction would likely be audible to
         boats passing through the Brownsville Ship Channel and could be audible to visitors
         within the South Bay Coastal Preserve, the closest designated recreation area to the
         project.99 The final EIS found that increased LNG vessel traffic during operation would
         have a permanent but minor impact on marine traffic in the Brownsville Ship Channel.100
         LNG carriers transiting the Brownsville Ship Channel could also result in delays for
         charter boats and sightseeing tours.101 Visual impacts on some nearby recreation areas,
         such as the Laguna Atascosa National Wildlife Refuge are anticipated to be significant.102
         Nevertheless, visual impacts are not anticipated to impact beach visitors, as the South
         Padre Island beaches face east towards the Gulf of Mexico, away from the project.103 In
         addition, view of the project facilities from many area beaches would likely be obstructed
         by hotels and condominiums along the South Padre Island shore.104 Visual impacts
         would affect charter boats and sightseeing tours transiting the Brownsville Ship Channel;
         however, it is anticipated that most recreational tours would be headed to the Laguna




                98
                     Id. at 4-152.
                99
                     Id. at 4-153.
                100
                      Id.
                101
                      Id.
                102
                      See infra PP 79–82.
                103
                      Final EIS at 4-153.
                104
                      Id.




                                                                                          JA021
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        Madre or the Gulf of Mexico and would not be operating primarily within the
        Brownsville Ship Channel.105

                 Given the number of tourism opportunities in the project area, tourists may go to
         other sites so that visitation patterns may change, but overall the number of visits to the
         project area would likely not change. Therefore, based on the foregoing analysis we
         conclude that impacts on environmental justice communities associated with tourism
         (e.g., loss of revenue or jobs related to tourism) would be less than significant.

                 Environmental justice communities in the study area would experience cumulative
         impacts on tourism from the Texas LNG Project,106 as previously described, along with
         additional impacts from the additional projects within the cumulative geographic scope
         for tourism.107 Cumulative impacts with the addition of those from the project would be
         less than significant,108 and, given the availability of tourism opportunities further from
         the LNG facility and the additional project sites, we conclude overall cumulative tourism
         impacts on environmental justice communities would be less than significant.

                            4.   Socioeconomics

                 As stated in the final EIS, construction of project would require an average
         monthly construction workforce of 700 workers, with a peak workforce of approximately
         1,312 workers, over the 5-year construction period; Texas LNG anticipates that a
         majority of these workers would be hired locally and the remainder would be non-
         local.109 Texas LNG anticipates that 110 non-local workers would be employed at the
         Texas LNG Project during operation. These additional workers would represent a
         negligible increase in the local population.110

                During construction and operation, the temporary influx of workers/contractors
         into the area could increase the demand for community services, such as schools, police




                105
                      Id. at 4-153 to 4-154.
                106
                      Id. at 4-332 to 4-333.
                107
                      Id. at 4-274.
                108
                      Id. at 4-153 to 4-154.
                109
                      Id. at 4-143.
                110
                      Id.




                                                                                           JA022
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        enforcement, and medical care, as well as housing.111 As stated in the final EIS, impacts
        on community services would be less than significant.112 In addition, an adequate
        number of housing units are available in the affected area; therefore, impacts on the local
        housing market would be less than significant.113 Based on the foregoing analysis we
        conclude socioeconomic impacts on environmental justice communities, due to an
        increased demand for community services and housing, would be less than significant.

                Environmental justice communities in the study area would experience cumulative
         impacts on socioeconomic resources from the Texas LNG Project, along with additional
         impacts from other projects within the cumulative geographic scope for socioeconomic
         resources.114 Cumulative socioeconomic impacts with the addition of the project would
         be less than significant.115 Given that community facilities would continue to operate
         adequately and the existing availability of housing units in the affected geographic area,
         we conclude cumulative socioeconomic impacts on environmental justice communities
         would be less than significant.

                           5.   Road Traffic

                The final EIS finds that area residents may be affected by roadway traffic delays
         during construction of the Texas LNG Project.116 The total number of construction
         vehicles arriving and departing the facility per day during Texas LNG’s proposed Phase 1
         and Phase 2 construction plans would be 1,220 and 1,000, respectively, with up to 1,454
         vehicles during peak construction of the project.117 Impacts on local users of the roadway
         network due to construction of the project include potential delays from increased traffic



               111
                     Id. at 4-146 to 4-148.
               112
                  Id. at 4-148. The final EIS also addresses impacts should Texas LNG hire
         more than 20% of its workforce from outside the local area. Id. at 4-146 to 4-147.
               113
                   Id. at 4-147. The number of vacant housing units has increased since issuance
         of the Final EIS. U.S. Census Bureau 2020 Decennial Census, File H1, Occupancy
         Status.
               114
                     Final EIS at 4-274.
               115
                     Id. at 4-329.
               116
                     Id. at 4-149.
               117
                     Id.




                                                                                        JA023
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        levels and diminished roadway capacity.118 These impacts would most likely affect
        environmental justice communities near the LNG terminal site, such as Census
        Tract 142.02, Block Group 2 and Census Tract 127, Block Group 2, Census Tract 123.04,
        Block Group 4, and Census Tract 123.05, Block Group 1.119

                To minimize impacts, Texas LNG proposes to construct an auxiliary lane by a
         contractor hired and paid for by Texas LNG prior to the start of construction, in order to
         minimize impacts on State Highway 48 users.120 In addition, to minimize roadway traffic
         and safety hazards at the project site, Texas LNG proposes to coordinate with the
         Cameron County Sheriff’s office to manually control the vehicle traffic during
         construction as a result of employees leaving the project site and turning left on State
         Highway 48.121

                 Sierra Club stated that the offsite parking locations impacts data provided by
         Texas LNG is inadequate.122 To ensure that parking location impacts data is adequately
         addressed and to further minimize impacts on roadway vehicle traffic associated with the
         project, Environmental Condition 22 of the Authorization Order required Texas LNG to
         file with the Commission a Traffic Management Plan prior to construction, for review
         and written approval by the Director of the Office of Energy Projects, that includes
         measures to minimize impacts on roadway traffic, including transporting workers from
         offsite locations via buses. Impacts on environmental justice communities will be
         evaluated as part of this approval.123

                 Based on Texas LNG’s proposed mitigation, including the construction of the
         auxiliary lane, and implementation of Environmental Condition 22, staff determined in
         the final EIS that the project would have moderate, but temporary impacts on roadway
         traffic.124 Therefore, based on the foregoing analysis we conclude traffic impacts on



               118
                     Id.
               119
                     App. B Figs. 5-1-1 to 5-2-15.
               120
                     Final EIS at 4-150.
               121
                     Id. at 4-149 to 4-150.
               122
                     Sierra Club Oct. 19, 2022 Comments at 13.
               123
                     Authorization Order, 169 FERC ¶ 61,130 at Env’t Condition 22.
               124
                     Id. at 4-150.




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        environmental justice communities, due to increased traffic on local roadways, would be
        less than significant.

               Environmental justice communities in the study area would experience cumulative
        impacts associated with roadway vehicle construction traffic from the Texas LNG
        Project, as previously described, along with additional impacts from other projects within
        the cumulative geographic scope for roadway traffic.125 As discussed above, impacts
        with the addition of the Texas LNG Project would be less than significant.126 Based on
        the foregoing analysis, we conclude overall cumulative roadway traffic impacts on
        environmental justice communities would be less than significant.

                            6.   Marine Traffic

                According to the final EIS, over the 5-year construction period for the project,
         Texas LNG anticipates about 109 barge deliveries with a peak of approximately three
         deliveries per day.127 Current vessel traffic in the Brownsville Ship Channel is about
         1,057 vessels per year,128 which equates to an average of about 88 vessels per month.129
         The additional barge deliveries trips associated with Texas LNG’s construction would
         represent an increase of about two percent in current barge traffic and would not result in
         significant impacts on vessel traffic in the channel.130 Therefore, based on the updated
         environmental justice analysis in response to the court remand, we conclude users of the
         channel from environmental justice communities would not be significantly impacted
         during construction.

                According to the final EIS, permanent increases in marine traffic within the
         Brownsville Ship Channel would occur with the addition of six LNG carriers per month;
         however, the U.S. Coast Guard has determined that the waterway is suitable for the
         project LNG vessel use.131 Based on the foregoing analysis, we conclude recreational
         boaters and fishers within the Brownsville Ship Channel, which include individuals from

                125
                      Id. at 4-274.
                126
                      Id. at 4-331.
                127
                      Final EIS at 4-150.
                128
                      This number does not include commercial and recreational fishing vessels.
                129
                      Id. at 4-150.
                130
                      Id. at 4-151.
                131
                      Id.




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        environmental justice communities, would not experience significant changes in marine
        traffic. Additionally, increased vessel traffic during construction and operation could
        increase shoreline erosion and suspended sediment concentrations due to changes in
        wave dynamics.132 Environmental justice communities in proximity to the project,
        particularly the communities in Census Tract 142.02, Block Group 2, Census Tract 127,
        Block Group 2, Census Tract 123.04, Block Group 4, and Census Tract 123.05, Block
        Group 1,133 would be affected most by shoreline erosion and suspended sediment
        concentrations as they are located immediately adjacent to the Brownsville Ship Channel.
        Texas LNG would install rock armoring along the side slopes of the maneuvering basin
        to provide protection from propeller wash.134 Use of the waterways by LNG carriers,
        barges, and support vessels during construction and operation of the project would be
        consistent with the planned purpose and existing use of active shipping channels, and
        associated impacts on shoreline erosion and water quality from resuspension of sediments
        due to vessel traffic would not be significant.135

                Environmental justice communities in the study area would experience cumulative
         impacts associated with marine traffic from the Texas LNG Project, as previously
         described, along with additional impacts from other projects within the cumulative
         geographic scope for marine traffic.136 As discussed above, even with the addition of the
         Texas LNG Project, marine traffic impacts would be less than significant.137 Based on
         the foregoing analysis, we conclude overall cumulative marine traffic impacts on
         environmental justice communities would be less than significant.

                           7.   Noise

               As stated in the final EIS, noise levels resulting from construction of the
        Texas LNG Project would vary over time and would depend on the number and type of
        equipment in operation, operating conditions, and the distances between sources and
        receptors during construction.138 Texas LNG’s proposed pile driving, dredging, and

               132
                     Id. at 4-24.
               133
                     App. B Figs. 5-1-1 to 5-2-15.
               134
                     Final EIS at 4-24.
               135
                     Id.
               136
                     Id. at 4-274.
               137
                     Id. at 4-151.
               138
                     Id. at 4-192.




                                                                                       JA026
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        facility construction have the potential to produce noise impacts.139 The closest noise
        sensitive areas (NSA) to the Texas LNG Project terminal within environmental justice
        communities are: NSA 1, about 1.6 miles north-northeast of the project and includes the
        residential area located off of Port Road, between Industrial Drive and Bahia Drive;
        NSA 2, about 1.6 miles north-northeast of the project and includes residences in the
        Pirate’s Cove development, located off Port Road between Industrial Drive and Bahia
        Drive; and NSA 3, about 1.7 miles northeast of the project and includes the closest
        residences on the northwest end of West Scallop, located northeast of the project.140

                 The predicted sound levels at the identified NSAs during all project construction
         activities, except for the proposed pile-driving activities, were lower than the
         Commission’s noise standard of 55 decibels on the A-weighted scale (dBA) day-night
         sound level (Ldn).141 The human ear’s threshold of perception for noise change is
         considered to be 3 dBA; 6 dBA is clearly noticeable to the human ear; and 10 dBA is
         perceived as a doubling of noise.142 The increased sound from construction at NSA 1
         would not exceed the 3 dBA threshold for human perception of noise change and the
         increased sound from construction at NSAs 2 and 3 would be 6 decibels and 5.7 decibels,
         respectively, and therefore may be perceptible.143

                Pile driving would occur for approximately 13 months, with peak pile driving
        activities occurring over 4 months, and was calculated to produce Ldn 24-hour equivalent
        sound levels that are below the Commission’s noise criterion of 55 dBA at the nearest
        NSAs. The calculated maximum sound levels, or Lmax, of pile-driving (i.e., highest
        sound level during each hammer strike) would be similar to slightly above, the existing
        ambient noise levels. Although pile driving would be audible at nearby NSAs when
        ambient sound levels are low, Texas LNG would limit pile driving to only occur during
        daytime construction hours (typically 7 a.m. to 5 p.m.). The noise of pile-driving would
        be audible outside of residences, and potentially indoors in the homes closest to the
        project. Therefore, to ensure that impacts due to maximum pile driving noise levels at
        the project would be minimized, the Authorization Order requires Texas LNG to monitor

               139
                     Id.
               140
                     Id. at 4-189.
               141
                     Id. at 4-194.
               142
                   See Bies and Hansen, Engineering Noise Control: Theory and Practice at
         Table 2.1 (1988), https://www.semanticscholar.org/paper/ENGINEERING-NOISE-
         CONTROL%3A-Theory-and-Practice-Bies-
         Hansen/23a7741e61d5b42d7da770b857054a50f1380648 (last visited March 2023).
               143
                     Final EIS at 4-194.




                                                                                       JA027
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        sound levels during the start of pile-driving activities.144 If the sound levels due to pile-
        driving are greater than 10 dBA over the ambient sound levels, then Texas LNG is also
        required to cease that work, implement noise mitigation, and file evidence of reduced
        pile-driving sound levels.

                 Operational noise associated with the project would be persistent and would
         increase noise levels over ambient levels between 0.1 and 1.3 decibels at the closest
         NSAs.145 Based on these estimates, the noise increase generated by the operation of the
         Texas LNG Project is not likely to be perceptible at nearby NSAs within environmental
         justice communities. In addition, Environmental Conditions 25 and 26 of the
         Authorization Order require Texas LNG to meet the Commission’s sound level
         requirements. Based on the foregoing analysis, Texas LNG’s estimate that operation of
         the project will not exceed the 3 dBA threshold for human perception of noise change at
         the nearest NSAs, and given the Authorization Order’s conditions for measurement of
         construction and operational sound levels, we conclude the project would result in less
         than significant noise impacts on local residents and the surrounding communities,146
         including environmental justice populations.

                For simultaneous construction activities, the final EIS stated that the predicted
         sound level increase over the existing ambient ranges from 2.2 to 9.8 dBA Ldn at the
         NSAs and sound levels of slightly over 55 dBA Ldn are predicted for NSAs C2, C3,
         and C5,147 resulting in a minor to significant impact. For construction activities that are
         not simultaneous but incremental, the predicted sound level increase ranges from 1.0 to
         8.6 dBA Ldn at the NSAs. These increases would result in a minor to moderate impact;
         however, all levels would be below 55 dBA Ldn. For Palmito Ranch Battlefield,
         Calculation Point-1 (CP-1), the predicted cumulative construction increase was
         10.1 dBA Ldn over the existing ambient, resulting in a perceived doubling of loudness.
         For the Laguna Atascosa NWR, Calculation Point 2 (CP-2) there is a higher ambient
         sound level so the predicted increase due to cumulative construction noise would be 2.7
         dBA Ldn, resulting in a less than noticeable increase.148

               The final EIS concluded that environmental justice communities in the study area
         would experience cumulative impacts related to noise from operation of the Texas LNG

                144
                      Authorization Order, 169 FERC ¶ 61,130 at app. Env’t Condition 24.
                145
                      Final EIS at 4-197.
                146
                      Id. at 4-296.
                147
                      These NSAs are residences in proximity of the project. Id. at 4-346.
                148
                      Id. at 4-357.




                                                                                             JA028
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        Project, along with additional impacts from other projects within the cumulative
        geographic scope for noise.149 The final EIS showed that for operational noise with all
        projects fully operational, the predicted sound level impacts are much lower than
        construction impacts, with potential increases over the existing ambient of between 0.3
        and 1.5 dBA Ldn at NSAs, resulting in minor impacts. Operational impacts are slightly
        higher at two locations, the Palmito Ranch Battlefield, CP-1, and Laguna Atascosa
        NWR CP-2, with possible increases in sound levels due to operations of between 1.3 and
        4.8 dBA Ldn. This is generally considered a minor to moderate long-term impact.150
        Based on the foregoing analysis, we conclude that overall cumulative noise impacts on
        environmental justice communities during construction and operation would be less than
        significant.

                          8.     Safety

                The Energy Policy Act of 2005 amended the NGA to require Emergency
         Response Plans and Cost Sharing Plans to be developed by the LNG terminal operator.
         During an incident, response decisions would be made by local emergency responders
         according to conditions as they exist at that time at the facility and in offsite areas. While
         the company may provide advice regarding hazards and potential impacts to the public,
         the emergency responders direct all response tactics, evacuation, sheltering in place, and
         public notification through an Incident Command System.

               In order to further mitigate potential offsite risks,151 Environmental Conditions 36
         and 37 of the Authorization Order require Texas LNG to prepare an Emergency
         Response Plan and Cost Sharing Plan, to be approved by Commission staff before Texas
         LNG receives its final approval to begin construction.152 Texas LNG’s Emergency
         Response Plan is required to be developed in coordination with U.S. Coast Guard, state,
         county, and local emergency planning groups; fire departments; and state and local law
         enforcement. This ensures that Texas LNG works with the local emergency providers to

                149
                      Id. at 4-274.
                150
                      Id. at 4-356.
                151
                    The Emergency Response Plans are considered the last layer of protection in a
         series of layers of protection evaluated by Commission staff to mitigate potential offsite
         risks. An evaluation of all layers of protection and recommendations to enhance the
         effectiveness and reliability of those safety layers of protection are described in the
         original final Environmental Impact Statement. These recommendations were adopted as
         conditions in the Authorization Order.
                152
                   15 U.S.C. § 717b-1(e) (requiring an emergency response plan for any order
         authorizing an LNG terminal).




                                                                                           JA029
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        identify resource needs based on the hazards that could be present due to the facility. The
        result is pre-incident planning to establish procedures, training, and capabilities that
        would be available to the Incident Commander as they decide how best to address a
        specific incident.

                In response to Commission staff’s data requests,153 Texas LNG evaluated potential
         impacts from incidents identified along the LNG marine vessel transit route and at the
         LNG terminal,154 including potential impacts to people with access and functional needs
         as defined in the National Fire Protection Association (NFPA) 1600, Standard on
         Continuity, Emergency, and Crisis Management155 and NFPA 1616, Standard on Mass
         Evacuation, Sheltering, and Re-Entry Programs.156 Separately, Commission staff
         performed an independent analysis157 of potential safety impacts on environmental justice
         communities using conservative, worst-case distances in the modeling assumptions.158

                To ensure Texas LNG’s Emergency Response Plan incorporates any special
         considerations and pre-incident planning for infrastructure and public with access and
         functional needs, including environmental justice communities, and, at a minimum, is

               153
                  Commission staff Aug. 16, 2022 Data Request; Commission Staff Aug. 31,
         2022 Data Request.
               154
                  Texas LNG Sept. 15, 2022 Response to Commission staff Data Request; Texas
         LNG Sept. 21, 2022 Response to Commission staff Data Request; Texas LNG Oct. 10,
         2022 Response to Commission staff Data Request.
               155
                  The NFPA standards are free and publicly accessible to view in English and
         Spanish on the NFPA website. NFPA, NFPA 1600: Standard on Continuity,
         Emergency, and Crisis Management, https://www.nfpa.org/codes-and-standards/all-
         codes-and-standards/list-of-codes-and-standards/detail?code=1600.
               156
                  NFPA, NFPA 1616: Standard on Mass Evacuation, Sheltering, and Re-entry
         Programs, https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-
         codes-and-standards/detail?code=1616.
               157
                 Appendix C includes additional discussion and details on Commission staff’s
         environmental justice safety analysis.
               158
                   The block groups located within environmental justice communities that
         exceed the thresholds for minority and low income would include Census Tract 142.02,
         Block Group 2, Census Tract 127, Block Group 2, Census Tract 123.04, Block Group 2,
         Census Tract 123.04, Block Group 4 (based on the minority and low-income thresholds);
         Census Tract 123.04, Block Group 3 (based on the minority threshold); and Census
         Tract 123.04 Block Group 1 (based on low-income threshold).




                                                                                        JA030
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        consistent with the recognized and generally accepted good engineering practices for
        evacuating and sheltering in place,159 we modify Environmental Conditions 36 and 37
        from the Authorization Order in Appendix A of this order. These modified conditions
        specify that Texas LNG’s emergency response and cost sharing considerations require
        the preparation of public education materials, including for environmental justice
        communities, that identifies potential hazards and impacts, steps for notification,
        proposed evacuation routes and shelter in place locations. The plan must also provide for
        first responder training, emergency command centers and equipment, and public
        communication methods and devices. These conditions also require that Texas LNG
        periodically disseminate public education materials and that they be made available in
        English and Spanish.

                 We also clarify our expectation that certain Emergency Response Plan information
         be provided as public information. While the Commission has long required that certain
         contents of the plan be subject to public disclosure, this has been previously interpreted to
         mean the plan could be filed requesting privileged or CEII treatment and that the public
         could access this information through Freedom of Information Act procedures. We
         clarify the intent is for project sponsors to file certain Emergency Response Plan
         information as public so that surrounding communities are informed about the possible
         steps that an Incident Commander may require regarding notification, evacuation, and
         sheltering in place.

                          9.     Air Quality

                As discussed in the final EIS, construction of the Texas LNG Project would
         impact air quality.160 The construction emissions are anticipated from operation of
         construction equipment, operation of the onsite concrete batch plants, deliveries of
         supplies by barge and truck, worker commutes, and land disturbance. Fugitive dust
         emissions would include contributions from general site construction work (a function of
         acreage impacted), earth-moving fugitive dust emissions (quantity of soil moved), and
         unpaved road travel (distance of travel and weight of vehicles). Fugitive dust would be
         produced primarily during the site preparation activities, when the site would be cleared
         of debris, leveled, and graded, including at proposed offsite facilities.161

               The final EIS determined that construction air emissions from the project, when
         considered with background concentrations, combined with staged emissions impacts

                159
                 See app. C at P 2 (citing NFPA 1600, NFPA 1616, NFPA 1620, NFPA 470,
         and NFPA 475).
                160
                      Final EIS at 4-175.
                161
                      Id. at 4-175.




                                                                                          JA031
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        from commissioning, start-up, and operations of the project, could result in an
        exceedance of the NAAQS in the vicinity of the project for construction years when these
        emissions are taking place concurrently.162 Emissions from construction tend to be
        variable, depending primarily on the number, type, horsepower, and manufacture date of
        equipment, as well as the phase of construction. Construction emissions typically have a
        greater nearby impact due to the lower height of the exhaust, and the ground level
        emission from dust (as PM2.5 and PM10). Therefore, emissions from construction of the
        Texas LNG Project would be highly localized and have the largest impact within a short
        radius around the construction footprint, but would disperse at further distances. Because
        pollutant concentrations decrease with distance, the dispersal of Texas LNG’s
        construction emissions at the distance of the nearest residences (approximately 1.6 miles
        away)163 should not result in adverse impacts on air quality. But construction emissions
        could be elevated at recreational areas near the LNG terminal site, such as the Laguna
        Atascosa National Wildlife Refuge, which has a border approximately 200 feet north of
        the project.164

                 Texas LNG will implement the following mitigation measures to minimize
         construction impacts on air quality, including application of water to minimize fugitive
         dust, limiting engine idling, and using recent models of construction equipment
         manufactured to meet air quality standards.165 Fugitive dust emissions would be
         minimized by Texas LNG through implementation of the Fugitive Dust Control Plan
         developed for the project.166 Nevertheless, these fugitive dust emissions may still have an
         adverse impact, and may add to evaluated levels of PM2.5 and PM10 during periods where
         construction, commissioning, and operation are concurrent. Additionally, commissioning
         activities are not steady-state operations and they can have an increased emission
         intensity during start up.

                 Texas LNG plans to commission and begin operations on the first completed
         liquefaction facilities while it continues to construct the remaining facilities; the
         simultaneous construction, commissioning and start-up, and operations at the project will
         result in periods of overlapping construction and operational emissions. As a result,
         Commission staff cannot exclude the possibility of short term ambient emission
         concentrations of PM2.5, PM10, and NO2 at levels above the NAAQS at nearby public

               162
                     Id.
               163
                     Id. at 4-323.
               164
                     Id. at 4-56.
               165
                     Id. at 4-336.
               166
                     Id. at 4-178.




                                                                                         JA032
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        recreational areas, such as the Laguna Atascosa National Wildlife Refuge. As such, to
        prevent such occurrences and to ensure protection of air quality for these areas, we are
        requiring, in Environmental Condition 130 in Appendix A of this order that Texas LNG
        take action to ensure that concurrent emissions during construction, commissioning and
        start-up, and operation of terminal facilities would not exceed the NAAQS.

                 Prior to commissioning, Texas LNG shall prepare and file a Project Ambient Air
         Quality Mitigation and Monitoring Plan for reducing the air quality impacts of
         overlapping construction, commissioning, and terminal operations. Such plan could
         include measures such as revising construction and commissioning schedules to reduce
         impacts. Texas LNG shall also include how it will monitor 1-hour NO2, 24-hour PM10,
         and 24-hour PM2.5 during this period. The plan must describe the site selection process
         for installing air quality monitors, and include procedures for data management and
         reporting. This monitoring will ensure that the mitigation measures implemented are
         effective in keeping emissions below the NAAQS, as specified in 40 C.F.R. pt. 50
         (2022).

                Based on Commission staff’s updated environmental justice analysis, and the
         addition of Environmental Condition 130 in Appendix A of this order, we conclude that
         air quality impacts on environmental justice communities during construction of the
         Texas LNG Project would be less than significant.

                 The greatest potential for cumulative construction emissions impacts between
         Texas LNG and Rio Grande would be during years over overlapping construction.
         Simultaneous construction of the Rio Grande LNG and Texas LNG Terminals could
         result in a temporary, moderate to major increase in emissions of criteria pollutants in the
         immediate vicinity of the LNG terminal sites.167 In addition, transport of construction
         materials associated with the Rio Grande LNG and Texas LNG Terminals would
         cumulatively add to regional emissions.168 Both Texas LNG and Rio Grande would
         implement similar mitigation measures to minimize construction impacts. As noted
         above, construction emissions are localized, and impacts would be greatest in the
         immediate vicinity of the LNG terminal sites. During the time period when construction
         and operational activities at both facilities are taking place concurrently, there may be
         adverse impacts on air quality.169 Because pollutant concentrations would decrease with
         distance from the project site, concurrent emissions would be unlikely to adversely
         impact air quality in residential areas, which are located 1.6 miles away or further. As

                167
                 Id. at 4-336. We note that since issuance of the final EIS, the proposed
         Annova LNG Project, included in the cumulative impact analysis, is no longer proposed.
                168
                      Id.
                169
                      Final EIS at 4-269.




                                                                                          JA033
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        previously described, although residential areas would not likely experience adverse air
        quality impacts, individuals from environmental justice communities fishing or otherwise
        recreating near the terminal may experience adverse air quality impacts. As discussed
        above, we are requiring Texas LNG to prepare a Project Ambient Air Quality Monitoring
        and Mitigation Plan as Environmental Condition 130 in Appendix A of this order, and a
        similar plan for Rio Grande LNG; thus, we conclude that cumulative construction air
        quality impacts on environmental justice communities would be less than significant.

                 In order to assess the impact of operational emissions from the Texas LNG Project
         facility on the air quality in environmental justice communities, Commission staff
         requested that Texas LNG provide a cumulative air model of the emissions. In response,
         Texas LNG provided a cumulative model that included all emissions from the Texas
         LNG Project, including mobile ship emissions (LNG carrier, tugs, escort vessels),
         relevant regional monitoring ambient background data, and existing and proposed
         regional industrial major sources within 50 kilometers of the project’s fenceline
         boundary.170 This also includes emissions from the authorized Rio Grande LNG Project
         terminal and its associated vessel emissions. The model provided worst-case
         concentration scenarios that were then compared to the NAAQS.

                 Table 2 in Appendix B displays the results from the cumulative model (combined
         operation of Texas LNG terminal, LNG vessel, and tugboat sources), which represents
         the worst-case scenario resulting in the maximum possible emissions. Under this
         cumulative modeling assessment, the highest predicted concentrations for CO, NO2,
         PM2.5, PM10, and SO2were found to be below the NAAQS at all locations within 50
         kilometers of the Texas LNG facility.171 Although the Texas LNG Project would
         cumulatively add to existing background concentrations of criteria air pollutants within
         the regional airshed, the total concentration of background plus modeled emissions from
         sources within this 50-kilometer radius, including emissions from both the Texas LNG
         and Rio Grande LNG Project terminals, would remain under applicable NAAQS
         thresholds, which are meant to protect sensitive populations. In the final EIS,
         Commission staff analyzed the impact of emissions of ozone precursors—NOx and
         VOC—by comparing them to the analysis of ozone impacts for the Rio Grande LNG
         Project, whose projected emission of those precursors was ten times larger. The analysis
         for the Rio Grande LNG Project showed that the 8-hour maximum predicted increase in




               170
                 The background inventory data were obtained from Texas Commission on
         Environmental Quality.
               171
                 The modeling indicates that lead emissions are not a measurable amount and
         thus Commission staff omitted them from further analysis.




                                                                                       JA034
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        ozone concentration would not result in an exceedance of the 8-hour ozone NAAQS.172
        Because the Texas LNG Project would contribute less than 10% of the annual NOx
        emissions estimated for the Rio Grande LNG terminal, Commission staff concluded that
        the Texas LNG facility would also not result in a NAAQS exceedance for ozone.173
        Moreover, in order to analyze the cumulative impact of the proposed LNG facilities,
        Commission staff reasoned that if the maximum predicted increase of ozone
        concentration estimated for the Rio Grande LNG terminal is increased by 10% (to
        account for Texas LNG’s NOx emissions), the cumulative impact would remain below
        the 8-hour ozone NAAQS. We agree and conclude that there would not be a significant
        cumulative impact with respect to 8-hour ozone during operation of the facility.

                Both the Texas LNG and Rio Grande LNG Projects would be in compliance with
         the NAAQS during operations174 and the NAAQS are designated to protect sensitive
         populations.175 The operation of the projects when combined with the other projects
         within the cumulative geographic scope for air quality176 would not cause or contribute to
         a potential exceedance of the NAAQS on a regional or localized basis.177 Based on the


               172
                     Final EIS for Rio Grande LNG, Docket No. CP16-454-000, at 4-269.
               173
                     Final EIS at 4-339.
               174
                   Air quality modeling of criteria pollutants for both LNG terminals reviewed
         impacts on a regional and local scale and did not identify any areas of NAAQS thresholds
         exceedance that would be attributable to the LNG terminals. Texas LNG Jan. 30, 2023
         Response to Commission staff Jan. 6, 2023 Environmental Information Request at
         Tables 9-5 and 9-6, and Rio Grande Jan. 27, 2023 Response to Commission staff Jan. 6,
         2023 Environmental Information Request, Rio Grande LNG Project Air Dispersion
         Modeling Report.
               175
                   The combustion of natural gas produces the criteria pollutants regulated by
         NAAQS as well as volatile organic compounds including hazardous air pollutant
         chemicals known to cause health impacts. Final EIS at 4-163 to 4-164. The Texas LNG
         terminal is a minor source of hazardous air pollutants and is required to comply with
         certain general provisions for minor area sources under the Clean Air Act. The Rio
         Grande LNG facility is a major source of hazardous air pollutants and must comply with
         the Clean Air Act National Emission Standards for Hazardous Air Pollutants for
         stationary sources at the LNG terminal.
               176
                     Final EIS. at 4-274.
               177
                  Texas LNG Jan. 30, 2023 Response to Commission staff Jan. 6, 2023
         Environmental Information Request at Tables 9-5 and 9-6, and Rio Grande Jan. 27, 2023
         Response to Commission staff Jan. 6, 2023 Environmental Information Request, Rio



                                                                                        JA035
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        foregoing analysis, we conclude environmental justice communities would not
        experience significant air quality impacts during operation of the Texas LNG Project.

                Sierra Club commented on an air model filed by Texas LNG on August 16, 2022,
         questioning some of the emission data (for example, why Texas LNG’s estimates for the
         hoteling of LNG vessels was greater than the estimates for the maneuvering of LNG
         vessels).178 Commission staff requested, on February 3, 2022, Texas LNG to provide a
         model of emissions from the Texas LNG facility, but exclude the Rio Grande facility.
         On August 16, 2022, we further requested the Texas LNG to provide the impact of only
         Texas LNG (worst-case scenario) at each census block and to provide the worst-case
         modeled background concentrations for each census block. Sierra Club’s October 19,
         2022 comments relate to this model. Nevertheless, in order to analyze the impacts
         properly, Commission staff requested, on January 6, 2023, that Texas LNG work with
         Rio Grande LNG to provide a full cumulative model to determine the maximum
         concentrations attributable to the operation of the Rio Grande LNG Terminal and Texas
         LNG Terminal, and therefore a consistent methodology to assess the cumulative air
         quality impact, including background concentrations from mobile ship emissions and all
         other sources within 50 kilometers, from simultaneous operation of both terminals. .
         Texas LNG filed this model on January 30, 2023, and Commission staff relied on this
         updated model in its analysis above.

                Citizens filed comments about the risks of air pollution to communities populated
         by marginalized people and indigenous people. The analysis presented here addresses air
         quality impacts on environmental justice communities and on all communities within
         50 kilometers of the proposed facility. Commission staff concluded that there would be
         no significant impact on air quality from the proposed facility based on refined
         cumulative air modeling.

                          10.    Visual Impacts

                 Sierra Club commented that the Commission has not requested sufficient
         information to analyze the visual impacts of the Texas LNG Project. In fact, Commission
         staff conducted a comprehensive visual impacts analysis for the project during the
         preparation of the EIS for this project. As stated in the final EIS, the project site and
         adjoining lands along State Highway 48 are undeveloped and primarily comprised of
         open lands and tidal flats with isolated lomas (clay dunes).179 Impacts on visual resources
         may occur during construction of the LNG terminal when increased equipment, vehicles,

         Grande LNG Project Air Dispersion Modeling Report.
                178
                      Sierra Club Oct. 19, 2022 Comments at 7.
                179
                      Id. at 4-112.




                                                                                         JA036
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        soil disturbance, import of fill, and construction of the LNG terminal are visible to local
        residents and visitors, including individuals from environmental justice communities,180
        particularly the communities located in Census Tract 142.02, Block Group 2 and Census
        Tract 127, Block Group 2, Census Tract 123.04, Block Group 4, and Census Tract
        123.05, Block Group 1, which are closest to the project.181

                 Impact on visual resources would also occur during operation to the extent that
         facilities or portions of facilities and their lighting are visible to residents and visitors. 182
         Texas LNG assessed potential operational impacts on the viewshed and found that from
         five key observation points, including recreation areas, residential areas, and roadways,
         by producing visual simulations of the project facilities during the day, at night, and
         during flaring events.183 While the Texas LNG Project, especially the storage tanks and
         flares, would be visible from most of the key observation points located in environmental
         justice communities, it would generally not dominate the viewshed.184 Nevertheless, the
         Texas LNG Project would dominate the daytime and nighttime viewshed at State
         Highway 48 and at the Laguna Atascosa National Wildlife Refuge, and the project
         facilities would be prominent at the Loma Ecological Preserve, which are in
         environmental justice communities.185 The project facilities would also likely be visible
         from some residences in Port Isabel and South Padre Island, which are in environmental
         justice communities. South Padre Island, in particular, has numerous high-rise
         condominiums that would have views of the project facilities, especially from the higher
         floors.186 In addition to residences, the project facilities would be visible from
         sightseeing tours that operate within the Brownsville Ship Channel.187 As the
         Commission previously determined, due to the relatively undeveloped nature of the

                180
                      Id.
                181
                      App. B Figs. 5-1-1 to 5-2-15.
                182
                      Final EIS at 4-112.
                183
                      Id. at 4-115 to 4-118.
                184
                    Id. Key observation points include State Highway 48 (Laguna Atascosa
         National Wildlife Refuge), Port Isabel State Historic Site, Isla Blanca Park, Palo Alto
         Battlefield National Historic Park, and Palmito Ranch Battlefield National Historic
         Landmark.
                185
                      Id.
                186
                      Id. at 4-141.
                187
                      Id.




                                                                                               JA037
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        project area, the visual sensitivity of nearby recreation areas, and the inability to
        implement visual screening measures due to the size and scale of the proposed facility,
        the project would result in a significant impact on visual resources when viewed from the
        Laguna Atascosa National Wildlife Refuge, which is within an environmental justice
        community and would have a negligible to moderate impact on the other visual resources
        evaluated.188

                 Texas LNG would minimize visual impacts from lighting by implementing
         measures outlined in its Facility Lighting Plan, including shielding lights, using lights
         designed to minimize glare, and using timers and motion detection sensors where
         feasible.189 Several light reduction techniques would also be implemented including
         limiting the amount of outdoor lighting installed, dimming lights at night, and directing
         lights downward.190 Despite these mitigation measures, based on the location of the
         project facility and the foregoing analysis, we conclude visual impacts on environmental
         justice communities would be significant.

                As the Commission previously determined, the Texas LNG Project would result in
         temporary to permanent and negligible to significant impacts on the viewshed. Other
         projects constructed within the geographic scope Texas LNG Project would also
         contribute to cumulative impacts on the viewshed with the Texas LNG Project.191
         Consistent with the Commission’s earlier visual impacts analysis, we conclude that
         overall potential significant cumulative visual resources impacts, including on
         environmental justice communities, would occur, along with additional impacts from the
         projects within the cumulative geographic scope for visual resources.




               188
                     Id.
               189
                     Id. at 4-112.
               190
                     Id. at 4-199 to 4-200.
               191
                     Id. at 4-326 to 4-327.




                                                                                        JA038
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                      11.    Environmental Justice Conclusion

                As described in the final EIS, the Texas LNG Project will have a range of impacts
        on the environment and individuals living in the vicinity of the project facilities,
        including environmental justice communities. As detailed above, we revised the scope of
        our analysis to include analyses commensurate with the associated impact. Out of 284
        block groups identified within a 50-kilometer radius of the Texas LNG Project, 279 block
        groups were considered environmental justice communities. The closest environmental
        justice block groups are Census Tract 142.02, Block Group 2 and Census Tract 127,
        Block Group 2, and Census Tract 123.04, Block Group 4, which abut the Texas LNG
        Project terminal. These block groups would be the most impacted and impacts would
        diminish as the distance from the project increases. We have determined that certain
        impacts from construction and operation of the project would be disproportionately high
        and adverse, as impacts would be predominately borne by environmental justice
        communities. As concluded in the final EIS and above, environmental justice
        communities within the project area may experience significant project-related and
        cumulative visual impacts. Project-related impacts associated with wetlands, surface
        water, recreational and subsistence fishing, tourism, socioeconomics, traffic, noise, and
        air quality would be less than significant.

         IV.   Conclusion

                 In conformance with the court’s opinion, in this order on remand, we respond to
         the arguments pertaining to whether the use of the social cost of GHGs is required by
         CEQ’s regulations and disclose the social cost of GHG calculations for informational
         purposes, but, as discussed, we do not characterize the significance of the projects’ GHG
         emissions. Additionally, consistent with CEQ and EPA guidance, the Commission
         conducted a new environmental justice analysis with updated units of geographic analysis
         for assessing the project’s impacts on environmental justice communities. We conclude
         that the impacts on environmental justice populations from the project would be
         disproportionately high and adverse because they would be predominately borne by the
         environmental justice communities identified and, specifically, communities in the areas
         near the Texas LNG Project may experience significant visual impacts, as well as
         significant cumulative visual impacts; but that all other project-related impacts would be
         less than significant.

               We continue to find that the project, as conditioned in the Authorization Order and
         as modified herein, is an environmentally acceptable action.

               Further, as stated above, we continue to find that, under section 3 of the NGA, the
         Texas LNG Project is not inconsistent with the public interest.




                                                                                        JA039
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                Compliance with the environmental conditions appended to our orders is integral
         to ensuring that the environmental impacts of approved projects are consistent with those
         anticipated by our environmental analyses. Thus, Commission staff carefully reviews all
         information submitted. Only when satisfied that the applicant has complied with all
         applicable conditions will a notice to proceed with the activity to which the conditions are
         relevant be issued. We also note that the Commission has the authority to take whatever
         steps are necessary to ensure the protection of environmental resources during
         construction and operation of the project, including authority to impose any additional
         measures deemed necessary to ensure continued compliance with the intent of the
         conditions of the order, as well as the avoidance or mitigation of unforeseen adverse
         environmental impacts resulting from project construction and operation.

                 Any state or local permits issued with respect to the jurisdictional facilities
         authorized herein must be consistent with the conditions of this authorization. The
         Commission encourages cooperation between Texas LNG and local authorities.
         However, this does not mean that state and local agencies, through application of state or
         local laws, may prohibit or unreasonably delay the construction or operation of facilities
         approved by this Commission.192

                 At a hearing held on April 20, 2023, the Commission on its own motion received
         and made a part of the record in this proceeding all evidence, including the application,
         applicant data responses, and exhibits therein, and all comments, and upon consideration
         of the record,

         The Commission orders:

                (A) The Commission affirms its earlier determinations that the Texas LNG
         Project is not inconsistent with the public interest.

               (B) The authorization in Ordering Paragraph (A) is conditioned on Texas
         LNG’s compliance with the environmental conditions set forth in the appendix to the
         Authorization Order and Appendix A of this order




                192
                   See 15 U.S.C. § 717r(d) (state or federal agency’s failure to act on a permit
         considered to be inconsistent with Federal law); see also Schneidewind v. ANR Pipeline
         Co., 485 U.S. 293, 310 (1988) (state regulation that interferes with FERC’s regulatory
         authority over the transportation of natural gas is preempted); Dominion Transmission,
         Inc. v. Summers, 723 F.3d 238, 245 (D.C. Cir. 2013) (noting that state and local
         regulation is preempted by the NGA to the extent it conflicts with federal regulation, or
         would delay the construction and operation of facilities approved by the Commission).




                                                                                         JA040
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                (C) Texas LNG shall notify the Commission’s environmental staff by telephone
         or e-mail of any environmental noncompliance identified by other federal, state, or local
         agencies on the same day that such agency notifies Texas LNG. Texas LNG shall file
         written confirmation of such notification with the Secretary of the Commission within 24
         hours.

         By the Commission. Commissioner Phillips is concurring with a separate statement
                            attached.
                            Commissioner Clements is dissenting with a separate statement
                            attached.

         (SEAL)




                                                      Debbie-Anne A. Reese,
                                                        Deputy Secretary.




                                                                                       JA041
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                                             Appendix A

                                       Texas LNG Project
                         Modified Environmental Conditions 36 and 37 and
                            Additional Environmental Condition 130


        Texas LNG shall continue to comply with the environmental conditions set forth in the
        appendix to the Commission’s Authorization Order, 169 FERC ¶ 61,130 (2019). In
        addition this order modifies conditions 36 and 37; and includes condition 130:

        36.   Prior to construction of final design, Texas LNG shall file with the Secretary,
              for review and approval by the Director of the Office of Energy Projects, or their
              designee, an Emergency Response Plan, including evacuation and any sheltering
              and re-entry, and coordinate procedures with the U.S. Coast Guard; state, county,
              and local emergency planning groups; fire departments; state and local law
              enforcement; and other appropriate federal agencies. This plan shall be consistent
              with recommended and good engineering practices, as defined in National Fire
              Protection Association (NFPA) 1600, NFPA 1616, NFPA 1620, NFPA 470,
              NFPA 475, or approved equivalents, and based on potential impacts and onsets of
              hazards from accidental and intentional events along the liquefied natural gas
              (LNG) marine vessel route and potential impacts and onset of hazards from
              accidental and intentional events at the LNG terminal, including but not limited to
              a catastrophic failure of the largest LNG tank. This plan shall address any special
              considerations and pre-incident planning for infrastructure and public with access
              and functional needs and shall include at a minimum:

              a.     materials and plans for periodic dissemination of public education and
                     training materials in English and Spanish for potential hazards and impacts,
                     identification of potential hazards, and steps for public notification,
                     evacuation, and shelter in place within any transient hazard areas along the
                     marine vessel route, and within LNG terminal hazard areas in the event of
                     an incident;

               b.    plans to competently train emergency responders required to effectively and
                     safely respond to hazardous material incidents including, but not limited to
                     LNG fires and dispersion;

               c.    plans to competently train emergency responders to effectively and safely
                     evacuate or shelter public within transient hazard areas along the marine
                     vessel route, and within hazard areas from LNG terminal;

               d.    designated contacts with federal, state and local emergency response
                     agencies responsible for emergency management and response within any



                                                                                      JA042
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                     transient hazard areas along the marine vessel route, and within hazard
                     areas from LNG terminal;

              e.    scalable procedures for the prompt notification of appropriate local officials
                    and emergency response agencies based on the level and severity of
                    potential incidents;

              f.    scalable procedures for mobilizing response and establishing a unified
                    command, including identification, location, and design of any emergency
                    operations centers and emergency response equipment required to
                    effectively and safely to respond to hazardous material incidents and
                    evacuate or shelter public within transient hazard areas along the marine
                    vessel route, and within LNG terminal hazard areas;

              g.    scalable procedures for notifying public, including identification, location,
                    design, and use of any permanent sirens or other warning devices required
                    to effectively communicate and warn the public prior to onset of
                    debilitating hazards within any transient hazard areas along the LNG
                    marine vessel route and within hazard areas from LNG terminal;

              h.    scalable procedures for evacuating the public, including identification,
                    location, design, and use of evacuation routes/methods and any mustering
                    locations required to effectively and safely evacuate public within any
                    transient hazard areas along the LNG marine transit route and within hazard
                    areas from LNG terminal; and

              i.    scalable procedures for sheltering the public, including identification,
                    location, design, and use of any shelters demonstrated to be needed and
                    demonstrated to effectively and safely shelter public prior to onset of
                    debilitating hazards within transient hazard areas that may better benefit
                    from sheltering in place (i.e., those within Zones of Concern 1 and 2), along
                    the route of the LNG marine vessel and within hazard areas that may
                    benefit from sheltering in place (i.e., those within areas of 1,600 BTU/ft2-
                    hr and 10,000 BTU/ft2-hr radiant heats from fires with farthest impacts,
                    including from a catastrophic failure of largest LNG tank) of the LNG
                    terminal.

              Texas LNG shall notify the Commission staff of all planning meetings in advance
              and shall report progress on the development of its Emergency Response Plan at
              3‑month intervals. Texas LNG shall file with the Secretary public versions of
              offsite emergency response procedures for public notification, evacuation, and
              shelter in place.




                                                                                       JA043
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         37.    Prior to construction of final design, Texas LNG shall file with the Secretary for
                review and written approval by the Director of the Office of Energy Projects, or
                the Director’s designee, a Cost-Sharing Plan identifying the mechanisms for
                funding all Project-specific security/emergency management costs that would be
                imposed on state and local agencies. This comprehensive plan shall include
                funding mechanisms for the capital costs associated with any necessary
                security/emergency management equipment and personnel base. This plan shall
                include sustained funding of any requirement or resource gap analysis identified to
                effectively and safely evacuate and shelter public and to effectively and safely
                respond to hazardous material incidents consistent with recommended and good
                engineering practices. Texas LNG shall notify FERC staff of all planning
                meetings in advance and shall report progress on the development of its Cost
                Sharing Plan at 3-month intervals.

         130.   Prior to commissioning, Texas LNG shall file with the Secretary, for review and
                written approval by the Director of the Office of Energy Projects, or the Director’s
                designee, a Project Ambient Air Quality Mitigation and Monitoring Plan for
                periods when construction, commissioning and start-up, and operation of the LNG
                Terminal occur simultaneously. To ensure that concurrent emissions during
                construction, commissioning and start-up, and operation of terminal facilities are
                effectively mitigated, the plan’s thresholds for concentrations of particulate matter
                (PM2.5 and PM10) and nitrogen oxide (NO2) must be established based on the
                National Ambient Air Quality Standards (NAAQS), as specified in 40 C.F.R. Part
                50 and shall:

                a.     include a monitoring plan for PM2.5, PM10, and NO2, including a description
                       of the site selection process for the proposed locations for air quality
                       monitors; data management; reporting; and protocols to manage any
                       potential exceedances of the NAAQS for PM2.5, PM10, and NO2 that may be
                       observed during the monitoring activities;

                b.     detail what measures Texas LNG will implement should the levels of PM2.5
                       or PM10 exceed the NAAQS 24-hour limit or should the levels of NO2
                       exceed the NAAQS 1-hour limit as specified in 40 C.F.R. Part 50; and

                c.     provide that Texas LNG will file weekly reports during periods when the
                       plan is in use, documenting the duration of any exceedances, reasons for
                       elevated levels of PM2.5, PM10, or NO2, actual measured values, and to the
                       extent there are exceedances, what minimization or mitigation measures
                       Texas LNG implemented to reduce these levels and documentation of a
                       reduction to or below the threshold(s).




                                                                                          JA044
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                                          Appendix B

                            Environmental Justice Tables and Figures




                                                                              JA045
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                                                                         Table 1
                                                                  Texas LNG Project
                                               Minority Populations by Race and Low-Income Populations
                                                            Within 50 km of Terminal Site

           GEOGRAPHIC AREA AND                                                                                                                  LOW-
                                                                           RACE AND ETHNICITY
               POPULATION                                                                                                                      INCOME
          State/ County/     Population White (Not Black or Asian American         Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and           and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan          Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)       (%)                                                        (%)
          State of Texas 28,862,581 40.7            11.8     5.0   0.2             0.1             0.3      2.3         39.8       59.3       13.3
          Cameron County 420,554    8.5             0.4      0.7   0.1             0.0             0.1      0.3         90.0       91.5       25.3

                             1,295      4.2         0.0      2.2   0.0             0.0             0.0      0.0         93.5       95.8       32.4
          CT 101.01, BG 1
                             1,582      16.7        0.0      0.0   1.0             0.0             0.0      0.0         82.3       83.3       2.4
          CT 101.01, BG 2
                             835        16.2        0.0      0.0   0.0             0.0             0.0      2.9         81.0       83.8       25.9
          CT 101.01, BG 3
                             501        79.8        0.0      2.4   0.0             0.0             0.0      5.0         12.8       20.2       21.5
          CT 101.02, BG 1
                             847        22.1        0.0      0.0   0.0             0.0             0.0      0.0         77.9       77.9       70.4
          CT 101.02, BG 2
                             310        4.5         0.0      0.0   0.0             0.0             0.0      0.0         95.5       95.5       36.2
          CT 101.02, BG 3
                             868        5.9         0.0      0.0   0.0             0.0             0.0      0.0         94.1       94.1       11.3
          CT 101.03, BG 1
                             1,519      0.0         0.0      0.0   0.0             0.0             0.0      0.0         100.0      100.0      11.3
          CT 101.03, BG 2




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           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8      59.3        13.3

                             1,403      16.7       0.0      0.0   0.0          0.0             0.0      0.0         83.3      83.3        16.0
          CT 102.01, BG 1
                             465        2.4        0.0      0.0   0.0          0.0             0.0      0.0         97.6      97.6        30.4
          CT 102.01, BG 2
                             1,792      22.8       0.0      0.0   0.0          0.0             0.0      0.0         77.2      77.2        16.5
          CT 102.04, BG 1
                             2,412      27.1       0.0      8.3   0.0          0.0             0.0      0.0         64.6      72.9        40.3
          CT 102.04, BG 2
                             1,430      8.3        0.5      0.0   0.0          0.0             0.0      0.0         91.2      91.7        19.3
          CT 102.05, BG 1
                             744        47.2       0.0      2.6   0.0          0.0             0.0      0.0         50.2      52.8        0.0
          CT 102.05, BG 2
                             401        12.5       0.0      0.0   0.0          0.0             0.0      0.0         87.5      87.5        3.9
          CT 105.00, BG 1
                             2,361      2.5        0.0      0.2   0.0          0.0             0.0      0.0         97.3      97.5        21.4
          CT 105.00, BG 2
                             1,691      29.5       0.9      3.4   0.0          0.0             0.0      2.9         63.3      70.5        7.9
          CT 106.02, BG 1
                             1,576      3.9        0.0      0.0   0.0          0.0             0.0      0.0         96.1      96.1        29.4
          CT 106.03, BG 1
                             1,316      13.2       0.8      0.0   0.0          0.0             0.0      0.0         86.0      86.8        20.3
          CT 106.03, BG 2
                             1,929      16.2       0.4      0.0   0.0          0.0             0.0      0.0         83.4      83.8        43.6
          CT 106.03, BG 3




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           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8       59.3       13.3

                             1,558      14.4       0.0      7.6   0.0          0.0             0.0      0.0         78         85.6       24.0
          CT 106.04, BG 2
                             1,442      12.3       0.0      0.0   5.3          0.0             0.0      1.4         81.1       87.7       25.7
          CT 106.04, BG 3
                             1,286      4.4        0.0      0.0   0.0          0.0             0.0      1.1         94.5       95.6       10.5
          CT 107.00, BG 1
                             880        20.0       0.0      0.0   0.0          0.0             0.0      0.0         80.0       80.0       36.5
          CT 107.00, BG 2
                             1,164      9.9        0.0      0.0   0.0          6.2             0.0      0.0         83.9       90.1       13.7
          CT 107.00, BG 3
                             1,054      13.0       0.0      0.0   0.0          0.0             0.0      0.0         87.0       87.0       26.6
          CT 108.01, BG 1
                             1,329      16.0       0.5      0.0   2.0          0.0             0.0      0.0         81.6       84.0       3.1
          CT 108.01, BG 2
                             1,978      1.9        0.0      0.0   0.0          0.0             0.0      0.0         98.1       98.1       42.7
          CT 108.01, BG 3
                             2,485      6.4        1.7      0.0   0.6          0.0             0.0      0.0         91.2       93.6       37.4
          CT 108.02, BG 1
                             967        18.2       0.0      0.0   0.0          0.0             0.0      0.0         81.8       81.8       23.5
          CT 108.02, BG 2
                             614        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      0.0
          CT 108.02, BG 3
                             387        6.5        5.2      2.1   0.0          0.0             0.0      2.3         84.0       93.5       28.0
          CT 109.00, BG 1




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           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8      59.3        13.3

                             980        5.9        0.0      0.0   0.0          0.0             0.0      2.3         91.7      94.1        29.0
          CT 109.00, BG 2
                             783        15.3       0.0      0.0   0.0          0.0             0.0      0.0         84.7      84.7        49.1
          CT 110.00, BG 1
                             632        5.9        0.0      0.0   0.0          0.0             0.0      0.0         94.1      94.1        49.6
          CT 110.00, BG 2
                             1,445      2.0        0.0      0.0   0.0          0.0             0.0      0.0         98.0      98.0        49.0
          CT 110.00, BG 3
                             509        20.0       0.0      0.0   0.0          0.0             0.0      0.0         80.0      80.0        30.7
          CT 111.00, BG 1
                             1,435      0.3        0.0      0.0   0.0          0.0             0.0      0.0         99.7      99.7        30.0
          CT 111.00, BG 2
                             672        10.0       17.0     0.0   0.0          0.0             0.0      0.0         73.1      90.0        15.6
          CT 111.00, BG 3
                             892        4.6        0.0      0.0   0.0          0.0             0.0      0.0         95.4      95.4        29.7
          CT 112.00, BG 1
                             772        13.5       0.0      0.0   0.0          0.0             0.0      0.0         86.5      86.5        31.3
          CT 112.00, BG 2
                             755        40.5       0.0      0.0   0.0          0.0             0.0      0.0         59.5      59.5        3.0
          CT 113.01, BG 1
                             560        22.9       0.0      0.0   0.0          0.0             0.0      0.0         77.1      77.1        30.5
          CT 113.01, BG 2
                             1,511      18.6       4.3      0.0   0.0          0.0             0.0      5.4         71.7      81.4        8.0
          CT 113.02, BG 1




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           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0    0.2         0.1             0.3      2.3         39.8       59.3       13.3

                             1,362      26.8       1.4      10.9   0.0         0.0             0.0      0.0         60.9       73.2       9.8
          CT 113.02, BG 2
                             1,980      25.0       6.7      4.3    0.0         0.0             0.0      0.0         64.0       75.0       1.1
          CT 113.02, BG 3
                             664        29.8       0.0      0.0    0.0         0.0             0.0      0.0         70.2       70.2       13.4
          CT 114.01, BG 1
                             1,127      0.0        0.0      0.0    0.0         0.0             0.0      0.0         100.0      100.0      12.2
          CT 114.01, BG 2
                             1,750      13.6       1.7      0.0    0.0         0.0             0.0      0.0         84.7       86.4       8.6
          CT 114.01, BG 3
                             1,289      10.0       0.0      0.0    0.0         0.0             0.0      0.0         90.0       90.0       9.3
          CT 114.02, BG 1
                             753        16.9       0.0      0.0    0.0         0.0             0.0      0.0         83.1       83.1       18.9
          CT 114.02, BG 2
                             685        29.6       0.0      0.0    0.0         0.0             0.0      0.0         70.4       70.4       26.4
          CT 114.02, BG 3
                             580        6.9        0.0      0.0    0.0         0.0             0.0      0.0         93.1       93.1       30.0
          CT 115.00, BG 1
                             848        0.0        0.0      0.0    0.0         0.0             0.0      0.0         100.0      100.0      38.6
          CT 115.00, BG 2
                             1,178      2.4        0.3      0.0    0.0         0.0             0.0      0.0         97.4       97.6       32.4
          CT 115.00, BG 3
                             530        7.5        0.0      0.0    0.0         0.0             0.0      0.0         92.5       92.5       19.2
          CT 115.00, BG 4




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           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8       59.3       13.3

                             2,969      2.7        0.0      0.0   0.0          0.0             0.0      0.0         97.3       97.3       26.9
          CT 115.00, BG 5
                             723        3.0        0.0      0.0   0.0          0.0             0.0      0.0         97.0       97.0       51.8
          CT 116.01, BG 1
                             1,724      0.9        0.4      0.0   0.0          0.0             0.0      0.0         98.7       99.1       24.7
          CT 116.01, BG 2
                             1,024      15.4       0.0      0.0   0.0          2.0             0.0      0.0         82.6       84.6       24.4
          CT 116.02, BG 1
                             2,194      3.5        0.0      0.0   0.0          0.0             0.0      0.0         96.5       96.5       34.5
          CT 116.02, BG 2
                             1,075      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      35.7
          CT 117.01, BG 1
                             3,466      5.3        0.5      0.0   0.0          0.0             0.0      0.0         94.3       94.7       29.6
          CT 117.01, BG 2
                             2,220      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      27.9
          CT 117.02, BG 1
                             551        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      38.0
          CT 117.02, BG 2
                             1,185      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      24.6
          CT 117.02, BG 3
                             1,505      6.3        1.5      2.7   0.0          0.0             0.0      0.0         89.4       93.7       51.1
          CT 118.01, BG 1
                             1,782      1.3        0.0      0.0   1.6          0.0             0.0      0.0         97.0       98.7       4.5
          CT 118.01, BG 2




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           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8      59.3        13.3

                             512        34.2       1.8      0.0   0.0          0.0             0.0      0.0         64.1      65.8        60.5
          CT 118.01, BG 3
                             1,665      14.2       1.6      1.1   0.0          0.0             0.0      0.0         83.1      85.8        18.6
          CT 118.01, BG 4
                             753        3.2        1.5      0.0   0.0          0.0             0.0      1.9         93.5      96.8        36.3
          CT 118.02, BG 1
                             1,885      3.6        1.1      0.0   0.0          0.0             0.0      0.0         95.4      96.4        46.6
          CT 118.02, BG 2
                             1,619      11.4       0.0      2.2   0.0          0.0             0.0      0.6         85.9      88.6        28.7
          CT 118.02, BG 3
                             823        34.0       0.0      0.0   0.0          0.0             0.0      0.0         66.0      66.0        7.3
          CT 120.02, BG 1
                             907        16.2       0.4      0.0   0.0          0.0             0.0      0.0         83.4      83.8        5.8
          CT 120.02, BG 4
                             1,370      17.7       3.5      2.9   0.0          0.0             0.0      0.0         75.8      82.3        32.5
          CT 120.03, BG 3
                             461        89.2       0.0      8.2   0.0          0.0             0.0      0.0         2.6       10.8        0.0
          CT 121.03, BG 1
                             2,052      12.0       0.0      4.7   0.0          0.8             0.0      0.4         82.1      88.0        2.9
          CT 121.04, BG 1
                             1,940      5.6        0.0      0.0   0.0          0.0             0.0      0.0         94.4      94.4        12.1
          CT 121.04, BG 2
                             720        6.0        0.0      0.0   0.0          0.0             0.0      0.0         94.0      94.0        4.4
          CT 121.04, BG 3




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           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8       59.3       13.3

                             1,784      4.3        0.0      0.0   0.0          0.0             0.0      0.0         95.7       95.7       10.5
          CT 121.05, BG 1
                             920        0.3        0.0      0.0   0.0          0.0             0.0      0.0         99.7       99.7       14.7
          CT 121.05, BG 2
                             462        11.0       0.0      0.0   0.0          0.0             0.0      0.0         89.0       89.0       52.7
          CT 121.06, BG 1
                             985        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      39.9
          CT 121.06, BG 2
                             244        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      45.8
          CT 122.01, BG 1
                             1,469      13.5       24.2     0.0   0.0          0.0             0.2      0.1         62.0       86.5       28.6
          CT 122.01, BG 2
                             1,502      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      19.8
          CT 122.01, BG 3
                             1,178      1.4        0.1      0.0   0.0          0.0             0.0      0.0         98.5       98.6       25.9
          CT 122.02, BG 1
                             1,181      8.4        0.0      0.0   0.0          0.0             0.1      0.4         91.1       91.6       21.2
          CT 122.02, BG 2
                             704        6.8        0.0      0.0   0.0          0.0             0.3      0.0         92.9       93.2       16.7
          CT 122.02, BG 3
                             1,042      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      27.4
          CT 122.03, BG 1
                             371        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      34.7
          CT 122.03, BG 2




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         Docket No. CP16-116-002                                                                                           B- 10 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0    0.2         0.1             0.3      2.3         39.8      59.3        13.3

                             2,764      0.3        0.0      0.0    0.0         0.0             0.0      0.0         99.7      99.7        34.4
          CT 122.03, BG 3
                             1,666      56.9       0.0      0.8    0.0         0.0             0.0      0.0         42.3      43.1        17.1
          CT 123.01, BG 1
                             909        49.5       2.6      0.0    1.2         0.0             0.0      0.0         46.6      50.5        25.3
          CT 123.01, BG 2
                             325        29.8       0.0      0.0    28.6        0.0             0.0      0.0         41.5      70.2        0.0
          CT 123.01, BG 3
                             1,319      65.8       0.0      0.0    0.0         0.0             0.0      0.3         33.9      34.2        27.8
          CT 123.01, BG 4
                             588        37.2       0.0      0.0    0.0         0.0             0.0      0.0         62.8      62.8        29.6
          CT 123.04, BG 1
                             1,689      6.6        0.0      0.0    0.0         0.0             0.0      0.0         93.4      93.4        28.9
          CT 123.04, BG 2
                             955        37.8       0.0      0.0    0.0         0.0             0.0      1.4         60.8      62.2        11.3
          CT 123.04, BG 3
                             630        11.6       0.0      11.4   0.0         0.0             0.0      0.0         77.0      88.4        37.3
          CT 123.04, BG 4
                             2,454      71.5       4.2      2.2    0.0         0.0             1.9      1.5         18.8      28.5        6.0
          CT 123.05, BG 1
                             1,907      10.2       0.0      0.0    0.0         0.0             0.0      0.0         89.8      89.8        27.0
          CT 124.02, BG 1
                             313        0.6        0.0      0.0    0.0         0.0             0.0      0.0         99.4      99.4        24.3
          CT 124.02, BG 2




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         Docket No. CP16-116-002                                                                                           B- 11 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8      59.3        13.3

                             1,108      12.0       0.0      0.0   0.0          0.0             0.0      0.0         88.0      88.0        58.8
          CT 124.02, BG 3
                             2,515      8.3        0.0      0.0   0.0          0.0             0.0      0.0         91.7      91.7        49.2
          CT 124.02, BG 4
                             1,437      20.2       0.0      0.0   0.0          0.0             0.0      0.0         79.8      79.8        19.8
          CT 124.03, BG 1
                             2,623      8.0        0.0      0.0   0.0          0.0             0.0      0.0         92.0      92.0        16.5
          CT 124.03, BG 2
                             598        4.3        0.0      0.0   0.0          0.0             0.0      0.0         95.7      95.7        10.9
          CT 124.04, BG 1
                             1,963      3.2        0.0      0.0   0.0          0.0             0.0      0.0         96.8      96.8        46.7
          CT 124.04, BG 2
                             1,000      12.4       0.0      0.0   0.0          0.0             0.0      0.0         87.6      87.6        9.7
          CT 124.04, BG 3
                             1,371      3.8        0.0      0.0   0.0          0.0             0.0      0.0         96.2      96.2        13.8
          CT 125.06, BG 1
                             1,263      27.3       0.0      3.5   0.0          0.0             0.0      0.0         69.2      72.7        11.4
          CT 125.06, BG 2
                             1,484      28.1       0.0      0.3   2.1          0.0             0.0      0.0         69.5      71.9        9.8
          CT 125.06, BG 3
                             1,051      26.6       0.0      0.0   0.0          0.0             0.0      0.0         73.4      73.4        14.7
          CT 125.08, BG 1
                             2,993      2.7        0.0      0.8   0.2          0.0             0.0      0.0         96.4      97.3        21.0
          CT 125.08, BG 2




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         Docket No. CP16-116-002                                                                                            B- 12 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8       59.3       13.3

                             495        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      40.1
          CT 125.09, BG 1
                             3,024      3.9        0.0      0.0   0.0          0.0             0.0      0.0         96.1       96.1       24.1
          CT 125.09, BG 2
                             1,998      0.0        0.0      0.0   0.0          0.0             0.0      4.0         96.0       100.0      24.3
          CT 125.10, BG 1
                             1,338      7.0        0.0      0.0   0.0          0.0             0.0      0.0         93.0       93.0       13.9
          CT 125.10, BG 2
                             1,858      1.7        0.0      0.0   0.0          0.0             0.0      0.0         98.3       98.3       42.9
          CT 125.10, BG 3
                             1,199      1.8        0.0      0.0   0.0          0.0             0.0      0.0         98.2       98.2       31.2
          CT 125.11, BG 1
                             1,747      5.6        0.0      0.0   0.0          0.0             0.0      0.0         94.4       94.4       0.0
          CT 125.11, BG 2
                             2,629      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      29.4
          CT 125.11, BG 3
                             971        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      47.3
          CT 125.12, BG 1
                             1,527      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      33.3
          CT 125.12, BG 2
                             2,260      5.7        0.0      0.0   0.4          0.0             0.0      0.2         93.7       94.3       29.0
          CT 125.13, BG 1
                             1,172      12.6       0.0      0.0   0.0          0.0             0.0      0.0         87.4       87.4       35.7
          CT 125.13, BG 2




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         Docket No. CP16-116-002                                                                                            B- 13 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8       59.3       13.3

                             2,787      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      8.5
          CT 125.14, BG 1
                             2,536      14.4       0.0      0.0   0.0          0.0             0.0      0.0         85.6       85.6       18.1
          CT 125.14, BG 2
                             1,669      4.8        0.0      2.6   0.0          0.0             0.0      0.0         92.6       95.2       0.0
          CT 125.15, BG 1
                             1,251      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      15.4
          CT 125.15, BG 2
                             946        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      0.0
          CT 125.16, BG 1
                             300        8.7        0.0      0.0   0.0          0.0             0.0      0.0         91.3       91.3       0.0
          CT 125.16, BG 2
                             1,671      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      0.0
          CT 125.16, BG 3
                             1,550      5.2        0.0      0.0   0.0          0.0             0.0      0.0         94.8       94.8       11.5
          CT 125.17, BG 1
                             951        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      0.0
          CT 125.17, BG 2
                             1,400      2.9        0.0      0.0   0.0          0.0             0.0      0.0         97.1       97.1       26.1
          CT 125.17, BG 3
                             1,467      0.3        0.0      0.0   0.0          0.0             0.0      0.0         99.7       99.7       22.4
          CT 126.07, BG 1
                             1,121      1.1        0.0      0.0   0.0          0.0             0.0      0.0         98.9       98.9       48.6
          CT 126.07, BG 2




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         Docket No. CP16-116-002                                                                                            B- 14 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8       59.3       13.3

                             1,530      0.5        0.4      0.0   0.0          0.0             0.0      0.0         99.1       99.5       34.3
          CT 126.08, BG 1
                             819        5.9        0.0      0.0   0.0          0.0             0.0      0.0         94.1       94.1       37.5
          CT 126.08, BG 2
                             2,578      2.1        1.6      4.3   0.0          0.0             0.0      0.0         91.9       97.9       9.3
          CT 126.08, BG 3
                             283        100.0      0.0      0.0   0.0          0.0             0.0      0.0         0.0        0.0        0.0
          CT 126.08, BG 4
                             1,038      7.4        0.0      0.0   0.0          0.0             0.0      0.0         92.6       92.6       15.3
          CT 126.13, BG 1
                             705        3.7        0.7      7.1   0.0          0.0             0.0      0.0         88.5       96.3       7.6
          CT 126.13, BG 2
                             2,377      5.8        0.0      1.6   0.0          0.0             0.0      1.2         91.4       94.2       10.9
          CT 126.13, BG 3
                             1,570      2.3        5.3      2.8   0.0          0.0             0.0      0.8         88.9       97.7       36.3
          CT 126.13, BG 4
                             1,353      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      37.5
          CT 126.14, BG 1
                             1,725      1.3        0.0      0.0   0.0          0.0             0.0      0.0         98.7       98.7       47.1
          CT 126.14, BG 2
                             918        2.2        0.0      0.0   0.0          0.0             0.0      0.0         97.8       97.8       36.3
          CT 126.15, BG 1
                             1,128      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      28.3
          CT 126.15, BG 2




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         Docket No. CP16-116-002                                                                                            B- 15 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8       59.3       13.3

                             1,067      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      36.5
          CT 126.15, BG 3
                             1,959      5.5        0.6      0.0   2.0          0.0             0.0      0.0         92.0       94.5       3.0
          CT 126.16, BG 1
                             1,719      1.7        0.5      0.0   0.0          0.0             0.0      0.0         97.7       98.3       9.0
          CT 126.16, BG 2
                             1,095      1.4        0.0      0.0   0.0          0.0             0.0      0.0         98.6       98.6       37.2
          CT 126.17, BG 1
                             1,494      1.1        0.0      6.5   0.0          0.0             0.0      0.0         92.4       98.9       4.9
          CT 126.17, BG 2
                             818        8.3        0.0      0.0   0.0          0.0             0.0      0.0         91.7       91.7       26.1
          CT 126.17, BG 3
                             1,370      0.6        0.0      0.0   0.0          0.0             0.0      0.0         99.4       99.4       27.7
          CT 127.00, BG 1
                             611        4.9        0.0      0.0   0.0          0.0             0.0      0.0         95.1       95.1       29.8
          CT 127.00, BG 2
                             1,535      1.3        0.0      0.0   0.0          0.0             0.0      0.0         98.7       98.7       31.3
          CT 127.00, BG 3
                             1,954      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      54.1
          CT 127.00, BG 4
                             1,167      8.3        0.0      0.0   0.0          0.0             0.0      0.0         91.7       91.7       32.5
          CT 128.00, BG 1
                             1,067      12.7       5.0      0.0   0.0          0.0             0.0      0.0         82.3       87.3       12.9
          CT 128.00, BG 2




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           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8      59.3        13.3

                             1,099      1.0        0.0      0.0   0.0          0.0             0.0      0.0         99.0      99.0        33.9
          CT 128.00, BG 3
                             1,575      1.6        0.0      0.0   0.0          0.0             0.0      0.0         98.4      98.4        21.1
          CT 128.00, BG 4
                             899        17.8       0.0      0.0   0.0          0.0             0.0      0.0         82.2      82.2        35.6
          CT 12.009, BG 1
                             416        22.8       0.0      0.0   0.0          0.0             0.0      0.0         77.2      77.2        17.0
          CT 129.00, BG 2
                             2,387      5.6        0.0      0.0   0.0          0.0             0.0      0.0         94.4      94.4        41.1
          CT 129.00, BG 3
                             717        24.7       2.1      0.0   0.0          0.0             0.0      0.0         73.2      75.3        29.2
          CT 129.00, BG 4
                             1,073      7.1        0.0      0.0   0.0          0.0             0.0      0.0         92.9      92.9        22.4
          CT 130.02, BG 1
                             1,053      1.2        0.0      0.0   0.0          0.0             0.0      0.0         98.8      98.8        21.1
          CT 130.02, BG 2
                             718        8.2        0.0      0.0   0.0          0.0             0.0      0.0         91.8      91.8        29.8
          CT 130.02, BG 3
                             1,730      5.1        0.0      0.0   0.0          0.0             0.0      0.0         94.9      94.9        49.3
          CT 130.02, BG 4
                             757        4.0        0.0      0.0   0.0          0.0             0.0      0.0         96.0      96.0        42.7
          CT 130.03, BG 1
                             1,467      4.8        1.2      0.0   0.5          0.0             5.4      1.2         87.0      95.2        44.5
          CT 130.03, BG 2




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           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8      59.3        13.3

                             876        11.8       0.0      3.1   0.0          0.0             0.0      1.3         83.9      88.2        17.9
          CT 130.04, BG 1
                             654        14.8       0.0      1.1   0.0          0.0             0.0      0.0         84.1      85.2        22.6
          CT 130.04, BG 2
                             692        1.7        0.0      0.0   0.0          0.0             0.0      0.0         98.3      98.3        25.5
          CT 130.04, BG 3
                             620        15.6       0.0      0.0   0.0          0.0             0.0      0.0         84.4      84.4        0.0
          CT 131.02, BG 1
                             1,417      2.9        0.0      0.0   0.0          0.0             0.0      0.0         97.1      97.1        5.1
          CT 131.02, BG 2
                             2,360      12.8       0.0      1.0   0.0          0.0             0.0      0.0         86.2      87.2        25.0
          CT 131.02, BG 3
                             1,485      6.9        0.0      0.5   0.0          0.0             0.0      0.0         92.6      93.1        0.0
          CT 131.04, BG 1
                             862        12.1       0.0      1.0   0.0          0.0             0.0      1.9         85.0      87.9        0.0
          CT 131.04, BG 2
                             982        3.3        0.0      0.0   0.0          0.0             0.0      0.0         96.7      96.7        37.3
          CT 131.04, BG 3
                             1,848      0.5        0.0      0.0   0.0          0.0             0.0      0.0         99.5      99.5        58.5
          CT 131.06, BG 1
                             1,789      1.5        0.0      0.0   0.0          0.0             0.0      0.0         98.5      98.5        27.1
          CT 131.06, BG 2
                             1,113      3.6        0.0      2.7   0.0          0.0             0.0      0.0         93.7      96.4        31.9
          CT 131.06, BG 3




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         Docket No. CP16-116-002                                                                                            B- 18 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8       59.3       13.3

                             1,521      2.2        0.0      0.0   0.0          0.0             0.0      1.9         95.9       97.8       42.2
          CT 132.03, BG 1
                             778        0.9        0.0      0.0   0.0          0.0             0.0      0.0         99.1       99.1       35.7
          CT 132.03, BG 2
                             1,015      3.8        0.0      0.0   0.0          0.0             0.0      0.0         96.2       96.2       44.4
          CT 132.04, BG 1
                             810        0.0        0.0      0.0   0.0          0.0             1.6      0.0         98.4       100.0      26.1
          CT 132.04, BG 2
                             1,865      0.7        0.0      0.0   0.0          0.0             0.0      0.5         98.8       99.3       21.7
          CT 132.05, BG 1
                             2,103      0.5        0.0      0.0   0.0          0.0             0.0      0.0         99.5       99.5       48.6
          CT 132.05, BG 2
                             851        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      36.7
          CT 132.06, BG 1
                             927        2.8        0.0      0.0   0.0          0.0             0.0      0.0         97.2       97.2       33.2
          CT 132.06, BG 2
                             897        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      25.6
          CT 132.06, BG 3
                             1,894      5.6        0.0      0.0   0.0          0.0             0.0      0.0         94.4       94.4       17.8
          CT 132.07, BG 1
                             1,724      3.9        0.0      0.0   0.0          0.0             0.0      0.0         96.1       96.1       36.8
          CT 132.07, BG 2
                             952        7.9        0.0      0.0   0.0          0.0             0.0      0.0         92.1       92.1       44.3
          CT 132.07, BG 3




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         Docket No. CP16-116-002                                                                                            B- 19 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8       59.3       13.3

                             925        0.9        0.0      1.3   0.0          1.8             0.0      0.0         96.0       99.1       2.0
          CT 133.03, BG 1
                             1,587      0.6        0.0      0.0   0.0          0.0             0.0      0.0         99.4       99.4       35.6
          CT 133.03, BG 2
                             1,640      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      39.4
          CT 133.03, BG 3
                             1099       1.2        0.0      0.0   0.0          0.0             0.0      0.0         98.8       98.8       20.1
          CT 133.05, BG 1
                             1,144      0.4        0.0      0.0   0.0          0.0             0.0      0.0         99.6       99.6       20.2
          CT 133.05, BG 2
                             1,311      2.9        0.0      0.0   0.0          0.0             0.0      0.0         97.1       97.1       25.6
          CT 133.05, BG 3
                             736        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      26.7
          CT 133.05, BG 4
                             966        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      38.4
          CT 133.06, BG 1
                             1,627      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      21.7
          CT 133.06, BG 2
                             856        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      30.6
          CT 133.07, BG 1
                             1,297      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      41.8
          CT 133.07, BG 2
                             1,436      4.5        0.0      0.0   0.0          0.0             0.0      0.0         95.5       95.5       21.4
          CT 133.08, BG 1




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         Docket No. CP16-116-002                                                                                           B- 20 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8      59.3        13.3

                             546        2.0        0.0      0.0   0.0          0.0             0.0      0.0         98.0      98.0        37.8
          CT 133.08, BG 2
                             1,595      0.6        0.0      0.0   0.0          0.0             0.0      0.0         99.4      99.4        46.0
          CT 133.08, BG 3
                             1,293      2.0        0.0      0.0   0.0          0.0             0.0      0.0         98.0      98.0        37.8
          CT 133.09, BG 1
                             1,705      0.4        0.0      0.0   0.0          0.0             0.0      0.0         99.6      99.6        44.8
          CT 133.09, BG 2
                             1,336      0.9        0.0      0.0   0.0          0.0             0.0      0.0         99.1      99.1        46.7
          CT 134.01, BG 1
                             772        3.5        0.0      0.0   0.0          0.0             0.0      0.0         96.5      96.5        36.5
          CT 134.01, BG 2
                             767        0.3        0.0      0.0   0.0          0.0             0.0      0.0         99.7      99.7        23.2
          CT 134.02, BG 1
                             655        13.3       0.0      0.0   0.0          0.0             0.0      0.0         86.7      86.7        21.8
          CT 134.02, BG 2
                             616        0.0        0.0      1.1   0.0          0.0             0.0      0.0         98.9      100.0       51.6
          CT 134.02, BG 3
                             1,185      17.0       0.5      0.9   0.0          0.0             0.0      0.0         81.5      83.0        4.4
          CT 135.00, BG 1
                             843        1.8        0.0      0.0   0.0          0.0             0.0      0.0         98.2      98.2        24.3
          CT 135.00, BG 2
                             327        11.0       0.0      0.0   0.0          0.0             0.0      0.0         89.0      89.0        64.6
          CT 136.00, BG 1




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         Docket No. CP16-116-002                                                                                            B- 21 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8       59.3       13.3

                             1,148      7.5        0.6      0.0   0.0          0.0             0.0      0.0         91.9       92.5       9.5
          CT 136.00, BG 2
                             801        3.4        0.0      0.0   0.0          0.0             0.0      0.0         96.6       96.6       18.2
          CT 136.00, BG 3
                             486        11.9       0.0      0.2   0.0          0.0             0.0      0.0         87.9       88.1       36.7
          CT 136.00, BG 4
                             623        7.5        0.0      0.0   0.0          0.0             0.0      0.0         92.5       92.5       14.1
          CT 137.00, BG 1
                             490        2.7        0.0      0.0   0.0          0.0             0.0      0.0         97.3       97.3       60.8
          CT 137.00, BG 2
                             935        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      66.7
          CT 137.00, BG 3
                             1,859      2.7        0.0      0.0   0.0          0.0             0.0      0.0         97.3       97.3       46.6
          CT 137.00, BG 4
                             574        1.2        0.0      0.0   0.0          0.0             0.0      0.0         98.8       98.8       56.2
          CT 138.01, BG 1
                             1,602      4.1        4.2      0.0   0.0          0.0             0.0      0.5         91.3       95.9       65.0
          CT 138.01, BG 2
                             448        1.8        0.0      0.0   0.0          0.0             0.0      0.0         98.2       98.2       35.7
          CT 138.02, BG 1
                             551        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      39.7
          CT 138.02, BG 2
                             984        8.4        0.5      0.0   0.0          0.0             0.0      0.0         91.1       91.6       56.7
          CT 138.02, BG 3




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         Docket No. CP16-116-002                                                                                            B- 22 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8       59.3       13.3

                             876        3.8        0.0      0.0   0.0          0.0             0.0      0.0         96.2       96.2       32.9
          CT 138.02, BG 4
                             396        5.1        0.0      0.0   0.0          0.0             0.0      0.0         94.9       94.9       52.0
          CT 139.01, BG 1
                             1,976      1.6        0.0      0.0   0.0          0.0             0.0      0.0         98.4       98.4       35.9
          CT 139.01, BG 2
                             1,323      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      20.5
          CT 139.02, BG 1
                             1,679      1.2        0.0      0.0   0.0          0.0             0.0      0.0         98.8       98.8       33.8
          CT 139.02, BG 2
                             1,295      3.1        0.0      3.0   0.0          0.0             0.0      0.0         93.9       96.9       43.0
          CT 139.02, BG 3
                             2,185      0.0        0.0      1.1   0.0          0.0             0.0      0.0         98.9       100.0      43.6
          CT 139.03, BG 1
                             2,231      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      32.8
          CT 139.03, BG 2
                             937        0.5        0.0      0.0   0.0          0.0             0.0      0.0         99.5       99.5       25.7
          CT 140.01, BG 1
                             989        0.0        0.0      0.0   0.0          0.0             0.0      0.5         99.5       100.0      78.3
          CT 140.01, BG 2
                             430        5.8        0.0      7.4   0.0          0.0             7.4      11.2        68.1       94.2       61.2
          CT 140.01, BG 3
                             1,130      10.0       0.0      0.0   0.0          0.0             0.0      0.0         90.0       90.0       35.5
          CT 140.02, BG 1




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         Docket No. CP16-116-002                                                                                            B- 23 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8       59.3       13.3

                             918        12.0       0.2      0.0   0.0          0.0             0.0      0.0         87.8       88.0       60.2
          CT 140.02, BG 2
                             1,031      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      14.1
          CT 141.01, BG 1
                             1,039      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      0.0
          CT 141.01, BG 2
                             1,373      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      40.0
          CT 141.01, BG 3
                             833        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      28.3
          CT 141.01, BG 4
                             2,221      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      51.9
          CT 141.02, BG 1
                             694        1.2        0.0      0.0   0.0          0.0             0.0      0.0         98.8       98.8       9.5
          CT 141.02, BG 2
                             1,126      12.8       0.0      0.0   0.0          0.0             0.0      0.0         87.2       87.2       58.1
          CT 141.02, BG 3
                             1,278      3.4        0.0      0.0   0.0          0.0             0.0      0.0         96.6       96.6       10.5
          CT 141.03, BG 1
                             95         0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      0.0
          CT 141.03, BG 2
                             1,573      8.5        0.0      0.0   0.0          0.0             0.0      0.0         91.5       91.5       46.2
          CT 141.03, BG 3
                             942        0.7        0.0      0.0   0.0          0.0             0.0      0.0         99.3       99.3       54.3
          CT 142.01, BG 1




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         Docket No. CP16-116-002                                                                                            B- 24 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8       59.3       13.3

                             822        0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      10.1
          CT 142.01, BG 2
                             1897       14.3       0.0      0.0   0.0          0.0             0.0      0.0         85.7       85.7       19.2
          CT 142.02, BG 1
                             1103       0.0        0.0      0.0   0.0          0.0             7.8      0.0         92.2       100.0      44.9
          CT 142.02, BG 2
                             1,726      5.0        0.0      0.0   0.0          0.0             0.0      6.7         88.4       95.0       43.6
          CT 143.00, BG 1
                             2,057      3.7        0.0      0.0   0.0          0.0             0.0      0.0         96.3       96.3       52.8
          CT 143.00, BG 2
                             1,036      9.3        0.0      0.0   0.0          0.0             0.0      0.0         90.7       90.7       28.4
          CT 143.00, BG 3
                             1,997      1.2        0.0      0.7   0.0          0.0             0.0      0.0         98.1       98.8       4.4
          CT 144.01, BG 1
                             4,337      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      17.8
          CT 144.01, BG 2
                             1,223      0.0        0.0      0.0   0.0          0.0             0.0      0.0         100.0      100.0      0.0
          CT 144.01, BG 3
                             2,819      21.1       0.0      0.0   0.0          0.0             0.0      0.0         78.9       78.9       3.4
          CT 144.02, BG 1
                             1,291      8.7        0.0      0.0   0.0          0.0             0.0      0.0         91.3       91.3       16.3
          CT 144.02, BG 2
                             1,958      5.0        0.0      0.0   0.0          0.0             0.0      0.0         95.0       95.0       11.1
          CT 144.02, BG 3




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         Docket No. CP16-116-002                                                                                           B- 25 -
           GEOGRAPHIC AREA AND                                                                                                              LOW-
                                                                          RACE AND ETHNICITY
               POPULATION                                                                                                                  INCOME
          State/ County/     Population White (Not Black or Asian American     Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                 Hispanic) African (%) Indian and       and Other        other    more races or Latino Minorityb   Poverty
          Block Group                   (%)        American       Alaskan      Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                   (%)            Native (%)   (%)                                                        (%)
          State of Texas     28,862,581 40.7       11.8     5.0   0.2          0.1             0.3      2.3         39.8      59.3        13.3

                             3,200      1.7        0.0      0.0   0.0          0.0             0.0      0.0         98.3      98.3        3.5
          CT 144.03, BG 1
                             782        0.0        0.0      4.0   0.0          0.0             0.0      0.0         96.0      100.0       61.2
          CT 144.03, BG 2
                             3,541      0.0        0.0      3.4   0.0          0.0             0.0      0.0         96.6      100.0       18.7
          CT 144.04, BG 1
                             1,288      23.8       0.0      0.0   0.0          0.0             0.0      0.0         76.2      76.2        37.3
          CT 144.04, BG 2
                             1,856      13.8       0.0      9.1   0.0          0.0             0.0      0.0         77.2      86.2        27.8
          CT 145.01, BG 1
                             1,716      6.9        0.0      4.4   0.0          0.0             0.0      0.0         88.7      93.1        3.4
          CT 145.01, BG 2
                             946        6.4        2.5      0.0   0.0          0.0             0.0      0.0         91.0      93.6        14.2
          CT 145.01, BG 3
                             2,106      3.7        0.0      0.0   0.0          0.0             0.0      4.1         92.2      96.3        1.4
          CT 145.02, BG 1
                             1,127      6.7        0.0      0.0   0.0          0.0             0.0      5.0         88.4      93.3        27.2
          CT 145.02, BG 2
                             1,959      3.9        0.5      0.0   0.0          0.0             0.0      0.0         95.7      96.1        5.6
          CT 145.02, BG 3
          CT 9800.01, BG 1 0            0.0        0.0      0.0   0.0          0.0             0.0      0.0         0.0       0.0         0.0

          CT 9801.00, BG 1 0            0.0        0.0      0.0   0.0          0.0             0.0      0.0         0.0       0.0         0.0




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         Docket No. CP16-116-002                                                                                               B- 26 -
           GEOGRAPHIC AREA AND                                                                                                                LOW-
                                                                            RACE AND ETHNICITY
               POPULATION                                                                                                                    INCOME
          State/ County/    Population White (Not Black or Asian American        Native Hawaiian Some      Two or     Hispanic Total        Below
          Census Tract/                Hispanic) African (%) Indian and          and Other        other    more races or Latino Minorityb   Poverty
          Block Group                  (%)        American       Alaskan         Pacific Islander race (%) (%)        (%)       (%)         Levelb
                                                  (%)            Native (%)      (%)                                                        (%)
          State of Texas    28,862,581 40.7       11.8      5.0    0.2           0.1             0.3         2.3        39.8      59.3      13.3

          CT 9900.00, BG 0 0           0.0        0.0       0.0    0.0           0.0             0.0         0.0        0.0       0.0       0.0

          Willacy County 20,423        10.3       0.6       0.0    0.0           0.0             0.0         0.8        88.2      89.7      29.4

          CT 9506.00, BG 1 899         23.1       0.0       0.0    0.0           0.0             0.0         0.0        76.9      76.9      36.9

          CT 9507.00, BG 1 1,070       27.9       0.0       0.0    0.0           0.0             0.0         0.0        72.1      72.1      47.5

          CT 9900.00, BG 0 0           0.0        0.0       0.0    0.0           0.0             0.0         0.0        0.0       0.0       0.0
          Source: U.S. Census Bureau (2021), American Community Survey 5-year Estimates 2017-2021, File # B17017 and File # B03002.a
          “Minority” refers to people who reported their ethnicity and race as something other than non-Hispanic White.
          b Minority or low-income populations exceeding the established thresholds are indicated in bold type and gray shading.

            Due to rounding differences in the dataset, the totals may not reflect the sum of the addends.




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                                                                           Table 2
                                                                      Texas LNG Project
                                              Results of the Cumulative Impact Analysis – Hoteling Scenario

              Pollutant       Averaging           Highest Predicted       Ambient                                               NAAQS            Over           Maximum
                                                                                            Direction of     Distance of
                              Period             Concentration (Max      Background                                                             NAAQS?          TX LNG
                                                                                           Max Impact        Max Impact
                                                      Impact)             Values (1)                                                                            Impact (5)
                                                                                           from TX LNG        from TX
                                                                                                                LNG


                                                      (µg/m3)              (µg/m3)                               (km)           (µg/m3)                           (µg/m3)
                                1-hour                6,867.45             3,778.50              SW               5.40           40,000             No            951.23
                 CO
                                8-hour                4,545.67             2,175.50              SW               5.40           10,000             No            120.37
                                1-hour                 147.78                 (2)                 SE              0.38            188               No            124.55
                NO2
                                Annual                  9.60                 4.72                 S               0.53            100               No              4.79
                PM10            24-hour                112.99                69.67               SW              15.36            150               No              4.04
                              24-hour (3)              32.29                  (2)                NW              43.50             35               No              3.33
                PM2 5                   (4)
                               Annual                  11.75                 10.13               SW              15.74             12               No              0.17
                                1-hour                 140.96                14.85                W              25.48            196               No             10.80
                SO2
                                3-hour                 96.41                 5.24                 W              25.48            1,300             No             53.37
                                24-hour                21.34                 3.14                 W              25.48            365               No              6.85
                                Annual                  5.19                 1.36                SW               5.40             80               No              0.92
            Notes:
            (1) Ambient background values are included in the Highest Predicted Concentration (Maximum Impact) values.
            (2) Seasonal/diurnal background data were developed for use in the 1-hour NO2 modeling analysis; seasonal background data were developed for use in the 24-
            hour PM25 modeling analysis. Table 9-4 of the Final EIS summarizes the PM2 5 seasonal background concentrations that were developed based on the three-year
            average of seasonal 98th percentile 24-hr monitor values.
            (3) Secondary 24-hour PM2 5 impact of 0.2617 µg/m3 added to the Maximum Impact and Texas LNG Impact.
            (4) Secondary annual PM2 5 impact of 0.0077 µg/m3 added to the Maximum Impact and Texas LNG Impact.
            (5) Maximum Texas LNG contribution that could occur anywhere or anytime on the grid. The Texas LNG impact is not paired in time or space with the peak
                concentration.




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                                                Appendix C

         Commission Staff’s Environmental Justice Analysis of Potential Public Safety
         Impacts and Emergency Response Plans for the Texas LNG Project and LNG
         Marine Vessels


               A.       Onsite and Offsite Emergency Response Plans

                Texas LNG would continue to develop a comprehensive Emergency Response
        Plan with local, state, and federal agencies and emergency response officials and would
        continue these collaborative efforts during the development, design, and construction of
        the project.1 As required by Environmental Condition 36, Texas LNG must file an
        Emergency Response Plan covering the terminal and ship transit for review and approval
        by Commission staff prior to construction. Commission staff would also review and
        approve final design information related to the various layers of protection that would
        enhance the safety and security of the Texas LNG Project and would be in accordance
        with recommended and generally accepted good engineering practices.2 These reviews
        go above the minimum federal requirements required by the Pipeline and Hazardous
        Materials Safety Administration (PHMSA) and U.S. Coast Guard (USCG) regulations
        under for the liquefied natural gas (LNG) facility,3 and USCG regulations for LNG
        marine vessels.4 In addition, for LNG marine vessels, the 2004 Sandia Report describes
        the risk and consequences within each Zone of Concern with risk management strategies
        to mitigate risk to infrastructure and the public.5 The layers of protection and risk
        management strategies reduce public incident impacts to less than significant levels,
        including impacts to those with access and functional needs and environmental justice
        communities.

              The Emergency Response Plan and Cost Sharing Plan requirements are required
        by Environmental Conditions 36 and 37, as modified in Appendix A of this order.

               1
                   Texas LNG Sept. 15, 2022 Response to Commission staff Data Request at 24-26.
               2
                   Final EIS, Preliminary Engineering Design Review section, 4-219 to 4-244.
               3
              49 C.F.R.§ 193 (2022) (PHMSA Regulations); 33 C.F.R. §§ 105, 127 (2022)
        (USCG Regulations).
               4
                   33 C.F.R. § 104; 46 C.F.R. § 154.
               5
                 Sandia National Laboratories, Guidance on risk analysis and safety implications
        of a large liquefied natural gas (LNG) spill over water, sections 1.3.1, 1.3.2,
        https://www.osti.gov/servlets/purl/882343/.




                                                                                       JA104
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        However, in order to mitigate the potential offsite risks from a catastrophic incident from
        an LNG marine vessel or at the LNG terminal to people with access and functional needs,
        Texas LNG would need to consider additional identified elements of recommended and
        generally accepted good engineering practices for emergency response plans and resource
        requirements, including, but not limited to consistency with the following National Fire
        Protection Association (NFPA) codes and standards: NFPA 1600,6 NFPA 1616,7
        NFPA 1620,8 NFPA 470,9 and NFPA 47510 or approved equivalents. Specifically, NFPA
        1600 (2019 edition) provides provisions for the planning and design process of an
        emergency management program and includes the following provisions:

             Section 5.2.2 specifies a risk assessment to be conducted evaluating the likelihood
              and severity of hazards, including accidental and intentional events that may result
              in hazardous material releases, explosions, and fires as well as consideration of
              specific causes and preceding events, such as geological events (e.g., subsidence,
              earthquakes, tsunamis, volcanic, etc.) and meteorological events (e.g., extreme
              temperatures, hurricanes, tornadoes, floods, snow and ice storms, and wildland
              fires, etc.).11
             Section 5.2.2.2 specifies the vulnerability of people, property, operations,
              environment, and supply chain operations to be evaluated.

               6
                The NFPA standards are free and publicly accessible to view in English and
        Spanish on the NFPA website. NFPA 1600, Standard on Continuity, Emergency, and
        Crisis Management, https://www.nfpa.org/codes-and-standards/all-codes-and-
        standards/list-of-codes-and-standards/detail?code=1600.
               7
                 FNFPA 1616, Standard on Mass Evacuation, Sheltering, and Re-entry Programs,
        https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-codes-and-
        standards/detail?code=1616.
               8
                NFPA 1620, Standard for Pre-Incident Planning, https://www.nfpa.org/codes-
        and-standards/all-codes-and-standards/list-of-codes-and-standards/detail?code=1620.
               9
                NFPA 470, Hazardous Materials/Weapons of Mass Destruction (WMD)
        Standard for Responders, https://www.nfpa.org/codes-and-standards/all-codes-and-
        standards/list-of-codes-and-standards/detail?code=470.
               10
                  NFPA 475, Recommended Practice for Organizing, Managing, and Sustaining a
         Hazardous Materials/Weapons of Mass Destruction Response Program,
         https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-codes-and-
         standards/detail?code=475.
               11
                    Final EIS 4-224 to 4-244.




                                                                                        JA105
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             Section 5.2.3 specifies the analysis of the impacts of the hazards identified in
              section 5.2.2 on the health and safety of persons in the affected area and personnel
              responding to the incident as well as impacts to properties, facilities, and critical
              infrastructure.
             Section 5.2.4 specifies an analysis of the escalation of impacts over time.
             Section 5.2.5 specifies evaluation of incidents that could have cascading impacts.
             Section 5.2.6 specifies the risk assessment to evaluate the adequacy of existing
              prevention and mitigation measures.

                Chapter 6 of NFPA 1600 (2019 edition) covers the implementation of the plans,
         including health and safety of personnel, roles and responsibilities of internal and
         external entities, lines of authority, process for delegation of authority, liaisons with
         external entities, and logistics support and resource requirements.

             Section 6.3.1 specifies the implementation of a mitigation strategy that includes
              measures to limit or control the consequences, extent, or severity of an incident
              that cannot be prevented based on the results of hazard identification and risk
              assessment and analysis of impacts.
             Section 6.9.2 specifies that emergency response plans should identify actions to be
              taken to protect people, including people with disabilities and other access and
              functional needs.12
             Sections 6.6 and 6.9.4 stipulate an emergency response plan include warning,
              notification, and communication should be determined and be reliable, redundant,
              and interoperable and tested and used to alert stakeholders potentially at risk from
              an actual or impending incident.
             Section 6.8 specifies the development of an incident management system to direct,
              control, and coordinate response, continuity, and recovery operations.
             Section 6.8.1 stipulates primary and alternate emergency operations centers be
              established capable of managing response, continuity, and recovery operations and
              may be physical or virtual.

                In addition, NFPA 1600 (2019 edition) Chapter 7 provides specifications for
         execution of the plan, Chapter 8 provides for training and education provisions, Chapter 9
         provides for exercises and tests to be conducted periodically, and Chapter 10 provides for
         its continued maintenance and improvement.

                NFPA 1616 (2020 edition) covers organizing, planning, implementing, and
         evaluating a program for mass evacuation, sheltering, and re-entry. Similar to NFPA


                12
                NFPA 1600 defines “access and functional need” as “Persons requiring special
         accommodations because of health, social, economic, or language challenges.”




                                                                                          JA106
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         1600, the following sections of NFPA 1616 stipulate:

             Section 4.5 stipulates similar hazard identification, risk assessment, and
              requirements analysis as NFPA 1600.
             Section 5.1 stipulates plans to address the health and safety of personnel including
              persons with disabilities and access and functional needs.13
             Section 5.6 specifies a requirements analysis in sub-section 5.6.1 that is based
              upon the threat, hazard identification, and risk assessment. Sub-section 5.6.2(1)
              specifies the requirements analysis include characteristics of the potentially
              affected population, including persons with disabilities and other access and
              functional needs. In addition, sub-section 5.6.2(2) stipulates consideration of
              existing mandatory evacuation laws and expected enforcement of those laws.
              Sub-section 5.6.2(3) stipulates the requirements analysis to include characteristics
              of the incident that trigger consideration for evacuation based on weather, season,
              and ambient conditions, speed of onset, magnitude, location and direction,
              duration, resulting damages to essential functions, risk for cascading effects and
              secondary disasters, and capability of transportation routes and systems to
              transport life-sustaining materials (e.g., water, medical supplies, etc.) into the
              affected area.
             Section 5.6.3 stipulates the determination if evacuation or sheltering-in-place is
              appropriate to the situation and resources available based on 1) the anticipated
              impact and duration of the event, 2) the distance to appropriate sheltering
              facilities, 3) the availability of and access to transportation to those facilities, and
              4) the ability to communicate with the affected population within the required
              timeframe.
             Section 5.6.4 stipulates the 1) establishment of a single or unified command, 2)
              development of information system to notify public and provide an assessment of
              the time needed to reach people with the information, 3) identification of
              appropriate sheltering facilities by location, size, types of services available,
              accessibility, and building safety, and 4) identification of the modes and routes for
              evacuee transportation and the time needed to reach them, sources of evacuee

                13
                   NFPA 1616 defines “People with Access and Functional Needs” as “Persons
         with disabilities and other access and functional needs include those from religious,
         racial, and ethnically diverse backgrounds; people with limited English proficiency;
         people with physical, sensory, behavioral and mental health, intellectual, developmental
         and cognitive disabilities, including individuals who live in the community and
         individuals who are institutionalized; older adults with and without disabilities; children
         with and without disabilities and their parents; individuals who are economically or
         transportation disadvantaged; women who are pregnant; individuals who have acute and
         chronic medical conditions; and those with pharmacological dependency.”




                                                                                           JA107
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             support services, and manpower requirements based on various potential shelters.
            Section 5.8 also has stipulations for dissemination of information on evacuation,
             shelter in place, and re-entry before, during, and after an incident to personnel and
             to the public.
            Section 5.9 has stipulations for warning, notification, and communication needs
             that are reliable and interoperable and redundant where feasible that takes into
             account persons with disabilities and other access and functional needs.

              Similar to NFPA 1600, NFPA 1616 has requirements in Chapter 6 on
        Implementation, Chapter 7 on Training and Education, Chapter 8 on Exercises, and
        Chapter 9 on Program Maintenance and Improvement with additional specifics for mass
        evacuation, sheltering in place and re-entry.

                NFPA 1620 (2020 edition) specifies the characteristics of the facility and
        personnel onsite that should be within a pre-incident plan, such as emergency contact
        information, including those with knowledge of any supervisory, control, and data
        acquisition systems, communication systems, emergency power supply systems, and
        facility access controls as well as personnel accountability and assistance for people with
        self-evacuation limits, means of egress, emergency response capabilities, spill
        containment systems, water supply and fire protection systems, hazardous material
        information (e.g., safety datasheets), special considerations for responding to hazardous
        materials (e.g., firewater may exacerbate LNG fires, boiling-liquid-expanding-vapor
        explosion (BLEVE)14 potential, etc.), and access to emergency action plans developed by
        the facility. Similar to NFPA 1600 and NFPA 1616, NFPA 1620 section 8.5.2 also
        addresses the implementation of an incident management system for the duration of the
        event and Chapter 10 establishes maintenance of a pre-incident plan.

                NFPA 1600, NFPA 1616, and NFPA 1620 provisions for threat, hazard
        identification, and risk assessment provisions and identification of resource requirements
        and gaps are also consistent with Department of Homeland Security FEMA’s
        Comprehensive Preparedness Guide 101, Developing and Maintaining Emergency

               14
                  The American Institute of Chemical Engineers Center for Chemical Process
        Safety defines a boiling-liquid-expanding-vapor-explosion or BLEVE as a “type of rapid
        phase transition in which a liquid contained above its atmospheric boiling point is rapidly
        depressurized, causing a nearly instantaneous transition from liquid to vapor with a
        corresponding energy release. A BLEVE of flammable material is often accompanied by
        a large aerosol fireball, since an external fire impinging on the vapor space of a pressure
        vessel is a common cause. However, it is not necessary for the liquid to be flammable to
        have a BLEVE occur.” Center for Chemical Process Safety, Boiling-Liquid-Expanding-
        Vapor Explosion (BLEVE), https://www.aiche.org/ccps/resources/glossary/process-
        safety-glossary/boiling-liquid-expanding-vapor-explosion-bleve, (last visited April 2023).




                                                                                        JA108
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        Operations Plans, Version 3.0, September 2021, and Comprehensive Preparedness Guide
        201, Threat and Hazard Identification and Risk Assessment and Stakeholder
        Preparedness Review Guide, Third Edition, May 2018, and other FEMA guidance.

               NFPA 470 covers the competencies and job performance requirements for
        emergency response personnel to incidents involving hazardous materials, including
        awareness level personnel (i.e., personnel onsite that would call for emergency
        responders and secure the scene), operations level responders (i.e., personnel responding
        to incident for implementing supporting actions to protection public), hazardous material
        technicians (i.e., personnel responding to incident for analyzing and implementing
        planned response), hazardous materials officers, hazardous materials safety officers,
        emergency medical services (EMS) personnel, incident commanders, and other specialist
        employees. The standard covers competencies and Job Performance Requirements ,
        including the ability to identify hazardous material releases and hazardous materials
        involved and identifying surrounding conditions, such as topography, weather conditions,
        public exposure potential, possible ignition sources, land use and adjacent land use,
        overhead and underground wires and pipelines, rail lines, and highways, bodies of water,
        storm and sewer drains, and building information (e.g., ventilation ducts and air returns).
        Part of the standard also describes the ability and requirement to estimate potential
        outcomes in order to properly plan response strategies and tactics, and the selection and
        use of proper personnel protective equipment (PPE). Many of these provisions are
        similar and synergistic with NFPA 1600, NFPA 1616, and NFPA 1620.

                NFPA 475 covers the organization, management, and sustainability of a hazardous
         material response program, including identifying facilities with hazardous materials,
         analyzing the risk of hazardous material incidents, including identifying hazardous
         materials at each location, (e.g., quantity, concentration, hazardous properties, etc.), type
         and design of containers; surrounding population and infrastructure, including vulnerable
         populations and critical facilities (e.g., schools, hospitals, businesses, etc.). NFPA 475
         similarly calls for analyzing the risk of an incident based on the consequences of a release
         and predicting its behavior and estimating the probability for an incident to take place and
         potential for cascading incidents. NFPA 475 Chapter 7 also has provisions for resource
         management, including the identification, acquisition, and management of personnel,
         equipment, and supplies to support hazardous material response programs. NFPA 475
         Chapter 8 expands upon staffing requirements and use of different staffing models and
         Chapter 9 expands upon training program with reference and similarities to NFPA 470.

                In accordance with these recommended and generally accepted good engineering
         practices, Commission staff evaluated the potential impacts from incidents caused by a
         range of natural hazards, accidental events, intentional events, and potential for cascading
         damage at the LNG terminal, including scenarios that would lead to a potential
         catastrophic failure of a tank required to be accounted in emergency response plans by
         PHMSA regulations in 49 CFR § 193.2509, and along the LNG carrier route using the



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        Zones of Concern referenced in USCG Navigation and Vessel Inspection Circular
        (NVIC) 01-11.15 In addition, Commission staff identified potential emergency response
        needs based on the potential impacts to and characteristics of the population and
        infrastructure for potential intentional and accidental incidents along the LNG marine
        vessel route and at the LNG terminal. Consistent with these practices, Commission staff
        evaluated the potential hazards from incidents, the potential impacts to areas from
        incidents and the evaluation of characteristics of population, including those with
        potential access and functional needs, and infrastructure that require special
        considerations in pre-incident planning, including but not limited to:

               daycares;
               elementary, middle, and high schools and other educational facilities;
               elderly centers and nursing homes and other boarding and care facilities;
               detention and correctional facilities;
               stadiums, concert halls, religious facilities, and other areas of assembly;
               densely populated commercial and residential areas, including high rise buildings,
                apartments, and hotels;
               hospitals and other health care facilities;
               police departments, stations, and substations;
               fire departments and stations;
               military or governmental installations and facilities;
               major transportation infrastructure, including evacuation routes, major highways,
                airports, rail, and other mass transit facilities as identified in external impacts
                section; and
               industrial facilities that could exacerbate the initial incident, including power
                plants, water supply infrastructure, and hazardous facilities with quantities that
                exceed thresholds in U.S. Environmental Protection Agency (EPA) RMP and/or
                OSHA PSM standards as identified in external impacts section.

               Many of these facilities are also identified and defined in NFPA 101, Life Safety
        Code, and require emergency action plans. NFPA 101 is currently used by every U.S.
        state and adopted statewide in in 43 of the 50 states.16 Texas adopted and follows


                15
                  NVIC 01-11,
         https://www.dco.uscg.mil/Portals/9/DCO%20Documents/5p/5ps/NVIC/2011/NVIC%200
         1-2011%20Final.pdf, accessed January 2023.
                16
                  NFPA, NFPA 101 Fact Sheet,
         https://www.nfpa.org/assets/files/AboutTheCodes/101/NFPA101FactSheet0809.pdf,
         accessed January 2023.




                                                                                         JA110
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        NFPA 101 (2015 edition) without amendments.17 These areas are also similar to
        “identified sites” defined in 49 C.F.R. § 192 that define high consequence areas and those
        identified within Pipelines and Informed Planning Alliance (PIPA) for special land use
        planning considerations near pipelines.18

               B.     Potential Hazards

               An incident can result in various potential hazards and are initiated by a potential
        liquid and/or gaseous release with the formation of vapor at the release location, as well
        as from any liquid that pooled. The fluid released may present low or high temperature
        hazards and may result in the formation of toxic or flammable vapors. The type and
        extent of the hazard will depend on the material released, the storage and process
        conditions, and the volumes and durations released.

                Exposure to either cold liquid or vapor could cause freeze burns and depending on
        the length of exposure, more serious injury or death. However, spills would be contained
        to on-site areas and the cold state of these releases would be greatly limited due to the
        continuous mixing with the warmer air. The cold temperatures from the release would
        not present a hazard to the public, which would not have access to onsite areas. The cold
        temperatures may also quickly cool any materials contacted by the liquid on release,
        causing extreme thermal stress in materials not specifically designed for such conditions.
        These thermal stresses could subsequently subject the material to brittleness, fracture, or
        other loss of tensile strength and result in cascading failures. However, regulatory
        requirements and the Environmental Conditions in the Authorization Order would ensure
        that these effects would be accounted for in the design of equipment and structural
        supports.

                A rapid phase transition (RPT) can occur when a cryogenic liquid is spilled onto
         water and changes from liquid to gas, virtually instantaneously. Unlike an explosion that
         releases energy and combustion products from a chemical reaction, an RPT is the result
         of heat transferred to the liquid inducing a change to the vapor state. RPTs have been
         observed during LNG test spills onto water. In some test cases, the overpressures
         generated were strong enough to damage test equipment in the immediate vicinity of the

               17
                  Up Codes, Texas Codes, https://up.codes/codes/texas, accessed January 2023;
         Texas State Fire Marshal, Standards of Inspection,
         https://www.tdi.texas.gov/fire/fmfsinotices.html, accessed January 2023.
               18
                   Pipelines and Informed Planning Alliance, Partnering to Further Enhance
         Pipeline Safety in Communities through Risk-Informed Land Use Planning, Final Report
         of Recommended Practices,
         https://primis.phmsa.dot.gov/comm/pipa/landuseplanning.htm, November 2010.




                                                                                         JA111
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         LNG release point. The sizes of the overpressure events have been generally small and
         are not expected to cause significant damage. Six of the 18 Coyote spills19 produced RPT
         explosions. Most were early RPTs that occurred immediately with the spill, and some
         continued for the longer periods. Including RPTs near the end of the spills on three tests.
         LNG composition, water temperature, spill rate and depth of penetration all seem to play
         a role in RPT development and strength. The maximum strength RPT yielded equivalent
         to up to 6.3 kilograms of TNT free-air point source at the maximum spill rate of
         18 m3/min (4,750 gpm). This would produce an approximate 1 psi overpressures less
         than 100 feet from the spill source. These events are typically limited to the area within
         the spill and are not expected to cause damage outside of the area engulfed by the LNG
         pool. However, a RPT may affect the rate of pool spreading and the rate of vaporization
         for a spill on water.

                C.     Vapor Dispersion

                Depending on the size and product of the release, liquids may form a liquid pool
         and vaporize. Additional vaporization would result from exposure to ambient heat
         sources, such as water or soil. The vapor may form a toxic or flammable cloud
         depending on the material released. The dispersion of the vapor cloud will depend on the
         physical properties of the cloud, the ambient conditions, and the surrounding terrain and
         structures. Generally, a denser-than-air vapor cloud would sink to the ground and would
         travel with the prevailing wind, while a lighter-than-air vapor cloud would rise and travel
         with the prevailing wind. The density will depend on the material releases and the
         temperature of the material. For example, an LNG release would initially form a denser
         than-air vapor cloud and transition to lighter-than-air vapor cloud as the vapor disperses
         downwind and mixes with the warm surrounding air. However, experimental
         observations and vapor dispersion modeling indicate an LNG vapor cloud would not
         typically be warm, or buoyant, enough to lift off from the ground before the LNG vapor
         cloud disperses below its lower flammable limit (LFL).

               A vapor cloud formed following an accidental release would continue to be
         hazardous until it dispersed below toxic levels and/or flammable limits. Toxicity is

                19
                   Goldwire, H.C., et al, Coyote Series Data Report LLNL/NWC 1981 LNG Spill
         tests Dispersion, Vapor Burn, and Rapid Phase Transition, Lawrence Livermore
         Laboratory, UCID-19952, Volume 1, October 1983. In 1981, a series of LNG spill
         experiments were performed at the Naval Weapons Center, located at China Lake,
         California, they are commonly referred to as the Coyote series. There was a total of ten
         Coyote series experiments, which included the study of vapor dispersion and burning
         vapor clouds and rapid-phase transition explosions. Id.




                                                                                         JA112
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        primarily dependent on the airborne concentration of the toxic component and the
        exposure duration, while flammability of the vapor cloud is primarily dependent just on
        the concentration of the vapor when mixed with the surrounding air. In general, higher
        concentrations within the vapor cloud would exist near the spill, and lower concentrations
        would exist near the edge of the cloud as it disperses downwind.

                Toxicity is defined by several different agencies for different purposes. Acute
        Exposure Guideline Level (AEGL) and Emergency Response Planning Guidelines
        (ERPG) can be used for emergency planning, prevention, and response activities related
        to the accidental release of hazardous substances. Other federal agencies, such as the
        Department of Energy (DOE), EPA, and National Oceanic and Atmospheric
        Administration (NOAA), use AEGLs and ERPGs as the primary measure of toxicity.

               There are three AEGLs and three ERPGs, which are distinguished by varying
        degrees of severity of toxic effects with AEGL-1 and ERPG-1 (level 1) being the least
        severe to AEGL-3 and ERPG-3 (level 3) being the most severe.

             AEGL-1 is the airborne concentration of a substance above which it is predicted
              that the general population, including susceptible individuals, could experience
              notable discomfort, irritation, or certain asymptomatic non sensory effects.
              However, these effects are not disabling and are transient and reversible upon
              cessation of the exposure.
             AEGL-2 is the airborne concentration of a substance above which it is predicted
              that the general population, including susceptible individuals, could experience
              irreversible or other serious, long lasting adverse health effects or an impaired
              ability to escape.
             AEGL-3 is the airborne concentration of a substance above which it is predicted
              that the general population, including susceptible individuals, could experience
              life-threatening health effects or death.

                The EPA directs the development of AEGLs in a collaborative effort consisting of
         committee members from public and private sectors across the world. Commission staff
         uses AEGLs preferentially as they are more inclusive and provide toxicity levels at
         various exposure times (10 minutes, 30 minutes, 1 hour, 4 hours, and 8 hours). The use
         of AEGLs is also preferred by the DOE and NOAA. Under the EPA RMP regulations in
         40 C.F.R. § 68, the EPA currently requires the determination of distances to toxic
         concentrations based on ERPG-2 levels. ERPG levels have similar definitions but are
         based on the maximum airborne concentration below which it is believed nearly all
         individuals could be exposed for up to 1 hour without experiencing similar effects
         defined in each of the AEGLs. The EPA provides ERPGs (1 hour) for a list of chemicals.
         These toxic concentration endpoints are comparable to AEGLs endpoints.

               In addition, any non-toxic release that does not contain oxygen would be classified



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        as simple asphyxiants and may pose extreme health hazards, including death, if inhaled in
        significant quantities within a limited time. Very cold methane and heavier hydrocarbons
        vapors may also cause freeze burns. However, the locations of concentrations where cold
        temperatures and oxygen-deprivation effects could occur are greatly limited due to the
        continuous mixing with the warmer air surrounding the spill site. For that reason,
        exposure injuries from contact with releases of methane, nitrogen, and heavier
        hydrocarbons normally represent negligible risks to the public.

              Flammable vapors can develop when a flammable material is above its flash point
        and concentrations are between the LFL and the upper flammable limit (UFL).
        Concentrations between the LFL and UFL can be ignited, and concentrations above the
        UFL or below the LFL would not ignite.

                 The extent of the affected area and the severity of the impacts on objects within a
        vapor cloud would primarily be dependent on the material, quantity, and duration of the
        initial release, the surrounding terrain, and the weather (e.g., wind speed and direction,
        temperature, humidity, etc.) present during the dispersion of the cloud.

               D.     Flammable Vapor Ignition

                 If the flammable portion of a vapor cloud encounters an ignition source, a flame
        would propagate through the flammable portions of the cloud. In most circumstances,
        the flame would be driven by the heat it generates. This process is known as a
        deflagration, or a flash fire, because of its relatively short duration. However, exposure
        to a deflagration, or flash fire, can cause severe burns and death, and can ignite
        combustible materials within the cloud. If the deflagration in a flammable vapor cloud
        accelerates to a sufficiently high rate of speed, pressure waves that can cause damage
        would be generated. As a deflagration accelerates to super-sonic speeds, the large shock
        waves produced, rather than the heat, would begin to drive the flame, resulting in a
        detonation. The flame speeds are primarily dependent on the reactivity of the fuel, the
        ignition strength and location, the degree of congestion and confinement of the area
        occupied by the vapor cloud, and the flame travel distance. Once a vapor cloud is
        ignited, the flame front may propagate back to the spill site if the vapor concentration
        along this path is sufficiently high to support the combustion process. When the flame
        reaches vapor concentrations above the UFL, the deflagration will transition to a pool or
        jet fire back at the source. If ignition occurs soon after the release begins, a fireball may
        occur near the source of the release and would be of a relatively short duration compared
        to an ensuing jet or pool fire. The extent of the affected area and the severity of the
        impacts on objects in the vicinity of a fire would primarily be dependent on the material,
        quantity, and duration of the fire, the surrounding terrain, and the ambient conditions
        present during the fire.




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               E.     Overpressures

                If the deflagration in a flammable vapor cloud accelerates to a sufficiently high
        rate of speed, pressure waves that can cause damage would be generated. As a
        deflagration accelerates to super-sonic speeds, large pressure waves are produced, and a
        shock wave is created. In this scenario, the shock wave, rather than the heat, would drive
        the flame, resulting in a detonation. Deflagrations or detonations are generally
        characterized as “explosions” as the rapid movement of the flame and pressure waves
        associated with them cause additional damage beyond that from the heat. The amount of
        damage an explosion causes is dependent on the amount the produced pressure wave is
        above atmospheric pressure (i.e., an overpressure) and its duration (i.e., pulse). For
        example, a 1 psi overpressure, often cited as a safety limit in NFPA 59A (2019 edition)
        and U.S. regulations, is associated with glass shattering and traveling with velocities high
        enough to lacerate skin.

                Flame speeds and overpressures are primarily dependent on the reactivity of the
        fuel, the ignition strength and location, the degree of congestion and confinement of the
        area occupied by the vapor cloud, and the flame travel distance.

               The potential for unconfined LNG vapor cloud detonations was investigated by
        the USCG in the late 1970s at the Naval Weapons Center in China Lake, California.
        Using methane, the primary component of natural gas, several experiments were
        conducted to determine whether unconfined LNG vapor clouds would detonate.
        Unconfined methane vapor clouds ignited with low-energy ignition sources (13.5 joules),
        produced flame speeds ranging from 12 to 20 mph. These flame speeds are much lower
        than the flame speeds associated with a deflagration with damaging overpressures or a
        detonation.

                To examine the potential for detonation of an unconfined natural gas cloud
         containing heavier hydrocarbons that are more reactive, such as ethane and propane, the
         USCG conducted further tests on ambient-temperature fuel mixtures of methane-ethane
         and methane-propane. The tests indicated that the addition of heavier hydrocarbons
         influenced the tendency of an unconfined natural gas vapor cloud to detonate. Less
         processed natural gas with greater amounts of heavier hydrocarbons would be more
         sensitive to detonation.

                Although it has been possible to produce damaging overpressures and detonations
         of unconfined LNG vapor clouds, the feed gas stream proposed for the project would
         have lower ethane and propane concentrations than those that resulted in damaging
         overpressures and detonations. The substantial amount of initiating explosives needed to
         create the shock initiation during the limited range of vapor-air concentrations also
         renders the possibility of detonation of these vapors at an LNG plant as unrealistic.
         Ignition of a confined LNG vapor cloud could result in higher overpressures. To prevent



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         such an occurrence, Texas LNG would take measures to mitigate the vapor dispersion
         and ignition into confined areas, such as buildings. Texas LNG would install hazard
         detection devices at all combustion and ventilation air intake equipment to enable
         isolation and deactivation of any combustion equipment whose continued operation could
         add to, or sustain, an emergency. In general, the primary hazards to the public from an
         LNG spill that disperses to an unconfined area, either on land or water, would be from
         dispersion of the flammable vapors or from radiant heat generated by a pool fire.

                In comparison with LNG vapor clouds, there is a higher potential for unconfined
         propane clouds to produce damaging overpressures. This has been shown by multiple
         experiments conducted by the Explosion Research Cooperative to develop predictive
         blast wave models for low, medium, and high reactivity fuels and varying degrees of
         congestion and confinement. The experiments used methane, propane, and ethylene, as
         the respective low, medium, and high reactivity fuels. In addition, the tests showed that if
         methane, propane, or ethylene are ignited within a confined space, such as in a building,
         they all have the potential to produce damaging overpressures.

                 Fires and overpressures may also cause failures of nearby storage vessels, piping,
         and equipment if not properly mitigated. These failures are often termed cascading
         events or domino effects and can exceed the consequences of the initial hazard. The
         failure of a pressurized vessel could cause fragments of material to fly through the air at
         high velocities, posing damage to surrounding structures and a hazard for operating staff,
         emergency personnel, or other individuals in proximity to the event. In addition, failure
         of a pressurized vessel when the liquid is at a temperature significantly above its normal
         boiling point could result in a BLEVE. BLEVEs can produce overpressures when the
         superheated liquid rapidly changes from a liquid to a vapor upon the release from the
         vessel. BLEVEs of flammable fluids may also ignite upon its release and cause a
         subsequent fireball.

                F.     Potential Infrastructure Impacts from LNG Facilities

                The final EIS for the Texas LNG Project assessed potential impacts to the public
         and whether the project would operate safely, reliably, and securely. The Texas LNG
         Project would be subject to design requirements and would include mitigation to meet
         regulation requirements and the conditions of the Commission’s Authorization Order.
         Although the likelihood of incidents and hazards described in the final EIS are extremely
         low due to the mitigation required by regulations and Environmental Conditions,
         potential impacts from these hazards could impact onsite personnel and offsite public.20


                20
                  Specific distances of potential impacts from incidents at an LNG terminal have
         not been provided at this time to try and balance the potential security interests in
         releasing such information. Specific distances for various hazards described would be



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                 Commission staff evaluated a range of releases to evaluate the potential impacts to
         populations and infrastructure within vicinity of the plant. Impacts would vary based on
         the initiating event and subsequent release characteristics (e.g., size, location, direction,
         process conditions, etc.), hazard (i.e., vapor dispersion, overpressures, fires, BLEVE and
         pressure vessel bursts), weather conditions, and surrounding terrain. Distances to radiant
         heats of 5 kW/m2 (or approximately 1,600 BTU/ft2-hr) from fires produced by accidental
         and intentional acts could impact onsite personnel or offsite public. For example, Section
         2.2.2.2 in NFPA 59A-2001, incorporated by reference in PHMSA regulations in 49
         C.F.R. § 193, requires spill containments, serving vaporization, process, or LNG transfer
         area, to contain liquid releases from 2-inch diameter holes and guillotine releases of
         piping less than 6-inches in diameter. Additionally, PHMSA siting regulations for
         flammable vapor dispersion and thermal radiation exclusion zones limit the dispersion of
         flammable vapors and 1,600 BTU/ft2-hr radiant heat from LNG pool fires in those spill
         containment systems in certain weather conditions from extending beyond the control of
         the operator or government agency and prevent it from extending onto areas accessible
         by the public. Environmental Condition 84 of the Authorization Order requires spill
         containment systems to capture all liquid from guillotine ruptures of the single largest
         line and largest vessel(s) to limit their pool spread and vaporization. This effectively
         limits the extent of the 1,600 BTU/ft2-hr radiant heat from pool fires to onsite for even
         the largest releases from a single source and considerably reduces the dispersion
         distances to flammable vapors. However, ignition of releases larger than those used in
         the siting analyses can result in 1,600 BTU/ft2-hr and 10,000 BTU/ft2-hr radiant heats
         from jet and pool fires that extend offsite onto publicly accessible areas.

                 The only offsite infrastructure that could be impacted by 10,000 BTU/ft2-hr
         radiant heat from a fire would be a portion of Texas State Highway 48 with no impacts to
         nearby communities. The offsite infrastructure that could be impacted by 1,600 BTU/ft2-
         hr radiant heat from a fire would be the authorized Texas LNG facility21 and the
         infrastructure within the 10,000 BTU/ft2-hr radiant heat with no impact to nearby
         communities. The unignited vapor dispersion from a catastrophic failure of an LNG
         storage tank is extremely unlikely but, if it occurred, could extend farther offsite and
         could impact the following critical infrastructure: commercial areas including the Port
         Isabel-San Benito Navigation District, and the Space X assembly facility; numerous local

         provided in emergency response plans for reference and use by emergency responders,
         Further, potential hazards have been described and potential impacts to communities are
         disclosed to balance the importance of public disclosure and transparency on the balance
         of potentially releasing information that has not been previously released and could be
         used by intentional actors.
                21
                  Texas LNG Brownsville LLC, Order Granting Authorization Under Section 3 of
         the Natural Gas Act, 169 FERC ¶ 61,130




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        government buildings including the Port Isabel Police Department, Cameron County
        Precinct 1 Constable’s Office, Port Isabel City Fire Department, Cameron County Tax
        Assessor-Collector Office, Port Isabel City Hall, and Port Isabel City Social Worker
        Office; two health care facilities including the Port Isabel Health Clinic, the Luna
        Medical Clinic, and Emergency Medical Services; and several major roadways, including
        the Queen Isabel Causeway, Texas State Highway 100, and Texas State Highway 48.
        Several communities within the extent of the unignited vapor release from a catastrophic
        failure of one of the LNG storage tanks could include multiple residential homes,
        apartment complexes, several schools including Garriga Elementary School, Derry
        Elementary School, Port Isabel Junior High School, Port Isabel High School, Port Isabel
        Independent School District, several child-care facilities including the Little Learners
        Academy, Esperanza B. Garza Head Start, and Beacon Bay Head Start, hotels, and places
        of worship.

              G.        Potential Infrastructure Impacts Along LNG Marine Vessel Route

               As LNG marine vessels proceed along the intended transit route, the estimated
        impacts would extend onto populated areas and infrastructure. These distances are
        provided as Zones of Concern in the publicly available guidance NVIC 01-1122 used by
        the USCG and correspond to 37.5 kW/m2 (approximately 12,000 BTU/ft2-hr) radiant
        heats from fires for Zone 1, 5 kW/m2 (approximately 1,600 BTU/ft2-hr) radiant heats
        from fires for Zone 2, and flammable vapor dispersion distances for Zone 3. The areas,
        including a description of the infrastructure and communities, impacted by the three
        different hazard zones were provided for accidental and intentional events in the Texas
        LNG final EIS.23

              H.        Potential Impacts on People with Access and Functional Needs and
                        Environmental Justice Communities

               Commission staff used EJScreen24 as an initial screening tool to identify the
        potential impacts from incidents along the LNG marine vessel transit route and at the
        LNG terminal, including potential impacts to people with access and functional needs as
        defined in NFPA 1600 and 1616. Table 1 shows the resultant percentages of people with
        potential access and functional needs based on 2016-2020 U.S. Census Bureau, American

              22
                 NVIC 01-11,
        https://www.dco.uscg.mil/Portals/9/DCO%20Documents/5p/5ps/NVIC/2011/NVIC%200
        1-2011%20Final.pdf, accessed January 2023.
              23
                    Texas LNG Final EIS, pages 4-211 to 4-212 in Figures 4.12.3-1 and 4.12.3-2.
               24
                    EPA, EJScreen, https://ejscreen.epa.gov/mapper/, accessed December 2022.




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        Community Survey (ACS) as follows.25




                25
                   Based on EPA, EJScreen User Guide Version 2.1, 2022, the impact area would
         aggregate appropriate portions of the intersecting block groups, weighted by population,
         to create a representative set of data for the entire ring area, honoring variation and
         dispersion of the population in the block groups within it. For each indicator, the result is
         a population-weighted average, which equals the block group indicator values averaged
         over all residents who are estimated to be inside the impact area. A weight factor for
         each block group is determined by summing each block point population percentage for
         that block group. If the impact area touches part of a neighboring block group that
         contains no block points, nothing will be aggregated; if an impact area intersects a
         number of block groups, EJScreen indices will be aggregated within each block group
         based on the affiliated block points. The aggregation is done by using factor-weighted
         block points.




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   TABLE 1

   People With Access and Functional Needs within Potential Impact Areas
                          Population                                                            Linguistically
   Potential Incident     Density                          Housing Age 0-4         Age 65+      Isolated
                                         Households1
   Impact Area            (per square                      Units1     (percent)1 (percent)1 Households
                          mile) 1                                                               (percent)1, 2, 3
   Zone 1
   (LNG marine vessel 0                  0                 0          0            0            0
   - Accidental)
   Zone 2
   (LNG marine vessel 455                75                397        2%           34%          0
   - Accidental)
   Zone 3
   (LNG marine vessel 235                256               1,359      2%           34%          0
   - Accidental)
   Zone 1
   (LNG marine vessel 2                  0                 1          2%           34%          0
   - Intentional)
   Zone 2
   (LNG marine vessel 211                195               1,033      2%           34%          0
   - Intentional)
   Zone 3
   (LNG marine vessel 228                1,557             4,093      5%           22%          14.9%
   - Intentional)
   10,000 BTU/ft2-hr
                          0              0                 0          0%           0%           0
   (LNG Terminal)
   1,600 BTU/ft2-hr
                          0              0                 0          0%           0%           0
    (LNG Terminal)
   Flammable Vapor
   Cloud                  208            3,102             5,979      9%           19%          13.2%
   (LNG Terminal)
   1
     American Community Survey, 2016-2020, ACS Estimates
   2
     Households in which no one 14 and over speaks English “very well” or speaks English only.
   3
     Calculated by dividing the number of linguistically isolated households by the total number of households
   multiplied by 100.

                The worst-case distances from these potential incidents would potentially impact
         six census block groups, all of which are considered environmental justice communities.
         The block groups located with environmental justice communities that exceed the
         thresholds for minority and low income would include Census Tracts 142.02 Block
         Group 2, 127 Block Group 2, 123.04 Block Group 2, 123.04 Block Group 4 (based on the
         minority and low-income thresholds); Census Tract 123.04 Block Group 3 (based on the
         minority threshold); and Census Tract 123.04 Block Group 1 (based on low-income
         threshold).



                                                                                                JA120
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               I.        Emergency Response Plans and Mitigation

               In order to mitigate these potential offsite risks, this order modifies, in
        Appendix A, the Emergency Response Plan and Cost Sharing Plan Environmental
        Conditions 36 and 37 from Authorization Order. The modified language specifies
        emergency response and cost sharing considerations related to public education materials,
        including those with access and functional needs and environmental justice communities,
        on proposed evacuation routes and shelter in place locations, first responder training,
        emergency command centers and equipment, and public communication methods and
        devices. These revisions will further enhance the safety and security measures beyond
        that which would normally be required at the LNG terminal by the minimum standards
        for LNG safety promulgated in PHMSA regulations under 49 C.F.R. § 193 and USCG
        regulations under 33 C.F.R. § 127 and 33 C.F.R. § 105.

                 As stated in Sandia National Laboratories Report, Guidance on Risk Analysis and
        Safety Implications of a Large LNG Spill Over Water, SAND2004-6258, which was the
        basis for the Zones of Concern and referenced in NVIC 01-011, Zone 1 represents “risks
        and consequences of an LNG spill could be significant and have severe negative impacts”
        and radiant heat demarked by this zone “poses a severe public safety and property hazard,
        and can damage or significantly disrupt critical infrastructure.” Subsequently, the Sandia
        report concludes that for accidental Zone 1 impacts, “risk management strategies for
        LNG operations should address both vapor dispersion and fire hazards” and the most
        rigorous deterrent measures, such as vessel security zones, waterway traffic management,
        and establishment of positive control over vessels are options to be considered as
        elements of the risk management process.” Zone 1 is based upon a 37.5 kW/m2 radiant
        heat from a fire, which would cause significant damage to equipment and structures that
        are located within 1,640 feet.26 Sandia recommends that “incident management and
        emergency response measures should be carefully evaluated to ensure adequate resources
        (i.e., firefighting, salvage, etc.) are available for consequence and risk mitigation.”

                 Sandia indicates Zone 2 represents where radiant heat “transitions to less severe
         hazard levels to public safety and property” and the consequence of an accidental LNG
         spill are reduced and risk reduction and mitigation approaches and strategies can be less
         extensive.” Zone 2 is based upon a 5 kW/m2 radiant heat, which would cause significant
         impacts to individuals, but would not be expected to significantly impact most
         structures.27 Sandia concludes that for accidental Zone 2 impacts, “risk management

               26
                     Texas LNG Final EIS 4-211 to 4-212 (describing the specifics of Sandia Zone 1
        impacts).
               27
                     Texas LNG Final EIS4-211 to 4-212 (describing the specifics of Sandia Zone 2
         impacts).




                                                                                        JA121
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         strategies for LNG operations should focus on approaches dealing with both vapor
         dispersion and fire hazards” and “should include incident management and emergency
         management and emergency response measures, such as ensuring areas of refuge (e.g.,
         enclosed areas, buildings) are available, development of community warning signals, and
         community education programs to ensure persons know what precautions to take.”

                Sandia indicates Zone 3 represents “risks and consequences to people and property
         of an accidental LNG spill over water are minimal” and radiant heat “poses minimal risks
         to public safety and property.” Zone 3 is based upon the dispersion distance to
         flammable vapors under worst-case wind conditions.28 In the rare circumstance that the
         flammable vapors are not ignited until later, there could be flash fires or explosions
         depending on congestion, confinement, and ignition strength and location. Subsequent
         pool fires that would be demarked from the Zone 1 and 2 fire hazard distances, Sandia
         concludes that for accidental Zone 3 impacts, “risk reduction and mitigation strategies
         can be significantly less complicated or extensive” and “should concentrate on incident
         management and emergency response measures that are focused on dealing with vapor
         cloud dispersion . . . ” such as ensuring “areas of refuge are available, and community
         education programs . . . to ensure that persons know what to do in the unlikely event of a
         vapor cloud.” Sandia makes similar recommendations for the Zones of Concern for
         intentional acts. The modified Emergency Response Plan and Cost Sharing Plan
         Environmental Conditions 36 and 37 in Appendix A incorporate the considerations from
         the Sandia recommendations and would be consistent with the recognized and generally
         accepted good engineering practices for evacuating and sheltering in place, such as
         NFPA 1600, NFPA 1616, NFPA 1620, NFPA 470, and NFPA 475.

                As described in the final EIS, Commission staff evaluated Rio Grande’s
         application with a focus on potential hazards from within the terminal and near the site,
         including external events, which may have the potential to cause damage or failure to the
         project facilities. Based on these potential hazards, staff examined the project’s
         engineering design features that would mitigate potential hazards and any risk to safety
         and reliability.29 When reviewing an applicant’s engineering design for a project, the
         Commission requires it to be site-specific and developed to the extent that further
         detailed design would not result in significant changes to the siting considerations, basis
         of design, operating conditions, major equipment selections, equipment design
         conditions, or safety system designs. The engineering design that staff evaluated
         included: process design; mechanical design; hazard mitigation design for the spill
         containment design; spacing and plant layout design; ignition control design; hazard
         detection; emergency shutdown and depressurization system design; hazard control

                28
                     Final EIS 4-211 to 4-212 (describing the specifics of Sandia Zone 3 impacts).
                29
                     Id. at 4-211 to 4-244.




                                                                                          JA122
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        design; passive cryogenic and fire protection design; firewater system design;
        geotechnical and structural design, including natural hazards design; and onsite and
        offsite emergency response plans.30

               To analyze the reliability and safety of these designs, staff considered the
        occurrence and likelihood of potential hazards and the likely severity of consequences
        based on past incidents and validated hazard modeling. As part of its review, staff
        recommended 93 mitigation measures in the final EIS, which were adopted as conditions
        in the Authorization Order.31 In addition to the earlier review, staff reevaluated the
        potential impacts along the LNG marine vessel transit route and at the LNG terminal as
        described above.32 This review resulted in modifications to Environmental Conditions 53
        and 54 from the Authorization Order related to emergency response and cost sharing
        plans in order to further mitigate potential offsite risks.33 Based on these reviews,
        Commission staff determined that the risk (i.e., likelihood and consequence) of accidental
        and intentional events would be less than significant with implementation of the proposed
        safety and security recommendations that further enhance the safety and security
        measures above what is required at the LNG terminal by PHMSA regulations under 49
        C.F.R. § 193 and USCG regulations under 33 C.F.R. Part 127 and 33 C.F.R. Part 105,
        and those required for the LNG marine vessel by USCG regulations under 33 C.F.R. Part
        104 and 46 C.F.R. Part 154.

                The Energy Policy Act of 2005 requires LNG terminal operator’s Emergency
        Response Plan be developed in consultation with the USCG and State and local agencies
        and be approved by the commission prior to final approval to begin construction. To
        satisfy this requirement, this order modifies Environmental Conditions 36 and 37 in
        Appendix A of this order, that prior to construction of final design, Texas LNG shall file
        with the Secretary a revised Emergency Response Plan (ERP), including evacuation and
        any sheltering and re-entry, a request for review and written approval by the Office of
        Energy Projects Director or his designee. The ERP must be developed and coordinated
        with the USCG; state, county, and local emergency planning groups; fire departments;
        state and local law enforcement; and other appropriate federal agencies. This plan must
        be consistent with recommended and good engineering practices, as defined in NFPA
        1600, NFPA 1616, NFPA 1620, NFPA 470, NFPA 475, or approved equivalents, and
        based on potential impacts and onsets of hazards from accidental and intentional events

               30
                    Id. (detailing staff’s evaluation of the project’s engineering design).
               31
                    Authorization Order, 169 FERC ¶ 61,130 at Env’t Conditions 31-125.
               32
                    See supra at C-19 & C-20.
               33
                    See supra Order on Remand and Amending Certificate at P 64.




                                                                                              JA123
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        along the LNG marine vessel route and potential impacts and onset of hazards from
        accidental and intentional events at the LNG terminal, including but not limited to a
        catastrophic failure of the largest LNG tank. The plan must also address any special
        considerations and pre-incident planning for infrastructure and public with access and
        functional needs and must include at a minimum:

           a. materials and plans for periodic dissemination of public education and training
              materials in English and Spanish for potential hazards and impacts, identification
              of potential hazards, and steps for public notification, evacuation, and shelter in
              place within any transient hazard areas along the marine vessel route, and within
              LNG terminal hazard areas;
           b. plans to competently train emergency responders required to effectively and safely
              respond to hazardous material incidents including, but not limited to LNG fires
              and dispersion;
           c. plans to competently train emergency responders to effectively and safely
              evacuate or shelter public within transient hazard areas along the marine vessel
              route, and within hazard areas from LNG terminal;
           d. designated contacts with federal, state and local emergency response agencies
              responsible for emergency management and response within any transient hazard
              areas along the marine vessel route, and within hazard areas from LNG terminal;
           e. scalable procedures for the prompt notification of appropriate local officials and
              emergency response agencies based on the level and severity of potential
              incidents;
           f. scalable procedures for mobilizing response and establishing a unified command,
              including identification, location, and design of any emergency operations centers
              and emergency response equipment required to effectively and safely to respond
              to hazardous material incidents and evacuate or shelter public within transient
              hazard areas along the marine vessel route, and within LNG terminal hazard areas;
           g. scalable procedures for notifying public, including identification, location, design,
              and use of any permanent sirens or other warning devices required to effectively
              communicate and warn the public prior to onset of debilitating hazards within any
              transient hazard areas along the LNG marine vessel route and within hazard areas
              from LNG terminal;
           h. scalable procedures for evacuating the public, including identification, location,
              design, and use of evacuation routes/methods and any mustering locations
              required effectively and safely evacuate public within any transient hazard areas
              along the LNG marine transit route and within hazard areas from LNG terminal;
              and
           i. scalable procedures for sheltering the public, including identification, location,
              design, and use of any shelters demonstrated to be needed and demonstrated to
              effectively and safely shelter public prior to onset of debilitating hazards within
              transient hazard areas that may better benefit from sheltering in place (i.e., those
              within Zones of Concern 1 and 2), along the route of the LNG marine vessel and



                                                                                        JA124
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               within hazard areas that may benefit from sheltering in place (i.e., those within
               areas of 1,600 BTU/ft2-hr and 10,000 BTU/ft2-hr radiant heats from fires with
               farthest impacts, including from a catastrophic failure of largest LNG tank) of the
               LNG terminal.

                Environmental Condition 36 requires Texas LNG to notify Commission staff of all
         planning meetings in advance and to report progress on the development of its
         Emergency Response Plan at 3-month intervals.

                 The Energy Policy Act of 2005 requires LNG terminal operators develop a cost-
         sharing plan to reimburse direct costs to state and local agencies. To satisfy this
         requirement, Environmental Condition No. 37 requires Texas LNG to provide a Cost
         Sharing Plan that includes sustained funding of any requirement or resource gap analysis
         identified above to be needed and to effectively and safely evacuate and shelter public
         and required to effectively and safely respond to hazardous material incidents. Once
         submitted by Texas LNG, we would evaluate the revised Emergency Response Plan and
         Cost Sharing Plan in accordance with recommended and good engineering practices such
         as, but not limited to, NFPA 1600, NFPA 1616, NFPA 1620, NFPA 470 and NFPA 475,
         or approved equivalents.

                Based on our preliminary analysis of the hazards from the LNG facilities and
         along the LNG marine vessel route and the Environmental Conditions set forth in the
         Authorization Order and modified Environmental Conditions herein, Texas LNG must
         provide additional information, for review and approval, on development of emergency
         response plans prior to construction of final design. Texas LNG will also have to file
         three dimensional drawings, for review and approval, under the Environmental
         Condition 41 of the Authorization Order that demonstrate there is a sufficient number of
         access and egress locations at the LNG terminal. Texas LNG is also required under
         Environmental Condition 36 to coordinate with local, state, and federal agencies on the
         development of an emergency response plan and cost sharing plan. Texas LNG has
         provided and must continue to provide periodic updates on the development of these
         plans for review and approval, and ensure they are in place prior to introduction of
         hazardous fluids. In addition, the Texas LNG Project will be subject to regular
         inspections throughout the life of the facility and will continue to require Texas LNG to
         file updates to the Emergency Response Plan.




                                                                                        JA125
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                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Texas LNG Brownsville LLC                                   Docket No.       CP16-116-002

                                               (April 21, 2023)

         PHILLIPS, Chairman, concurring:

                 I concur in today’s orders.1 In Vecinos para el Bienestar de la Comunidad
         Costera v. FERC,2 the U.S. Court of Appeals for the District of Columbia Circuit held
         that “the Commission's analyses of the [Rio Bravo and Texas LNG projects’] impacts on
         climate change and environmental justice communities were deficient,” and directed the
         Commission on remand to “revisit its determinations of public interest and convenience
         under Sections 3 and 7 of the NGA” after adequately considering those issues. With
         today’s order, we have provided a full response to both deficiencies identified by the
         Court.

               First, with respect to climate change, the Court held that the Commission did not
         adequately respond to arguments regarding why it should deploy the Social Cost of
         Carbon.3 In response, consistent with recent precedent, we have included the Social Cost
         of Carbon figures in today’s order.

                 Second, with respect to environmental justice, the Court held that the Commission
         did not adequately explain its method for identifying environmental justice communities
         potentially affected by the projects. In response, we have conducted a full review of the
         projects’ impacts on environmental justice communities. Throughout 2022, Commission
         staff issued multiple data requests to gather information on the projects’ potential impacts
         on environmental communities with 50 kilometers of the facilities. In addition, we
         provided all stakeholders an opportunity to comment on the information submitted in
         those data requests, including what that information meant for environmental justice
         communities. While I recognize that certain of my colleagues would have preferred more
         process or less, I believe that the record assembled throughout the last year is an
         appropriate middle ground that represents an adequate basis to fully consider the issues
         the Court remanded to us in Vecinos nearly two years ago.


                1
                 I enter the same concurrence in this case as Rio Grande LNG, LLC, 183 FERC ¶
         61,046 (2023).
                2
                    6 F.4th 1321, 1331 (D.C. Cir. 2021).
                3
                    Id. at 1328-30.




                                                                                          JA126
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                 And we did just that. Today’s order conducts a full environmental justice
         examination using our current methods, which are consistent with EPA and CEQ
         guidance. As part of that investigation, and in direct response to the Court, we identified
         all environmental justice communities within 50 kilometers of the projects, as opposed to
         just those within the 2-mile radius considered in the initial orders.4 We then analyzed
         each project’s impacts on affected EJ communities. As part of that full examination and
         due to required mitigation, we affirmed our earlier conclusion that the projects’ impacts
         would be less than significant.

                To that point, today’s order takes an unprecedented and bipartisan step to protect
         environmental justice communities from potential concerns about the projects’ effects on
         air quality. Because portions of the projects will enter service before construction is
         entirely completed, there is the potential that those overlapping activities could, in
         connection with other background emissions, contribute to an exceedance of the National
         Ambient Air Quality Standards (NAAQS) for certain pollutants. To mitigate that
         concern, the Commission is, for the first time, sua sponte, requiring the projects’
         sponsors to file a plan to ensure that the overlapping construction and operation of project
         do not cause any exceedance of the NAAQS. That measure allows the Commission to
         conclude that the projects will not have any significant air quality impacts on
         environmental justice communities.

                In addition, at a broader level, this mitigation illustrates how the Commission is
         making progress on the critically important issue of cumulative impacts. At the
         Commission’s March 29, 2022 Roundtable on Environmental Justice and Equity in
         Infrastructure Permitting, we heard from several stakeholders, including community
         groups, about the importance of considering cumulative impacts—i.e., not just the air
         emissions directly caused by a particular project, but also those emissions in conjunction
         with the emissions from other sources within the region. Today’s order takes a critical
         step toward addressing that concern by requiring that the project sponsors develop a plan
         to ensure that incremental emissions impacts associated with these projects, on top of all
         sources, do not cause a NAAQS exceedance, thereby helping to protect communities,
         including environmental justice communities, that may venture near the projects.

                For these reasons, I respectfully concur.

                ______________________________
                Willie L. Phillips
                Chairman



                4
                  The underlying orders identified only communities within in two miles or over
         three kilometers of the facility.




                                                                                          JA127
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                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Texas LNG Brownsville LLC                                      Docket No.    CP16-116-002

                                              (Issued April 21, 2023)

         CLEMENTS, Commissioner, dissenting:

                 I dissent from the Order1 because (1) the Commission was required to prepare a
         supplemental environmental impact statement (EIS) and its failure to do so renders the
         Order’s significance determinations unsupportable; (2) the Commission should have
         granted the requests it received to hold public meetings addressing the Commission’s
         new analyses of environmental and other impacts;2 and (3) I disagree with the Order’s
         explanation for why the Commission is not determining the significance of greenhouse
         gas (GHG) emissions associated with the Texas LNG Terminal project.3 The
         Commission’s failure to prepare a supplemental environmental impact statement (EIS)
         for the project, and to take public comment on the supplement, leaves the Commission
         with a fundamentally flawed record that cannot support a public interest determination
         for the project. I therefore dissent from the Order’s ultimate conclusion that the Texas
         LNG Terminal is not inconsistent with the public interest.4

                 In performing the expanded review of EJ impacts required by the D.C. Circuit’s
         remand decision in Vecinos,5 the Commission identified 274 additional EJ communities
         in the area around the Texas LNG Terminal that could be impacted by the project,

                1
                    Texas LNG Brownsville LLC, 183 FERC ¶ 61,047 (2023) (Order).
                2
                    See Order at PP 12, 15.
                3
                    See id. at PP 21, 26.
                4
                    Id. at P 84.
                5
                  Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321
         (D.C. Cir. 2021). The Court instructed that, on remand, the Commission must explain
         why it used only a two-mile radius for its analysis of EJ impacts or use a different radius.
         Id. at 1331. The Commission correctly chose to use the 50-kilometer radius in its
         analysis on remand because that was the only rational choice given that the Commission
         uses that radius for analysis of air quality impacts. See Order at P 34 & n.86 (explaining
         50 kilometers is the distance that the U.S. Environmental Protection Agency uses for
         cumulative air modeling for major stationary sources under its Prevention of Significant
         Deterioration Program).




                                                                                          JA128
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         beyond the five identified in the Commission’s original analysis.. The Commission has
         not provided members of these newly identified EJ communities any meaningful
         opportunity to comment on the impacts the projects may have on them or what mitigation
         measures would help prevent or minimize any adverse impacts. For the reasons
         explained below, the Commission should have issued the new environmental and safety
         analyses included in the body and appendices of the Order as a supplemental EIS, issued
         targeted notices of the supplemental EIS to potentially affected EJ communities, and
         allowed a reasonable period for public comment on the supplemental EIS, including oral
         comments at the town hall style meetings that commenters have requested. The
         Commission’s failure to do so leaves us with an incomplete administrative record with
         respect to potential adverse impacts on newly identified EJ communities, the significance
         of those impacts, and mitigation measures to address them. In short, we lack the
         foundation for reasoned decision-making on these vital issues.

                 The National Environmental Policy Act (NEPA) requires agencies to prepare an
         EIS for “major Federal actions significantly affecting the quality of the human
         environment.”6 The Commission did so before approving the Texas LNG Terminal
         project. However, that was not enough to meet our obligations under NEPA. According
         to the Council on Environmental Quality’s (CEQ) regulations implementing NEPA, an
         agency must prepare a supplemental EIS if “there are significant new circumstances or
         information relevant to environmental concerns and bearing on the proposed action or its
         impacts.”7 Since issuing the original EIS for the Texas LNG Terminal project, and
         following the remand in Vecinos, the Commission has identified hundreds of additional
         potentially affected EJ communities. Under any reasonable interpretation of CEQ’s
         regulation, this is significant new information “relevant to environmental concerns.” For
         that reason alone, the Commission should have issued its new analyses as a supplemental
         EIS and provided an opportunity for public comment on it.8


                6
                    42 U.S.C. § 4332(2)(C).
                7
                  40 C.F.R. § 1502.9(d)(1)(ii). The Commission’s regulations implementing
         NEPA provide that the Commission will comply with CEQ’s regulations. See 18 C.F.R.
         § 380.1.
                8
                 CEQ’s regulations provide that an agency “shall prepare, publish, and file a
         supplement to a[n EIS] . . . as a draft and final statement.” 40 C.F.R. § 1502.9(3).
         Although the regulation does not say so explicitly, the only purpose for publishing a draft
         would be for the public to comment on it. Consistent with the regulation, the
         Commission’s practice is to issue a draft supplemental EIS for public comment. See,
         e.g., Magnolia LNC, LLC; Notice of Availability of the Draft Environmental Impact
         Statement for the Proposed Magnolia Production Capacity Amendment, 84 Fed. Reg.
         52,881 (Oct. 3, 2019); Florida Southeast Connection, LLC; Transcontinental Gas Pipe



                                                                                         JA129
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                The other reasons a supplemental EIS is required are equally plain. In the Order,
         the Commission finds that, even with Texas LNG’s proposed mitigation measures, during
         periods when construction, operation, and commissioning activities occur at the same
         time at the LNG terminal, the Clean Air Act National Air Ambient Quality Standards
         (NAAQS) may be exceeded for certain air pollutants.9 The Order imposes a new air
         pollution and monitoring condition that may prevent or reduce NAAQS violations.10
         Although I agree that imposing this condition is a beneficial step to take, I cannot
         conclude that it will be sufficient to reduce cumulative air emissions to an insignificant
         level because the condition itself is vague11 and we have had no public comment on
         whether it will be effective or what additional mitigation may be needed. The Order also
         finds that visual impacts on EJ communities would be significant.12 However, it imposes
         no new mitigation measures to minimize those impacts. These findings in the Order
         themselves indicate a supplemental EIS is necessary.

               The need for a supplemental EIS does not hinge on a definitive finding that
         environmental impacts will be significant. To the contrary, NEPA requires that an
         agency prepare an EIS where there “might” be “any” significant environmental impacts.13
         Moreover, “the decision whether to prepare a supplemental EIS is similar to the decision
         whether to prepare an EIS in the first instance.”14 Since the Commission has determined

         Line Company, LLC; Sabal Trail Transmission, LLC; Notice of Availability of the Draft
         Supplemental Environmental Impact Statement for the Southeast Market Pipelines
         Project, 82 Fed. Reg. 16,233 (Oct. 4, 2017).
               9
                   Order at PP 68, 70.
               10
                    Id. at PP 70-71.
               11
                   The new condition describes the basic components of the monitoring and
         mitigation plan that Texas LNG must file for approval, but it leaves it to the company to
         flesh out the specific monitoring protocol and corrective actions to be employed. In
         particular, the condition does not say what Texas must do in response to a NAAQS
         exceedance or how quickly it must do it. See Order, App. A, Condition 130.
               12
                    Id. at PP 80-82.
               13
                  Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d 1032, 1039
         (D.C. Cir. 2021) (quoting Grand Canyon Tr. v. FAA, 290 F.3d 339, 340 (D.C. Cir.
         2002)); see also Sierra Club v. Peterson, 717 F.2d 1409, 1415 (D.C. Cir. 1983).
               14
                  Stand Up for California! v. U.S. Dep’t of the Interior, 994 F.3d 616, 628 (D.C.
         Cir. 2021) (quoting Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 374 (1989)) (internal
         quotation marks omitted).




                                                                                        JA130
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         that there may be significant air pollution and visual impacts associated with the Texas
         LNG Terminal, it was required to prepare a supplemental EIS.

                The procedures employed here run counter to NEPA’s fundamental purposes. As
         the Supreme Court has explained, the statute’s EIS requirement “ensures that the agency,
         in reaching its decision, will have available, and will carefully consider, detailed
         information concerning significant environmental impacts.” 15 NEPA’s public
         participation requirements ensure that “relevant information will be made available to the
         larger audience that may also play a role in both the decisionmaking process and the
         implementation of that decision.”16 Publishing an EIS “provides a springboard for public
         comment.”17 By failing to issue a supplemental EIS for public comment prior to today’s
         Order, the Commission deprived the public of any meaningful opportunity to participate.
         That, in turn, prevented the Commission from reflecting in its decision today essential
         information the public generally and affected EJ communities otherwise could have
         provided on the Commission’s new environmental and safety analyses.

                 Embedding the Commission’s new environmental and safety analyses in the Order
         and its appendices is no substitute for the public notice and comment process under
         NEPA. The Commission does not send out notices of its orders to the mailing list
         compiled for purposes of the original EIS process. And it certainly does not send targeted
         notices to members of newly identified EJ communities. Consequently, the hundreds of
         EJ communities potentially impacted by the Texas LNG Terminal project have no
         practical way of even discovering that they are within the project’s potential impact zone.

                 Failing to allow meaningful public participation is not just some technical error.
         Rather, public input provides the foundation for an agency’s substantive decisions. The
         procedures used here not only violated NEPA, but also undermined the Commission’s
         ability to engage in reasoned decision-making, as it is required to do under the
         Administrative Procedure Act (APA).18 That is because the Commission does not have a

                15
                     Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989)
         (emphasis added); see also Marsh, 490 U.S. at 371 (“[B]y focusing Government and
         public attention on the environmental effects of proposed agency action . . . NEPA
         ensures that the agency will not act on incomplete information, only to regret its decision
         after it is too late to correct.”) (citations omitted); 40 C.F.R. § 1500.1(a) (“The purpose
         and function of NEPA is satisfied if Federal agencies have considered relevant
         environmental information, and the public has been informed regarding the decision-
         making process.”).
                16
                     Robertson, 490 U.S. at 349.
                17
                     Id.
                18
                     5 U.S.C. § 706(2)(A); see also Motor Vehicle Mfrs. Ass’n of the U.S. v. State



                                                                                           JA131
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         complete record reflecting input from the hundreds of newly identified EJ communities,
         or from the public generally, on the new environmental and safety analyses.

                Even if the Commission were not legally required to issue a supplemental EIS for
         public comment, doing so would be the right way to implement the applicable Executive
         Orders (EOs) and guidance on EJ.19 These documents call for identification, analysis,
         and mitigation of impacts on EJ communities. Where agencies have identified potentially
         affected minority and/or low income communities, the identification “should trigger” an
         “enhanced outreach effort to assure that low-income and minority populations are
         engaged in public participation.”20 Section 5-5 of the 1994 EJ EO states that agencies
         “shall work to ensure that public documents, notices, and hearings relating to human
         health or the environment are concise, understandable, and readily accessible to the
         public.”21 Furthermore, the 1997 CEQ Guidance specifically instructs that agencies
         “should develop effective public participation strategies” and “overcome linguistic,
         cultural, institutional, geographic, and other barriers to meaningful participation.”22 The
         sad fact is that the Commission has made no effort to inform potentially affected EJ
         communities of its new environmental and safety analyses, let alone make the analyses

        Farm Mut. Auto. Ins. Co., 463 U.S. 29, 52 (1983) (requiring that an agency’s explanation
        be a “product of reasoned decisionmaking” under the APA); Vecinos, 6 F.4th at 1330
        (“[A] petitioner may challenge an agency’s environmental justice analysis as arbitrary
        and capricious under NEPA and the APA.”); Coliseum Square Ass’n v. Jackson, 465 F.3d
        215, 232 (5th Cir. 2006) (finding an agency’s environmental justice considerations
        reviewable under the “arbitrary and capricious” standard of the APA).
                19
                 The Commission states that it complies with the relevant EOs and guidance.
         See Order at PP 28-29; see generally Exec. Order No. 12,898, 59 Fed. Reg. 7629 (1994)
         (1994 EJ EO); Presidential Memorandum, Executive Order on Federal Actions to
         Address Environmental Justice in Minority Populations and Low-income Populations, 1
         Pub. Papers 241 (Feb. 11, 1994) (1994 EJ Memo); Federal Interagency Working Group
         on Environmental Justice and NEPA Committee, Promising Practices for EJ
         Methodologies in NEPA Reviews (2016) (Promising Practices Guidance).
                20
                 Council on Envtl. Quality, Guidance for Incorporating Environmental Justice
         Concerns in EPA’s NEPA Compliance Analysis 28 (1998) (1998 CEQ Guidance).
                21
                  1994 EJ EO § 5-5(c) (emphasis added); see also 1994 EJ EO § 5-5(b) (stating
         that meeting this public accessibility standard may require, “whenever practicable and
         appropriate,” “translat[ing] crucial public documents, notices, and hearings related to
         human health or the environment for limited English speaking populations”).
                22
                  CEQ, Environmental Justice: Guidance Under the National Environmental
         Policy Act 9 (1997) (1997 CEQ Guidance) (emphasis added).




                                                                                         JA132
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         “readily accessible” to them. Rather than implementing an “effective public participation
         strategy,” the Commission has shut the door on public participation by embedding its
         new analyses in the Order.

               I am particularly troubled that neither the general public nor the newly identified
         EJ communities will have a meaningful opportunity to comment on the Commission’s
         new air monitoring and mitigation condition or other potential mitigation measures.
         CEQ’s guidance on EJ specifically instructs that “members of the affected communities
         should be consulted” when an agency is “identifying and developing potential mitigation
         measures to address environmental justice concerns.”23

               To give credit where it is due, the Commission did provide an opportunity for
        comment on the project sponsors’ responses to certain of Commission staff’s
        environmental information requests (EIRs).24 However, there was no opportunity to
        comment on critical air modeling information used in the Commission staff’s cumulative
        air impacts analysis because that information was submitted after the comment period
        closed.25 The necessity for, and value of, allowing public comment on the new analyses
        is evinced by the fact that Vecinos para el Bienestar de la Comunidad Costera and Sierra
        Club submitted a joint comment letter identifying discrepancies in Texas LNG’s and Rio
        Grande LNG’s cumulative air impacts modeling that led staff to direct the companies to
        reconcile their analyses and submit new cumulative air impact modeling.26

                At the Commission’s March 29, 2023, Roundtable on Environmental Justice and
         Equity in Infrastructure Permitting, all Commissioners acknowledged the importance of
         appropriately addressing EJ concerns in our proceedings. In this of all cases, where the
         D.C. Circuit remanded our inadequate EJ analysis, we should translate our good
         intentions into action and provide EJ communities a meaningful opportunity to
         participate. Considering our discussion at the Roundtable of how to facilitate EJ
         communities’ full participation, it is especially disheartening that the Order rejects



               23
                    1998 CEQ Guidance at 36.
               24
                    See Order at P 11.
               25
                  See id. at P 77 (“Texas LNG filed [its updated air quality impact] model on
         January 30, 2023.”), P 11 (“[I]nitial comments were due no later than October 21, 2022,
         and reply comments no later than November 4, 2022.”).
               26
                  See id. at P 74; see also Rio Grande LNG, LLC, 183 FERC ¶ 61,046, at PP 87,
         137 (2023) (describing Sierra Club’s joint comment letter that pointed out the modeling
         discrepancies between Rio Grande and Texas LNG).




                                                                                        JA133
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         requests to hold public meetings, with Spanish translation, to hear communities’ concerns
         about the project and our new analyses.27

                 I am sensitive to the comments in the record, from the project sponsor and others,
         that the Commission has unduly delayed its response to the court’s remand in Vecinos
         and that the delay may postpone benefits the projects offer, including local employment
         opportunities. More generally, I desire to efficiently process applications for approval of
         natural gas and LNG projects, as well as the Commission’s response to any court
         directives relating to project approvals. No member of the current Commission had
         control over the process for, or timing of, the Commission’s response to the Vecinos
         court’s remand. The question now is what to do with the hand we have been dealt.
         Taking procedural shortcuts is the wrong answer. In failing to meet its statutory and
         regulatory obligations, the Commission invites litigation challenging the Order,
         potentially leading to further delay. For the sake of all stakeholders, including project
         sponsors and communities impacted by our decisions, we must do better.

                Finally, I dissent from the Commission’s explanation of why it cannot determine
         the significance of GHG emissions associated with the Texas LNG Terminal.28 This
         section of the Order could be interpreted as the Commission’s definitive conclusion that
         the Social Cost of GHGs protocol is inherently unsuitable for determining the
         significance of GHG emissions associated with natural gas and LNG infrastructure
         projects. Moreover, the Order suggests that there is no other “currently scientifically
         accepted method that would enable the Commission to determine the significance of
         reasonably foreseeable GHG emissions.”29 In other recent orders, the Commission has
         explained that it is not determining the significance of GHG emissions because the issue
         of how to do so is under consideration in the docket for the Commission’s draft GHG
         Policy Statement.30 This Order does not say that. Readers therefore might wonder
         whether this Order has effectively decided some of the central issues raised in the GHG
         Policy Statement docket.

                I do not know whether the Social Cost of GHGs protocol or another tool can or
         should be used to determine significance. That is because the Commission has not
         seriously studied the answer to that question. Rather, the majority has simply decided the
         method does not work, with no explanation of why the Commission departs from the

                27
                     See id. at P 15.
                28
                     See id. at PP 20-21, 26.
                29
                     Id. at P 21.
                30
                  See, e.g., Transcon. Gas Pipe Line Co., 182 FERC ¶ 61,006, at P 73 & n.174
         (2023); Columbia Gas Transmission, LLC, 182 FERC ¶ 61,171, at P 46 & n.93 (2023).




                                                                                          JA134
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         approach so recently taken in other similar orders.31 We have yet to address the
         voluminous record in the GHG Policy Statement docket, including comments that speak
         to this question. What I do know is that we should decide the important unresolved
         issues relating to our assessment of GHG emissions through careful deliberation in a
         generic proceeding with full transparency.

               For the foregoing reasons, I respectfully dissent.



         ________________________
         Allison Clements
         Commissioner




               31
                  To depart from prior precedent without explanation violates the Administrative
         Procedure Act. See, e.g., W. Deptford Energy, LLC v. FERC, 766 F.3d 10, 17 (D.C. Cir.
         2014) (“[T]he Commission cannot depart from [prior] rulings without providing a
         reasoned analysis.”) (citations omitted).




                                                                                      JA135
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                                        185 FERC ¶ 61,079
                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Willie L. Phillips, Acting Chairman;
                               James P. Danly, Allison Clements,
                               and Mark C. Christie.

         Texas LNG Brownsville LLC                                     Docket Nos. CP16-116-003

                     ORDER ADDRESSING ARGUMENTS RAISED ON REHEARING

                                           (Issued October 27, 2023)

                 On April 21, 2023, the Commission issued an order on remand1 reaffirming that
         Texas LNG Brownsville LLC’s (Texas LNG) proposed liquified natural gas terminal
         project (Texas LNG Project or project) is not inconsistent with the public interest under
         section 3 of the Natural Gas Act (NGA).2 On May 22, 2023, Vecinos para el Bienestar
         de la Comunidad Costera, Sierra Club, and City of Port Isabel (together, Sierra Club)
         filed a timely rehearing request of the Remand Order.

                Pursuant to Allegheny Defense Project v. FERC,3 the rehearing request filed in this
         proceeding may be deemed denied by operation of law. However, as permitted by NGA
         section 19(a),4 we are modifying the discussion in the Remand Order and continue to
         reach the same result in this proceeding, as discussed below.5



                1
                    Tex. LNG Brownsville LLC, 183 FERC ¶ 61,047 (2023) (Remand Order).
                2
                    15 U.S.C. § 717b.
                3
                    964 F.3d 1 (D.C. Cir. 2020) (en banc).
                4
                  15 U.S.C. § 717r(a) (“Until the record in a proceeding shall have been filed in a
         court of appeals, as provided in subsection (b), the Commission may at any time, upon
         reasonable notice and in such manner as it shall deem proper, modify or set aside, in
         whole or in part, any finding or order made or issued by it under the provisions of this
         chapter.”).
                5
                Allegheny Def. Project, 964 F.3d at 16-17. The Commission is not changing the
         outcome of the Remand Order. See Smith Lake Improvement & Stakeholders Ass’n v.
         FERC, 809 F.3d 55, 56-57 (D.C. Cir. 2015).




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         I.    Background

                 On November 22, 2019, the Commission authorized Texas LNG to construct and
         operate a new liquified natural gas (LNG) terminal designed to produce up to 4 million
         metric tonnes per annum (MTPA) of LNG for export pursuant to NGA section 3.6 The
         project facilities will occupy 625 acres of land on the north side of the Brownsville Ship
         Channel in Cameron County, Texas, and include two full-containment LNG storage tanks
         with a capacity of approximately 210,000 cubic meters of LNG each; two liquefaction
         trains, each with a capacity of 2.0 MTPA of LNG; a single LNG carrier berth; mooring
         and loading facilities; and other appurtenant facilities.7

                On December 23, 2019, Sierra Club and several other parties jointly requested
         rehearing of the Authorization Order.8 On February 21, 2020, the Commission denied
         rehearing.9 Sierra Club petitioned for review of the Authorization and Rehearing Orders
         in the U.S. Court of Appeals for the District of Columbia Circuit (D.C. Circuit).

                On August 3, 2021, the D.C. Circuit remanded the Authorization and Rehearing
         Orders, holding that the Commission’s National Environmental Policy Act (NEPA)
         analyses of the project’s impacts on climate change and environmental justice
         communities were deficient.10 On remand, the court directed the Commission to: (1)
         explain whether the Council on Environmental Quality’s (CEQ) regulations at 40 C.F.R.
         § 1502.21(c) require the Commission, in its environmental analysis of the projects, to
         apply the social cost of carbon protocol or some other analytical framework, as
         “generally accepted in the scientific community” within the meaning of the regulation;
         and (2) explain why the Commission chose to analyze the projects’ impacts only on
         environmental justice communities within a two-mile radius, or, in the alternative, to
         analyze the projects’ impacts on communities within a different radius from each project

               6
                 Tex. LNG Brownsville LLC, 169 FERC ¶ 61,130, at PP 4, ordering para. A
         (2019) (Authorization Order).
               7
                   Remand Order, 169 FERC ¶ 61,047 at PP 1, 5.
               8
                 The parties seeking rehearing were Sierra Club, Texas RioGrande Legal Aid (on
         behalf of Shrimpers and Fisherman of the RGV and Vecinos para el Bienestar de la
         Comunidad Costera), Save RGV from LNG, Defenders of Wildlife, the City of South
         Padre Island, the City of Port Isabel, and the Town of Laguna Vista. Tex. LNG
         Brownsville LLC, 170 FERC ¶ 61,139, at P 1 (2020) (Rehearing Order).
               9
                   Tex. LNG Brownsville LLC, 170 FERC ¶ 61,139 (2020) (Rehearing Order).
               10
                 Vecinos Para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321,
         1331 (D.C. Cir. 2021) (Vecinos).




                                                                                        JA138
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         site and to determine whether the Commission’s environmental justice conclusion still
         holds.11 Additionally, because the Commission’s analyses of the project’s impacts on
         climate change and environmental justice communities were deficient, the court directed
         the Commission to revisit its determination about the public interest under NGA section
         3.12

                Following the D.C. Circuit’s decision, Commission staff issued environmental
         information requests to Texas LNG on February 3, 2022, August 16, 2022, and August
         31, 2022, regarding environmental justice communities, visual impacts, air quality
         modeling, and emergency planning.13 Texas LNG responded to Commission staff’s
         information requests on March 4, 2022, May 2, 2022, September 15, 2022, and
         September 21, 2022.14 Commission staff sought public comment on information
         provided in these responses.15

               Commission staff issued additional environmental information requests to Texas
         LNG on October 28, 2022, January 6, 2023, and June 20, 2023. Texas LNG filed
         responses on November 7, 2022, January 30, February 23, 2023, and July 18, 2023.

                 In the Remand Order, the Commission addressed the issues remanded to the
         Commission by the court in Vecinos and supplemented the environmental analysis of the
         Texas LNG Project by: (1) addressing the argument regarding the social cost of carbon
         and 40 C.F.R. § 1502.21(c); and (2) updating our analysis of the project’s environmental
         justice impacts consistent with the Commission’s current practice. In the Remand Order,



               11
                   Id. at 1329-31. 40 C.F.R. § 1502.21(c) (2022) provides that “[i]f the
         information relevant to reasonably foreseeable significant adverse impacts cannot be
         obtained because . . . the means to obtain it are not known, the agency shall include
         within the environmental impact statement . . . [t]he agency’s evaluation of such impacts
         based upon theoretical approaches or research methods generally accepted in the
         scientific community.” In its 2020 rulemaking, CEQ redesignated § 1502.22,
         “[i]ncomplete or unavailable information” as § 1502.21 in the final rule.
               12
                    Vecinos, 6 F.4th at 1329-31.
               13
                    Remand Order, 169 FERC ¶ 61,047 at P 10.
               14
                    Id.
               15
                  See Texas LNG Brownsville LLC; Notice Seeking Public Comment on response
         to Information Requests, 87 Fed. Reg. 60,679 (Oct. 6, 2022) (Notice Seeking Public
         Comment).




                                                                                        JA139
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         the Commission determined that the project, as conditioned in the Authorization Order
         and as modified in the Remand Order, is not inconsistent with the public interest.16

         II.    Procedural Issue

                On June 6, 2023, Texas LNG filed a motion for leave to answer and answer to
         Sierra Club’s rehearing request. The Commission’s Rules of Practice and Procedure
         generally prohibit answers to a request for rehearing.17 Accordingly, we deny Texas
         LNG’s motion to answer and reject its answer.

         III.   Discussion

                On rehearing, Sierra Club argues that the Commission erred in the Remand Order
        by failing to: (1) consider issues that were not remanded by the court; (2) properly
        consider air pollution and environmental justice impacts; (3) properly consider
        greenhouse gas (GHG) emissions impacts; and (4) supplement the 2019 final
        environmental impact statement (Final EIS) based on new information concerning
        SpaceX.

                A.       Scope of the Remand

                Sierra Club asserts that once the Commission reacquired jurisdiction on remand,
         the Commission was not limited to only considering the two issues identified by the D.C.
         Circuit.18 Sierra Club argues that the project and environmental context have changed
         since the Commission’s prior approval and thus on remand the Commission should
         consider a broader range of issues19 and that Sierra Club contends that the Commission
         had discretion to reconsider the whole of its original decision once it reacquired
         jurisdiction.20 Finally, Sierra Club states that to the extent that the Commission sought
         new information regarding air quality impacts on environmental justice communities, the




                16
                     Remand Order, 169 FERC ¶ 61,047 at P 85.
                17
                     18 C.F.R. § 385.713(d)(1); id. § 385.213(a)(2) (2022).
                18
                     Rehearing Request at 6-8.
                19
                   See id. (referencing examples including various air pollution and environmental
         justice issues, and NEPA supplementation in the context of SpaceX).
                20
                 Id. at 7 (citing Se. Mich. Gas Co. v. FERC, 133 F.3d 34, 38 (D.C. Cir. 1998)
         (Michigan Gas)).




                                                                                        JA140
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         Commission should have provided the public a meaningful opportunity to review and
         comment on such new information.21

                 On remand, the Commission is under no legal obligation here to revisit any
         portion of its original decision other than those issues that are subject to the court’s
         mandate. To the contrary, as explained in the Remand Order, the Commission may reject
         arguments outside the scope of the remand.22 Sierra Club’s citation to Michigan Gas is
         thus inapposite because while that case recognizes the Commission’s discretion to
         consider a broader range of issues on remand, its holding does not compel Commission
         action outside the scope of a court’s remand.23 The Commission reasonably limited its
         analysis to the two issues subject to the court’s remand—whether the social cost of GHG
         or similar protocol should be used and the scope of the Commission’s environmental
         justice analysis.24

               To the extent that the Commission considered new information that bore upon the
        two issues that were subject to the court’s remand, the public had a meaningful
        opportunity to review and comment on such information. As stated above, on
        September 30, 2022, Commission staff issued a notice seeking public comments on
        Texas LNG’s responses to Commission staff’s information requests.25 The Commission
        received over 100 comments in response to this notice,26 including from Sierra Club.27
        Sierra Club also filed other, unsolicited comments during the pendency of the remand.28
        The Commission reasonably concluded that the record was sufficient for the Commission


               21
                    Id. at 7.
               22
                  See Remand Order, 183 FERC ¶ 61,047 at P 16; see also Fla. Se. Connection,
         LLC, 164 FERC ¶ 61,099, at P 9 (2018) (dismissing request for rehearing to the extent it
         presented arguments “beyond the remand scope” of the court’s opinion).
               23
                  See Michigan Gas, 133 F.3d at 38 (stating only that the Commission has “the
         discretion to reconsider the whole of its original decision” on remand) (emphasis added).
               24
                    Remand Order, 183 FERC ¶ 61,047 at P 16.
               25
                    Notice Seeking Public Comment, 87 Fed. Reg. at 60,679.
               26
                    See Remand Order, 183 FERC ¶ 61,047 at P 15.
               27
                    See Sierra Club October 19, 2022 Comments.
               28
               See Sierra Club March 17, 2023 Comments; Sierra Club October 19, 2022
         Comments.




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         to address the issues identified in the court’s remand,29 which as discussed above, is
         committed to the Commission’s discretion.30 Further, we note that Sierra Club fails to
         cite any precedent supporting its contention that the Commission’s actions on remand
         were deficient. Accordingly, we reject the argument that the public was not afforded an
         adequate opportunity to review and comment on the new.

                B.         Air Quality and Environmental Justice Communities

                           1.    Changes in Emissions Data

                 Sierra Club argues that the Commission erred by using air pollution emission and
         modeling data in the Remand Order that differed from that in the Final EIS without
         explaining what factors caused the changes to the data or providing the public an
         opportunity to comment on it.31 For example, Sierra Club notes that Texas LNG reduced
         its estimate of nitrogen oxides (NOx) emissions by a quarter compared to the estimate in
         the Final EIS.32 Sierra Club also notes that Texas LNG reduced its estimates of marine
         vessel emissions of volatile organic compounds, carbon monoxide, particulate matter
         with an aerodynamic diameter of 10 microns or less (PM10), sulfur oxides (SOx), and
         GHGs, without providing a reasoned explanation for the reductions.33

                 In its May 2, 2022 Data Response, Texas LNG explained that emission
         calculations for the facility and marine operational activities were updated since previous
         filings to reflect: actual emission factors contained in the final permit issued by the
         Texas Council on Environmental Quality, updated U.S. Environmental Protection
         Agency (EPA) emission factors and conversion rates, and updated stationary and mobile
         sources consistent with current and planned fuel standards relating to sulfur content.34

                29
                     Remand Order, 183 FERC ¶ 61,047 at P 15.
                30
                  See Spire STL Pipeline LLC, 181 FERC ¶ 61,232, at P 20 (2022) (“Agencies on
         remand, unless otherwise directed by the court, may proceed as needed to supplement the
         record and redress issues identified by the court.”).
                31
                  Rehearing Request at 8-9. As discussed above, we disagree that the public was
         not afforded an adequate opportunity to review and comment on the new information.
         See supra P 13.
                32
                     Id. at 8.
                33
                     Id.
                34
                  Texas LNG May 2, 2022 Response to Commission staff Feb. 3, 2022 Data
         Request at 3-4.




                                                                                         JA142
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         Sierra Club fails to offer any rationale or analysis suggesting why Texas LNG’s
         explanation for these updated estimates would be inaccurate.35 Accordingly, we find
         Texas LNG’s explanation for the updated data to be reasonable and we disagree with
         Sierra Club’s premise that we accepted the data without a reasoned explanation.

                           2.     PM2.5 Estimates

                  Sierra Club questions Texas LNG’s reliance on baseline data from an air monitor
         located 28 kilometers from the terminal site rather than using a closer air monitor
         maintained by the Texas Commission on Environmental Quality in Isla Blanca in
         Cameron County, Texas.36 Sierra Club argues that if Texas LNG’s analysis of the
         cumulative impact of its operating emissions were modified to use the higher
         concentrations of particulate matter with an aerodynamic diameter of less than 2.5
         microns (PM2.5) recorded at the Isla Blanca monitor, this would show a potential
         violation of the annual National Ambient Air Quality Standards (NAAQS) for PM2.5 and
         could show a potential violation of the 24-hour NAAQS for PM2.5.37 Sierra Club
         maintains that the Commission must incorporate data from the Isla Blanca monitor to
         fulfill the Commission’s obligation under NEPA to “make use of reliable existing data
         and resources.”38 Sierra Club states that the Isla Blanca monitor more accurately reflects
         the current PM2.5 concentrations near the project site and so more accurately discloses
         what the project’s impacts will be on local air quality and the health and safety of nearby
         residents.39

                  We find that the Isla Blanca monitor was appropriately excluded from the air
         quality analysis because it appears that the monitor did not have three years of data to
         calculate the annual and 24-hour PM2.5 design values as contemplated by EPA and the
         Texas Commission on Environmental Quality (TCEQ).40 The EPA lists the Isla Blanca

                35
                   Additionally, Sierra Club (or any other party) could have commented on this
         data when it was submitted by Texas LNG; the fact that Sierra Club only now calls this
         data into question on rehearing does not mean that it lacked the ability to comment on it
         before.
                36
                     Rehearing Request at 11.
                37
                     Id. at 10.
                38
                     Id. at 11 (quoting 40 § C.F.R. 1502.23 (2023)).
                39
                     Id.
                40
                  See 40 C.F.R. Pt. 50, App. N, §§ 4.1-4.2 (stating that three years of valid data
         are required to produce a valid annual or 24-hour design value); EPA, Guidance for
         Ozone and Fine Particulate Matter Permit Modeling at 50 (Jul. 29, 2022),



                                                                                          JA143
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         monitor as having a beginning or start date for valid design values of October 7, 2019,41
         which have three years of data at the time the analysis was completed.42 Therefore, we
         conclude that the use of the AQS monitor 48-061-0006 in Brownsville (Brownsville
         Monitor) for calculating PM2.5 concentrations was appropriate. In addition, because the
         Brownsville Monitor is closer in proximity to environmental justice communities than the
         Isla Blanca monitor, we find that use of the Brownsville Monitor was adequately
         representative to identify impacts to potentially affected population centers.43

                        3.      Ozone

                Sierra Club argues that the Commission erred by relying on findings in the Final
         EIS that Texas LNG would contribute less than 10% of the annual NOx emissions
         estimated for the Rio Grande LNG Terminal to conclude that if Rio Grande LNG’s ozone
         impacts are increased by 10%, there will be no exceedance of the NAAQS for ozone.44
         Sierra Club asserts that the Commission did not justify this methodology for calculating
         ozone impacts, particularly because Texas LNG provided an estimate of its ozone
         contribution.45 Sierra Club also argues that it is unclear whether the Commission’s

        https://www.epa.gov/system/files/documents/2022-
        07/Guidance for O3 PM2.5 Permit Modeling.pdf (“The PM2.5 design value for the
        annual averaging period is based on the 3-year average of the annual average PM2.5
        concentrations, while the PM2.5 design value for the 24-hour averaging period is based
        on the 3-year average of the annual 98th percentile 24-hour average PM2.5
        concentrations.”); TCEQ, Air Quality Modeling Guidelines at 46 (Nov. 2019),
        https://www.tceq.texas.gov/assets/public/permitting/air/Modeling/guidance/airquality-
        mod-guidelines6232.pdf (stating that PM2.5 modeling should use the most recent three-
        year average of 98th percentile data for a monitoring site).
               41
                EPA, Air Quality Design Values, https://www.epa.gov/sites/default/files/2021-
         05/pm25_designvalues_2018_2020_final_05_24_21.xlsx.
               42
                  See EPA, Interactive Map of Air Quality Monitors,
        https://www.epa.gov/outdoor-air-quality-data/interactive-map-air-quality-monitors (last
        updated Aug. 22, 2023) (enabling public to view the location of the Brownsville Monitor
        and Isla Blanca monitor by searching on an interactive map); Texas LNG February 22,
        2023 Response to Environmental Information Request (showing the environmental
        justice census blocks within 50 kilometers of the terminal).
               43
                    See id.
               44
                    Rehearing Request at 11.
               45
                    Id. at 11-12.




                                                                                       JA144
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         cumulative impacts analysis repeats a purported flaw from the analysis in the Final EIS
         by improperly excluding mobile emission sources from Rio Grande LNG’s ozone
         analysis.46

                 Sierra Club’s assertion that the ozone analysis in the Rio Grande Final EIS was
         flawed is contrary to the D.C. Circuit’s judgment accompanying its Vecinos opinion in
         which the court explicitly held that “[the Commission] was aware of and adequately
         considered the cumulative ozone effects when it decided to approve the three terminal
         projects” and that “NEPA demands no more.”47 Moreover, Texas LNG explained in its
         May 2 data response that it estimated ozone concentrations following EPA’s Modeled
         Emission Rates for Precursors analysis guidance, which has been adopted by the Texas
         Commission on Environmental Quality.48 The analysis submitted by Texas LNG states
         that there would not be a significant cumulative impact with respect to 8-hour ozone
         during operation of the facility.49 Based upon staff’s review, the Commission has no
         reason to doubt the asserted bases or the accuracy of the calculations provided by Texas
         LNG and their calculations fall below the NAAQS threshold for ozone. In light of the
         court’s prior approval of the Commission’s ozone analysis, we decline to revisit this
         issue.

                         4.      Reliance on Significant Impact Level modeling

               Sierra Club states that if the Commission is relying on Significant Impact Level
              50
         (SIL) modeling to identify the area of impact or the significance of Texas LNG’s air

               46
                    Id. at 12.
               47
                  Vecinos para el Bienestar de la Comunidad Costera v. FERC, 2021 WL
         3716769, at *1 (D.C. Cir. Aug. 3, 2021) (unpublished). The court recognized that if the
         Commission’s treatment of cumulative ozone impacts was sufficient in the Rio Grande
         terminal rehearing order, then they have no remaining claim that the agency’s treatment
         was inadequate for the Texas LNG terminal. Id. at *4 n.5.
               48
                  Texas LNG May 2, 2022 Response to Commission staff Feb. 3, 2022 Data
         Request at 6-8.
               49
                    See Remand Order, 183 FERC ¶ 61,047 at 74.
               50
                  The NAAQS SILs are defined by EPA under its statutory authority. The EPA
         has historically interpreted Clean Air Act section 165(a)(3) and associated regulations to
         mean that a source must have a “significant impact” on ambient air quality in order to
         cause or contribute to a violation of the NAAQs. See 42 U.S.C. § 7475(a)(3). Under this
         authority, EPA has established its SILs through its regulations and various non-binding
         guidance documents. EPA has issued various non-binding guidance documents. See 40
         C.F.R. § 51.165(b)(2) (stating that “[a] major source or major modification will be



                                                                                        JA145
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        emissions, then this is a misuse of that modeling.51 Sierra Club also states that “[i]nsofar
        as FERC relied on the claim that project contributions to pollution would be below
        significant impact levels, it is unclear whether FERC included all foreseeable sources of
        pollution attributable to the projects, rather than merely considering pollution from
        stationary sources regulated by the Clean Air Act.”52

                As an initial matter, the referenced conclusion regarding SILs was in regard to
         pollution from stationary sources regulated under the Clean Air Act. We also clarify that
         although the Remand Order noted the SIL-based radius of impact was 24 kilometers, that
         observation was only to give context for Commission staff’s determination that a more
         conservative radius of 50 kilometers around the approved Texas LNG Project site would
         be the appropriate unit of geographic analysis for assessing project impacts on
         environmental justice communities.53 Commission staff requested and Texas LNG
         provided a cumulative air model extending to a radius of 50 kilometers.54 The model
         provided by Texas LNG included direct emissions from the Texas LNG Project, mobile
         ship emissions (LNG carrier, tugs, escort vessels), relevant regional monitoring ambient
         background data, and existing and proposed regional industrial major sources within 50
         kilometers of the project’s fence line boundary and “provided the worst-case



         considered to cause or contribute to a violation of a national ambient air quality standard
         when such source or modification would, at a minimum, exceed the following
         significance levels at any locality that does not or would not meet the applicable national
         standard” and providing the “significance levels” for NO2 (annual amount), SO2 (3-hour
         averaging time, 24-hour averaging time & annual amount), PM2.5 (24-hour averaging
         time & annual amount), PM10 (24-hour averaging time & annual amount), CO (1-hour
         averaging time & 8-hour averaging time)); EPA, Guidance on Significant Impact Levels
         for Ozone and Fine Particles in the Prevention of Significant Deterioration Permitting
         Program, (April 17, 2018), https://www.epa.gov/sites/default/files/2018-
         04/documents/sils_policy_guidance_document_final_signed_4-17-18.pdf. SILs are
         stated as emissions concentrations. Exceeding a SIL triggers additional analyses to
         include ambient conditions. SILs are set conservatively to ensure protection of air
         quality. We clarify that the Commission’s conclusions regarding air quality are based on
         the SILs contained in 40 C.F.R. § 51.165(b)(2).
                51
                     Rehearing Request at 12-13.
                52
                     Id. at 3.
                53
                     Remand Order, 183 FERC ¶ 61,047 at P 33.
                54
                     Id. PP 73-77.




                                                                                         JA146
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        concentration scenarios that were then compared to the NAAQS.”55 The Commission’s
        reference to criteria pollutants dropping below the SIL at 24 kilometers merely shows
        that the distance at which the project’s impacts on air quality are not expected to have a
        major impact on air quality falls within the broader 50-kilometer radius.

                            5.      Impacts Below the NAAQS

                Sierra Club argues that the Commission cannot assume that if air pollution will not
        violate the NAAQS, then health impacts related to air pollution will be insignificant.56
        Sierra Club states that EPA has recognized that concentrations of PM2.5, ozone, NO2,
        and CO below the NAAQS can result in adverse health impacts.57 Sierra Club also notes
        that the EPA has explained in a guidance document that potential impacts below
        significance in the NEPA context can be “particularly disproportionate or particularly
        severe on minority and/or low-income communities.”58 Sierra Club states that the
        Commission is obligated to determine whether factors specific to the identified
        environmental justice communities, like lack of access to healthcare, might increase the
        significance of the cumulative impact of emissions from multiple facilities on these
        communities, regardless of whether ambient air quality remains below the NAAQS.59

                The D.C. Circuit has affirmed the Commission’s use of NAAQS as a comparative
         metric in its NEPA analyses. In Sabal Trail, the court stated that “[the Commission]
         appropriately relied on EPA’s [NAAQS] as a standard of comparison for air-quality
         impacts,” and “[b]y presenting the project’s expected emissions levels and the NAAQS
         standards side-by-side, the EIS enabled decisionmakers and the public to meaningfully
         evaluate the project’s air-pollution effects by reference to a generally accepted
         standard.”60 The D.C. Circuit also made clear in Sabal Trail that the Commission’s
         decision to use the NAAQS as a comparative metric is entitled to deference.61 Sierra

                   55
                        Id. PP 73, 76.
                   56
                        Rehearing Request at 14-18.
                   57
                        Id. at 15-17.
                   58
                        Id. at 17 (citing EPA Guidance at 3.2.2).
                   59
                        Id. at 17-18.
                   60
                        See Sierra Club v. FERC, 867 F.3d 1357, 1370 n.7 (D.C. Cir. 2017) (Sabal
         Trail).
                   61
                 See id. (citing Cmtys. Against Runway Expansion, Inc. v. FAA, 355 F.3d 678,
         689 (D.C. Cir. 2004) (stating that an agency’s “choice among reasonable analytical
         methodologies is entitled to deference”); see also Commonwealth LNG, LLC, 183 FERC



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        Club neither explains why the holding in Sabal Trail would not apply in this case, nor
        cites any authority for its assertion that NEPA’s requirements cannot be satisfied by
        considering whether the projected criteria pollutant emissions are in compliance with the
        NAAQS. Thus, we continue to find that operation of the project, when combined with
        the other projects within the cumulative geographic scope for air quality, would not cause
        or contribute to a potential exceedance of the NAAQS on a regional or localized basis
        and as a result, environmental justice communities would not experience significant air
        quality impacts from criteria pollutants covered under the NAAQS during operation of
        the Texas LNG Project.62

                           6.   Which Communities May be Impacted by Air Emissions

                 Sierra Club argues that the Commission fails to identify which environmental
         justice communities will experience emission impacts as a result of the project.63 Sierra
         Club asserts that it is not sufficient to only identify the environmental justice
         communities within the project’s zone of impact, but that the Commission must also
         identify which of those environmental justice communities will be most affected due to
         an increase in concentrations of air emissions.64

                As a threshold matter, we note that the Commission, both in the original
         authorization65 and on remand,66 found the project’s air quality impacts from criteria
         pollutants covered under the NAAQS to be less than significant.67 We disagree that the

         ¶ 61,173, at P 48 (2023) (“The Commission’s comparison to the NAAQS, a generally-
         accepted standard established by EPA, for its analysis is entitled to deference.”).
                62
                     Remand Order, 183 FERC ¶ 61,047 at P 75.
                63
                     Rehearing Request at 18-19.
                64
                     Id.
                65
                   See Authorization Order, 169 FERC ¶ 61,130 at P 63; see also Final EIS at 5-
         369 (“Through use of mitigation measures during construction activities and application
         of best available control technologies during operation, we conclude that there would be
         no regionally significant impacts on air quality.”).
                66
                   See Remand Order, 183 FERC ¶ 61,047 at P 83 (stating that, with the exception
         of potentially significant visual impacts and cumulative visual impacts, “all other project-
         related impacts would be less than significant”).
                67
                  See id. P 75 (“The operation of the projects when combined with the other
         projects within the cumulative geographic scope for air quality would not cause or
         contribute to a potential exceedance of the NAAQS on a regional or localized basis.



                                                                                          JA148
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        Commission failed to identify which communities may experience air quality impacts as
        a result of the project.68 As explained in the Remand Order, the Commission used a
        conservative 50-kilometer radius (approximately a 31-mile radius) around the Texas
        LNG Project to identify the environmental justice communities that could potentially be
        subject to air quality impacts from the project.69 The Commission went on to recognize
        that because emissions from construction activities, like those associated with the Texas
        LNG Project, are variable and have a greater impact near the source, construction
        emissions would be highly localized and have the largest impact within a short radius
        around the construction footprint but would disperse at further distances.70 The
        Commission also recognized that construction emissions should not adversely affect any
        residences, the nearest of which are approximately 1.6 miles away, due to the degree of
        dispersion that would occur prior to any construction emissions reaching that distance.71
        The Commission specifically identified the Laguna Atascosa National Wildlife Refuge as
        the location within the 50-kilmoeter radius that may experience elevated construction
        impacts.72 Accordingly, we find that the Commission sufficiently identified the specific
        environmental justice areas within the geographic area of review that may experience
        elevated air quality impacts due to the Texas LNG Project and, therefore, reject Sierra
        Club’s argument that anything more was required.73




        Based on the foregoing analysis, we conclude environmental justice communities would
        not experience significant air quality impacts during operation of the Texas LNG
        Project.”).
                68
                     See id. P 33, app. B.
                69
                     Id. P 33.
                70
                     Id. P 67.
                71
                 Id. Air emissions typically disperse over distance due to operational factors, and
        weather factors such as wind direction, temperature, and pressure.
                72
                     Id.
                73
                  We observe that other than a generalized reference to a sentence in a CEQ
         guidance document (with which the Commission complied, as evidenced by the
         discussion in this section), see Rehearing Request at 19 n.53, Sierra Club cites no judicial
         or Commission precedent for this heightened obligation it purports to impose on the
         Commission.




                                                                                          JA149
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                          7.      Mitigation and Monitoring Plan

                In the Remand Order, the Commission added a new Environmental Condition 130,
         which requires Texas LNG, prior to commissioning the project, to file with the
         Commission a Project Ambient Air Quality Mitigation and Monitoring Plan for
         particulate matter (PM2.5 and PM10) and nitrogen dioxide (NO2) for periods when
         construction, commissioning and start-up, and operation of the project occur
         simultaneously.74 Sierra Club argues that the environmental condition is insufficient
         because it orders Texas LNG to produce a mitigation and monitoring plan in the future,
         and thus the effectiveness of such a plan could not be evaluated prior to the Commission
         issuing the Remand Order.75 Sierra Club contends that this alleged ambiguity precluded
         the Commission from relying on the environmental condition to determine that air quality
         impacts would not be significant during periods of concurrent construction and operation
         of the project, whether the project is considered its own or cumulatively with the Rio
         Grande LNG Project.76 Sierra Club also asserts that the Commission must afford the
         public and the EPA an opportunity to comment on the plan.77

                 Sierra Club’s argument fails because it rests on the erroneous premise that the
         Commission is required to have a final mitigation plan in place before it is able to act.
         However, the courts have made clear that NEPA does not require the formulation of a
         specific mitigation plan, only that mitigation is discussed in “sufficient detail to ensure
         that environmental consequences have been fairly evaluated.”78 “NEPA not only does
         not require agencies to discuss any particular mitigation plans that they might put in
         place, it does not require agencies—or third parties—to effect any.”79 We disagree with

                74
                     Remand Order, 183 FERC ¶ 61,047 at app. A.
                75
                     Rehearing Request at 20-21.
                76
                     Id. at 19-21.
                77
                     Id. at 22.
                78
                  Sierra Club v. FERC, 38 F.4th 220, 233 (D.C. Cir. 2022) (quoting Robertson v.
         Methow Valley Citizens Council, 490 U.S. 332, 352 (1989)); see also Mayo v. Reynolds,
         875 F.3d 11, 15-16 (D.C. Cir. 2017) (recognizing that the role of NEPA analysis is
         primarily information-forcing, imposes only procedural requirements, and does not
         impose a duty on agencies to include “a detailed explanation of the specific measures
         which will be employed to mitigate the adverse impacts of a proposed action”) (quoting
         Methow Valley, 490 U.S. at 353).
                79
                  Citizens Against Burlington, Inc. v. Busey, 938 F.2d 190, 206 (D.C. Cir. 1991)
         (citing Methow Valley, 490 U.S. at 353 & n.16).




                                                                                          JA150
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        Sierra Club’s unsupported assertion that the Commission must afford the public and the
        EPA an opportunity to comment on the plan.80 The Commission, like other agencies, is
        generally master of its own calendar and procedures.”81

                We also note that, notwithstanding the fact that the findings on which the
         Commission based its decision to impose Environmental Condition 130 were made
         public years ago in the Final EIS and Authorization Order, Sierra Club never argued that
         a mitigation and monitoring plan was necessary to reduce air impacts during periods of
         overlapping construction and operational activities.82


                80
                     Rehearing Request at 22.
                81
                   Stowers Oil and Gas Co., 27 FERC ¶ 61,001, at 61,001 (1984); see id. at 61,002
         n.3 (collecting precedent); see, e.g., Vt. Yankee Nuclear Power Corp. v. Nat. Res. Def.
         Council, Inc., 435 U.S. 519, 524 (1978) (“[T]his Court has for more than four decades
         emphasized that the formulation of procedures was basically to be left within the
         discretion of the agencies to which Congress had confided the responsibility for
         substantive judgments.”); Fed. Power Comm’n v. Transcon. Gas Pipe Line Corp., 423
         U.S. 326, 333 (1976) (“[A] reviewing court may not ... dictat[e] to the agency the
         methods, procedures, and time dimension of the needed inquiry ....”); Richmond Power &
         Light v. FERC, 574 F.2d 610, 624 (D.C. Cir. 1978) (“Agencies have wide leeway in
         controlling their calendars ....”) (citing City of San Antonio v. CAB, 374 F.2d 326, 329
         (D.C. Cir. 1967)); Superior Oil Co. v. FERC, 563 F.2d 191, 201 (5th Cir.
         1977) (deferring to an agency’s choice of procedures and allocation of resources because
         “[t]he Commission should ‘realistically tailor the proceedings to fit the issues before it”’)
         (quoting Mobil Oil Corp. v. Fed. Power Comm’n, 483 F.2d 1238, 1252 (D.C. Cir.
         1973) (quotation marks omitted)); Bell Tel. Co. v. FCC, 503 F.2d 1250, 1266 (3d Cir.
         1974) (“[T]he ultimate choice of procedure ... is left to the discretion of the agency
         involved, and will be reversed only for an abuse of discretion.”).
                82
                  The Commission’s conclusion that precipitated its imposition of Environmental
        Condition 130—that Commission staff could not exclude the possibility of short-term
        ambient emission concentrations of PM2.5, PM10, and NO2 at levels above the NAAQS
        during periods of overlapping construction and operational emissions —is not new as of
        the Remand Order. To the contrary, Commission staff recognized in the Final EIS that
        “concurrent emissions from staged construction, commissioning and start-up, and
        operations of the LNG Terminal would temporarily impact local air quality and could
        result in exceedances of the NAAQS in the immediate vicinity of the LNG Terminal
        during these construction years,” Final EIS at 5-368. Commission staff nonetheless
        concluded that through use of mitigation measures during construction activities and
        application of best available control technologies, there would be no regionally
        significant impacts on air quality. Id. at 5-369. The Commission adopted these



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                      8.     Supplemental EIS

               Sierra Club advances several arguments in support of its contention that the
         Commission was required on remand to prepare a supplemental NEPA document for its
         updated environmental justice analysis, all of which are unavailing.

                In Marsh v. Oregon Natural Resources Council, the Supreme Court explained that
         an agency’s decision to prepare a supplemental EIS is governed by a “rule of reason” and
         that an agency need not supplement an EIS every time new information comes to light
         after an EIS is finalized, for to do so “would render agency decisionmaking intractable,
         always awaiting updated information only to find the new information outdated by the
         time a decision is made.”83 The D.C. Circuit has similarly made clear that a supplemental
         EIS “must only be prepared where new information provides a seriously different picture
         of the environmental landscape.”84 An agency’s determination of whether a
         supplemental EIS is needed “implicates substantial agency expertise” and is thus
         governed by the arbitrary and capricious standard and is entitled to deference.85

                Here, the Commission was not required to prepare a supplemental EIS because the
         issues addressed on remand did not result in any new significance determinations.
         Commission staff concluded that there would be no significant impact on air quality from
         the project based on the expanded environmental justice analysis Commission staff



         conclusions in the Authorization Order, finding that intermittent exceedances of the
         NAAQS during overlapping periods of construction and commissioning and/or
         operational activities, if any (the Commission has not affirmatively concluded that there
         would be such exceedances), would not be persistent and, accordingly, would not result
         in regionally significant impacts. See Authorization Order, 169 FERC ¶ 61,130 at PP 61,
         63.
               83
                  490 U.S. at 373-74; see also Mayo v. Reynolds, 875 F.3d at 16. As we explain
         above, the standard for the preparation of a supplemental EIS is set forth in CEQ’s
         regulations. See 40 C.F.R. § 1502.9(d).
               84
                 Stand Up for Cal.! v. Dep’t of the Interior, 994 F.3d 616, 629 (D.C. Cir. 2021)
         (emphasis in original) (quoting Friends of Capital Crescent Trail v. FTA, 877 F.3d 1051,
         1060 (D.C. Cir. 2017) (internal quotation marks omitted)).
               85
                   Marsh, 490 U.S. at 375-76; see also Friends of Capital Crescent Trail, 877 F.3d
         at 1059 (“If an agency’s decision not to prepare a [supplemental EIS] turns on a factual
         dispute the resolution of which implicated substantial agency expertise, the court defers
         to the agency’s judgment.”) (quoting Marsh, 490 U.S. at 376).




                                                                                       JA152
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        conducted on remand.86 Moreover, the Commission’s decision to not prepare a
        supplemental NEPA document did not preclude Sierra Club from commenting on the
        information in question.87 As a party to the docket, Sierra Club was on notice of the
        information when it was filed and could have provided comment on it at any time.88
        Indeed, Sierra Club has previously submitted comments in this docket when comment
        was not expressly sought.89 For the reasons stated above, a supplemental EIS was not
        required.

                Sierra Club next argues that the Commission’s finding in the Remand Order that
         certain impacts from construction and operation of the project would be
         disproportionately high and adverse because they would be predominantly borne by
         environmental justice communities90 necessitates preparation of a supplemental EIS
         because, in the Final EIS, Commission staff concluded that there was no evidence
         environmental justice communities would be disproportionately affected by the project.91

               86
                  See Remand Order, 183 FERC ¶ 61,047 at PP 76, 82; see also Laguna
         Greenbelt, Inc. v. Dep’t of Transp., 42 F.3d 517, 529 (9th Cir. 1994) (upholding agency’s
         decision not to prepare a supplemental EIS where the agency concluded that new
         information did not result in any new significant impacts).
               87
                  Sierra Club asserts that NEPA required the Commission to solicit public
        comment on information provided in response to an environmental information request
        issued on January 6, 2023. See Rehearing Request at 23 (citing Environmental
        Information Request for Texas LNG Project, Docket No. CP16-116-000 (issued Jan. 6,
        2023) (January 6 EIR)). As discussed above, Sierra Club has not shown that it lacked
        notice of any information in the record or an opportunity to submit comments.
               88
                  See Texas LNG Brownsville LLC; Notice of Application, 81 Fed. Reg. 23,291,
         23,292 (Apr. 20, 2016) (Notice of Application) (“A person obtaining party status will be
         placed on the service list maintained by the Secretary of the Commission and will receive
         copies of all documents filed by the applicant and by all other parties.”).
               89
                  See Sierra Club October 19, 2022 Comments; Sierra Club March 31, 2021
         Comments. As the D.C. Circuit has explained, “a commenter before the Commission
         who has ample time to comment on evidence before the deadline for rehearing is not
         deprived of a meaningful opportunity to challenge the evidence.” Myersville Citizens for
         a Rural Cmty., Inc. v. FERC, 783 F.3d 1301, 1327 (D.C. Cir. 2015) (citing Minisink
         Residents for Env’t Preservation & Safety v. FERC, 762 F.3d 97, at 115 (D.C. Cir.
         2014)).
               90
                    Remand Order, 183 FERC ¶ 61,047 at P 82.
               91
                    Rehearing Request at 23-24 (citing Final EIS at 4-157).




                                                                                       JA153
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        This argument fails because it distorts the standard for when a supplemental EIS is
        required. As discussed above, a supplemental EIS is required only on the basis described
        in 40 C.F.R. § 1502.9(d). The fact that the Commission found that certain impacts would
        be predominately borne by environmental justice communities does not require a
        supplemental EIS.

                 Sierra Club contends that the 274 new environmental justice communities
         identified by the Commission during the remand proceeding lacked the ability to
         participate in the proceeding but would have been able to participate if the Commission
         had prepared a supplemental NEPA document.92 Not so. As stated above, any person
         may file comments on the docket, even if the person did not formally move to intervene
         in the proceeding pursuant to the Commission’s Rules of Practice and Procedure.93
         Moreover, Sierra Club does not offer any example of an individual or group that sought
         to participate in the proceeding but was unable to do so. We, therefore, reject the
         argument that a supplemental NEPA document is required to facilitate public
         participation for the reasons stated above.

                Finally, Sierra Club reiterates its request for the Commission to hold public
         meetings and provide information in Spanish,94 arguing that the Commission’s
         declination to do so in the Remand Order ran afoul of its environmental justice mandate
         under Executive Order 12,898.95 We disagree and find that the Remand Order


               92
                    Rehearing Request at 24.
               93
                    See 18 C.F.R. § 385.214 (2022); see also supra P 13.
               94
                   As we noted in the Remand Order, Texas LNG provided materials regarding the
         project in both English and Spanish and Spanish-speaking representatives were present at
         both the public scoping and comment meetings held in Port Isabel. Remand Order, 183
         FERC ¶ 61,047 at n.40. Additionally, the Commission continues to consider how we can
         provide greater accessibility to our processes for non-English speaking populations. Id.
         P 15.
               95
                  Rehearing Request at 25-28; see also Sierra Club Oct. 19, 2022 Comments at 3-
         4. Although the Commission is not one of the specified agencies in Executive Order
         12898, see Federal Actions To Address Environmental Justice in Minority Populations
         and Low-Income Populations, 59 Fed. Reg. 7629 at § 6-604 (“Independent agencies are
         requested to comply with the provisions of this order.”), the Commission nonetheless
         addresses environmental justice in its analysis, in accordance with our governing
         regulations and guidance. See 18 C.F.R. § 380.12(g) (requiring applicants for projects
         involving significant aboveground facilities to submit information about the
         socioeconomic impact area of a project for the Commission's consideration during NEPA
         review); FERC Guidance Manual for Environmental Report Preparation, at 4-76 to 4-80



                                                                                       JA154
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        sufficiently discussed both issues;96 accordingly, we summarily dismiss these
        arguments.97

                        9.     Revisiting the NGA

               Sierra Club argues that the Commission failed to consider impacts to
         environmental justice communities as part of its public interest analysis under the NGA
         when the Commission reaffirmed the authorization for the project.98

               To revisit the Commission’s environmental analysis under NEPA, as directed by
        the court in Vecinos, the Remand Order included a robust environmental justice analysis
        that builds upon Commission staff’s environmental justice analysis in the Final EIS. In
        the Remand Order, the Commission concluded that environmental justice communities
        may experience significant project-related and cumulative visual impacts, but that all
        other project-related impacts would be less than significant.99 More specifically, the
        Commission found that potentially significant visual impacts would occur when the
        project was viewed from the Laguna Atascosa National Wildlife Refuge and that the
        project would have a negligible to moderate impact on the other visual resources
        evaluated.100 The Commission recognized that Texas LNG would minimize visual
        impacts from lighting by implementing measures outlined in its Facility Lighting Plan.101
        With this additional analysis, the Commission satisfied its NEPA responsibilities. NEPA




         (Feb. 2017), https://www.ferc.gov/sites/default/files/2020-04/guidance-manual-volume-
         1.pdf.
               96
                    See Remand Order, 183 FERC ¶ 61,047 at P 15.
               97
                   See, e.g., Coal. Of MISO Transmission Customers v. FERC, 45 F.4th 1004,
         1023 (D.C. Cir. 2022) (stating that the Commission is not obligated on rehearing to
         repeat its responses to arguments that were already raised and addressed by the
         Commission in the underlying order); ISO New Eng. Inc., 179 FERC ¶ 61,186, at P 42
         (2022) (summarily dismissing arguments raised on rehearing when they were raised and
         sufficiently addressed in the underlying order).
               98
                    Rehearing Request at 28-29.
               99
                    Remand Order, 183 FERC ¶ 61,047 at PP 82-83.
               100
                     Id. P 79; see also Final EIS at ES-16.
               101
                     Remand Order, 183 FERC ¶ 61,047 at P 80; see also Final EIS at 4-112.




                                                                                        JA155
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        itself “does not mandate particular results, but simply prescribes the necessary
        process.”102

                 For a proposal under NGA section 3 like the Texas LNG Project, there is a
         presumption favoring authorization. The Authorization Order recognized that an LNG
         proposal “shall be approved unless the proposal ‘will not be consistent with the public
         interest.’”103 That an NGA section 3 proposal “shall” be authorized unless it “will not be
         consistent with the public interest,”104 “sets out a general presumption favoring such
         authorization[s].”105 Although NGA section 3(e) authorizes the Commission “to approve
         or deny an application,”106 courts have explained that to overcome the favorable
         presumption in NGA section 3(a) there must be an “affirmative showing of inconsistency
         with the public interest.”107 Moreover, NGA section 3(c) provides that the exportation of
         gas to FTA nations “shall be deemed to be consistent with the public interest.”108 In
         granting the NGA section 3 authorization, the Commission recognized that the
         Department of Energy, “pursuant to its authority under NGA section 3, has authorized
         Texas LNG to export up to 4 MTPA, or 0.56 Bcf/d, of domestically-produced natural gas
         to free trade nations from the proposed Texas LNG Brownsville LLC Liquefied Natural
         Gas Export Project, at the Port of Brownsville, Texas.”109 In the Authorization Order, the

               102
                   See Methow Valley, 490 U.S. at 350 (If the adverse environmental effects of the
         proposed action are adequately identified and evaluated, the agency is not constrained by
         NEPA from deciding that other values outweigh the environmental costs.”) (citations
         omitted).
               103
                     Authorization Order, 169 FERC ¶ 61,130 at P 14 (quoting 15 U.S.C. §
         717b(a)).
               104
                     15 U.S.C. § 717b(a).
               105
                   Ctr. for Biological Diversity v. FERC, 67 F.4th 1176, 1188 (D.C. Cir. 2023)
         (Alaska LNG); EarthReports v. FERC, 828 F.3d at 953 (quoting W. Va. Pub. Servs.
         Comm’n v. U.S. Dep’t of Energy, 681 F.2d 847, 856 (D.C. Cir. 1982)); see also Sierra
         Club v. U.S. Dep’t of Energy, 867 F.3d 189, 203 (D.C. Cir. 2017).
               106
                     15 U.S.C. § 717b(e).
               107
                   Sierra Club v. U.S. Dep’t of Energy, 867 F.3d at 203 (quoting Panhandle
         Producers & Royalty Owners Ass’n v. Econ. Regul. Admin., 822 F.2d 1105, 1111 (D.C.
         Cir. 1987)).
               108
                     15 U.S.C. § 717b(c).
               109
                     Authorization Order, 169 FERC ¶ 61,130 at P 17.




                                                                                           JA156
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        Commission determined that the requested NGA section 3 authorization was not
        inconsistent with the public interest.110 None of the information analyzed and disclosed
        in our environmental analysis on remand undermines this conclusion. In the Remand
        Order, the Commission appropriately reaffirmed its conclusion that the Texas LNG
        Project is not inconsistent with the public interest, as conditioned in the Authorization
        Order and as modified in the Remand Order.111 The Commission’s balancing under the
        public convenience and necessity standard is consistent with the purpose of the NGA112
        and is therefore afforded deference.113

                C.          GHGs

                Sierra Club argues that the Commission has the authority and obligation to
         consider GHG emissions as part of its public interest determination under the NGA,
         which, in Sierra Club’s view, requires the Commission to consider the significance and
         impact of such GHG emissions under NEPA.114 This argument is not properly before us
         on rehearing as it is outside the scope of the court’s remand. With respect to GHGs, the
         court’s remand was limited to the narrow question of “whether 40 C.F.R. § 1502.21(c)
         call[ed] for [the Commission] to apply the social cost of carbon protocol or some other

                110
                      Id. P 18.
                111
                      Id.
                112
                   See NAACP v. Fed. Power Comm’n, 425 U.S. 662, 669 (1976) (explaining that
         the Supreme Court “ha[s] consistently held that the use of the words ‘public interest’ in a
         regulatory statute is not a broad license to promote the general public welfare[,] [r]ather,
         the words take meaning from the purposes of the regulatory legislation”) (NAACP v.
         FPC); id. (explaining that the principal purpose of the NGA is to “encourage the orderly
         development of plentiful supplies of . . . natural gas at reasonable prices” and also
         observing that there are subsidiary purposes to the Act including “conservation,
         environmental, and antitrust questions”) (citation omitted).
                113
                    See Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 844
         (1984) (“a court may not substitute its own construction of a statutory provision for a
         reasonable interpretation made by the administrator of an agency.”) (Chevron); Cf.
         Myersville Citizens for a Rural Cmty., Inc. v. FERC, 783 F.3d 1301, 1308 (D.C. Cir.
         2015) (“Because the grant or denial of a Section 7 certificate of public convenience and
         necessity is a matter ‘peculiarly within the discretion of the Commission,’ Okla. Natural
         Gas Co. v. Fed. Power Comm'n, 257 F.2d 634, 639 (D.C. Cir. 1958), this court does not
         ‘substitute its judgment for that of the Commission,’ Nat’l Comm. for the New River v.
         FERC, 373 F.3d 1323, 1327 (D.C. Cir. 2004).”) (Myersville).
                114
                      Rehearing Request at 30.




                                                                                          JA157
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         analytical framework as ‘generally accepted in the scientific community’ within the
         meaning of the regulation, and if not, why not.”115 Regardless, Sierra Club’s argument
         conflates the Commission’s NGA and NEPA responsibilities, which are separate and
         distinct.116 The Commission’s balancing under the public interest standard117 is
         consistent with the purpose of the NGA118 and is therefore afforded deference.119 As the
         D.C. Circuit has explained, the NGA section 3 standard that a proposal “shall” be
         authorized unless it “will not be consistent with the public interest[,]”120 “sets out a
         general presumption favoring such authorization[s].”121 To overcome this favorable
         presumption and support denial of an NGA section 3 application, there must be an




                115
                      Vecinos, 6 F.4th at 1330.
                116
                  See Commonwealth LNG, LLC, 183 FERC ¶ 61,173, at P 37 (2023); Transcon.
         Gas Pipe Line Co., 182 FERC 61,148, at P 101 (2023).
                117
                      See Remand Order, 183 FERC ¶ 61,047 at P 85; see also Alaska LNG, 67 F.4th
         at 1188.
                118
                   See NAACP v. FPC, 425 U.S. at 669 (explaining that the Supreme Court “ha[s]
         consistently held that the use of the words ‘public interest’ in a regulatory statute is not a
         broad license to promote the general public welfare[,] [r]ather, the words take meaning
         from the purposes of the regulatory legislation”); id. (explaining that the purpose of the
         NGA is to “encourage the orderly development of plentiful supplies of … natural gas at
         reasonable prices” and also observing that there are subsidiary purposes to the Act
         including “conservation, environmental, and antitrust questions”) (citation omitted).
                119
                   See Chevron, 467 U.S. at 844 (“[A] court may not substitute its own
         construction of a statutory provision for a reasonable interpretation made by the
         administrator of an agency.”); see also Myersville, 783 F.3d at 1308 (“Because the grant
         or denial of a Section 7 certificate of public convenience and necessity is a matter
         ‘peculiarly within the discretion of the Commission,’ Okla. Natural Gas Co. v. FPC, 257
         F.2d 634, 639 (D.C. Cir. 1958), this court does not ‘substitute its judgment for that of the
         Commission,’ Nat’l Comm. for the New River v. FERC, 373 F.3d 1323, 1327 (D.C. Cir.
         2004).”).
                120
                      15 U.S.C. § 717b(a).
                121
                   Alaska LNG, 67 F.4th at 1188; EarthReports v. FERC, 828 F.3d at 953 (quoting
         W. Va. Pub. Servs. Comm’n v. U.S. Dep’t. of Energy, 681 F.2d 847, 856 (D.C. Cir.
         1982)); see also Sierra Club v. U.S. Dep’t of Energy, 867 F.3d at 203.




                                                                                            JA158
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        “affirmative showing of inconsistency with the public interest.”122 The Commission
        explained that here the presumption was not overcome.123 In conducting its public
        interest analysis under NGA section 3, the Commission is not required to characterize the
        project’s estimated GHG emissions as significant or insignificant; no court has held to the
        contrary. NEPA is not a means of “mandating that agencies achieve particular
        substantive environmental results”;124 rather, it is a procedural statute that “prescribes the
        necessary process.”125

                Sierra Club next argues that the Commission erred by declining to use the social
         cost of carbon tool to determine whether the project’s estimated GHG emissions are
         significant for the purpose of NEPA.126 Sierra Club also asserts that the Commission
         could use the Interim GHG Policy Statement to make a significance determination.127
         The Interim GHG Policy Statement argument is outside the scope of the court’s remand
         and the Interim GHG Policy Statement was converted to a draft by the Commission.


               122
                  Sierra Club v. U.S. Dep’t of Energy, 867 F.3d at 203 (quoting Panhandle
         Producers & Royalty Owners Ass’n v. Econ. Regul. Admin., 822 F.2d at 1111).
               123
                    Alaska LNG, 67 F.4th at 1188 (“The NGA ‘sets out a general presumption
         favoring ... authorization.’ W. Va. Pub. Servs. Comm’n, 681 F.2d 847 at 856. FERC’s
         approval of the Project easily comports with the NGA. The Commission expressly
         concluded the Project was in the public interest because it would have substantial
         economic and commercial benefits, and these benefits were not outweighed by the
         projected environmental impacts.”).
               124
                 Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 371 (1989); accord Robertson v.
         Methow Valley Citizens Council, 490 U.S. 332, 350 (1989).
               125
                   Oglala Sioux Tribe v. U.S. Nuclear Regulatory Comm’n, 45 F.4th 291, 299
         (D.C. Cir. 2022); see also Methow Valley, 490 U.S. at 351 (1989) (explaining that “it
         would not have violated NEPA if the Forest Service, after complying with [NEPA’s]
         procedural prerequisites, had decided that the benefits to be derived from downhill skiing
         at Sandy Butte justified the issuance of a special use permit, notwithstanding the loss of
         15%, 50%, or even 100% of the mule deer herd” and also explaining that “[o]ther statutes
         may impose substantive environmental obligations on federal agencies, but NEPA merely
         prohibits uninformed—rather than unwise—agency action”).
               126
                     Rehearing Request at 30-33.
               127
                   Id. at 33-34 (citing Consideration of Greenhouse Gas Emissions in Nat. Gas
         Infrastructure Project Revs., 178 FERC ¶ 61,108 (2022) (Interim GHG Policy
         Statement)).




                                                                                          JA159
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                Moreover, Sierra Club argues that the Commission should follow CEQ’s 2016
         guidance,128 questions the Commission’s conclusion that the social cost of GHGs is not
         appropriate for project-level review,129 and asserts that because FERC estimated the
         social cost of greenhouse gases directly emitted at over $2 billion, these emissions are not
         something that can be shrugged off and must be weighed in the public interest calculus.130

               First, we note that CEQ’s 2016 guidance does not impose legal requirements on
        the Commission. Second, we disagree with Sierra Club’s suggestion that the social cost
        of GHGs is appropriate for project level review. Third, we deny Sierra Club’s claim that
        we must use SCC or some other method for measuring GHG impacts as part of our NGA
        merits review. Since we have already found that SCC has no utility in the NEPA
        determination of significance—and there is no other scientifically valid method enabling
        us to do so—we disagree with Sierra Club’s claim that we are obligated to use SCC in
        the NGA review.

                 For informational purposes, Commission staff estimated the social cost of GHGs
         associated with reasonably foreseeable emissions from the project.131 While we have
         recognized in some past orders that social cost of GHGs may have utility in certain
         contexts such as rulemakings,132 we have also found that calculating the social cost of
         GHGs does not enable the Commission to determine credibly whether the reasonably
         foreseeable GHG emissions associated with a project are significant or not significant in
         terms of their impact on global climate change.133 Currently, however, there are no
         criteria to identify what monetized values are significant for NEPA purposes, and we are

                128
                      Id. at 32.
                129
                      Id. at 32-33.
                130
                    Id. at 32. Sierra Club incorrectly states this estimate of monetized costs are
         attributable to the Rio Grande LNG and Rio Bravo projects. We suspect, however, that
         Sierra Club meant to refer to the Texas LNG Project. See Remand Order 183 FERC ¶
         61,047 at P 24 (stating that emissions from construction and operation of the Texas LNG
         Project are calculated to result in a social cost of GHGs totaling over $2 billion).
                131
                      See Remand Order, 183 FERC ¶ 61,047 at P 24.
                132
                      Fla. Se. Connection, LLC, 164 FERC ¶ 61,099, at PP 35-37 (2018).
                133
                    See Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043, at P 296, (2017), aff’d
         sub nom., Appalachian Voices v. FERC, 2019 WL 847199 (D.C. Cir. 2019); Del.
         Riverkeeper v. FERC, 45 F.4th 104, 111 (D.C. Cir. 2022). The social cost of GHGs tool
         merely converts GHG emissions estimates into a range of dollar-denominated figures; it
         does not, in itself, provide a mechanism or standard for judging “significance.”




                                                                                         JA160
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        currently unable to identify any such appropriate criteria.134 Nor are we aware of any
        other currently scientifically accepted method that would enable the Commission to
        determine the significance of reasonably foreseeable GHG emissions. 135 The D.C.
        Circuit has repeatedly upheld the Commission’s decisions not to use the social cost of
        carbon, including to assess significance.136 In fact, the D.C. Circuit recently affirmed the
        Commission’s decision to not analyze the Social Cost of Carbon in its NEPA analysis,137
        rejected the suggestion that it was required to do so, found that the petitioner’s arguments
        “fare no better when framed as NGA challenges,” and then, in the very same paragraph,
        sustained the Commission’s public interest determination as “reasonable and lawful.”138



               134
                  Tenn. Gas Pipeline Co., L.L.C., 181 FERC ¶ 61,051 at P 37; see also Mountain
        Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, order on reh’g, 163 FERC ¶ 61,197,
        at PP 275-297 (2018), aff’d, Appalachian Voices v. FERC, 2019 WL 847199, at 2 (“[The
        Commission] gave several reasons why it believed petitioners’ preferred metric, the
        Social Cost of Carbon tool, is not an appropriate measure of project-level climate change
        impacts and their significance under NEPA or the Natural Gas Act. That is all that is
        required for NEPA purposes.”); EarthReports, 828 F.3d at 949, 956 (D.C. Cir. 2016)
        (accepting the Commission’s explanation why the social cost of carbon tool would not be
        appropriate or informative for project-specific review, including because “there are no
        established criteria identifying the monetized values that are to be considered significant
        for NEPA purposes”); Tenn. Gas Pipeline Co., L.L.C., 180 FERC ¶ 61,205, at P 75
        (2022); see, e.g., LA Storage, LLC, 182 FERC ¶ 61,026, at P 14 (2023); Columbia Gulf
        Transmission, LLC, 180 FERC ¶ 61,206 at P 91.
               135
                  See, e.g., LA Storage, LLC, 182 FERC ¶ 61,026, at P 14 (2023) (“there are
        currently no criteria to identify what monetized values are significant for NEPA
        purposes, and we are currently unable to identify any such appropriate criteria”).
               136
                   See, e.g., EarthReports v. FERC, 848 F.3d 949, 956 (D.C. Cir. 2016)
        (upholding the Commission’s decision not to use the social cost of carbon tool due to a
        lack of standardized criteria or methodologies, among other things); Del. Riverkeeper v.
        FERC, 45 F.4th 104 (D.C. Cir. 2022) (also upholding the Commission’s decision not to
        use the social cost of carbon); Appalachian Voices v. FERC, 2019 WL 847199 (same).
               137
                    Alaska LNG, 67 F.4th at 1184 (“Rather than use the social cost of carbon, the
         Commission compared the Project’s direct emissions with existing Alaskan and
         nationwide emissions. It declined to apply the social cost of carbon for the same reasons
         it had given in a previous order. . . FERC’s approach was reasonable and mirrors analysis
         we have previously upheld.”).
               138
                     Id.




                                                                                         JA161
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                 To the extent there are statements in the environmental documents and Remand
         Order that the project’s contributions to GHG emissions globally contribute
         incrementally to future climate change impacts,139 we clarify that this is assuming that the
         transported gas is not displacing equal- or higher-emitting sources. As there currently are
         no accepted tools or methods for the Commission to use to determine significance, the
         Commission did not characterize these emissions as significant or insignificant,140 nor do
         we do so on rehearing. Accordingly, we have taken the required “hard look” and have
         satisfied our obligations under NEPA.

                Further, Sierra Club states that “FERC failed to address whether 40 C.F.R. §
         1502.21 (formerly § 1502.22) required FERC to use methods generally accepted in the
         scientific community, including the social cost of carbon, to evaluate greenhouse gas
         emissions.”141 That is incorrect. The Commission directly addressed this argument.142
         Specifically, we explained that “although we are including the social cost of GHG figures
         for informational purposes, we find that because the social cost of GHGs tool was not
         developed for project level review and . . . does not enable the Commission to credibly
         determine whether the GHG emissions are significant, section 1502.21 of the CEQ
         regulations does not require its use in this proceeding.”143

                Finally, Sierra Club argues that the Commission cannot satisfy its obligations
         under NEPA and the NGA by comparing direct project emissions to the United States’ or
         Texas’ inventories.144 We disagree. This contention is also outside the scope of the
         issues considered on remand and is not properly before us on rehearing. Regardless, it is

                139
                   See, e.g., Remand Order, 183 FERC ¶ 61,047 at P 25; Final EIS at 4-344
         (“Construction and operation of the Project would increase the atmospheric concentration
         of GHGs in combination with past and future emissions from all other sources and
         contribute incrementally to future climate change impacts.”).
                140
                      See id.
                141
                      Rehearing Request at 6.
                142
                    Remand Order, 183 FERC ¶ 61,046 at PP 19-20. Moreover, it remains the case
         that there is a “lack of consensus about how to apply the social cost of carbon on a long
         time horizon,” “the social cost of carbon places a dollar value on carbon emissions but
         does not measure environmental impacts as such,” and there is “no established criteria for
         translating these dollar values into an assessment of environmental impacts.” Alaska
         LNG, 67 F.4th at 1184.
                143
                      Remand Order, 183 FERC ¶ 61,047 at P 20.
                144
                      Rehearing Request at 34.




                                                                                          JA162
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        also substantively erroneous as the D.C. Circuit has explicitly held that the Commission
        acts reasonably by comparing a project’s emissions with nationwide and state
        inventories.145

                D.          SpaceX

                Sierra Club raises several arguments pertaining to SpaceX’s launch operations,
         none of which are persuasive, and all of which are outside the scope of the remand.146
         Sierra Club first argues that the Commission should have supplemented its NEPA
         analysis to evaluate the potential for cascading impacts from future failed SpaceX
         launches of the Starship Super Heavy rocket, including impacts caused by particulate
         matter and vibrations.147 It next contends that the Commission should evaluate the
         cumulative impacts of SpaceX’s launches and the operation of the project on
         environmental justice communities.148 Finally, Sierra Club asserts that the Commission
         should reconsider whether it is in the public interest to site an LNG facility in proximity
         to SpaceX’s operations.149

                The Commission made clear in the Remand Order that the remand was limited to
         two issues—whether the social cost of GHG or similar protocol should be used and the
         scope of the Commission’s environmental justice analysis—and that it would not
         consider issues outside the scope of the court’s mandate.150 The arguments regarding
         SpaceX are, therefore, not properly raised in this rehearing proceeding and are rejected.

               Moreover, as acknowledged by Sierra Club in its rehearing request,151 the
         Authorization Order contains two conditions that require Texas LNG to develop and
         implement procedures to monitor and mitigate adverse impacts from SpaceX launches,

                145
                   See Alaska LNG, 67 F.4th at 1184 (“Rather than use the social cost of carbon,
         the Commission compared the Project’s direct emissions with existing Alaskan and
         nationwide emissions….[The Commission’s] approach was reasonable and mirrors
         analysis we have previously upheld.”).
                146
                      See Rehearing Request at 34-39.
                147
                      Id. at 39.
                148
                      Id.
                149
                      Id.
                150
                      Remand Order, 183 FERC ¶ 61,047 at P 16.
                151
                      See Rehearing Request at 38-39.




                                                                                          JA163
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        including a requirement to reference any Federal Aviation Administration (FAA) launch
        guidance issued to the public.152 These conditions are generally applicable and thus
        apply to the Starship Super Heavy rocket with which Sierra Club expresses concern. The
        conditions also impose ongoing compliance requirements for the duration of the
        authorization. Sierra Club asserts that these conditions are not sufficiently protective,153
        yet offers no support for this claim, nor does it explain why such generally applicable
        conditions would not adequately address adverse impacts from future Starship Super
        Heavy rocket launches. Assertions that are unsupported by evidence or explanation fall
        short of the specificity required on rehearing.154 Accordingly, we reject these arguments
        as outside the scope of the issues before us on rehearing.

                In any event, the Commission was not required to conduct supplementary NEPA
         procedures to address the SpaceX information raised by Sierra Club on rehearing. As
         stated above, an agency is not required to prepare a supplemental EIS every time new
         information comes to light, but rather only when circumstances under 40 C.F.R. §
         1502.9(d) occur. The information in question here does not meet that standard,

                152
                    See Authorization Order, 169 FERC ¶ 61,130 at app., envtl. condition 31
         (“Prior to initial site preparation, Texas LNG shall develop and implement procedures to
         monitor rocket launch activity and to position onsite construction crews and plant
         personnel in areas that are unlikely to be impacted by rocket debris of a failed launch
         during initial moments of rocket launch activity from the Brownsville SpaceX facility.
         Texas LNG’s procedures for positioning of onsite construction crews and plant personnel
         shall include reference to any guidance from the FAA to the public regarding anticipated
         SpaceX launches.”); id. app., envtl. condition 115 (“Prior to introduction of hazardous
         fluids, Texas LNG shall develop and implement procedures for plant personnel to
         monitor the rocket launches from the Brownsville SpaceX facility and take mitigative
         actions before and after a rocket launch failure to minimize the potential of a release
         reaching offsite, or resulting in cascading effects that could extend offsite or impact safe
         operations.”).
                153
                      Rehearing Request at 38-39.
                154
                    See, e.g., ZEP Grand Prairie Wind, LLC, 183 FERC ¶ 61,150, at P 10 (2023)
         (rejecting argument on rehearing for lack of specificity where the petitioner “offer[ed]
         only [a] conclusory assertion in support of its position); Turlock Irrigation Dist., 140
         FERC ¶ 61,207, at P 27 (2012) (finding an argument that was “nothing more than a bald
         assertion” as being waived for lack of specificity). Although these cases interpret the
         rehearing provision of the Federal Power Act, see 16 U.S.C. § 825l(a), the rehearing
         provisions of the NGA and FPA are “substantially identical” and “to be interpreted
         consistently with each other.” Granholm ex rel. Mich. Dept. of Nat. Res. v. FERC, 180
         F.3d 278, 280 n.2 (D.C. Cir. 1999).




                                                                                          JA164
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        particularly given that the Commission previously considered the potential for future
        SpaceX launches and included environmental conditions in the authorization that are
        specifically tailored to such launches.155 We find that there are no “significant new
        circumstances or information relevant to environmental concerns and bearing on the
        proposed action or its impacts.”156

        The Commission orders:

              In response to Sierra Club’s rehearing request, the Remand Order is hereby
        modified and the result sustained, as discussed in the body of this order.

        By the Commission. Chairman Phillips is concurring with a separate statement
                           attached.
                           Commissioner Danly is concurring in the result with a separate
                           statement to be issued at a later date.
                           Commissioner Clements is dissenting with a separate
                           statement attached.
                           Commissioner Christie is concurring with a separate statement
                           attached.

        (SEAL)



                                                       Debbie-Anne A. Reese,
                                                         Deputy Secretary.



               155
                   See Marsh, 490 U.S. at 373-74 (holding that an agency need not supplement an
        EIS every time new information comes to light because doing so “would render agency
        decisionmaking intractable, always awaiting updated information only to find the new
        information outdated by the time a decision is made”); Harrison Cnty., Miss. v. U.S.
        Army Corps of Eng’rs, 63 F.4th 458, 466 (5th Cir. 2023) (“Continued implementation of
        a preexisting policy (even under shifting conditions) and adoption or consideration of a
        new policy are birds of a different feather. Only the latter form of agency action requires
        supplementation of an existing EIS—ruling otherwise would create a freestanding
        obligation to supplement that would subject certain agencies to a never-ending game of
        environmental Whac-A-Mole. In requiring prospective environmental analysis rather
        than retrospective environmental analysis in NEPA, Congress sanctioned no such
        game.”) (emphasis in original).
               156
                     40 C.F.R. § 1502.9(d)(1)(ii).




                                                                                        JA165
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                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Texas LNG Brownsville LLC                                     Docket No. CP16-116-003

                                           (Issued October 27, 2023)

         PHILLIPS, Chairman, concurring:

                I write separately to underscore three points. First, I am pleased that we are finally
         issuing these rehearing orders. Our action today will only strengthen the legal durability
         of the authorizations we issued following the decision from the U.S. Court of Appeals for
         the D.C. Circuit in Vecinos para el Bienestar de la Comunidad Costera v. FERC.1

                 Second, I recognize that Commissioner Danly is “concurring in the result” of this
         order. In my earlier statement in Mankato Energy Center, LLC, I outlined my view on
         this issue.2 I stand by that position.

                Third, in my earlier statement in Texas LNG Brownsville LLC, I explained that the
         Commission satisfied the court’s directions in Vecinos both by conducting a full
         environmental justice examination using our current methods, which are consistent with
         EPA and CEQ guidance, and by taking an unprecedented and bipartisan step to protect
         environmental justice communities from potential concerns about the projects’ effects on
         air quality.3 I want to reaffirm that the Commission went beyond the requirements of the
         remand and that we are making progress on the critically important issue of
         environmental justice.

                For these reasons, I respectfully concur.


         ________________________
         Willie L. Phillips
         Chairman




                1
                    6 F.4th 1321 (2021).
                2
                    184 FERC ¶ 61,170 (Phillips, Comm’r, concurring) (2023).
                3
                 Texas LNG Brownsville LLC, 183 FERC ¶ 61,047 (Phillips, Comm’r,
         concurring) (2023).




                                                                                          JA166
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                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Texas LNG Brownsville LLC                                  Docket No.       CP16-116-003

                                          (Issued October 27, 2023)

         CLEMENTS, Commissioner, dissenting:

                I dissent from today’s Order1 for the same reasons I dissented from the Remand
               2
         Order. In addition, and perhaps most fundamentally, I dissent because the Order flouts
         the D.C. Circuit court’s directive in Vecinos to (1) explain whether the Council on
         Environmental Quality’s (CEQ) regulation, 40 C.F.R. § 1502.21(c), required the
         Commission to use the Social Cost of Carbon (SCC) protocol to assess greenhouse gas
         (GHG) emissions; and (2) revisit the Commission’s Natural Gas Act (NGA) public
         interest determination after addressing the deficiencies the court identified in the
         Commission’s analysis of environmental justice (EJ) and climate change impacts.3

                In particular, I agree with the rehearing petitioners4 (collectively, Sierra Club) that
         the Commission was obligated to (1) prepare a supplemental environmental impact
         statement (EIS) for Texas LNG Brownsville LLC’s (Texas LNG) proposed liquified
         natural gas terminal project (Texas LNG Project or project), and (2) provide a meaningful
         opportunity for public comment on the supplemental EIS, as well as on required
         mitigation measures. The Commission’s failure to do so has left us with a fundamentally
         flawed record that cannot support a public interest determination for the project.
         Moreover, I disagree with the Order’s conclusion that it is impossible for the Commission
         to determine the significance of the environmental impacts of the project’s GHG
         emissions.5 The Commission’s continued failure to grapple with the significance issue

                1
                    Tex. LNG Brownsville LLC, 185 FERC ¶ 61,079 (2023) (Order).
                2
                See Tex. LNG Brownsville LLC, 183 FERC ¶ 61,047 (2023) (Remand Order)
         (Clements, Comm’r, dissenting).
                3
                 See Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321,
         1329, 1331 (D.C. Cir. 2021) (Vecinos).
                4
                 On May 22, 2023, Vecinos para el Beienestar de la Comunidad Costera, Sierra
         Club, and City of Port Isabel filed a joint request for rehearing of the Remand Order
         (Rehearing Request).
                5
                    See Order, 185 FERC ¶ 61,079 at PP 42-43.




                                                                                           JA167
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        puts our orders in jeopardy upon judicial review, particularly this one. Finally, I object to
        language in the Order making it unclear—apparently deliberately—whether the
        Commission considered GHG emissions at all in its NGA public interest determinations,
        as it was legally required to do.6 For these reasons, I would have granted rehearing and
        found that the Texas LNG Project is inconsistent with the public interest.

                Following the D.C. Circuit court’s remand of the Commission’s original
         authorization orders in Vecinos, the Commission conducted new analyses of the project’s
         impacts on EJ communities, including air quality and visual impacts. Instead of issuing a
         supplemental EIS fully explaining these analyses and taking public comment on it, the
         Commission instead merely summarized the results in its Remand Order. This was an
         unlawful procedural shortcut that left the Commission with a fatally deficient
         administrative record.

                Under CEQ’s regulations implementing the National Environmental Policy Act
         (NEPA),7 which the Commission’s own NEPA regulations compel us to follow,8 a
         supplemental EIS is required when “there are significant new circumstances or
         information relevant to environmental concerns and bearing on the proposed action or its
         impacts.”9 In my dissent from the Remand Order, I explained that the Commission’s new
         analysis identifying hundreds of additional potentially affected EJ communities by itself
         constituted “significant new information” requiring a supplemental EIS.10 This new
         information painted a “seriously different picture of the environmental landscape,” which
         necessitated a supplemental EIS under relevant case law.11 Moreover, the Commission
         found that the Texas LNG Project may cause significant air quality impacts and would




               6
                   See id. P 38.
               7
                   42 U.S.C. §§ 4321-4370j (2021).
               8
                   See 18 C.F.R. § 380.1 (2022).
               9
                   40 C.F.R. § 1502.9(d)(1)(ii) (2022).
               10
                    Remand Order, 183 FERC ¶ 61,047 (Clements, Comm’r, dissenting at P 3).
               11
                 See Stand Up for Cal.! v. Dep’t of the Interior, 994 F.3d 616, 629 (D.C. Cir.
         2021) (emphasis in original) (quoting Friends of Capital Crescent Trail v. FTA, 877 F.3d
         1051, 1060 (D.C. Cir. 2017)) (internal quotation marks omitted).




                                                                                          JA168
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        cause significant visual impacts on EJ communities and their individual members.12 This
        was another, independent reason that a supplemental EIS was required.13

                 The impacts identified in the Commission’s new analyses are particularly
         important because they would fall on EJ communities, which “experience
         disproportionate and adverse human health or environmental burdens.”14 Members of
         these communities suffer from poorer health outcomes and have lower life expectancies
         than those in other communities.15 The causes of this include inequitable access to clean
         water, clean air, natural places, and resources for other basic human health and
         environmental needs.16 The cumulative effects of exposure to the disproportionate
         burdens placed on EJ communities, taken together with the adverse impacts identified in
         the Commission’s new analyses, will further disadvantage these communities. By failing
         to fully assess these impacts in a supplemental EIS reflecting input from affected EJ
         communities, the Commission contributes to a longstanding problem of “gaps in
         environmental and human health data … [that act as] a persistent and pernicious driver of
         environmental injustice.”17


               12
                  See Remand Order, 183 FERC ¶ 61,047 at PP 69 (describing potential NAAQS
        violations from simultaneous construction, commissioning, start-up, and operations), 72
        (“individuals from environmental justice communities fishing or otherwise recreating
        near the terminal may experience adverse air quality impacts”), and 79 (finding
        cumulative adverse visual impacts on individuals from EJ communities would be
        significant). In contrast, the 2019 EIS found that “there is no evidence that [EJ]
        communities would be disproportionately affected by the project or that impacts on [EJ]
        communities would appreciably exceed impacts on the general population. It is not
        anticipated that the project would cause significant adverse health or environmental harm
        to any community with a disproportionate number of minority or low-income
        populations.” EIS at 4-157. The air quality cumulative impacts section concluded that
        air pollutant emissions would have only “minor impacts on the local air quality and
        would not result in significant impacts on regional air quality,” and said nothing about
        significant adverse effects on EJ communities or their individual members. See id. at 4-
        184.
               13
                    See Remand Order, 183 FERC ¶ 61,047 (Clements, Comm’r, dissenting at P 4).
               14
                    Exec. Order No. 14096, 88 Fed. Reg. 25251, 25252 (Apr. 21, 2023).
               15
                    Id.
               16
                    Id.
               17
                    Id.




                                                                                        JA169
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               The Remand Order asserts that the Texas LNG Project would not have a
        significant impact on air quality—and that no supplemental EIS therefore is required—
        based on the unsupported assumption that the air monitoring and mitigation plan required
        by new Environmental Condition 130 would prevent the combined construction,
        commissioning, start-up, and operational emissions from causing an exceedance of the
        pertinent National Ambient Air Quality Standards (NAAQS).18 While the courts have
        generally held that mitigation measures can be used to justify a finding of no significant
        impact (FONSI), an agency “must explain exactly how the measures will mitigate the
        project’s impact.”19 Although the agency is not required to have a complete mitigation
        plan for a “mitigated FONSI,” the measures must be “developed to a reasonable
        degree.”20 Moreover, the agency must demonstrate the feasibility of the mitigation
        measures, rather than relying on cursory descriptions of them.21

                 Environmental Condition 130 falls far short of these standards. Indeed, the
         condition is nothing more than “a plan to have a plan,” as Sierra Club aptly put it.22 The
         condition does not say how many or what type of monitors Texas LNG must have, how a
         NAAQS exceedance would be calculated, what mitigation measures Texas LNG must
         implement in response to a NAAQS exceedance or how quickly it must do so, or whether
         or how Texas LNG must share the results of its monitoring and analysis with federal and
         state air quality regulators or the public.23 Worst of all, there is no explanation of

                  18
                       Remand Order, 183 FERC ¶ 61,047 at PP 70-71.
                  19
                  LaFlamme v. FERC, 852 F.2d 389, 399 (9th Cir. 1988) (emphasis added) (citing
         Steamboaters v. FERC, 759 F.2d 1382, 1394 (9th Cir. 1985); Jones v. Gordon, 792 F.2d
         821, 829 (9th Cir. 1986)).
                  20
                  National Parks & Conservation Association v. Babbitt, 241 F.3d 722, 734 (9th
         Cir. 2001) (citations omitted); see also CEQ, Final Guidance for Federal Departments
         and Agencies on the Appropriate Use of Mitigation and Monitoring and Clarifying the
         Appropriate Use of Mitigated Findings of No Significant Impact, 76 Fed. Reg. 3843-01,
         3848 (Jan. 21, 2011) (CEQ Mitigation Guidance) (mitigation measures should be “clearly
         described” and “carefully specified in terms of measurable performance standards or
         expected results”).
                  21
                       See O’Reilly v. U.S. Army Corps of Engineers, 477 F.3d 225, 234 (5th Cir.
         2007).
                  22
                       Rehearing Request at 20.
                  23
                  Environmental Condition 130 does require Rio Grande to file weekly reports
         with the Commission about exceedances. Remand Order, 183 FERC ¶ 61,047 at app. A,
         P 130(c). The Commission cannot reasonably assume that air quality regulators or
         members of the public would monitor the docket for this information without some form



                                                                                           JA170
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        whether it will even be feasible for Texas LNG to prevent a NAAQS exceedance. For
        these reasons, the Commission cannot rely on Environmental Condition 130 to support its
        FONSI and therefore must prepare a supplemental EIS fully assessing significant air
        quality and other impacts, as well as mitigation measures to prevent or minimize those
        impacts.24

                 The unfortunate fact is that the Commission cannot demonstrate that the air quality
         and visual impacts identified in the Remand Order are the only significant impacts EJ
         communities will suffer from the project. The reason is simple: the Commission did not
         effectively elicit the public comment that is foundational to a complete environmental
         review. As I explained in my dissent from the Remand Order, members of the hundreds
         of newly identified EJ communities have no way of knowing they are within the project’s
         potential impact zone, let alone knowledge of whether and how they might provide
         information to the Commission on what those specific impacts would be or how to
         mitigate them.25 The Commission’s failure to give the public opportunity to comment on
         the new analyses in the Remand Order or on the “mitigated FONSI” included in that
         order appears to contravene CEQ’s guidance.26 Although the Commission did provide an
         opportunity for comment on the project sponsor’s responses to certain of Commission
         staff’s highly technical environmental information requests, there was no opportunity to
         comment on critical air modeling information used in the Commission’s cumulative air
         impacts analysis because that information was submitted after the public comment period


         of affirmative notice from Rio Grande or the Commission.
                24
                  The cases cited in the Order at P 27 are readily distinguishable. None address
         the requirements for a mitigated FONSI. See Robertson v. Methow Valley Citizens
         Council, 490 U.S. 332, 352 (1989); Sierra Club v. FERC, 38 F.4th 220, 233 (D.C. Cir.
         2022); Mayo v. Reynolds, 875 F.3d 11, 15-16 (D.C. Cir. 2017); Citizens Against
         Burlington, Inc. v. Busey, 938 F.2d 190, 206 (D.C. Cir. 1991). And none approved a
         cursory plan to develop unspecified mitigation measures in the future.
                25
                     Remand Order, 183 FERC ¶ 61,047 (Clements, Comm’r, dissenting at P 7).
                26
                   See CEQ Mitigation Guidance, 76 Fed. Reg. 3848 (explaining CEQ’s
         regulations provide for public involvement in the development of a mitigated FONSI
         document) (citations omitted). In defending the Commission’s approach, the Order states
         that the Commission “is generally master of its own calendar and procedures.” Order,
         185 FERC ¶ 61,079 at P 27. Although that may be generally true, the Commission’s
         regulations provide that it will comply with CEQ’s NEPA regulations (18 C.F.R. §
         380.1), and CEQ interprets its regulations to require specific procedures for a mitigated
         FONSI. None of the cases that the Order cites address public involvement with respect to
         a mitigated FONSI. See Order 185 FERC ¶ 61,079 at P 27 n.81.




                                                                                         JA171
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        closed.27 The Order misses the mark in claiming that “any person may file comments on
        the docket.”28 The ability to file comments in the docket is meaningless, where, as here,
        potentially impacted communities have no actual notice of their ability to file. To assure
        meaningful public participation, the Commission should have had an affirmative outreach
        program for potentially affected communities that included notifications in both English
        and Spanish.29

                 I also dissent with respect to the Order’s claim that the Commission is incapable of
         determining the significance of GHG emissions associated with the project. The Order’s
         insistence that there are no acceptable tools for determining the significance of GHG
         emissions remains unsupported, and gains nothing through reflexive repetition in
         virtually every recent Commission order issued under sections 3 and 7 of the NGA.

                 In my recent concurrence in Transco, I explained the history of the language in
         Paragraphs 42 and 43 of the Order,30 which has come to be known as the “Driftwood
         compromise.”31 In Driftwood, the majority adopted unheralded new language declaring
         that there are no methods for assessing the significance of GHG emissions, and
         particularly criticized the SCC protocol.32 I have dissented from this language in
         Driftwood and subsequent orders for two reasons: (1) it reflects a final Commission

                27
                     See Remand Order, 183 FERC ¶ 61,047 (Clements, Comm’r, dissenting at P
         11).
                28
                     Order, 185 FERC ¶ 61,079 at P 33.
                29
                   Despite the Projects’ documented impact on majority Hispanic/Latino
         communities with limited English proficiency, the Commission declined to provide any
         materials in Spanish. See Remand Order, 183 FERC ¶ 61,046 at PP 111, 119. In
         Cameron County, 70 percent of residents speak Spanish at home and 33.5 percent of the
         Spanish speaking population speaks English less than very well. In Port Isabel, the city
         closest to the LNG terminal, a majority of residents speaks Spanish at home and 27.1
         percent speak English less than well. See Rehearing Request at 39. While Rio Grande
         did translate materials regarding the project and provided Spanish-speaking
         representatives at the public scoping and comments meeting, the Commission failed to do
         so. See Remand Order, 183 FERC ¶ 61,046 at n.195; P 85.
                30
                See Transcon. Gas Pipe Line Co., 184 FERC ¶ 61,066 (2023) (Clements,
         Comm’r, concurring at PP 2-3).
                31
                     See id. (Phillips, Chairman, and Christie, Comm’r, concurring at P 1).
                32
                  See Driftwood Pipeline LLC, 183 FERC ¶ 61,049, at PP 61, 63 (2023)
         (Driftwood).




                                                                                              JA172
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        decision that it cannot determine the significance of GHG emissions, despite the fact the
        Commission has never responded to comments in the GHG Policy Statement docket33
        addressing methods for doing so; and (2) the language departs from previous
        Commission precedent without reasoned explanation, thereby violating the
        Administrative Procedure Act.34 I dissent from the language in paragraphs 42 and 43 of
        the Order for the same reasons.

                 More fundamentally, I dissent from the Order’s discussion of GHGs because it
         fails to satisfy the court’s direction in Vecinos to explain whether 40 C.F.R. § 1502.21(c)
         calls for the Commission to use the SCC protocol or some other analytical framework to
         assess GHGs and “if not, why not.”35 Rather than providing a reasoned analysis of
         CEQ’s regulation, the Order merely repeats the Commission’s superficial arguments
         against use of the SCC protocol.36 In analyzing whether CEQ’s regulation calls for use of
         the SCC protocol, the obvious central question is what CEQ’s own position is on the
         protocol’s usefulness in NEPA analyses. The Commission needn’t look far to discover


                33
                     Docket No. PL21-3.
                34
                 See Driftwood, 183 FERC ¶ 61,049 (Clements, Comm’r, dissenting at PP 2-3);
        see also Port Arthur LNG Phase II, LLC, 184 FERC ¶ 61,184 (2023) (Clements, Comm'r,
        dissenting in part at PP 2-3); Venture Global Calcasieu Pass, LLC, 184 FERC ¶ 61,185
        (2023) (Clements, Comm'r, dissenting in part at PP 2-4); Northern Natural Gas
        Company, 184 FERC ¶ 61,186 (2023) (Clements, Comm’r, dissenting in part at PP 2-3);
        Texas Eastern Transmission, LP, 184 FERC ¶ 61,187 (2023) (Clements, Comm’r,
        dissenting in part at PP 2-4); Equitrans, L.P., 183 FERC ¶ 61,200 (2023) (Clements,
        Comm’r dissenting at PP 2-3); Commonwealth LNG, LLC, 183 FERC ¶ 61,173 (2023)
        (Clements, Comm'r, dissenting at PP 5-8); Rio Grande LNG, LLC, 183 FERC ¶ 61,046
        (2023) (Clements, Comm'r, dissenting at PP 14-15); Remand Order, 183 FERC ¶ 61,047
        (2023) (Clements, Comm’r, dissenting at PP 14-15).
                35
                  Vecinos, 6 F.4th at 1330. Given the requirement under the Administrative
         Procedure Act that agencies provide a reasoned explanation for their decisions, Envtl.
         Def. Fund v. FERC, 2 F.4th 953, 968 (D.C. Cir. 2021), I understand that is what the court
         has asked the Commission to provide on remand. The Order is long on pronouncements,
         but woefully short on reasoning.
                36
                  Order, 185 FERC ¶ 61,079 at PP 41-44. To be sure, some courts have upheld
         the Commission’s determination not to use the SCC protocol. See id. at P 42 & n.136.
         But the court in Vecinos distinguished some of those cases because they did not address
         the CEQ regulation at issue here. Vecinos, 6 F.4th at 1329. The Sierra Club makes this
         very point, but the Order omits any mention of it, disregarding both the Vecinos decision
         and an important argument raised on rehearing. See Rehearing Request at 32.




                                                                                         JA173
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        that CEQ unambiguously supports use of the SCC protocol in NEPA reviews. CEQ’s
        2016 GHG Guidance identifies the SCC protocol as a “harmonized, interagency metric
        that can give decision makers and the public useful information for their NEPA
        review.”37 CEQ’s new GHG guidance issued in 2023 similarly recommends using the
        protocol in NEPA reviews, making no distinction between project-level analyses and
        agency rulemakings.38 The Order simply misses the point in stating CEQ’s 2016
        guidance “does not impose legal requirements on the Commission.”39 The question
        posed on remand is whether CEQ’s regulation should be interpreted to call for use of the
        SCC protocol in assessing GHG emissions. Based on CEQ’s 2016 and 2023 guidance
        documents, the answer is “yes.”

                 I further object to language in paragraph 38 of the Order making unclear whether
         the Commission considered GHG emissions at all in its public interest determination.
         Sierra Club asserts that the Commission has the authority and obligation to consider
         GHG emissions as part of its public interest determination under the NGA, including
         their significance and environmental impact.40 As discussed below, the Order’s response
         to this argument is deliberately vague and nearly unintelligible. Worse, the Order fails to
         provide a reasoned explanation of whether or how it “revisit[ed] its determinations of
         public interest and convenience under Section 3 . . . of the NGA,”41 as the Vecinos court
         directed it to do. Rather than explaining whether and how the Commission factored its
         post-remand EJ and GHG analyses into its public interest determination, the Order seems
         to suggest that environmental considerations may not be part of the Commission’s
         substantive public interest determination at all. It will likely come as quite a surprise to
         the court that the Commission may be using this order on rehearing to question decades
         of court and Commission precedents finding that environmental considerations are an
         integral part of the Commission’s public interest determinations under the NGA.



                37
                   Council on Envt’l Quality, Final Guidance for Federal Departments and
         Agencies on Consideration of Greenhouse Gas Emissions and the Effects of Climate
         Change in National Environmental Policy Act Reviews at 33 n.86 (Aug. 1, 2016),
         https://ceq.doe.gov/docs/ceq-regulations-and-guidance/nepa final ghg guidance.pdf.
                38
                   See Council on Envt’l Quality, National Environmental Policy Act Guidance on
         Consideration of Greenhouse Gas Emissions and Climate Change, 88 Fed. Reg. 1196
         (Jan. 9, 2023).
                39
                     Order, 185 FERC ¶ 61,079 at P 41.
                40
                     Rehearing Request at 30.
                41
                     Vecinos, 6 F.4th at 1331.




                                                                                          JA174
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                In response to Sierra Club, the Order says the Rehearing Request “conflates the
         Commission’s NGA and NEPA responsibilities, which are separate and distinct. The
         Commission’s balancing under the public interest standard is consistent with the purpose
         of the NGA and is therefore afforded deference.”42 The Order then cites the Supreme
         Court’s decision in NAACP v. Fed. Power Comm’n,43 and includes a parenthetical
         explaining that the Court said “the purpose of the NGA is to ‘encourage the orderly
         development of plentiful supplies of . . . natural gas at reasonable prices’ and also
         observing that there are subsidiary purposes to the Act including ‘conservation,
         environmental, and antitrust questions.’” This leaves ambiguous whether the
         Commission’s public interest determination focuses exclusively on “encouraging the
         development of natural gas supplies” or also encompasses environmental considerations,
         including the impacts of GHG emissions.

                  The Commission used nearly identical language in its order in Commonwealth
         LNG,44 prompting me to dissent.45 If the Rorschach test could be translated into words, it
         might read like paragraph 38 of the Order. The Order’s language is a verbal inkblot, with
         no fixed meaning. Its ambiguity leaves each of its authors free to say—outside the pesky
         confines of the Commission’s actual order—either that the Commission does or does not
         consider GHG impacts in its public interest determinations. The Order appears to be
         deliberately propagating ambiguity in this case considering that (1) I criticized the
         vagueness of the language in my dissent in Commonwealth LNG, and (2) there is no other
         reason for the majority to include the language here because, according to the Order,
         Sierra Club’s “argument is not properly before us on rehearing as it is outside the scope
         of the court’s remand.”46

                As I explained in my dissent in Commonwealth LNG, a reviewing court cannot
         discern from the inkblot language whether the Commission finds that it must consider
         climate impacts and, if so, whether and how it weighs them in its public interest
         determinations.47 In failing to explain its reasoning, the Commission violates the most

               42
                    Order, 185 FERC ¶ 61,079 at P 38.
               43
                    425 U.S. 662, 669 (1976).
               44
                See Commonwealth LNG, LLC, 183 FERC ¶ 61,173, at P 37 (2023)
         (Commonwealth LNG).
               45
                    Id. (Clements, Comm’r, dissenting, at PP 2-4).
               46
                    Order, 185 FERC ¶ 61,079 at P 38.
               47
                    Commonwealth LNG, 183 FERC ¶ 61,173 (Clements, Comm’r, dissenting, at P
         2).




                                                                                        JA175
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        basic requirement of the Administrative Procedure Act.48 Additionally, in this case, it
        flouts the Vecinos court’s direction to revisit the Commission’s public interest
        determinations under the NGA after correcting the deficiencies in the Commission’s
        original EJ and GHG analyses.

                 To the extent the language in paragraph 38 of the Order is meant to suggest the
         Commission is not required to consider the environmental impacts of the project’s GHG
         emissions in its public interest determinations under section 3 of the NGA, it is plainly
         wrong and contravenes decades of court and Commission precedents. The courts have
         consistently found that the Natural Gas Act public interest standard encompasses
         environmental considerations. More than sixty years ago, the Supreme Court held that
         our predecessor agency, the Federal Power Commission, properly factored air pollution
         impacts into its public interest determination under section 7 of the NGA.49 Nearly fifty
         years ago, in NAACP, the Supreme Court held that environmental protection is one
         purpose of the NGA.50 Over twenty years ago, courts continued to recognize that the
         NGA public interest determination involves weighing “market support, economic,
         operational, and competitive benefits, and environmental impact[s].”51 Finally, many
         recent decisions—including the D.C. Circuit’s remand decision in this case—make clear
         that the Commission must consider the climate impacts of GHG emissions in its public
         interest determinations under the statute.52 If the Commission now intends to say that


                48
                  See, e.g., SEC v. Chenery Corp., 318 U.S. 80, 94 (1943) (“[T]he orderly
         functioning of the process of review requires that the grounds upon which the
         administrative agency acted be clearly disclosed and adequately sustained.”); Del.
         Riverkeeper Network v. FERC, 753 F.3d 1304, 1313 (D.C. Cir. 2014) (quoting Motor
         Vehicle Mfrs. Ass’n of the U.S., Inc. v State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43
         (1983)) (“[A]n agency action will be set aside as arbitrary and capricious if it is not the
         product of ‘reasoned decisionmaking.”).
                49
                  Fed. Power Comm’n v. Transcon. Gas Pipe Line Corp., 365 U.S. 1, 5 (1961).
         While the case dealt with a Section 7 question, "[t]he Commission has long regarded
         Section 3's 'public interest' standard and Section 7's 'public convenience and necessity'
         standard as substantially equivalent." Distrigas Corp. v. Fed. Power Comm’n., 495 F.2d
         1057, 1065 (D.C. Cir. 1974).
                50
                     425 U.S. at 669; Id. at 670 n.6.
                51
                   See, e.g., South Coast Air Quality Mgmt. Dist. v. FERC, 621 F.3d 1085, 1099
         (9th Cir. 2000).
                52
                    See Vecinos, 6 F.4th at 1329, 1331 (finding Commission’s analysis of climate
         change impacts deficient under both the NGA and NEPA and directing Commission to
         revisit its public interest determination after correcting deficiencies); see also Cntr. for



                                                                                            JA176
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        climate impacts (or any other environmental considerations) are no longer part of its
        public interest determination under the NGA, it must say so unambiguously and give a
        reasoned explanation for that conclusion.53

                NEPA also requires the Commission to consider climate and other environmental
         impacts in deciding whether to approve a project application. As the Supreme Court has
         explained, NEPA’s environmental impact statement requirement “ensures that the
         agency, in reaching its decision, will have available, and will carefully consider, detailed
         information concerning significant environmental impacts….”54 The Order’s statement


        Biological Diversity v. FERC, 67 F.4th 1176, 1188 (D.C. Cir. 2023) (holding that the
        Commission makes an appropriate NGA public interest determination when it finds that a
        project has “substantial economic and commercial benefits” that are “not outweighed by
        the projected environmental impacts”); Birckhead v. FERC, 925 F.3d 510, 519 (D.C. Cir.
        2019) (in addressing arguments relating to GHG emissions, the court explains that the
        Commission’s public interest determination includes environmental considerations);
        Sierra Club v. FERC, 867 F.3d 1357, 1373 (D.C. Cir. 2017) (in addressing Commission’s
        treatment of GHG emissions, the court explains that the balancing of factors in
        determining the public convenience and necessity includes environmental effects); Sierra
        Club v. FERC, 827 F.3d 36, 42 (D.C. Cir. 2016) (“As required by the Natural Gas Act
        and NEPA, the Commission undertook an extensive review of the Freeport Projects.”);
        Food & Water Watch v. FERC, 28 F.4th 277, 282 (D.C. Cir. 2022) (“The Section 7
        certificate process incorporates review of proposed projects under the National
        Environmental Policy Act (NEPA).” The court also noted that the NEPA review requires
        an analysis of downstream GHG emissions.); City of Oberlin, Ohio v. FERC, 937 F.3d
        599, 602 (D.C. Cir. 2019) (holding that “[a]s part of the Section 7 certificating process…
        the Commission must complete an environmental review of the proposed project under
        the National Environmental Policy Act.”) (emphasis added); Minisink Residents for Env't
        Pres. & Safety v. FERC, 762 F.3d 97, 106–11 (D.C. Cir. 2014) (stating that FERC is
        obligated to consider alternatives to a proposed project that might better serve the public
        interest, including on the basis of their environmental impact, when issuing a certificate
        under Section 7); Delaware Riverkeeper Network v. FERC, 45 F.4th 104, 115 (D.C. Cir.
        2022) (“[T]he Commission’s balancing of public benefits and adverse consequences [in
        issuing a certificate] reasonably accounted for potential environmental impacts.”).
                53
                   “[T]he requirement that an agency provide reasoned explanation for its action
         [under the Administrative Procedure Act] would ordinarily demand that it display
         awareness that it is changing position.” FCC v. Fox Television Stations, Inc., 556 U.S.
         502 (2009).
                54
                 Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989)
         (emphasis added).




                                                                                          JA177
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        that the Commission’s responsibilities under the NGA are “separate and distinct” from
        those under NEPA could be interpreted to suggest the statutes bear no relation to each
        other.55 To the contrary, the Commission’s obligations under the two statutes are
        inextricably linked. NEPA directs federal agencies “to the fullest extent possible” to
        interpret and administer their organic statutes in accordance with the environmental
        protection objectives set forth in NEPA.56 In requiring the Commission to consider
        environmental impacts in its substantive decision-making, NEPA gives content to the
        NGA’s broad “public interest” standard.57

                The best that can be said of the Order’s attempt to divorce NEPA compliance from
         the Commission’s substantive decision-making under the NGA is that it badly
         misconstrues both statutes. But the Order’s misguided language is even more
         indefensible here than it was in Commonwealth LNG. The Vecinos court ordered the
         Commission to “reconsider its determinations of public interest and convenience under
         … [Section 3] of the NGA, along with its NEPA analyses of the projects’ impacts on
         climate change and environmental justice communities.”58 By failing to clearly explain
         how, or even if, the Commission factored its post-remand environmental analyses into its
         NGA public interest determination, the Commission failed to respond to the court’s
         directive. Of the many serious errors in this deeply flawed Order, that may be the
         greatest.

                For the foregoing reasons, I respectfully dissent.


         ________________________
         Allison Clements
         Commissioner




                55
                     See Order 185 FERC ¶ 61,079 at P 38.
                56
                 42 U.S.C. § 4332; see also 42 U.S.C. § 4331 (setting forth NEPA’s
         environmental protection objectives).
                57
                   Cf. Village of Barrington v. Surface Transp. Bd., 636 F.3d 650, 665-66 (D.C.
         Cir. 2011) (upholding agency’s interpretation of “public interest” in its organic statute to
         include environmental considerations given NEPA’s language and goals).
                58
                     6 F.4th at 1331.




                                                                                           JA178
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                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

          Texas LNG Brownsville LLC                                   Docket Nos. CP16-116-003


                                          (Issued October 27, 2023)

         CHRISTIE, Commissioner, concurring:

                 While today’s order correctly rejects Sierra Club’s insistence that the Commission
         incorporate the “social cost of GHG” constructed numbers associated with the project
         into its public interest calculus under the NGA,1 I would have preferred that the order
         reject this unsupportable claim more comprehensively. I write separately to emphasize
         the following points.

                On remand, the court directed us either to use social cost of GHG, or some other
         “scientifically accepted” measurement, or to explain why we are declining to do so.2 The
         order correctly notes that, as the Commission has explained previously, the social cost of
         GHG construct is not useful for evaluating project-level emissions.3 But this barely
         scratches the surface of the problems with using this construct in our certificate
         proceedings.

                To begin with, a social cost of GHG calculation does not have the slightest
        scientific validity in any serious cost-benefit analysis of a natural gas infrastructure
        project, for a slew of reasons. As just one example, the social cost of GHG number is
        supposed to represent what economists call “negative externalities.” The typical social
        cost of GHG calculation, however, does not even bother to calculate a project’s positive
        externalities and net them out, so the social cost of GHG number is utterly useless for its
        supposed purpose in weighing costs and benefits. Used as the project opponents want us
        to use it, the social cost of GHG calculation is pure pseudoscience.4


               1
                   Order at PP 38 – 44.
               2
                 Vecinos Para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321,
         1329-30 (D.C. Cir. 2021) (Vecinos) (“On remand, the Commission must explain whether
         40 C.F.R. § 1502.21(c) calls for it to apply the social cost of carbon protocol or some
         other analytical framework, as ‘generally accepted in the scientific community’ within
         the meaning of the regulation, and if not, why not.”).
               3
                   Order at PP 41 – 43.
               4
                   One of the best definitions of “pseudoscience” is from the renowned 20th



                                                                                        JA179
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                 The best that can be said about a social cost of GHG number in this context is that
         it is meaningless. Using such a meaningless number to attempt to gauge the global
         climate impact of a single project, would be literally an exercise of “garbage in, garbage
         out.” Fortunately, the order makes clear both that the social cost of GHG calculation is
         not useful for ascertaining the global climate impacts of a single infrastructure project
         and that there is no other known method that would be scientifically valid for such
         purpose.5 This Commission simply cannot make such a determination, and no court has
         ever told us we must attempt the impossible.

                 And let’s get real: The entire push, dating back to the failed attempt last year to
         enact the draft Certificate Policy and GHG Statements, has always had one overriding
         goal — a goal that is fully apparent from the insistence of the current CEQ and EPA that
         this Commission consider both upstream and downstream non-jurisdictional activities
         before approving any natural gas project.6 That goal is to put in place a process and legal
         foundation for this Commission to reject needed natural gas projects solely on the basis
         of a single project’s purported impacts on the global climate.7 But as I said in my dissent


         century philosopher Karl Popper, who said that, unlike true science, which seeks facts
         first before reaching logical conclusions, pseudoscience starts with preconceived
         conclusions and then selects (viz. “cherry picks”) facts to fit its preconceived conclusions.
         See, e.g., “Drawing the line between science and pseudo-science.” Sternwedel, Janet D.,
         Scientific American Blog, Oct. 4, 2011, https://blogs.scientificamerican.com/doing-good-
         science/drawing-the-line-between-science-and-pseudo-science/.
                5
                 Order at P 42. This is what has been called the “Driftwood language.” It is
         worth observing that determining whether a proposed project is in the public convenience
         and necessity is not a question for the “scientific community”; it is a question for this
         Commission, acting pursuant to its lawful authority and in accordance with its good
         judgment.
                6
                  It is also flatly contrary to law. See, e.g., Sierra Club v. FERC, 827 F.3d 36, 47
         (D.C. Cir. 2016) (Freeport) (“[W]here, as here, an agency ‘has no ability to prevent a
         certain effect due to’ that agency’s ‘limited statutory authority over the relevant action,’
         then that action ‘cannot be considered a legally relevant “cause” of the effect’ for NEPA
         purposes.”) (quoting Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752, 771 (Public Citizen))
         (cleaned up).
                7
                  See Certification of New Interstate Natural Gas Facilities, 178 FERC ¶ 61,107
         (2022) (Christie, Comm’r, dissenting at P 49 & n.97) (Christie Dissent) (identifying that
         the goal of many well-funded groups is to stymie development of natural gas
         infrastructure), https://www.ferc.gov/news-events/news/items-c-1-and-c-2-commissioner-
         christies-dissent-certificate-policy-and-interim; see also Rich Glick and Matthew
         Christiansen, FERC and Climate Change, 40 ENERGY L.J. 1 (May 2019) (“Where



                                                                                           JA180
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        to the GHG Policy Statement, that would represent a radical rewrite of the Natural Gas
        Act (NGA), which neither this Commission nor the D. C. Circuit, nor any other appellate
        court, has the authority to do.8 Global climate change is far beyond this Commission’s
        legal authority to regulate under the NGA. Clearly global climate change and what to do
        about it from a regulatory standpoint are major questions of public policy — which, as
        the Supreme Court has recently reminded us, are the exclusive province of the
        legislature.9

                To summarize, the order is sufficient as far as it goes to rebut Sierra Club’s claims
         and to answer the D. C. Circuit’s remand instructions, so I concur. The order does not go
         far enough, however, to make it absolutely clear that the NGA gives this Commission no
         legal authority to reject a natural gas project based on its purported impact on global
         climate,10 regardless of whether that purported impact is packaged as a “social cost of
         GHG” number or in some other wrapper. Only Congress can decide the appropriate


         climate change factors explicitly into the Commission’s decision-making process, such as
         with respect to infrastructure permitting, the Commission must thoroughly examine how
         its decision can affect the climate in order to ensure that it is consistent with the public
         interest. In these instances, the Commission cannot bury its head in the sand and ignore
         the climate change consequences of its decisions. . . . [The Commission] must consider
         an infrastructure project’s implications for climate change when evaluating whether that
         project is consistent with the public interest. The urgent threat posed by climate change
         demands nothing less.”) (emphases added).
                8
                    See Christie Dissent at PP 11-21.
                9
                See, e.g., West Virginia v. EPA, 597 U.S. ---, 142 S. Ct. 2587 (2022); Biden v.
         Nebraska, 600 U.S. ---, 143 S.Ct. 2355 (2023); see also, Christie Dissent at PP 22-40.
                10
                  Nor does this Commission have the authority under the NGA to reject a project
         based on its impacts on “environmental justice” or other communities as a result of the
         public-interest review under the NGA. See NAACP v. Fed. Power Comm’n, 425 U.S.
         662, 669 (1976) (explaining that the Supreme Court “ha[s] consistently held that the use
         of the words ‘public interest’ in a regulatory statute is not a broad license to promote the
         general public welfare[,] [r]ather, the words take meaning from the purposes of the
         regulatory legislation”); id. (explaining that the purpose of the NGA is to “encourage the
         orderly development of plentiful supplies of . . . natural gas at reasonable prices” and
         also observing that there are subsidiary purposes to the Act) (citation omitted). While
         impacts on such communities should be fully and carefully considered and the mitigation
         of such impacts should be a focus of attention in the NEPA process, along with the
         mitigation of other environmental impacts, they are not the legal basis for a rejection
         under the NGA.




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        policy response to climate change and make amendments to the NGA. This Commission
        has no such legislative authority.


              For these reasons, I respectfully concur.



         ______________________________
         Mark C. Christie
         Commissioner




                                                                                 JA182
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                         UNITED STATES OF AMERICA
                                BEFORE THE
                  FEDERAL ENERGY REGULATORY COMMISSION

                                      )
 TEXAS LNG BROWNSVILLE LLC            )       DOCKET NO. CP16-___-000
                                      )




            APPLICATION OF TEXAS LNG BROWNSVILLE LLC FOR
         AUTHORIZATION UNDER SECTION 3 OF THE NATURAL GAS ACT




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                                                                    JA183
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 Director of Energy Projects approved Texas LNG’s request on April 14, 2015, and assigned

 Texas LNG docket number PF15-14-000. 5

          As set forth in greater detail in this Application, during the course of its pre-filing

 process, Texas LNG notified landowners and potential stakeholders of the proposed Texas LNG

 Project, participated in open houses and numerous other meetings to engage with stakeholders,

 submitted drafts to the Commission of the required environmental resource reports, 6 filed status

 reports with the Commission on a monthly basis, and submitted a Follow-On Waterway

 Suitability Assessment (“WSA”) to the U.S. Coast Guard (“USCG”).                              As a result of its

 participation in the pre-filing process, Texas LNG has been able to identify and address

 stakeholder comments and refine its proposal and Application.

 IV.      EXECUTIVE SUMMARY

          Texas LNG seeks authorization under Section 3 of the NGA to site, construct, and

 operate an LNG export facility in the Port of Brownsville, Texas capable of producing up to 4

 MTA LNG using the Air Products (APCI) propane-mixed refrigerant technology. The Project

 will liquefy natural gas and store and deliver the LNG as needed for export overseas. As

 described in greater detail in the Resource Reports in Exhibit F, the Project will result in major

 investment in the United States and in Texas specifically, resulting in substantial positive

 economic and fiscal impacts on the local, state, and national economies.

          Section 3(a) of the NGA prescribes that the Commission shall issue an order approving

 the activities proposed in this Application unless it finds that the proposal “will not be consistent



 5
   The Commission’s regulations require that an LNG terminal applicant wait to file its formal application until at
 least 180 days after the Director of the Office of Energy Projects issues its notice approving the applicant’s request
 to initiate the pre-filing process. 18 C.F.R. § 153.6(c). Texas LNG’s Application complies with this requirement.
 6
   The Commission’s regulations require that an LNG terminal applicant file its draft Resource Report 13 at least 90
 days prior to submitting its formal application. 18 C.F.R. § 157.21(f)(12). Texas LNG filed its draft Resource
 Report 13 on October 1, 2015. Therefore, Texas LNG’s Application complies with this requirement.

                                                           3

                                                                                                        JA184
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 with the public interest.” 7 As detailed in this Application, the Texas LNG Project advances the

 public interest by stimulating job creation; increasing economic activity at a local, state, and

 national level; increasing tax revenues; and helping to reduce global greenhouse gas emissions.

 Therefore, the Texas LNG Project is not inconsistent with the public interest and Texas LNG

 respectfully requests that the Commission grant the authorization requested in this Application.

     V.   DESCRIPTION OF THE PROPOSAL

          Texas LNG is proposing to develop an LNG export facility capable of producing a

 nominal capacity of up to 4 MTA of LNG using the proven APCI propane-mixed refrigerant

 technology.      The Project will receive natural gas via an approximately 150-mile non-

 jurisdictional intrastate pipeline to be constructed and connected from the Agua Dulce natural

 gas hub to the Brownsville market that will provide natural gas to the proposed LNG export

 facilities in the Port of Brownsville, industrial projects, power generation facilities, gas utility

 companies, and export markets in Mexico.

          Once onsite, the natural gas will be treated, liquefied, and stored onsite. At full plant

 capacity, the Project will consist of two LNG trains each with the nominal capacity of 2 MTA of

 LNG 8 (total nominal capacity of approximately 4 MTA). The Project will be built in two phases,

 with Phase 1 initiated upon receipt of all required authorizations and Phase 2 constructed upon

 receipt of sufficient customer demand. Each phase is designed to process approximately 0.309

 billion cubic feet per day (“Bcf/d”) 9 and will consist of one LNG train and one single


 7
   15 U.S.C. § 717b.
 8
   While each LNG train will have a nameplate capacity of 2.25 MTA, Texas LNG anticipates that each train will
 produce 2 MTA of LNG for export.
 9
   0.309 Bcf/d is approximately 2.25 MTA of LNG based on average gas composition, average ambient temperature,
 and operation 365 days per year. The LNG production rate will vary with the ambient temperature. In the winter,
 each train will produce approximately 2.58 MTA and requires approximately 0.355 Bcf/d of feed gas to support the
 production rate. During the summer the production rate will be lower due to increased ambient temperatures and
 consequently the feed gas rate will be lower. The summer and winter production rates are still under evaluation and
 are subject to change as the design matures.

                                                         4

                                                                                                      JA185
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 domestic consumption. 23 By providing additional demand for U.S. natural gas, the Texas LNG

 Project will help encourage enhanced access to the abundant supply of U.S. natural gas and

 augment already increasing competition for these supplies.

         In addition, Texas LNG plans to offer its customers the commercial flexibility necessary

 to compete in a dynamic global natural gas market. 24 The Texas LNG Project is smaller sized

 than a majority of the more traditional LNG export projects that developers have proposed to

 date.   As a smaller scale project, Texas LNG will more easily attract and accommodate

 customers with small and mid-sized demand. Texas LNG also will provide its offtake customers

 with LNG processing and liquefaction services under a tolling model, which will allow its

 customers to determine their upstream natural gas transportation and negotiate their preferred

 pricing index for feed gas. This commercial structure, added to Texas LNG’s ready access to

 both the Atlantic and Pacific LNG trading basins, combine to create a flexible market

 opportunity for natural gas players that will enhance market competition by encouraging both

 existing market participants and new market entrants to join the global LNG trade.

      B. The Texas LNG Project Will Create Positive Economic Impacts.

         The Texas LNG Project will generate significant benefits for the national, state, and local

 economies by increasing economic output and government revenue, by providing additional

 employment opportunities, and by stimulating economic activity in an environmental justice

 community.




 23
   Id. at 6.
 24
    Innovative Mid-Sized US LNG Export Project Focused on Delivering Flexible Supply Terms to Asian Markets
 Makes Significant Progress, NASDAQ GLOBENEWSWIRE (Jan. 7, 2014), http://www.globenewswire.com/news-
 release/2014/01/07/600874/10063336/en/Innovative-Mid-Sized-US-LNG-Export-Project-Focused-on-Delivering-
 Flexible-Supply-Terms-to-Asian-Markets-Makes-Significant-Progress.html (last visited Mar. 25, 2016).

                                                    14

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         As further explained in the Socioeconomic Report prepared by Aaron Economic

 Consulting, LLC, 25 the Texas LNG Project will increase economic output across the region. The

 Aaron Report predicts that Texas LNG’s investment in the construction of Phase 1 of the Project

 will increase economic output across the state and local economies by a total of $251.8 million,26

 and that the cumulative economic output from the first ten years of the operation of Phase 1 of

 the Project (from 2020 through 2030) will be approximately $3.7 billion. 27 This output will

 include property tax revenues of approximately $10 million per year, state sales tax revenues of

 between $590,000 and $771,000 per year, and local sales tax revenues between $189,000 and

 $246,000 per year. 28

         The Texas LNG Project also will provide additional employment opportunities for the

 Brownsville area. Texas LNG expects to employ an average of approximately 700 people

 directly during the Project’s four-year construction period 29 and Texas LNG could employ up to

 approximately 1,312 workers on site should construction of Phases 1 and 2 progress

 concurrently. 30

         Statistics and data demonstrate that Cameron County is one of the poorest counties in

 Texas, resulting in it qualifying as an environmental justice community. 31 As a result, providing

 economic opportunity for the Brownsville area is particularly important because Cameron

 County has an unemployment rate nearly twice as high as the unemployment rate for the State of


 25
     Attached as Appendix 5A to Resource Report 5. Hereinafter the Socioeconomic Report prepared by Aaron
 Consulting, LLC is referred to as the “Aaron Report.”
 26
    Aaron Report at 21.
 27
    Id. at 31.
 28
    Id. at 29-31.
 29
    Resource Report 5 at 5-7 and Aaron Report at 23-26.
 30
    Resource Report 5 at 5-7. Under the “Peak Impact Scenario,” Phase 2 of the Texas LNG Project is assumed to
 commence 18 months following the initiation of Phase 1 construction, for a total construction period of 58 months.
 Resource Report 5 at 5-1.
 31
    Resource Report 5 at 5-17. Texas LNG identified Cameron County as an “environmental justice community”
 based on available 2010 census block group statistics regarding ethnicity, median income, and poverty levels.

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 Texas. 32 Support among federal, state, and local officials demonstrates the importance of the

 Texas LNG Project to the local community. 33 By expanding employment opportunities, through

 both direct and indirect jobs, the Texas LNG Project will contribute to lowering Cameron

 County’s unemployment rate and create positive economic impacts for the region.

      C. The Texas LNG Project Will Further the United States’ Environmental Policy and
         International Energy Security Objectives.

         In addition to enhancing competition in the domestic market and creating economic

 benefits, exports of LNG via the Texas LNG Project will further U.S. environmental policy and

 global security objectives in a number of ways.

         The Texas LNG Project will support implementation of the Obama Administration’s

 Clean Power Plan. The Clean Power Plan allows states to increase reliance on natural gas for

 power generation in order to meet the state’s carbon dioxide emissions reductions goal. 34 In

 order to meet these goals, states will need to adjust their power generation portfolio and deploy

 additional natural gas power generation units, which will require additional natural gas

 infrastructure to ensure adequate, reliable access to natural gas. 35 As noted in this Application,

 the Texas LNG Project will assist in supporting development of additional infrastructure to bring

 feed gas to the facility and the Brownsville area for the first time, thereby advancing the public




 32
    Resource Report 5 at 5-5 and 5-6.
 33
    U.S. Sen. John Cornyn, State Sen. Eddie Lucio, Jr., and State Rep. Eddie Lucio III have submitted letters to the
 Commission in support of the Texas LNG Project. In addition, U.S. Rep. Filemon Vela and Brownsville, Texas
 Mayor Antonio Martinez submitted letters in support of the Texas LNG Project to DOE. The Brownsville
 Economic Development Council and the Port Isabel-San Benito Navigation District also filed comments with the
 Commission in support for the Texas LNG Project.
 34
    Federal Plan Requirements for Greenhouse Gas Emissions from Electric Utility Generating Units Constructed on
 or Before January 8, 2014, 80 Fed. Reg. 64,966 at 64,991 (Oct. 23, 2015). For example, the Clean Power Plan
 requires that Texas reduce its annual carbon dioxide emissions by 32.9% by 2030. 80 Fed. Reg. at 65,013.
 35
    Texas, along with 28 other states and state agencies, has challenged the Clean Power Plan in federal court. See
 Application by 29 States and State Agencies for Immediate Stay of Final Agency Action during Pendency of
 Petitions for Review, Docket No. 15A773 (U.S. Jan. 26, 2016). Texas LNG expresses no opinion regarding the
 substance of the Clean Power Plan or the emission reduction requirements it imposes on states.

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 interest by helping existing and future market participants to access natural gas and meet state

 carbon dioxide emissions reduction goals under the Clean Power Plan.

           In addition, the Texas LNG Project also will support the United States’ compliance with

 international environmental agreements. The United States and many other nations around the

 world recently agreed to “pursue efforts to limit the temperature increase to 1.5° C above pre-

 industrial levels.” 36 Developed countries, such as the United States, took on the responsibility of

 assisting developing countries to meet their obligations under the Paris Agreement. 37 One means

 of assisting developing countries in mitigating greenhouse gas emissions is providing natural gas

 supplies at a competitive price compared to other forms of traditional energy sources. As a study

 prepared for the U.S. Department of Energy concluded, life cycle greenhouse gas emissions from

 U.S. LNG would be lower for consumers in Europe and Asia as compared with using coal

 sourced from nearer regional deposits. 38 The study further found that the global warming

 potential from the U.S. LNG value chain is lower than that of natural gas transported via pipeline

 from Russia on a 20-year basis. 39 By providing a fuel source with significantly lower emissions

 than other fossil fuels used for power generation and industrial combustion, LNG exports from

 the Texas LNG facility will assist countries around the world in meeting their obligations under

 the Paris Agreement, thereby advancing the intergovernmental framework adopted by the United

 States.

           Furthermore, U.S. LNG exports will allow strategic U.S. allies around the world to

 diversify their energy supply options, offering an alternative to sometimes unreliable natural gas



 36
    Adoption of the Paris Agreement, FCCC/CP/2015/L.9/Rev.1 at Art. 2(1)(a) (Dec. 12, 2015) (hereinafter “Paris
 Agreement”).
 37
    Paris Agreement at Art. 11(3).
 38
    NATIONAL ENERGY TECHNOLOGY LABORATORY, Life Cycle Greenhouse Gas Perspective on Exporting Liquefied
 Natural Gas from the United States at 9-10 (2014).
 39
    Id. at 10.

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 suppliers and assisting these countries in meeting their commitments under the Paris Agreement.

 As U.S. Senator John Barrasso stated in January 2015, “LNG exports are, for the United States, a

 powerful means to bring about positive change throughout the world. LNG exports will help

 increase the energy security of key U.S. allies and partners throughout Europe and Asia.” 40 By

 providing a stable and affordable energy option, U.S. LNG supplies, including those exported via

 the Texas LNG Project, will support U.S. allies and partners in developing a more secure energy

 supply chain, thereby encouraging economic growth and peaceful development around the

 world.

          Next, the Texas LNG Project’s support for the domestic energy industry will diminish

 U.S. industry’s reliance on foreign sources of energy. With the Texas LNG Project serving as an

 outlet to international gas markets, domestic natural gas producers are less likely to engage in

 harmful “boom and bust” practices where industry invests heavily in production temporarily then

 withdraws the investment due to price declines following an oversupply of gas in the market.

 With access to international markets and increased consumption of natural gas domestically, the

 U.S. industrial sector will be more likely to rely on domestic energy supplies rather than

 imported energy supplies. By contributing to the stabilization of the domestic natural gas

 market, Texas LNG will discourage the U.S. economy’s historic overreliance on foreign sources

 of energy.

          For these reasons, the Texas LNG Project is not inconsistent with the “public interest”

 and the Commission should grant the instant Application.



 40
   S. 33, The LNG Permitting Certainty and Transparency Act: Hearing Before the Committee on Energy and
 Natural Resources, 114th Cong. 4 (2015) (statement of Sen. Barrasso, Member, S. Committee on Energy and
 Natural Resources). Also speaking to the Senate Energy and Natural Resources Committee, an official with the
 Atlantic Council argued that “U.S. LNG would provide a reliable and competitive alternative to the [U.S.] allies in
 Central and Eastern Europe.” Id. at 60 (statement of Mr. David Koranyi, Director, Atlantic Council).

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                   Technical Support Document: ­
       Social Cost of Carbon for Regulatory Impact Analysis ­
                   Under Executive Order 12866 ­
 Interagency Working Group on Social Cost of Carbon, United States Government


                             With participation by

                            Council of Economic Advisers
                          Council on Environmental Quality
                              Department of Agriculture
                              Department of Commerce
                                Department of Energy
                            Department of Transportation
                          Environmental Protection Agency
                              National Economic Council
                        Office of Energy and Climate Change
                         Office of Management and Budget
                       Office of Science and Technology Policy
                             Department of the Treasury



                                  February 2010




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 from the more optimistic (e.g. abundant low-cost, low-carbon energy) to more pessimistic (e.g.
 constraints on the availability of nuclear and renewables).15 Second, the socio-economic trajectories
 associated with a 550 ppm CO2e concentration scenario are not derived from an assessment of what
 policy is optimal from a benefit-cost standpoint. Rather, it is indicative of one possible future outcome.
 The emission trajectories underlying some BAU scenarios (e.g. MESSAGE’s 612 ppm) also are consistent
 with some modest policy action to address climate change.16 We chose not to include socio-economic
 trajectories that achieve even lower GHG concentrations at this time, given the difficulty many models
 had in converging to meet these targets.

 For comparison purposes, the Energy Information Agency in its 2009 Annual Energy Outlook projected
 that global carbon dioxide emissions will grow to 30.8, 35.6, and 40.4 gigatons in 2010, 2020, and 2030,
 respectively, while world GDP is projected to be $51.8, $71.0 and $93.9 trillion (in 2005 dollars using
 market exchange rates) in 2010, 2020, and 2030, respectively. These projections are consistent with
 one or more EMF-22 scenarios. Likewise, the United Nations’ 2008 Population Prospect projects
 population will grow from 6.1 billion people in 2000 to 9.1 billion people in 2050, which is close to the
 population trajectories for the IMAGE, MiniCAM, and MERGE models.

 In addition to fossil and industrial CO2 emissions, each EMF scenario provides projections of methane,
 nitrous oxide, fluorinated greenhouse gases, and net land use CO2 emissions out to 2100. These
 assumptions also are used in the three models while retaining the default radiative forcings due to other
 factors (e.g. aerosols and other gases). See the Appendix for greater detail.

         F. Discount Rate

 The choice of a discount rate, especially over long periods of time, raises highly contested and
 exceedingly difficult questions of science, economics, philosophy, and law. Although it is well
 understood that the discount rate has a large influence on the current value of future damages, there is
 no consensus about what rates to use in this context. Because carbon dioxide emissions are long-lived,
 subsequent damages occur over many years. In calculating the SCC, we first estimate the future
 damages to agriculture, human health, and other market and non-market sectors from an additional
 unit of carbon dioxide emitted in a particular year in terms of reduced consumption (or consumption
 equivalents) due to the impacts of elevated temperatures, as represented in each of the three IAMs.
 Then we discount the stream of future damages to its present value in the year when the additional unit
 of emissions was released using the selected discount rate, which is intended to reflect society's
 marginal rate of substitution between consumption in different time periods.

 For rules with both intra- and intergenerational effects, agencies traditionally employ constant discount
 rates of both 3 percent and 7 percent in accordance with OMB Circular A-4. As Circular A-4
 acknowledges, however, the choice of discount rate for intergenerational problems raises distinctive

 15
    For instance, in the MESSAGE model’s reference case total primary energy production from nuclear, biomass,
 and non-biomass renewables is projected to increase from about 15 percent of total primary energy in 2000 to 54
 percent in 2100. In comparison, the MiniCAM reference case shows 10 percent in 2000 and 21 percent in 2100.
 16
    For example, MiniCAM projects if all non-US OECD countries reduce CO2 emissions to 83 percent below 2005
 levels by 2050 (per the G-8 agreement) but all other countries continue along a BAU path CO2 concentrations in
 2100 would drop from 794 ppmv in its reference case to 762 ppmv.
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 problems and presents considerable challenges. After reviewing those challenges, Circular A-4 states, “If
 your rule will have important intergenerational benefits or costs you might consider a further sensitivity
 analysis using a lower but positive discount rate in addition to calculating net benefits using discount
 rates of 3 and 7 percent.” For the specific purpose of developing the SCC, we adapt and revise that
 approach here.

 Arrow et al. (1996) outlined two main approaches to determine the discount rate for climate change
 analysis, which they labeled “descriptive” and “prescriptive.” The descriptive approach reflects a
 positive (non-normative) perspective based on observations of people’s actual choices—e.g., savings
 versus consumption decisions over time, and allocations of savings among more and less risky
 investments. Advocates of this approach generally call for inferring the discount rate from market rates
 of return “because of a lack of justification for choosing a social welfare function that is any different
 than what decision makers [individuals] actually use” (Arrow et al. 1996).

 One theoretical foundation for the cost-benefit analyses in which the social cost of carbon will be used—
 the Kaldor-Hicks potential-compensation test—also suggests that market rates should be used to
 discount future benefits and costs, because it is the market interest rate that would govern the returns
 potentially set aside today to compensate future individuals for climate damages that they bear (e.g.,
 Just et al. 2004). As some have noted, the word “potentially” is an important qualification; there is no
 assurance that such returns will actually be set aside to provide compensation, and the very idea of
 compensation is difficult to define in the intergenerational context. On the other hand, societies
 provide compensation to future generations through investments in human capital and the resulting
 increase in knowledge, as well as infrastructure and other physical capital.

 The prescriptive approach specifies a social welfare function that formalizes the normative judgments
 that the decision-maker wants explicitly to incorporate into the policy evaluation—e.g., how inter-
 personal comparisons of utility should be made, and how the welfare of future generations should be
 weighed against that of the present generation. Ramsey (1928), for example, has argued that it is
 “ethically indefensible” to apply a positive pure rate of time preference to discount values across
 generations, and many agree with this view.

 Other concerns also motivate making adjustments to descriptive discount rates. In particular, it has
 been noted that the preferences of future generations with regard to consumption versus
 environmental amenities may not be the same as those today, making the current market rate on
 consumption an inappropriate metric by which to discount future climate-related damages. Others
 argue that the discount rate should be below market rates to correct for market distortions and
 uncertainties or inefficiencies in intergenerational transfers of wealth, which in the Kaldor-Hicks logic
 are presumed to compensate future generations for damage (a potentially controversial assumption, as
 noted above) (Arrow et al. 1996, Weitzman 1999).

 Further, a legitimate concern about both descriptive and prescriptive approaches is that they tend to
 obscure important heterogeneity in the population. The utility function that underlies the prescriptive
 approach assumes a representative agent with perfect foresight and no credit constraints. This is an
 artificial rendering of the real world that misses many of the frictions that characterize individuals’ lives

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 initially, but applies a graduated scale of lower discount rates further out in time.24 A key question that
 has emerged with regard to both of these approaches is the trade-off between potential time
 inconsistency and giving greater weight to far future outcomes (see the EPA Science Advisory Board’s
 recent comments on this topic as part of its review of their Guidelines for Economic Analysis).25

 The Discount Rates Selected for Estimating SCC

 In light of disagreement in the literature on the appropriate market interest rate to use in this context
 and uncertainty about how interest rates may change over time, we use three discount rates to span a
 plausible range of certainty-equivalent constant discount rates: 2.5, 3, and 5 percent per year. Based on
 the review in the previous sections, the interagency workgroup determined that these three rates
 reflect reasonable judgments under both descriptive and prescriptive approaches.

 The central value, 3 percent, is consistent with estimates provided in the economics literature and
 OMB’s Circular A-4 guidance for the consumption rate of interest. As previously mentioned, the
 consumption rate of interest is the correct discounting concept to use when future damages from
 elevated temperatures are estimated in consumption-equivalent units. Further, 3 percent roughly
 corresponds to the after-tax riskless interest rate. The upper value of 5 percent is included to represent
 the possibility that climate damages are positively correlated with market returns. Additionally, this
 discount rate may be justified by the high interest rates that many consumers use to smooth
 consumption across periods.

 The low value, 2.5 percent, is included to incorporate the concern that interest rates are highly
 uncertain over time. It represents the average certainty-equivalent rate using the mean-reverting and
 random walk approaches from Newell and Pizer (2003) starting at a discount rate of 3 percent. Using
 this approach, the certainty equivalent is about 2.2 percent using the random walk model and 2.8
 percent using the mean reverting approach.26 Without giving preference to a particular model, the
 average of the two rates is 2.5 percent. Further, a rate below the riskless rate would be justified if
 climate investments are negatively correlated with the overall market rate of return. Use of this lower
 value also responds to certain judgments using the prescriptive or normative approach and to ethical
 objections that have been raised about rates of 3 percent or higher.




 24
    For instance, the UK applies a discount rate of 3.5 percent to the first 30 years; 3 percent for years 31 - 75; 2.5
 percent for years 76 - 125; 2 percent for years 126 - 200; 1.5 percent for years 201 - 300; and 1 percent after 300
 years. As a sensitivity, it recommends a discount rate of 3 percent for the first 30 years, also decreasing over time.
 25
    Uncertainty in future damages is distinct from uncertainty in the discount rate. Weitzman (2008) argues that
 Stern’s choice of a low discount rate was “right for the wrong reasons.” He demonstrates how the damages from a
 low probability, catastrophic event far in the future dominate the effect of the discount rate in a present value
 calculation and result in an infinite willingness-to-pay for mitigation today. Newbold and Daigneault, (2009) and
 Nordhaus (2009) find that Weitzman’s result is sensitive to the functional forms chosen for climate sensitivity,
 utility, and consumption. Summers and Zeckhauser (2008) argue that uncertainty in future damages can also work
 in the other direction by increasing the benefits of waiting to learn the appropriate level of mitigation required.
 26
    Calculations done by Pizer et al. using the original simulation program from Newell and Pizer (2003).
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                                        169 FERC ¶ 61,130
                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Neil Chatterjee, Chairman;
                               Richard Glick and Bernard L. McNamee.

         Texas LNG Brownsville LLC                                     Docket No. CP16-116-000


                ORDER GRANTING AUTHORIZATION UNDER SECTION 3 OF THE
                                 NATURAL GAS ACT

                                          (Issued November 22, 2019)

         1.     On March 30, 2016, Texas LNG Brownsville LLC (Texas LNG) filed an
         application pursuant to section 3 of the Natural Gas Act (NGA)1 and Part 153 of the
         Commission’s regulations2 for authorization to site, construct, and operate facilities for
         the liquefaction and export of domestically-produced natural gas at a proposed liquefied
         natural gas (LNG) terminal on the north side of the Brownsville Ship Channel in
         Cameron County, Texas (Texas LNG Project).

         2.     For the reasons discussed in this order, we will authorize Texas LNG’s proposal,
         subject to the conditions discussed below.

         I.     Background

         3.     Texas LNG, a limited liability company organized under the laws of Delaware
         with its headquarters in Houston, Texas, is a single purpose subsidiary of Texas LNG
         LLC. As its operations will not be in interstate commerce, Texas LNG will not be a
         “natural gas company” as defined in the NGA, although it will be subject to the
         Commission’s jurisdiction under NGA section 3.

         II.    Proposal

        4.     Texas LNG seeks authorization to site, construct, and operate an LNG export
        terminal and associated facilities in order to export approximately 4 million metric tonnes
        per annum (MTPA) of natural gas as LNG. The terminal will receive natural gas via an

                1
                    15 U.S.C. § 717b (2018).
                2
                    18 C.F.R. pt. 153 (2019).




                                                                                         JA301
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        approximately 10.2-mile-long non-jurisdictional intrastate natural gas pipeline that would
        interconnect with the Valley Crossing Pipeline (VCP).3 VCP is a non-jurisdictional
        natural gas pipeline that extends southwest from a header system near the Agua Dulce
        natural gas hub to a jurisdictional border-crossing facility east of Cameron County,
        Texas.4

        5.      Texas LNG’s proposed facilities include two full-containment LNG storage tanks
        with a capacity of approximately 210,000 cubic meters of LNG each; two liquefaction
        trains, each with a capacity of 2.0 MTPA of LNG;5 a single LNG carrier berth; mooring
        and loading facilities; and other appurtenant facilities. The proposed project will be built
        in two phases, each phase designed to process approximately 0.309 Bcf/d6 of natural gas
        and consisting of one liquefaction train and one full-containment storage tank.
        Construction of Phase 1 will be initiated upon receipt of all required authorizations, and
        Phase 2 will be constructed upon receipt of sufficient customer demand.7 During Phase
        1, the single LNG carrier berth, dredged maneuvering basin, and all necessary support
        facilities will be installed. Phase 2 construction will include the second liquefaction train
        and storage tank, as well as all appurtenant facilities required to connect the Phase 2
        facilities with the operating Phase 1 facilities.



               3
                  The record shows that the non-jurisdictional pipeline will be entirely in Texas
        and, when it begins service, will only transport Texas gas production received from other
        Texas intrastate pipelines or processing plants within Texas to the proposed LNG export
        terminal. See Texas LNG August 16, 2018 Filing (responding to staff’s June 27, 2018
        letter requesting further information about the natural gas pipeline(s) that would provide
        feed gas to the proposed terminal).
               4
                   See Valley Crossing Pipeline, LLC, 161 FERC ¶ 61,084, at P 4 (2017).
               5
                While each liquefaction train will have a nameplate capacity of 2.25 MTPA,
        Texas LNG anticipates that as operated, each train will produce 2.0 MTPA of LNG for
        export. Application at 4 n.8.
               6
                  0.309 Bcf/d is approximately 2.25 MTPA of LNG based on average gas
        composition, average ambient temperature, and operation 365 days per year. Application
        at 4 n.9.
               7
                 Texas LNG states in its application that construction of Phase 2 would
        commence no sooner than 18 months following the commencement of Phase 1 and is
        anticipated to commence no later than five years following the Commission’s approval of
        Texas LNG’s application. Application at 5.




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        6.      Texas LNG states it has an option agreement for a long-term lease with the
        Brownsville Navigation District of Cameron County, Texas, for an approximately 625-
        acre tract of land. All of the approximately 625-acre total project area is zoned for heavy
        industrial use and the proposed project will be consistent with other industrial facilities
        along the shoreline. Texas LNG will have control over the project site for at least the
        minimum expected operational life of the project, which is 25-30 years, and the right to
        extend the lease term.

        7.     Texas LNG received authorization from the Department of Energy, Office of
        Fossil Energy (DOE/FE) in September 2015 to export annually up to 204.4 Bcf
        (approximately 0.56 Bcf/d) equivalent of natural gas in the form of LNG to countries
        with which the United States has a Free Trade Agreement.8 In addition, Texas LNG
        currently has pending before the DOE/FE an application to export annually up to 204.4
        Bcf equivalent of LNG to other nations with which the U.S. permits such trade, but has
        not entered into a Free Trade Agreement.9

        III.   Procedural Matters

               A.       Notice, Interventions, Comments, and Protests

         8.     Notice of Texas LNG’s application was issued on April 14, 2016, and published
         in the Federal Register on April 20, 2016, with interventions, comments, and protests due
         on or before May 5, 2016.10 Timely, unopposed motions to intervene are granted by
         operation of Rule 214(c) of the Commission’s Rules of Practice and Procedure.11
         Untimely motions to intervene were granted by a Secretary’s Notice issued on
         September 29, 2016.

         9.     On December 12, 2018, SaveRGVfromLNG (SaveRGV) filed a motion to
         intervene. Although SaveRGV filed its motion as a motion to intervene out of time,
         because the motion was filed before the December 17 deadline for filing comments on
         the draft Environmental Impact Statement (EIS), its motion was deemed timely and
         granted by the Commission on January 18, 2019.


               8
                Texas Gulf LNG, DOE/FE Docket No. 15-62-LNG, Order No. 3716
         (September 24, 2015); see also Application at 20.
               9
                 The application, filed on April 15, 2015 and amended on May 22, 2015, is
         pending before DOE/FE in Docket No. 15-62-LNG.
               10
                    81 Fed. Reg. 23,291 (2016).
               11
                    18 C.F.R. § 385.214(c) (2019).




                                                                                        JA303
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        10.    Sierra Club filed a protest asserting that the construction and operation of Texas
        LNG’s proposed facilities will have adverse local effects on many resources, including
        air, water, endangered species, and on environmental justice communities. Sierra Club
        also claims that because the purpose of the project is to enable the export of LNG, the
        project will induce additional production activities with adverse environmental impacts,
        could result in increased domestic gas prices, and will negatively affect national and
        global efforts to reduce greenhouse gas emissions (GHGs).

        11.     Many people and organizations filed comments: some in support of the project
        and others raising various economic, environmental, and safety concerns, including
        concerns about the proximity of the project to their residences and potential of the project
        to decrease property values, affect the local environment and wildlife, and increase
        pollution. Finally, they questioned whether the Commission would impose measures to
        ensure public safety in the event of an accident or incident. In particular, several
        commenters expressed concern regarding the proximity of SpaceX’s South Texas Launch
        Site to the proposed project site.

        12.    These comments and protests are addressed in the EIS for the project or in this
        order, as appropriate.

               B.        Request for Hearing

        13.    Intervenor Defenders of Wildlife requested a formal hearing.12 The Commission
        has broad discretion to structure its proceedings so as to resolve a controversy in the best
        way it sees fit.13 An evidentiary, trial-type hearing is necessary only where there are
        material issues of fact in dispute that cannot be resolved on the basis of the written
        record.14 Defenders of Wildlife raised no material issue of fact that the Commission
        cannot resolve on the basis of the written record. Accordingly, the Commission denies
        the request for a formal hearing.




               12
                    Defenders of Wildlife May 4, 2016 Motion to Intervene at 1-2.
               13
                  See Stowers Oil and Gas Co., 27 FERC ¶ 61,001 (1984) (Commission has
        discretion to manage its own proceedings); PJM Transmission Owners, 120 FERC
        ¶ 61,013 (2007).
               14
                See, e.g., Dominion Transmission, Inc., 141 FERC ¶ 61,183, at P 15 (2012);
        Southern Union Gas Co. v. FERC, 840 F.2d 964, 970 (D.C. Cir. 1988).




                                                                                          JA304
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        IV.    Discussion

               A.       Public Interest Standard

        14.     The construction and operation of the proposed LNG terminal facilities and site of
        their location require approval by the Commission under section 3 of the NGA.15
        Although section 3 provides that an application for the exportation or importation of
        natural gas shall be approved unless the proposal “will not be consistent with the public
        interest,” section 3 also provides that an application may be approved “in whole or in
        part, with such modification and upon such terms and conditions as the Commission may
        find necessary or appropriate.”16 NGA section 3(a) also provides that for good cause
        shown, the Commission may make supplemental orders as it may find “necessary or
        appropriate.”17

         15.     Sierra Club asserts we should find that Texas LNG’s application to construct an
         LNG export terminal is contrary to the public interest in part because the exportation of
         gas will induce natural gas production activities with attendant adverse environmental
         impacts. Sierra Club also asserts that Texas LNG’s proposed LNG export terminal is not
         in the public interest because it will result in indirect environmental impacts from the
         combustion of exported gas in importing markets and exports may result in increased



               15
                 The regulatory functions of NGA section 3 were transferred to the Secretary of
        Energy in 1977 pursuant to section 301(b) of the Department of Energy Organization
        Act, Pub. L. No. 95-91, 42 U.S.C. § 7101 et seq. In reference to regulating the imports or
        exports of natural gas, the Secretary subsequently delegated to the Commission the
        authority to approve or disapprove the construction and operation of natural gas import
        and export facilities and the site at which such facilities shall be located. The most recent
        delegation is in DOE Delegation Order No, 00-004.00A, effective May 16, 2006.
        Applications for authorization to import or export natural gas must be submitted to the
        Department of Energy (DOE). The Commission does not authorize importation or
        exportation of the commodity itself. See EarthReports, Inc. v. FERC, 828 F.3d 949, 952-
        53 (D.C. Cir. 2016) (EarthReports) (detailing how regulatory oversight for the export of
        LNG and supporting facilities is divided between the Commission and DOE).
               16
                For a discussion of the Commission’s authority to condition its approvals of
        LNG facilities under section 3 of the NGA, see, e.g., Distrigas Corporation v. FPC, 495
        F.2d 1057, 1063-64 (D.C. Cir. 1974), cert. denied, 419 U.S. 834 (1974), and Dynegy
        LNG Production Terminal, L.P., 97 FERC ¶ 61,231 (2001).
               17
                    15 U.S.C. § 717b(a).




                                                                                          JA305
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         domestic gas prices that will result in increased reliance on coal as fuel at electric
         generation facilities, causing further adverse environmental impacts.

         16.    We decline to address these claims as they concern impacts associated with the
         exportation of the commodity natural gas, rather than the proposal before the
         Commission. Section 3(a) of the NGA provides, in part, that “no person shall export any
         natural gas from the United States to a foreign country . . . without first having secured an
         order of the Commission authorizing it to do so.”18 As noted above, in 1977, the
         Department of Energy Organization Act (DOE Act) transferred the regulatory functions
         of section 3 of the NGA to the Secretary of Energy.19 Subsequently, the Secretary
         delegated to the Commission authority to “[a]pprove or disapprove the construction and
         operation of particular facilities, the site at which such facilities shall be located, and with
         respect to natural gas that involves the construction of new domestic facilities, the place
         of entry for imports or exit for exports … .”20 The Secretary, however, has not delegated
         to the Commission any authority to approve or disapprove the import or export of the
         commodity itself, or to consider the types of issues raised by Sierra Club as part of the
         Commission’s public interest determination under NGA section 3(a).21


                18
                     Id.
                19
                  DOE Act, Pub. L. No. 95-91, 42 U.S.C. § 7101 et. seq. Section 301(b) of the
         DOE Act transferred regulatory functions under section 3 of the NGA from the
         Commission’s predecessor, the Federal Power Commission (FPC), to the Secretary of
         Energy. Section 402 of the DOE Act transferred regulatory functions under other
         sections of the NGA, including sections 1, 4, 5, and 7, from the FPC to the Federal
         Energy Regulatory Commission. Section 402(f) states:

         (f) Limitation
                No function described in this section which regulates the exports or imports of
                natural gas … shall be within the jurisdiction of the Commission unless the
                Secretary assigns such a function to the Commission.
                20
                     DOE Delegation Order No. 00-004.00A (effective May 16, 2006).
                21
                   See Freeport LNG Development, L.P., 148 FERC ¶ 61,076, reh’g denied, 149
         FERC ¶ 61,119 (2014), aff’d sub nom. Sierra Club v. FERC, 827 F.3d 36 (D.C. Cir.
         2016) (Freeport) (finding that because the Department of Energy, not the Commission,
         has sole authority to license the export of any natural gas through LNG facilities, the
         Commission is not required to address the indirect effects of the anticipated export of
         natural gas in its NEPA analysis). See also Sabine Pass Liquefaction, LLC, 146 FERC
         ¶ 61,117, reh'g denied, 148 FERC ¶ 61,200 (2014), aff’d sub nom. Sierra Club v. FERC,
         827 F.3d 59 (D.C. Cir. 2016) (Sabine Pass) and Dominion Cove Point LNG, LP,




                                                                                             JA306
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        17.    DOE/FE, pursuant to its authority under NGA section 3, has authorized Texas
        LNG to export up to 4 MTPA, or 0.56 Bcf/d, of domestically-produced natural gas to free
        trade nations from the proposed Texas LNG Brownsville LLC Liquefied Natural Gas
        Export Project, at the Port of Brownsville, Texas.22 DOE/FE’s order approving Texas
        LNG’s export volumes states that “[i]n light of DOE’s statutory obligation to grant this
        Application without modification or delay, there is no need for DOE/FE to review other
        arguments asserted by Texas LNG in support of the Application.”23

        18.    We have reviewed Texas LNG’s application to determine if the siting,
        construction, and operation of its LNG terminal as proposed would not be consistent with
        the public interest.24 The proposed site for the terminal is an area zoned for heavy
        industrial use on the north shore of the Brownsville Ship Channel in the Port of
        Brownsville, Texas, and the terminal’s operations will be consistent with those of the
        other industrial facilities along the shoreline in that area. Further, as discussed below, the
        final EIS prepared for the proposed project finds most of the direct environmental
        impacts from construction of the proposed Texas LNG Project are expected to be
        temporary or short term during construction and operation, while some long-term and
        permanent environmental impacts would also occur.25 However, all adverse impacts
        from construction and operation of the facilities—with the exception of impacts on visual
        resources, which would be significant when viewed from the Laguna Atascosa National

        148 FERC ¶ 61,244 (2014), reh’g denied, 151 FERC ¶ 61,095 (2015), aff’d sub nom.
        EarthReports, 828 F.3d 949.
                22
                  DOE/FE Order No. 3716 at 11 (2015) (authorizing export of approximately 4
         MTPA to free trade countries). DOE/FE has not yet issued an order addressing Texas
         LNG’s application filed on April 15, 2015 in FE Docket No. 15-62-LNG seeking
         authorization to export to non-FTA countries.
                23
                  DOE/FE Order No. 3716 at 8. Section 3(c) provides that the exportation and
         importation of natural gas to and from countries with which there is in effect a Free Trade
         Agreement “shall be deemed to be consistent with the public interest and applications for
         such importation and exportation shall be granted without modification or delay.” 15
         U.S.C. § 717b(c).
                24
                   See National Steel Corp., 45 FERC ¶ 61,100, at 61,332-33 (1988) (observing
         that DOE, “pursuant to its exclusive jurisdiction, has approved the importation with
         respect to every aspect of it except the point of importation” and that the “Commission’s
         authority in this matter is limited to consideration of the place of importation, which
         necessarily includes the technical and environmental aspects of any related facilities.”).
                25
                     Final EIS at ES-16.




                                                                                           JA307
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        Wildlife Refuge—will be reduced to less than significant levels if the project is
        constructed and operated in accordance with applicable laws and regulations and the
        environmental mitigation measures recommended in the final EIS and adopted by this
        order.26 The final EIS supports those findings regarding the potential direct project
        impacts, as well as a finding that cumulative impacts from operation of the Texas LNG
        Project—with the exception of cumulative impacts on surface water quality in the
        Brownsville Ship Channel during operational vessel transits; on the federally-listed ocelot
        and jaguarundi from habitat loss and increased potential for vehicular strikes during
        construction; on the federally listed northern aplomado falcon from habitat loss; on visual
        resources due to the presence of new facilities; and on nearby noise-sensitive areas
        (NSAs) during nighttime construction—will not be significant.27

        19.    In accordance with the Memorandum of Understanding signed on August 31,
        2018, by the Commission and the Pipeline and Hazardous Materials Safety
        Administration (PHMSA) within the U.S. Department of Transportation (DOT),28
        PHMSA undertook a review of the proposed facility’s ability to comply with the federal
        safety standards contained in Part 193, Subpart B, of Title 49 of the Code of Federal
        Regulations.29 On February 13, 2019, PHMSA issued a Letter of Determination
        indicating Texas LNG has demonstrated that the siting of its proposed LNG facilities
        complies with those federal safety standards.30 If the proposed project is subsequently
        modified so that it differs from the details provided in the documentation submitted to
        PHMSA, further review would be conducted by PHMSA.

        20.    Texas LNG is proposing to operate its LNG terminal under the terms and
        conditions mutually agreed to by its customers and will solely bear the responsibility for

               26
                    Id.
               27
                  Id. Since issuance of the final EIS for the Texas LNG Project, potential
        significant cumulative impacts on nearby NSAs from nighttime construction have been
        identified due to nighttime pile driving at the proposed Annova LNG Project. See infra
        P 70.
               28
                 Memorandum of Understanding Between the Department of Transportation and
        the Federal Energy Regulatory Commission Regarding Liquefied Natural Gas
        Transportation Facilities (Aug. 31, 2018), https://www.ferc.gov/legal/mou/2018/FERC-
        PHMSA-MOU.pdf.
               29
                    49 C.F.R. pt. 193, subpart B (2019).
               30
                 See Commission staff’s February 14, 2019 Memo filed in Docket No. CP16-
         116-000 (containing PHMSA’s Letter of Determination).




                                                                                        JA308
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        the recovery of any costs associated with construction and operation of the terminal.
        Accordingly, Texas LNG’s proposal does not trigger NGA section 3(e)(4).

        21.     In view of the above, we find that Texas LNG’s proposal is not inconsistent with
        the public interest. Therefore, we will grant Texas LNG’s application for authorization
        under section 3 of the NGA to site, construct, and operate its proposed LNG terminal
        facilities.

                B.       Environmental Analysis

        22.    To satisfy the requirements of the National Environmental Policy Act of 1969
        (NEPA),31 Commission staff evaluated the potential environmental impacts of the
        proposed project in an EIS. Several agencies participated as cooperating agencies in the
        preparation of the EIS: U.S. Army Corps of Engineers (COE), U.S. Coast Guard (Coast
        Guard), U.S. Environmental Protection Agency (EPA), DOT’s PHMSA and Federal
        Aviation Administration (FAA), U.S. Fish and Wildlife Service (FWS), National Park
        Service, National Oceanic Atmospheric Administration’s National Marine Fisheries
        Service (NMFS), and DOE. Cooperating agencies have jurisdiction by law or special
        expertise with respect to resources potentially affected by the proposals and participate in
        the NEPA analysis.

         23.    Commission staff issued a draft EIS on October 26, 2018, which addressed the
         issues raised during the scoping period and up to the point of publication. The
         Commission published notice of the draft EIS in the Federal Register on November 2,
         2018, establishing a 45-day public comment period ending on December 17, 2018.32
         Commission staff held a public comment session on November 15, 2018, to receive
         comments on the draft EIS. We also received over 900 comment submissions from
         federal and state agencies; Native American tribes; companies/organizations; and
         individuals in response to the draft EIS. The transcripts of the public comment session
         and all written comments on the draft EIS are part of the public record for the project.33




                31
               42 U.S.C. § 4321 et seq. (2012). See also the Commission’s NEPA-
        implementing regulations at Title 18 of the Code of Federal Regulations, Part 380.
                32
                     83 Fed. Reg. 55,156 (2018).
                33
                 The transcript for the public comment session in Port Isabel, Texas, was filed in
        the record on January 2, 2019. See also Appendix H to the final EIS reproducing and
        responding to comments on the draft EIS.




                                                                                          JA309
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         24.    On March 15, 2019, Commission staff issued the final EIS for the project, and a
         public notice of the availability of the final EIS was published in the Federal Register.34
         The final EIS addresses geology; soils; water resources; wetlands; vegetation; wildlife
         and aquatic resources; threatened, endangered, and other special status species; land use,
         recreation, and visual resources; socioeconomics; cultural resources; air quality and
         noise; safety; cumulative impacts; alternatives; and all substantive environmental
         comments received on the draft EIS.

         25.    The final EIS concludes that construction and operation of the project will result in
         some adverse environmental impacts, but with the exception of impacts on visual
         resources and the cumulative impacts on the above-mentioned resources, these impacts
         will be reduced to less-than-significant levels with the implementation of applicants’
         proposed, and Commission staff’s recommended, mitigation measures, which are
         included as conditions in the appendix to this order.

        26.    The Texas LNG Project, combined with other projects in the geographic scope,
        including the proposed Rio Grande LNG and Annova LNG Projects on the Brownsville
        Ship Channel,35 would result in significant cumulative impacts on surface water quality
        in the Brownsville Ship Channel during operational vessel transits; on the federally-listed
        ocelot and jaguarundi from habitat loss and increased potential for vehicular strikes
        during construction; on the federally listed northern aplomado falcon from habitat loss;
        on visual resources due to the presence of new facilities; and on nearby NSAs during
        nighttime construction.

        27.    The Commission received several comments following the issuance of the final
        EIS, only one of which was an adverse comment concerning the final EIS itself. This
        comment and the resource areas addressed in the final EIS are discussed below.

                         1.     Geology

         28.   The primary impacts on geology would result from site preparation and grading,
         which would utilize cut and fill techniques as well as the import of fill. Other impacts
         would occur as a result of the dredging of the maneuvering basin.36 As a result,

                34
                     84 Fed. Reg. 10,818 (2019).
                35
                  Concurrently with this order, the Commission is also issuing orders approving
         the construction and operation of the Rio Grande LNG and Annova LNG Projects. See
         Rio Grande LNG, LLC, 169 FERC ¶ 61,131 (2019); Annova LNG Common
         Infrastructure, LLC, 169 FERC ¶ 61,132 (2019).
                36
                     Final EIS at 4-3.




                                                                                          JA310
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        construction of the Texas LNG Project would permanently alter the existing topography
        and geologic conditions at the site. Considering the subsurface conditions for the Texas
        LNG site, shallow foundations would be suitable for lightly loaded structures; however,
        as is common for heavier structures in areas with these types of soil conditions, the LNG
        storage tanks, liquefaction trains, and many associated structures would require deep
        foundations.37 Therefore, Texas LNG is proposing to drive precast square concrete piles
        for deep foundations for heavily loaded structures and settlement sensitive structures.38
        The project would not affect the extraction of mineral resources, and no blasting is
        anticipated during construction of the project.39

         29.     Texas LNG has proposed structural and mechanical elements to incorporate into
         the design of the project to mitigate potential geological hazards and other natural
         hazards, such as high winds, storm surges, severe flooding, and shoreline erosion.40 Due
         to the low relief across the Texas LNG site, there is little likelihood that landslides or
         slope movement at the site would be a realistic hazard.41 Based on Texas LNG’s
         proposed mitigation and design criteria, and Commission staff’s recommended mitigation
         measures, included in the appendix to this order, the final EIS concludes that the potential
         impacts on the Texas LNG Project from geologic hazards and other natural hazards will
         be minimal, and the Texas LNG Project will not significantly impact geologic resources.

                           2.    Soils

        30.     Construction of the Texas LNG Project could affect soil resources by increasing
        the potential for erosion, compaction, and mixing of topsoil and subsoil.42 Further, most
        soils in the project site have low revegetation potential due to high salinity.43 Texas LNG
        plans to import soils and may use dredge material to raise the elevation of the project




                37
                     Id. at 4-236.
                38
                     Id.
                39
                     Id. at 5-358.
                40
                     See id. at 4-3.
                41
                     Id. at 4-244.
                42
                     Id. at 5-358.
                43
                     Id.




                                                                                          JA311
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         site.44 To minimize soil impacts, Texas LNG would implement the mitigation measures
         contained in the project-specific Environmental Construction Plan (ECP).45 Dredging at
         the LNG terminal site would be conducted in accordance with permits issued by the
         COE.46 To minimize shoreline erosion, Rio Grande would stabilize the waterfront along
         the Brownsville Ship Channel, and would maintain the integrity of the shoreline
         throughout the operational life of the terminal.47

         31.    Texas LNG has also prepared a Spill Prevention and Response Plan for use during
         construction to minimize the potential for soils to become contaminated from spills of
         hazardous materials.48 Commission staff recommends, and we require in Environmental
         Condition 13, that Texas LNG provide the Commission with a copy of its Spill
         Prevention, Control, and Countermeasure (SPCC) Plan for review and approval prior to
         operation. Therefore, the final EIS concludes that impacts on soil resources would be
         permanent but minor and would be adequately minimized.

                          3.    Water Resources

        32.    Texas LNG would not directly withdraw groundwater for construction or
        operation of the project, and any indirect withdrawals of groundwater, as a result of
        Texas LNG obtaining water from the Brownsville Public Utility Board’s municipal water
        supply, would not significantly impact groundwater quantity.49 There are no drinking
        water wells or springs within 150 feet of the Project site.50 Although shallow

               44
                    Id.
               45
                  Id. The project-specific ECP is based on the 2013 FERC Upland Erosion
         Control, Revegetation, and Maintenance Plan (Plan) and Wetland and Waterbody
         Construction and Mitigation Procedures (Procedures), which are a set of baseline
         construction and mitigation measures developed to minimize the potential environmental
         impacts of construction on upland areas, wetlands, and waterbodies. See Federal Energy
         Regulatory Commission, Environmental Guidelines (May 2013),
         https://www.ferc.gov/industries/gas/enviro/guidelines.asp.
               46
                    Final EIS at 5-359.
               47
                    Id. at 4-24, 4-70, 4-236 – 4-237, 4-303.
               48
                    Id. at 5-359.
               49
                    Id.
               50
                    Id. at 4-13, 5-359.




                                                                                      JA312
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         groundwater areas could be vulnerable to contamination caused by inadvertent surface
         spills of hazardous materials and placement of the deep piles required for the LNG
         storage tanks, ship loading, and berthing areas, implementation of Texas LNG’s Spill
         Prevention and Response Plan during construction and SPCC Plan, as referenced above,
         during operation, would help to ensure that impacts on groundwater as a result of
         contamination would not be significant.51

        33.    No waterbodies are present within the project site, with the exception of the
        Brownsville Ship Channel. Although Texas LNG proposes to carry out dredging and
        dredge material disposal within the project area, the final EIS concludes that Texas
        LNG’s proposed dredge disposal methods would sufficiently minimize project-related
        turbidity and sedimentation within the Brownsville Ship Channel.52

         34.    Based on the implementation of identified mitigation measures, the final EIS
         concludes that impacts on water resources will be adequately minimized and are not
         significant.

                          4.    Wetlands

         35.    Construction of the Texas LNG Project would affect a total of 45.2 acres of
         wetlands, of which 42.9 acres would be permanently impacted as a result of dredging for
         the maneuvering basin and fill for certain permanent structures.53 Texas LNG prepared a
         preliminary Compensatory Mitigation Plan to mitigate permanent wetland impacts, but it
         was not approved by the COE. To date, Texas LNG has not filed a revised
         Compensatory Mitigation Plan with the COE. Texas LNG’s wetland mitigation would
         include adhering to the measures in the Commission’s Procedures, as well as any
         measures included in a Compensatory Mitigation Plan approved by the COE.
         Environmental Condition 9 requires Texas LNG to demonstrate that it has received all
         application federal authorizations, including a COE section 404 permit, prior to
         commencing construction.54




               51
                    Id.
               52
                    Id. at 5-360.
               53
                    Id. at 5-361.
               54
                   COE will not issue Texas LNG a section 404 permit until a suitable mitigation
         plan is developed to mitigate project impacts on wetlands. Id.




                                                                                       JA313
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         36.    With the implementation of an appropriate project-specific mitigation plan and
         the proposed mitigation measures discussed in the final EIS, the final EIS concludes that
         impacts on wetland resources will be adequately minimized and are not significant.

                           5.   Vegetation

         37.     Construction and operation of the Texas LNG Project would permanently impact
         249.3 acres of vegetation.55 To minimize impacts on vegetation communities, Texas
         LNG would construct and operate the project in accordance with its project-specific
         ECP.56 The Natural Resources Conservation Service and the Plant Materials Center
         anticipate revegetation of the project area to be difficult. Texas LNG would utilize
         topsoil stripped from areas with the highest potential for revegetation prior to grading
         activities, and—pursuant to a recommendation from the Natural Resources Conservation
         Service—Texas LNG has developed a native seed mix in consultation with the Kika de la
         Garza Plant Materials Center best suited to the project site conditions.

         38.     Five rare plant communities are present on the project site, as well as one rare
         plant species, lily of the loma.57 The Texas Parks and Wildlife Department (TPWD)
         expressed interest in preserving populations of lily of the loma documented at the project
         site.58 The final EIS recommends, and we require in Environmental Condition 14, that
         Texas LNG coordinate with the TPWD regarding seed/fruit collection from rare plant
         species impacted by the project.

         39.     Recognizing the potential that land disturbance during construction of the project
         may enable the establishment of exotic or invasive plant communities and noxious
         weeds, Texas LNG would implement the measures outlined in its Noxious Weed and
         Invasive Plant Plan to minimize the spread of invasive species and treat invasive species
         if they become established.59

         40.   Based on the implementation of the proposed mitigation measures, the final EIS
         concludes that construction and operation of the project would not have a significant
         impact on vegetation communities.

                55
                     Id.
                56
                     Id.
                57
                     Id.
                58
                     Id.
                59
                     Id. at 5-361 – 5-362.




                                                                                         JA314
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                           6.       Wildlife and Aquatic Resources

        41.     The construction and operation of the Texas LNG Project would permanently
        affect wildlife and wildlife habitats, with impacts including displacement, stress, and
        direct mortality of some less mobile species, as well as a reduction in suitable cover,
        nesting, and foraging habitat due to vegetation clearing.60 Wildlife in the vicinity of the
        project would also likely be affected by impacts associated with noise and artificial
        light.61 However, the greatest noise impacts would be during construction, and therefore
        short-term in nature, and Texas LNG would implement measures outlined in its Facility
        Lighting Plan to minimize the effects of lighting on wildlife during operation, including
        utilizing motion detectors, timers, and shielded, down-facing lights.62 Impacts on
        wildlife would be further minimized through the implementation of the project-specific
        ECP.63

        42.    Due to the proximity of the project site to the Laguna Atascosa National Wildlife
        Refuge, wildlife within the refuge would likely be impacted by increased noise and light
        during both construction and operation of the project. However, impacts would be
        greatest during construction due to increased traffic and noise, both of which would
        decrease significantly during operation.64 With the implementation of the measures
        proposed by Texas LNG, the final EIS concludes that impacts on wildlife from
        construction and operation of the projects will not be significant.

         43.    The project is within the migratory bird Central Flyway, which spans the central
         portion of North America into Central America.65 Texas LNG observed several
         migratory birds of conservation concern during surveys.66 In addition to disturbance of
         habitat and potential sensory disturbances, elevated structures such as the storage tanks


                60
                     Id. at 5-362.
                61
                     Id.
                62
                     Id. at 4-49.
                63
                     Id.
                64
                     Id. at 5-362.
                65
                  See id. at 4-50. South Texas acts as a funnel for migratory birds as they try to
         avoid flying too far east (into open Gulf waters) or west (into desert habitat).
                66
                     Id. at 4-53.




                                                                                         JA315
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        and flares would also affect migratory birds by increasing the potential for collisions.67
        The EIS recommends—and we require in Environmental Condition 15—that prior to
        construction Texas LNG will consult with the FWS to revise its Migratory Bird Plan to
        address recommendations from the FWS and the TPWD. Thus, the EIS concludes that
        the Texas LNG Project would not have a significant impact on migratory bird
        populations.68

        44.     Impacts on aquatic resources from construction and operation of the Texas LNG
        Project include increased turbidity and sediment suspension, increased in-water noise,
        increased vessel traffic, and alteration of light regimes and dissolved oxygen
        concentrations.69 Texas LNG proposes to minimize turbidity and sediment suspension by
        utilizing a hydraulic cutterhead dredge, which produces less turbidity and sedimentation
        than a clamshell dredge.70 Texas LNG would also implement construction techniques
        that minimize noise effects on aquatic species, including utilizing bubble curtains and
        cushion blocks to minimize underwater sound pressures. Environmental Condition 16 in
        the appendix to this order requires Texas LNG to perform test drives prior to initiating
        pile-driving activities, file acoustic monitoring results with the Commission and NMFS,
        and implement additional mitigation measures if noise impacts exceed anticipated levels.

        45.     Due to the limited frequency of LNG carriers calling on the LNG terminal, the EIS
        concludes that impacts on aquatic resources from increased ship traffic are not expected
        to be significant.71

        46.    Construction and operation of the project would also result in temporary and
        permanent impacts on essential fish habitat (EFH). Dredging of the maneuvering basin
        would permanently convert 39.4 acres of tidal flats to open water habitat and would
        impact the existing open water areas associated with the Brownsville Ship Channel, all of
        which is characterized as EFH.72 However, the tidal flats within and surrounding the
        project site have historically been cut off from the influences of natural tidal exchange.
        As stated in the final EIS, dredging is anticipated to restore tidal flows to the tidal flats

               67
                    See id. at 4-52.
               68
                    Id. at 4-55.
               69
                    Id. at 5-363.
               70
                    Id.
               71
                    Id.
               72
                    Id.




                                                                                          JA316
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         surrounding the project site, improving the overall aquatic habitat and enhancing EFH in
         the area.73

         47.    Texas LNG coordinated with the National Marine Fisheries Service (NMFS) on
         potential impacts on EFH. In a filing dated February 5, 2019, NMFS concurred with
         Commission staff’s conclusion that project impacts would be “temporary and minor.”74
         Therefore, the EFH consultation required by the Magnuson-Stevens Fishery Conservation
         and Management Act is concluded, and no further coordination with the NMFS for EFH
         is required.75

         48.     With implementation of the proposed mitigation measures, the final EIS concludes
         that the project would have minor and localized impacts on aquatic resources.

                           7.       Threatened, Endangered, and Other Special Status Species

         49.      The final EIS identifies 21 species that are federally listed as threatened or
         endangered (or are identified as proposed, candidates, or under review for federal listing)
         that may occur within the vicinity of the project.76 Within the project vicinity, critical
         habitat has been designated for two species (the piping plover and the loggerhead sea
         turtle).77 As required by section 7 of the Endangered Species Act of 1973, we requested
         that the FWS and NMFS accept the information provided in the draft EIS as the
         Biological Assessment for the Texas LNG Project. Commission staff determined that the
         project is not likely to adversely affect listed species or critical habitat under FWS’s
         purview, and on February 8, 2019, FWS concurred for all species except the ocelot and
         northern aplomado falcon.78 In its February 8 letter, as well as in an earlier letter dated
         December 17, 2018, the FWS indicated that the cumulative impact of the proposed
         project—when combined with other projects in the area—would result in significant
         cumulative impacts on the ocelot due to habitat loss. Based on the likely significant
         cumulative impact, the FWS asserts that the proposed project is likely to adversely affect

                73
                     Id.
                74
                  Letter from Virginia M. Fay, NMFS, concurring with staff’s EFH assessment as
         included in the Draft Environmental Impact Statement (filed Feb. 6, 2019).
                75
                     Id.
                76
                     Final EIS at 4-83 – 4-86 (Table 4.7-1).
                77
                     Id. at 4-82.
                78
                     Id. at 5-364.




                                                                                         JA317
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         the ocelot, and the EIS notes that we have revised the BA to reflect this determination.
         Similarly, the FWS did not concur with staff’s determination of not likely to adversely
         affect for the northern aplomado falcon. However, FWS notes that there is a 99-year Safe
         Harbor Agreement that authorizes “take” on property owned by the Brownsville
         Navigation District.79 Therefore, no additional consultation on this species is necessary.
         The EIS also notes that the eastern black rail was recently proposed to be listed as
         threatened, but concludes that the proposed project is not likely to jeopardize the
         continued existence of the eastern black rail. On March 25, 2019, FERC staff sent a
         letter to the FWS requesting formal consultation under section 7 of the Endangered
         Species Act for the ocelot and requesting concurrence for the effect determination of the
         eastern black rail. In a filing dated May 15, 2019, and filed August 7, 2019, FWS
         responded requesting additional details, and explained that formal consultation would be
         initiated upon receipt of this information. Consultation will result in issuance of a
         Biological Opinion by FWS, which will include a jeopardy determination.80 Should FWS
         find that an action may adversely affect a species, but not jeopardize its continued
         existence, FWS will also issue an incidental take statement for the project, detailing:
         (1) the potential impact of the project on the listed species; (2) reasonable and prudent
         measures to minimize that impact; (3) terms and conditions necessary to implement those
         measures; and (4) procedures to dispose of any individuals of a species actually taken. 81
         Formal consultation is considered complete upon issuance of the biological opinion.82
         Environmental Condition 18 requires that Commission staff complete Endangered
         Species Act consultation with FWS before Texas LNG may commence construction.

         50.    Commission staff determined that the project is not likely to adversely affect listed
         species or critical habitat under NMFS’s purview. In a letter dated August 8, 2019,
         NMFS concluded the same.83 Therefore, the consultation required under the Endangered
         Species Act is completed, and no further coordination with the NMFS is required.84


                79
                     Id.
                80
                     50 C.F.R. § 402.14(h) (2019).
                81
                     50 C.F.R. § 402.14(i)(1) (2019).
                82
                     50 C.F.R. § 402.14(m)(1) (2019).
                83
                  Letter from David Bernhart, NMFS, in response to the Commission’s
         October 30, 2018 letter requesting consultation pursuant to Section 7 of the Endangered
         Species Act (filed Aug. 22, 2019).
                84
                     Id.




                                                                                          JA318
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         51.    Although the final EIS found that marine mammals, such as bottlenose dolphins,
         may be affected by in-water pile driving during construction and increased vessel traffic
         during operation, Texas LNG will minimize this potential through the use of soft starts
         and bubble curtains and/or cushion blocks during pile-driving activities.85 During
         operation, vessels would implement the NMFS Vessel Strike Avoidance Measures and
         Reporting for Mariners (2008).86 Environmental Condition 20 requires Texas LNG to
         consult with NMFS to identify mitigation measures to avoid or minimize take of marine
         mammals during in-water pile driving.

        52.    The final EIS identifies 55 state-listed threatened or endangered species with the
        potential to occur in Cameron County, where the proposed project would be located.87
        However, with the applicants’ implementation of measures identified by TPWD, as well
        as our recommendation, the final EIS concludes that the Texas LNG Project would not
        significantly impact state-listed species.88

        53.    We have reviewed all the information and analysis contained in the record
        regarding the potential environmental effects of the project on all threatened, endangered
        and other special status species, including the ocelot, jaguarundi, and aplomado falcon.
        With imposition of the conditions required herein, which include any measures which
        may be required by FWS upon completion of consultation, we find construction and
        operation of the project as approved will be an environmentally acceptable action and not
        inconsistent with the public interest.

                          8.        Land Use, Recreation, and Visual Resources

         54.    Land use in the vicinity of the project is generally classified as wetlands, scrub
         shrub, open land, and open water.89 The project site consists of a 625-acre parcel, as well
         as an additional 26.5-acre area necessary to connect the parcel to the Brownsville Ship


                85
                     Final EIS at 5-365.
                86
                 National Marine Fisheries Service, Vessel Strike Avoidance Measures and
        Reporting for Mariners NOAA Fisheries Service, Southeast Region (February 2008),
        https://www.fisheries.noaa.gov/webdam/download/92937962.
                87
                  See Appendix D to the final EIS detailing all state-listed species with potential
         to occur within Cameron County along with a description of habitat requirements.
                88
                     Final EIS at 5-365.
                89
                     Id. at 4-97.




                                                                                          JA319
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         Channel.90 Construction of the Texas LNG Project would temporarily impact 311.5 acres
         of the site, of which 282.0 acres would be permanently impacted by operation.91 The
         land use types that will be affected by construction at the project site include open land
         (47 percent), scrub shrub (28 percent), wetland (14 percent), and open water (11
         percent).92 Although the project would result in the conversion of a large portion of
         currently undeveloped land into industrial land, the project site is owned by the
         Brownsville Navigation District and is zoned for industrial use. There are no existing or
         planned residential developments within 0.25 mile of the project site, but Rio Grande
         LNG, LLC has proposed to build an LNG export terminal immediately west of the
         project site on the north side of the Brownsville Ship Channel. In addition Annova LNG
         Common Infrastructure, LLC and three affiliate entities have proposed a similar LNG
         facility approximately 1.7 miles southwest of the project site, also on the north side of the
         channel.93 The final EIS concludes that project impacts on land use in the area from
         construction and operation of the Texas LNG Project would not be significant.

        55.    Project construction and operation may impact recreational activities at the Laguna
        Atascosa National Wildlife Refuge. The nearest designated recreation area within the
        refuge is over two miles from the proposed project site, but a total of nine recreation
        areas were identified within five miles of the site.94 Activities at the nearby South Bay
        Coastal Preserve and Paddling Trail, Isla Blanca Park, and Loma Ecological Preserve
        may also be impacted by the recreation sites’ proximity to vessel transit routes, as
        increased ship traffic during construction and operation could adversely affect
        recreational boaters accessing the areas by delaying or temporarily restricting access
        across the Brownsville Ship Channel.95

        56.    The presence of the project and associated increased lighting would have a
        permanent impact on visual resources.96 Due to the relatively undeveloped nature of the
        project area, the visual sensitivity of nearby recreation areas, and the lack of feasible

                90
                     Id. at 4-98.
                91
                     Id.
                92
                     Id. at 4-102.
                93
                     Id. at 4-103 – 4-104.
                94
                     Final EIS at 4-104 – 4-105.
                95
                     Id. at 5-366.
                96
                     Id.




                                                                                          JA320
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        visual screening measures, the final EIS concludes that the project would result in a
        significant impact on visual resources when viewed from the Laguna Atascosa National
        Wildlife Refuge and would have a negligible to moderate permanent impact on the other
        visual resources evaluated.97

        57.     The Texas LNG Project would be constructed within a designated coastal zone.98
        Environmental Condition 21 requires the applicants, prior to construction, to file a
        determination that the projects are consistent with the Texas Coastal Zone Management
        Program. The project would be designed and built in compliance with conditions set
        forth in various agency authorizations, including any permits required under the Texas
        Coastal Zone Management Program.99 Considering the existing industrial zoning at the
        project site and the proximity of nearby proposed projects and recreation areas, the final
        EIS concludes that the land use and recreation impacts associated with the project would
        not be significant.100 With the exception of impacts on visual resources when viewed
        from the Laguna Atascosa NWR, impacts on visual resources would also not be
        significant.101

                           9.    Socioeconomics

        58.     The final EIS concludes that construction of the Texas LNG Project would not
        have a significant adverse impact on the local population or existing local workforce.102
        Additionally, there would not be any disproportionately high or adverse environmental
        and human health impacts on low-income and minority populations.103 However, vehicle
        traffic is anticipated to temporarily increase substantially during construction of the

                97
                     Id.
                98
                     See id. at 4-141.
                99
                     See id.
                100
                      Id. at 5-365 – 5-366.
                101
                      Id. at 5-366.
                102
                      See id. at 5-367 – 5-368.
                103
                   Id. at 5-368. The dissent suggests that it is not enough to find that low-income
         and minority groups “will experience conditions no worse” than the surrounding county.
         However, the final EIS concludes, and we agree, that no populations in the area,
         including the low-income and minority groups, will experience significance adverse
         impacts.




                                                                                         JA321
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         project.104 To minimize traffic and safety hazards as a result of this increase, Texas LNG
         would coordinate with the Cameron County Sherriff’s office to manually control the
         traffic during construction as a result of employees leaving the project site.105

         59.    As noted above, operation of the Texas LNG Project could also result in impacts
         on marine traffic, but due to the infrequency of anticipated barge deliveries during
         construction and limited frequency of LNG carriers calling on the LNG terminal, the final
         EIS concludes that impacts from increased ship traffic are not expected to be
         significant.106 Therefore, the final EIS concludes that socioeconomic impacts associated
         with the project would be minor.

                            10.   Cultural Resources

         60.     Construction and operation of the Texas LNG Project could have the potential to
         affect one historic property, Site 41CF8 (Garcia Pasture Site).107 The final EIS notes that
         staff have not yet completed consultations with the Advisory Council on Historic
         Preservation (Advisory Council) regarding the adverse impacts on the Garcia Pasture Site
         and recommends, as stated in Environmental Condition 23, that consultations with the
         Advisory Council be completed prior to the start of construction. With the
         implementation of this condition, as well as Texas LNG’s treatment plan, we conclude
         that impacts on cultural resources would not be significant.

                            11.   Air Quality and Noise

         61.     Air quality would be affected by construction and operation of the Texas LNG
         Project. Temporary impacts on air quality associated with the emissions generated from
         fossil-fuel fired construction equipment and fugitive dust would result during the nearly
         5-year-long construction period. However, these impacts would be temporary and
         localized and would not have a long-term effect on regional air quality.108 Although
         emissions during the period when commissioning and/or operational activities are
         occurring concurrent with construction activities could result in intermittent exceedances



                104
                      Id. at 5-367.
                105
                      Id.
                106
                      Id.
                107
                      Id. at 5-368.
                108
                      Id.




                                                                                         JA322
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         of certain National Ambient Air Quality Standards (NAAQS), these exceedances would
         not be persistent.109

         62.     The project is not subject to federal Prevention of Significant Deterioration review
         or permitting, and as a result, is subject instead to the New Source Review minor source
         construction permitting program under Texas regulations.110 Additionally, because
         potential operating emissions for the project exceed the Title V major source threshold
         for at least one criteria air pollutant, the project is subject to the Title V operating permit
         program. Texas LNG submitted an air quality impact analysis demonstrating that for
         operational emissions of each criteria air pollutant, the model-predicted impact plus
         background concentration would not result in an exceedance of the NAAQS. 111

         63.    Based on staff’s analyses and Texas LNG’s proposed mitigation measures, the
         final EIS concludes that although construction of the project would result in elevated
         emissions near construction areas that would impact local air quality, there would be no
         regionally significant impacts.

         64.     Certain construction activities, such as pile driving, could produce peak sound
         levels perceptible above the background sound levels at nearby NSAs.112 However, the
         predicted sound levels at nearby NSAs during project construction are below the
         Commission’s criterion of a day-night average sound level of 55 A-weighted decibels.
         To minimize impacts at NSAs, Texas LNG has proposed to conduct pile-driving
         activities only during daytime hours.113

         65.     Operation of the LNG terminal would also generate noise continually throughout
         the life of the project. However, the predicted sound levels for operations are below the
         Commission’s criterion at the nearest NSAs, and increases in ambient sound level due to

                109
                   Concurrent emissions from phased-in construction and operation of the project
         would temporarily impact local air quality, and could result in exceedances of the
         NAAQS in the immediate vicinity of the project during construction years. However,
         these exceedances would not be persistent at any one time during these years due to the
         dynamic and fluctuating nature of construction activities within a day, week, or month.
         Id.
                110
                      Id. at 5-368 – 5-369.
                111
                      Id. at 5-369.
                112
                      Id.
                113
                      Id.




                                                                                             JA323
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        operations would be imperceptible to most listeners.114 To ensure NSAs are not
        significantly affected by operational noise, Environmental Conditions 25 and 26 require
        the applicants to conduct post-construction noise surveys after each noise-producing unit
        (e.g., each liquefaction train) is placed into service and after the entire project is placed
        into service. Therefore, the final EIS concludes that noise impacts due to operation of the
        project would not be significant.

                           12.   Greenhouse Gas Emissions

        66.    With respect to impacts from GHGs, the final EIS discloses the GHG emissions
        from construction and operation of the project, the climate change impacts in the region,
        and the regulatory structure for GHGs under the Clean Air Act.115

        67.     The final EIS estimated that operation of the completed Texas LNG Project could
        result in GHG emissions of up to 613,901.2 metric tons per year of carbon dioxide
        equivalent (CO2e).116 To provide context to the direct and indirect117 GHG estimate,
        according to the national net CO2e emissions estimate in the EPA’s Inventory of U.S.
        Greenhouse Gas Emissions and Sinks (EPA 2019), 5.743 billion metric tons of CO2e
        were emitted at the national level in 2017 (inclusive of CO2e sources and sinks).118 The
        operational emissions of this project could potentially increase annual CO2e emissions
        based on the 2017 levels by approximately 0.011 percent at the national level. Currently,
        there are no national targets to use as benchmarks for comparison and, similarly, Texas
        does not have GHG targets or benchmarks.119


               114
                     Id.
               115
                     Id. at 4-164 – 4-187, 4-342 – 4-344.
               116
                     Id. at Table 4.11.1-11.
               117
                     Indirect GHG emissions are from vessel traffic associated with the project.
               118
                 EPA, Inventory of U.S. Greenhouse Gas Emissions and Sinks, Docket No. 430-
        R-19-001, at ES-8 (2019), https://www.epa.gov/sites/production/files/2019-
        04/documents/us-ghg-inventory-2019-main-text.pdf.
               119
                  The national emissions reduction targets expressed in the EPA’s Clean Power
         Plan were repealed, Greenhouse Gas Emissions From Existing Electric Utility Generating
         Units; Revisions to Emission Guidelines Implementing Regulations, 84 Fed. Reg. 32,520,
         32,522-32, 532 (July 8, 2019), and the targets in the Paris climate accord are pending
         withdrawal.




                                                                                          JA324
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         68.    The final EIS included a qualitative discussion that addressed various effects of
         climate change.120 The final EIS acknowledges that the quantified GHG emissions from
         the construction and operation of the project will contribute incrementally to climate
         change.121 Further, the Commission has previously concluded it could not determine a
         project’s incremental physical impacts on the environment caused by GHG emissions.122
         The Commission has also previously concluded it could not determine whether a
         project’s contribution to climate change would be significant.123

                            13.   Reliability and Safety

         69.     As part of the NEPA review, Commission staff assessed potential impacts to the
         human environment in terms of safety and whether the proposed facilities would operate
         safely, reliably, and securely. Commission staff conducted a preliminary engineering and
         technical review of the Texas LNG design, including potential external impacts based on
         the site location. Based on this review, the final EIS recommends a number of mitigation
         measures for implementation prior to initial site preparation, prior to construction of final
         design, prior to commissioning, prior to introduction of hazardous fluids, prior to
         commencement of service, and throughout the life of the facility, to enhance the
         reliability and safety of the facility. With these measures, the final EIS concludes that
         acceptable layers of protection or safeguards would reduce the risk of a potentially
         hazardous scenario from developing that could impact the offsite public.124 These
         recommendations have been adopted as mandatory conditions in the appendix to this
         order.

        70.    Texas LNG states that the proposed project would be designed, constructed,
        operated, and maintained to meet or exceed Coast Guard Safety Standards,125 the
        Department of Transportation (DOT) Minimum Federal Safety Standards,126 and other

                120
                      Final EIS at 4-342 – 4-344.
                121
                      Id. at 4-344.
                122
                   Dominion Transmission, Inc., 163 FERC ¶ 61,128, at PP 67-70 (2018)
         (LaFleur, Comm’r, dissenting in part; Glick, Comm’r, dissenting in part).
                123
                      Id.
                124
                      Final EIS at 5-371.
                125
                      33 C.F.R. pts. 105, 127 (2019).
                126
                      49 C.F.R. pts. 192 and 193 (2019).




                                                                                           JA325
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        applicable federal and state regulations.127 On February 14, 2018, the Coast Guard issued
        a Letter of Recommendation to the Commission indicating the Brownsville Ship Channel
        would be considered suitable for accommodating the type and frequency of LNG marine
        traffic associated with the project. If the project is authorized and constructed, the facility
        would be subject to the Coast Guard’s inspection and enforcement program to ensure
        compliance with the requirements of 33 C.F.R. 105 and 33 C.F.R. 127.128

        71.    Further, as noted above,129 PHMSA determined that the siting of the proposed
        LNG facilities complies with the federal safety standards governing the location, design,
        construction, operation, and maintenance of LNG facilities. The PHMSA Letter of
        Determination summarizes PHMSA’s evaluation of the hazard modeling results and
        endpoints used to establish exclusion zones, as well as its review of Texas LNG’s
        evaluation of potential incidents and safety measures that could have a bearing on the
        safety of plant personnel and the surrounding public.

        72.    In addition, Environmental Conditions 29, 33, 50, 60, 62, 70, 98, and 109 have
        been modified to be consistent with language in recently issued orders; however, the
        original intent of each environmental condition is the same. Furthermore, Environmental
        Condition 97—requiring an assessment of structural passive protection systems—has
        been added since the issuance of the final EIS. The intent of the modification is to ensure
        that adequate mitigation is provided to reduce the potential for cascading failures and
        reduce the risk to the offsite public.

         73.    Commission staff corresponded with the FAA in evaluating the impacts on and
         from the SpaceX rocket launch facility in Cameron County. Certain conditions of this
         order require Texas LNG to address potential impacts from rocket launch failures on the
         LNG Terminal.130 However, the extent of potential impacts on SpaceX operations, the
         National Space Program, and to the federal government would not fully be known until




                127
                   See final EIS at 1-20 – 1-21 (Table 1.5-1) (summarizing the major federal and
         state permits, approvals, and consultations required for the construction and operation of
         the Project).
                128
                      33 C.F.R. §§ 105 and 127 (2019).
                129
                      See supra P 18.
                130
                   See Environmental Conditions 31 (construction crew positioning procedures
         during rocket launch activity) and 114 (rocket launch monitoring procedures).




                                                                                           JA326
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         SpaceX submits an application with the FAA requesting to launch, and will depend on
         whether the LNG Terminal is under construction or in operation at that time.131

                          14.    Cumulative Impacts

         74.    The final EIS considered the cumulative impacts of the proposed Texas LNG
         Project with other projects or actions within the geographic and temporal scope of the
         project.132 The types of other projects evaluated in the final EIS that could potentially
         contribute to cumulative impacts on a range of environmental resources include non-
         jurisdictional facilities associated with the Texas LNG Project,133 including proposed
         LNG terminals, currently operating and future oil and gas projects, land transportation
         projects, commercial and industrial developments, and dredging projects.134

        75.    The final EIS concludes that, for the majority of resources where a level of impact
        could be ascertained, the project’s contribution to cumulative impacts on resources
        affected by the projects would not be significant, and that the potential cumulative
        impacts of the projects and the other projects considered would be minor or
        insignificant.135 However, the Texas LNG Project combined with other projects within
        the geographic scope, including the Annova LNG and Rio Grande LNG Projects, would
        contribute to potential significant cumulative impacts on surface water quality in the
        Brownsville Ship Channel during operational vessel transits; on the federally-listed ocelot
        and jaguarundi from habitat loss and increased potential for vehicular strikes during
        construction; on the federally listed northern aplomado falcon from habitat loss, and on
        visual resources due to the presence of new facilities. Since issuance of the final EIS,
        potential significant cumulative impacts on nearby NSAs from nighttime construction
        have been identified due to nighttime pile driving at the proposed Annova LNG Project.
        The final EIS discusses applicable mitigation measures, laws, and regulations protecting
        environmental resources, and permitting requirements to minimize effects on these


                131
                      Final EIS at 4-250.
                132
                      Id. at ES-13 – ES-15, 4-269 – 4-270.
                133
                  These include the approximately 10.2-mile-long, 30-inch-diameter intrastate
        natural gas pipeline, an auxiliary lane on State Highway 48 adjacent to the proposed
        Texas LNG Project site, 11 miles of 240-MW electric transmission line, and a 7.4-mile-
        long potable water line. Final EIS at 4-282 to 4-283.
                134
                      Id. at 5-371.
                135
                      Id. at 5-371 – 5-374.




                                                                                          JA327
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        resources. Below, we briefly address each potentially significant cumulative impact in
        turn.

        76.     Concurrent operation of the Texas LNG, Annova LNG, and Rio Grande LNG
        Projects would increase the number of large, ocean-going vessels transiting the
        Brownsville Ship Channel by 48 percent.136 Increased marine vessel traffic would result
        in a significant cumulative impact on surface water resources during operations from
        increased turbidity and shoreline erosion.137 The Texas LNG, Annova LNG, and Rio
        Grande LNG Projects would incorporate design features to minimize shoreline erosion
        and would be responsible for maintaining the shoreline to prevent future erosion.138
        Moreover, use of the channel by LNG carriers, barges, and support vessels would be
        consistent with the planned purpose and use of the Brownsville Ship Channel.139
        However, given the substantial increase in large vessel traffic within the channel related
        to the three Brownsville LNG projects, and other projects, the final EIS anticipates that
        cumulative impacts on surface water resources associated with shoreline erosion and
        turbidity from increased vessel traffic would be moderate to significant and persistent
        throughout the life of the projects.140

        77.     Due to the extent of habitat modification associated with the Texas LNG Project,
        and other projects in the geographic scope that would be built at the same time as the
        proposed Texas LNG Project, moderate to significant cumulative impacts would likely
        occur for certain federally listed threatened and endangered species. Specifically, the
        final EIS anticipates that significant cumulative impacts would likely occur for the ocelot
        and jaguarundi, given the loss and/or decrease in suitability of habitat within and adjacent
        to the projects and the increased potential for vehicular strikes during construction.141
        The final EIS also anticipates significant cumulative impacts for the northern aplomado
        falcon due to loss of foraging and nesting habitat and potential disruption of nesting in




               136
                     Id. at 4-303.
               137
                     Id.
               138
                     Id.
               139
                     Id. at 4-24.
               140
                     Id. at 4-303.
               141
                     Id. at 4-317.




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         the vicinity of the projects.142 Moderate cumulative impacts are anticipated for sea turtles
         due to dredging, vessel traffic, and pile driving.143

         78.    The potential for cumulative visual impacts would be greatest if, in addition to the
         proposed Texas LNG Project, the Annova LNG and Rio Grande LNG Projects are
         permitted and built concurrently along the Brownsville Ship Channel. Because motorists
         on State Highway 48 and other local roadways and visitors to local recreation areas
         would experience a permanent change in the existing viewshed during construction and
         operation of the projects, the final EIS concludes that the cumulative impacts of the three
         LNG projects on visual resources would be significant.144

         79.     With regards to nighttime construction noise, the only 24-hour construction
         proposed at the Texas LNG Project would be dredging.145 The estimated overall sound
         levels from construction associated with the Texas LNG Project are expected to be lower
         than 55 dBA Ldn, the Commission’s criterion for day-night average sound level, at all
         NSAs.146 However, significantly higher noise levels are estimated for the duration of the
         Annova LNG Project’s nighttime pile driving, resulting in significant cumulative noise
         impacts, even though the Texas LNG Project’s contribution to cumulative nighttime
         construction noise would be negligible.147 The predicted sound level impacts for
         simultaneous operation of all three LNG projects are much lower than the construction
         impacts, with potential sound level increases between 0.3 and 1.5 dBA Ldn at NSAs,
         resulting in a negligible to minor cumulative impact.148




                142
                      Id. at 4-318.
                143
                      Id. at 4-321.
                144
                      Id. at 5-372 – 5-373.
                145
                      Id. at 4-192.
                146
                      Id. at 4-196.
                147
                  See Rio Grande LNG Project Final EIS at 4-494 (identifying impacts from
        construction noise during nighttime pile driving as a potential significant cumulative
        impact when combined with other projects within the geographic scope). See also
        Annova LNG Project Final EIS at 4-341.
                148
                      Final EIS at 4-357.




                                                                                          JA329
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                           15.   Alternatives

         80.     The final EIS evaluated several alternatives to the Texas LNG Project, including
         the No-Action Alternative, system alternatives for the proposed LNG facility, alternative
         siting and design options, flaring system alternatives, and alternative means of power
         generation.149 The final EIS concluded that the alternatives proposed did not offer a
         significant environmental advantage and found that the proposed project, as modified by
         Commission staff’s recommended mitigation measures, was the preferred alternative.150

                           16.   Comments Received After issuance of the Final EIS

        81.     We received comments from Kenneth G. Teague, who contends that staff ignored
        two comments that were provided on the draft EIS: (1) that the natural gas pipeline
        would have greater wetland and other aquatic impacts than the liquefaction facility and
        that the Commission refuses to disclose the environmental impacts of the pipeline; and
        (2) that assumptions regarding the proposed revegetation measures are unrealistic.
        Contrary to the commenter’s assertions, Commission staff addresses both comments in
        the final EIS.151 In response to Mr. Teague’s first comment, the final EIS states that the
        non-jurisdictional natural gas pipeline is anticipated to impact 56.3 acres of wetlands
        while the project itself would impact 45.2 acres; however, the impacts associated with the
        pipeline would likely be temporary.152 The final EIS then reiterates that the Commission
        does not have jurisdiction over the siting or construction of the intrastate natural gas
        pipeline that would be owned, operated, and maintained by other entities; however, staff
        estimated the impacts associated with these non-jurisdictional facilities based on
        available information provided by Texas LNG.153 The final EIS addresses Mr. Teague’s
        second comment by explaining that the FERC Plan and Procedures require that applicants
        conduct post-construction monitoring of all areas disturbed by construction of a project,
        in addition to outlining success criteria for revegetation and restoration of temporary



               149
                     Id. at 5-374 – 5-375.
               150
                     Id.
               151
                   Mr. Teague’s first comment was addressed in appendix H-2 of the final EIS
         under the responses to comment codes “WET-04” and “GEN-20.” The second comment
         was addressed under the responses to comment codes “VEG-02” and “WILD-03.”
               152
                     Final EIS, app. H-2, at H-95.
               153
                     Id. at H-58.




                                                                                        JA330
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         workspaces and requiring that additional action be taken until the areas that are
         temporarily disturbed are properly restored.154

        82.    Mr. Teague also contends that the final EIS fails to acknowledge that the nearest
        seagrass beds are at the “Mexique” Flats, nearly 2 miles from the project site. While the
        final EIS did not reference the Mexiquita Flats by name, they are described on page 4-59
        as the nearest seagrass beds to the project site and are depicted on figure 4.6.2-1 in the
        final EIS. The commenter also contends that the final EIS, “intentionally and incorrectly
        asserts that all nearby seagrasses are hydrologically isolated from the Brownsville Ship
        Channel.” On the contrary, page 4-59 in section 4.6.2.1 of the final EIS states that there
        are seagrass beds along the northern portion of the Brownsville Ship Channel, and that
        the nearest point of hydrologic connectivity for seagrass beds in the South Bay is 2.2
        miles to the east.

         83.    Mr. Teague acknowledges that Texas LNG’s hydrodynamic modeling concludes
         that seagrasses would not be impacted by dredging, but asserts that the Commission
         should require Texas LNG to monitor total suspended solid levels and seagrass health
         during dredging. The Brownsville Ship Channel is an actively maintained shipping
         channel. As identified in section 4.13.1 of the final EIS, the Brownsville Ship Channel is
         routinely dredged for maintenance, including areas immediately adjacent to the seagrass
         beds discussed by the commenter and in the final EIS. Based on Texas LNG’s use of a
         cutterhead suction dredge to minimize turbidity, the results of the hydrodynamic
         modeling, the siting of the project along a routinely dredged ship channel, and the
         distance of the dredging activities from the nearest seagrass beds, the EIS concludes that
         the seagrass beds would not be impacted by construction or maintenance dredging.155
         We agree and are not recommending monitoring of total suspended solids during
         dredging.

         84.    In addition, Mr. Teague contends that the final EIS does not include a
         compensatory mitigation plan for impacts on wetlands—as required under section 404 of
         the Clean Water Act—and that Texas LNG has not proposed an alternative to the
         previously proposed mitigation that was based on “preservation only.” The commenter
         implies that the Commission should not have issued the final EIS until the final
         compensatory mitigation plan was available. As discussed in the response to comment
         code “WET-02” in appendix H-2 of the final EIS, wetland mitigation is under the
         jurisdiction of the COE and Texas LNG would not be permitted to begin construction



                154
                   Id. at H-91. See also supra P 36 (discussing measures to minimize impacts on
         vegetation communities).
                155
                      Final EIS at 4-63.




                                                                                             JA331
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         until all federal approvals and authorizations, including the mitigation plan as part of the
         section 404 permit, are complete.

                         17.    Environmental Analysis Conclusion

         85.     We have reviewed the information and analysis contained in the final EIS
         regarding potential environmental effects of the project, as well as other information in
         the record. We are adopting the environmental recommendations in the final EIS, as
         modified herein, and include them as conditions in the appendix to this order.
         Compliance with the environmental conditions appended to our orders is integral to
         ensuring that the environmental impacts of an approved project are consistent with those
         anticipated by our environmental analyses. Thus, Commission staff carefully reviews all
         information submitted. Commission staff will not issue a notice to proceed with an
         activity until the applicant has complied with all applicable conditions. We also note that
         the Commission has the authority to take whatever steps are necessary to ensure the
         protection of environmental resources during construction and operation of the project,
         including authority to impose any additional measures deemed necessary to ensure
         continued compliance with the intent of the conditions of the order, as well as the
         avoidance or mitigation of unforeseen adverse environmental impacts resulting from
         project construction and operation.156

         86.     We agree with the conclusions presented in the final EIS and find that the project,
         if constructed and operated as described in the final EIS, is an environmentally acceptable
         action. Further, for the reasons discussed throughout the order, as stated above, we find
         that the Texas LNG Project is not inconsistent with the public interest.

        87.     Any state or local permits issued with respect to the jurisdictional facilities
        authorized herein must be consistent with the conditions of this authorization. The
        Commission encourages cooperation between Texas LNG and local authorities.
        However, this does not mean that state and local agencies, through application of state or
        local laws, may prohibit or unreasonably delay the construction or operation of facilities
        approved by this Commission.157



                156
                      See Environmental Condition 2.
                157
                  See 15 U.S.C. § 717r(d) (state or federal agency’s failure to act on a permit
        considered to be inconsistent with Federal law); see also Schneidewind v. ANR Pipeline
        Co., 485 U.S. 293, 310 (1988) (state regulation that interferes with FERC’s regulatory
        authority over the transportation of natural gas is preempted) and Dominion
        Transmission, Inc. v. Summers, 723 F.3d 238, 245 (D.C. Cir. 2013) (noting that state and
        local regulation is preempted by the NGA to the extent it conflicts with federal




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         V.     Conclusion

         88.    At a hearing held on November 21, 2019, the Commission on its own motion
         received and made a part of the record in this proceeding all evidence, including the
         application, and exhibits thereto, and all comments, and upon consideration of the record,

         The Commission orders:

               (A) Texas LNG is authorized under section 3 of the NGA to site, construct, and
        operate the Texas LNG Project located in Cameron County, Texas, as described and
        conditioned herein, and as more fully described in Texas LNG’s application and
        subsequent filings, including any commitments made therein, subject to the
        environmental conditions contained in the Appendix of this order.

              (B)     Texas LNG’s proposed liquefaction facilities shall be constructed and
        made available for service within five years of the date of this order.

                (C) Texas LNG shall notify the Commission’s environmental staff by telephone
        or e-mail of any environmental noncompliance identified by other federal,
        state, or local agencies on the same day that such agency notifies Texas LNG. Texas
        LNG shall file written confirmation of such notification with the Secretary of the
        Commission within 24 hours.

                (D)    Defenders of Wildlife’s request for a formal hearing is denied.

        By the Commission. Commissioner Glick is dissenting with a separate statement
                           attached.

        (SEAL)



                                                       Nathaniel J. Davis, Sr.,
                                                         Deputy Secretary.




         regulation, or would delay the construction and operation of facilities approved by the
         Commission).




                                                                                         JA333
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                                               APPENDIX

                                       Environmental Conditions



                As recommended in the final environmental impact statement (EIS), this
         authorization includes the following conditions:

         1.    Texas LNG Brownsville, LLC (Texas LNG) shall follow the construction
               procedures and mitigation measures described in its application and supplements
               (including responses to staff data requests) and as identified in the EIS, unless
               modified by the Order. Texas LNG must:

                a.    request any modification to these procedures, measures, or conditions in a
                      filing with the Secretary of the Commission (Secretary);

               b.     justify each modification relative to site-specific conditions;

               c.     explain how that modification provides an equal or greater level of
                      environmental protection than the original measure; and

               d.     receive approval in writing from the Director of the Office of Energy
                      Projects (OEP) before using that modification.

         2.    The Director of the OEP, or the Director’s designee, has delegated authority to
               address any requests for approvals or authorizations necessary to carry out the
               conditions of the Order, and take whatever steps are necessary to ensure the
               protection of life, health, property, and the environment during construction and
               operation of the project. This authority shall allow:

               a.     the modification of conditions of the Order;

               b.     stop-work authority and authority to cease operation; and

               c.     the imposition of any additional measures deemed necessary to ensure
                      continued compliance with the intent of the conditions of the Order as well
                      as the avoidance or mitigation of unforeseen adverse environmental impact
                      resulting from project construction and operation.

         3.    Prior to any construction, Texas LNG shall file an affirmative statement with the
               Secretary certified by a senior company official, that all company personnel,
               environmental inspectors (EI), and contractor personnel will be informed of the



                                                                                           JA334
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               EI’s authority and have been or will be trained on the implementation of the
               environmental mitigation measures appropriate to their jobs before becoming
               involved with the construction and restoration activities.

         4.    The authorized facility locations shall be as shown in the EIS, as supplemented by
               filed site plans and maps. As soon as they are available, and before the start of
               construction, Texas LNG shall file with the Secretary any revised detailed site
               plan drawings for all facilities approved by the Order. All requests for
               modifications of environmental conditions of the Order or site-specific clearances
               must be written and must reference locations designated on these site plan
               drawings.

         5.    Texas LNG shall file with the Secretary detailed site plan drawings and aerial
               photographs identifying all facility relocations, and staging areas, storage yards,
               access roads, and other areas that would be used or disturbed and have not been
               previously identified in filings with the Secretary. Approval for each of these
               areas must be explicitly required in writing. For each area, the request must
               include a description of the existing land use/cover type, documentation of
               landowner approval, whether any cultural resources or federally listed threatened
               and endangered species would be affected, and whether any other environmentally
               sensitive areas are within or abutting the area. All areas shall be clearly identified
               on the maps/sheets/aerial photographs. Each area must be approved in writing by
               the Director of OEP before construction in or near that area.

               This requirement does not apply to extra workspace allowed by the Commission’s
               Upland Erosion Control, Revegetation, and Maintenance Plan and/or minor field
               realignments per landowner needs, and requirements that do not affect other
               landowners or sensitive environmental areas such as wetlands.

               Examples of alterations requiring approval include all facility location changes
               resulting from:

               a.     implementation of cultural resources mitigation measures;

               b.     implementation of endangered, threatened, or special concern species
                      mitigation measures;

               c.     recommendations by state regulatory authorities; and

               d.     agreements with individual landowners that affect other landowners or
                      could affect environmentally sensitive areas.




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        6.    Within 60 days of the Order and before construction begins, Texas LNG shall
              file an Implementation Plan with the Secretary, for review and written approval by
              the Director of OEP. Texas LNG must file revisions to the plans as schedules
              change. The plans shall identify the following:

              a.    how Texas LNG will implement the construction procedures and mitigation
                    measures described in its application and supplements (including responses
                    to staff data requests), identified in the EIS, and required by the Order;

              b.    how Texas LNG will incorporate these requirements into the contract bid
                    documents, construction contracts (especially penalty clauses and
                    specifications), and construction drawings so that the mitigation required at
                    each site is clear to onsite construction and inspection personnel;

              c.    the number of EIs assigned to the project and how the company will ensure
                    that sufficient personnel are available to implement the environmental
                    mitigation;

               d.    company personnel, including EIs and contractors, who will receive copies
                     of the appropriate material;

               e.    the location and dates of the environmental compliance training and
                     instructions Texas LNG will give to all personnel involved with
                     construction and restoration (initial and refresher training as the project
                     progresses and personnel change), with the opportunity for OEP staff to
                     participate in the training session(s);

               f.    the company personnel (if known) and specific portion of Texas LNG’s
                     organization having responsibility for compliance;

               g.    the procedures (including use of contract penalties) Texas LNG will follow
                     if noncompliance occurs; and

               h.    for each discrete facility, a Gantt or PERT chart (or similar project
                     scheduling diagram), and dates for:

                            i.       the completion of all required surveys and reports;

                            ii.      the environmental compliance training of onsite personnel;

                            iii.     the start of construction; and

                            iv.      the start and completion of restoration.



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        7.    Texas LNG shall employ at least one EI for the project. Each EI shall be:

              a.     responsible for monitoring and ensuring compliance with all mitigation
                     measures required by the Order and other grants, permits, certificates, or
                     other authorization documents;

              b.     responsible for evaluating the construction contractor’s implementation of
                     the environmental mitigation measures required in the contract (see
                     condition 6 above) and any other authorizing document;

              c.     empowered to order correction of acts that violate the environmental
                     conditions of the Order, and any other authorizing document;

              d.     a full-time position, separate from all other activity inspectors;

              e.     responsible for documenting compliance with the environmental conditions
                     of the Order, as well as any environmental conditions/permit requirements
                     imposed by other federal, state, or local agencies; and

              f.     responsible for maintaining status reports.

        8.    Beginning with the filing of its Implementation Plan, Texas LNG shall file
              updated status reports with the Secretary on a monthly basis until all construction
              and restoration activities are complete. Problems of a significant magnitude shall
              be reported to the FERC within 24 hours. On request, these status reports will
              also be provided to other federal and state agencies with permitting
              responsibilities. Status reports shall include the following:

              a.     an update on Texas LNG’s efforts to obtain the necessary federal
                     authorizations;

              b.     project schedule including the current construction status, work planned for
                     the following reporting period, and any schedule changes for stream
                     crossings or work in other environmentally-sensitive areas;

               c.    a listing of all problems encountered, contractor
                     nonconformance/deficiency logs, and each instance of noncompliance
                     observed by the EIs during the reporting period (both for the conditions
                     imposed by the Commission and any environmental conditions/permit
                     requirements imposed by other federal, state, or local agencies);

               d.    a description of the corrective and remedial actions implemented in
                     response to all instances of noncompliance, nonconformance, or deficiency;



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               e.     the effectiveness of all corrective and remedial actions implemented;

               f.     a description of any landowner/resident complaints which may relate to
                      compliance with the requirements of the Order, and measures taken to
                      satisfy their concerns; and

               g.     copies of any correspondence received by Texas LNG from other federal,
                      state, or local permitting agencies concerning instances of noncompliance,
                      and Texas LNG’s response.

         9.    Texas LNG must receive written authorization from the Director of OEP before
               commencing construction of any project facilities. To obtain such
               authorization, Texas LNG must file with the Secretary documentation that it has
               received all applicable authorizations required under federal law (or evidence of
               waiver thereof).

         10.   Texas LNG must receive written authorization from the Director of OEP prior to
               introducing hazardous fluids into the LNG terminal. Instrumentation and
               controls, hazard detection, hazard control, and security components/systems
               necessary for the safe introduction of such fluids shall be installed and functional.

         11.   Texas LNG must receive written authorization from the Director of OEP before
               placing the LNG terminal into service. Such authorization will only be granted
               following a determination that the facilities have been constructed in accordance
               with the FERC approval, can be expected to operate safely as designed, and the
               rehabilitation and restoration of the areas affected by the LNG terminal are
               proceeding satisfactorily.

         12.   Within 30 days of placing the authorized facilities in service, Texas LNG shall
               file an affirmative statement with the Secretary, certified by a senior company
               official:

               a.     that the facilities have been constructed in compliance with all applicable
                      conditions, and that continuing activities will be consistent with all
                      applicable conditions; or

               b.     identifying which conditions of the Order Texas LNG has complied with or
                      will comply with. This statement shall also identify any areas affected by
                      the project where compliance measures were not properly implemented, if
                      not previously identified in filed status reports, and the reason for
                      noncompliance.




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        13.   Prior to placing the LNG terminal into service, Texas LNG shall file with the
              Secretary, for review and written approval by the Director of the OEP, its Spill
              Prevention, Containment, and Countermeasure Plan for operation of the project.
              (section 4.2.4)

        14.   Prior to construction, Texas LNG shall file with the Secretary, for review and
              written approval by the Director of OEP, a plan for the collection of seed/fruit
              from rare plant species within the proposed project site developed in consultation
              with the Texas Parks and Wildlife Department (TPWD). (section 4.5.4)

        15.   Prior to construction, Texas LNG shall consult with the U.S. Fish and Wildlife
              Service (FWS) to develop a revised Migratory Bird Plan that addresses the TPWD
              and FWS recommendations. Texas LNG shall file with the Secretary the final
              Migratory Bird Plan and evidence of consultation with the FWS. (section 4.6.1.3)

        16.   Prior to initiating pile-driving activities, Texas LNG shall perform initial test
              drives to measure the actual underwater noise generated during in-water pile
              driving. Following the completion of the initial test drives, Texas LNG shall file
              with the Secretary and the National Marine Fisheries Service (NMFS) the acoustic
              monitoring methods and results, including any additional mitigation measures that
              it will implement to reduce noise to anticipated levels. Texas LNG shall not
              initiate in-water pile driving for the project until approved by the Director of OEP.
              (section 4.6.2.2)

        17.   During in-water construction activities, Texas LNG shall utilize biological
              monitors to ensure that federally listed or other special status species are not
              present within the project area. In the event that federally listed or other special
              status species are observed, Texas LNG shall stop all in-water construction
              activities until the individual(s) leave the area on their own and Texas LNG shall
              notify the FWS or NMFS. Prior to construction, Texas LNG shall file
              documentation, for review and written approval by the Director of OEP,
              demonstrating that these provisions have been incorporated into its environmental
              training program. (section 4.7.1)

        18.   Texas LNG shall not begin construction activities until:

               a.    the FERC staff receives comments from the FWS regarding the proposed
                     action;

               b.    the FERC staff completes Section 7 of the Endangered Species Act
                     consultation with the FWS; and




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              c.    Texas LNG has received written notification from the Director of OEP that
                    construction or use of mitigation may begin. (section 4.7.1)

        19.   Prior to construction, Texas LNG shall file with the Secretary, for review and
              written approval by the Director of OEP, a plan for the capture and relocation of
              Texas tortoises developed in consultation with the TPWD. (section 4.7.2.1)

        20.   Prior to construction, Texas LNG shall file with the Secretary, for review and
              written approval by the Director of OEP, mitigation measures to avoid or further
              minimize take of marine mammals during in-water pile driving, developed in
              consultation with NMFS, and, if applicable, a copy of its Marine Mammal
              Protection Act Incidental Take Authorization. (section 4.7.2.2)

        21.   Prior to construction, Texas LNG shall file with the Secretary a determination
              from the Coastal Coordination Advisory Committee that the project is consistent
              with the laws and regulations of the state’s Coastal Zone Management Program.
              (section 4.8.6)

        22.   Prior to construction, Texas LNG shall file with the Secretary a Traffic
              Management Plan for review and written approval by the Director of OEP that
              includes additional measures to minimize impacts on roadway traffic, including
              transporting workers from offsite locations via buses. The Traffic Management
              Plan shall address impacts on State Highway (SH) 48 as well as impacts on other
              area roadways including SH 100, SH 511, and SH 500. (section 4.9.6.1)

        23.   Texas LNG shall not begin construction of facilities and/or use of staging,
              storage, or temporary work areas and new or to-be-improved access roads until:

               a.    Texas LNG files with the Secretary comments on the final cultural
                     resources reports and plans from the State Historic Preservation Office,
                     U.S. Army Corps of Engineers, National Park Service, and appropriate
                     federally-recognized Indian tribes;

              b.     FERC staff has executed a memorandum of agreement regarding the
                     resolution of adverse effects on historic properties;

               c.    the Director of OEP notifies Texas LNG in writing that treatment measures
                     (including archaeological data recovery) may be implemented; and

               d.    Texas LNG documents the completion of treatment, and the Director of
                     OEP issues a written notice to proceed with construction.




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               All materials filed with the Commission containing location, character, and
               ownership information about cultural resources must have the cover and any
               relevant pages therein clearly labeled in bold lettering: CUI/PRIV “CONTAINS
               PRIVILEGED INFORMATION - DO NOT RELEASE.” (section 4.10.3)

         24.   Texas LNG shall monitor sound levels during pile-driving activities, and file
               weekly noise data with the Secretary following the start of pile-driving activities
               that identify the noise impact on the nearest noise sensitive areas (NSA). If the
               maximum measured sound level due to pile driving at the nearest NSAs is greater
               than 10 decibels on the A-weighted scale (dBA) over the equivalent-continuous
               ambient sound levels, Texas LNG shall:

               a.     cease pile-driving activities and implement noise mitigation measures; and

               b.     file with the Secretary evidence of noise mitigation installation and request
                      written notification from the Director of OEP that pile driving may resume.

         25.   Texas LNG shall file a full power load noise survey with the Secretary for the
               LNG terminal no later than 60 days after each liquefaction train is placed into
               service. If the noise attributable to operation of the equipment at the LNG
               terminal exceeds a day-night sound level (Ldn) of 55 dBA at the nearest NSA,
               within 60 days Texas LNG shall modify operation of the liquefaction facilities or
               install additional noise controls until a noise level below an Ldn of 55 dBA at the
               NSA is achieved. Texas LNG shall confirm compliance with the above
               requirement by filing a second noise survey with the Secretary no later than 60
               days after it installs the additional noise controls. (section 4.11.2.4)

        26.    Texas LNG shall file a noise survey with the Secretary no later than 60 days after
               placing the entire LNG terminal into service. If a full load condition noise survey
               is not possible, Texas LNG shall provide an interim survey at the maximum
               possible horsepower load within 60 days of placing the LNG terminal into service
               and provide the full load survey within 6 months. If the noise attributable to
               operation of the equipment at the LNG terminal exceeds an Ldn of 55 dBA at the
               nearest NSA under interim or full horsepower load conditions, Texas LNG shall
               file a report on what changes are needed and shall install the additional noise
               controls to meet the level within 1 year of the in-service date. Texas LNG shall
               confirm compliance with the above requirement by filing an additional noise
               survey with the Secretary no later than 60 days after it installs the additional
               noise controls. (section 4.11.2.4)

         27.   Prior to initial site preparation, Texas LNG shall file with the Secretary
               documentation demonstrating LNG marine vessels would be no higher than
               existing ship traffic or it has received a determination of no hazard (with or



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              without conditions) by the U.S. Department of Transportation’s Federal Aviation
              Administration (FAA) for mobile objects that might exceed the height
              requirements in 14 C.F.R. 77.9. (section 4.12.6)

        28.   Prior to construction of final design, Texas LNG shall file with the Secretary
              consultation from the U.S. Department of Transportation’s Pipeline and
              Hazardous Materials Safety Administration staff as to whether the current
              provisions for detection and shutdown would meet the requirements of 49 C.F.R.
              193 to prevent the discharge of LNG through the water removal systems in the
              impoundments. (section 4.12.6)

        29.   Prior to construction of the final design, Texas LNG shall file with the Secretary
              the following information, stamped and sealed by the professional engineer-of-
              record, registered in Texas:

              a.     site preparation drawings and specifications;

              b.     LNG storage tank and foundation design drawings and calculations;

              c.     LNG terminal structures and foundation design drawings and calculations;

              d.     seismic specifications for procured Seismic Category I equipment prior to
                     the issuing of requests for quotations; and

              e.     quality control procedures to be used for civil/structural design and
                     construction.

              In addition, Texas LNG shall file, in its Implementation Plan, the schedule for
              producing this information. (section 4.12.6)

        30.   Prior to commencement of service, Texas LNG shall file with the Secretary a
              monitoring and maintenance plan, stamped and sealed by the professional
              engineer-of-record registered in Texas, for the site grade and LNG earthen
              impoundment berms which ensures the minimum elevation relative to mean sea
              level will be maintained for the life of the facility considering settlement,
              subsidence, and sea level rise. (section 4.12.6)

               Conditions 31 through 125 shall apply to the Texas LNG Terminal facilities.
        Information pertaining to these specific conditions shall be filed with the Secretary for
        review and written approval by the Director of OEP, or the Director’s designee, within
        the timeframe indicated by each condition. Specific engineering, vulnerability, or
        detailed design information meeting the criteria specified in Order No. 833 (Docket
        No. RM16-15-000), including security information, shall be submitted as critical energy



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        infrastructure information pursuant to 18 C.F.R. 388.113. See Regulations Implementing
        FAST Act Section 61003 -- Critical Electric Infrastructure Security and Amending
        Critical Energy Infrastructure Information, Order No. 833, 157 FERC ¶ 61,123 (2016).
        Information pertaining to items such as offsite emergency response, procedures for public
        notification and evacuation, and construction and operating reporting requirements will
        be subject to public disclosure. All information shall be filed a minimum of 30 days
        before approval to proceed is requested.

        31.   Prior to initial site preparation, Texas LNG shall develop and implement
              procedures to monitor rocket launch activity and to position onsite construction
              crews and plant personnel in areas that are unlikely to be impacted by rocket
              debris of a failed launch during initial moments of rocket launch activity from the
              Brownsville SpaceX facility. Texas LNG’s procedures for positioning of onsite
              construction crews and plant personnel shall include reference to any guidance
              from the FAA to the public regarding anticipated SpaceX launches. (section
              4.12.6)

        32.   Prior to initial site preparation, Texas LNG shall file an overall project
              schedule, which includes the proposed stages of the commissioning plan. (section
              4.12.6)

        33.   Prior to initial site preparation, Texas LNG shall file quality assurance and
              quality control procedures for construction activities. (section 4.12.6)

        34.   Prior to initial site preparation, Texas LNG shall file procedures for controlling
              access during construction. (section 4.12.6)

        35.   Prior to initial site preparation, Texas LNG shall evaluate the relocation of the
              main control building such that it does not present an ignition source to a release
              of combustible vapors and that it is not impacted by a pool or jet fire or otherwise
              demonstrate how it would be protected from such hazards. The evaluation shall
              compare against minimum spacing requirements for buildings relative to
              impounding systems and equipment containing hazardous fluids, distances used in
              electrical area classification for ignition sources as well as radiant heat distances
              from pool and jet fires. (section 4.12.6)

        36.   Prior to initial site preparation, Texas LNG shall develop an Emergency
              Response Plan (including evacuation) and coordinate procedures with the U.S.
              Coast Guard (Coast Guard); state, county, and local emergency planning groups;
              fire departments; state and local law enforcement; and appropriate federal
              agencies. This plan shall include at a minimum:

               a.    designated contacts with state and local emergency response agencies;



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              b.     scalable procedures for the prompt notification of appropriate local officials
                     and emergency response agencies based on the level and severity of
                     potential incidents;

              c.     procedures for notifying residents and recreational users within areas of
                     potential hazard;

              d.     evacuation routes/methods for residents and public use areas that are within
                     any transient hazard areas along the route of the LNG marine transit;

              e.     locations of permanent sirens and other warning devices; and

              f.     an “emergency coordinator” on each LNG carrier to activate sirens and
                     other warning devices.

              Texas LNG shall notify the FERC staff of all planning meetings in advance and
              shall report progress on the development of its Emergency Response Plan at
              3-month intervals. (section 4.12.6)

        37.   Prior to initial site preparation, Texas LNG shall file a Cost-Sharing Plan
              identifying the mechanisms for funding all project-specific security/emergency
              management costs that would be imposed on state and local agencies. This
              comprehensive plan shall include funding mechanisms for the capital costs
              associated with any necessary security/emergency management equipment and
              personnel base. Texas LNG shall notify FERC staff of all planning meetings in
              advance and shall report progress on the development of its Cost Sharing Plan at
              3-month intervals. (section 4.12.6)

        38.   Prior to construction of final design, Texas LNG shall file change logs that list
              and explain any changes made from the front end engineering design provided in
              Texas LNG’s application and filings. A list of all changes with an explanation for
              the design alteration shall be provided and all changes shall be clearly indicated on
              all diagrams and drawings. Records of changes shall be kept so FERC staff can
              verify during construction inspections. (section 4.12.6)

        39.   Prior to construction of final design, Texas LNG shall file information/revisions
              pertaining to Texas LNG’s response numbers 5, 11, 12, 15, 19, 20, 21, 22, 23, and
              25 of its July 29, 2016 filing, which indicated features it would include or consider
              in the final design. (section 4.12.6)




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         40.   Prior to construction of final design, Texas LNG shall file a plot plan of the final
               design showing all major equipment, structures, buildings, and impoundment
               systems. (section 4.12.6)

         41.   Prior to construction of final design, Texas LNG shall file three-dimensional
               plant drawings to confirm plant layout for maintenance, access, egress, and
               congestion. (section 4.12.6)

         42.   Prior to construction of final design, Texas LNG shall file drawings of the
               storage tank piping support structure and support of horizontal piping at grade
               including pump columns, relief valves, pipe penetrations, instrumentation, and
               appurtenances. (section 4.12.6)

         43.   Prior to construction of final design, Texas LNG shall file a complete
               specification and drawings of the proposed LNG tank design and installation.
               (section 4.12.6)

        44.    Prior to construction of final design, Texas LNG shall file the evaluation and
               conclusions by the tank manufacturer regarding the potential for the layering
               effect and the steps to avoid rollover for various LNG rundown scenarios,
               especially bottom fill, during the production of excessively warm LNG. This
               evaluation shall consider the suppression of flashing in the bottom fill downpipe
               caused by static pressure in the column resulting in failure of the LNG to
               completely reach equilibrium temperature at tank operating pressure. (section
               4.12.6)

         45.   Prior to construction of final design, Texas LNG shall file engineering
               information that protects the LNG rundown system from the high pressure
               liquefaction system, including consideration for specifying the LNG rundown
               system from the main cryogenic heat exchanger (MCHE) to the LNG storage
               tanks at the same pressure as the LNG side of the MCHE with the specification
               break downstream of the motor operated valve (MOV) valves (i.e., MOV-51001
               and 51002) located on the LNG storage tank fill lines. The evaluation shall
               consider removal of the end flash gas separator 1410-V-101 from the LNG
               product rundown system or a high-high liquid shutdown capability to ensure LNG
               will not overfill the drum and release LNG into the vapor handling system. In
               addition, Texas LNG shall provide the control loop simulation summary for the
               LNG rundown system. (section 4.12.6)

         46.   Prior to construction of the final design, Texas LNG shall file engineering
               information that demonstrates unobstructed flow of the LNG tank recycle line,
               including consideration for the 16-inch-diameter pump recirculation piping




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              connection to the LNG storage tank top fill line being downstream of the motor
              control valves (i.e., MOV-51001). (section 4.12.6)

        47.   Prior to construction of the final design, Texas LNG shall file engineering
              information that demonstrates detection and protection as a result of cryogenic
              temperature conditions in the Demethanizer, including consideration for the
              addition of low temperature shutdown capabilities on temperature transmitters TI-
              21056 and TIC-21015 on the Demethanizer 1210-T-101 that would close the
              bottom outlet valve XZV-21006 in the event of depressurization that results in
              cryogenic temperatures at the bottom of the Demethanizer with the bottom outlet
              valve XZV-21006 remaining closed until the cryogenic temperature condition has
              been removed. (section 4.12.6)

        48.   Prior to construction of the final design, Texas LNG shall file engineering
              information that demonstrates protection of the Demethanizer Reboiler from
              cryogenic temperatures, including consideration for specifying the hot oil tubing
              and tube sheet within the Demethanizer Reboiler 1210-E-102 for cryogenic
              service. (section 4.12.6)

        49.   Prior to construction of the final design, Texas LNG shall file engineering
              information that demonstrates protection of the carbon steel condensate line from
              cryogenic fluid on the Spare Flare KO Drum 1840-V-103, including consideration
              of an automatic shutoff valve on the 4-inch-diameter condensate line (1840-PC-
              84002-4") downstream of the ¾-inch bleed valve controlled by low-low
              temperature, as well as designing the piping segment between the Spare Flare KO
              Drum and this low-low temperature shutoff valve for cryogenic temperatures.
              (section 4.12.6)

        50.   Prior to construction of final design, Texas LNG shall file an up-to-date
              equipment list, process and mechanical data sheets, and specifications. The
              specifications shall include:

              a.    Building Specifications (e.g., control buildings, electrical buildings,
                    compressor buildings, storage buildings, pressurized buildings, ventilated
                    buildings, blast resistant buildings);

              b.    Mechanical Specifications (e.g., piping, valve, insulation, rotating
                    equipment, heat exchanger, storage tank and vessel, other specialized
                    equipment);

              c.    Electrical and Instrumentation Specifications (e.g., power system, control
                    system, safety instrument system (SIS), cable, other electrical and
                    instrumentation); and



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               d.     Security and Fire Safety Specifications (e.g., security, passive protection,
                      hazard detection, hazard control, firewater). (section 4.12.6)

        51.    Prior to construction of final design, Texas LNG shall file a list of all codes and
               standards and the final specification document number where they are referenced.
               (section 4.12.6)

        52.    Prior to construction of final design, Texas LNG shall file up-to-date process
               flow diagrams and piping and instrument diagrams (P&IDs) including vendor
               P&IDs. The process flow diagrams shall include heat and material balances. The
               P&IDs shall include the following information:

               a.     equipment tag number, name, size, duty, capacity, and design conditions;

               b.     equipment insulation type and thickness;

               c.     storage tank pipe penetration size and nozzle schedule;

               d.     valve high pressure side and internal and external vent locations;

               e.     piping with line number, piping class specification, size, and insulation type
                      and thickness;

               f.     piping specification breaks and insulation limits;

               g.     all control and manual valves numbered;

               h.     relief valves with size and set points; and

               i.     drawing revision number and date. (section 4.12.6)

         53.   Prior to construction of final design, Texas LNG shall file P&IDs,
               specifications, and procedures that clearly show and specify the tie-in details
               required to safely connect subsequently constructed facilities with the operational
               facilities. (section 4.12.6)

         54.   Prior to construction of final design, Texas LNG shall file a car seal philosophy
               and a list of all car-sealed and locked valves consistent with the P&IDs. (section
               4.12.6)
         55.   Prior to construction of final design, the engineering, procurement, and
               construction contractor shall verify that the recommendations from the Front End
               Engineering Design Hazard Identification are complete and consistent with the




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               requirements of the final design as determined by the engineering, procurement,
               and construction contractor. (section 4.12.6)

         56.   Prior to construction of final design, Texas LNG shall file a hazard and
               operability review prior to issuing the P&IDs for construction. A copy of the
               review, a list of the recommendations, and actions taken on the recommendations
               shall be filed. (section 4.12.6)

         57.   Prior to construction of final design, Texas LNG shall file the safe operating
               limits (upper and lower), alarm and shutdown set points for all instrumentation
               (i.e., temperature, pressures, flows, and compositions). (section 4.12.6)

         58.   Prior to construction of final design, Texas LNG shall file cause-and-effect
               matrices for the process instrumentation, fire and gas detection system, and
               emergency shutdown system for review and approval. The cause-and-effect
               matrices shall include alarms and shutdown functions, details of the voting and
               shutdown logic, and set points. (section 4.12.6)

         59.   Prior to construction of final design, Texas LNG shall file an evaluation of
               emergency shutdown valve closure times. The evaluation shall account for the
               time to detect an upset or hazardous condition, notify plant personnel, and close
               the emergency shutdown valve(s). (section 4.12.6)

         60.   Prior to construction of final design, Texas LNG shall file an evaluation of
               dynamic pressure surge effects from valve opening and closures times and pump
               operations that demonstrate that the surge effects do not exceed the design
               pressures. (section 4.12.6)

         61.   Prior to construction of final design, Texas LNG shall demonstrate that, for
               hazardous fluids, piping and piping nipples 2 inches or less in diameter are
               designed to withstand external loads, including vibrational loads in the vicinity of
               rotating equipment and operator live loads in areas accessible by operators.
               (section 4.12.6)

         62.   Prior to construction of final design, Texas LNG shall file the electrical area
               classification drawings that reflect additional hazardous classification areas (e.g.,
               Division 2) where highly volatile liquids are present (e.g., LNG, refrigerants, etc.)
               and additional hazardous classification areas where the heat transfer fluid would
               be processed above its flash point (e.g., near the heat transfer fluid heater) and at
               areas of fuel gas (e.g., fuel gas drums and surrounding equipment), including areas
               where they could be exposed to flammable gas during a purge cycle of a fired
               heater. (section 4.12.6)




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        63.   Prior to construction of final design, Texas LNG shall file drawings and details
              of how process seals or isolations installed at the interface between a flammable
              fluid system and an electrical conduit or wiring system meet the requirements of
              National Fire Protection Association Standard 59A (NFPA 59A) (2001). (section
              4.12.6)

        64.   Prior to construction of final design, Texas LNG shall file details of an air gap
              or vent installed downstream of process seals or isolations installed at the interface
              between a flammable fluid system and an electrical conduit or wiring system.
              Each air gap shall vent to a safe location and be equipped with a leak detection
              device that shall continuously monitor for the presence of a flammable fluid, alarm
              the hazardous condition, and shut down the appropriate systems. (section 4.12.6)

        65.   Prior to construction of final design, Texas LNG shall file the design
              specifications for the feed gas inlet facilities (e.g., metering, pigging system,
              pressure protection system, compression, etc.). (section 4.12.6)

        66.   Prior to construction of final design, Texas LNG shall specify that piping and
              equipment that may be cooled with liquid nitrogen will be designed for liquid
              nitrogen temperatures, with regard to allowable movement and stresses. (section
              4.12.6)

        67.   Prior to construction of final design, Texas LNG shall include LNG tank fill
              flow measurement with high flow alarm. (section 4.12.6)

        68.   Prior to construction of final design, Texas LNG shall include boil-off gas flow,
              tank density profile and temperature profile measurement for each tank. (section
              4.12.6)

        69.   Prior to construction of final design, Texas LNG shall file the structural analysis
              of the LNG storage tank and outer containment demonstrating they are designed to
              withstand all loads and combinations. (section 4.12.6)

        70.   Prior to construction of final design, Texas LNG shall file an analysis of the
              structural integrity of the outer containment of the full containment LNG storage
              tanks demonstrating it can withstand the heat from a roof tank top fire or adjacent
              tank top fire. (section 4.12.6)

        71.   Prior to construction of final design, Texas LNG shall file a projectile analysis
              to demonstrate that the outer concrete impoundment wall of a full-containment
              LNG tank could withstand projectiles from explosions and high winds. The
              analysis shall detail the projectile speeds and characteristics and method used to
              determine penetration or perforation depths. (section 4.12.6)



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         72.   Prior to construction of final design, Texas LNG shall file the sizing basis and
               capacity for the final design of the flares and/or vent stacks as well as the pressure
               and vacuum relief valves for major process equipment, vessels, and storage tanks.
               (section 4.12.6)

        73.    Prior to construction of final design, Texas LNG shall specify that all
               Emergency Shutdown valves will be equipped with open and closed position
               switches connected to the Distributed Control System (DCS)/SIS. (section 4.12.6)

        74.    Prior to construction of final design, Texas LNG shall file a drawing showing
               the location of the emergency shutdown buttons. Emergency shutdown buttons
               shall be easily accessible, conspicuously labeled, and located in an area which will
               be accessible during an emergency. (section 4.12.6)

        75.    Prior to construction of final design, Texas LNG shall file drawings and
               specifications for vehicle barriers at each facility entrance and control point for
               access control. (section 4.12.6)

        76.    Prior to construction of final design, Texas LNG shall file drawings and
               specifications for protecting transfer piping, firewater equipment (e.g., hydrants,
               monitors, manifolds, etc.), pumps, and compressors, etc. to ensure that they are
               located away from roadway or protected from inadvertent damage from vehicles.
               (section 4.12.6)

        77.    Prior to construction of final design, Texas LNG shall file lighting drawings.
               The lighting drawings shall show the location, elevation, type of light fixture, and
               lux levels of the lighting system and shall be in accordance with the electrical
               design basis and referenced American Petroleum Institute Standard 540 (API 540)
               and provide illumination along the perimeter of the facility and along paths/roads
               of access and egress to facilitate security monitoring and emergency response
               operations. (section 4.12.6)

         78.   Prior to construction of final design, Texas LNG shall file fencing drawings.
               The fencing drawings shall provide details of fencing that demonstrates it would
               restrict and deter access around the entire facility and has a clearance from exterior
               features (e.g., power lines, trees, etc.) and from interior features (e.g., piping,
               equipment, buildings, etc.) that does not allow for the fence to be overcome.
               (section 4.12.6)

         79.   Prior to construction of final design, Texas LNG shall file security camera and
               intrusion detection drawings. The security camera drawings shall show the
               location, areas covered, and features of the camera (fixed, tilt/pan/zoom, motion
               detection alerts, low light, mounting height, etc.) to verify camera coverage of the



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               entire perimeter with redundancies, and cameras interior to the facility that will
               enable rapid monitoring of the LNG plant including a camera be provided at the
               top of each LNG storage tank, and coverage within pretreatment areas, within
               liquefaction areas, within truck transfer areas, within marine transfer areas, and
               buildings. The drawings shall show or note the location of the intrusion detection
               to verify it covers the entire perimeter of the LNG plant. (section 4.12.6)

         80.   Prior to construction of final design, Texas LNG shall file the details of a plant-
               wide Emergency Shutdown button, including details of the sequencing and
               reliability of the shutdown. (section 4.12.6)

         81.   Prior to construction of final design, Texas LNG shall evaluate the terminal
               alarm system and external notification system design to ensure the location of the
               terminal alarms and other fire and evacuation alarm notification devices (e.g.
               audible/visual beacons and strobes) will provide adequate warning at the terminal
               and external off-site areas in the event of an emergency. (section 4.12.6)

         82.   Prior to construction of final design, Texas LNG shall file an updated fire
               protection evaluation of the proposed facilities. A copy of the evaluation, a list of
               recommendations and supporting justifications, and actions taken on the
               recommendations shall be filed. The evaluation shall justify the type, quantity,
               and location of hazard detection and hazard control, passive fire protection,
               emergency shutdown and depressurizing systems, firewater, and emergency
               response equipment, training, and qualifications in accordance with NFPA 59A
               (2001). The justification for the flammable and combustible gas detection and
               flame and heat detection shall be in accordance with International Society of
               Automation (ISA) 84.00.07 or equivalent methodologies that would demonstrate
               90 percent or more of releases (unignited and ignited) that could result in an off-
               site or cascading impact that could extend off site would be detected by two or
               more detectors and result in isolation and de-inventory within 10 minutes. The
               evaluation shall also demonstrate whether the use of only photoelectric smoke
               type detectors instead of cross zoning with ionization smoke type detectors and the
               dependence on linear heat type detectors instead of multi spectrum optical flame
               type detectors provides a more reliable and rapid means of detection. The analysis
               shall take into account the set points, voting logic, and different wind speeds and
               directions. The justification for firewater shall provide calculations for all
               firewater demands based on design densities, surface area, and throw distance and
               specifications for the corresponding hydrant and monitors needed to reach and
               cool equipment. (section 4.12.6)

         83.   Prior to construction of final design, Texas LNG shall file detailed calculations
               to confirm that the final fire water volumes will be accounted for when evaluating




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               the capacity of the impoundment system during a spill and fire scenario. (section
               4.12.6)

        84.    Prior to construction of final design, Texas LNG shall file spill containment
               system drawings with dimensions and slopes of curbing, trenches, impoundments,
               and capacity calculations considering any foundations and equipment within
               impoundments, as well as the sizing and design of a down-comer that would
               transfer spills from the tank top to the ground-level impoundment system. The
               spill containment drawings shall show containment for all hazardous fluids,
               including all liquids handled above their flashpoint, from the largest flow from a
               single line for 10 minutes, including de-inventory, or the maximum liquid from the
               largest vessel (or total of impounded vessels) or otherwise demonstrate that
               providing spill containment would not significantly reduce the flammable vapor
               dispersion or radiant heat consequences of a spill. (section 4.12.6)

         85.   Prior to construction of the final design, Texas LNG shall file a building siting
               assessment to ensure plant buildings that are occupied or critical to the safety of
               the LNG plant are adequately protected from potential hazards involving fires and
               vapor cloud explosions. (section 4.12.6)

         86.   Prior to construction of the final design, Texas LNG shall file an analysis that
               demonstrates the flammable vapor dispersion from design spills will be prevented
               from dispersing underneath the elevated LNG storage tanks, or the LNG storage
               tanks will be able to withstand an overpressure due to ignition of the flammable
               vapor dispersion cloud that disperses underneath the elevated LNG storage tanks.
               (section 4.12.6)

         87.   Prior to construction of final design, Texas LNG shall file an analysis of the
               localized hazards to operators from a potential liquid nitrogen release and shall
               also provide low oxygen detectors and other identified mitigation based on the
               analysis. (section 4.12.6)

         88.   Prior to construction of final design, Texas LNG shall file an analysis of the
               localized hazards from a potential hydrogen sulfide release and shall also provide
               toxic detectors for hydrogen sulfide releases from the acid gas piping system and
               potential release points (i.e. vents, relief valves, vent stacks, and thermal oxidizer
               stack). (section 4.12.6)

         89.   Prior to construction of final design, Texas LNG shall file an analysis of the off
               gassing of hydrogen in battery rooms and ventilation calculations that limit
               concentrations below the lower flammability limits (e.g., 25 percent of the lower
               flammability limit [LFL]) and shall also provide hydrogen detectors that alarm




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              (e.g., 20 to 25 percent of the LFL) and initiate mitigative actions (e.g., 40 to 50
              percent of the LFL). (section 4.12.6)

        90.   Prior to construction of final design, Texas LNG shall file complete drawings
              and a list of the hazard detection equipment. The drawings shall clearly show the
              location and elevation of all detection equipment. The list shall include the
              instrument tag number, type and location, alarm indication locations, and
              shutdown functions of the hazard detection equipment. (section 4.12.6)

        91.   Prior to construction of final design, Texas LNG shall file a list of alarm and
              shutdown set points for all hazard detectors that account for the calibration gas of
              the hazard detectors when determining the lower flammable limit set points for
              methane, ethylene, propane, and condensate. (section 4.12.6)

        92.   Prior to construction of final design, Texas LNG shall file a list of alarm and
              shutdown set points for all hazard detectors that account for the calibration gas of
              hazard detectors when determining the set points for toxic components such as
              natural gas liquids and hydrogen sulfide. (section 4.12.6)

        93.   Prior to construction of final design, Texas LNG shall file a technical review of
              facility design that:

              a.     identifies all combustion/ventilation air intake equipment and the distances
                     to any possible flammable gas or toxic release; and

              b.     demonstrates that these areas are adequately covered by hazard detection
                     devices and indicates how these devices would isolate or shutdown any
                     combustion or heating ventilation and air conditioning equipment whose
                     continued operation could add to or sustain an emergency. (section 4.12.6)

        94.   Prior to construction of final design, Texas LNG shall file an evaluation of the
              voting logic and voting degradation for hazard detectors. (section 4.12.6)

        95.   Prior to construction of final design, Texas LNG shall file facility plan drawings
              and a list of the fixed and wheeled dry-chemical, hand-held fire extinguishers, and
              other hazard control equipment. Plan drawings shall clearly show the location and
              elevation by tag number of all fixed dry chemical systems in accordance with
              NFPA 17, and wheeled and hand-held extinguishers location travel distances are
              along normal paths of access and egress and in compliance with NFPA 10. The
              list shall include the equipment tag number, manufacturer and model, elevations,
              agent type, agent capacity, discharge rate, automatic and manual remote signals
              initiating discharge of the units, and equipment covered. (section 4.12.6)




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        96.     Prior to construction of final design, Texas LNG shall file drawings and
                specifications for the structural passive protection systems to protect equipment
                and supports from cryogenic releases. (section 4.12.6)

        97.     Prior to construction of final design, Texas LNG shall file calculations or test
                results for the structural passive protection systems to demonstrate that equipment
                and supports are protected from cryogenic releases. (section 4.12.6)

        98.     Prior to construction of final design, Texas LNG shall file drawings and
                specifications for the structural passive protection systems demonstrating that
                equipment and supports are protected from pool and jet fires. (section 4.12.6)

        99.     Prior to construction of final design, Texas LNG shall file an evaluation and
                associated specifications and drawings of how they would prevent cascading
                damage of transformers (e.g., fire walls or spacing) in accordance with NFPA 850
                or equivalent. (section 4.12.6)

        100.    Prior to construction of final design, Texas LNG shall file a detailed quantitative
                analysis to demonstrate that adequate mitigation would be provided for each
                significant component within the 4,000 British thermal units per square foot per
                hour zone from pool or jet fires that could cause failure of the component. Trucks
                at the truck transfer station shall be included in the analysis. A combination of
                passive and active protection for pool fires and passive and/or active protection for
                jet fires shall be provided and demonstrate the effectiveness and reliability.
                Effectiveness of passive mitigation shall be supported by calculations for the
                thickness limiting temperature rise and effectiveness of active mitigation shall be
                justified with calculations demonstrating flow rates and durations of any cooling
                water will mitigate the heat absorbed by the vessel. (section 4.12.6)

         101.   Prior to construction of final design, Texas LNG shall file facility plan drawings
                showing the proposed location of the firewater and any foam systems. Plan
                drawings shall clearly show the location of firewater and foam piping, post
                indicator valves, and the location and area covered by, each monitor, hydrant,
                hose, water curtain, deluge system, foam system, water-mist system, and sprinkler.
                The drawings shall demonstrate that each process area, fire zone, or other sections
                of piping with several users can be isolated with post indicator valves and that
                hydrants and monitors provide enough firewater flow to reach and cool exposed
                surfaces subjected to a fire based on the throw distance, design density, and
                surface areas that are needed to be cooled taking into account obstructions.
                Drawings shall also include piping and instrumentation diagrams of the firewater
                and foam systems. (section 4.12.6)




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         102.   Prior to construction of final design, Texas LNG shall demonstrate roads are
                wide enough (e.g., 20 feet per NFPA 307) to accommodate fire apparatus to reach
                and turn around in all areas of the plant where hydrants are proposed or otherwise
                provide alternative means that do not rely on fire apparatus (e.g., firewater
                monitors) in those areas. (section 4.12.6)

         103.   Prior to construction of final design, Texas LNG shall file documentation
                demonstrating the firewater storage volume for its facilities has minimum reserved
                capacity for its most demanding firewater scenario plus 1,000 gallons per minute
                for no less than 2 hours, including the fire water required for foam generation.
                The firewater storage shall also demonstrate compliance with NFPA 22,
                equivalent, or better level of safety. (section 4.12.6)

         104.   Prior to construction of final design, Texas LNG shall specify that the firewater
                flow test meter is equipped with a transmitter and that a pressure transmitter is
                installed upstream of the flow transmitter. The flow transmitter and pressure
                transmitter shall be connected to the DCS and recorded. (section 4.12.6)

         105.   Prior to construction of final design, Texas LNG shall specify that the firewater
                pump shelter is designed to remove the largest firewater pump or other component
                for maintenance with an overhead or external crane. (section 4.12.6)

         106.   Prior to commissioning, Texas LNG shall file a detailed schedule for
                commissioning through equipment startup. The schedule shall include milestones
                for all procedures and tests to be completed: prior to introduction of hazardous
                fluids and during commissioning and startup. Texas LNG shall file documentation
                certifying that each of these milestones has been completed before authorization to
                commence the next phase of commissioning and startup will be issued. (section
                4.12.6)

         107.   Prior to commissioning, Texas LNG shall file detailed plans and procedures for:
                testing the integrity of onsite mechanical installation; functional tests; introduction
                of hazardous fluids; operational tests; and placing the equipment into service.
                (section 4.12.6)

         108.   Prior to commissioning, Texas LNG shall file a plan for clean-out, dry-out,
                purging, and tightness testing. This plan shall address the requirements of the
                American Gas Association’s Purging Principles and Practice, and shall provide
                justification if not using an inert or non-flammable gas for clean-out, dry-out,
                purging, and tightness testing. (section 4.12.6)

         109.   Prior to commissioning, Texas LNG shall file the procedures for pressure/leak
                tests which address the requirements of American Society of Mechanical



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                Engineers (ASME) Boiler and Pressure Vessel Code Section VIII and ASME
                B31.3. In addition, Texas LNG shall file a line list of pneumatic and hydrostatic
                test procedures. (section 4.12.6)

        110.    Prior to commissioning, Texas LNG shall file the operation and maintenance
                procedures and manuals, as well as safety procedures, hot work procedures and
                permits, abnormal operating conditions reporting procedures, simultaneous
                operations procedures, and management of change procedures and forms. (section
                4.12.6)

        111.    Prior to commissioning, Texas LNG shall tag all equipment, instrumentation, and
                valves in the field, including drain valves, vent valves, main valves, and car-sealed
                or locked valves. (section 4.12.6)

        112.    Prior to commissioning, Texas LNG shall file a plan to maintain a detailed
                training log to demonstrate that operating, maintenance, and emergency response
                staff have completed the required training. (section 4.12.6)

        113.    Prior to commissioning, Texas LNG shall file the settlement results from
                hydrostatic testing the LNG storage containers as well as a routine monitoring
                program to ensure settlements are as expected and do not exceed applicable
                criteria in API 620, API 625, API 653, and American Concrete Institute (ACI)
                376. The program shall specify what actions would be taken after various levels
                of seismic events. (section 4.12.6)

        114.    Prior to commissioning, Texas LNG shall equip the LNG storage tank and
                adjacent piping and supports with permanent settlement monitors to allow
                personnel to observe and record the relative settlement between the LNG storage
                tank and adjacent piping. The settlement record shall be reported in the semi-
                annual operational reports. (section 4.12.6)

         115.   Prior to introduction of hazardous fluids, Texas LNG shall develop and
                implement procedures for plant personnel to monitor the rocket launches from the
                Brownsville SpaceX facility and take mitigative actions before and after a rocket
                launch failure to minimize the potential of a release reaching offsite, or resulting in
                cascading effects that could extend offsite or impact safe operations. (section
                4.12.6)

         116.   Prior to introduction of hazardous fluids, Texas LNG shall develop and
                implement an alarm management program to ensure effectiveness of process
                alarms. (section 4.12.6)




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         117.   Prior to introduction of hazardous fluids, Texas LNG shall complete and
                document all pertinent tests (Factory Acceptance Tests, Site Acceptance Tests,
                Site Integration Tests) associated with the DCS and SIS that demonstrates full
                functionality and operability of the system. (section 4.12.6)

         118.   Prior to introduction of hazardous fluids, Texas LNG shall complete and
                document a firewater pump acceptance test and firewater monitor and hydrant
                coverage test. The actual coverage area from each monitor and hydrant shall be
                shown on facility plot plan(s). (section 4.12.6)

         119.   Prior to introduction of hazardous fluids, Texas LNG shall complete and
                document a pre-startup safety review to ensure that installed equipment meets the
                design and operating intent of the facility. The pre-startup safety review shall
                include any changes since the last hazard review, operating procedures, and
                operator training. A copy of the review with a list of recommendations, and
                actions taken on each recommendation, shall be filed. (section 4.12.6)

         120.   Texas LNG shall file a request for written authorization from the Director of OEP
                prior to unloading or loading the first LNG commissioning cargo. After
                production of first LNG, Texas LNG shall file weekly reports on the
                commissioning of the proposed systems that detail the progress toward
                demonstrating the facilities can safely and reliably operate at or near the design
                production rate. The reports shall include a summary of activities, problems
                encountered, and remedial actions taken. The weekly reports shall also include the
                latest commissioning schedule, including projected and actual LNG production by
                each liquefaction train, LNG storage inventories in each storage tank, and the
                number of anticipated and actual LNG commissioning cargoes, along with the
                associated volumes loaded or unloaded. Further, the weekly reports shall include
                a status and list of all planned and completed safety and reliability tests, work
                authorizations, and punch list items. Problems of significant magnitude shall be
                reported to the FERC within 24 hours. (section 4.12.6)

        121.    Prior to commencement of service, Texas LNG shall label piping with fluid
                service and direction of flow in the field, in addition to the pipe labeling
                requirements of NFPA 59A (2001). (section 4.12.6)

        122.    Prior to commencement of service, Texas LNG shall file plans for any
                preventative and predictive maintenance program that performs periodic or
                continuous equipment condition monitoring. (section 4.12.6)
         123.   Prior to commencement of service, Texas LNG shall develop procedures for
                offsite contractors’ responsibilities, restrictions, and limitations and for
                supervision of these contractors by Texas LNG staff. (section 4.12.6)




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         124.   Prior to commencement of service, Texas LNG shall notify the FERC staff of
                any proposed revisions to the security plan and physical security of the plant.
                (section 4.12.6)

         125.   Prior to commencement of service, Texas LNG shall file a request for written
                authorization from the Director of OEP. Such authorization will only be granted
                following a determination by the Coast Guard, under its authorities under the Ports
                and Waterways Safety Act, the Magnuson Act, the Maritime Transportation
                Security Act of 2002, and the Security and Accountability For Every Port Act, that
                appropriate measures to ensure the safety and security of the facility and the
                waterway have been put into place by Texas LNG or other appropriate parties.
                (section 4.12.6)

         In addition, conditions 126 through 129 shall apply throughout the life of the Texas
         LNG Project.

         126.   The facility shall be subject to regular FERC staff technical reviews and site
                inspections on at least an annual basis or more frequently as circumstances
                indicate. Prior to each FERC staff technical review and site inspection, Texas
                LNG shall respond to a specific data request including information relating to
                possible design and operating conditions that may have been imposed by other
                agencies or organizations. Up-to-date detailed P&IDs reflecting facility
                modifications and provision of other pertinent information not included in the
                semi-annual reports described below, including facility events that have taken
                place since the previously submitted semi-annual report, shall be submitted.
                (section 4.12.6)

         127.   Semi-annual operational reports shall be filed with the Secretary to identify
                changes in facility design and operating conditions; abnormal operating
                experiences; activities (e.g., ship arrivals, quantity and composition of imported
                and exported LNG, liquefied and vaporized quantities, boil off/flash gas); and
                plant modifications, including future plans and progress thereof. Abnormalities
                shall include, but not be limited to, unloading/loading/shipping problems, potential
                hazardous conditions from offsite vessels, storage tank stratification or rollover,
                geysering, storage tank pressure excursions, cold spots on the storage tanks,
                storage tank vibrations and/or vibrations in associated cryogenic piping, storage
                tank settlement, significant equipment or instrumentation malfunctions or failures,
                non-scheduled maintenance or repair (and reasons therefore), relative movement
                of storage tank inner vessels, hazardous fluids releases, fires involving hazardous
                fluids and/or from other sources, negative pressure (vacuum) within a storage
                tank, and higher than predicted boil off rates. Adverse weather conditions and the
                effect on the facility also shall be reported. Reports shall be submitted within 45
                days after each period ending June 30 and December 31. In addition to the



                                                                                         JA358
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                above items, a section entitled “Significant Plant Modifications Proposed for the
                Next 12 Months (dates)” shall be included in the semi-annual operational reports.
                Such information would provide the FERC staff with early notice of anticipated
                future construction/maintenance at the LNG facilities. (section 4.12.6)

         128.   In the event the temperature of any region of the LNG storage container, including
                any secondary containment, including imbedded pipe supports, becomes less than
                the minimum specified operating temperature for the material, the Commission
                shall be notified within 24 hours and procedures for corrective action shall be
                specified. (section 4.12.6)

         129.   Significant non-scheduled events, including safety-related incidents (e.g., LNG,
                condensate, refrigerant, or natural gas releases; fires; explosions; mechanical
                failures; unusual over pressurization; and major injuries) and security-related
                incidents (e.g., attempts to enter site, suspicious activities) shall be reported to the
                FERC staff. In the event that an abnormality is of significant magnitude to
                threaten public or employee safety, cause significant property damage, or interrupt
                service, notification shall be made immediately, without unduly interfering with
                any necessary or appropriate emergency repair, alarm, or other emergency
                procedure. In all instances, notification shall be made to the FERC staff within 24
                hours. This notification practice shall be incorporated into the LNG facility’s
                emergency plan. Examples of reportable hazardous fluids-related incidents
                include:

                a.     fire;

                b.     explosion;

                c.     estimated property damage of $50,000 or more;

                d.     death or personal injury necessitating in-patient hospitalization;

                e.     release of hazardous fluids for 5 minutes or more;

                f.     unintended movement or abnormal loading by environmental causes, such
                       as an earthquake, landslide, or flood, that impairs the serviceability,
                       structural integrity, or reliability of an LNG facility that contains, controls,
                       or processes hazardous fluids;

                g.     any crack or other material defect that impairs the structural integrity or
                       reliability of an LNG facility that contains, controls, or processes hazardous
                       fluids;




                                                                                            JA359
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               h.    any malfunction or operating error that causes the pressure of a pipeline or
                     LNG facility that contains or processes hazardous fluids to rise above its
                     maximum allowable operating pressure (or working pressure for LNG
                     facilities) plus the build-up allowed for operation of pressure-limiting or
                     control devices;

               i.    a leak in an LNG facility that contains or processes hazardous fluids that
                     constitutes an emergency;

               j.    inner tank leakage, ineffective insulation, or frost heave that impairs the
                     structural integrity of an LNG storage tank;

               k.     any safety-related condition that could lead to an imminent hazard and
                     cause (either directly or indirectly by remedial action of the operator), for
                     purposes other than abandonment, a 20 percent reduction in operating
                     pressure or shutdown of operation of a pipeline or an LNG facility that
                     contains or processes hazardous fluids;

               l.    safety-related incidents from hazardous fluids transportation occurring at or
                     en route to and from the LNG facility; or

               m.   an event that is significant in the judgment of the operator and/or
                    management even though it did not meet the above criteria or the guidelines
                    set forth in an LNG facility’s incident management plan. (section 4.12.6)

              In the event of an incident, the Director of OEP has delegated authority to take
              whatever steps are necessary to ensure operational reliability and to protect human
              life, health, property, or the environment, including authority to direct the LNG
              facility to cease operations. Following the initial company notification, the FERC
              staff would determine the need for a separate follow-up report or follow up in the
              upcoming semi-annual operational report. All company follow-up reports shall
              include investigation results and recommendations to minimize a reoccurrence of
              the incident.




                                                                                         JA360
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                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Texas LNG Brownsville LLC                                 Docket No.      CP16-116-000


                                        (Issued November 22, 2019)

        GLICK, Commissioner, dissenting:

        1.     I dissent from today’s order because it violates both the Natural Gas Act1 (NGA)
        and the National Environmental Policy Act2 (NEPA). The Commission once again
        refuses to consider the consequences its actions have for climate change. Although
        neither the NGA nor NEPA permit the Commission to assume away the impact that
        constructing and operating this liquefied natural gas (LNG) facility and associated natural
        gas pipeline will have on climate change, that is precisely what the Commission is doing
        here.

         2.      In today’s order authorizing Texas LNG Brownsville LLC’s (Texas LNG) LNG
         export facility (Project) pursuant to section 3 of the NGA, the Commission continues to
         treat climate change differently than all other environmental impacts. The Commission
         steadfastly refuses to assess whether the impact of the Project’s greenhouse gas (GHG)
         emissions on climate change is significant, even though it quantifies the GHG emissions
         caused by the Project.3 That refusal to assess the significance of the Project’s
         contribution to the harm caused by climate change is what allows the Commission to
         misleadingly state that its approval of the Project will result in environmental impacts
         that are generally “less-than-significant”4 and, as a result, conclude that the Project

               1
                   15 U.S.C. §§ 717b, 717f (2018).
               2
                   National Environmental Policy Act of 1969, 42 U.S.C. §§ 4321 et seq.
               3
                  Texas LNG Brownsville LLC, 169 FERC ¶ 61,130, at P 65 (2019) (Certificate
         Order); Environmental Impact Statement at Tables 4.11.1-4 – 4.11.1-6, 4.11.1-8 – 4.11.1-
         9, 4.11.1-11 (EIS).
               4
                 Certificate Order, 169 FERC ¶ 61,130 at P 24; EIS at ES-16. But see
        Certificate Order, 169 FERC ¶ 61,130 at P 25 (noting that the Project, in conjunction
        with the two other LNG facilities in the region approved today, will have significant
        cumulative impacts on, among other things, federally listed endangered species,
        including the ocelot and jaguarundi).




                                                                                          JA361
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         satisfies the NGA’s public interest standards.5 Claiming that a project’s environmental
         impacts are generally less-than-significant while at the same time refusing to assess the
         significance of the project’s impact on the most important environmental issue of our
         time is not reasoned decisionmaking.

         3.      In addition, the Commission’s public interest analysis also does not adequately
         weigh or wrestle with the Project’s adverse impacts.6 Collectively, the three LNG export
         projects7 approved for the Brownsville Ship Channel will have a significant adverse
         impact on a number of endangered species, including the ocelot. Moreover, all three
         projects are located in Cameron County, Texas—a region of the country where roughly a
         third of the population is below the poverty line and a substantial portion is made up of
         minority groups.8 I fully appreciate that the jobs and economic stimulus that a facility
         like the Project can provide may be especially important in a community facing economic
         challenges. But we cannot lose sight of the cumulative environmental toll on regions,
         like Cameron County, from the development of new industrial facilities. Although
         today’s order recites these impacts, I believe that reasoned decisionmaking requires the
         Commission to affirmatively consider those impacts and explain how it nevertheless
         reached its public interest determination. After all, surely considering the public interest
         requires us to do more than merely recite the significant adverse impacts and proceed to
         approve the Project.

         I.     The Commission’s Public Interest Determinations Are Not the Product of
                Reasoned Decisionmaking

         4.    The NGA’s regulation of LNG import and export facilities “implicate[s] a tangled
         web of regulatory processes” split between the U.S. Department of Energy (DOE) and
         the Commission.9 The NGA establishes a general presumption favoring the import and

                5
                    Certificate Order, 169 FERC ¶ 61,130 at PP 20, 84.
                6
                    See EIS at 4-104.
                7
                 In addition to Texas LNG, the Commission today is also approving the Rio
         Grande LNG facility, Rio Grande LNG, LLC, 169 FERC ¶ 61,131 (2019), and the
         Annova LNG facility, Annova LNG Common Infrastructure, LLC, 169 FERC ¶ 61,132
         (2019).
                8
                EIS at 4-157 (noting that the poverty rate in Cameron County is 34.8 percent); id.
        4-156 (noting that four out of the five tracts of land studied were made up of more than
        50 percent minority populations).
                9
                    Sierra Club v. FERC, 827 F.3d 36, 40 (D.C. Cir. 2016) (Freeport).




                                                                                           JA362
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        export of LNG unless there is an affirmative finding that the import or export “will not be
        consistent with the public interest.”10 Section 3 of the NGA provides for two
        independent public interest determinations: One regarding the import or export of LNG
        itself and one regarding the facilities used for that import or export. DOE determines
        whether the import or export of LNG is consistent with the public interest, with
        transactions among free trade countries legislatively deemed to be “consistent with the
        public interest.”11 The Commission evaluates whether “an application for the siting,
        construction, expansion, or operation of an LNG terminal” is itself consistent with the
        public interest.12 Pursuant to that authority, the Commission must approve a proposed
        LNG facility unless the record shows that the facility would be inconsistent with the
        public interest.13

        5.    As part of that determination, the Commission examines a proposed facility’s
        impact on the environment and public safety. A facility’s impact on climate change is

               10
                 15 U.S.C. § 717b(a); see EarthReports, Inc. v. FERC, 828 F.3d 949, 953 (D.C.
        Cir. 2016) (citing W. Va. Pub. Servs. Comm’n v. Dep’t of Energy, 681 F.2d 847, 856
        (D.C. Cir. 1982) (“NGA [section] 3, unlike [section] 7, ‘sets out a general presumption
        favoring such authorization.’”)). Under section 7 of the NGA, the Commission approves
        a proposed pipeline if it is shown to be consistent with the public interest, while under
        section 3, the Commission approves a proposed LNG import or export facility unless it is
        shown to be inconsistent with the public interest. Compare 15 U.S.C. §717b(a) with 15
        U.S.C. §717f(a), (e).
               11
                  15 U.S.C. § 717b(c). The courts have explained that, because the authority to
        authorize the LNG exports rests with DOE, NEPA does not require the Commission to
        consider the upstream or downstream GHG emissions that may be indirect effects of the
        export itself when determining whether the related LNG export facility satisfies section 3
        of the NGA. See Freeport, 827 F.3d at 46-47; see also Sierra Club v. FERC, 867 F.3d
        1357, 1373 (D.C. Cir. 2017) (Sabal Trail) (discussing Freeport). Nevertheless, NEPA
        requires that the Commission consider the direct GHG emissions associated with a
        proposed LNG export facility. See Freeport, 827 F.3d at 41, 46.
               12
                 15 U.S.C. § 717b(e). In 1977, Congress transferred the regulatory functions of
        NGA section 3 to DOE. DOE, however, subsequently delegated to the Commission
        authority to approve or deny an application for the siting, construction, expansion, or
        operation of an LNG terminal, while retaining the authority to determine whether the
        import or export of LNG to non-free trade countries is in the public interest. See
        EarthReports, 828 F.3d at 952-53.
               13
                    See Freeport, 827 F.3d at 40-41.




                                                                                        JA363
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        one of the environmental impacts that must be part of a public interest determination
        under the NGA.14 Nevertheless, the Commission maintains that it need not consider
        whether the Project’s contribution to climate change is significant in this order because it
        lacks a means to do so—or at least so it claims.15 However, the most troubling part of the
        Commission’s rationale is what comes next. Based on this alleged inability to assess the
        significance of the Project’s impact on climate change, the Commission concludes that
        the Project’s environmental impacts would generally be reduced to “less-than-
        significant” levels.16 Think about that. The Commission is saying out of one side of its
        mouth that it cannot assess the significance of the Project’s impact on climate change17
        while, out of the other side of its mouth, assuring us that its environmental impacts are
        generally not significant.18 That is ludicrous, unreasoned, and an abdication of our
        responsibility to give climate change the “hard look” that the law demands.19

                14
                 See Sabal Trail, 867 F.3d at 1373 (explaining that the Commission must
        consider a pipeline’s direct and indirect GHG emissions because the Commission may
        “deny a pipeline certificate on the ground that the pipeline would be too harmful to the
        environment”); see also Atl. Ref. Co. v. Pub. Serv. Comm’n of N.Y., 360 U.S. 378, 391
        (1959) (holding that the NGA requires the Commission to consider “all factors bearing
        on the public interest”).
                15
                     Certificate Order, 169 FERC ¶ 61,130 at P 66; EIS at 4-344.
                16
                     Certificate Order, 169 FERC ¶ 61,130 at P 24.
                17
                  Id. P 66; EIS at 4-344 (“[W]e are unable to determine the significance of the
        Project’s contribution to climate change.”).”
                18
                 Certificate Order, 169 FERC ¶ 61,130 at P 24 (stating that, with few exceptions
        and not considering cumulative impacts, the Project’s impacts would be “reduced to less-
        than-significant levels”).
                19
                   See, e.g., Myersville Citizens for a Rural Cmty., Inc. v. FERC, 783 F.3d 1301,
         1322 (D.C. Cir. 2015) (explaining that agencies cannot overlook a single environmental
         consequence if it is even “arguably significant”); see also Michigan v. EPA, 135 S. Ct.
         2699, 2706 (2015) (“Not only must an agency’s decreed result be within the scope of its
         lawful authority, but the process by which it reaches that result must be logical and
         rational.” (internal quotation marks omitted)); Motor Vehicle Mfrs. Ass’n, Inc. v. State
         Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (explaining that agency action is
         “arbitrary and capricious if the agency has . . . entirely failed to consider an important
         aspect of the problem, [or] offered an explanation for its decision that runs counter to the
         evidence before the agency”).




                                                                                          JA364
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         6.     It also means that the Project’s impact on climate change does not play a
         meaningful role in the Commission’s public interest determination, no matter how often
         the Commission assures us that it does. Using the approach in today’s order, the
         Commission will always conclude that a project will not have a significant environmental
         impact irrespective of that project’s actual GHG emissions or those emissions’ impact on
         climate change. If the Commission’s conclusion will not change no matter how many
         GHG emissions a project causes, those emissions cannot, as a logical matter, play a
         meaningful role in the Commission’s public interest determination. A public interest
         determination that systematically excludes the most important environmental
         consideration of our time is contrary to law, arbitrary and capricious, and not the product
         of reasoned decisionmaking.

         7.      The failure to meaningfully consider the Project’s GHG emissions is all-the-more
         indefensible given the volume of GHG emissions at issue in this proceeding. The Project
         will directly release over 600,000 tons of GHG emissions per year, plus an untold several
         million more that go undocumented in the Commission’s environmental analysis.20 The
         Commission acknowledges that “GHGs emissions due to human activity are the primary
         cause of increased levels of atmospheric GHG since the industrial age,”21 a result that the
         Commission has previously (although notably not in the environmental analysis
         accompanying today’s order) acknowledged will “threaten the public health and welfare
         of current and future generations through climate change.”22 In light of this undisputed
         relationship between anthropogenic GHG emissions and climate change, the Commission
         must carefully consider the Project’s contribution to climate change when determining
         whether the Project is consistent with the public interest—a task that it entirely fails to
         accomplish in today’s order.

         8.     In addition, the cumulative effects of the Project along with the Rio Grande LNG
         and Annova LNG facilities will have a significant adverse effect on the environment,
         notably endangered species, including the ocelot, the jaguarundi, and the aplomado


                20
                  See infra PP 11-14. In particular, the Commission refuses to consider the GHG
         emissions caused by the Project’s electricity consumption even though it poses—and
         uses—models for calculating and quantifying those emissions and those emissions
         represent the Project’s principal contribution to climate change.
                21
                     EIS at 4-164.
                22
                   Environmental Assessment, Docket No. CP18-512-000 (Mar. 29, 2019); see
         also id. at 235 (“Construction and operation of the Project would increase the
         atmospheric concentration of GHGs in combination with past and future emissions from
         all other sources and contribute incrementally to future climate change impacts.”).




                                                                                         JA365
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        falcon.23 Although the Commission reports those impacts in its EIS24 and mentions them
        briefly in today’s order,25 it is far from clear whether and how they factor into the
        Commission’s public interest analysis. Given the extent of those adverse impacts on
        endangered species—which appear to be more extensive than those caused by other
        energy infrastructure projects that the Commission has approved under NGA section 3
        and section 7 in recent years26—reasoned decisionmaking requires the Commission to do
        more than simply recite the potential harm to endangered species and then proceed to
        make a public interest determination without any further discussion.

        9.     The Project’s impact on these species is particularly concerning since the Fish and
        Wildlife Service (FWS) rejected the conclusion in Commission Staff’s original biological
        assessment that the endangered ocelot and aplomado falcon would not be adversely
        affected by the project.27 Although Commission staff has resubmitted its biological
        assessment, FWS has yet to weigh in on the resubmitted assessment. Given that FWS
        has already once disagreed with the agency on the Project’s implications for those
        species, I am concerned that we are putting the cart before the horse in making a public
        interest determination without the benefit of hearing from the experts about the Project’s
        impact on endangered species.

        10.   Finally, the Project will be located in Cameron County, Texas—a county in which
        roughly a third of the population is below the poverty line and a substantial portion is



               23
                    EIS at 4-317 (ocelot and jaguarundi); id. at 4-318 (aplomado falcon).
               24
                    EIS at 4-315 – 4-317, 4-317 – 4-318, 5-364 – 5-365.
               25
                    Certificate Order, 169 FERC ¶ 61,130 at PP 48, 73, 75.
               26
                  For example, the Commission’s EIS notes that “even incremental habitat loss
        could be significant” for the ocelot, of which there are only a few dozen remaining in the
        United States. EIS at App. C-131. There is no question that the cumulative effect of the
        three LNG projects will be to significantly contribute to the loss of ocelot habitat, which
        is the primary threat to ocelot survival, EIS 4-315.
               27
                  EIS 4-81. The Commission appears to suggest that FWS improperly considered
        the cumulative impact of the three proximately located LNG facilities (Texas LNG,
        Annova LNG, and Rio Grande LNG). Id. For my part, I hardly see a problem in taking a
        holistic approach that considers how three large LNG export facilities in a single county
        will effect these endangered species. Indeed, the bigger problem would seem to be if the
        Commission ignored the collective that those projects would have on endangered species.




                                                                                            JA366
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        made up of minority groups.28 I fully appreciate that the jobs and economic stimulus that
        a facility like the Project can provide may be especially important in a community facing
        economic challenges. But, by the same token, we cannot turn a blind eye to the
        incremental impact that increased pollution will have on economically disadvantaged
        communities, which frequently experience a disproportionate toll from the development
        of new industrial facilities. Especially in light of the potential cumulative impact of
        building three large LNG export facilities in a few-mile radius, I do not agree that we can
        dispose of the environmental justice concerns simply on the basis that those groups will
        experience conditions no worse than the surrounding county—particularly when the
        surrounding county presents many of the same concerns that underlie the Council on
        Environmental Quality’s (CEQ) and U.S. Environmental Protection Agency’s (EPA)
        environmental justice guidance.29

         II.    The Commission Fails to Satisfy Its Obligations under NEPA

         11.    The Commission’s NEPA analysis of the Project’s GHG emissions is similarly
         flawed. In order to evaluate the environmental consequences of the Project under NEPA,
         the Commission must consider the harm caused by its GHG emissions and “evaluate the
         ‘incremental impact’ that those emissions will have on climate change or the environment
         more generally.”30 As noted, the operation of the Project will emit more than 600,000
         metric tons of GHGs annually.31 But that drastically understates the actual GHG
         emissions attributable to the Project. Unlike many of the LNG facilities that the
         Commission has approved this year, the Project is powered with electricity from the grid




                28
                  EIS at 4-157 (noting that the poverty rate in Cameron county is 34.8 percent);
         id. 4-156 (noting that four out of the five tracts of land studied were made up of more
         than 50 percent minority populations).
                29
                   EIS at 4-155 – 4-157 (discussing the guidelines provided by the CEQ and EPA
         to identify environmental justice communities).
                30
                   Ctr. for Biological Diversity v. Nat’l Highway Traffic Safety Admin., 538 F.3d
         1172, 1216 (9th Cir. 2008); WildEarth Guardians v. Zinke, 368 F. Supp. 3d 41, 51
         (D.D.C. 2019) (explaining that the agency was required to “provide the information
         necessary for the public and agency decisionmakers to understand the degree to which
         [its] decisions at issue would contribute” to the “impacts of climate change in the state,
         the region, and across the country”).
                31
                     Certificate Order, 169 FERC ¶ 61,130 at P 65; see also EIS at Tables 4.11.1-6.




                                                                                          JA367
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         rather than onsite natural gas turbines.32 Apparently on that basis, the Commission omits
         the resulting GHG emissions from its environmental analysis.

        12.    The GHG emissions caused by the Project’s substantial electricity consumption
        are reasonably foreseeable effects of the Project. The Project will connect to the grid via
        a new transmission line that will extend from the Project to American Electric Power’s
        Union Carbide substation.33 That known point of interconnection makes it easy for the
        Commission to estimate the incremental generation likely to be dispatched to serve the
        Project—as well as the resulting GHG emissions—using one of many well-accepted
        models, such as the Environmental Protection Agency’s eGrid database or Avoided
        Emissions and Generation Tool (AVERT). Deploying one or both of those models would
        have been precisely the sort of “‘reasonable forecasting’” aided by “‘educated
        assumptions’” that NEPA requires.34

         13.     But don’t just take my word for it. Consider the fact that the Commission uses
         and relies on both of those models in similar contexts, including to calculate the air
         emissions in a separate order issued today that approves another LNG export facility that
         is less than 2 miles away from the Project.35 In that order, the Commission relied on both
         eGrid and AVERT to calculate the “indirect emissions,” including GHG emissions,
         caused by the Annova LNG facility’s electricity consumption when assessing the
         reasonable alternatives to that proposed project. I see no reason why the Commission
         cannot use the same models to develop a reasonable estimate—which, again, is exactly
         what NEPA requires36—of the GHG emissions caused by the Project.


               32
                    EIS at 1-17 – 1-18.
               33
                    Id. at 1-17.
               34
                 Sabal Trail, 867 F.3d at 1374 (quoting Del. Riverkeeper Network v. FERC, 753
         F.3d 1304, 1310 (D.C. Cir. 2014)).
               35
                   Annova LNG Environmental Impact Statement, Docket No. CP16-480-000, at
         3-20; id. at 4-104 (stating that the Annova LNG facility is 1.7 miles away from the
         Project site).
               36
                   Moreover, to the extent that the Commission believes these models, and their
         underlying assumptions, may not be perfect solutions, it can still use the models, but
         disclose its concerns so that readers can take the results “with the appropriate grain of
         salt.” Sabal Trail, 867 F.3d at 1374 (“We understand that emission estimates would be
         largely influenced by assumptions rather than direct parameters about the project, but
         some educated assumptions are inevitable in the NEPA process. And the effects of
         assumptions on estimates can be checked by disclosing those assumptions so that readers




                                                                                        JA368
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        14.     The Commission’s failure to quantify the GHG emissions associated with the
        Project’s considerable electricity consumption is especially unreasonable given the other
        sources of GHG emissions that it did quantify in the EIS. For example, the EIS reports
        the indirect GHG emissions resulting from boat traffic caused by the Project.37 Indeed, it
        goes so far as to estimate the GHG emissions that will result from different types of boats
        used to serve the facility (e.g., LNG carrier v. tugboat v. pilot boat).38 I fail to see how
        the Commission can reasonably refuse to use well-established models—ones that it is
        perfectly comfortable relying on in a similar context—to estimate the GHG emissions
        from electricity consumption, but then confidently ascribe likely GHG emissions levels
        for different types of boats.

        15.    In any case, although quantifying the Project’s GHG emissions is a necessary step
        toward meeting the Commission’s NEPA obligations, listing the volume of emissions
        alone is insufficient.39 As an initial matter, identifying the consequences that those
        emissions will have for climate change is essential if NEPA is to play the disclosure and
        good government roles for which it was designed. The Supreme Court has explained that
        NEPA’s purpose is to “ensure[] that the agency, in reaching its decision, will have
        available, and will carefully consider, detailed information concerning significant
        environmental impacts” and to “guarantee[] that the relevant information will be made
        available to the larger audience that may also play a role in both the decisionmaking
        process and the implementation of that decision.”40 It is hard to see how hiding the ball


        can take the resulting estimates with the appropriate amount of salt.” (internal citations
        and quotation marks omitted)).
               37
                 Certificate Order, 169 FERC ¶ 61,130 at n.111; see also EIS at Tables 4.11.1-8
        – 4.11.1-9.
               38
                    EIS at Table 4.11.1-9.
               39
                  See Ctr. for Biological Diversity, 538 F.3d at 1216 (“While the [environmental
        document] quantifies the expected amount of CO2 emitted . . . , it does not evaluate the
        ‘incremental impact’ that these emissions will have on climate change or on the
        environment more generally . . . .”); Klamath-Siskiyou Wildlands Ctr. v. Bureau of Land
        Mgmt., 387 F.3d 989, 995 (9th Cir. 2004) (“A calculation of the total number of acres to
        be harvested in the watershed is a necessary component . . . , but it is not a sufficient
        description of the actual environmental effects that can be expected from logging those
        acres.”).
               40
                Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752, 768 (2004) (citing Robertson v.
         Methow Valley Citizens Coun., 490 U.S. 332, 349 (1989)).




                                                                                          JA369
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        by refusing to assess the significance of the Project’s climate impacts is consistent with
        either of those purposes.

        16.    In addition, under NEPA, a finding of significance informs the Commission’s
        inquiry into potential ways of mitigating environmental impacts.41 An environmental
        review document must “contain a detailed discussion of possible mitigation measures” to
        address adverse environmental impacts.42 “Without such a discussion, neither the agency
        nor other interested groups and individuals can properly evaluate the severity of the
        adverse effects” of a project, meaning that an examination of possible mitigation
        measures is necessary to ensure that the agency has taken a “hard look” at the
        environmental consequences of the action at issue.43

        17.     The Commission responds that it need not determine whether the Project’s
        contribution to climate change is significant because “[t]here is no universally accepted
        methodology” for assessing the harms caused by the Project’s contribution to climate
        change.44 But the lack of a single consensus methodology does not prevent the
        Commission from adopting a methodology, even if it is not universally accepted. The
        Commission could, for example, select one methodology to inform its reasoning while
        also disclosing its potential limitations or the Commission could employ multiple
        methodologies to identify a range of potential impacts on climate change. In refusing to
        assess a project’s climate impacts without a perfect model for doing so, the Commission
        sets a standard for its climate analysis that is higher than it requires for any other
        environmental impact.


               41
                  40 C.F.R. § 1502.16 (2018) (NEPA requires an implementing agency to form a
        “scientific and analytic basis for the comparisons” of the environmental consequences of
        its action in its environmental review, which “shall include discussions of . . . [d]irect
        effects and their significance.”).
               42
                    Robertson, 490 U.S. at 351.
               43
                    Id. at 352.
               44
                  EIS at 4-344 (stating “there is no universally accepted methodology to attribute
        discrete, quantifiable, physical effects on the environment to Project’s incremental
        contribution to GHGs” and “[w]ithout either the ability to determine discrete resource
        impacts or an established target to compare GHG emissions against, we are unable to
        determine the significance of the Project’s contribution to climate change”); see also
        Certificate Order, 169 FERC ¶ 61,130 at P 57 (“The Commission has also previously
        concluded it could not determine whether a project’s contribution to climate change
        would be significant.”).




                                                                                         JA370
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        18.     In any case, the Commission has several tools to assess the harm from the
        Project’s contribution to climate change. For example, by measuring the long-term
        damage done by a ton of carbon dioxide, the Social Cost of Carbon links GHG emissions
        to the harm caused by climate change, thereby facilitating the necessary “hard look” at
        the Project’s environmental impacts that NEPA requires. Especially when it comes to a
        global problem like climate change, a measure for translating a single project’s climate
        change impacts into concrete and comprehensible terms plays a useful role in the NEPA
        process by putting the harm in terms that are readily accessible for both agency
        decisionmakers and the public at large. Yet, the Commission continues to ignore the
        Social Cost of Carbon, relying instead on deeply flawed reasoning that I have previously
        critiqued at length.45

        19.    Furthermore, even without a formal tool or methodology, the Commission can
        consider all factors and determine, quantitatively or qualitatively, whether the Project’s
        GHG emissions will have a significant impact on climate change. After all, that is
        precisely what the Commission does in other aspects of its environmental review, where
        the Commission makes several significance determinations without the tools it claims it
        needs to assess the significance of the Project’s impact on climate change.46 The
        Commission’s refusal to similarly analyze the Project’s impact on climate change is
        arbitrary and capricious.

        20.    And even if the Commission were to determine that the Project’s GHG emissions
        are significant, that is not the end of the analysis. Instead, as noted above, the
        Commission could blunt those impacts through mitigation—as the Commission often
        does with regard to other environmental impacts. The Supreme Court has held that an
        environmental review must “contain a detailed discussion of possible mitigation
        measures” to address adverse environmental impacts.47 As noted above, “[w]ithout such
        a discussion, neither the agency nor other interested groups and individuals can properly




               45
               See, e.g., Fla. Se. Connection, LLC, 164 FERC ¶ 61,099 (2018) (Glick,
        Comm’r, dissenting).
               46
                 See, e.g., EIS at 4-14, 4-22, 4-23, 4-36 – 4-37, 4-44, 4-50, 4-55, 45-8, 4-72
        (concluding there will be no significant impact on groundwater recharge, turbidity,
        surface water quality due to hydrostatic testing, wetlands, vegetation, wildlife, migratory
        bird populations, pollinator habitat, and aquatic resources due to cooling water intake,
        among other things).
               47
                    Robertson, 490 U.S. at 351.




                                                                                         JA371
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        evaluate the severity of the adverse effects.”48 Consistent with this obligation, the EIS
        discusses mitigation measures to ensure that the Project’s adverse environmental impacts
        (other than its GHG emissions) are reduced to less-than-significant levels.49 And
        throughout today’s order, the Commissions uses its conditioning authority under section
        3 and section 7 of the NGA50 to implement these mitigation measures, which support its
        public interest finding.51 Once again, however, the Project’s climate impacts are treated
        differently, as the Commission refuses to identify any potential climate mitigation
        measures or discuss how such measures might affect the magnitude of the Project’s
        impact on climate change.

        21.     Finally, the Commission’s refusal to seriously consider the significance of the
        impact of the Project’s GHG emissions is even more mystifying because NEPA “does not
        dictate particular decisional outcomes.”52 NEPA “‘merely prohibits uninformed—rather
        than unwise—agency action.’”53 The Commission could find that a project contributes
        significantly to climate change, but that it is nevertheless in the public interest because its
        benefits outweigh its adverse impacts, including on climate change. In other words,
        taking the matter seriously—and rigorously examining a project’s impacts on climate
        change—does not necessarily prevent any of my colleagues from ultimately concluding
        that a project satisfies the relevant public interest standard.



               48
                 Id. at 351-52; see also 40 C.F.R. §§ 1508.20 (defining mitigation), 1508.25
        (including in the scope of an environmental impact statement mitigation measures).
               49
                  See, e.g., Certificate Order, 169 FERC ¶ 61,130 at P 67 (discussing mitigation
        required by the Commission to address reliability and safety impacts from the Project);
        id. P 59 (discussing mitigation measures required to address air quality and noise); id. P
        39 (discussing mitigation measures required to address impacts on vegetation).
               50
                  15 U.S.C. § 717b(e)(3)(A); id. § 717f(e); Certificate Order, 169 FERC ¶ 61,130
        at P 83 (“[T]he Commission has the authority to take whatever steps are necessary to
        ensure the protection of environmental resources . . . , including authority to impose any
        additional measures deemed necessary.”).
               51
                   See Certificate Order, 169 FERC ¶ 61,130 at P 83 (explaining that the
         environmental conditions ensure that the Project’s environmental impacts are consistent
         with those anticipated by the environmental analyses, which found that the Project would
         not significantly affect the quality of the human environment).
               52
                    Sierra Club v. U.S. Army Corps of Engineers, 803 F.3d 31, 37 (D.C. Cir. 2015).
               53
                    Id. (quoting Robertson, 490 U.S. at 351).




                                                                                           JA372
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               For these reasons, I respectfully dissent.

         ______________________________
         Richard Glick
         Commissioner




                                                                                   JA373
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                                       170 FERC ¶ 61,139
                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION


         Before Commissioners: Neil Chatterjee, Chairman;
                               Richard Glick and Bernard L. McNamee.


         Texas LNG Brownsville LLC                                    Docket No. CP16-116-001

                                  ORDER ON REHEARING AND STAY

                                         (Issued February 21, 2020)

                On November 22, 2019, the Commission issued an order pursuant to section 3 of
         the Natural Gas Act1 and Part 153 of the Commission’s regulations2 authorizing
         Texas LNG Brownsville LLC (Texas LNG) to site, construct, and operate facilities for
         the liquefaction and export of domestically-produced natural gas at a proposed liquefied
         natural gas (LNG) terminal on the north side of the Brownsville Shipping Channel in
         Cameron County, Texas (Texas LNG Project).3 Sierra Club, Texas RioGrande Legal Aid
         (on behalf of Shrimpers and Fisherman of the RGV and Vecinos para el Bienestar de la
         Comunidad Costera), Save RGV from LNG, Defenders of Wildlife, the City of South
         Padre Island, the City of Port Isabel, and the Town of Laguna Vista (collectively Sierra
         Club) filed a joint request for rehearing and stay of the Authorization Order. For the
         reasons discussed below, we deny the request for rehearing and dismiss the request for
         stay as moot.




               1
                   15 U.S.C. § 717b (2018).
               2
                   18 C.F.R. pt. 153 (2019).
               3
                   Texas LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019) (Authorization Order).




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         I.     Background

               The Texas LNG Project is designed to export approximately 4 million metric
        tonnes per annum (MTPA) of LNG.4 The project facilities will occupy 625 acres of land5
        and include two full-containment LNG storage tanks with a capacity of approximately
        210,000 cubic meters of LNG each; two liquefaction trains, each with a capacity of
        2.0 MTPA of LNG;6 a single LNG carrier berth; mooring and loading facilities; and other
        appurtenant facilities.7 The Texas LNG Project will receive natural gas via an
        approximately 10.2-mile-long non-jurisdictional intrastate natural gas pipeline that would
        interconnect with the Valley Crossing Pipeline.8

                In September 2015, Texas LNG received authorization from the Department of
         Energy, Office of Fossil Energy (DOE) to export the project’s full capacity, up to
         204.4 billion cubic feet (Bcf) annually (approximately 0.56 Bcf per day (Bcf/d))
         equivalent of natural gas, in the form of LNG to countries with which the United States
         has a Free Trade Agreement.9 In addition, Texas LNG currently has a pending




                4
                    Id. P 4.
                5
                  Of the 625 acres, about 312 acres would be disturbed. Authorization Order,
         169 FERC ¶ 61,130 at P 54. The parcel is owned by the Brownsville Navigational
         District, a political subdivision of Texas that operates the Port of Brownsville. Texas LNG
         has an option agreement for the parcel with the Brownsville Navigational District for
         a 25- to 30-year lease. Authorization Order, 169 FERC ¶ 61,130 at P 6.
                6
                 While each liquefaction train will have a nameplate capacity of 2.25 MTPA,
         Texas LNG anticipates that as operated, each train will produce 2.0 MTPA of LNG for
         export. Id. at n.5 (citing Application at 4, n.8).
                7
                    Id. P 5.
                8
                  Id. P 4. Valley Crossing Pipeline is a non-jurisdictional natural gas pipeline that
         extends southwest from a header system near the Agua Dulce natural gas hub to a
         jurisdictional border-crossing facility east of Cameron County, Texas, in the Gulf of
         Mexico.
                9
                  Texas LNG Brownsville LNG, DOE/FE Docket No. 15-62-LNG, Order No. 3716
         (Sept. 24, 2015), https://www.energy.gov/sites/prod/files/2015/09/f26/ord3716.pdf.




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         application with DOE to export LNG to other nations with which the U.S. permits such
         trade, but has not entered into a Free Trade Agreement.10
               On November 22, 2019, the Commission authorized Texas LNG’s proposal,
        subject to conditions.11 On the same day, the Commission also authorized two other
        proposed LNG terminals on the Brownsville Shipping Channel: the Rio Grande LNG
        Terminal proposed by Rio Grande LNG, LLC (Rio Grande)12 and the Annova LNG
        Brownsville Project proposed by Annova LNG Common Infrastructure, LLC (Annova).
        13
           In this order we refer to these projects collectively as the Brownsville LNG terminals.

         II.   Procedural Matters

                 The Commission received Sierra Club’s joint request for rehearing and stay at
         5:48 pm on December 23, 2019. On January 7, 2020, Texas LNG filed a combined
         motion to strike, motion for leave to answer, and answer in response to the request for
         rehearing. On January 21, 2020, Sierra Club filed an answer to Texas LNG’s motion to
         strike.

               A.       Late Filed Request for Rehearing

                NGA section 19(a) allows an aggrieved party to file a request for rehearing within
         30 days after the issuance of a final Commission order.14 The Commission’s business
         hours are “from 8:30 a.m. to 5:00 p.m.,”15 and filings must be made before 5:00 p.m. in



               10
                  Texas LNG Brownsville LNG, DOE/FE Docket No. 15-62-LNG,
         https://www.energy.gov/fe/texas-lng-brownsville-lng-llc-fe-dkt-15-62-lng.
               11
                    Authorization Order, 169 FERC ¶ 61,130.
               12
                  Rio Grande LNG, LLC, 169 FERC ¶ 61,131, on reh’g and stay, 170 FERC ¶
         61,046 (2020). In the same 2019 order the Commission authorized the Rio Bravo
         Pipeline Project proposed by Rio Bravo Pipeline Company, LLC.
               13
                 Annova LNG Common Infrastructure, LLC, 169 FERC ¶ 61,132 (2019).
         Annova submitted its application jointly with three affiliate entities.
               14
                  15 U.S.C. § 717r(a) (providing that any aggrieved party “may apply for a
         rehearing within thirty days after the issuance of such order.”). See 18 C.F.R. § 385.713(b)
         (2019) (“A request for rehearing by a party must be filed not later than 30 days after
         issuance of any final decision or other final order in a proceeding.”).
               15
                    18 C.F.R. § 375.101(c) (2019).




                                                                                        JA376
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         order to be considered filed on that day.16 The Commission may accept submissions
         deemed to be late when documents could not be presented on time due to error or
         oversight on the part of the Commission.17

                Requests for rehearing of the Authorization Order were due by 5:00 p.m. on
         December 23, 2019. On that date, Sierra Club’s request for rehearing was received at
         5:48 p.m., after the 5:00 p.m. deadline.18 However, the Commission’s eFiling system
         could not accept filings starting at 4:40 p.m. and function was not restored until after
         5:00 p.m. Accordingly, Sierra Club’s filing is deemed to have been timely filed. We
         deny Texas LNG’s motion to strike, and we dismiss Sierra Club’s answer to the motion
         as moot.

               B.       Party Status

                Under NGA section 19(a) and Rule 713(b) of the Commission’s Rules and Practice
         and Procedure, only a party to a proceeding has standing to request rehearing of a final
         Commission decision.19 Any person seeking to become a party must file a motion to
         intervene pursuant to Rule 214 of the Commission’s Rules of Practice and Procedure.20
         Shrimpers and Fisherman of the RGV never sought to intervene in this proceeding and,
         accordingly, they may not join in the rehearing requests filed by Sierra Club.

               C.       Answer to Request for Rehearing

                 Rule 713(d)(1) of the Commission’s Rules of Practice and Procedure21 prohibits
         answers to a request for rehearing. Accordingly, to the extent Texas LNG’s answer
         responds to Sierra Club’s request for rehearing, as opposed to its motion for stay, we
         reject the answer.




               16
                    See, e.g., Cameron LNG, LLC, 148 FERC ¶ 61,237, at P 6 (2014).
               17
                  See, e.g., Westar Energy, Inc., 137 FERC ¶ 61,142, at P 19 (2011) (accepting
        requests for rehearing when the request was submitted within the 30 day limit but was
        incorrectly time stamped due to an error in the Commission’s eFiling system).
               18
                    Sierra Club December 23, 2019 Request for Rehearing and Stay.
               19
                    15 U.S.C. § 717f(a); 18 C.F.R. § 385.713(b).
               20
                    18 C.F.R. § 385.214(a)(3) (2019).
               21
                    18 C.F.R. § 385.713(d)(1).




                                                                                        JA377
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                D.         Stay

                Sierra Club requests that the Commission stay the Authorization Order pending
         issuance of an order on rehearing.22 Because this order addresses and denies their request
         for rehearing, we dismiss the request for stay as moot.

         III.   Discussion

                A.         Connected Actions

                 Sierra Club contends that the DOE review of whether to authorize exports to
         non-Free Trade Agreement (FTA) nations is a “connected action” that must be
         considered in the Environmental Impact Statement (EIS) prepared by Commission staff
         for this project,23 claiming that the EIS should have considered gas production and use as
         indirect impacts of the non-FTA-nation authorization, which DOE has acknowledged has
         reasonably foreseeable indirect impacts on gas production and use.24

                Pursuant to CEQ regulations, “connected actions” include actions that:
         (a) automatically trigger other actions, which may require an EIS; (b) cannot or will not
         proceed without previous or simultaneous actions; or (c) are interdependent parts of a
         larger action and depend on the larger action for their justification.25 In evaluating
         whether multiple actions are, in fact, connected actions, courts have employed a
         “substantial independent utility” test, which the Commission finds useful for determining
         whether the three criteria for a connected action are met. The test asks “whether one
         project will serve a significant purpose even if a second related project is not built.”26


                22
                   Sierra Club Request for Rehearing and Stay at 31-35. Sierra Club argues in a
         footnote that the Secretary of the Commission lacks delegated authority to toll the time
         for action on Sierra Club’s request for rehearing because it is paired with a motion for
         stay. Id. at 31 n.107. Sierra Club cites the preamble to the Commission’s 1995
         rulemaking on delegations of authority. Id. Our regulations delegate authority to the
         Secretary to “Toll the time for action on rehearing” without qualification. 18 C.F.R.
         § 375.302(v) (2019). The unambiguous language of the regulation is controlling. See
         Nat’l Wildlife Fed’n v. EPA, 286 F.3d 554, 569-70 (D.C. Cir. 2002); Entergy Servs., Inc.
         v. FERC, 375 F.3d 1204, 1209 (D.C. Cir. 2004).
                23
                     Sierra Club Request for Rehearing and Stay at 29.
                24
                     Id.
                25
                     40 C.F.R. § 1508.25(a)(1) (2019).
                26
                     Coalition on Sensible Transp., Inc. v. Dole, 826 F.2d 60, 69 (D.C. Cir. 1987).



                                                                                           JA378
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                The DOE authorization for Texas LNG to export to non-FTA nations is not a
         connected action to the Commission’s authorization for the Texas LNG Terminal. As
         explained in the Authorization Order,27 as required by NGA section 3(c), DOE granted
         authority to Texas LNG to export 204.4 billion cubic feet per year to free trade nations,
         which is approximately equivalent to the full capacity of the project of 4 MTPA.28 No
         additional trade authorizations are needed for the terminal to operate. Because the
         terminal already has a significant purpose and could proceed absent the authorization for
         non-FTA nations,29 the two are not connected actions.

                 Sierra Club disagrees and argues that, despite a full authorization for FTA nations,
         as a practical matter, the project is nonetheless dependent on non-FTA nation
         authorization to proceed.30 As evidence, Sierra Club points out that no other large LNG
         export proposal has proceeded without non-FTA nation authorization and there may not
         be a large enough LNG market in FTA countries to support project exports.31 Sierra
         Club’s claim that all LNG projects rely on non-FTA nation authorization is speculative
         and its claim about the size of the FTA nation LNG market is unsupported.

                Sierra Club next contends that even if the Texas LNG Terminal does not depend
         on non-FTA nation authorization, the two actions are connected because the non-FTA
         nation exports authorization does not have independent utility absent the Texas LNG
         Terminal.32 But under CEQ’s definition of a connected action, our action regarding
         Texas LNG’s proposal must have an interdependent relationship with the non-FTA



         See also O'Reilly v. U.S. Army Corps of Eng’rs, 477 F.3d 225, 237 (5th Cir. 2007)
         (defining independent utility as whether one project “can stand alone without requiring
         construction of the other [projects] either in terms of the facilities required or of
         profitability”).
                  27
                       Authorization Order, 169 FERC ¶ 61,130 at P 7.
                  28
                       Texas Gulf LNG, DOE/FE Docket No. 15-62-LNG, Order No. 3716 (Sept. 24,
         2015).
                  29
                   Texas LNG Brownsville LLC, DOE/FE Docket No. 15-62-LNG, Order No. 4489
         (Feb. 10, 2020) (authorizing the export of 204.4 billion cubic feet per year to non-FTA
         nations).
                  30
                       Sierra Club Request for Rehearing and Stay at 30.
                  31
                       Id. at 35-36.
                  32
                       Id.




                                                                                          JA379
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         nation authorization.33 Nothing about our authorization of the Texas LNG Terminal
         “triggers” or mandates non-FTA nation authorization and, as discussed, the project can
         proceed without such authorization.

                B.        Commercial Fishing and Tourism Impacts

                          1.     Commercial Fishing and Shrimping Impacts

                Sierra Club asserts that the Final EIS failed to take a hard look at the impacts of
         LNG vessel transit on commercial fishing and shrimping operations using the
         Brownsville Shipping Channel.34 Sierra Club explains that commercial and sport
         fisherman will be impacted by increased vessel traffic, primarily caused by the U.S.
         Coast Guard’s authority to restrict marine traffic and establish security zones for LNG
         carriers.35 Sierra Club states that LNG vessel arrivals and departures will block fishing
         and other traffic, but the Final EIS did not evaluate how those delays will impact
         commercial fishers.36

                 We deny rehearing. The Final EIS acknowledged that because large vessel
         traffic in the Brownsville Shipping Channel is one-way and because LNG carriers are
         subject to a moving security zone, the LNG carriers in transit to the three Brownsville
         LNG terminals could preclude other vessel traffic.37 Current vessel traffic is about
         1,057 vessels per year, not including commercial and recreational fishing boats.38 During
         construction, the cumulative barge deliveries at the three Brownsville LNG terminals
         would result in an anticipated 17% annual increase in vessel traffic.39 Although the

                33
                   40 C.F.R. § 1508.25(a)(1). See also Del. Riverkeeper Network v. FERC,
         753 F.3d 1304, 1313 (D.C. Cir. 2014) (finding that four pipeline proposals were
         connected actions because the four projects would result in “a single pipeline” that was
         “linear and physically interdependent” and because the projects were financially
         interdependent).
                34
                     Sierra Club Request for Rehearing and Stay at 4-9.
                35
                     Id. at 6.
                36
                     Id. 6-7.
                37
                     Final EIS at 4-332.
                38
                     Id. at 4-150, 4-331.
                39
                  Id. at 4-331. Texas LNG anticipates the arrival of 109 barges during the
         five-year construction period for the Texas LNG Project. Id. at 4-150, 4-154. Compared
         with the current 61 barges per month transiting the channel, Id. at 4-150, the Final EIS



                                                                                          JA380
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         increase would be noticeable, the Final EIS concluded that impacts to other users in the
         waterway would be consistent with existing use of the waterway.40 During operation, the
         cumulative LNG carrier transits to and from the three Brownsville LNG terminals
         would represent a 48% annual increase in vessel traffic.41 This would likely
         result in delays for commercial fishing and shrimping vessels that transit the
         Brownsville Shipping Channel to reach the Gulf of Mexico or fishing destinations in the
         Laguna Madre.42 LNG vessel operators would reduce the impacts on other users in the
         channel by notifying the U.S. Coast Guard and Harbormaster 96 hours in advance of the
         LNG vessel’s expected arrival to ensure that the timing of LNG vessel transits are aligned
         with other shipping schedules.43 For this reason, the Final EIS concluded that cumulative
         impacts on commercial fisheries would be permanent and moderate.44 Thus, the Final
         EIS appropriately considered the impacts of LNG vessel transit on commercial fishing
         and shrimping operations.

                 Additionally, Sierra Club asserts that the Final EIS does not address how aquatic
         life mortality caused by the LNG project will impact commercial fishing.45 We disagree.
         The Final EIS evaluated project impacts on aquatic resources due to dredging, in-water
         pile driving, ballast and cooling water discharges, water intakes, and increased vessel
         traffic. First, the Final EIS stated that dredging of the maneuvering basin during
         construction would temporarily increase noise, turbidity, and sedimentation in the
         Brownsville Shipping Channel.46 These impacts would reduce light penetration and

         concluded that Texas LNG’s construction barge traffic represents a negligible increase
         that is not anticipated to impact commercial fishing in the region. Id. at 4-154.
                40
                     Id. at 4-331.
                41
                   Id. at 4-332 to 4-333. Texas LNG anticipates that six LNG vessels per month
         would call on its terminal, representing a 7% increase in annual vessel traffic in the
         channel. Id. at 4-151. The six LNG vessels could result in delays up to 18 hours per
         week for fishing boats transiting the channel. Id. at 4-151. The Final EIS concluded that
         this additional traffic would result in minor, intermittent impacts on commercial fisheries.
         Id. at 4-154.
                42
                     Final EIS at 4-333.
                43
                     Id. at 4-332.
                44
                     Id. at 4-332.
                45
                     Sierra Club Request for Rehearing and Stay at 5-6.
                46
                     Final EIS at 5-363.




                                                                                          JA381
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        decrease dissolved oxygen concentrations, adversely affecting fish egg and juvenile fish
        survival, benthic community diversity and health, foraging success, and suitability of
        spawning habitat.47 To dredge the channel, Texas LNG proposed to use a hydraulic
        cutterhead dredge to minimize impacts from turbidity and sedimentation during project
        construction.48 Second, in-water pile driving would create sound waves that would
        adversely affect fish and other aquatic resources.49 The Final EIS recommended that
        Texas LNG conduct test pile drives and measure the actual underwater noise prior to
        initiating pile-driving activities to ensure that underwater sound pressures are not greater
        than predicted in the Final EIS.50 Third, the Final EIS explained that LNG carriers would
        discharge ballast and cooling water that would result in temporary and localized changes
        in pH, salinity, temperature, and dissolved oxygen levels.51 However, the Final EIS
        determined, and we agree, that the impacts on aquatic resources resulting from ballast
        and cooling water discharges would be intermittent and not significant due to the volume
        of ballast and cooling water discharged relative to the total volume of water within the
        maneuvering basin and the mobility of aquatic life.52 Fourth, the Final EIS determined
        that cooling water intakes and intakes associated with the seawater firewater systems
        would also result in the entrainment of small organisms, such as fish larvae and eggs.53
        Texas LNG will screen all intakes, but direct mortality of smaller organisms could
        occur.54 Despite the impacts, the Final EIS found that due to the limited frequency of
        LNG carriers calling on the Texas LNG’s terminal (74 per year) and the infrequent use of
        the seawater firewater system, impacts on aquatic resources from entrainment would not
        be significant.55 Fifth, the Final EIS stated that increased vessel traffic during
        construction and operation of the project would also result in an increased potential for



               47
                    Id.
               48
                    Id.
               49
                    Id.
               50
                    Id.
               51
                    Id.
               52
                    Id.
               53
                    Id.
               54
                    Id.
               55
                    Id.




                                                                                         JA382
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        spills of hazardous materials; however, all ships are required to maintain a Coast Guard
        Shipboard Oil Pollution Emergency Plan to minimize impacts on aquatic resources.56

                 In addition, we find that the Texas LNG Project will not impact fish and shrimp
         populations57 because a majority of commercial fisheries in the region are offshore, with
         some commercial fishing occurring in the Lower Laguna Madre.58 For commercial
         shrimping purposes, the Lower Laguna Madre, including the Brownsville Shipping
         Channel, is considered a Bait Bay.59 Specifically identified Bait Bays, including the
         Brownsville Shipping Channel, are not considered nursery areas that serve as significant
         growth and development environments for post larval and juvenile shrimp.60 Construction
         of the Texas LNG Project will result in dredging to create a maneuvering basin,
         permanently converting 39.4 acres of tidal flats to open water habitat in an area
         characterized as essential fish habitat.61 The Final EIS stated that the tidal flats within and
         surrounding the project site have historically been cut off from the influences of natural
         tidal exchange; thus, dredging is anticipated to restore tidal flows to the tidal flats
         surrounding the project site and improve aquatic habitat and enhance essential fish habitat
         in the area.62 During its essential fish habitat consultation required by the Magnuson-
         Stevens Fishery Conservation and Management Act,63 the National Marine Fisheries
         Service concurred with Commission staff’s conclusion that project impacts on essential




                56
                     Id.
                57
                     Sierra Club Request for Rehearing and Stay at 9.
                58
                     Final EIS at 4-153.
                59
                  Id. at 4-63. The Final EIS defined “Bait Bays” as areas where a boat licensed as
         a commercial bait shrimp boat is used inside waters of the state for taking bait shrimp for
         pay, barter, sale, or exchange. Id.
                60
                     Id. at 4-61.
                61
                     Authorization Order, 169 FERC ¶ 61,130 at P 46; Final EIS at 5-363.
                62
                     Authorization Order, 169 FERC ¶ 61,130 at P 46; Final EIS at 5-363.
                63
                  16 U.S.C. § 1855(b)(2) (2018) (requiring federal agencies to consult with the
         Secretary of Commerce regarding any action or proposed action authorized, funded, or
         undertaken by the agency that may adversely affect essential fish habitat identified under
         the Magnuson-Stevens Fishery Conservation and Management Act).




                                                                                           JA383
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        fish habitat would be “temporary and minor.”64 Accordingly, we find that the project is
        not expected to significantly impact the yield of commercial fisheries in the project area.

                Further, the Final EIS evaluated the cumulative impacts on aquatic resources
         caused by construction and operation of the Texas LNG, Annova, and Rio Grande LNG
         terminals and found that the impacts on aquatic resources would be additive.65 Although
         the Texas LNG Project will provide some long-term beneficial impacts on essential fish
         habitat, the Annova LNG Brownsville Project and Rio Grande LNG Terminal will
         adversely impact essential fish habitat; however, all of the projects are required to
         mitigate any permanent impacts on these habitats under their Clean Water Act (CWA)
         section 404 permits.66 Thus, the Final EIS found the cumulative impacts of the projects
         on essential fish habitat would be minor.67 The Final EIS found that construction of the
         projects would dredge a large portion of the Brownsville Shipping Channel for an
         extended period of time and would result in increases in turbidity and decreases in
         dissolved oxygen.68 The Final EIS stated that these effects would reduce the prey
         available for predators in the area and that more mobile species would relocate to find
         suitable habitat.69 However, the Final EIS explained that these effects would be moderate
         but temporary, ending once construction ceases.70 The Final EIS evaluated the effects of
         concurrent pile-driving activities and found, with mitigation measures, the effects of pile-
         driving on aquatic species would be minor.71 The Final EIS also evaluated the impacts of
         concurrent operation of the projects and found that impacts from cooling and ballast
         water discharges on aquatic species would be intermittent and negligible, while cooling



                64
                   Letter from Virginia M. Fay, NMFS, concurring with Commission staff’s
         essential fish habitat assessment as included in the Draft Environmental Impact Statement
         (filed Feb. 6, 2019) (finding that Magnuson-Stevens Fishery Conservation and
         Management Act consultation is complete).
                65
                     Final EIS at 4-310.
                66
                     Id.
                67
                     Id.
                68
                     Id. at 4-310 to 4-311.
                69
                     Id. at 4-311.
                70
                     Id.
                71
                     Id.




                                                                                          JA384
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        water intakes would have an intermittent and moderate impact on aquatic resources.72
        The projects must comply with the CWA to minimize impacts on surface water, and to
        avoid, minimize, or mitigate wetland impacts.73 The Final EIS found, and we agree, that
        although the Texas LNG project will contribute to the cumulative impacts on aquatic
        resources, the impact would not be significant.74

                           2.     Tourism Impacts

                Sierra Club states that the Final EIS determined that the Texas LNG Project would
         have moderate and permanent impacts on tourism,75 but failed to explain how impacts on
         wildlife,76 recreational fishing,77 short-term rentals,78 and industrial development would
         impact tourism.79

                We disagree. The Final EIS evaluated how project impacts would affect tourism.
         The Final EIS explained that impacts on tourism resulting from noise and road traffic
         would be greatest during construction of the Texas LNG Project.80 During project
         operation, tourism would experience impacts from increased vessel traffic and visibility
         of project facilities.81 However, the Final EIS states that most popular tourist activities
         and destinations in the project vicinity would not be directly affected by the Texas LNG
         Project.82



                72
                     Id.
                73
                     Id. at 4-312.
                74
                     Id. at 4-311.
                75
                     Sierra Club Request for Rehearing and Stay at 9 (citing Final EIS at 4-144, 4-152).
                76
                     Id. at 10.
                77
                     Id. at 11-12
                78
                     Id. at 12.
                79
                     Id. at 12-13.
                80
                     Final EIS at 4-153.
                81
                     Id. at 4-153 to 4-154.
                82
                     Id. at 4-153.




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                The Final EIS evaluated nine recreation sites near the Texas LNG Project, five of
        which provide wildlife tourism opportunities.83 In the Laguna Atascosa National
        Wildlife Refuge, all recreation areas are more than two miles from the proposed project
        site.84 The Final EIS indicated that bird-watching and wildlife viewing in the refuge
        could be affected by an increase in traffic and pile-driving noise during construction and
        an increase in ambient noise at the refuge of approximately 1.0 decibel during project
        operation.85 The Final EIS found that the impacts from construction noise would be
        temporary, but noticeable; the impacts from increased traffic during construction would
        be moderate, but temporary and not significant; and the impacts resulting from
        operational noise would be permanent, but not perceptible.86 Further, the Final EIS found
        that increased noise and light during both construction and operation of the project would
        likely impact wildlife within the Laguna Atascosa National Wildlife Refuge. However,
        impacts would be greatest during construction and decrease significantly during
        operation.87 With the implementation of the measures proposed by Texas LNG, the Final
        EIS concluded that impacts on wildlife from construction and operation of the projects
        will not be significant.88 At the Loma Ecological Preserve, construction noise may be
        perceptible in parts of the preserve; however, the impacts would be temporary and not
        significant. The Final EIS also found that the project’s operational noise at the Loma
        Ecological Preserve would be less than described for the Laguna Atascosa National
        Wildlife Refuge due to the increased distance of the Preserve from the project facilities.89
        At the Lower Rio Grande Valley National Wildlife Refuge, impacts from construction
        noise would not rise above ambient noise levels, but the refuge could experience minor
        impacts from traffic during construction.90 The Final EIS also determined that due to the
        distance from project activities, the South Bay Coastal Preserve and South Bay Paddling


               83
                    Id. at ES-8, 4-107 to 4-111.
               84
                    Id. at 4-108.
               85
                  Final EIS 4-107. An increase in ambient noise of around 1 decibel is likely not
         perceptible to recreation users. Typically perceptible noise increases for humans are
         around 3.0 decibels.
               86
                    Id. at 4-108.
               87
                    Id. at 5-362.
               88
                    Id. at ES-6.
               89
                    Id. at 4-108.
               90
                    Id. at 4-111.




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        Trail, and the Brazos Island State Scenic Park would not be directly affected by the
        project activities.91

                Additionally, the Final EIS determined that concurrent operation of the Texas
         LNG, Rio Grande, and Annova LNG terminals will have a significant impact on visual
         resources from recreational areas, including the Laguna Atascosa and Lower Rio Grande
         Valley National Wildlife Refuges, the Loma Ecological Preserve, and the South Bay
         Coastal Preserve and South Bay Paddling Trail.92 However, the projects are not
         anticipated to have an impact on beach visitors, because the South Padre Island beaches
         face eastward toward the Gulf of Mexico, away from the project site.93

                 We also disagree with Sierra Club’s claim that the Final EIS did not address how
         impacts on recreational fishing would affect the tourism industry.94 The Final EIS
         determined that overall, the Texas LNG Project would not have significant impacts on
         recreational fishing.95 The Final EIS determined that construction and operation of the
         Texas LNG Project could affect recreational fishing through restrictions in fishing access,
         increases in noise, and changes in vessel traffic, but would not restrict fishing access to
         bays in the project area or in the Gulf of Mexico.96 The Final EIS stated that construction
         and operation of the project could cause some local anglers to use undesignated fishing
         areas further from the project site.97 However, the Final EIS determined, and we agree,
         that the project overall would not significantly impact recreational fishing.98 The Final
         EIS also found that operation of the Texas LNG, Annova LNG Brownsville, and Rio
         Grande LNG Projects will result in permanent and moderate cumulative impacts on
         tourism and recreational fishing, because a 48% increase in vessel traffic will cause




                91
                     Id. at 4-109.
                92
                     Id. at 4-326, 5-372.
                93
                     Id. at 4-332.
                94
                     Sierra Club Request for Rehearing and Stay at 11-12.
                95
                     Final EIS at 4-153.
                96
                     Id. at 4-333.
                97
                     Id. at 4-153.
                98
                     Id.




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        delays in recreational fishing vessel access to the Brownsville Shipping Channel to reach
        the Gulf of Mexico.99

                 We also disagree with Sierra Club’s assertion that the Final EIS did not consider
         how impacts on commercial fishing can affect tourism and vice versa.100 As explained
         above, the majority of the commercial fisheries in the region are based offshore, with
         some commercial fishing occurring in the Lower Laguna Madre.101 The Final EIS
         determined that construction of the project is not anticipated to impact commercial
         fishing because construction of the project will result in negligible increases in vessel
         traffic.102 However, during operation of the project approximately six LNG carriers will
         call on the Texas LNG Project per month, resulting in delays for fishing boats transiting
         the Brownsville Shipping Channel. As a result, the Final EIS stated that operation of the
         project would result in minor, intermittent impacts on commercial fisheries.103
         Additionally, the Final EIS evaluated the cumulative effects of concurrent operation of
         the Texas LNG, Annova LNG Brownsville, and Rio Grande LNG Projects on tourism
         and commercial fishing and found that the projects would result in permanent and
         moderate impacts, due to a 48% increase in vessel traffic in the Brownsville Shipping
         Channel which will delay fishing or tourist vessels accessing the Gulf of Mexico or
         fishing destinations in the Laguna Madre.104 Overall, the Final EIS anticipated that
         concurrent construction and operation of the projects would have permanent and
         moderate cumulative impacts on tourism and commercial fisheries.105

                 Sierra Club argues that the Final EIS did not consider how an increased demand
         for short-term rentals used by the Texas LNG, Annova LNG Brownsville, and Rio
         Grande LNG Projects’ construction workers would impact tourism.106 The Final EIS
         stated that within the affected area, approximately 142 hotels or motels could be used by


               99
                    Id. at 4-332 to 4-333.
               100
                     Sierra Club Request for Rehearing and Stay at 13.
               101
                     Final EIS at 4-154.
               102
                     Id.
               103
                     Id. at 4-154.
               104
                     Id. at 4-467.
               105
                     Id. at 4-333.
               106
                     Sierra Club Request for Rehearing and Stay at 12.




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        the short-term workforce, as well as campgrounds and recreational vehicle sites.107
        The Final EIS found that the Texas LNG Project’s workers would occupy less than
        one percent of the available housing in Cameron County during project construction,
        indicating sufficient lodging units would be available to accommodate the non-resident
        workers, resulting in minor and temporary impacts on the availability of housing units.108
        We find that the proposed construction schedules for the Texas LNG, Annova, and
        Rio Grande LNG terminals and for the Rio Bravo Pipeline could coincide with other
        demands for housing and temporary accommodations for tourism.109 Non-local workers
        hired temporarily, who seek hotel accommodations, could potentially compete with
        seasonal visitors in Cameron County, specifically, the destination locations of South
        Padre Island, Port Isabel, Harlingen, and Brownsville.110 However, given the number of
        hotel rooms in the vicinity of the projects, we do not anticipate serious disruptions to
        short-term tourism housing.111

                Sierra Club states that industrial development will discourage future investment in
         tourism industries.112 Sierra Club’s assertion is unsupported and speculative. The Final
         EIS acknowledged that, although the land proposed to be developed for the Texas LNG,
         Annova, and Rio Grande LNG terminals is zoned for industrial use, the concurrent
         construction and operation of three large industrial facilities as well as the associated
         non-jurisdictional facilities would result in a change of the landscape character.113 We
         can reasonably assume that this change would cause some visitors to choose to vacation
         elsewhere or alter their recreation activities to destinations in the region that are further
         from the project sites.114 However, given the extent of tourism areas (including birding
         areas, National Wildlife Refuges, National Historic Landmarks, and beaches) and the
         distance of these areas from the LNG Terminal cites, neither construction or operation



                107
                      Final EIS at 4-146.
                108
                      Id. at 4-328 to 4-329.
                109
                      Id. at 4-147.
                110
                      Id.
                111
                      Id.
                112
                      Sierra Club Request for Rehearing and Stay at 12.
                113
                      Final EIS at 4-332.
                114
                      Id.




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        would be expected to significantly impact tourism at these locations.115 The Final EIS
        found, and we agree, that the projects may cause a change in visitation patterns to the
        area, but we do not expect that the projects will impact the most popular tourist activities
        and destinations in the region.116 Accordingly, we find that the projects would not result
        in significant impacts on tourism.

                         3.       Mitigation

                Sierra Club asserts that the Final EIS failed to include appropriate mitigation
         measures to compensate for the impacts of the Texas LNG project on commercial fishing
         and tourism.117 Sierra Club alleges that other LNG projects, such as the Northeast
         Gateway Deepwater Port and the Neptune Port, were approved “only contingent upon
         mitigation packages” that required companies to provide funds to commercial fisherman,
         public interest trusts, and marine habitat and mammal protection.118

                We do not find Sierra Club’s reliance on mitigation packages required in the
         Northeast Gateway Deepwater Port and the Neptune Port persuasive here. Both those
         projects are located in federal waters and are thus subject to U.S. Coast Guard and
         U.S. Maritime Administration authority;119 not Commission authority.

                As discussed above, the Final EIS found that the Texas LNG Project is not
         anticipated to significantly impact commercial fishing during project construction and
         would result in minor, intermittent impacts on commercial fishing during project
         operation due to an increase in vessel traffic.120 Additionally, the project would not

               115
                   See Rio Grande LNG Terminal Final EIS at ES-11, 4-217 to 4-219; see also id.
         Volume 3 Part III at 21 (stating that construction and operation of the project is not
         expected to impact the birding, nature-based, or eco-tourism industries).
               116
                     Final EIS at 4-153.
               117
                     Sierra Club Request for Rehearing and Stay at 13-14.
               118
                     Id. at 14.
               119
                   Pursuant to the Deepwater Port Act, as amended, 33 U.S.C. §§ 1501-1524
         (2006), the Secretary of Transportation has exclusive jurisdiction over the licensing,
         ownership, construction and operation of deepwater ports. The Secretary of
         Transportation delegated the responsibility to license deepwater ports to the Maritime
         Administrator, with the U.S. Coast Guard and U.S. Maritime Administration sharing
         responsibility for the processing of applications for such licenses.
               120
                     Final EIS at 4-154.




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        significantly impact aquatic resources.121 Texas LNG proposes to dredge 39.4 acres of
        tidal flats for its maneuvering basin, which will restore tidal flows to the tidal flats
        surrounding the project, improve overall aquatic habitat, and enhance essential fish
        habitat.122 The Final EIS stated that LNG carriers would discharge ballast and cooling
        water that would result in temporary and localized changes in pH, salinity, temperature,
        and dissolved oxygen levels.123 However, given the volume of ballast and cooling water
        discharged relative to the total volume of water within the maneuvering basin and the
        mobility of aquatic life, the Final EIS found that impacts on aquatic resources resulting
        from ballast and cooling water discharges would be intermittent and not significant.124
        Thus, we do not anticipate that the project will significantly impact commercial fisheries
        in the project area. Accordingly, we will not require mitigation measures beyond those
        proposed by the applicant.

                 The Final EIS also determined that the Texas LNG Project would have a
         permanent impact on visual resources due to the presence of the project facilities and the
         associated increase in lighting to the project area.125 The most prominent visual features
         at the project site would be the two LNG storage tanks (190 feet high and 290 feet wide),
         the main flare stack (315 feet high), and the marine flare stack (180 feet high).126 The
         new facilities would also require lighting for operations and safety, as well as compliance
         with requirements from the Federal Aviation Administration.127 Due to the relatively
         undeveloped nature of the project area, the visual sensitivity of nearby recreation areas,
         and the lack of feasible visual screening measures, the Final EIS concluded that the
         project would result in a significant impact on visual resources when viewed from the
         adjacent Laguna Atascosa National Wildlife Refuge but would have a negligible to
         moderate permanent impact on the other visual resources evaluated.128 Commission staff
         evaluated the use of a ground flare to minimize impacts on the viewshed but concluded


                121
                      Id. at 5-363.
                122
                      Id.
                123
                      Id.
                124
                      Id.
                125
                      Authorization Order, 169 FERC ¶ 61,130 at P 56; Final EIS at 5-366.
                126
                      Final EIS at 4-112.
                127
                      Id.
                128
                      Authorization Order, 169 FERC ¶ 61,130 at P 56; Final EIS at 4-113, 4-141, 5-366.




                                                                                         JA391
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        that this alternative would not result in a significant environmental advantage.129 No
        alternatives that would minimize impacts on visual resources from the LNG storage tanks
        were identified.130 Texas LNG has committed to minimize lighting by implementing
        measures outlined in its Facility Lighting Plan and by implementing measures
        recommended by the National Park Service if these measures do not interfere with
        necessary safety and security considerations and requirements.131 Texas LNG also
        committed to discuss lighting and marking for aircraft warning lights with the National
        Park Service and the Federal Aviation Administration.132 The Authorization Order
        requires that Texas LNG fulfill these commitments.133Although tourists at the Laguna
        Atascosa National Wildlife Refuge will experience negative visual impacts due to
        construction and operation of the Texas LNG project, we do not find that additional
        mitigation is necessary.134

                Further, operation of the LNG terminal would generate noise continually
         throughout the life of the project.135 However, the predicted sound levels for operations
         are below the Commission’s criterion at the nearest noise sensitive areas, and increases in
         ambient sound level due to operations would be imperceptible to most listeners.136 To
         ensure noise sensitive areas are not significantly affected by operational noise,
         Environmental Conditions 25 and 26 require Texas LNG to conduct post-construction
         noise surveys after each noise-producing unit (e.g., each liquefaction train) is placed into




                129
                   Final EIS at 3-2, 3-12. For example, a ground flare requires a larger
         construction area and has greater potential to ignite released vapor. Id. at 3-12.
                130
                      Id. at 3-2.
                131
                      Id. at 4-112.
                132
                      Id.
                133
                      Authorization Order, 169 FERC ¶ 61,130 at ordering para. (A).
                134
                    Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 350-51 (1989)
         (Robertson) (an agency need not conclude that all impacts require mitigation; NEPA does
         not constrain an agency from concluding that other values outweigh the environmental
         costs of a proposed action).
                135
                      Authorization Order, 169 FERC ¶ 61,130 at P 65.
                136
                      Id.; Final EIS at 5-366.




                                                                                              JA392
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        service and after the entire project is placed into service.137 Therefore, the Authorization
        Order agreed with the Final EIS’ conclusion that noise impacts due to operation of the
        project would not be significant.138 We agree and find these measures sufficient to
        mitigate noise on tourism and do not find additional mitigation necessary.

                C.          Air Quality Impacts

                 Sierra Club argues in its statement of issues that the Commission violated NEPA
         by failing to fully analyze air quality impacts, but Sierra Club does not elaborate on these
         claims in the body of its rehearing request. Most of these arguments appear to have been
         drafted for Sierra Club’s request for rehearing in the proceeding for the Rio Grande LNG
         Terminal,139 but to the extent that we can respond to Sierra Club’s claims in this
         proceeding, we have done so below.

                 First, Sierra Club claims the Commission failed to justify its conclusion that the
         predicted exceedances of the one hour nitrogen oxides concentrations specified in the
         National Ambient Air Quality Standards (NAAQS) under the Clean Air Act (CAA)
         would not have significant health impacts, such as on persons transiting or recreating
         along the Brownsville Shipping Channel.140 The Final EIS explained that Commission
         modeling indicated that the project would contribute to cumulative emissions in an
         uninhabited area between the fence lines of the Rio Grande LNG and Texas LNG
         Terminals, resulting in emissions that exceed the one hour nitrogen dioxide (NO2)
         concentrations in the NAAQS.141 Sierra Club cites Motor Vehicle Manufacturers
         Association of the United States, Inc. v. State Farm Mutual Automobile Insurance
         Company142 without elaboration, presumably for the requirement that an “agency must
         examine the relevant data and articulate a satisfactory explanation for its action.”143 But
         here, the Final EIS reasonably assessed these NO2 emissions’ impacts on human health,

                137
                      Authorization Order, 169 FERC ¶ 61,130 at P 65, Environmental Conditions 25
         and 26.
                138
                      Id. at P 65.
                139
                Sierra Club December 23, 2019 Rehearing and Stay Request of the Rio Grande
         LNG Terminal and Rio Bravo Pipeline Project (CP16-454-001, CP16-455-001).
                140
                      Sierra Club Rehearing and Stay Request at 2.
                141
                      Final EIS at 4-338.
                142
                      463 U.S. 29, 43 (1983).
                143
                      Id.




                                                                                          JA393
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        explaining that it is unlikely, but possible, that people may be exposed to elevated NO2
        levels in the immediate vicinity of the facilities.

                Sierra Club next argues that the Commission’s analysis of cumulative ozone
         impacts rests on simplistic multiplication with no support for this methodology and fails
         to consider foreseeable increases in Rio Grande’s own output.144 Sierra Club’s concern
         appears to be directed at the proceeding for the nearby Rio Grande LNG Terminal
         Project. We note that the Commission recently updated its analysis for the projects’
         cumulative ozone impacts in that proceeding.145

                Sierra Club contends that the Commission relied on an analysis that
         underestimates direct emissions and incorrectly argued that Commission need not revisit
         determinations made by the Texas Commission on Environmental Quality (TCEQ).146
         The Final EIS fully analyzed the project’s direct emissions and, as part of that analysis,
         noted that the project would be subject to TCEQ permits pursuant to the CAA.147
         However, it is unclear what emissions Sierra Club believes were omitted or what TCEQ
         determinations Sierra Club believes were erroneous.

                 Finally, Sierra Club claims the Commission improperly assumes that emissions
         that increase ambient air pollution without causing a NAAQS violation will not have
         health impacts, notwithstanding clear evidence to the contrary.148 The Final EIS
         disclosed health impacts associated with the project’s air emissions and appropriately
         relied on the NAAQS thresholds to assess health impacts. 149 The NAAQS reflect the
         limits that the U.S. Environmental Protection Agency (EPA) believes are necessary to
         protect human health and welfare.150 Although Sierra Club states that there is clear
         evidence to rebut this, it has failed to provide any evidence to suggest the Final EIS could
         not reasonably rely on the NAAQS.



                144
                      Sierra Club Rehearing and Stay Request at 2.
                145
                      Rio Grande LNG, LLC, 170 FERC ¶ 61,046, at PP 51-56, 61-62.
                146
                      Sierra Club Rehearing and Stay Request at 2.
                147
                      Final EIS at 4-168 to 4-174.
                148
                      Sierra Club Rehearing and Stay Request at 2.
                149
                      See 42 U.S.C. § 7409(b) (2018).
                150
                      See, e.g., Final EIS at 4-165, 4-185.




                                                                                          JA394
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               D.       Environmental Justice Impacts

                 Executive Order 12898 encourages independent agencies to identify and address,
         as part of their NEPA review, “disproportionately high and adverse human health or
         environmental effects” of their actions on minority and low-income populations.151 The
         EPA recommends three steps to identify and address such effects: (1) determine the
         existence of minority and low-income populations, (2) determine if resource impacts are
         high and adverse, and (3) determine if the impacts fall disproportionately on minority and
         low-income populations.152

               The EPA’s categorical thresholds for minority and low-income populations apply
        to a project-affected area if minority populations comprise over 50% of the total
        population and if the population with incomes below the poverty level is 20% or
        greater.153 The Final EIS concluded that within the five census block groups intersected
        by a two-mile radius around the Texas LNG terminal site, in four the Hispanic or Latino
        population comprises 74 to 95 percent of the total population and in all five the
        population with incomes below the poverty level ranges from about 22 to 41 percent.154
        These census block groups are minority and low income communities. The Final EIS

               151
                   Exec. Order No. 12898, §§ 1-101, 6-604, 59 Fed. Reg. 7629, at 7629, 7632
         (1994). See Sierra Club v. FERC, 867 F.3d 1357, at 1368 (D.C. Cir. 2017) (affirming the
         Commission’s environmental justice analysis without determining whether “Executive
         Order 12,898 is binding on FERC”). Identification of a disproportionately high and
         adverse impact on a minority or low-income population “does not preclude a proposed
         agency action from going forward, nor does it necessarily compel a conclusion that a
         proposed action is environmentally unsatisfactory.” CEQ, Environmental Justice:
         Guidance Under the National Environmental Policy Act, at 10 (1997) (CEQ 1997
         Environmental Justice Guidance), https://www.epa.gov/environmentaljustice/ceq-
         environmental-justice-guidance-under-national-environmental-policy-act; Federal
         Interagency Working Group for Environmental Justice and NEPA Committee, Promising
         Practices for EJ Methodologies in NEPA Reviews, at 38 (2016) (quoting same),
         https://www.epa.gov/sites/production/files/2016-
         08/documents/nepa_promising_practices_document_2016.pdf.
               152
                  See EPA, Final Guidance For Incorporating Environmental Justice Concerns
         In EPA’s NEPA Compliance Analysis, at §§ 3.2.1-3.2.2., https://www.epa.gov/sites/
         production/files/2015-02/documents/ ej_guidance_nepa_epa0498.pdf (1998) (EPA 1998
         Environmental Justice Guidance).
               153
                 EIS at 4-155; EPA 1998 Environmental Justice Guidance at §§ 2.1.1 to 2.1.2;
         CEQ 1997 Environmental Justice Guidance at 25-26.
               154
                     Final EIS at 4-155 to 4-156, Table 4.9.9-1, Table 4.9.9-2.




                                                                                        JA395
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        acknowledged that the affected census block groups do not substantially differ from
        Cameron County, Texas, as a whole, where the Hispanic or Latino population comprises
        88% of the population and the poverty rate is about 35%.155

                 We note that there is no alternative to the projects that would achieve the project’s
         purpose and need while avoiding a site in environmental justice communities. The site of
         the Texas LNG terminal and the other two Brownsville LNG terminals would be in an
         area currently zoned for commercial and industrial use along the existing, human-made
         Brownsville Shipping Channel.156 The thirteen southernmost counties in Texas,
         including Cameron County where all three Brownsville LNG terminals would be sited
         along the Brownsville Shipping Channel, have minority population percentages and,
         except in three counties, poverty rates that exceed the EPA’s categorical thresholds to be
         minority and low income populations.157 The Final EIS evaluated alternatives that would
         avoid these areas—including a no-action alternative, system alternatives, and site
         alternatives—but concluded that none represented a significant environmental advantage
         to the proposed LNG terminal.158 Although the no-action alternative would avoid
         impacts on the project-affected minority and low-income communities, the Final EIS
         found that other LNG export projects could be developed at a similar scope and
         magnitude and likely result in environmental impacts of comparable significance,
         especially for those projects in a similar regional setting.159

                Sierra Club contends that the Final EIS improperly chose Cameron County, which
         could itself qualify as a minority and low-income population, as a comparison population


                155
                      Id. at 4-156.
                156
                      Id. at ES-8.
                157
                   The thirteen counties include the seven southernmost counties along the
         coast—Cameron, Willacy, Kenedy, Kleberg, Nueces, San Patricio, and Refugio
         Counties—and eight inland counties—Hidalgo, Starr, Brooks, Jim Hogg, Zapata, Jim
         Wells, Duval, and Webb Counties. Only the coastal Kenedy, San Patricio, and Refugio
         Counties have poverty rates below the 20% threshold. U.S. Census Bureau, QuickFacts,
         https://www.census.gov/quickfacts/fact/table/US/PST045219 (last accessed Jan. 25,
         2020).
                158
                    Final EIS at 3-1 to 3-12. The EIS considered system alternatives and site
         alternatives at many locations along the coasts of Texas, Louisiana, and Mississippi. Id.
         at 3-3 to 3-12. Among other screening factors for site alternatives, the EIS gave
         preference to sites not in proximity to population centers or residences. Id. at 3-6 to 3-7.
                159
                      Id. at 3-2 to 3-3.




                                                                                           JA396
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        and thus masked, incorrectly characterized, and inappropriately minimized the Texas
        LNG Project’s impacts on affected environmental justice communities.160

                Sierra Club emphasizes EPA’s recommendation that an agency’s NEPA analysis
         should consider how a project’s impacts on resources could also impact the
         environmental justice communities that rely upon those resources as an economic base or
         a cultural value.161 Sierra Club asserts that the EIS failed to determine whether minority
         or low-income populations are disproportionately susceptible to, and as a result are
         disproportionately burdened by, the project’s impacts identified in the EIS to tourism,
         housing, and real property.162

                 Sierra Club also contends that the Commission violated NEPA by failing to take a
         hard look at whether the project’s direct, indirect, and cumulative impacts on air quality,
         even if the relevant emissions would not exceed the NAAQS, would disproportionately
         affect environmental justice communities.163

                Sierra Club misunderstands the use of another population for comparison in an
         environmental justice analysis. A “reference community” is sometimes necessary to
         identify which project-affected populations are minority or low-income populations.164
         Because here all project-affected populations meet or exceed the categorical standards to
         be minority or low-income populations, and in most cases both, there was no need to
         determine their existence using any broader reference community.165 A “comparison
         group” can inform the inquiry whether a project’s impacts on minority and low-income
         communities will be disproportionately high and adverse.166 Because here all project-
         affected populations are minority or low-income populations, or both, it is not possible

                160
                      Sierra Club Request for Rehearing at 14-16.
                161
                      Id. at 18 n.69 (citing EPA Environmental Justice Guidance at § 2.2.2).
                162
                      Id. at 18-19.
                163
                      Id. at 16-18.
                164
                   Federal Interagency Working Group for Environmental Justice and NEPA
         Committee, Promising Practices for EJ Methodologies in NEPA Reviews at 25, 27-28
         (describing the use of a “reference community”).
                165
                   The EIS did include the population traits of Cameron County and the state of
         Texas for context. Final EIS at 4-155 to 4-156, Table 4.9.9-1, Table 4.9.9-2.
                166
                 Federal Interagency Working Group for Environmental Justice and NEPA
         Committee, Promising Practices for EJ Methodologies in NEPA Reviews at 43-46.




                                                                                          JA397
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        that impacts will be disproportionately concentrated on minority and low-income
        populations versus on some other project-affected comparison group.167 But it is
        possible, regardless of the uniformity, that a project’s impacts on a minority or low-
        income population arising from some change to the environment or to the risk or rate of
        exposure to a pollutant would be disproportionately high and adverse if amplified by
        factors unique to the affected population, like inter-related ecological, aesthetic,
        historical, cultural, economic, social, or health factors.168 These factors are specific to the
        identified minority and low-income populations, but a relevant and appropriate
        comparison group can provide context for the analysis.169 Sierra Club offers no evidence
        and no specific examples to support its claims that the use in the EIS of Cameron County
        as a comparison group masked, incorrectly characterized, or inappropriately minimized
        the impacts on minority and low-income communities.170 To the contrary, as discussed
        above, Cameron County is used because that is where the LNG facility will be located,
        and no other alternatives would meet the projects’ purpose and need.171

                Sierra Club offers no explanation how the Texas LNG Project’s impacts identified
         in the EIS to tourism, housing, or real property might be disproportionately high and
         adverse to minority and low-income populations based on an unacknowledged sensitivity
         in these populations. The socioeconomic analysis in the EIS examined data from
         Cameron County, where the majority of the project workforce is anticipated to reside172
         and where the minority population percentages and the poverty rate are similar to those


                167
                   Federal Interagency Working Group for Environmental Justice and NEPA
         Committee, Promising Practices for EJ Methodologies in NEPA Reviews at 43-44
         (suggesting that agencies “consider identifying the relevant and appropriate comparison
         group within the affected environment” and “consider the distribution of adverse and
         beneficial impacts between the general population and minority populations and low-
         income populations in the affected environment”).
                168
                    Id. at 39 (suggesting that agencies recognize that even where a project’s impact
         “appears to be identical to both the affected general population and the affected minority
         populations and low-income populations,” the impact might be amplified by population-
         specific factors “e.g., unique exposure pathways, social determinants of health,
         community cohesion” making the impact disproportionately high and adverse).
                169
                      Id. at 40.
                170
                      Sierra Club Request for Rehearing and Stay at 16.
                171
                      Supra P 45.
                172
                      Final EIS at 4-142.




                                                                                           JA398
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        traits in the census block groups adjacent to the project area.173 The EIS acknowledged
        that 4.5% of all jobs in Cameron County are related to travel and tourism.174 Because the
        Texas LNG project would not directly affect most popular tourist activities and
        destinations, the EIS anticipated no significant direct impacts on tourism.175 The EIS
        concluded that the combination of the Texas LNG Project with the other two Brownsville
        LNG terminals and other actions would cumulatively result in permanent and moderate
        impacts on tourism via cumulative impacts on recreation areas, visual resources, and
        vessel traffic in the Brownsville Shipping Channel.176 The EIS concluded that the Texas
        LNG Project would reduce unemployment in the project area and increase revenue for
        local businesses.177 The EIS also concluded that the expenditures and workforce
        associated with construction and operation of the three Brownsville LNG terminals
        would result in cumulative positive, short-term and permanent impacts on the local
        economy.178 Sierra Club does not support its assertion that the Commission was required
        to determine whether minority or low-income populations are primarily reliant on
        tourism-based industries for employment.179 And Sierra Club does not explain how
        further inquiry would potentially reveal a level of impact that was not already captured in
        the EIS’s close analysis of socioeconomic impacts in Cameron County.

                In the evaluation of housing, the EIS explained that the cumulative demand for
         housing from non-local construction workers during construction of the three
         Brownsville LNG terminals might result in increased rental rates and housing shortages
         but that this impact would be temporary and moderate.180 Sierra Club notes that changes
         to housing availability would primarily impact individuals looking for housing.181 But
         the EIS closely considered the available housing and the rental housing cost for six


               173
                     Id. at 4-156, Table 4.9.9-1 and Table 4.9.9-2.
               174
                     Id. at 4-144.
               175
                     Id. at 4-153.
               176
                     Id. at 4-332 to 4-333.
               177
                     Id. at 4-328.
               178
                     Id. at 4-328.
               179
                     Sierra Club Request for Rehearing and Stay at 18-19.
               180
                     Final EIS at 4-328 to 4-329.
               181
                     Sierra Club Request for Rehearing and Stay at 37.




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        municipalities in Cameron County and for the county as a whole.182 The EIS anticipated
        that the workforces for the Rio Grande LNG Project and Annova LNG Brownsville
        Project would be primarily based out of Willacy, Cameron, and Hidalgo Counties, and
        thus would not result in significant cumulative impacts on any single community.183 The
        available housing and the rental housing cost in Cameron County reflect the supply and
        demand for housing in a county where the minority population percentages and the
        poverty rate are similar to those traits in the census block groups adjacent to the project
        area.184 Sierra Club offers no basis to conclude, and we find none, that these factors
        would differ for the narrower project-affected populations in a way that might result in a
        disproportionately high and adverse impact.

                The EIS also appropriately addressed the potential impacts on area property
         values. The EIS acknowledged that property values could be affected by the construction
         and operation of the Texas LNG Project but explained that many factors influence the
         potential effect on property values, that the exact impact on a regional level is unknown,
         and that a potential purchaser might or might not take the LNG terminal into account
         when choosing an offer price.185 Sierra Club criticizes the Commission for failing to
         analyze the cumulative impact of the three Brownsville LNG terminals on nearby
         property values.186 But because the sources of uncertainty would be the same, the
         cumulative impact is not reasonably foreseeable and was appropriately omitted from the
         EIS.

                Next, we address Sierra Club’s claim that the Commission inadequately
         considered whether the project’s air quality impacts on minority and low-income
         communities would be disproportionately high and adverse.187 The impact pathways
         from a project’s air emissions are primarily health-based. The EPA established the
         NAAQS to protect human health and public welfare for all communities, including
         sensitive subpopulations (e.g., asthmatics, children, and the elderly).188 As noted above,
         the project’s direct, indirect, and cumulative impacts on air quality, with the exception of

                182
                      Final EIS at 4-146 Table 4.9.4-1.
                183
                      Id. at 4-329.
                184
                      Id. at 4-156, Table 4.9.9-1 and Table 4.9.9-2.
                185
                      Id. at 4-152.
                186
                      Sierra Club Request for Rehearing and Stay at 19.
                187
                      Id. at 16-18.
                188
                      Final EIS at 4-165; supra P 38.




                                                                                          JA400
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        ozone-related emissions, would not increase the concentration of criteria pollutants above
        the NAAQS.189 Exposure to these emissions near the facilities is unlikely, and the
        pollutants would disperse before reaching nearby population centers.190 Sierra Club
        offers no reason to expect that the identified environmental justice communities would be
        vulnerable to air quality impacts in a way that is not already accounted for in the
        establishment of the NAAQS thresholds. Without Sierra Club supporting its position, we
        will not disregard Commission staff’s reasonable reliance on the NAAQS as a proxy for
        potential health impacts on area populations, including minority and low-income
        populations.

                In the order on rehearing for the Rio Grande LNG Terminal proceeding, the
         Commission estimated that cumulative emissions of ozone precursors from that project,
         the Texas LNG Project, and the Annova LNG Brownsville Project could result in ozone
         concentrations of 76.5 parts per billion (ppb) that would exceed the current 8-hour ozone
         NAAQS of 75 ppb.191 It is appropriate to consider whether the impact on minority and
         low-income populations could be disproportionately high and adverse. CEQ
         acknowledges that there is no standard formula for how environmental justice issues
         should be identified or addressed, but CEQ generally recommends that an agency
         consider readily available information about the potential for multiple or cumulative
         exposure to human health or environmental hazards in the affected population, including
         historical patterns of exposure.192 CEQ and others recommend that an agency evaluate
         whether the impact from a significant environmental hazard to a minority or low-income
         population “appreciably exceeds or is likely to appreciably exceed” the impact on “the
         general population or other appropriate comparison group.”193

               Data from EPA’s EJSCREEN tool indicates that in the project area, the
         environmental justice index for ozone is equivalent to the 80th percentile in Texas

               189
                     Final EIS at 4-175 to 4-187; 4-335 to 4-342; supra P 35.
               190
                  Final EIS at 4-338 to 4-339. For example, although the predicted peak
         cumulative concentration of NO2 (196 ppb) would exceed the NAAQS (100 ppb), any
         exceedance would occur away from residential property, within the Port of Brownsville
         between the Rio Grande and Texas LNG terminals. Id.; id. at 4-340 Table 4.13.2-3; see
         supra P 35.
               191
                     Rio Grande LNG, LLC, 170 FERC ¶ 61,046, at PP 51-56, 61-62.
               192
                     CEQ 1997 Environmental Justice Guidance at 9.
               193
                Id. at 26; Federal Interagency Working Group for Environmental Justice and
         NEPA Committee, Promising Practices for EJ Methodologies in NEPA Reviews at 45-
         46.




                                                                                        JA401
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        (meaning that 80% of the populations in the state have an equal or lower environmental
        justice index for ozone), the 84th percentile in EPA’s administrative Region 6, and the
        89th percentile in the nation.194 Based on this information, we find that in the affected
        minority and low-income populations there is a potential for multiple or cumulative
        exposure to the environmental hazard of ozone and that this exposure is likely to
        appreciably exceed the exposure level in more general comparison groups.

                During exceedance events, people in the surrounding communities might
         experience a number of health effects such as decreased lung function and airway
         inflammation, with respiratory symptoms including coughing, throat irritation, chest
         tightness, wheezing or shortness of breath.195 People with asthma are known to be
         especially susceptible to the effects of ozone exposure and tend to experience increased
         respiratory symptoms, increased medication usage, increased frequency of asthma
         attacks, and increased use of health care services.196 Chronic Obstructive Pulmonary
         Disease is the only other respiratory disease for which a relationship has been observed,
         based on a relatively few studies, between ozone and hospital admissions. 197

                The project-affected minority populations are predominantly Hispanic or Latino
         with higher percentages of young children and older adults than the state population.198
         EPA and Texas have published data about the prevalence of asthma separated by race.
         Texas has also published data about mortality from chronic lower respiratory disease
         separated by county. Data from the EPA for 2007 to 2010 showed that the prevalence of
         asthma in the United States was 7.9% among Hispanic children and 8.2% for White non-

                194
                    EJSCREEN Report Version 2019, EJSCREEN Tool,
         https://ejscreen.epa.gov/mapper/ (choose to “Select Location” using the polygon tool,
         next place a polygon over the footprint of the three Brownsville LNG terminals and along
         the shipping route, next click on the polygon and add a 2-mile buffer, then click to
         “Explore Reports”) (last visited Jan. 10, 2020).
                195
                   EPA, Health Effects of Ozone in the General Population,
         https://www.epa.gov/ozone-pollution-and-your-patients-health/health-effects-ozone-
         general-population (last visited Jan. 9, 2020).
                196
                   EPA, Health Effects of Ozone in Patients with Asthma and Other Chronic
         Respiratory Disease, https://www.epa.gov/ozone-pollution-and-your-patients-
         health/health-effects-ozone-patients-asthma-and-other-chronic (last visited Jan. 9, 2020).
                197
                      Id.
                198
                   Percentages of children under age five (9%) and adults over age 64 (17%) are
         higher than in the general state population (66th and 78th percentiles, respectively. See
         supra n.183.




                                                                                         JA402
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        Hispanic children.199 Data from Texas for 2016 showed that the prevalence of asthma in
        the state was 5.1% among Hispanic children and 9.2% for White children.200 The rate of
        hospitalizations for asthma in Texas was 8.7 per 10,000 children for Hispanic children
        and 8.8 per 10,000 children for White children.201 The mortality rate from chronic lower
        respiratory disease in Cameron County, which includes the sites of the Brownsville LNG
        terminals and compressor station 3 on Rio Bravo’s proposed pipeline, was 21 deaths per
        100,000 people.202 By contrast the mortality rate from chronic lower respiratory disease
        was 27 in the state’s Public Health Region 11203 and was 41.4 in the entire state.204 This
        information does not support a conclusion that the anticipated exposure to ozone in
        minority and low-income communities would result in a disproportionately high and
        adverse impact to these communities.

               E.        Ballast Water Impacts

                 Sierra Club argues that the Commission failed to adequately consider the impact
         that the unloading of ballast water by maritime vessels taking on LNG at the terminal



               199
                   EPA, America’s Children and the Environment at 218 (3rd ed. 2013),
         https://www.epa.gov/sites/production/files/2015-06/documents/ace3_2013.pdf. The most
         recent version of this report published in 2019 did not separate the asthma data by
         race/ethnicity.
               200
                   Texas Department of State Health Services, 2016 Child Asthma Fact Sheet
         (2016), https://dshs.state.tx.us/asthma/Documents/2016-Texas-Fact-Sheet_Child-
         Asthma.pdf.
               201
                     Id. at 2.
               202
                    Texas Department of State Health Services, Health Facts Profiles,
         http://healthdata.dshs.texas.gov/HealthFactsProfiles_14_15 (select “By County”, Year
         2015, Cameron County).
               203
                    Public Health Region 11 includes Cameron County and several other counties
         in southern Texas. The aggregate population in 2015 was about 83% Hispanic and about
         28.3% people living below the poverty threshold, very similar to the communities closest
         to the three Brownsville LNG terminals. The mortality rate in Public Health Region 11
         from chronic lower respiratory disease of 27 deaths per 100,000 people was the lowest of
         any Public Health Region in the state.
               204
                    Texas Department of State Health Services, Health Facts Profiles,
         http://healthdata.dshs.texas.gov/HealthFactsProfiles_14_15 (select “Texas Only”).




                                                                                        JA403
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        may have by introducing foreign invasive species.205 Sierra Club objects to the
        conclusion in the Final EIS that, while an LNG carrier would discharge 15 million
        gallons of water while at the terminal, this discharge would exert a very minor influence
        on the overall system.206 Sierra Club states that the Commission failed to adequately
        review the terminal’s impacts when it is unclear why this 15-million-gallon estimate is
        nearly double the estimate given in the Annova LNG Brownsville Project Final EIS,
        despite each terminal using similar sized vessels. Sierra Club also argues that the
        Commission used the wrong geographic scope to assess ballast water impacts, noting that
        ballast water would not be promptly mixed into the entire volume of the shipping channel
        but would accumulate near the terminal.207 Even a small amount of ballast water could
        introduce invasive species, such as lionfish and tiger shrimp, that travel in and transmit
        disease to native fish and shrimp populations.208 Finally, Sierra Club claims that this
        failure to adequately assess impacts calls into question the Commission’s conclusion that
        harm to fisheries and tourism is only moderate.209

                Sierra Club’s arguments ignore the Final EIS’s discussion of ballast water
         mitigation. While docked, ballast water would be offloaded into the Brownsville
         Shipping Channel as the ship takes on LNG. To reduce the potential for the introduction
         of invasive species and foreign organisms, the Coast Guard requires that ballast water be
         completely exchanged in the open ocean at least 200 miles from U.S. waters.210 This
         exchange is reported to reduce aquatic organisms by 88 to 99 percent.211 Alternatively, a
         vessel may reduce organisms using an on-board ballast water treatment process.212 The
         EIS concluded these measures would minimize the risk of introducing invasive species
         into the project area.213 Accordingly, we see no need to either reevaluate the Final EIS’s

                  205
                        Sierra Club Request for Rehearing and Stay at 20-23.
                  206
                        Id. at 20 (citing Final EIS at 4-25).
                  207
                        Id. at 21.
                  208
                        Id. at 21-22.
                  209
                        Id. at 23.
                  210
                        Rio Grande LNG, LLC, 170 FERC ¶ 61,046, at P 91 (citing Final EIS at 4-42 to
         4-43).
                  211
                        Id. (citing Final EIS at 4-113).
                  212
                        Final EIS at 4-24 to 4-25.
                  213
                        Id. at 4-26.




                                                                                          JA404
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        analysis of ballast water impacts on fisheries and tourism, or require more stringent
        conditions than those required by the Coast Guard.214

                F.          Sea Turtle Impacts

                 Sierra Club states that although the Authorization Order acknowledged that
         cumulative impacts are anticipated for sea turtles due to dredging, vessel traffic, and pile-
         driving,215 the Final EIS failed to discuss additional mitigation methods or acknowledge
         what impacts will not be mitigated. Sierra Club objects to the required mitigation, the
         National Marine Fisheries Service’s Vessel Strike Avoidance Measures and Reporting for
         Mariners, as insufficient for impacts from vessel traffic. According to Sierra Club, the
         measures recommend that vessels should reduce speed to 10 knots or less when cetaceans
         are observed, but the Final EIS acknowledges that sea turtles cannot actively avoid
         collisions with vessels traveling faster than 2.2 knots.216 Sierra Club states that the
         Commission should have examined establishing a mandatory ship speed near the mouth
         of the Brownsville Shipping Channel and points to a December 20, 2019 personal
         communication with Lela Burnell Korab stating that some large vessels in the channel do
         not obey existing maritime speed limits.217

                The Commission has no jurisdiction over the speed for any vessels at the mouth of
        the Brownsville Shipping Channel. Nevertheless, the Commission fully considered
        impacts on and mitigation of vessel speed impacts to sea turtles. Sea turtles are rare
        visitors to the immediate project area and are more likely to be encountered along the
        LNG carrier transit routes in the Gulf of Mexico and nearshore waters and the Final EIS
        noted that sea turtles present in the area at the start of construction activities are
        anticipated to relocate to nearby suitable habitat or avoid the area.218 The threat of
        collision is also low within the channel as LNG vessels, barges, and support vessels
        would transit at speeds no greater than 8 knots, which allows sea turtles to more readily

                214
                   EarthReports, Inc. v. FERC, 828 F.3d 949, 957 (D.C. Cir. 2016) (holding that
         the Commission “fairly evaluated” possible environmental impacts of ballast water where
         it acknowledged the risk of introduction of foreign invasive species and concluded that
         “the currently-required measures for all ships entering U.S. waters, including offshore
         ballast water exchange, provide best management practices to minimize risks from
         invasive species and contamination from non-U.S. ports”).
                215
                      Sierra Club Request for Rehearing and Stay at 25.
                216
                      Id. at 25-26.
                217
                      Id.
                218
                      Final EIS at 4-320.




                                                                                           JA405
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        avoid such vessels, particularly when an LNG carrier creates bow waves to push water
        and floating objects, including sea turtles out of the vessel path.219 In addition, Texas
        LNG is encouraging LNG carriers which will visit its facility to comply with the Vessel
        Strike Avoidance Measures and Reporting for Mariners.220 The measures require more
        than reduced speeds and directs vessels, when sea turtles are sighted, to attempt to
        maintain a distance of 50 yards or greater between the animal and the vessel whenever
        possible.221 We find the measures described above adequate to address the risks to sea
        turtles from vessel traffic.

                As for Sierra Club’s claim that existing vessels are exceeding speed restrictions,
         we dismiss this new information provided to the Commission for the first time on
         rehearing.222 Nonetheless, we note that Sierra Club does not explain the relevance of
         speed violations by existing vessels and, in any event, the Coast Guard establishes and
         enforces speed limits in the Brownsville Shipping Channel.

                 Sierra Club also claims that the Final EIS failed to address the cumulative impacts
         of noise from pile driving and dredging during project construction and asks that the
         Commission require coordination among the three Brownsville LNG terminals so that
         concurrent pile driving and dredging would not overlap.223 The Final EIS considered the
         cumulative impacts of underwater noise from pile and dredging.224 Due to the limited
         duration of pile driving and the long construction schedules for the projects, it is unlikely
         that there would be pile driving overlap, but the Final EIS noted that Texas LNG would
         minimize impacts on aquatic resources from pile driving by driving most piles into the
         tidal flats rather than open water and utilizing soft starts.225 Only the Texas LNG and Rio
         Grande Terminals’ dredging activities would overlap, and the Final EIS noted that more

                219
                      Id. at Appendix C, Biological Assessment, C-116.
                220
                      Id. at 4-321.
                221
                   NMFS Southeast Region Vessel Strike Avoidance Measures and Reporting for
         Mariners; revised February 2008, https://www.fisheries.noaa.gov/southeast/consultations/
         regulations-policies-and-guidance.
                222
                   PaTu Wind Farm, LLC v. Portland General Electric Company, LLC, 151
         FERC ¶ 61,223, at P 42 (2015). See also Potomac-Appalachian Transmission Highline,
         L.L.C., 133 FERC ¶ 61,152, at P 15 (2010).
                223
                      Sierra Club Rehearing and Stay at 26.
                224
                      Final EIS at 4-351, 4-352.
                225
                      Id. at 4-311.




                                                                                           JA406
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        mobile species would have to travel further to relocate to avoid dredging, or occupy less
        suitable habitat, which could impact behavior.226 Although these impacts could be
        moderate, the Final EIS concluded that they would be temporary and that Texas LNG
        would use a cutterhead suction dredge, which would minimize turbidity.227 Accordingly,
        we agree with the Final EIS that no additional mitigation measures are required.

               G.          Cultural Resource Impacts

                In consultation with the State Historic Preservation Office (SHPO) for Texas,228
         Commission staff concluded that the only historic property within the project’s area of
         potential effect, an archaeological site known as the Garcia Pasture Site, would be
         adversely affected by the project.229 The EIS and the Authorization Order acknowledged
         that consultations under Section 106 of National Historic Preservation Act (NHPA) were
         not complete.230 The Authorization Order adopted the condition recommended in the EIS
         that Texas LNG file comments from the SHPO on reports and plans before Texas LNG
         may begin construction.231 The Commission concluded that with the implementation of


               226
                     Id.
               227
                     Id. at 4-63 to 4-64, 4-319, 5-360.
               228
                    Texas LNG, as a non-federal applicant, assisted the Commission in meeting our
         obligations to comply with Section 106 of the National Historic Preservation Act
         (NHPA), 54 U.S.C. § 306108 (2018), by preparing necessary information, analyses, and
         recommendations as well as communicating with consulting parties including the SHPO.
         36 C.F.R. § 800.2(a)(3) (2019) (allowing delegation). The Commission remains
         responsible for all formal determinations of site eligibility for the National Register of
         Historic Places and of project effects on an identified site. Id. Texas LNG began
         meeting with the Texas Historical Commission in January 2015 before the Commission’s
         pre-filing process began in April 2015. Final EIS at 4-157 to 4-158.
               229
                     Final EIS at 4-157 to 4-163
               230
                     Id. at 4-162 to 4-163; Authorization Order, 169 FERC ¶ 61,130 at P 60.
               231
                   Authorization Order, 169 FERC ¶ 61,130 at P 60; id. app. Environmental
         Condition 23. Environmental Condition 23 does not allow Texas LNG to begin
         construction activities until:

                           a. Texas LNG files with the Secretary comments on the final
                           cultural resources reports and plans from the State Historic
                           Preservation Office, U.S. Army Corps of Engineers, National
                           Park Service, and appropriate federally-recognized Indian



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        this condition, as well as Texas LNG’s proposed treatment plan for the Garcia Pasture
        Site, the project’s impacts on cultural resources would not be significant.232 Commission
        staff completed the process of compliance with Section 106 when Commission staff and
        the Texas SHPO executed a Memorandum of Agreement requiring treatment measures,
        plans, and reports to resolve potential adverse effects upon historic properties.233

                Sierra Club asserts that the Commission violated the NHPA and NEPA by failing
         to complete the consultation process under Section 106 of the NHPA before authorizing
         the Texas LNG Project.234 Sierra Club states that because Commission staff invited
         comments from the Advisory Council on Historic Preservation (Council) after the period
         for public comment on the Draft EIS, Commission staff foreclosed the opportunity for the
         public to respond to any comments from the Council.235 Sierra Club also contends that
         Commission staff should have executed the anticipated Memorandum of Agreement,
         which will resolve adverse effects on historic properties, before the Commission
         authorized the Texas LNG Project.236 By executing the Memorandum of Agreement after




                           tribes;

                           b. FERC staff has executed a memorandum of agreement
                           regarding the resolution of adverse effects on historic
                           properties;

                           c. the Director of OEP notifies Texas LNG in writing that
                           treatment measures (including archaeological data recovery)
                           may be implemented; and

                           d. Texas LNG documents the completion of treatment, and
                           the Director of OEP issues a written notice to proceed with
                           construction.
               232
                     Authorization Order, 169 FERC ¶ 61,130 at P 60.
               233
                   Texas State Historic Preservation Office February 12, 2020 Signed
         Memorandum of Agreement; 36 C.F.R. § 800.6(b)-(c) (2019) (describing the resolution
         of adverse effects via a memorandum of agreement).
               234
                     Sierra Club Request for Rehearing and Stay at 22-24.
               235
                     Id. at 24.
               236
                     Id.




                                                                                            JA408
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        the authorization, Sierra Club argues, the public cannot give input about, and the
        Commission cannot assess the adequacy of the Memorandum of Agreement content.237

                 The Commission’s conditional approval process complies with the dictates of the
         NHPA and NEPA.238 The prohibition on construction in the Authorization Order’s
         Environmental Condition 23 ensures that there can be no effect on historic properties
         until there has been full compliance with the NHPA.239 The Commission’s approach
         appropriately respects the integration of the various requirements for natural gas
         infrastructure, including the NGA, the NHPA, and NEPA. As we have stated before, it is
         also a practical response to the reality that, in spite of the best efforts of those involved, it
         may be impossible for an applicant to obtain all reviews necessary to construct and
         operate a natural gas project in advance of the Commission’s issuance of its authorization
         without unduly delaying the project.240 To rule otherwise could preclude companies from
         engaging in what are sometimes lengthy pre-construction activities while awaiting state
         or federal agency action and would likely delay the in-service date of natural gas
         infrastructure projects to the detriment of consumers and the public in general.

               The timing of Section 106 consultation has not deprived the public of a
         meaningful opportunity to review and comment on the Texas LNG Project’s potential
         impacts on cultural resources. Public involvement has included applicant-sponsored
         open houses in May 2015, public scoping meetings, the publication of the Draft EIS for
         review, a public comment session on the Draft EIS, and the submission of more than 900

                237
                      Id.
                238
                    See City of Grapevine, Tex. v. Dep’t of Transp., 17 F.3d 1502, 1509 (D.C. Cir.
         1994) (City of Grapevine, Tex.), cert. denied, 513 U.S. 1043 (1994) (upholding Federal
         Aviation Administration’s approval of a runway conditioned upon the applicant’s
         completion of compliance with the NHPA); Pub. Util. Comm’n of Cal. v. FERC, 900 F.2d
         269, 282 (D.C. Cir. 1990) (under NEPA, an agency can make “even a final decision so
         long as it assessed the environmental data before the decision’s effective date”). See also
         supra, Robertson, 490 U.S. at 352. See also Del. Riverkeeper Network v. FERC, 857 F.3d
         388, 397 (D.C. Cir. 2017) (“Because the Certificate Order expressly conditioned FERC’s
         approval of potential discharge activity on Transco first obtaining the requisite § 401
         certification, and was not itself authorization of any potential discharge activity, the
         issuance of the Certificate Order before Pennsylvania’s issuance of its § 401 certificate did
         not violate § 401 of the [Clean Water Act].”).
                239
                      See City of Grapevine, Tex., 17 F.3d at 1509.
                240
                  See, e.g., Broadwater Energy LLC, 124 FERC ¶ 61,225, at P 59 (2008); Crown
         Landing LLC, 117 FERC ¶ 61,209, at P 26 (2006); Millennium Pipeline Co., L.P., 100
         FERC ¶ 61,277 at PP 225-231 (2002).




                                                                                              JA409
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        comments.241 Separately, at the request of the Texas SHPO, Texas LNG created a public
        outreach program in May 2017.242 The Draft EIS and Final EIS provided a summary of
        the cultural investigations undertaken for the project including: consultations with the
        Texas SHPO, federal agencies, and Indian tribes; the definition of the area of potential
        effect; the results of a literature review as well as inventories and testing; and the status of
        compliance with the NHPA.243 This information is sufficient to enable the public to
        understand and consider the issues raised by the project. The Commission satisfied its
        responsibilities by affording the Council a reasonable opportunity to comment, 244 but the
        Council has not participated in this proceeding. Moreover, the Commission is not
        obligated to afford an opportunity for the public to review and respond to comments from
        the Council or to the content of a Memorandum of Agreement. Commission staff
        coordinated with the Texas SHPO and Texas LNG to assure the adequacy of the
        treatments to be required under the Memorandum of Agreement before Commission staff
        and the Texas SHPO executed the Memorandum of Agreement as necessary signatories
        and Texas LNG executed it as a concurring party .245 The Memorandum of Agreement is
        available in the Commission’s public record for this proceeding.246

                Sierra Club asserts that Commission staff failed to respond in the Final EIS to
        Sierra Club’s comments that the choice of a one mile indirect area of potential effect had
        not been suggested by the National Park Service, as described in the Draft EIS, but had in
        fact been criticized by the National Park Service as inadequate to capture the potential
        visibility impacts on the nearby Palmito Ranch Battlefield National Historic Landmark
        and Palo Alto Battlefield National Historical Park and National Historic Landmark.247




               241
                     Final EIS at ES-2 to ES-3, 1-10 to 1-14.
               242
                     Id. at 4-158.
               243
                   Office of Energy Projects Texas LNG Project Draft EIS at 4-154 to 4-160,
         4-321 to 4-322 (Oct. 26, 2018); Final EIS at 4-157 to 4-163, 4-334.
               244
                     See 36 C.F.R. § 800.1(a) (2019).
               245
                     36 C.F.R. § 800.6 (2019) (procedures for the resolution of adverse effects).
               246
                Texas State Historic Preservation Office February 12, 2020 Signed
         Memorandum of Agreement.
               247
                     Sierra Club Request for Rehearing and Stay at 24-25.




                                                                                            JA410
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                 The Final EIS addressed Sierra Club’s claims about the indirect area of potential
               248
         effect.    Texas LNG’s definition of the direct and indirect areas of potential effect was
         accepted by the SHPO and Commission staff.249 The National Park Service criticized the
         Draft EIS for underestimating the distances between the Texas LNG Project and the two
         battlefield sites, expressing concern that the Texas LNG Project could result in a
         cumulative adverse impact on the viewsheds at both battlefield sites.250 Commission
         staff responded in the Final EIS that all distances cited in the EIS were measured as
         accurately as possible based on publicly available information and that the distances to
         the battlefield sites appear to be correct.251 The Palmito Ranch Battlefield National
         Historic Landmark is over four miles from the Texas LNG Project site, and the Palo Alto
         Battlefield National Historic Park and National Historic Landmark are more than
         twelve miles from the Texas LNG Project site.252 The EIS analyzed the project’s
         potential direct, indirect, and cumulative visual impacts on these battlefields.253 The EIS
         concluded that the Texas LNG terminal would only have minor and non-significant
         visual impacts on the battlefields. Sierra Club offers no explanation how the
         Commission’s choice of a one mile indirect area of potential effect led the Commission to
         mischaracterize or ignore any potential adverse effect to historic properties, including
         both battlefield sites.

                H.       Greenhouse Gas Emissions

                         1.     Global Warming Potentials

                Sierra Club contends that the Commission failed to adequately consider the
         project’s greenhouse gas (GHG) impacts, alleging that the Commission relied on
         outdated global warming potentials for GHGs when it analyzed the project’s GHG


                248
                  Final EIS at H-51, Table H-2, Comment Code CULT-09 (addressing the
         determination of the area of potential effect).
                249
                      Final EIS at 4-161.
                250
                   U.S. Department of the Interior December 17, 2018 Comments on the Draft
         EIS at 7-11.
                251
                      Final EIS at H-48 Table H-2, Comment Code CI-17.
                252
                    Id. at 4-161 to 4-162 (acknowledging concerns raised by the NPS about both
         battlefields but explaining that the 4.5-mile and 12.5-mile distances place them beyond
         the area of potential effects for the Section 106 process).
                253
                      Id. at 4-110 to 4-111, 4-325 to 4-327.




                                                                                         JA411
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        emissions using the EPA’s international GHG reporting rules rather than current
        science.254

                The Commission appropriately relied on EPA’s published global warming
         potentials,255 which are the current scientific methodology used for consistency and
         comparability with other Commission jurisdictional projects as well as emissions
         estimates in the United States and internationally, including greenhouse gas control
         programs under the CAA. This frame of reference would be lost if other values were
         used.256

                 Sierra Club cites Western Organization of Resource Councils v. Bureau of Land
         Management257 for the proposition that an agency violates NEPA when it exclusively
         relies on outdated science regarding global warming potentials in an EIS. But in that
         case, the district court ruled that the agency failed to justify using a global warming
         potential with a longer time horizon to assess methane emissions when it had that time
         horizon in another EIS.258 In contrast, as we have explained, we have consistently used
         EPA’s global warming potentials, including time horizons, in order to compare proposals
         with other projects and with GHG inventories.259

                In any event, while Sierra Club faults the Commission’s reliance on EPA’s
         published guidance, Sierra Club does not offer an alternative in its rehearing request.260
         Sierra Club cites to an earlier comment, but such incorporation by reference is improper
         and is an alternative basis for dismissing Sierra Club’s argument.261

                254
                      Sierra Club Request for Rehearing and Stay at 27.
                255
                      Final EIS at 4-164.
                256
                      Dominion Transmission, Inc., 158 FERC ¶ 61,029, at P 4 (2017).
                257
                   No. CV 16-21-GF-BMM, 2018 WL 1475470, at *15 (D. Mont. Mar. 26,
         2018), reconsideration denied, No. CV 16-21-GF-BMM, 2018 WL 9986684 (D. Mont.
         July 31, 2018), and appeal dismissed, No. 18-35836, 2019 WL 141346 (9th Cir. Jan. 2,
         2019).
                258
                      Id.
                259
                      Dominion Transmission, Inc., 158 FERC ¶ 61,029 at P 4.
                260
                      Sierra Club Request for Rehearing and Stay at 27.
                261
                   San Diego Gas and Electric Co. v. Sellers of Market Energy, 127 FERC
         ¶ 61,269, at P 295 (2009). See Tenn. Gas Pipeline Co., L.L.C., 156 FERC ¶ 61,007
         (2016) (“the Commission’s regulations require rehearing requests to provide the basis, in



                                                                                          JA412
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                          2.       Significance of the Project’s Greenhouse Gas Emissions under
                                   NEPA

                Sierra Club argues that the Commission could have determined whether the
         project’s GHG emissions were significant by using the GHG emission reduction goals in
         the Paris Climate Accord, which were still in effect when the EIS and Authorization
         Order were issued.262 Even if the Commission chose not to use the Paris Climate Accord
         emissions reduction targets, Sierra Club claims that other methodologies could be used to
         ascribe significance, including tools used by the U.S. Global Change Research Program
         (USGCRP) to assess impacts or the Social Cost of Carbon tool.263

                 Sierra Club’s suggested methodologies would not help the Commission determine
         whether the projects’ GHG emissions are significant. As discussed in the Authorization
         Order, the Commission does not see the utility in using the targets in the Paris Climate
         Accord, because the United States had announced its intent to withdraw from the accord
         at the time the Commission issued the Authorization Order.264 But, even if the
         Commission were to consider those targets, without additional guidance, the Commission
         cannot determine the significance of the project’s emissions in relations to the goals. For
         example, there are no industry sector or regional emission targets or budgets with which
         to compare project emissions, or established GHG offsets to assess the project’s
         relationship with emissions targets.


         fact and law, for each alleged error including representative Commission and court
         precedent. Bootstrapping of arguments is not permitted.”); see also ISO New England,
         Inc., 157 FERC ¶ 61,060 (2016) (explaining that the identical provision governing
         requests for rehearing under the Federal Power Act “requires an application for rehearing
         to ‘set forth specifically the ground or grounds upon which such application is based,’
         and the Commission has rejected attempts to incorporate by reference grounds for
         rehearing from prior pleadings”); Alcoa Power Generating Inc., 144 FERC ¶ 61,218, at
         P 10 (2013) (“The Commission, however, expects all grounds to be set forth in the
         rehearing request, and will dismiss any ground only incorporated by reference.”)
         (citations omitted).
                262
                      Sierra Club Request for Rehearing and Stay at 27-28.
                263
                      Id. at 28.
                264
                   See Authorization Order, 169 FERC ¶ 61,130 at P 67 & n.119. On November
         4, 2019, President Trump began the formal process of withdrawing from the Paris
         Climate Accord by notifying the United Nations Secretary General of his intent to
         withdraw the United States from the Paris Climate Accord, which takes 12 months to
         take effect.




                                                                                         JA413
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                The Commission has provided extensive discussion on why the Social Cost of
         Carbon is not appropriate in project-level NEPA review and cannot meaningfully inform
         the Commission’s decisions on natural gas infrastructure projects under the NGA.265 It is
         not appropriate for use in any project-level NEPA review for the following reasons:

                        (1) EPA states that “no consensus exists on the appropriate
                        [discount] rate to use for analyses spanning multiple
                        generations”266 and consequently, significant variation in
                        output can result;267

                        (2) the tool does not measure the actual incremental impacts
                        of a project on the environment; and

                        (3) there are no established criteria identifying the monetized
                        values that are to be considered significant for NEPA
                        reviews.

                Sierra Club claims that the Commission has never offered a rational explanation
         for why the Social Cost of Carbon tool is appropriate for other agencies, but not the
         Commission,268 but we have explained that while the methodology may be useful for
         other agencies’ rulemakings or comparing regulatory alternatives using cost-benefit
         analyses where the same discount rate is consistently applied, it is not appropriate for
         estimating a specific project’s impacts or informing our analysis under NEPA.269
         Moreover, Executive Order 13783, Promoting Energy Independence and Economic
         Growth, has disbanded the Interagency Working Group on Social Cost of Greenhouse

               265
                     Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043, at P 296 (2017),
         (Mountain Valley), order on reh’g, 163 FERC ¶ 61,197, at PP 275-297 (2018), aff’d,
         Appalachian Voices v. FERC, No. 17-1271, 2019 WL 847199, at *2 (D.C. Cir. Feb. 19,
         2019) (“[The Commission] gave several reasons why it believed petitioners’ preferred
         metric, the Social Cost of Carbon tool, is not an appropriate measure of project-level
         climate change impacts and their significance under NEPA or the Natural Gas Act. That
         is all that is required for NEPA purposes.”).
               266
                    See Fact Sheet: The Social Cost of Carbon issued by EPA in November 2013,
         https://19january2017snapshot.epa.gov/climatechange/social-cost-carbon_.html.
               267
                   Depending on the selected discount rate, the tool can project widely different
         present-day costs to avoid future climate change impacts.
               268
                     Sierra Club Request for Rehearing and Stay at 28.
               269
                     Mountain Valley, 161 FERC ¶ 61,043 at P 296.




                                                                                             JA414
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        Gases and directed the withdrawal of all technical support documents and instructions
        regarding the methodology, stating that the documents are “no longer representative of
        governmental policy.”270

                 Sierra Club also asks that the Commission consider using “tools used by the
         [USGCRP]” to assess different emission scenarios and consequently the incremental
         impact of the GHG emissions at issue in these projects.271 Sierra Club itself
         acknowledges that such analysis of discrete physical impacts may be impossible,272 but,
         in any event, such a vague request to use USGCRP tools without identifying a particular
         tool or further elaboration of the applicability or utility of such tools does not alert the
         Commission to what Sierra Club is asking us to reconsider on rehearing.273 Sierra Club
         cites to earlier comments, but it is unclear what climate model it would like the
         Commission to use and, again, such incorporation by reference is improper and therefore
         an alternative basis for dismissing its request.274

                            3.   Consideration of Greenhouse Gas Emissions

                Sierra Club argues that the Commission failed to consider greenhouse gas
         emissions as part of its public interest determination in violation of Sierra Club v.
         FERC.275 Sierra Club states that the Commission’s failure to consider the significance of
         greenhouse gas emissions “preempts” its ability to assess whether the project is in the
         public interest.276




                270
                      Exec. Order No. 13,783, 82 Fed. Reg. 16,093 (2017).
                271
                      Sierra Club Request for Rehearing and Stay at 28.
                272
                      Id.
                273
                   The NGA requires that issues be specifically raised on rehearing. 15 U.S.C.
         § 717r(a). We also note that Sierra Club omitted this request in its statement of issues in
         violation of Rule 713 of the Commission’s Rules of Practices and Procedure. 18 C.F.R.
         § 385.713.
                274
                      Supra P 69 & n.248.
                275
                      867 F.3d at 1373.
                276
                      Sierra Club Request for Rehearing and Stay at 29.




                                                                                          JA415
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                Sierra Club is mistaken. The Commission approved the Texas LNG Project under
         NGA section 3 based on the record, which includes the GHG emissions analysis.277 The
         Final EIS discusses the GHG emissions from construction and operation of the project,278
         the climate change impacts in the region,279 and the regulatory structure for GHGs under
         the CAA.280 Although the Commission is unable to ascribe significance to GHG
         emissions based on the lack of current science or standards, contrary to Sierra Club’s
         claim, the Commission stated in the Authorization Order that it agreed with all the
         conclusions presented in the Final EIS and found that the project, if constructed and
         operated as described in the Final EIS, is an environmentally acceptable actions.281

               I.          Mitigation Measures

                Sierra Club argues that the Commission violated NEPA by issuing the Final EIS
         without all mitigation plans complete.282 Sierra Club asserts that the failure to develop
         these plans deprived the public of the opportunity to comment and claims that the EIS
         and Authorization Order provided no basis to determine that the pending mitigation plans
         would be feasible or effective.283

                The inclusion in the Authorization Order of environmental conditions that require
         Texas LNG to file mitigation plans does not violate NEPA. NEPA “does not require a
         complete plan be actually formulated at the onset, but only that the proper procedures be
         followed for ensuring that the environmental consequences have been fairly evaluated.”284
         Here, Commission staff published a Final EIS that identified baseline conditions for all
         relevant resources. Later-filed mitigation plans will not present new environmentally-
         significant information nor pose substantial changes to the proposed action that would
         otherwise require a supplemental EIS. As we have explained, practicalities require the

               277
                  Authorization Order, 169 FERC ¶ 61,130 at PP 66-68; Final EIS at 4-163 to 4-
         164, 4-169 to 4-172, 4-177, 4-180 to 4-184, 4-270, 4-280, 4-337, 4-342 to 4-344, 5-373.
               278
                     Final EIS at 4-172, 4-177, 4-180 to 4-184.
               279
                     Id. at 4-270, 4-280, 4-337.
               280
                     Id. at 4-342 to 4-344.
               281
                     Authorization Order, 169 FERC ¶ 61,130 at P 86.
               282
                     Sierra Club Request for Rehearing and Stay at 19-20.
               283
                     Id.
               284
                     Robertson, 490 U.S. 352.




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        issuance of orders before completion of certain reports and studies because large projects,
        such as this, take considerable time and effort to develop.285 Accordingly, post-
        authorization studies may properly be used to develop site-specific mitigation measures.286
        It was not unreasonable for the Final EIS to deal with sensitive locations in a general way,
        leaving specificities of certain resources for later exploration during construction.287 What
        is important is that the agency make adequate provisions to assure that the applicant will
        undertake and identify appropriate mitigation measures to address impacts that are
        identified during construction.288 The Commission has and will continue to demonstrate
        our commitment to assuring adequate mitigation.289

                  Sierra Club also argues that emergency response mitigation is inadequate, stating
         that it is unclear if Texas LNG has begun coordinating evacuation procedures with local
         emergency planning groups, fire departments, and local law enforcement as part of the
         Emergency Response Plan (ERP), as required by the Authorization Order.290 Sierra Club
         argues that if the City of South Padre Island has a serious concern with the plan or a
         related Cost-Sharing Plan, it is unclear how the City could act on these concerns or how
         the project could proceed if the City’s concerns are not resolved.291

               As discussed, for purposes of NEPA, our authorization can be conditioned on the
         development of mitigation plans.292 Accordingly, Sierra Club’s concerns are compliance



               285
                  See, e.g., Algonquin Gas Transmission, LLC, 154 FERC ¶ 61,048, at P 94
         (2016); East Tenn. Natural Gas Co., 102 FERC ¶ 61,225 at P 23, aff'd sub nom. Nat'l
         Comm. for the New River, Inc. v. FERC, 373 F.3d 1323 (2004).
               286
                   Under NGA section 3(e)(3)(A), the Commission may issue an order approving
         an import or export application “in whole or part, with such modifications and upon such
         terms and conditions as the Commission may find necessary or appropriate.” 15 U.S.C.
         § 717b(e)(3)(A).
               287
                     Mojave Pipeline Co., 45 FERC ¶ 63,005, at 65,018 (1988).
               288
                     Id.
               289
                     Id.
               290
                     Sierra Club Request for Rehearing and Stay at 20.
               291
                     Id.
               292
                     Robertson, 490 U.S. at 352.




                                                                                         JA417
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        related. Under the conditions in the Authorization Order, initial site preparation will not
        begin before we approve the plans, and the plans must be updated on a regular basis.293

                We disagree with Sierra Club’s assertion that the Commission erred in granting
         Texas LNG NGA section 3 authority before the Commission completed Endangered
         Species Act (ESA) consultation with the Fish and Wildlife Service.294 Conditional
         authorization of a project does not prevent the Commission and Fish and Wildlife Service
         from completing formal consultation under the ESA. Under ESA section 7(a)(2), a
         federal agency must ensure, in consultation with the Secretary of the Interior or
         Commerce, as appropriate, that any action it authorizes, funds, or carries out is not likely
         to jeopardize the continued existence of any endangered or threatened species or result in
         the destruction or adverse modification of critical habitat of such species.295 When a
         federal agency determines that a proposed action may affect a threatened or endangered
         species, it must consult with Fish and Wildlife Service or the National Marine Fisheries
         Service and obtain a biological opinion on whether the action is likely to result in a
         violation of the ESA.296 While consultation is pending, the agency and the applicant
         must not make any “irreversible or irretrievable commitment of resources” which would
         “foreclos[e] the formulation or implementation of any reasonable and prudent alternative
         measures” to avoid jeopardy and the adverse modification of habitat.297

                 The Commission may issue an order prior to completion of formal consultation
         under the ESA where it is not possible to complete consultation—for example, where
         species surveys cannot be completed until lands are obtained through eminent domain—
         prior to order issuance.298 If the completion of formal consultation results in a biological
         opinion finding of jeopardy or adverse modification of critical habitat, the project cannot
         go forward unless mutually agreeable modifications are adopted. In this way, the
         Commission has ensured that no irreversible or irretrievable commitment of resources
         forecloses reasonable and prudent alternative measures. Once the applicable
         environmental conditions have been met, the Commission would issue a “Notice to

                293
                      Authorization Order, 169 FERC ¶ 61,130 at Environmental Conditions 36-37.
                294
                      Sierra Club Request for Rehearing and Stay at 20.
                295
                   16 U.S.C. § 1536(a)(2) (2018). The Secretaries of Interior and Commerce have
         delegated their consultation responsibilities to the Directors of Fish and Wildlife Service
         and the National Marine Fisheries Service, respectively.
                296
                      Id.
                297
                      Id. § 1536(d).
                298
                      See e.g., Bradwood Landing LLC, 126 FERC ¶ 61,035, at PP 43-44 (2009).




                                                                                          JA418
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        Proceed” with construction. Consequently, we believe that the environmental conditions
        required for the project, including Environmental Conditions 9 and 18, ensure
        compliance with all applicable federal laws and regulations.299

                  J.       Public Interest Determination

                Sierra Club argues that the Authorization Order fails to provide a reasoned
         explanation for why the project is in the public interest under the NGA, when the project
         will have significant adverse impacts on the environment.300 As discussed, the
         Commission determined that the NGA section 3 project was not inconsistent with the
         public interest and based on all information in the record, including information
         presented in the Final EIS. Although the Final EIS identified some adverse
         environmental impacts, the Commission found that the project, if constructed and
         operated as described in the Final EIS with required conditions, is an environmentally
         acceptable action and, consequently, based on all the other factors discussed in the
         Authorization Order, the Texas LNG Project is not inconsistent with the public
         interest.301 We affirm that decision with the revised discussion of impacts on
         environmental justice communities.


         The Commission orders:

               (A) Sierra Club’s request for rehearing is hereby denied, as discussed in the
         body of this order.

                (B) Sierra Club’s request for stay is hereby dismissed as moot, as discussed in
         the body of this order.

                (C) Shrimpers and Fisherman of the RGV’s request for rehearing is rejected, as
         discussed in the body of this order.

                  (D)      Texas LNG’s motion to strike is denied, as discussed in the body of this
         order.

                (E)    Sierra Club's answer to Texas LNG’s motion to strike is dismissed, as
         discussed in the body of this order.


                  299
                        Authorization Order, 169 FERC ¶ 61,130 at Environmental Conditions 9 & 18.
                  300
                        Sierra Club Request for Rehearing and Stay at 30-31.
                  301
                        Authorization Order, 169 FERC ¶ 61,130 at P 86.




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                (F)    Texas LNG’s answer to Sierra Club’s request for rehearing is rejected, as
         discussed in the body of this order.

         By the Commission. Commissioner Glick is dissenting with a separate statement attached.
                            Commissioner McNamee is concurring with a separate statement
                            attached.

         (SEAL)




                                                      Nathaniel J. Davis, Sr.,
                                                        Deputy Secretary.




                                                                                        JA420
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                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Texas LNG Brownsville LLC                                     Docket No.    CP16-116-001

                                          (Issued February 21, 2020)

         GLICK, Commissioner, dissenting:

                 I dissent from today’s order because it violates both the Natural Gas Act1 (NGA)
         and the National Environmental Policy Act2 (NEPA). Rather than wrestling with the
         Project’s adverse impacts to the environment and the surrounding community, today’s
         order makes clear that the Commission will not allow these impacts to get in the way of
         its outcome-oriented desire to approve the Project.

                 As an initial matter, the Commission continues to treat climate change differently
         than all other environmental impacts. The Commission steadfastly refuses to assess
         whether the impact of the Project’s greenhouse gas (GHG) emissions on climate change
         is significant, even though it purports to quantify those GHG emissions.3 Claiming that
         the Project is “environmentally acceptable” while simultaneously refusing to assess its
         impact on the most important environmental issue of our time is arbitrary and capricious
         and not the product of reasoned decisionmaking.4

                In addition, I am also deeply troubled by the environmental justice implications of
         today’s order. All three of the Brownsville LNG facilities5 are located in Cameron
         County, Texas—a region of the country where roughly one third of the population is


                1
                    15 U.S.C. §§ 717b, 717f (2018).
                2
                    National Environmental Policy Act of 1969, 42 U.S.C. §§ 4321 et seq.
                3
                  Texas LNG Brownsville LLC, 169 FERC ¶ 61,130, at P 67 (2019) (Certificate
         Order); Environmental Impact Statement at Tables 4.11.1-4 – 4.11.1-6, 4.11.1-8 – 4.11.1-
         9, 4.11.1-11 (EIS).
                4
                    Texas LNG Brownsville LLC, 170 FERC 61,139, at PP 76, 83 (2020) (Rehearing
         Order).
                5
                 In addition to the Texas LNG Brownsville facility, the Commission also
         simultaneously approved the Rio Grande LNG facility, Rio Grande LNG, LLC, 169
         FERC ¶ 61,131 (2019), and the Annova LNG facility, Annova LNG LLC, 169 FERC ¶
         61,132 (2019). I will refer to these collectively as the Brownsville LNG facilities.




                                                                                           JA421
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         below the poverty line and the vast majority is made up of minority groups.6 I fully
         appreciate that the jobs and economic stimulus that a facility like the Project can provide
         may be especially important in a community facing economic challenges. But we cannot
         lose sight of the cumulative environmental toll that new industrial development can take
         on communities such as Cameron County. Far from seriously considering those impacts,
         today’s order shrugs them off, reasoning that they are all but inevitable and that, because
         they fall almost entirely on low-income or minority communities, they do not fall
         disproportionately on those communities. That conclusion is both unreasoned and an
         abdication of our responsibility to the public interest.

                Finally, I am concerned about the Commission’s cursory analysis and
         consideration of the Project’s impacts on local air quality and endangered species as well
         as how to mitigate those impacts. Collectively, the Brownsville LNG facilities will have
         significant adverse consequences on the surrounding region that, in my view, demand a
         more thorough analysis under both NEPA and the NGA than they have received from the
         Commission.

         I.     The Commission’s Public Interest Determination Are Not the Product of
                Reasoned Decisionmaking

                The NGA’s regulation of LNG import and export facilities “implicate[s] a tangled
         web of regulatory processes” split between the U.S. Department of Energy (DOE) and
         the Commission.7 The NGA establishes a general presumption favoring the import and
         export of LNG unless there is an affirmative finding that the import or export “will not be
         consistent with the public interest.”8 Section 3 of the NGA provides for two independent

                6
                  Rehearing Order, 170 FERC 61,139 at P 40 (“The Final EIS concluded that
         within the five census block groups intersected by a two-mile radius around the Texas
         LNG terminal site, in four the Hispanic or Latino population comprises 74 to 95 percent
         of the total population and in all five the population with incomes below the poverty level
         ranges from about 22 to 41 percent.”); see also id. (explaining that in Cameron County,
         Texas “the Hispanic or Latino population comprises 88 percent of the population and the
         poverty rate is about 35 percent.” (footnotes omitted)).
                7
                    Sierra Club v. FERC, 827 F.3d 36, 40 (D.C. Cir. 2016) (Freeport).
                8
                  15 U.S.C. § 717b(a); see EarthReports, Inc. v. FERC, 828 F.3d 949, 953 (D.C.
         Cir. 2016) (citing W. Va. Pub. Servs. Comm’n v. Dep’t of Energy, 681 F.2d 847, 856
         (D.C. Cir. 1982) (“NGA [section] 3, unlike [section] 7, ‘sets out a general presumption
         favoring such authorization.’”)). Under section 7 of the NGA, the Commission approves
         a proposed pipeline if it is shown to be consistent with the public interest, while under
         section 3, the Commission approves a proposed LNG import or export facility unless it is
         shown to be inconsistent with the public interest. Compare 15 U.S.C. § 717b(a) with




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         public interest determinations: One regarding the import or export of LNG itself and one
         regarding the facilities used for that import or export. DOE determines whether the
         import or export of LNG is consistent with the public interest, with transactions among
         free trade countries legislatively deemed “consistent.”9 Separately the Commission
         evaluates whether “an application for the siting, construction, expansion, or operation of
         an LNG terminal” is itself consistent with the public interest.10 Pursuant to that authority,
         the Commission must approve a proposed LNG facility unless the record shows that the
         facility would be inconsistent with the public interest.11 Today’s order fails to satisfy that
         standard in multiple respects.

                A.       The Commission’s Public Interest Determination Does Not Adequately
                         Consider Climate Change

                 As part of its public interest determination, the Commission examines a proposed
         facility’s impact on the environment and public safety, among other things. A facility’s
         impact on climate change is one of the environmental impacts that must be part of a
         public interest determination under the NGA.12 Nevertheless, the Commission maintains



         15 U.S.C. § 717f(a), (e).
                9
                  15 U.S.C. § 717b(c). The courts have explained that, because the authority to
         authorize the LNG exports rests with DOE, NEPA does not require the Commission to
         consider the upstream or downstream GHG emissions that may be indirect effects of the
         export itself when determining whether the related LNG export facility satisfies section 3
         of the NGA. See Freeport, 827 F.3d at 46-47; see also Sierra Club v. FERC, 867 F.3d
         1357, 1373 (D.C. Cir. 2017) (Sabal Trail) (discussing Freeport). Nevertheless, NEPA
         requires that the Commission consider the direct GHG emissions associated with a
         proposed LNG export facility. See Freeport, 827 F.3d at 41, 46.
                10
                  15 U.S.C. § 717b(e). In 1977, Congress transferred the regulatory functions of
         NGA section 3 to DOE. DOE, however, subsequently delegated to the Commission
         authority to approve or deny an application for the siting, construction, expansion, or
         operation of an LNG terminal, while retaining the authority to determine whether the
         import or export of LNG to non-free trade countries is in the public interest. See
         EarthReports, 828 F.3d at 952-53.
                11
                     See Freeport, 827 F.3d at 40-41.
                12
                  See Sabal Trail, 867 F.3d at 1373 (explaining that the Commission must
         consider a pipeline’s direct and indirect GHG emissions because the Commission may
         “deny a pipeline certificate on the ground that the pipeline would be too harmful to the
         environment”); see also Atl. Ref. Co. v. Pub. Serv. Comm’n of N.Y., 360 U.S. 378, 391



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         that it need not consider whether the Project’s contribution to climate change is
         significant in this order because it lacks a means to do so—or at least so it claims.13
         However, the most troubling part of the Commission’s rationale is what comes next.
         Based on this alleged inability to assess the significance of the Project’s impact on
         climate change, the Commission concludes that the Project’s environmental impacts
         would be “environmentally acceptable” and generally reduced to “less than significant
         levels.”14 Think about that. The Commission is saying out of one side of its mouth that it
         cannot assess the significance of the Project’s impact on climate change15 while, out of
         the other side of its mouth, assuring us that its impacts are “environmentally
         acceptable.”16 That is ludicrous, unreasoned, and an abdication of our responsibility to
         give climate change the “hard look” that the law demands.17




         (1959) (holding that the NGA requires the Commission to consider “all factors bearing
         on the public interest”).
                13
                  Rehearing Order, 170 FERC 61,139 at PP 70-71; Certificate Order, 169 FERC ¶
         61,130 at P 68; EIS at 4-344.
                14
                  Certificate Order, 169 FERC ¶ 61,130 at P 25; EIS at ES-16; see also Rehearing
         Order, 170 FERC 61,139 at P 76
                15
                   Rehearing Order, 170 FERC 61,139 at P 71; Certificate Order, 169 FERC
         ¶ 61,130 at P 68; EIS 4-344 (“[W]e are unable to determine the significance of the
         Project’s contribution to climate change.”).
                16
                   Rehearing Order, 170 FERC 61,139 at P 76; Certificate Order, 169 FERC
         ¶ 61,130 at P 53; id. at P 25 (stating that, with few exceptions and not considering
         cumulative impacts, the Project’s impacts would be “reduced to less than-significant
         levels”).
                17
                   See, e.g., Myersville Citizens for a Rural Cmty., Inc. v. FERC, 783 F.3d 1301,
         1322 (D.C. Cir. 2015) (explaining that agencies cannot overlook a single environmental
         consequence if it is even “arguably significant”); see also Michigan v. EPA, 135 S. Ct.
         2699, 2706 (2015) (“Not only must an agency’s decreed result be within the scope of its
         lawful authority, but the process by which it reaches that result must be logical and
         rational.” (internal quotation marks omitted)); Motor Vehicle Mfrs. Ass’n, Inc. v. State
         Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (explaining that agency action is
         “arbitrary and capricious if the agency has . . . entirely failed to consider an important
         aspect of the problem, [or] offered an explanation for its decision that runs counter to the
         evidence before the agency”).




                                                                                          JA424
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                It also means that the Project’s impact on climate change does not play a
         meaningful role in the Commission’s public interest determination, no matter how often
         the Commission assures us that it does. Using the approach in today’s order, the
         Commission will always be able to conclude that a project will not have a significant
         environmental impact irrespective of that project’s actual GHG emissions or those
         emissions’ impact on climate change. If the Commission’s conclusion will not change no
         matter how many GHG emissions a project causes, those emissions cannot, as a logical
         matter, play a meaningful role in the Commission’s public interest determination. A
         public interest determination that systematically excludes the most important
         environmental consideration of our time is contrary to law, arbitrary and capricious, and
         not the product of reasoned decisionmaking.

                The failure to meaningfully consider the Project’s GHG emissions is all-the-more
         indefensible given the volume of GHG emissions at issue in this proceeding. As noted,
         the Project will directly release over 600,000 metric tons of GHG emissions per year,
         plus an untold several million more that go undocumented in the Commission’s
         environmental analysis.18 The Commission acknowledges that “GHGs emissions due to
         human activity are the primary cause of increased levels of all GHG since the industrial
         age,”19 a result that the Commission has previously (although notably not in today’s order
         and accompanying environmental analysis) acknowledged “may endanger the public
         health and welfare through climate change.”20 In light of this undisputed relationship
         between anthropogenic GHG emissions and climate change, the Commission must
         carefully consider the Project’s contribution to climate change when determining whether
         the Project is consistent with the public interest—a task that it entirely fails to accomplish
         in today’s order.

                  B.       The Commission’s Consideration of the Project’s Other Adverse
                           Impacts Is Also Arbitrary and Capricious

                As I explained in my dissent from the underlying order, the Commission “cannot
         turn a blind eye to the incremental impact that increased pollution will have on


                  18
                   See infra PP 17-20. The Commission refuses to consider the GHG emissions
         caused by the Project’s electricity consumption as direct effects even though it possesses
         models for calculating and quantifying those emissions, see infra P 18, and there is no
         dispute that those emissions represent the Project’s principal contribution to climate
         change.
                  19
                       EIS at 4-164.
                  20
                       Environmental Impact Statement, Docket No. CP16-480-000, at 4-172 (Mar. 15,
         2019).




                                                                                           JA425
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         economically disadvantaged communities.”21 And, as I noted at the outset, although I
         “fully appreciate that the jobs and economic stimulus that a facility like the Project can
         provide may be especially important in a community facing economic challenges,”22 a
         reasoned application of the public interest cannot recognize those benefits and at the
         same time fail to wrestle with the Project’s adverse consequences for vulnerable
         communities. Carefully considering those adverse impacts is important both because
         vulnerable communities often lack the means to retain high-priced counsel to vindicate
         their interests and because of the long history in which these communities have
         “frequently experience[d] a disproportionate toll from the development of new industrial
         facilities.”23 Especially in a case such as this one, where the adverse impacts include the
         type of potentially serious impacts on human health that can have cascading
         consequences in economically disadvantaged areas, the failure to seriously wrestle with
         those adverse effects is both profoundly unfair and inimical to the public interest.

                Nevertheless, the Commission barely bats an eye at the impacts its actions will
         have on environmental justice24 communities. Instead, it dismisses environmental justice
         concerns because, get this, all the surrounding communities are either low-income or
         minority communities and so environmental justice communities are not
         disproportionately affected relative to other communities affected by the Project.25 In
         other words, the Commission concludes that because the Project basically affects only




                21
                     Certificate Order, 169 FERC ¶ 61,130 (Glick, Comm’r, dissenting at P 10).
                22
                     Id.
                23
                   Id.; cf., e.g., Friends of Buckingham v. State Air Pollution Control Bd., 947 F.3d
         68, 87 (2020) (“As Justice Douglas pointed out nearly fifty years ago, as often happens
         with interstate highways, the route selected was through the poor area of town, not
         through the area where the politically powerful people live.” (internal quotation marks
         and alterations omitted)).
                24
                   “The principle of environmental justice encourages agencies to consider
         whether the projects they sanction will have a disproportionately high and adverse impact
         on low-income and predominantly minority communities.” Sabal Trail, 867 F.3d at 1368
         (internal quotation marks omitted).
                25
                  See, e.g., Rehearing Order, 170 FERC 61,139 at P 45 (“Because here all project-
         affected populations are minority or low-income populations, or both, it is not possible
         that impacts will be disproportionately concentrated on minority and low-income
         populations versus on some other project-affected comparison group.”).




                                                                                          JA426
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         low-income or minority populations, its effects do not fall disproportionately on those
         communities.

                 But that observation only highlights the environmental justice implications of the
         Project. Concerns about environmental justice are rooted in the fact that low-income and
         minority populations often bear the brunt of the environmental and human health impacts
         of new industrial development.26 The Commission’s observation that functionally all the
         areas adversely affected by the Project are home to those communities ought to be a
         reason to take a harder look at the Project’s environmental justice implications, not to
         brush them off.27 Suggesting that environmental justice is relevant to the public interest
         only when a fraction of a Project’s adverse impacts fall on environmental justice
         communities and not when substantively all of those impacts fall on those communities is
         both arbitrary and capricious and, frankly, hard to fathom.28 After all, the upshot of the
         Commission’s approach is to signal to developers that they can side step environmental
         justice concerns so long as they ensure that all, or substantially all, of a project’s adverse
         impacts fall on low-income or minority communities.

                 The Commission responds to these concerns by stating that, based on Texas
         LNG’s definition of the Project’s purpose, it can only be built in environmental justice
         communities.29 That hardly helps the matter. Following the Commission’s reasoning, if
         a project developer defines its project such that in can only be built in environmental
         justice communities, then that will, for all intents and purposes, be the end of the
         Commission’s environmental justice analysis. That is hardly a rational result for a line of
         inquiry that is supposed to recognize and respond to the fact that vulnerable communities
         have long born a disproportionate share of the impact from industrial development. An


                26
                    See Certificate Order, 169 FERC ¶ 61,130 (Glick, Comm’r, dissenting at P 10);
         cf., e.g., Friends of Buckingham, 947 F.3d at 87 (noting the “‘evidence that a
         disproportionate number of environmental hazards, polluting facilities, and other
         unwanted land uses are located in communities of color and low-income communities’”
         (quoting Nicky Sheats, Achieving Emissions Reductions for Environmental Justice
         Communities Through Climate Change Mitigation Policy, 41 Wm. & Mary Envtl. L. &
         Pol’y Rev. 377, 382 (2017))).
                27
                     Certificate Order, 169 FERC ¶ 61,130 (Glick, Comm’r, dissenting at P 10).
                28
                   Note that I am not arguing that the EIS was somehow inherently deficient, cf.
         Sabal Trail, 867 F.3d at 1368-71, but instead that it is arbitrary and capricious to dismiss
         environmental justice concerns under the Commission’s public interest analysis on the
         basis that the Project will adversely affect only environmental justice communities.
                29
                     Rehearing Order, 170 FERC 61,139 at P 41.




                                                                                           JA427
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         analytical framework that permits the Commission to write environmental justice out of
         the analyses in which it would seem to be most relevant is arbitrary and capricious.

                 So far as I can tell, the Commission’s perspective is that a project located in an
         overwhelmingly poor or minority community raises environmental justice concerns only
         if the individuals in that community have some sort of predisposition or susceptibility to
         the project’s adverse impacts.30 For example, in its rehearing order regarding the Rio
         Grande LNG facility, the Commission recognized the potential for the cumulative effects
         of the Project and other sources in the region to contribute to a violation of the 8-hour
         National Ambient Air Quality Standards (NAAQS) for Ozone.31 Ozone is linked to a
         number of serious health problems, such as asthma and respiratory disease, including
         chronic obstructive pulmonary disorder (COPD).32 Nevertheless, after reciting a string of
         general statistics about the incidence of asthma and respiratory disease among different
         racial and age groups in Texas, the Commission concludes that those numbers do not
         indicate that “the anticipated exposure to ozone in minority and low-income communities
         [around the Project] would result in a disproportionately high and adverse impact on
         these communities.”33

                The implication appears to be that, because Hispanic and Latino populations are
         not more susceptible than the general population to asthma or respiratory disease,
         exposing the predominately Hispanic and Latino population surrounding the project to
         ozone levels that the U.S. Environmental Protection Agency (EPA) has deemed unsafe
         will not disproportionately affect those individuals in comparison to those of other ethnic
         groups.

                That is nonsense. The fact that Hispanic or Latino populations within Texas as a
         whole are relatively less likely to suffer from asthma or to die from respiratory disease
         than other racial groups34 tells us nothing about the actual impacts that the elevated ozone


                30
                     Rehearing Order, 170 FERC 61,139 at P 45.
                31
                   Id. at P 50. This includes the other Brownsville LNG facilities—although
         principally the Rio Grande facility, which would be powered by onsite gas turbines—and
         the ships that would serve the three facilities.
                32
                  See Rehearing Order, 170 FERC 61,139 at P 52 (discussing health effects ozone
         exposure); see generally National Ambient Air Quality Standards for Ozone, 80 Fed.
         Reg. 65,292 (2015) (rule establishing current 8-hour ozone NAAQS).
                33
                     Rehearing Order, 170 FERC 61,139 at P 53.
                34
                     Id.




                                                                                          JA428
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         levels caused by the Project will have on minority and low-income groups in the affected
         areas. For example, assume for the sake of argument that the ozone exposure caused by
         the Project doubles the incidence of COPD in the affected communities. The population-
         wide incidence of respiratory disease does nothing to help us assess whether and how this
         Project will disproportionately affect the environmental justice communities in the
         surrounding area or what that means for the public interest.35 The bottom line is that
         environmental justice considerations must play an important role in our public interest
         analysis, especially when the impacts on poor and minority communities are as
         significant and concentrated as they are here. Instead, the Commission basically shrugs
         its shoulders, concludes that the impacts on environmental justice communities are
         inevitable, and moves on. That simply is not a serious consideration of the Project’s
         environmental justice implications.

                In addition, the cumulative effects of the Brownsville LNG facilities will have a
        significant adverse impact on endangered species, including the ocelot, the jaguarundi,
        and the aplomado falcon.36 Although the Commission reported those impacts in its EIS37
        and mentioned them in the original order,38 it is far from clear whether and how they
        factor into the Commission’s public interest analysis.39 Given the extent of those adverse
        impacts—which appear to be more extensive than those caused by other energy
        infrastructure projects that the Commission has approved under NGA section 3 and
        section 7 in recent years40—we ought to do more than simply recite the potential harm




               35
                  For example, although asthma can aggravate the effects of ozone exposure,
         ozone can have serious health effects in non-asthmatics and can lead to other conditions,
         including COPD. See U.S. Envtl. Prot. Agency, Health Effects of Ozone Pollution,
         https://www.epa.gov/ground-level-ozone-pollution/health-effects-ozone-pollution (last
         visited Feb. 20, 2020).
               36
                    EIS at 4-317 (ocelot and jaguarundi); id. at 4-318 (aplomado falcon)..
               37
                    See supra note 36.
               38
                    Certificate Order, 169 FERC ¶ 61,130 at PP 49, 75, 77.
               39
               Rehearing Order, 170 FERC 61,139 at P 83 (summarily stating that the
        Commission finds the Project not inconsistent with the public interest).
               40
                 For example, the Commission’s EIS states that “even incremental habitat loss
        could be significant” for the ocelot, of which there are only a few dozen remaining in the
        United States. EIS at App. C-131; see also id. at 4-315.




                                                                                             JA429
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        and then proceed, post haste, to make a public interest determination without further
        discussion.

         II.    The Commission Fails to Satisfy Its Obligations under NEPA

                 The Commission’s NEPA analysis is similarly flawed. As an initial matter, to
         seriously evaluate the environmental consequences of the Project under NEPA, the
         Commission must consider the harm caused by its GHG emissions and “evaluate the
         ‘incremental impact’ that those emissions will have on climate change or the environment
         more generally.”41 As noted, the Commissions states that the operation of the Project
         will directly emit more than 600,000 metric tons of GHGs annually.42 But that drastically
         understates the actual GHG emissions attributable to the Project. Unlike many of the
         LNG facilities that the Commission has approved last year, the Project is powered with
         electricity from the grid rather than onsite natural gas turbines.43 Apparently on that
         basis, the Commission omits the resulting GHG emissions from its environmental
         analysis.

                But the GHG emissions caused by the Project’s substantial electricity consumption
         are reasonably foreseeable effects of the Project. The Project will connect to the grid via
         a new transmission line that will extend from the Project to American Electric Power’s
         Union Carbide substation.44 That known point of interconnection makes it possible for
         the Commission to estimate the incremental generation likely to be dispatched to serve
         the Project—and the resulting GHG emissions—using one of many well-accepted
         models, such as the Environmental Protection Agency’s eGrid database or Avoided
         Emissions and Generation Tool (AVERT). Deploying one or both of those models would
         have been precisely the sort of “‘reasonable forecasting’” aided by “‘educated
         assumptions’” that NEPA requires.45



                41
                   Ctr. for Biological Diversity v. Nat’l Highway Traffic Safety Admin., 538 F.3d
         1172, 1216 (9th Cir. 2008); WildEarth Guardians v. Zinke, 368 F. Supp. 3d 41, 51
         (D.D.C. 2019) (explaining that the agency was required to “provide the information
         necessary for the public and agency decisionmakers to understand the degree to which
         [its] decisions at issue would contribute” to the “impacts of climate change in the state,
         the region, and across the country”).
                42
                     Certificate Order, 169 FERC ¶ 61,130 at P 67; EIS at Table 4.11.11.
                43
                     EIS at 1-17 – 1-18, 4-182
                44
                     Id. at 1-17.
                45
                     Sabal Trail, 867 F.3d at 1374 (quoting Del. Riverkeeper Network v. FERC, 753



                                                                                           JA430
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                 But don’t just take my word for it. Consider the fact that the Commission used and
         relied on both of those models in similar contexts, including to calculate the air emissions
         in a separate order issued the same day as Texas LNG that approves another LNG export
         facility that is less than 2 miles away from the Project.46 In that order, the Commission
         relied on both eGrid and AVERT to calculate the “indirect emissions,” including GHG
         emissions, caused by the Annova LNG facility’s electricity consumption when assessing
         the reasonable alternatives to that proposed project. I see no reason why the Commission
         cannot use the same models to develop a reasonable estimate—which, again, is exactly
         what NEPA requires—of the GHG emissions caused by the Project.The Commission’s
         failure to consider these reasonably foreseeable GHG emissions is especially
         unreasonable given the other sources of GHG emissions that it did consider in the EIS.
         For example, the EIS reports the GHG emissions resulting from mobile sources
         associated with the Project.47 Indeed, it goes so far as to estimate the GHG emissions that
         will result from different forms of mobile sources used to serve the facility (e.g., boats
         and commuter traffic).48 I fail to see how the Commission can reasonably refuse to use
         well-established models—ones that it is perfectly comfortable relying on in a similar
         context—to quantify and consider the GHG emissions from electricity consumption, but
         then confidently ascribe and consider estimated GHG emissions levels for different types
         of boats.

                In any case, although quantifying the Project’s GHG emissions is a necessary step
         toward meeting the Commission’s NEPA obligations, listing the volume of emissions
         alone is insufficient.49 Identifying the potential consequences that those emissions will


         F.3d 1304, 1310 (D.C. Cir. 2014)).
                46
                    Annova LNG Brownsville Project Environmental Impact Statement, Docket No.
         CP16-480-000, at 3-20 (Apr 19, 2019); EA at 4-104 (stating that the Annova LNG
         facility is 1.7 miles away from the Project site).
                47
                     EIS at Tables 4.11.1-8 – 4.11.19.
                48
                     Id. at Table 4.11.1-9.
                49
                   See Ctr. for Biological Diversity, 538 F.3d at 1216 (“While the [environmental
         document] quantifies the expected amount of CO2 emitted . . . , it does not evaluate the
         ‘incremental impact’ that these emissions will have on climate change or on the
         environment more generally . . . .”); Klamath-Siskiyou Wildlands Ctr. v. Bureau of Land
         Mgmt., 387 F.3d 989, 995 (9th Cir. 2004) (“A calculation of the total number of acres to
         be harvested in the watershed is a necessary component . . . , but it is not a sufficient
         description of the actual environmental effects that can be expected from logging those
         acres.”).




                                                                                          JA431
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        have for climate change is essential if NEPA is to play the disclosure and good
        government roles for which it was designed. The Supreme Court has explained that
        NEPA’s purpose is to “ensure[] that the agency, in reaching its decision, will have
        available, and will carefully consider, detailed information concerning significant
        environmental impacts” and to “guarantee[] that the relevant information will be made
        available to the larger audience that may also play a role in both the decisionmaking
        process and the implementation of that decision.”50 It is hard to see how hiding the ball
        by refusing to assess the significance of the Project’s climate impacts is consistent with
        either of those purposes.

                In addition, under NEPA, a finding of significance informs the Commission’s
         inquiry into potential ways of mitigating environmental impacts.51 An environmental
         review document must “contain a detailed discussion of possible mitigation measures” to
         address adverse environmental impacts.52 “Without such a discussion, neither the agency
         nor other interested groups and individuals can properly evaluate the severity of the
         adverse effects” of a project, meaning that an examination of possible mitigation
         measures is necessary to ensure that the agency has taken a “hard look” at the
         environmental consequences of the action at issue.53

                The Commission responds that it need not determine whether the Project’s
         contribution to climate change is significant because “[t]here is no universally accepted
         methodology” for assessing the harms caused by the Project’s contribution to climate
         change.54 But the lack of a single consensus methodology does not prevent the


                50
                Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752, 768 (2004) (citing Robertson v.
         Methow Valley Citizens Coun., 490 U.S. 332, 349 (1989)).
                51
                   40 C.F.R. § 1502.16 (2018) (NEPA requires an implementing agency to form a
         “scientific and analytic basis for the comparisons” of the environmental consequences of
         its action in its environmental review, which “shall include discussions of . . . [d]irect
         effects and their significance.”).
                52
                     Robertson, 490 U.S. at 351.
                53
                     Id. at 352.
                54
                   EIS at 4-344 (stating “there is no universally accepted methodology to attribute
         discrete, quantifiable, physical effects on the environment to Project’s incremental
         contribution to GHGs” and “[w]ithout either the ability to determine discrete resource
         impacts or an established target to compare GHG emissions against, we are unable to
         determine the significance of the Project’s contribution to climate change”); see
         Certificate Order, 169 FERC ¶ 61,130 at P 68 (“The Commission has also previously
         concluded it could not determine whether a project’s contribution to climate change



                                                                                         JA432
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        Commission from adopting a methodology, even if it is not universally accepted. The
        Commission could, for example, select one methodology to inform its reasoning while
        also disclosing its potential limitations or the Commission could employ multiple
        methodologies to identify a range of potential impacts on climate change. In refusing to
        assess a project’s climate impacts without a perfect model for doing so, the Commission
        sets a standard for its climate analysis that is higher than it requires for any other
        environmental impact.

                 In any case, the Commission has several tools to assess the harm from the
         Project’s contribution to climate change. For example, by measuring the long-term
         damage done by a ton of carbon dioxide, the Social Cost of Carbon links GHG emissions
         to the harm caused by climate change, thereby facilitating the necessary “hard look” at
         the Project’s environmental impacts that NEPA requires. Especially when it comes to a
         global problem like climate change, a measure for translating a single project’s climate
         change impacts into concrete and comprehensible terms plays a useful role in the NEPA
         process by putting the harm in terms that are readily accessible for both agency
         decisionmakers and the public at large. Yet, the Commission continues to ignore the
         Social Cost of Carbon, relying instead on deeply flawed reasoning that I have previously
         critiqued at length.55

                Furthermore, even without a formal tool or methodology, the Commission can
         consider all factors and determine, quantitatively or qualitatively, whether the Project’s
         GHG emissions will have a significant impact on climate change. After all, that is
         precisely what the Commission does in other aspects of its environmental review, where
         the Commission makes several significance determinations without the explicit tools it
         claims it needs to assess the significance of the Project’s impact on climate change.56
         The Commission’s refusal to similarly analyze the Project’s impact on climate change is
         arbitrary and capricious.



         would be significant.”); see also Rehearing Order, 170 FERC 61,139 at P 71 (stating that
         the Commission cannot evaluate significance without “targets or budgets with which to
         compare project emissions”).
                55
                See, e.g., Fla. Se. Connection, LLC, 164 FERC ¶ 61,099 (2018) (Glick,
         Comm’r, dissenting).
                56
                  See, e.g., EIS at 4-14, 4-22, 4-23, 4-36 – 4-37, 4-44, 4-50, 4-55, 45-8, 4-72
         (concluding there will be no significant impact on groundwater recharge, turbidity,
         surface water quality due to hydrostatic testing, wetlands, vegetation, wildlife, migratory
         bird populations, pollinator habitat, and aquatic resources due to cooling water intake,
         among other things).




                                                                                          JA433
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                And even if the Commission were to determine that the Project’s GHG emissions
         are significant, that is not the end of the analysis. Instead, as noted above, the
         Commission could blunt those impacts through mitigation—as the Commission often
         does with regard to other environmental impacts. The Supreme Court has held that an
         environmental review must “contain a detailed discussion of possible mitigation
         measures” to address adverse environmental impacts.57 As noted above, “[w]ithout such
         a discussion, neither the agency nor other interested groups and individuals can properly
         evaluate the severity of the adverse effects.”58 Consistent with this obligation, the EIS
         discusses mitigation measures to ensure that the Project’s adverse environmental impacts
         (other than its GHG emissions) are reduced to less-than-significant levels.59 And
         throughout today’s order, the Commission uses its conditioning authority under the
         NGA60 to implement these mitigation measures, which support its public interest
         finding.61 Once again, however, the Project’s climate impacts are treated differently, as
         the Commission refuses to identify any potential climate mitigation measures or discuss
         how such measures might affect the magnitude of the Project’s impact on climate change.

                The Commission’s failure to consider the significance of the impact of the
         Project’s GHG emissions and possible mitigation measures is even more mystifying
         because NEPA “does not dictate particular decisional outcomes.”62 NEPA “‘merely




                57
                     Robertson, 490 U.S. at 351.
                58
                  Id. at 351-52; see also 40 C.F.R. §§ 1508.20 (defining mitigation), 1508.25
         (including in the scope of an environmental impact statement mitigation measures).
         59
           See, e.g., Certificate Order, 169 FERC ¶ 61,130 at P 69 (discussing mitigation
        required by the Commission to address reliability and safety impacts from the Project);
        id. P 44 (discussing mitigation measures required to address noise); id. PP
        38-40 (discussing mitigation measures required to address impacts on vegetation).
                60
                  E.g., id. at P 85 (“[T]he Commission has the authority to take whatever steps are
         necessary to ensure the protection of environmental resources . . . , including authority to
         impose any additional measures deemed necessary.”).
                61
                  See id. (explaining that the environmental conditions ensure that the Project’s
         environmental impacts are consistent with those anticipated by the environmental
         analyses, which found that the Project would not significantly affect the quality of the
         human environment).
                62
                     Sierra Club v. U.S. Army Corps of Engineers, 803 F.3d 31, 37 (D.C. Cir. 2015).




                                                                                          JA434
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        prohibits uninformed—rather than unwise—agency action.’”63 The Commission could
        find that a project contributes significantly to climate change, but that it is nevertheless in
        the public interest because its benefits outweigh its adverse impacts, including on climate
        change.64 Taking the matter seriously—and rigorously examining a project’s impacts on
        climate change—does not necessarily prevent any of my colleagues from ultimately
        concluding that a project satisfies the relevant public interest standard.

                 Finally, the Project’s GHG emissions are not the only flawed aspect of the
         Commission’s NEPA review. As noted, the Commission’s recent rehearing order
         regarding the Rio Grande LNG facility acknowledged for the first time that the
         cumulative effect of the three Brownsville LNG facilities along with the ships that serve
         them would cause a potential violation of the 8-hour Ozone NAAQS. 65 Today’s order,
         however, refers to that potential violation only in the context of its cursory environmental
         justice review.66 Even though the Annova LNG facility and the associated boat traffic
         will potentially contribute to a significant NAAQS violation—one that neither the EIS
         nor the underlying order considered—today’s order is completely silent on the
         consequences that violation may have for human health as well as what the Commission
         could or should do about it.67 It should go without saying that the ignoring a potential
         NAAQS violation is arbitrary and capricious.

                For these reasons, I respectfully dissent.

         ______________________________
         Richard Glick
         Commissioner


                63
                     Id. (quoting Robertson, 490 U.S. at 351).
                64
                  That is, after all, exactly what today’s order does with the finding that the
         Project may cause a violation of the ozone NAAQS, but is nevertheless consistent with
         the public interest. See infra P 27.
                65
                     Rio Grande LNG, LLC, 170 FERC ¶ 61,046 (2020) at PP 53, 55.
                66
                     See Rehearing Order, 170 FERC 61,139 at PP 49-53.
                67
                   I recognize that the Rio Grande LNG facility, with its onsite natural gas
         turbines, would likely account for a much larger share of the increase in ozone
         attributable to the Brownsville LNG facilities. See Rio Grande LNG, LLC, 170 FERC
         ¶ 61,046 at PP 52-53, 55. But the fact that the Texas LNG Brownsville facility and the
         related ship traffic is unlikely to be the primary cause of an ozone NAAQS violation is no
         reason to ignore its role altogether.




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                                       UNITED STATES OF AMERICA
                                FEDERAL ENERGY REGULATORY COMMISSION

         Texas LNG Brownsville LLC                                Docket No.       CP16-116-001


                                         (Issued February 21, 2020)

         McNAMEE, Commissioner, concurring:

               Today’s order denies Sierra Club’s1 rehearing request of the Commission’s
         November 22, 2019 Order (2019 Order)2 authorizing pursuant to section 3 of the Natural
         Gas Act (NGA) the siting, construction, and operation of Texas LNG Brownsville LLC’s
         (Texas LNG) Texas LNG Project (Project).3

                 Because the 2019 Order complies with the Commission’s statutory responsibilities
         under the NGA and the National Environmental Policy Act (NEPA), I fully support
         today’s order denying rehearing and affirming the 2019 Order. The 2019 Order
         determines that the siting, construction, and operation of the Project is not inconsistent
         with the public interest.4 The 2019 Order also finds that the Project is an environmentally
         acceptable action.5 Further, consistent with the holding in Sierra Club v. FERC (Sabal
         Trail),6 the 2019 Order and the Environmental Impact Statement (EIS) for the Project
         quantified and considered the direct and indirect greenhouse gases (GHGs) emitted
         during the construction and operation of the Project.7


                1
                 Sierra Club filed its rehearing request together with Texas RioGrande Legal Aid
         (on behalf of Shrimpers and Fisherman of the RGV and Vecinos para el Bienestar de la
         Comunidad Costera), Save RGV from LNG, Defenders of Wildlife, the City of South
         Padre Island, the City of Port Isabel, and the Town of Laguna Vista.
                2
                    Texas LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019) (2019 Order).
                3
                    170 FERC ¶ 61,139 (2020) (2020 Rehearing Order).
                4
                    2019 Order, 169 FERC ¶ 61,132 at P 21.
                5
                    Id. P 53.
                6
                    867 F.3d 1357 (D.C. Cir. 2017).
                7
                 2019 Order, 169 FERC ¶ 61,132 at P 67; Texas LNG Project Final EIS at Table
         4.11.1-11.




                                                                                         JA436
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                Although I fully support today’s order denying rehearing, I write separately to
         address what I perceive to be a misinterpretation of the Commission’s authority under the
         NGA and NEPA. There have been contentions that the Commission violates the NGA
         and NEPA by not determining whether GHG emissions significantly affect the
         environment, and that the NGA authorizes the Commission to establish measures to
         mitigate project-related GHG emissions. I disagree.

                I believe that the Commission can consider project-related emissions in its NGA
         section 3 public interest determination and is required to consider them in its NEPA
         analysis. However, the Commission has no objective basis to determine whether GHG
         emissions will have a significant effect on climate change nor the authority to establish its
         own basis for making such a determination. Further, the Commission does not have the
         authority to unilaterally establish measures to mitigate GHG emissions. It is my intention
         that my discussion below will assist the Commission, the courts, and other parties in their
         arguments regarding the Commission’s consideration of a project’s effect on climate
         change.

         I.     The Commission has no reliable objective standard for determining whether
                GHG emissions significantly affect the environment

                Sierra Club argues that the Commission violates the NGA and NEPA by not
         determining the significance of GHG emissions that are effects of the Project.8 My
         colleague has made similar arguments.9 He has challenged the Commission’s
         explanation that it cannot determine significance because there is no standard for
         determining the significance of GHG emissions.10 He has argued that the Commission
         can adopt the Social Cost of Carbon11 to determine whether GHG emissions are
         significant or rely on its own expertise as it does for other environmental resources, such
         as wetlands, vegetation, wildlife, and migratory bird populations.12 He has suggested that
         the Commission does not make a finding of significance in order to find that a project is



                8
                    Sierra Club Request for Rehearing at 27-28.
                9
                 See paragraphs 2, 5, and 15-16 of Commissioner Glick’s dissent of the 2019
         Order. See 2019 Order, 169 FERC ¶ 61,130 (Glick, Comm’r, dissenting) (2019 Order
         Dissent).
                10
                     2019 Order Dissent P 17.
                11
                     Id. P 18.
                12
                     Id. P 19 n.46.




                                                                                          JA437
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         not inconsistent with the public interest.13

                I disagree with these contentions. The Social Cost of Carbon is not a suitable
         method for determining whether GHG emissions that are caused by a proposed project
         will have a significant effect on climate change and the Commission has no authority or
         objective basis using its own expertise to make such a determination.

                A.        Social Cost of Carbon is not a suitable method to determine
                          significance

                 The Commission has found, and I agree, that the Social Cost of Carbon is not a
         suitable method for the Commission to determine significance of GHG emissions.14
         Because the courts have repeatedly upheld the Commission’s reasoning,15 I will not
         restate the Commission’s reasoning here.

                However, I will address the suggestion that the Social Cost of Carbon can translate
         a project’s impact on climate change into “concrete and comprehensible terms” that will
         help inform agency decision-makers and the public at large.16 The Social Cost of
         Carbon, described as an estimate of “the monetized damages associated with an
         incremental increase in carbon emissions in a given year,”17 may appear straightforward.



                13
                     Id. P 5.
                14
                     Fla. Se. Connection, LLC, 162 FERC ¶ 61,233, at P 48 (2018).
                15
                  Appalachian Voices, 2019 WL 847199, *2; EarthReports, Inc. v. FERC, 828
         F.3d 949, 956 (D.C. Cir. 2016); Sierra Club v. FERC, 672 F. App’x 38, (D.C. Cir. 2016);
         see also Citizens for a Healthy Cmty. v. U.S. Bureau of Land Mgmt., 377 F. Supp. 3d
         1223, 1239-41 (D. Colo. 2019) (upholding the agency’s decision to not use the Social
         Cost of Carbon); WildEarth Guardians v. Zinke, 368 F. Supp. 3d 41, 77-79 (D.D.C.
         2019) (upholding the agency’s decision to not use the Social Cost of Carbon); High
         Country Conservation Advocates v. U.S. Forest Serv., 333 F. Supp. 3d 1107, 1132 (D.
         Colo. 2018) (“[T]he High Country decision did not mandate that the Agencies apply the
         social cost of carbon protocol in their decisions; the court merely found arbitrary the
         Agencies’ failure to do so without explanation.”).
                16
                     2019 Order Dissent P 18.
                17
                  Interagency Working Group on the Social Cost of Greenhouse Gases, Technical
         Support Document – Technical Update of the Social Cost of Carbon for Regulatory
         impact Analysis – Under Executive Order 12866 at 1 (Aug. 2016), https://www.
         epa.gov/sites/production/files/2016-12/documents/sc co2 tsd august 2016.pdf



                                                                                        JA438
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         On closer inspection, however, the Social Cost of Carbon and its calculated outputs are
         not so simple to interpret or evaluate.18 When the Social Cost of Carbon estimates that
         one metric ton of CO2 costs $12 (the 2020 cost for a discount rate of 5 percent),19 agency
         decision-makers and the public have no objective basis or benchmark to determine
         whether that cost is significant. Bare numbers standing alone simply cannot ascribe
         significance.

                B.     The Commission has no authority or objective basis to establish its own
                       framework

                 Some argue that the lack of externally established targets does not relieve the
         Commission from establishing a framework or targets on its own. Some have suggested
         that the Commission can make up its own framework, citing the Commission’s
         framework for determining return on equity (ROE) as an example. However, they
         overlook the fact that Congress designated the EPA, not the Commission, with exclusive
         authority to determine the amount of emissions that are harmful to the environment. In
         addition, there are no available resources or agency expertise upon which the
         Commission could reasonably base a framework or target.

                As I explain below, Congress enacted the Clean Air Act to establish an all-
         encompassing regulatory program, supervised by the U.S. Environmental Protection
         Agency (EPA) to deal comprehensively with interstate air pollution. Section 111 of the
         Clean Air Act directs the Administrator of the EPA to identify stationary sources that “in
         his judgment cause[], or contribute[] significantly to, air pollution which may reasonably



         (2016 Technical Support Document).
                18
                   In fact, the website for the Climate Framework for Uncertainty Negotiation and
         Distribution (FUND) – one of the three integrated assessment models that the Social Cost
         of Carbon uses – states “[m]odels are often quite useless in unexperienced hands, and
         sometimes misleading. No one is smart enough to master in a short period what took
         someone else years to develop. Not-understood models are irrelevant, half-understood
         models are treacherous, and mis-understood models dangerous.” FUND-Climate
         Framework for Uncertainty, Negotiation and Distribution, http://www.fund-model.org/
         (LAST VISITED Nov. 18, 2019).
                19
                  See 2016 Technical Support Document at 4. The Social Cost of Carbon
         produces wide-ranging dollar values based upon a chosen discount rate, and the
         assumptions made. The Interagency Working Group on Social Cost of Greenhouse
         Gases estimated in 2016 that the Social Cost of one ton of carbon dioxide for the year
         2020 ranged from $12 to $123. Id.




                                                                                         JA439
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         be anticipated to endanger public health or welfare”20 and to establish standards of
         performance for the identified stationary sources.21 Thus, the EPA has exclusive
         authority for determining whether emissions from pipeline facilities will have a
         significant effect on the environment and for establishing an emissions control regime.

                 Further, the Commission is not positioned to unilaterally establish a standard for
         determining whether GHG emissions will significantly affect the environment when there
         is neither federal guidance nor an accepted scientific consensus on these matters.22 This
         inability to find an acceptable methodology is not for a lack of trying. The Commission
         reviews the climate science, state and national targets, and climate models that could
         inform its decision-making.23

                Moreover, assessing the significance of project effects on climate change is unlike
         the Commission’s determination of ROE. Establishing ROE has been one of the core
         functions of the Commission since its inception under the FPA as the Federal Power
         Commission.24 And, setting ROE has been an activity of state public utility




               20
                    42 U.S.C. § 7411(b)(1)(A) (2018).
               21
                    Id. § 7411(b)(1)(B).
               22
                  The Council on Environmental Quality’s 2019 Draft Greenhouse Gas Guidance
        states, “[a]gencies need not undertake new research or analysis of potential climate
        effects and may rely on available information and relevant scientific literature.” CEQ,
        Draft National Environmental Policy Act Guidance on Consideration of Greenhouse Gas
        Emissions, 84 Fed. Reg. 30,097, 30,098 (June 26, 2019); see also CEQ FINAL GUIDANCE
        FOR FEDERAL DEPARTMENTS AND AGENCIES ON CONSIDERATION OF GREENHOUSE GAS
        EMISSIONS AND THE EFFECTS OF CLIMATE CHANGE IN NATIONAL ENVIRONMENTAL
        POLICY ACT REVIEWS at 22 (Aug. 1, 2016) (“agencies need not undertake new research
        or analysis of potential climate change impacts in the proposed action area, but may
        instead summarize and incorporate by reference the relevant scientific literature”),
        https://ceq.doe.gov/docs/ceq-regulations-and-guidance/nepa_final_ghg_guidance.pdf.
               23
                   Fla. Se. Connection, LLC, 162 FERC ¶ 61,233, at P 36; see also WildEarth
         Guardians, 738 F.3d 298, 309 (D.C. Cir. 2013) (“Because current science does not allow
         for the specificity demanded by the Appellants, the BLM was not required to identify
         specific effects on the climate in order to prepare an adequate EIS.”).
               24
                 Hope, 320 U.S. 591 (1944); FPC v. Nat. Gas Pipeline Co. of America, 315 U.S.
         575 (1942).




                                                                                        JA440
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         commissions, even before the creation of the Federal Power Commission.25 The
         Commission’s methodology is also founded in established economic theory.26 In
         contrast, assessing the significance of GHG emissions is not one of the Commission’s
         core missions and there is no suitable methodology for making such determination.

                It has been argued that the Commission can establish its own methodology for
         determining significance, pointing out that the Commission has determined the
         significance of wetlands, vegetation, wildlife, and migratory bird populations using its
         own expertise and without generally accepted significance criteria or a standard
         methodology.

                 I disagree. As an initial matter, it is important to note that when the Commission
         states it has no suitable methodology for determining the significance of GHG emissions,
         the Commission means that it has no objective basis for making such finding. The
         Commission’s findings regarding significance for wetlands, vegetation, wildlife, and
         migratory bird populations have an objective basis. For example for general impacts to
         wetlands, the Commission determined the wetlands in the existing area by referencing
         Texas LNG’s wetland delineations, which were conducted in accordance with the U.S.
         Army Corps of Engineers’ (“Corps”) Wetland Delineation Manual and the Regional
         Supplement to the Corps of Engineers Wetland Delineation Manual: Atlantic and Gulf
         Coast Plain Region.27 The Commission determined the Project’s effect on existing
         wetlands by determining the total acreage of wetlands permanently affected by the
         project, and the wetland avoidance and mitigation measures Texas LNG will
         implement.28 Based on this information, the Commission made a reasoned finding that
         the Project will not have a significant impact on wetlands. Similarly, the Commission
         conducted an objective evaluation of impacts on vegetation, wildlife, and migratory bird
         populations.

                In contrast, the Commission has no reasoned basis to determine whether a project


                25
                  See, e.g., Willcox v. Consol. Gas Co., 212 U.S. 19, 41 (1909) (finding New York
         State must provide “a fair return upon the reasonable value of the property at the time it is
         being used for the public.”).
                26
                  Inquiry Regarding the Commission’s Policy for Determining Return on Equity,
         166 FERC ¶ 61,207 (2019) (describing the Commission’s use of the Discounted Cash
         Flow model that was originally developed in the 1950s as a method for investors to
         estimate the value of securities).
                27
                     Texas LNG Project Final EIS at 4-30 to 4-31.
                28
                     Id. 4-31 to 4-37.




                                                                                          JA441
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         has a significant effect on climate change. To assess a project’s effect on climate change,
         the Commission can only quantify the amount of project emissions. Unlike the total
         acreage of permanently impacts wetlands, that calculated number cannot inform the
         Commission on the specific physical climate change effects caused by the project, e.g.,
         increase of sea level rise, effect on weather patterns, or effect on ocean acidification. Nor
         are there acceptable scientific models that the Commission may use to attribute every ton
         of GHG emissions to a physical climate change effect.

                Without adequate support or a reasoned target, the Commission cannot ascribe
         significance to particular amounts of GHG emissions. To do so would not only exceed
         our agency’s authority, but would risk reversal upon judicial review. Courts require
         agencies to “consider[] the relevant factors and articulate[] a rational connection between
         the facts found and the choice made.”29 Simply put, stating that an amount of GHG
         emissions appears significant without any objective support fails to meet the agency’s
         obligations under the Administrative Procedure Act (APA).

         II.    The NGA does not contemplate the Commission establishing mitigation for
                GHG emissions from LNG Facilities

                There have also been contentions that the Commission should require the
         mitigation of GHG emissions related to the authorized facilities.30 I understand these
         suggestions as proposing a carbon emissions fee, offsets or tax (similar to the Corps’
         compensatory wetland mitigation program), technology requirements (such as scrubbers),
         or emission caps. Some argue that the Commission can require such mitigation under
         NGA section 3(e)(3)(A), which provides “the Commission may approve an application . .
         . in whole or in part, with such modifications and upon such terms and conditions the
         Commission find necessary or appropriate.”31




                29
                   City of Tacoma v. FERC, 460 F.3d 53, 76 (D.C Cir. 2006) (quoting Ariz. Cattle
         Growers’ Ass’n v. FWS, 273 F.3d 1229, 1235-36 (9th Cir. 2001)); see also American
         Rivers v. FERC, 895 F.3d 32, 51 (D.C. Cir. 2018) (“ . . . the Commission’s NEPA
         analysis was woefully light on reliable data and reasoned analysis and heavy on
         unsubstantiated inferences and non sequiturs”) (italics in original); Found. for N. Am.
         Wild Sheep v. U.S. Dep’t of Agr., 681 F.2d 1172, 1179 (9th Cir. 1982) (“The EA provides
         no foundation for the inference that a valid comparison may be drawn between the
         sheep’s reaction to hikers and their reaction to large, noisy ten-wheel ore trucks.”).
                30
                     2019 Order Dissent P 19.
                31
                     15 U.S.C. § 717b(e)(3)(A) (2018).




                                                                                           JA442
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                I disagree. The Commission cannot interpret NGA section 3(e)(3)(A) to allow the
         Commission to unilaterally establish measures to mitigate GHG emissions because
         Congress, through the Clean Air Act, assigned the EPA and the States exclusive authority
         to establish such measures. Congress designated the EPA as the expert agency “best
         suited to serve as primary regulator of greenhouse gas emissions,” 32 not the Commission.

                 The Clean Air Act establishes an all-encompassing regulatory program, supervised
         by the EPA to deal comprehensively with interstate air pollution.33 Congress entrusted
         the Administrator of the EPA with significant discretion to determine appropriate
         emissions measures. Congress delegated the Administrator the authority to determine
         whether pipelines and other stationary sources endanger public health and welfare;
         section 111 of the Clean Air Act directs the Administrator of the EPA “to publish (and
         from time to time thereafter shall revise) a list of categories of stationary sources. He
         shall include a category of sources in such list if in his judgment it causes, or contributes
         significantly to, air pollution which may reasonably be anticipated to endanger public
         health or welfare”34 and to establish standards of performance for the identified stationary
         sources.35 The Clean Air Act requires the Administrator to conduct complex balancing
         when determining a standard of performance, taking into consideration what is
         technologically achievable and the cost to achieve that standard.36

                In addition, the Clean Air Act allows the Administrator to “distinguish among
         classes, types, and sizes within categories of new sources for the purpose of establishing
         such standards.”37 The Act also permits the Administrator, with the consent of the
         Governor of the State in which the source is to be located, to waive its requirements “to
         encourage the use of an innovative technological system or systems of continuous
         emission reduction.”38

                Congress also intended that states would have a role in establishing measures to


                32
                     American Elec. Power Co., Inc. v. Conn., 564 U.S. 410, 428 (2011).
                33
                     See id. at 419.
                34
                     42 U.S.C. § 7411(b)(1)(A) (2018) (emphasis added).
                35
                     Id. § 7411(b)(1)(B).
                36
                     Id. § 7411(a)(1).
                37
                     Id. § 7411(a)(2).
                38
                     Id. § 7411(j)(1)(A).




                                                                                          JA443
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         mitigate emissions from stationary sources. Section 111(f) notes that “[b]efore
         promulgating any regulations . . . or listing any category of major stationary sources . . .
         the Administrator shall consult with appropriate representatives of the Governors and of
         State air pollution control agencies.”39

                Thus, the text of the Clean Air Act demonstrates it is improbable that NGA
         section 3(e)(3)(A) allows the Commission to establish GHG emission standards or
         mitigation measures out of whole cloth. To argue otherwise would defeat the significant
         discretion and complex balancing that the Clean Air Act entrusts in the EPA
         Administrator, and would eliminate the role of the States.

                Furthermore, to argue that the Commission may use its NGA conditioning
         authority to establish GHG emission mitigation—a field in which the Commission has no
         expertise—and address climate change—an issue that has been subject to profound
         debate across our nation for decades—is an extraordinary leap. The Supreme Court’s
         “major rules” canon advises that agency rules on issues that have vast economic and
         political significance must be treated “with a measure of skepticism” and require
         Congress to provide clear authorization.40 The Court has articulated this canon because
         Congress does not “hide elephants in mouseholes”41 and “Congress is more likely to have
         focused upon, and answered, major questions, while leaving interstitial matters to answer
         themselves in the course of the statute’s daily administration.”42

                Courts would undoubtedly treat with skepticism any attempt by the Commission



                39
                     Id. § 7411(f)(3).
                40
                 Util. Air Regulatory Grp. v. EPA, 573 U.S. 302, 324 (2014); Brown &
         Williamson, 529 U.S. at 160 (“Congress could not have intended to delegate a decision of
         such economic and political significance to an agency in so cryptic a fashion.”); see also
         Gonzales v. Oregon, 546 U.S. 243, 267-68 (2006) (finding regulation regarding issue of
         profound debate suspect).
                41
                     Whitman v. American Trucking Ass., 531 U.S. 457, 468 (2001).
                42
                   FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 12, 159 (quoting Justice
         Breyer, Judicial Review of Questions of Law and Policy, 38 ADMIN. L. REV. 363, 370
         (1986)); see also Abbe R. Gluck & Lisa Schultz Bressman, Statutory Interpretation from
         the Inside—An Empirical Study of Congressional Drafting, Delegation, and the Canons:
         PART I, 65 STAN. L. REV. 901, 1004 (2013) (“Major policy questions, major economic
         questions, major political questions, preemption questions are all the same. Drafters
         don’t intend to leave them unresolved.”)




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        to establish out of whole cloth measures to mitigate GHG emissions. Congress has
        introduced climate change bills since at least 1977,43 over four decades ago. Over the last
        15 years, Congress has introduced and failed to pass 70 legislative bills to reduce GHG
        emissions—29 of those were carbon emission fees or taxes.44 For the Commission to
        suddenly declare such power resides in the long-extant NGA and that Congress’s efforts
        were superfluous strains credibility. Requiring pipelines to pay a carbon emissions fee or
        tax, or to invest in GHG mitigation would be a major rule, and Congress has made no
        indication that the Commission has such authority.

                Some may make the argument that the Commission can require mitigation without
         establishing a standard. I disagree. Establishing mitigation measures requires
         determining how much mitigation is required – i.e., setting a limit, or establishing a
         standard, that quantifies the amount of GHG emissions that will adversely affect the
         environment. Some may also argue that the Commission has unilaterally established
         mitigation in other contexts, including wetlands, soil conservation, and noise. These
         examples, however, are distinguishable. Congress did not exclusively assign the
         authority to establish avoidance or restoration measures for mitigating effects on
         wetlands or soil to a specific agency. The Corps and the EPA developed a wetlands
         mitigation bank program pursuant to section 404 of the Clean Water Act.45 Congress
         endorsed such mitigation.46 As for noise, the Clean Air Act assigns the EPA
         Administrator authority over determining the level of noise that amounts to a public
         nuisance and requires federal agencies to consult with the EPA when its actions exceed
         the public nuisance standard.47 The Commission complies with the Clean Air Act by


               43
                    National Climate Program Act, S. 1980, 95th Cong. (1977).
               44
                 CONGRESSIONAL RESEARCH SERVICE, MARKET-BASED GREENHOUSE GAS
        EMISSION REDUCTION LEGISLATION: 108TH THROUGH 116TH CONGRESSES at 3 (Oct. 23,
        2019), https://fas.org/sgp/crs/misc/R45472.pdfhttps://fas.org/sgp/crs/misc/R45472.pdf.
        Likewise, the CEQ issued guidance on the consideration of GHG emissions in 2010,
        2014, 2016, and 2019. None of those documents require, let alone recommend, that an
        agency establish a carbon emissions fee or tax.
               45
                    33 U.S.C. § 1344 (2018).
               46
                  See Water Resources Development Act, Pub. L. 110-114, § 2036(c), 121 Stat.
         1041, 1094 (2007); National Defense Authorization Act, Pub. L. 108-136, § 314, 117
         Stat. 1392, 1430 (2004); Transportation Equity Act for the 21st Century, Pub. L. 105-
         178, § 103 (b)(6)(M), 112 Stat. 107, 133 (1998); Water Resources Development Act of
         1990, Pub. L. 101-640, § (a)(18)(C), 104 Stat. 4604, 4609 (1990).
               47
                    42 U.S.C. § 7641(c) (“In any case where any Federal department or agency is




                                                                                        JA445
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        requiring project noise levels in certain areas to not exceed 55 dBA Ldn, as required by
        EPA’s guidelines.48

                Accordingly, there is no support that the Commission can use its NGA section 3
         authority to establish measures to mitigate GHG emissions from LNG facilities.

         III.   Conclusion

                In sum, the Commission has no objective basis for determining whether GHG
         emissions are significant that would satisfy the Commission’s APA obligations. Nor
         does the Commission have the ability to establish measures to mitigate GHG emissions.
         Pursuant to the Clean Air Act, Congress exclusively assigned authority to regulate
         emissions to the EPA and the States.

               I recognize that some believe the Commission should do more to address climate
         change. The Commission, an energy agency with a limited statutory authority, is not the
         appropriate authority to establish a new regulatory regime.

                For these reasons, I respectfully concur.

                ______________________________
                Bernard L. McNamee




         carrying out or sponsoring any activity resulting in noise which the Administrator
         determines amounts to a public nuisance or is otherwise objectionable, such department
         or agency shall consult with the Administrator to determine possible means of abating
         such noise.”).
                48
                     See Williams Gas Pipelines Cent., Inc., 93 FERC ¶ 61,159, at 61,531-52 (2000).




                                                                                        JA446
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                                                                                                                     Enclosure


                                                   Texas LNG Brownsville LLC
                                                   Texas LNG Project (Project)
                                                    Docket No. CP16-116-000

                                   ENVIRONMENTAL INFORMATION REQUEST

         Resource Report 5

         1.         Provide an updated table (see format below) of racial, ethnic, and poverty statistics
                    for block groups within 50 kilometers 1 of aboveground facilities. The table should
                    include the following information from the U.S. Census Bureau for each state,
                    county, and block group (for low-income data, use U.S. Census American
                    Community Survey File Number B17017 and for race and ethnicity data, use U.S.
                    Census American Community Survey File Number B03002):
                    a.       total population;
                    b.       percentage of each racial and ethnic group (White Alone Not Hispanic,
                             Black or African American, American Indian and Alaska Native, Asian,
                             Native Hawaiian and Other Pacific Islander, some other race, two or more
                             races, Hispanic or Latino origin [of any race]);
                    c.       total minority population including individuals of Hispanic or Latino origin
                             (percentage of total population); and
                    d.       percentage of total population below poverty level.




         1
             The final determination of the environmental justice radius of review may differ from this initial request.
                                                                     -1-


                                                                                                                    JA448
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                                                                    Table XX
                               Minority Populations by Racea and Low-Income Populations in the Project Area
                                                            RACE COLUMN                                                            LOW-
                                                                                                                                 INCOME
                                                                                                                                COLUMN
   State/             White Black or Asian American Native Some Two or Hispanic Total                                          Total Persons
   County/             (Not     African (%) Indian and Hawaiian other more  or   Minorityb                                     Below Poverty
   Tract/            Hispanic) American      Alaskan and Other race races Latino   (%)                                             Levelb
   Block Group         (%)       (%)          Native    Pacific  (%)  (%)  (%)                                                      (%)
                                               (%)     Islander
                                                          (%)
   State of
                                                       Include Name of Project Component
   County
   Census Tract /
   Block Group
                                                       Include Name of Project Component
   County
   Census
   Tract/Block
   Group
    Source: American Community Survey, 2015-2019, File # B01017 and File # B03002.
    a “Minority” refers to people who reported their ethnicity and race as something other than non-Hispanic White.
    b Minority or low-income populations exceeding the established thresholds are indicated in bold type and gray shading.

    Due to rounding differences in the dataset, the totals may not reflect the sum of the addends.



              Resource Report 9

              2.     Provide an update of Texas LNG’s criteria pollutant (NOx, CO, SO2, PM10, PM2.5),
                     volatile organic compound, speciated greenhouse gases (carbon dioxide, methane,
                     and nitrous oxide), and speciated hazardous air pollutant emission rates (in tons
                     per year) based on the most recent design of the Texas LNG Terminal. Include
                     emission quantification for all phases of the Project such as construction,
                     commissioning, and operation as well as from stationary and mobile sources.
                     Provide an estimate of commissioning emissions and clarify when the anticipated
                     commissioning would occur. If the anticipated schedule for commissioning
                     overlaps with construction and/or operation, provide an estimate of the combined
                     emissions (as identified above). Provide tables with annual emissions totals
                     during any overlapping phases of the Project. Include supporting calculations,
                     emission factors, fuel consumption rates, vehicle power ratings, utilization rates,
                     and hours of operation. Emission factors should be based on one of the following
                     methodologies: U.S. Environmental Protection Agency (EPA)-certified emission


                                                                         -2-


                                                                                                                             JA449
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               standards, manufacturer data; current EPA AP-42 emission factors; or peer-
               reviewed studies for the equipment.

        3.    Provide an updated refined air quality model for the Texas LNG Terminal that
              includes:
              a.     a demonstration that emissions of criteria pollutants from the Texas LNG
                     Terminal and mobile sources do not result in exceedance of the National
                     Ambient Air Quality Standards (NAAQS), or state standards. Ensure that
                     all emissions from the Texas LNG Terminal are reflected in the air quality
                     model inputs and provide all source input parameters (emission rate, stack
                     height, stack temperature, exit velocity, etc.), and justify the bases for any
                     assumptions. Include mobile ship emissions (LNG carrier, tugs, escort
                     vessels) for the air quality model for the moored safety zone. The model
                     should include relevant regional monitoring ambient background data and
                     existing and proposed regional industrial major sources within 50
                     kilometers of the fenceline of the Texas LNG Terminal (excluding the Rio
                     Grande LNG Terminal [Docket No. CP16-454-000]).
               b.    Include a model of secondarily formed ozone based on background
                     concentrations of ozone and relevant nearby sources. The model should
                     follow guidance provided by the EPA for Region 6, if available.
              c.     Provide a table showing the highest predicted concentrations of all criteria
                     pollutants outside the fenceline as well as the location of these highest
                     concentrations relative to the Texas LNG Terminal. The table should
                     include (1) the modeled concentration that is contributed by the Texas LNG
                     Terminal, (2) the modeled background concentration (based on all
                     emissions within 50 kilometers) at that location, and (3) the total
                     concentration.
               d.    Provide figures showing the concentration isopleths (i.e., concentration
                     plumes), showing the full range of concentrations for all criteria pollutants
                     including ozone for the highest impact scenario. Show the concentration
                     isopleths starting from the Texas LNG Terminal and extending to 50
                     kilometers from the fenceline. There should be a separate figure for each
                     criteria pollutant.
               e.    Provide another set of figures as in (d) with an overlay of census block
                     groups in the figures. Clearly label areas where there is a modeled
                     exceedance of the NAAQS.
               f.    Provide a table (or tables) showing the maximum modeled concentrations
                     of each criteria pollutant within each census block group within 50
                     kilometers of the Texas LNG Terminal fenceline.




                                                   -3-


                                                                                        JA450
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            March 4, 2022

            Kimberly D. Bose
            Office of the Secretary
            Federal Energy Regulatory Commission
            888 First Street, N.E.
            Washington, DC 20426

        Re:      Texas LNG Brownsville LLC, FERC Docket No. CP16-116-000
                 Texas LNG Project
                 Response to February 3, 2022 Environmental Information Request


        Dear Ms. Bose:

        On November 22, 2019, the Federal Energy Regulatory Commission (“Commission” or “FERC”)
        authorized Texas LNG Brownsville LLC (“Texas LNG”) to site, construct, and operate facilities for
        the liquefaction and export of domestically produced natural gas at a liquefied natural gas (“LNG”)
        terminal on the north side of the Brownsville Ship Channel in Cameron County, Texas (“Texas LNG
        Project”).1
        Commission staff issued an Environmental Information Request to Texas LNG on February 3, 2022
        to address issues noted in the U.S. Court of Appeals for the District of Columbia Circuit’s August 3,
        2021 decision in Vecinos para el Bienestar de la Comunidad Costera v. FERC (“February 3 Data
        Request”). The February 3 Data Request requested responses within 30 days or, if certain
        information could not be provided within that time frame, an indication of which items will be
        delayed and a projected filing date.
        Texas LNG hereby submits the enclosed response to the Commission’s February 3, 2022 Data
        Request. A complete response to Data Request 1 and a partial response to Data Request 2 are
        included in this response. Texas LNG anticipates providing a response to the remainder of Data
        Request 2 no later than April 29, 2022.
        Any questions may be directed to the undersigned.

        Respectfully submitted,

        /s/ A. Gregory Junge


        1
          Texas LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019), order on reh’g and stay, 170 FERC ¶ 61,139, 61,962

                                                                                                            JA451
        (2020), remanded without vacatur, Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321 (D.C
        Cir. 2021).
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         April 29, 2022


         Kimberly D. Bose
         Office of the Secretary
         Federal Energy Regulatory Commission
         888 First Street, N.E.
         Washington, DC 20426

         Re:     Texas LNG Brownsville LLC, FERC Docket No. CP16-116-000
                 Texas LNG Project
                 Supplemental Response to February 3, 2022, Environmental Information Request


         Dear Ms. Bose,

         On November 22, 2019, the Federal Energy Regulatory Commission (“Commission” or
         “FERC”) authorized Texas LNG Brownsville LLC (“Texas LNG”) to site, construct, and operate
         facilities for the liquefaction and export of domestically produced natural gas at a liquefied
         natural gas (“LNG”) terminal on the north side of the Brownsville Ship Channel in Cameron
         County, Texas (“Texas LNG Project”).1

         Commission staff issued an Environmental Information Request to Texas LNG on February 3,
         2022 to address issues noted in the U.S. Court of Appeals for the District of Columbia Circuit’s
         August 3, 2021 opinion in Vecinos para el Bienestar de la Comunidad Costera v. FERC
         (“February 3 Data Request”). On March 4, 2022, Texas LNG submitted a complete response to
         Data Request 1 and a partial response to Data Request 2 and explained that it anticipated
         providing a response to the remainder of the Commission’s February 3, 2022 Data Request no
         later than April 29, 2022.

         Texas LNG herein submits responses to the remainder of the Commission’s February 3, 2022
         Data Request.

         As part of this response Texas LNG updated its Air Dispersion Modeling and Air Quality Impact
         Analysis. Due to the size and file format of the modeling files, Texas LNG is providing the

         1
          Texas LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019), order on reh’g and stay, 170 FERC ¶ 61,139, 61,962
         (2020), remanded without vacatur, Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321
         (D.C. Cir. 2021).




                                                                                                        JA452
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                                                                                                Texas LNG Project
                                                                                           Docket No. CP16-116-000
                                                                                                        April 2022


         Response 3

         a. The updated refined air quality model for the Texas LNG Terminal demonstrates that
            emissions of criteria pollutants from the Texas LNG Terminal and mobile sources do not
            result in exceedance of the National Ambient Air Quality Standards (NAAQS) or state
            standards. Texas LNG is providing an updated refined air quality model for the Texas LNG
            Terminal using the updated project emissions presented in Attachment 9-1 and current
            version of the USEPA-approved AERMOD modeling system. The source input parameters
            and methodology used is consistent with the modeling report submitted as part of the
            “Response to August 25, 2017 Environmental Information Request” submitted September
            28, 2017. See FERC Accession No. 20170928-5165. The updated model is consistent with
            methods and procedures that follow current agency guidance. The following is a list of
            updates to the model:

                 •   New AERMOD version (v. 21112).
                 •   New AERMAP version (v. 18081).
                 •   New meteorological data, as provided by TCEQ (2014-2018).
                 •   Updated relevant background air quality data (2018-2020).
                 •   New hourly ozone background data (2014-2018).
                 •   Updated emissions from Texas LNG Terminal sources, per TCEQ Air Permit No.
                     139561.
                 •   Regional industrial major sources, as provided by TCEQ, up to 50 kilometers from
                     the fence line of the Texas LNG Terminal (excluding the Rio Grande Terminal
                     [Docket No. CP16-454-000]).
                 •   A NO2/NOX in-stack ratio (ISR) of 0.2 was applied for all off-property sources based
                     on each source’s location over 3 kilometers away from the Texas LNG Terminal, as
                     per the memo “Clarification on the Use of AERMOD Dispersion Modeling for
                     Demonstrating Compliance with the NO2 National Ambient Air Quality Standard”
                     released by the EPA on September 30, 2014. 2

              Results of the updated modeling demonstrate that emissions of criteria pollutants from the
              Texas LNG Terminal and mobile sources do not result in exceedance of the National
              Ambient Air Quality Standards (NAAQS) or state standards. See response to Question 3d
              for the highest predicted concentrations of all pollutants outside of the fence line.

        b. Secondarily formed ozone concentration was calculated using USEPA’s guidance for an
           approach to Tier I demonstrations based on Modeled Emission Rates for Precursors




         2
          Owen, R., et al. September 2014, Clarification on the Use of AERMOD Dispersion Modeling for Demonstrating
         Compliance with the NO2 National Ambient Air Quality Standard. United States Environmental Protection Agency
         Air Quality Modeling Group. https://www.epa.gov/sites/default/files/2020-10/documents/no2 clarification memo-
         20140930.pdf.


                                                               6
                                                                                                          JA453
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                                                                                                   Texas LNG Project
                                                                                              Docket No. CP16-116-000
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             (MERPS). 3 Appendices Q and R in TCEQ’s “Air Quality Modeling Guidelines APDG
             6232,” released in November 2019 4 refers to the USEPA MERPS guidance, and Texas LNG
             has used the TCEQ guidance to calculate the Project’s secondary ozone impacts based on a
             Tier I approach. Two hypothetical sources were assessed, one in Harris County, Texas, and
             another in Guadalupe County, Texas. The Texas LNG Terminal NOX emissions are 96.22
             tons per year (tpy) and the project VOC emissions are 15.17 tpy. The lowest emission
             quantity modeled by hypothetical sources in a MERPS analysis is 500 tpy, so 500 tpy was
             used for both NOX and VOCs in addition to a “low” release height, or 10-m stack. The
             ozone background in the region is 57 ppb based on air monitoring station 48-061-1023 in
             Harlingen, Texas. The Harris County hypothetical source yielded a higher estimated
             secondary ozone value of 0.155 ppb attributable to the Texas LNG Terminal project. When
             added to the existing background concentration of 57 ppb, the resulting impact is 57.155 ppb,
             well below the NAAQS threshold of 70 ppb. The secondarily formed ozone MERPS
             analysis is outlined in the Table 9-2.

                                                           Table 9-2
                                                         Ozone Analysis
               Project Total
                                                     NOX                                      VOC
               Emissions (TPY)
                                                    96.22                                   15.17


                                                                                                      Maximum
               Ozone MERPS
                                                                                                    Modeled 8-hour
               Modeling Results        Precursor      Emissions (tpy)        Stack Height
                                                                                                    Concentration
               (Harris County, TX)
                                                                                                        (ppb)
                                          NOX                500                   10                   0.788
                                          VOC                500                   10                   0.124


                                                      NOX Emissions
                                                                            VOC Emissions              Ozone
               Secondary Ozone         Averaging           Ratio
                                                                            Ratio (Project/         Concentration
               Concentration            Period        (Project/Hypoth
                                                                             Hypothetical)             (ppb)a
                                                           etical)
                                         8-hour             0.19244             0.03034                 0.155
               ______________________
               a
                – (NOX Emissions Ratio) * (MERPs NOX Modeling Result for Ozone) + (VOC Emissions Ratio) * (MERPS VOC
               Modeling Result for Ozone)




         3
          USEPA Memorandum, April 30, 2019, from Richard Wayland “Guidance on the Development of Modeled
        Emission Rates for Precursors (MERPs) as a Tier 1 Demonstration Tool for Ozone and PM2.5 under the PSD
        Permitting Program.”
        https://www.epa.gov/sites/default/files/2019-05/documents/merps2019.pdf.
        4
          Texas Commission on Environmental Equality, Air Permits Division, November 2019, “Air Quality Modeling
        Guidelines APDG 6232”
        https://www.tceq.texas.gov/assets/public/permitting/air/Modeling/guidance/airquality-mod-guidelines6232.pdf


                                                                7
                                                                                                                JA454
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                                                                                                          Texas LNG Project
                                                                                                     Docket No. CP16-116-000
                                                                                                                  April 2022


            In addition to ozone, Texas LNG calculated secondary PM2.5 formation using the MERPS
            Tier I approach and Texas LNG Terminal project emissions for NOX and SO2. The project
            NOX emissions are 96.22 tpy and the project SO2 emissions are 76.74 tpy. Similar to the
            ozone analysis, the lowest emission quantity of 500 tpy for the hypothetical sources was used
            in addition to a 10-m hypothetical source stack. The resulting secondary PM2.5 impact for the
            Harris County hypothetical source is 0.2617 µg/m3 for 24-hour PM2.5, and 0.0077 µg/m3 for
            annual PM2.5. The secondary impact was added to the modeled impacts to determine a total
            concentration of PM2.5. The MERPS analysis for the secondary formation of PM2.5 is
            outlined in Table 9-3 below.


                                                            Table 9-3
                                                PM2.5 Secondary Formation Analysis


               Project Total
                                                            NOX                                         SO2
               Emissions (TPY)
                                                            96.22                                      76.74


                                                                                         Maximum              Maximum
               PM2.5 MERPS                                                              Modeled 24-           Modeled
                                                          Emissions        Stack
               Modeling Results           Precursor                                        hour                Annual
                                                            (tpy)          Height
               (Harris County, TX)                                                     Concentration        Concentration
                                                                                          (µg/m3)              (µg/m3)
                                             NOX             500             10             0.1141              0.0093
                                             SO2             500             10             1.5620              0.0386


                                                                                            SO2                 PM2.5
               Secondary PM2.5                                      NOX Emissions
                                          Averaging Period                                Emissions         Concentration
               Concentration                                            Ratio
                                                                                            Ratio             (µg/m3)a
                                                24-hour                                                         0.2617
                                                                         0.19244            0.15348
                                                Annual                                                          0.0077
               ______________________
               a
                – (NOX Emissions Ratio) * (MERPs NOX Modeling Result for PM2.5) + (SO2 Emissions Ratio) * (MERPS SO2 Modeling
               Result for PM2.5)


         c. A table showing the highest predicted concentrations of all criteria pollutants outside the
            fenceline as well as the location of these highest concentrations relative to the Texas LNG
            Terminal is provided in Table 9-4. The table includes, (1) the modeled background
            concentration (based on all emissions within 50 kilometers) at that location, and (2) the
            modeled concentration that is contributed by the Texas LNG Terminal.

            The modeling analysis demonstrates no modeled violation of the NAAQS for CO (1-hour
            and 8-hour averaging periods), and no modeled violation of the NAAQS for SO2 (1-hour, 3-
            hour, 24-hour, and annual averaging periods).




                                                                     8
                                                                                                                      JA455
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                                                                                   Texas LNG Project
                                                                              Docket No. CP16-116-000
                                                                                           April 2022


            Although the modeling analysis demonstrates exceedances of the NAAQS for 1-hour and
            annual NO2, 24-hour PM10, and 24-hour and annual PM2.5. through MAXDCONT and
            exceedance analyses, the contribution of Texas LNG Terminal sources is less than the
            applicable Significant Impact Level (SIL) for every instance of an exceedance for each
            pollutant and averaging period. Therefore, the modeling analysis demonstrates that Texas
            LNG Terminal does not cause or contribute to a modeled violation of the NAAQS for all
            pollutants and averaging periods.




                                                       9
                                                                                            JA456
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                                                                                                      Table 9-4
                                                                                     Results of the Cumulative Impact Analysis

                                      Highest                Coordinates of Maximum Direction Distance
                                                                                                                                              TX LNG
                                     Predicted    Ambient             Impact              of     of                                     TX
                                                                                                                                              Impact at
                     Averaging     Concentration Background                          Maximum Maximum NAAQS                      Over   LNG                            SIL     Over
         Pollutant                                                                                                                           Exceedances
                      Period        (Maximum      Values (1) Easting (X) Northing (Y) Impact Impact                            NAAQS? Impact      (5)                         SIL?
                                      Impact)                                         from TX from TX
                                             3            3                             LNG     LNG
                                      (µg/m )      (µg/m )      (m)          (m)                       (µg/m3)                            (µg/m3)    (µg/m3)        (µg/m3)
                       1-hour        25,216.37    3,778.50 662,418.13 2,872,743.75       SW     17.13   40,000                    No      1,023.80     N/A            N/A      N/A
            CO
                       8-hour        8,462.60     2,175.50 662,418.13 2,872,743.75       SW     17.13   10,000                    No       120.37      N/A            N/A      N/A
                                                      (2)
                       1-hour        2,171.30                662,418.13 2,872,743.75     SW     17.13    188                      Yes      124.55      1.45           7.5      No
           NO2
                       Annual          196.90        4.72    655,668.13 2,870,043.75     SW     24.33    100                      Yes       4.79      0.011            1       No
           PM10        24-hour       1,346.22       69.67    639,718.13 2,898,943.75     NW     41.12    150                      Yes       4.04      0.078            5       No
                                              (3)
                       24-hour       225.35         28.33    661,518.13 2,872,293.75     SW     18.13     35                      Yes       3.07      0.30 (3)        1.2      No
           PM2 5
                       Annual         13.83 (4)     10.13    654,718.13 2,868,943.75     NW     25.69     12                      Yes       0.17   8.90E-03 (4)       0.2      No
                       1-hour          133.21       14.85    651,718.13 2,878,943.75     NW     25.46    196                      No       10.80       N/A            N/A      N/A
                       3-hour          86.14         5.24    651,718.13 2,878,943.75     NW     25.46   1,300                     No       56.74       N/A            N/A      N/A
            SO2
                       24-hour         19.95         3.14    673,068.13 2,877,993.75     SW     5.41     365                      No        7.32       N/A            N/A      N/A
                       Annual           7.24         1.36    655,668.13 2,870,043.75     SW     24.33     80                      No        0.92       N/A            N/A      N/A
        ______________________
        Notes:
        (1) Ambient background values are included in the Highest Predicted Concentration (Maximum Impact) values.
        (2) Seasonal/diurnal background data were developed for use in the 1-hour NO2 modeling analysis.
        (3) Secondary 24-hour PM2 5 impact of 0.2617 µg/m3 added to the Maximum Impact and Texas LNG Impact.
        (4) Secondary annual PM2 5 impact of 0.0077 µg/m3 added to the Maximum Impact and Texas LNG Impact.
        (5) Maximum Texas LNG contribution of modeled NAAQS exceedance, determined by MAXDCONT (1-hour NO2 and 24-hour PM2 5) or exceedance analysis (annual NO2, 24-hour PM10, and
        annual PM2 5).




JA457
                                                                                             10
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         d. Figures that present modeled concentration isopleths, showing the full range of
            concentrations for all criteria pollutants for the highest impact scenario are provided in
            Attachment 9-2. The figures include concentration isopleths starting from the Texas LNG
            Terminal and extending to 50 kilometers from the fenceline. Ozone is not plotted, since a
            singular worst case ozone concentration was derived from the proposed Texas LNG
            emissions sources using a Tier I assessment approach, as described in the response to
            Comment 3b.

         e. Figures that overlay concentration isopleths showing the full range of concentrations for all
            criteria pollutants for the highest impact scenario on census block groups are provided in
            Attachment 9-2.

         f. Texas LNG has provided tables showing the maximum modeled concentrations of each
            criteria pollutant within each census block group within 50 kilometers of the Texas LNG
            Terminal fenceline. The tables include the following scenarios, and are provided in
            Attachment 9-3.

                •   Scenario 1: This scenario includes modeled concentrations including ambient
                    background that are contributed by the Texas LNG Terminal during hoteling;
                •   Scenario 1-INV: This scenario includes modeled concentrations including ambient
                    background that are contributed by the full inventory of sources within 50 kilometers
                    of Texas LNG, in addition to modeled concentrations that are contributed by the
                    Texas LNG terminal during LNG carrier hoteling;
                •   Scenario 2: This scenario includes modeled concentrations including ambient
                    background that are contributed by the Texas LNG Terminal during maneuvering;
                    and
                •   Scenario 2-INV: This scenario includes modeled concentrations including ambient
                    background that are contributed by the full inventory of sources within 50 kilometers
                    of Texas LNG, in addition to modeled concentrations that are contributed by the
                    Texas LNG terminal during LNG carrier maneuvering.


         Response by: Tom Wickstrom, Principal Consultant, ERM, 484-913-0453




                                                        11
                                                                                               JA458
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                        FEDERAL ENERGY REGULATORY COMMISSION
                                     WASHINGTON, D.C. 20426


 OFFICE OF ENERGY PROJECTS


                                                              In Reply Refer To:
                                                              OEP/DLNG/LNG2
                                                              OEP/DG2E/Gas Branch 1
                                                              Texas LNG Brownsville LLC
                                                              Texas LNG Project
                                                              Docket No. CP16-116-000

 August 16, 2022

 VIA Electronic Mail

 A. Gregory Junge
 Attorney for Texas LNG Brownsville LLC
 Hogan Lovells US LLP
 greg.junge@hoganlovells.com

 Re:    Environmental Information Request

 Dear Mr. Junge:

        The information described in the enclosures is required for the above-mentioned
 docket to address deficiencies noted in the U.S. Court of Appeals for the D.C. Circuit’s
 August 3, 2021 decision in Vecinos para el Bienetar de la Comunidad Costera v. FERC, 6
 F.4th 1321 (D.C. Cir. 2021), and for staff to conduct additional necessary analysis for the
 authorized LNG export terminal. Please file a complete response within 30 days of the
 date of this letter. If certain information cannot be provided within this time frame,
 please indicate which items will be delayed and provide a projected filing date.

         File your response in accordance with the provisions of the Commission’s Rules
 of Practice and Procedure. In particular, 18 CFR 385.2005 requires all responses to be
 filed under oath by an authorized Texas LNG Brownsville LLC representative, and 18
 CFR 385.2010 (Rule 2010) requires service to each person whose name appears on the
 official service list for this proceeding.

         Electronic filing is encouraged using the Commission’s eFiling system (see
 https://www.ferc.gov/ferc-online/overview). When filing documents and maps, prepare
 separate volumes as outlined on the Commission’s website at https://www.ferc.gov/ceii-
 filing-guide and https://www.ferc.gov/enforcement-legal/ceii/ferc-cui-processes for
 labelling controlled unclassified information (CUI). Critical Energy Infrastructure
 Information (CEII) (e.g., plot plans showing equipment or piping details) and privileged
 information (PRIV) (e.g., trade secret information; proprietary information) are




                                                                                 JA459
Document Accession #: 20220915-5265                  Filed Date: 09/15/2022
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                                                                                     TEXAS LNG BROWNSVILLE LLC
                                                                               2800 NORTH LOOP WEST, SUITE 910
                                                                                             HOUSTON, TX 77092
                                                                                                           USA




         September 15, 2022

         Kimberly D. Bose
         Office of the Secretary
         Federal Energy Regulatory Commission
         888 First Street, N.E.
         Washington, DC 20426

         Re:     Texas LNG Brownsville LLC, FERC Docket No. CP16-116-000
                 Texas LNG Project
                 Response to August 16, 2022 Environmental Information Request


        Dear Ms. Bose,

                 On November 22, 2019, the Federal Energy Regulatory Commission (“Commission” or
        “FERC”) authorized Texas LNG Brownsville LLC (“Texas LNG”) to construct and operate
        facilities for the liquefaction and export of domestically produced natural gas at a liquefied natural
        gas (“LNG”) terminal on the north side of the Brownsville Ship Channel in Cameron County,
        Texas (“Texas LNG Project”).1

               Commission Staff issued an Environmental Information Request to Texas LNG on August
        16, 2022, to address issues noted in the U.S. Court of Appeals for the District of Columbia Circuit’s
        August 3, 2021 opinion in Vecinos para el Bienestar de la Comunidad Costera v. FERC (“August
        16 Data Request”). Texas LNG hereby responds to Commission Staff’s August 16 data requests.

                Some of the attached materials designated comprise or contain specific technical
        information pertaining to Texas LNG’s LNG facilities and nearby energy infrastructure, the
        disclosure of which could be useful to a person planning an attack on this infrastructure.
        Accordingly, Texas LNG requests the Commission treat this material as Critical Energy
        Infrastructure Information (“CEII”), and it is marked “CUI//CEII CONTAINS CRITICAL
        ENERGY INFRASTRUCTURE INFORMATION – DO NOT RELEASE.”




         1
           Tex LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019), order on reh’g and stay, 170 FERC ¶ 61,139 (2020),
         remanded without vacatur, Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321 (D.C. Cir.
         2021).




                                                                                                       JA460
Document Accession #: 20220921-5053                  Filed Date: 09/21/2022
       USCA Case #23-1175             Document #2045210                  Filed: 03/15/2024         Page 470 of 562
                                                                                     TEXAS LNG BROWNSVILLE LLC
                                                                               2800 NORTH LOOP WEST, SUITE 910
                                                                                             HOUSTON, TX 77092
                                                                                                           USA




         September 21, 2022

         Kimberly D. Bose
         Office of the Secretary
         Federal Energy Regulatory Commission
         888 First Street, N.E.
         Washington, DC 20426

         Re:     Texas LNG Brownsville LLC, FERC Docket No. CP16-116-000
                 Texas LNG Project
                 Supplemental Response to August 16, 2022 Environmental Information Request


         Dear Ms. Bose,

                 On November 22, 2019, the Federal Energy Regulatory Commission (“Commission” or
        “FERC”) authorized Texas LNG Brownsville LLC (“Texas LNG”) to construct and operate
        facilities for the liquefaction and export of domestically produced natural gas at a liquefied natural
        gas (“LNG”) terminal on the north side of the Brownsville Ship Channel in Cameron County,
        Texas (“Texas LNG Project”).1

               Commission Staff issued an Environmental Information Request to Texas LNG on August
        16, 2022, to address issues noted in the U.S. Court of Appeals for the District of Columbia Circuit’s
        August 3, 2021 opinion in Vecinos para el Bienestar de la Comunidad Costera v. FERC (“August
        16 Data Request”). On September 15, 2022, Texas LNG responded to Commission Staff’s August
        16 Data Request. Texas LNG inadvertently omitted Attachment 9-1 to its September 16 response.
        Texas LNG hereby supplements its September 16 response with Attachment 9-1.

              If you have any questions, please do not hesitate                             to   contact    me    at
        Pawandeep.Singh@aldermidcompanies.com or 443-771-5990.

                                                          Sincerely,

                                                          /s/ Pawandeep Singh

                                                          Pawandeep Singh
                                                          Vice President
                                                          Texas LNG Brownsville LLC


         1
           Tex LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019), order on reh’g and stay, 170 FERC ¶ 61,139 (2020),
         remanded without vacatur, Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321 (D.C. Cir.
         2021).




                                                                                                       JA461
Document Accession #: 20220930-3013             Filed Date: 09/30/2022
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                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

        Texas LNG Brownsville LLC                                    Docket Nos.   CP16-116-000
                                                                                   CP16-116-002


                             NOTICE SEEKING PUBLIC COMMENT ON
                             RESPONSES TO INFORMATION REQUESTS

                                              (September 30, 2022)

                On March 30, 2016, Texas LNG Brownsville LLC (Texas LNG) filed an
        application under section 3 of the Natural Gas Act (NGA)1 and Part 153 of the
        Commission’s regulations2 for authorization to construct and operate a liquefied natural
        gas (LNG) export terminal on the north embankment of the Brownsville Ship Channel in
        Cameron County, Texas. On November 22, 2019, the Commission authorized Texas
        LNG’s proposal, subject to conditions.3 On August 3, 2021, the U.S. Court of Appeals
        for the D.C. Circuit (D.C. Circuit) partially remanded, but did not vacate, the
        Commission’s authorization.4 On August 16, 2022, and August 31, 2022, Commission
        staff issued environmental information requests to Texas LNG in order to address
        deficiencies noted in the D.C. Circuit’s August 3, 2021 decision. Texas LNG responded
        to Commission staff’s information requests on September 15, 2022, and September 21,
        2022.

               By this notice, Commission staff requests public comments on the issues
        addressed in Texas LNG’s responses to staff’s above-referenced information requests of
        August 16 and August 31, 2022, regarding environmental justice communities, visual
        impacts, air quality modeling, and emergency planning. Any person wishing to comment
        on these issues may do so.




              1
                  15 U.S.C. § 717b.
              2
                  18 C.F.R. pt. 153 (2021).
              3
                Texas LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019), on reh’g, 170 FERC
        ¶ 61,139 (2020).
              4
                Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321,
        1332 (D.C. Cir. 2021) (remanding order without vacatur for the Commission to redress
        deficiencies regarding its analyses of project impacts on climate change and
        environmental justice communities).



                                                                                       JA462
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       USCA Case #23-1175       Document #2045210            Filed: 03/15/2024    Page 472 of 562
         Docket Nos. CP16-116-000 and CP16-116-002                                               2
               To ensure that your comments within the scope of this notice are timely and
        properly recorded, please submit your initial comments no later than October 21, 2022.
        Reply comments are due no later than November 4, 2022.

                There are three methods you can use to submit your comments to the Commission.
        Please carefully follow these instructions so that your comments are properly recorded.
        The Commission encourages electronic filing of comments and has staff available to
        assist you at (866) 208-3676 or FercOnlineSupport@ferc.gov.

               1)    You can file your comments electronically using the eComment feature,
                     which is located on the Commission’s website (www.ferc.gov) under the
                     link to FERC Online. Using eComment is an easy method for submitting
                     brief, text-only comments on a project;

              2)     You can file your comments electronically by using the eFiling feature,
                     which is located on the Commission’s website (www.ferc.gov) under the
                     link to FERC Online. With eFiling, you can provide comments in a variety
                     of formats by attaching them as a file with your submission. New eFiling
                     users must first create an account by clicking on “eRegister.” You will be
                     asked to select the type of filing you are making; a comment on a particular
                     project is considered a “Comment on a Filing”;

               3)    You can file a paper copy of your comments by mailing them to the
                     Commission. Be sure to reference the project docket number (CP16-116-
                     000) on your letter. Submissions sent via the U.S. Postal Service must be
                     addressed to: Kimberly D. Bose, Secretary, Federal Energy Regulatory
                     Commission, 888 First Street NE, Room 1A, Washington, DC 20426.
                     Submissions sent via any other carrier must be addressed to: Kimberly D.
                     Bose, Secretary, Federal Energy Regulatory Commission, 12225 Wilkins
                     Avenue, Rockville, MD 20852.

               Additional information about the project, including copies of the above-referenced
        information requests and responses, are available from the Commission’s Office of
        External Affairs, at (866) 208-FERC, or on the FERC website at www.ferc.gov using the
        eLibrary link. Click on the eLibrary link, click on “General Search” and enter the docket
        number in the “Docket Number” field. Be sure you have selected an appropriate date
        range. For assistance, please contact FERC Online Support at
        FercOnlineSupport@ferc.gov or (866) 208-3676, or for TTY, contact (202) 502-8659.
        The eLibrary link also provides access to the texts of all formal documents issued by the
        Commission, such as orders, notices, and rulemakings.



                                                     Debbie-Anne A. Reese,
                                                       Deputy Secretary.



                                                                                      JA463
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         Docket Nos. CP16-116-000 and CP16-116-002                                   3




                                                                             JA464
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                                                                                     TEXAS LNG BROWNSVILLE LLC
                                                                               2800 NORTH LOOP WEST, SUITE 910
                                                                                             HOUSTON, TX 77092
                                                                                                           USA




         September 30, 2022

         Kimberly D. Bose
         Office of the Secretary
         Federal Energy Regulatory Commission
         888 First Street, N.E.
         Washington, DC 20426

         Re:    Texas LNG Brownsville LLC, FERC Docket No. CP16-116-000
                Texas LNG Project
                Supplemental Response to August 16, 2022 Environmental Information Request


         Dear Ms. Bose,

                 On November 22, 2019, the Federal Energy Regulatory Commission (“Commission” or
        “FERC”) authorized Texas LNG Brownsville LLC (“Texas LNG”) to construct and operate
        facilities for the liquefaction and export of domestically produced natural gas at a liquefied natural
        gas (“LNG”) terminal on the north side of the Brownsville Ship Channel in Cameron County,
        Texas (“Texas LNG Project”).1

               Commission Staff issued an Environmental Information Request to Texas LNG on August
        16, 2022, to address issues noted in the U.S. Court of Appeals for the District of Columbia Circuit’s
        August 3, 2021 opinion in Vecinos para el Bienestar de la Comunidad Costera v. FERC (“August
        16 Data Request”). On September 15, 2022, Texas LNG responded to Commission Staff’s August
        16 Data Request. As noted in its September 15, 2022 response, Texas LNG explained that it would
        provide supplemental responses to questions 1(c) and 12. Texas LNG hereby supplements its
        September 15 response.

                 Some of the attached materials designated comprise or contain specific technical
         information pertaining to Texas LNG’s LNG facilities and nearby energy infrastructure, the
         disclosure of which could be useful to a person planning an attack on this infrastructure.
         Accordingly, Texas LNG requests the Commission treat this material as Critical Energy
         Infrastructure Information (“CEII”), and it is marked “CUI//CEII – DO NOT RELEASE.”




         1
         Tex LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019) (“Authorization Order”), order on reh’g and stay, 170 FERC
        ¶ 61,139 (2020), remanded without vacatur, Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th
        1321 (D.C. Cir. 2021).




                                                                                                       JA465
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                              UNITED STATES OF AMERICA
                                DEPARTMENT OF ENERGY
                        FEDERAL ENERGY REGULATORY COMMISSION

          Texas LNG Brownsville LLC             )      Docket Nos.         CP16-116-000
                                                )                          CP16-116-002

                       Comments on Responses to Information Requests

        I.     Introduction

               The United States Court of Appeals for the District of Columbia determined
        that the Federal Energy Regulatory Commission (“FERC”) inadequately analyzed
        the impacts to environmental justice communities of the Texas LNG facility. 1 The
        Vecinos court remanded to FERC without vacatur and ordered FERC to adequately
        analyze impacts to environmental justice communities. FERC has now begun that
        process by requesting information from Texas LNG and has requested public
        comment on the responses provided by Texas LNG.
               As explained in more detail below, the beginning of FERC’s new analysis
        suggests that FERC will continue to improperly analyze the impacts of the Texas
        LNG facilities to environmental justice communities. FERC has asked the wrong
        questions and received inadequate information in response to its requests. FERC
        has, so far, created a public participation process that systematically excludes the
        environmental justice communities that it is supposed to be protecting through this
        process. The undersigned commenters urge FERC to course correct in order to
        ensure a legally adequate environmental justice analysis that protects the health,
        wellbeing, and safety of the environmental justice communities that are in the
        vicinity of the Texas LNG project.

         II.   To Date, Outreach to Environmental Justice Communities Has Been
               Inadequate

            To properly analyze environmental justice, FERC must obtain “meaningful
        community representation in the process.” 2 FERC must “be aware of the diverse

         1 See Vecinos para el Bienestar de la Comunidad Costera v. Federal Energy

         Regulatory Commission, 6 F.4th 1321, 1331 (D.C. Cir. 2021).
         2 Council on Environmental Quality, Environmental Justice: Guidance Under The

         National Environmental Policy Act 9 (1997) [hereinafter “CEQ 1997 Guidance”]
         (attached).


         Comment in CP16-116-000 and CP16-116-002                                          1
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        constituencies within any particular community” and “have complete representation
        of the community as a whole.”3 “[C]ommunity participation must occur as early as
        possible if it is to be meaningful.”4 Among the constituencies that must be included
        in the process is tribal representation of any impacted tribes. 5
               To do this, FERC must go beyond its typical public outreach practices.
        Instead, FERC must determine the necessary “adaptive or innovative approaches to
        overcome linguistic, institutional, cultural, economic, historical, or other potential
        barriers to effective participation” in its decisionmaking process. 6 These approaches
        can include translation of major documents, opportunities to comment through
        other means than written communication, and creating materials specifically
        designed to garner the involvement of different constituencies. 7
               Here, the proposed project will have significant impacts on environmental
        justice communities.8 The City of Port Isabel, the closest city to the project area is
        82.7% Hispanic/Latino and 30.3% of the population lives below the poverty line. 9
        Similarly, the population of Cameron County, where the project site is located, is
        90% Hispanic/Latino and 24.4% live below the poverty line. 10 By comparison, less
        than 15% of the entire population of Texas lives below the poverty line and only
        40.2% of the State’s population is Hispanic/Latino.11
               Accordingly, as explained in more detail below, FERC has, so far, failed to
        utilize the public outreach and engagement practices necessary to ensure adequate
        participation of the impacted environmental justice communities.



         3 Id.
         4 Id.
         5 Id.
         6 Id. at 13. Accord EPA, Guidance on Considering Environmental Justice During

         the Development of Regulatory Actions 32-35 (2015) [hereinafter “EPA 2015
         Guidance”]
         7 CEQ 1997 Guidance.
         8 An area may contain an environmental justice population (1) if more than 50% of

         the population is in a potentially affected area are people of color or the percentage
         of people of color in a specific area exceed the percentage of the general population,
         or (2) if there are affected populations with incomes below the statistical poverty
         thresholds. CEQ 1997 Guidance at 25.
         9 U.S. Census Bureau, Quick Facts: Cameron County, Port Isabel, Texas, available

         at
         https://www.census.gov/quickfacts/fact/table/cameroncountytexas,TX,portisabelcityt
         exas/PST045221. (Last accessed Sept. 28, 2022) (attached).
         10 Id.
         11 Id.



         Comment in CP16-116-000 and CP16-116-002                                             2
                                                                                     JA467
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               a. FERC Has Not Provided Translated Versions of the Underlying
                  Documents

               If Texas LNG were to go forward, it would be constructed in an area where a
        majority of the population speaks Spanish at home and 25.2% speak English less
        than very well.12 Despite this, FERC has not provided translated versions of the
        Texas LNG’s responses to the information requests underlying this request for
        public comment. This has the obvious effect of cutting at least the 25.2% of people in
        the project area that speak English less than very well out of FERC’s
        decisionmaking process.
               This isn’t only a problem because it is plainly wrong to cut an entire
        population out of decisionmaking that will affect them, it is wrong because it will
        inevitably lead to bad decisionmaking.13 Longstanding guidance recognizes that it is
        crucial for agencies to analyze environmental and health data “in light of any
        additional qualitative or quantitative information gathered through the public
        participation process.”14 This is because “background data” on environmental justice
        communities, including “empirical data, based on verifiable observations or
        experience” is crucial to an agency’s environmental justice analysis. 15 Additionally,
        environmental justice populations “in the affected environment may hold an
        opposing technical or scientific view (which can be based on several sources,




         12  U.S. Census Bureau, American Community Surveys: DP02 Selected Social
         Characteristics, Port Isabel, available at
         https://data.census.gov/cedsci/table?tid=ACSDP5Y2020.DP02&g=0400000US48 160
         0000US4858892&hidePreview=true) (Last viewed Sept. 28, 2022) (attached). See
         also U.S. Census Bureau, American Community Surveys: DP02 Selected Social
         Characteristics, Cameron County, available at
         https://data.census.gov/cedsci/table?tid=ACSDP5Y2020.DP02&g=0400000US48 050
         0000US48061&hidePreview=true. (Last viewed Sept. 28, 2022) (attached).
         13 See EPA, Final Guidance For Incorporating Environmental Justice Concerns in

         EPA’s NEPA Compliance Analyses at pdf 46 (1998) [hereinafter EPA 1998
         Guidance] (attached) (“Adequate public participation is crucial to incorporating
         environmental justice considerations into EPA’s NEPA actions, both to enhance the
         quality of the analyses and to ensure that potentially affected parties are not
         overlooked and excluded from the process.”).
         14 CEQ 1997 Guidance at 14.
         15 Interagency Working Group on Environmental Justice & NEPA Committee,

         Promising Practices for EJ Methodologies in NEPA Reviews 29 (2016) [hereinafter
         “Promising Practices”] (attached).


         Comment in CP16-116-000 and CP16-116-002                                           3
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         including the community) from agencies regarding specific impacts and/or methods
         of analysis,” which “may warrant discussion in a NEPA document.” 16
                Ultimately, by excluding people that speak English less than very well,
         FERC will ensure that it misses all of these data points concerning this affected
         population. FERC, for example, will have no way to know whether this population
         “may be differently affected by past, present, or reasonably foreseeable future
         impacts than the general population.”17 Or, whether the effects of the Texas LNG
         project on this population would be amplified by “past exposure histories, and social
         factors.”18 FERC is in essence, deciding, to deny itself the opportunity to be
         educated and to have the community “help identify the means to identify
         alternatives and/or mitigate the impacts.”19
                FERC must ensure that this population is not systemically excluded from
         FERC’s decisionmaking. FERC must, at least, provide translated documents to
         allow for meaningful participation. And FERC must go beyond limiting
         participation to written comments. It must provide public meetings that allow for
         meaningful participation from people who speak English less than well and other
         environmental justice communities. Without taking these steps, FERC will not be
         able to perform an adequate environmental justice analysis.

                  b. FERC Must Consult with the Carrizo Comecrudo Tribe of Texas

                Longstanding guidance affirms the importance of working with tribes that
         will be impacted by projects. The Carrizo Comecrudo Tribe of Texas will be
         impacted here because the Texas LNG project will occupy and impact lands sacred
         to the Tribe. For example, the Garcia Pasture Site is a sacred site to the Tribe and
         features human burial sites, village ruins, rock art, and shell working areas. 20
         FERC has already acknowledged that the Texas LNG project will adversely impact
         the Garcia Pasture Site as the Garcia Pasture Site is within the Texas LNG project
         footprint.21 However, despite the destruction of Garcia Pasture, FERC has not
         consulted with the Carrizo Comecrudo Tribe of Texas and Texas LNG merely sent a
         single email to the Tribe providing some information.22

         16 Id. at 30.
         17 Id.
         18 Id. at 31.
         19 EPA 1998 Guidance at pdf 54.
         20 Garcia Pasture, WMF.Org, https://www.wmf.org/project/garcia-pasture (Last

         Visited October 11, 2022) (attached).
         21 Final EIS at 4-334.
         22 Id. at 4-160 - 4-161.



         Comment in CP16-116-000 and CP16-116-002                                            4
                                                                                    JA469
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               None of this satisfies FERC’s environmental justice obligations. FERC is
        specifically required to seek input from impacted tribal populations whether or not
        a particular tribe is federally recognized.23 By not engaging with the Carrizo
        Comecrudo Tribe of Texas, FERC has failed to satisfy its environmental justice
        obligations or to perform an adequate environmental justice analysis. FERC must
        immediately consult with the Carrizo Comecrudo Tribe of Texas concerning the
        impacts that the Texas LNG project will have on sacred sites.

               c. FERC Must Provide Additional Time to Comment on Texas LNG’s
                  Responses, Do More Public Outreach, and Provide Additional Means for
                  the Public to Comment

               In addition to the more specific issues discussed above, the overall issue here
        is that FERC has not tailored this comment period to ensure the meaningful
        participation of any of the environmental justice communities that would be
        impacted by the Texas LNG project if it went forward. FERC issued this notice on
        September 30, 2022 with comments due on October 21, 2022, a 21-day comment
        deadline. On the same day, FERC issued a parallel notice in docket nos. CP16-454-
        000, CP16-454-003, CP16-455-000, and CP16-455-002, requesting public comment
        on similar issues but concerning the nearby Rio Grande LNG and Rio Bravo
        Pipeline projects. Those comments are due the same day as these comments.
        Additionally, when both of these notices were issued, the deadline for scoping
        comments concerning Rio Grande LNG’s carbon capture and storage proposal was
        ongoing.
               The subject matter of these comments is highly technical in nature. For
        example, FERC requested and Texas LNG provided significant amounts of air
        emissions data, including air emissions modeling data.24 Similarly, Texas LNG




         23 See EPA 1998 Guidance at pdf 75 (Agencies must work with federally recognized

         tribes on a government-to-government basis “as well as with any affected or
         interested indigenous person(s) as public stakeholders”). Contra Final EIS at 4-160.
         Accord Promising Practices at 10 (“[A]gencies should conduct meaningful
         engagement efforts … specifically designed to reach indigenous tribal populations
         and organizations.”)
         24 See Texas LNG Brownsville LLC, FERC Docket No. CP16-116-000 Texas LNG

         Project Supplemental Response to August 16, 2022 Environmental Information
         Request at Attachment 9-1, Accession 20220921-5053.


         Comment in CP16-116-000 and CP16-116-002                                             5
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        included a jargon laden discussion of an emergency response plan. 25 Clearly, Texas
        LNG’s responses were not written for a general audience, they were written for
        subject matter experts.
               Accordingly, FERC has created a public participation structure tailor made to
        leave out the environmental justice communities that will be impacted. FERC is
        supposed to use “adaptive and innovative approaches both to public outreach … and
        participation” but instead of doing that, FERC has buried these environmental
        justice communities under multiple deadlines seeking comment on several complex
        issues rendering meaningful participation impossible.26 FERC has not provided the
        information it seeks comment on in a format that is concise, understandable, and
        readily accessible to the public.27 As a result, FERC is not likely to be able to
        perform an adequate environmental justice analysis, contradicting the D.C.
        Circuit’s Vecinos decision.
               That alone renders FERC’s apparent attempt to comply with Vecinos
        insufficient, but the infirmities of FERC’s process so far does not stop there. FERC
        has not so much as suggested that it is going to provide these environmental justice
        communities any opportunity to participate outside the opportunity to provide
        written comments. As explained in several guidance documents and by common
        sense, this decision by FERC is not going to lead to adequate participation of
        members of environmental justice communities.28 And, in turn, will inevitably lead
        to FERC not properly analyzing the impacts to these environmental justice
        communities. FERC should course correct now, rather than when it is already too
        late. FERC should provide alternative methods of public participation including
        multiple town hall style public hearings held at various locations tailored for access
        by environmental justice communities and at several different times to allow people
        with different work and life schedules to attend.
               Ultimately, environmental justice analysis is as much a process as it is a way
        to ensure substantive policy ends. As the Federal Interagency Working Group on
        Environmental Justice & NEPA Committee recently explained, structuring the
        environmental review process to ensure meaningful participation of members of
        environmental justice communities is an end in itself.29 FERC is currently failing to
        ensure an adequate process

         25 See Texas LNG Brownsville, LLC, FERC Docket No. CP16-116-000 Texas LNG

         Project Response to August 16, 2022 Environmental Information Request at 21-23,
         Accession 20220915-5265.
         26 Promising Practices at 8.
         27 Cf. CEQ 1997 Guidance at 33.
         28 See, e.g., Id. at 13.
         29 See Promising Practices at 8-11.



         Comment in CP16-116-000 and CP16-116-002                                           6
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         III.   The Air Emissions Data Provided by Texas LNG is Inadequate and
                Requires Significant Explanation and Clarification

                 FERC should ask Texas LNG to explain its assumptions and clarify some of
         the information provided in Tables 9-3-1 and 9-3-2. However, even without that
         clarification, it is clear from Texas LNG’s modeling that the cumulative air
         emissions associated with this project pose significant risks to environmental justice
         communities living near the terminal, particularly in those census block groups
         where Texas LNG anticipates an exceedance of the NAAQS.

                a. Texas LNG’s Assumptions Should Be Explained

               FERC should ask Texas LNG to explain the assumptions it used to model its
        own contributions in Tables 9-3-1 and 9-3-2. It is unexpected that the hourly
        concentration contributions for hoteling would be higher than the hourly
        concentration contributions for NO 2, PM2.5, and PM10. Yet, for many of the census
        blocks, the hourly concentration contributions for Texas LNG during hoteling are
        higher than during maneuvering.
               Similarly, FERC should ask Texas LNG to explain its assumptions regarding
        it and Rio Grande LNG’s contributions to the concentration of CO. For many block
        groups, Texas LNG alone contributes several micrograms per cubic meter, but when
        both Texas LNG and Rio Grande LNG’s emissions are removed from the full
        inventory of sources, the total concentrations only decline by a few decimal points.
        For example, in Census Tract 014200, Block Group 1 Texas LNG projects that its
        contributions of CO during hoteling are 951.2 μg/m3 and during maneuvering are
        973.3 μg/m3. It further models that the total inventory during hoteling is 25216.3
        μg/m3 and during maneuvering is 25216.4 μg/m3. Yet, when both Texas LNG and
        Rio Grande LNG’s contributions are removed from the modeling the CO background
        concentrations only decline to 25216.2 μg/m3, despite Texas LNG’s own contribution
        exceeding 900 μg/m3.30
               Given that Texas LNG’s modeling does not conform with reasonable
        expectations of the impacts of emissions in various scenarios, FERC should request
        an explanation of the assumptions used for each scenario and criteria pollutant
        analyzed.


         30 Texas LNG, Supplemental Response to August 16, 2022 EIR, Attachment 9-1:

         Maximum Modeled Concentrations of Criteria Pollutants within Census Block
         Groups: Sept. 2002 Update at 7. (Sept. 21, 2022).


         Comment in CP16-116-000 and CP16-116-002                                            7
                                                                                    JA472
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               Table 9-3-2 also appears to contain a significant typo as all Census Tracts are
         labeled 010100. FERC should ask Texas LNG to submit a table with the proper
         Census Tract labeling.

               b. Texas LNG’s Emissions Will Have Disproportionately High and Adverse
                  Impacts on Environmental Justice Communities

                 Tables 9-3-1 and 9-3-2 demonstrate that air emissions from the Texas LNG
         facility will extend as far as 50 km away from the facility’s fenceline. There is a
         modeled concentration of criteria pollutants from Texas LNG’s facility during both
         hoteling and maneuvering in every single census tract and block group modeled. 31
         Criteria pollutants, including particulate matter and nitrogen dioxide are
         recognized as pollutants for which there is no threshold of exposure that adequately
         protects human health.32 As discussed further below, there are several census
         blocks where NO2, PM2.5, and PM10 are expected to exceed the NAAQS. However,
         given that these pollutants are recognized as causing harm even below the NAAQS,
         impacts of from an increased concentration of each will increase the risk of harm to
         exposed populations.33
                 In the case of Texas LNG these emissions will have disproportionately high
         and adverse impacts on environmental justice communities because all but three of
         the census block groups (which have people living in them) which were included in
         the modeling, have either a higher rate of Hispanic/Latino individuals or low-
         income people than the general population of the State of Texas, or both. 34 This
         alone demonstrates there will be disproportionately high and adverse impact on
         environmental justice communities from Texas LNG’s air emissions. 35


         31 See Texas LNG, Supplemental Response to August 16, 2022 EIR, Attachment 9-1:

         Maximum Modeled Concentrations of Criteria Pollutants within Census Block
         Groups: Sept. 2002 Update. (Sept. 21, 2022).
         32 See Am. Trucking Ass’n, Inc. v. EPA, 283 F.3d 355, 359-360 (D.C. Cir. 2002); 75

         Fed. Reg. 6474 at 6500 (Feb. 9, 2010)
         33 To be clear, just because a criteria pollutant is not present in concentrations that

         exceed the NAAQS does not mean that it is not causing a disproportionately high
         and adverse impacts on environmental justice communities. See CEQ 1997
         Guidance at 10.
         34 The three census block groups that do not meet the EJ criteria are CT 101, BG 4,

         CT 121.01, BG 1, and CT 123.05, BG 1. Texas LNG, Response to Feb. 3, 2022 EIR.,
         Table 5-1. (Mar. 4, 2022).
         35 See e.g. CEQ, Environmental Justice Guidelines Under the National

         Environmental Policy Act, 25 (Dec. 1. 1997).


         Comment in CP16-116-000 and CP16-116-002                                                  8
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                The risks of exposure on EJ populations can also be heightened by factors
         specific to those populations.36 As previously raised in this docket, the EJ
         populations in this area are less likely to have access to medical infrastructure
         including hospitals and insurance, have high concentrations of young and elderly
         populations, and low-income populations may likely have worse respiratory health
         than the general population of Texas. FERC should consider these factors before
         determining whether the impacts of air emissions are significant. 37

               c. Texas LNG’s Modeling Shows Texas LNG & Rio Grande LNG Will Cause
                  or Contribute to NAAQS Violations in Multiple Census Block Groups that
                  Contain Environmental Justice Populations

                Tables 9-3-1 and 9-3-2 demonstrate that emissions from Texas LNG and Rio
         Grande LNG will cause or contribute to violations of the NAAQS for NO 2, PM2.5, and
         PM10. These are undoubtedly significant impacts, as the NAAQS are intended to
         reduce the risk to “sufficiently protect human health.”38 These NAAQS violations
         only occur in census blocks populated by EJ communities. (See Tables 1-2). 39 This
         only heightens the severity of their impacts.

           Table 1 – Demographics of Census Block Groups Where Texas LNG has
                       Modeled Violations of the 1-hr NAAQS of NO 2.




         36 CEQ, Environmental Justice Guidelines Under the National Environmental

        Policy Act, 9 (Dec. 1. 1997).
        37 “Agency consideration of impacts on low-income populations, minority

        populations, or Indian tribes may lead to the identification of disproportionately
        high and adverse human health or environmental effects that are significant and
        that otherwise would be overlooked.” CEQ, Environmental Justice Guidelines Under
        the National Environmental Policy Act, 10 (Dec. 1. 1997).
        38 See Am. Trucking Ass’n, Inc. v. EPA, 283 F.3d 355, 359-360 (D.C. Cir. 2002).
        39 A similar table cannot be made for PM 2.5 because of the aforementioned typo.

        There are several places where Texas LNG has modeled an exceedance of the PM 2.5
        NAAQS and Texas LNG should clarify which census blocks groups these are. See
        Texas LNG, Attachment 9-1, Maximum Modeled Concentrations of Criteria
        Pollutants within Census Block Groups: Sept. 2002 Update at 9, 12, and 15.


         Comment in CP16-116-000 and CP16-116-002                                            9
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                                        Modeled        Modeled
                         Modeled
                                       Inventory      Inventory
           Census       Inventory                                   % Racial
                                      During Texas     Without                    % Low-
          Tract and      During                                     or Ethnic
                                         LNG         Texas or Rio                income44
            Block      Texas LNG                                    Minority43
                                      Maneuvering      Grande
                       Hoteling40          41          LNG42
          CT 10800
                      273.1 μg/m3     273.1 μg/m3    149.5 μg/m3       80          49
            BG 4
          CT 12304
                      209.1 μg/m3     125.2 μg/m3    97.5 μg/m3        68          12
            BG 2
          CT 12401
                      194.6 μg/m3     194.6 μg/m3    125.5 μg/m3       93          25
            BG 1
          CT 126.07
                      797.6 μg/m3     797.6 μg/m3    775.1 μg/m3       99          34
            BG 1
          CT 12700       1993.7
                                      1993.8 μg/m3   828.4 μg/m3       87          40
            BG 2         μg/m3
          CT 14200       5218.4                        2171.3
                                      5218.4 μg/m3                     99          34
            BG 1         μg/m3                         μg/m3




         40 Texas LNG, Attachment 9-1, Maximum Modeled Concentrations of Criteria

         Pollutants within Census Block Groups: Sept. 2002 Update. (Sept. 21, 2022).
         41 Texas LNG, Attachment 9-1, Maximum Modeled Concentrations of Criteria

         Pollutants within Census Block Groups: Sept. 2002 Update. (Sept. 21, 2022).
         42 Texas LNG, Attachment 9-1, Maximum Modeled Concentrations of Criteria

         Pollutants within Census Block Groups: Sept. 2002 Update. (Sept. 21, 2022).
         43 Texas LNG, Response to Feb. 3, 2022 EIR., Table 5-1. (Mar. 4, 2022).
         44 Texas LNG, Response to Feb. 3, 2022 EIR., Table 5-1. (Mar. 4, 2022).



         Comment in CP16-116-000 and CP16-116-002                                       10
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           Table 2 – Demographics of Census Block Groups Where Texas LNG has
                        Modeled Violations of the 1-hr NAAQS of PM10.
                                     Modeled        Modeled
                        Modeled
                                    Inventory      Inventory
           Census      Inventory                               % Racial
                                  During Texas      Without                % Low-
          Tract and     During                                 or Ethnic
                                      LNG         Texas or Rio            income49
            Block     Texas LNG                                Minority48
                                  Maneuvering       Grande
                       Hoteling45       46           LNG47
          CT 10100                                   264.89
                      264.8 μg/m3  264.8 μg/m3                     87        24
            BG 2                                     μg/m3
          CT 010800      1346.2                         1346.2
                                      1346.2 μg/m3                      80          49
            BG 4         μg/m3                          μg/m3
          CT 011400
                      608.6 μg/m3     608.6 μg/m3    6.08.6 μg/m3       87          22
            BG 4
          CT 12700
                      520.5 μg/m3     520.5 μg/m3    520.5 μg/m3        87          40
            BG 2
          CT 14200
                      408.7 μg/m3     408.7 μg/m3    408.7 μg/m3        99          34
            BG 1

             As a general matter, projects that cause or contribute to exceedances of the
         NAAQS are not in the public interest.50 The NAAQS, “based on such criteria and


         45 Texas LNG, Supplemental Response to August 16, 2022 EIR, Attachment 9-1:

        Maximum Modeled Concentrations of Criteria Pollutants within Census Block
        Groups: Sept. 2002 Update. (Sept. 21, 2022).
        46 Texas LNG, Supplemental Response to August 16, 2022 EIR, Attachment 9-1:

        Maximum Modeled Concentrations of Criteria Pollutants within Census Block
        Groups: Sept. 2002 Update. (Sept. 21, 2022).
        47 Texas LNG, Supplemental Response to August 16, 2022 EIR, Attachment 9-1:

        Maximum Modeled Concentrations of Criteria Pollutants within Census Block
        Groups: Sept. 2002 Update. (Sept. 21, 2022).
        48 Texas LNG, Response to Feb. 3, 2022 EIR., Table 5-1. (Mar. 4, 2022).
        49 Texas LNG, Response to Feb. 3, 2022 EIR., Table 5-1. (Mar. 4, 2022).
        50 And, despite Texas LNG’s suggestion to the contrary, see Texas LNG Brownsville,

        LLC, FERC Docket No. CP16-116-000 Texas LNG Project Response to August 16,
        2022 Environmental Information Request at 10, Accession 20220915-5265, using
        Significant Impact Levels (“SIL”) to determine whether this project causes or
        contributes to exceedances of the NAAQS is improper. The Clean Air Act
        unambiguously prohibits the use of SILs to demonstrate that a project would not
        cause or contribute to a NAAQS exceedance. See, e.g., Alabama Power Co. v. Costle,


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        allowing an adequate margin of safety, are requisite to protect public health.” 51
        Exceedances of the NAAQS will contribute to worsening respiratory and
        cardiovascular health of exposed populations. The health of local communities
        should not be jeopardized for the expansion of liquified natural gas exports.
              Moreover, this modeling demonstrates that many these census block groups
        are exposed to NAAQS exceedances for NO 2, PM2.5, and PM10 before the construction
        and operation of Texas LNG and Rio Grande LNG. Moreover, the two census block
        groups closest to the Texas LNG facility, Tract 12700, Block Group 2, and Tract
        14200, Block Group 1 are in the 99th percentile for the environmental justice index
        for PM2.5, and in the 93rd and 96th percentile (respectively) in the State.52 The
        construction and operation of an additional pollution source in areas that are
        populated by environmental justice communities that are already exposed to
        emissions levels that exceed the standard set to protect human health is a serious
        environmental justice concern and at a minimum demands the consideration of
        alternative sites.



        636 F.2d 323, 362 (D.C. Cir. 1979) (Congress specifically used the terms “cause” and
        “contribute” together to ensure that the Prevention of Significant Deterioration
        program would prevent increments and the NAAQS from being exceeded by
        considering all possible violations or contributions to violations); Bluewater Network
        v. EPA, 370 F.3d 1, 13 (D.C. Cir. 2004) (interpreting nearly identical language in
        the Clean Air Act to mean that the term “contribute” “has no inherent connotation
        as to magnitude or importance of the relevant ‘share’ in the effect; certainly it does
        not incorporate any any ‘significance’ requirement.”); Sierra Club v. EPA, 705 F.3d
        458, 465-66 (D.C. Cir. 2013) (vacating EPA’s PM 2.5 SILs regulation because EPA
        lacks “authority to exempt sources from the requirements of the” Clean Air Act and
        the regulation “simply states that the demonstration required under [section]
        165(a)(3) is deemed to have been made if a proposed source or modification’s air
        quality impact is below the SIL.”). See also Sierra Club v. EPA, 955 F.3d 56, 63-64
        (D.C. Cir. 2020) (Affirming that the Court lacks jurisdiction to vacate a non-binding
        policy document as part of a facial challenge but explaining that “[t]he SILs
        Guidance is not sufficient to support a permitting decision—simply quoting the
        SILs Guidance is not enough to justify a permitting decision without more evidence
        in the record, including technical and legal documents.”).
        51 42 CFR 7409(b)(1).
        52 EJ Screen Report Blockgroup 480610127002 (Attached); EJ Screen Report

        Blockgroup 480610142021 (Attached) (Please note that EPA’s EJ Screen mistakenly
        labels blockgroup 480610142021 as 480610142022. Compare Texas Education
        Agency, Census Block Group Map, available at
        https://hub.arcgis.com/datasets/TEA-Texas::census-block-group-
        map/explore?location=26.031312%2C-97.291719%2C11.96. (Screen shot attached).


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        IV.    The Offsite Parking Locations Impacts Data Provided by Texas LNG
               is Inadequate

               FERC will not be able to properly analyze impacts to environmental justice
        communities from offsite parking locations. FERC requested data on census block
        groups within one mile of “offsite parking locations from which workers would be
        transported.”53 There is no basis for limiting the analysis of these impacts on
        environmental justice communities to a one-mile radius. Instead, by limiting the
        analysis in this manner, FERC is ensuring that it will run headlong into one of the
        issues that rendered its environmental justice analysis inadequate in Vecinos.
        There, the D.C. Circuit determined that FERC analyzed environmental justice
        impacts within an arbitrarily determined geographic range and, therefore, FERC’s
        environmental justice analysis was inadequate.54 FERC appears to be doing the
        same thing here.
               Instead, FERC must analyze impacts within a rationally determined
        geographic radius. There is good reason to think that a one-mile radius is, indeed,
        inappropriate. For example, the final environmental impact statement suggests
        that some traffic impacts will be felt well outside a one-mile radius and will impact
        environmental justice communities.55 Whatever geographic radius FERC
        determines must be supported by the record and be adequately explained. 56
               In addition to asking the wrong question, FERC also does not have sufficient
        data to perform an adequate analysis of traffic impacts on environmental justice
        communities. Texas LNG indicated that it has not yet determined where it will
        place offsite parking lots and, therefore, cannot provide FERC with actionable data
        yet. Accordingly, Texas LNG provided almost no information on these impacts. 57

         53 Texas LNG Brownsville, LLC, FERC Docket No. CP16-116-000 Texas LNG

         Project Response to August 16, 2022 Environmental Information Request at 3,
         Accession 20220915-5265.
         54 Vecinos, 6 F.4th at 1330-31.
         55 Final EIS at 4-333.
         56 Vecinos, 6 F.4th at 1330-31.
         57 Texas LNG Brownsville, LLC, FERC Docket No. CP16-116-000 Texas LNG

         Project Resposnet to August 16, 2022 Environmental Information Request at 3-9,
         Accession 20220915-5265. Additionally, what little information Texas LNG did
         provide, suggests that its ultimate analysis of traffic impacts will rely on a traffic
         impact analysis prepared in 2016. See id. at 5. Irrespective of the merits of this data
         in 2016, it is plainly stale now and Texas LNG must provide updated data.
         Likewise, Texas LNG provides two mitigation measures it claims will reduce “traffic
         impact on local roadways.” Id. at 9. But there is no assessment of either the overall
         effectiveness of these mitigation measures or the effectiveness of these mitigation


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              Because FERC does not have enough data to perform this analysis, it goes
        without saying that the public does not have enough information to provide
        meaningful comment on these impacts. FERC must provide for additional
        opportunities to comment on this issue. Otherwise, FERC is not ensuring the
        meaningful involvement of environmental justice communities that could be
        impacted in this manner.58

        V.     The Emergency Management Plan Information Provided by Texas
               LNG Is Inadequate

               Texas LNG has not provided enough information to analyze the sufficiency of
        the emergency management plan. As Texas LNG acknowledged in its response to
        FERC’s request that it has not yet developed an emergency management plan. 59
        Therefore, there is no plan to comment on.
               However, the information provided by Texas LNG does paint a worrisome
        picture. For example, in the information provided by Texas LNG, there is no
        mention of providing emergency response services in any languages other than
        English. This is unacceptable given the amount of people in the project area that
        are bilingual or speak English less than very well. 60 This obviously creates an
        extremely dangerous situation for the large portion of the project area population
        that would not be given information in a language that they understand and
        emergency response personnel operating in the inevitable chaos that would result
        from this confusion.
               Additionally, despite the clear impacts of the Texas LNG project on
        environmental justice communities, Texas LNG has not indicated that it has any
        plans to ensure that its emergency response plan would mitigate any
        disproportionately high and adverse effects of the project experienced by project
        area environmental justice communities. FERC must ensure that the emergency
        management plan mitigates such effects.



         measures to remedy any disproportionate impacts on environmental justice
         communities. FERC must perform these analyses with the most recent available
         data. Otherwise, FERC will not be able to perform an adequate analysis of the
         traffic impacts on environmental justice communities.
         58 See Promising Practices at 8-11.
         59 Texas LNG Brownsville, LLC, FERC Docket No. CP16-116-000 Texas LNG

         Project Response to August 16, 2022 Environmental Information Request at 21,
         Accession 20220915-5265.
         60 See supra note 12.



         Comment in CP16-116-000 and CP16-116-002                                        14
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        VI.    FERC Has Not Requested Sufficient Information To Analyze the
               Visual Impacts of the Texas LNG Project

               As FERC is already aware, development of LNG infrastructure in the
        relatively undeveloped project area will entirely alter the character of the project
        area. Despite the likelihood of significant visible impacts, FERC has not requested
        enough information here to properly analyze the full extent of visual impacts that
        would be caused by the Texas LNG project or the cumulative visual impacts caused
        by the Texas LNG project and the Rio Grande LNG project.
               FERC only requested information on “visual impacts on nearby residences
        from the LNG Terminal.”61 But this information request is plainly not inclusive of
        the many vantage points from which visual impacts can occur—e.g. recreational
        pursuits and driving.62 Clearly, people may be able to see the Texas LNG terminal
        from places that are not residences and experience adverse visual impacts from
        those viewings. FERC must obtain the relevant data to analyze the full extent of
        the visual impacts that the Texas LNG facility will cause.
               FERC’s request is also not adequate to determine whether environmental
        justice communities will experience disproportionate levels of visual impacts.
        Cabining the request to impacts viewable from the residence nearest to the facility
        of course eliminates analyzing any visual impacts that may be uniquely felt by
        environmental justice communities because of the unique activities of those
        communities.63 This underscores the importance of ensuring adequate participation
        of impacted environmental justice communities. Ensuring such participation allows
        FERC to analyze invaluable qualitative data as it considers these impacts. 64 The
        absence of this data renders FERC’s analysis necessarily inadequate.



         61 Texas LNG Brownsville, LLC, FERC Docket No. CP16-116-000 Texas LNG

         Project Response to August 16, 2022 Environmental Information Request at 1,
         Accession 20220915-5265.
         62 Of course, while FERC’s request is not inclusive of all possible visual impacts,

         visual impacts to people at residences are one aspect of visual impacts and must be
         studied by FERC along with other visual impacts. But FERC must evaluate
         residential visual impacts at residences outside the one closest to the facility. Other
         residences may be further away but may have, e.g., less obstructed views of the
         facility.
         63 E.g. members of the Carrizo Comicrudo Tribe of Texas may be experience unique

         adverse visual impacts because the lands impacted by the Texas LNG facility are
         sacred to the tribe. See supra § IIb.
         64 See supra note 14.



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        VII.   Conclusion

              The undersigned commenters appreciate the opportunity to submit these
        comments and urge FERC to make the necessary changes to properly analyze the
        impacts to environmental justice communities. Ultimately, FERC must deny any
        outstanding applications and vacate any existing approvals. This project cannot go
        forward.

        Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

               I hereby certify that I have this day caused the foregoing document to be
         served upon each person designated on the official service list compiled by the
         Secretary in this proceeding.

         Dated at Bexar County, Texas this 19th Day of October, 2022.

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       for EJ Methodologies
           in NEPA Reviews
                Report of the Federal Interagency
                Working Group on Environmental
                Justice & NEPA Committee
                                                                              Working
                                                                              together towards
                                                                              collaborative
                                                                              and innovative
                                                    MARCH 2016                solutions




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             Environmental Impact Statement should be prepared.




                                                                                                                            33
         3. A disproportionately high and adverse impact to minority populations and low-
            income populations can occur at any level of NEPA review. In some
            circumstances, an agency may determine that impacts are disproportionately
            high and adverse, but not significant within the meaning of NEPA. In other
            circumstances, an agency may determine that an impact is both
            disproportionately high and adverse and significant within the meaning of
            NEPA.

         4. In general, pursuant to NEPA, determining whether an impact is significant
            requires consideration of both context (i.e., society as a whole, the affected
            region, the affected interests, and the locality) and intensity (i.e., the severity of
            the impact) (see 40 CFR §1508.27(a)-(b)). The impacts of a proposed action on
            minority populations and low-income populations should inform the
            determination of whether impacts are significant.

        5. An assessment of an impact’s significance to the general population without
           consideration of the impact to minority populations and low-income populations
           in the affected environment may not be adequate. An agency’s consideration of
           impacts to minority populations and low-income populations helps ensure that
           significant impacts are identified.

        6. Executive Order 12898 instructs agencies to determine whether impacts are
           disproportionately high and adverse to minority populations and low-income
           populations but EO 12898 does not address significance. Agencies may choose
           to consider determining whether an impact is significant prior to analyzing
           whether the impact is disproportionately high and adverse, since significance
           may be a factor for consideration in an agency’s disproportionately high and
           adverse determination. 14 To the extent agencies seek additional guidance on
           how to analyze significance. Refer to CEQ NEPA regulation on significance at 40
           CFR §1508.27. (See also section 7.1-2)

         7. Determining whether an impact is significant to minority populations and low-
            income populations in the affected environment involves focusing the analysis
            on aspects of context and intensity most relevant to the impacted community. In
            general, this entails focusing on various factors related to an impact’s severity

         14 See Appendix A, “Text of Executive Order 12898, ‘Federal Actions to Address Environmental Justice in Minority

        Populations and Low-Income Populations,’ Annotated with Proposed Guidance on Terms in the Executive Order,”
        which is attached to CEQ’s Environmental Justice Guidance Under the National Environmental Policy Act (1997)

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         VIII. DISPROPORTIONATELY                         HIGH        AND        ADVERSE




                                                                                                   38
               IMPACTS
         Guiding Principles
         Agencies can be informed by consideration of the following guiding principles:
         1. As informed by CEQ’s Environmental Justice Guidance Under the National
            Environmental Policy Act (1997), the identification of a disproportionately high
            and adverse impact on minority and low income populations does not preclude
            a proposed agency action from going forward, nor does it necessarily compel
            a conclusion that a proposed action is environmentally unsatisfactory. If an
            agency determines there is a disproportionately high and adverse impact to
            minority populations and low-income populations, an agency may wish to
            consider heightening its focus on meaningful public engagement regarding
            community preferences, considering an appropriate range of alternatives
            (including alternative sites), and mitigation and monitoring measures.

         2. ‘Context’ and ‘intensity’, evaluated during the consideration of an impact’s
            significance (See 40 CFR §1508.27) may be factors that can (as appropriate)
            inform an agency’s determination whether an impact is disproportionately high
            and adverse (See Executive Order 12898).

         3. ‘Significance’ may, as appropriate, be a factor in determining if an impact is
            disproportionately high and adverse. (See Appendix A, Text of Executive Order
            12898, Federal Actions to Address Environmental Justice in Minority Populations
            and Low-Income Populations, Annotated with Proposed Guidance on Terms”
            which is attached to CEQ’s Environmental Justice Guidance Under the National
            Environmental Policy Act (1997) ). In some circumstances, an agency may
            determine that impacts are disproportionately high and adverse, but not
            significant within the meaning of NEPA. In other circumstances, an agency may
            determine that an impact is both disproportionately high and adverse and
            significant within the meaning of NEPA. A finding of no significant impacts to the
            general population is insufficient (on its own) to base a determination that there
            are no disproportionately high and adverse impacts to minority populations and
            low-income populations.

         4. Disproportionately high and adverse impacts are typically determined based
            on the impacts in one or more resource topics analyzed in NEPA documents.
            Any identified impact to human health or the environment (e.g., impacts on
            noise, biota, air quality, traffic/congestion, land use) that potentially affects



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            minority populations and low-income populations in the affected environment




                                                                                                  39
            might result in disproportionately high and adverse impacts.

         5. Agencies may wish to integrate the analysis of the potential for
            disproportionately high and adverse impacts to minority populations and low-
            income populations into the NEPA process. The basic principles and practices
            of analysis applicable to all resource topics analyzed in the NEPA document (air
            emissions, water, biota, human health, noise, etc.) apply to the analysis of
            disproportionately high and adverse impacts as well.

        6. Agencies may wish to consider factors that can amplify identified impacts (e.g.,
           the unique exposure pathways, prior exposures, social determinants of health) to
           ensure a comprehensive review of potential disproportionately high and adverse
           impacts to minority populations and low-income populations.

        7. Agencies may wish to recognize that in instances where an impact from the
           proposed action initially appears to be identical to both the affected general
           population and the affected minority populations and low-income populations,
           there may be inter-related ecological, aesthetic, historic, cultural, economic,
           social, or health factors that amplify the impact (e.g., unique exposure
           pathways, social determinants of health, community cohesion).             After
           consideration of factors that can amplify an impact to minority populations and
           low-income populations in the affected environment, an agency may determine
           the impact to be disproportionately high and adverse.

        8. Agencies’ approaches should not determine that a proposed action or
           alternative would not have a disproportionately high and adverse impact on
           minority populations and low-income populations solely because the potential
           impacts of the proposed action or alternative on the general population would
           be less than significant (as defined by NEPA). Agencies may wish to consider
           unique vulnerabilities, special exposure pathways, and cultural practices
           associated with minority populations and low-income populations in the
           affected environment.

        9. The disproportionately high and adverse impacts determination can help
           inform how an agency develops and/or selects alternative(s) and mitigation
           measures to avoid, minimize, rectify, reduce, or compensate for adverse
           impacts.

        10. Agencies may wish to consider the distribution of beneficial and adverse
            impacts between minority populations and low-income populations in the



                               PROMISING PRACTICES FOR EJ METHODOLOGIES IN NEPA REVIEWS | February 2016
                                                                                    JA489
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 Federal Energy Regulatory Commission
 Secretary of the Commission, Kimberly D. Bose
 888 First St, NE, Washington, DC 20426

 October 19, 2022

 Re: Public Comments for Rio Grande / Texas LNG (Docket No. CP16-454-000, CP16-454-003,
 CP16-455-000, CP16-455-002 , CP16-116-000, and CP16-116-002)

 To the Federal Energy Regulatory Commission (FERC),

 The Sierra Club submits the following 249 signatures on behalf of our members and supporters
 with the following message language:

 Dear Commisioners,

 The FERC is currently re-reviewing the climate and environmental justice impacts of the Rio
 Grande LNG and Texas LNG facilities that would destroy vital wildlife habitat for the
 endangered ocelot and pollute marginalized people of color and Indigenous communities. I
 support communities in South Texas that would feel the negative impacts of the dirty,
 dangerous gas plants, and I oppose Rio Grande LNG and Texas LNG.. In South Texas, South
 Padre Island, Port Isabel, Laguna Vista, and Long Island Village have all passed resolutions
 against LNG because they don?t want to live next to polluting LNG facilities. If Rio Grande LNG
 and Texas LNG were built, they would release toxic pollution that causes cancer, like volatile
 organic compounds (VOCs) and dangerous particulate matter, which makes respiratory illnesses
 worse in these South Texas communities that don't have easy access to medical care. The
 Carrizo Comecrudo Tribe of Texas has never been formally consulted by these LNG companies
 or FERC, even though building and running gas plants would disturb their sacred sites. The FERC
 needs to host public meetings in a town hall format with Spanish language interpretation and
 translate all permit documents into Spanish so the community can ask questions and receive
 information about the LNG projects. The FERC must also consider how this LNG terminal would
 affect nearby communities and the climate when deciding whether or not to approve the
 application. If the application is denied, this LNG terminal will not be built. Thank you for
 considering my comment.


 Thank you for considering these comments.




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 45. Derinda Nilsson
 Utica, NY 13502



 46. Lisa Silguero
 San Antonio, TX 78259



 47. Shelley Cole
 Roseville, MI 48066



 48. Sharon LaLond
 Oro Valley, AZ 85704



 49. Denise Jones
 Conroe, TX 77305



 50. Ginger A Young
 Spring, TX, TX 77379



 51. Brenda Choi
 Las Vegas, NV 89122



 52. Sue Duncan
 Wellington, FL 33414



 53. Daniel Summers
 Kingwood, TX 77346




                                                                    JA491
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                                FEDERAL ENERGY REGULATORY COMMISSION
                                             WASHINGTON, D.C. 20426


         OFFICE OF ENERGY PROJECTS


                                                                      In Reply Refer To:
                                                                      OEP/DLNG/LNG2
                                                                      OEP/DG2E/Gas Branch 1
                                                                      Texas LNG Brownsville LLC
                                                                      Texas LNG Project
                                                                      Docket No. CP16-116-000

         October 28, 2022

         VIA Electronic Mail

         A. Gregory Junge
         Attorney for Texas LNG Brownsville LLC
         Hogan Lovells US LLP
         greg.junge@hoganlovells.com

         Re:    Environmental Information Request

         Dear Mr. Junge:

                The information described in the enclosures is required for the above-mentioned
         docket to address deficiencies noted in the U.S. Court of Appeals for the D.C. Circuit’s
         August 3, 2021 decision in Vecinos para el Bienetar de la Comunidad Costera v. FERC, 6
         F.4th 1321 (D.C. Cir. 2021), and for staff to conduct additional necessary analysis for the
         authorized LNG export terminal. Please file a complete response within 10 days of the
         date of this letter. If certain information cannot be provided within this time frame,
         please indicate which items will be delayed and provide a projected filing date.

                 File your response in accordance with the provisions of the Commission’s Rules
         of Practice and Procedure. In particular, 18 CFR 385.2005 requires all responses to be
         filed under oath by an authorized Texas LNG Brownsville LLC representative, and 18
         CFR 385.2010 (Rule 2010) requires service to each person whose name appears on the
         official service list for this proceeding.

                 Electronic filing is encouraged using the Commission’s eFiling system (see
         https://www.ferc.gov/ferc-online/overview). When filing documents and maps, prepare
         separate volumes as outlined on the Commission’s website at https://www.ferc.gov/ceii-
         filing-guide and https://www.ferc.gov/enforcement-legal/ceii/ferc-cui-processes for
         labelling controlled unclassified information (CUI). Critical Energy Infrastructure
         Information (CEII) (e.g., plot plans showing equipment or piping details) and privileged
         information (PRIV) (e.g., trade secret information; proprietary information) are




                                                                                         JA492
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         considered CUI. This information should be filed as non-public and labeled as:
         “CUI//CEII – DO NOT RELEASE” (18 CFR §388.113), “CUI//PRIV – DO NOT
         RELEASE” (18 CFR §388.112), and as otherwise appropriate with other statutes for
         labelling CUI (e.g., “CUI//CEII/SSI – DO NOT RELEASE” and in accordance with
         49 CFR §15.13 marking requirements). All CUI should be filed separately from the
         remaining information, which should be marked “Public.” For assistance with the
         Commission’s eFiling system, please contact FERC Online Support at
         FERCOnlineSupport@ferc.gov, (866) 208-3676 (toll free), or (202) 502-8659 (TTY).

                In addition, hardcopy deliveries to the Commission’s headquarters at 888 First
         Street NE, Washington, DC 20426 will only be accepted through the U.S. Postal Service.
         Hand-deliveries and submissions sent through carriers other than the U.S. Postal Service
         must be sent to 12225 Wilkins Avenue, Rockville, MD 20852 for security screening and
         processing (see 18 CFR § 385.2001).

               If you have any questions, please contact me at (202) 502-6265. Thank you for
         your cooperation.

                                                        Sincerely,



                                                        Kareem Monib
                                                        Gas Branch 1
                                                        Office of Energy Projects

         Enclosure 1 - Public




                                                    2

                                                                                       JA493
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                                                                                                            Enclosure 1

                                               Texas LNG Brownsville LLC
                                                   Texas LNG Project
                                                Docket No. CP16-116-000

                               ENVIRONMENTAL INFORMATION REQUEST


         1.      Provide the distance from the proposed facility to the farthest exceedance of the
                 Significant Impact Level (SIL) for each criteria pollutant.

         2.      Provide a discussion explaining why concentrations of pollutants during
                 maneuvering are in some cases less than during hoteling. For example, table 9-3-1
                 in your September 21, 2022 filing gives concentrations for several criteria
                 pollutants which are greater during hoteling than during maneuvering.

         3.      With reference to table 9-3-1, provide a discussion explaining why in many cases
                 the background inventory (3-INV)1 when added to the Texas LNG contribution
                 during hoteling or maneuvering is substantially less than 1-INV2 and 2-INV3
                 values.

         4.      Provide a discussion of each modeled exceedance of the National Ambient Air
                 Quality Standards (NAAQS) in table 9-3-1 and whether Texas LNG’s contribution
                 would exceed the SIL for that NAAQS exceedance. For example, in Census Tract
                 012304, Block Group 2, the predicted concentration of 1-hour nitrogen dioxide
                 during hoteling is 209.1 micrograms per cubic meter (μg/m3) which exceeds the
                 NAAQS of 188 μg/m3. The contribution of Texas LNG in this scenario is given as
                 135.9 μg/m3, which is above the interim SIL for 1-hour nitrogen dioxide of 7.5
                 μg/m3.




         1
          Scenario 3-INV: This scenario includes the full inventory of sources within 50 kilometers of TX LNG and ambient
         background concentrations, excluding Texas LNG and NextDecade Rio Grande.

         2
           This scenario includes modeled concentrations including ambient background that are contributed by the full
         inventory of sources within 50 kilometers of Texas LNG, in addition to modeled concentrations that are
         contributed by the Texas LNG terminal during hoteling.
         3
           This scenario includes modeled concentrations including ambient background that are contributed by the full
         inventory of sources within 50 kilometers of Texas LNG, in addition to modeled concentrations that are
         contributed by the Texas LNG terminal during maneuvering.


                                                                 1

                                                                                                             JA494
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   Document Content(s)
   CP16 116 Texas LNG DR Oct 2022.pdf........................................1




                                                                  JA495
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                                                                             TEXAS LNG BROWNSVILLE LLC
                                                                       2800 NORTH LOOP WEST, SUITE 910
                                                                                     HOUSTON, TX 77092
                                                                                                   USA




 November 7, 2022


 Kimberly D. Bose
 Office of the Secretary
 Federal Energy Regulatory Commission
 888 First Street, N.E.
 Washington, DC 20426

 Re:       Texas LNG Brownsville LLC, FERC Docket No. CP16-116-000
           Texas LNG Project
           Response to October 28, 2022 Environmental Information Request


 Dear Ms. Bose,

          On November 22, 2019, the Federal Energy Regulatory Commission (“Commission” or
 “FERC”) authorized Texas LNG Brownsville LLC (“Texas LNG”) to construct and operate
 facilities for the liquefaction and export of domestically produced natural gas at a liquefied natural
 gas (“LNG”) terminal on the north side of the Brownsville Ship Channel in Cameron County,
 Texas (“Texas LNG Project”).1

      Commission Staff issued a supplemental Environmental Information Request to Texas
 LNG on October 28, 2022 (“October 28 Data Request”). Texas LNG hereby responds to
 Commission Staff’s October 28 data requests.

        As part of this response Texas LNG updated its Air Dispersion Modeling and Air Quality
 Impact Analysis. Due to the size and file format of the modeling files, Texas LNG has provided
 the modeling archive associated with the air emissions modeling analysis to FERC on a portable
 hardrive under separate cover. These files include:

          README text file describing modeling archive contents;
          AERMOD input and output files; and
          Plot Files.




 1
   Tex LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019), order on reh’g and stay, 170 FERC ¶ 61,139 (2020),
 remanded without vacatur, Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321 (D.C. Cir.
 2021).




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                        FEDERAL ENERGY REGULATORY COMMISSION
                                    WASHINGTON, D.C. 20426



  OFFICE OF ENERGY PROJECTS                                  In Reply Refer To:
                                                             OEP/DG2E/Gas 1
                                                             Texas LNG Brownsville LLC
                                                             Texas LNG Project
                                                             Docket No. CP16-116-000
                                                             § 375.308(x)

 January 6, 2023

 VIA FERC Service

 Pawandeep Singh
 Vice President
 Texas LNG Brownsville LLC
 2800 North Loop West, Suite 910
 Houston, TX 77092

 Re: Environmental Information Request

 Dear Mr. Singh:

       The information described in the enclosure is requested for the above-mentioned
 docket to address deficiencies noted in the U.S. Court of Appeals for the D.C. Circuit’s
 August 3, 2021 decision in Vecinos para el Bienestar de la Comunidad Costera v.
 FERC, 6 F.4th 1321 (D.C. Cir. 2021). Please file a complete response within 15
 days of the date of this letter. If certain information cannot be provided within this
 time frame, please indicate which items will be delayed and provide a projected filing
 date.

        File your response in accordance with the provisions of the Commission’s Rules
 of Practice and Procedure. In particular, 18 CFR 385.2005 requires all responses be
 filed under oath by an authorized Texas LNG Brownsville LLC representative, and 18
 CFR 384.2010 requires service to each person whose name appears on the official
 service list for this proceeding.

         Electronic filing is encouraged using the Commission’s eFiling system (see
 https://ferconline.ferc.gov/eFiling.aspx). Be sure to prepare separate volumes, as outlined
 on the Commission’s website at https://www.ferc.gov/sites/default/files/2020-04/CEII-
 Filing-guidelines.pdf, and label all controlled unclassified information (CUI) as described



                                                                                 JA497
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                                       Texas LNG Project (Project)
                                         Docket No. CP16-116-000
                          Environmental Information Request dated January 6, 2022


        1.      On May 2, 2022, Texas LNG provided modeling results showing that the Texas LNG
        terminal would not be culpable for any National Ambient Air Quality Standards (NAAQS)
        exceedances. We note that on November 1, 2022, Rio Grande LNG, LLC (Rio Grande LNG)
        provided updated emissions values for its project.2 In order for FERC staff to complete its
        analysis of the emissions from both Texas LNG and Rio Grande LNG as accurately as possible,
        including cumulatively, please provide an updated analysis that includes maximum emissions
        scenarios from the Rio Grande LNG Terminal [Docket No. CP16-454- 000]. Specifically,
        provide an updated refined air quality model for the Texas LNG Terminal that demonstrates
        whether Texas LNG’s emissions of criteria pollutants from the Texas LNG Terminal and mobile
        sources result in any exceedance of the NAAQS, or state standards. Provide a detailed
        narrative to describe the modeling protocols and methodology used to determine the
        predicted and background concentration values. Ensure that all emissions from the Texas
        LNG Terminal are reflected in the air quality model inputs and provide all source input
        parameters (emission rate, stack height, stack temperature, exit velocity, etc.), and justify the
        bases for any assumptions. Include mobile ship emissions (LNG carrier, tugs, escort vessels) for
        the air quality model for the moored safety zone. The model should include relevant regional
        monitoring ambient background data and existing and proposed regional industrial major sources
        within 50 kilometers of the fence line of the Texas LNG Terminal (include the Rio Grande LNG
        Terminal [Docket No. CP16-454-000] and associated vessel emissions).

         PLEASE NOTE: FERC Staff is issuing a similar request to Rio Grande LNG, and we strongly
         encourage Texas LNG and Rio Grande LNG to share emissions values and modeling parameters
         to obtain accurate and consistent results; this will greatly assist FERC staff in interpreting the
        modeled emissions from each project separately as well as cumulatively.

         Response 1

            Consistent with FERC Staff’s strong encouragement for Texas LNG and Rio Grande LNG to
            share emissions values and modeling parameters, Texas LNG acquired the modeled source
            parameters and emission rates for the Rio Grande LNG Terminal and associated vessel
            emissions from Rio Grande LNG (Docket No. CP16-454-000). Texas LNG has also acquired
            the background inventory used by Rio Grande LNG Terminal. Rio Grande LNG and Texas
            LNG’s background inventory was compiled in a similar manner to identify background sources
            out to 50 kilometers from the project site. The background inventory data were obtained from
            Texas Commission for Environmental Quality (TCEQ). Texas LNG took steps to fill in
            missing data in the TCEQ data using established TCEQ guidelines, similar to Rio Grande
            LNG. Rio Grande LNG took additional steps to condition the raw TCEQ inventory data using
            standard and well-accepted methods to reflect real world conditions better, as outlined below.
            As noted below, Texas LNG has adopted the background inventory sources used by Rio
            Grande LNG, with an additional refinement of the PM2.5 background monitor value in this




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            response to FERC to more accurately reflect the actual circumstances of the background
            emissions concentrations.

            Rio Grande LNG TCEQ Inventory Data Conditioning

               Consistent with guidance from the Environmental Protection Agency (EPA), short-term
               NOX and SO2 emissions for sources that operate intermittently (e.g., emergency generators,
               fire water pump engines, flares) were scaled by the annual hours of operation to calculate
               an average hourly rate rather than a maximum hourly rate. This methodology is consistent
               with guidance recommended in the USEPA guidance memo Additional Clarification
               Regarding Application of Appendix W Modeling Guidance for the 1-hour NO2 National
               Ambient Air Quality Standard2 and referenced in Appendix S of the TCEQ modeling
               guidance. Hourly PM10 and PM2.5 emissions for emergency engines were scaled by 1/24 to
               calculate the average hourly rate to simulate testing and/or maintenance occurring for one
               hour in any given day.

               Further site-specific refinements were made to the following inventory sources:

                  Transmontaigne Operating Company – Southwest Terminal. At the Transmontaigne
                   Operating Company – Southwest Terminal, no source parameters were provided in the
                   IRD inventory for the vapor combustion unit (inventory ID: 550779). The source
                   parameters were updated using parameters from a thermal oxidizer (ID: 550719) at
                   the same facility.

                  Chapa Quiroga, LLC – San Benito Grain Elevator. The IRD inventory did not provide
                   source parameters for two combustion sources (IDs: 400083 and 400087) at the Chapa
                   Quiroga, LLC – San Benito Grain Elevator facility. Based on industry experience and
                   inspection of Google earth aerial photos and Streetview, the following stack
                   parameters were assigned to the two sources:

                     • Stack height = 30.48 m
                     • Exhaust Temperature = 422.04 K
                     • Exit Velocity = 9.14 m/s
                     • Stack Diameter = 0.61 m

                  Gavilon Grain Harlingen. No source data was provided in the IRD inventory for all
                   sources at Gavilon Grain Harlingen. Based on industry experience and inspection of
                   Google Earth aerial photos and Streetview, it was concluded that the emissions from
                   this facility are emitted from dust collectors or baghouses. Therefore, the following
                   stack parameters were assigned to all Gavilon sources:

                      • Stack Height = 36.58 m
                      • Exhaust Temperature = Ambient + 30 degrees (represented as -30 in the model
                      file)

         2 https://www.epa.gov/sites/default/files/2015-07/documents/appwno2_2.pdf




                                                                                             JA499
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                       • Exit Velocity = 9.14 m/s
                       • Stack Diameter = 0.61 m

                   Keppel Amfels. Based on review of modeling files from a 1988 permit application, one
                    of the fugitive sources at The Keppel Amfels facility (ID: 518641) was limited to 8 hours
                    per day of operation, specifically from 9 AM until 5 PM. The model keywords
                    EMISFACT and HROFDY were used in the PM10 and PM2.5 model runs to limit the
                    hours of operation for this emission unit.

                   City of Harlingen Landfill. In the IRD inventory, the incinerator at the City of
                    Harlingen Landfill (ID: 480142) was missing two source parameters; the exhaust
                    temperature and the exit velocity. The missing parameters were filled using another
                    incinerator in the IRD inventory located at Lopez Enterprises (ID: 29423).

                   The New Fuels Inc. Xanol Production Facility. The Xanol Production Facility (ID:
                    3617) was permitted in 1981. However, the facility was never built, and the company
                    was disbanded in 1993. Therefore, this emission unit was removed from the inventory.


            The steps taken by Rio Grande LNG to condition the TCEQ inventory data are an appropriate
            step to prevent the background inventory sources from overstating air quality impacts based
            on unrealistic operations of these background inventory sources. For example, removing
            emissions associated in the TCEQ inventory data with the Xanol Production Facility that was
            never built and therefore has no emissions improves the accuracy of TCEQ’s data. The
            additional research conducted by Rio Grande LNG for the above inventory sources better
            reflects the actual circumstances of those sources than the unconditioned data set.
            Additionally, and in accordance with the EPA’s 2022 Guidance for Ozone and Fine Particulate
            Matter Permit Modeling,3 ERM refined the ambient background concentrations for 24-hour
            PM2.5 by applying a 3-year average of the seasonal 24-hour PM2.5 monitor values (as shown in
            Table 9-4) rather than the less accurate 3-year average design background monitor value. This
            refinement better reflects the actual circumstances of the background concentrations of PM2.5.
            Therefore, Texas LNG has adopted the background inventory sources used by Rio Grande
            LNG, with an additional refinement of the PM2.5 background monitor value in this response to
            FERC.

            Accordingly, this filing provides an updated set of modeling results (summarized below in
            Tables 9-5 through Table 9-6), which summarize the results of the cumulative air quality
            modeling analysis that includes sources from Texas LNG, Rio Grande LNG, background
            sources within 50 kilometers, and background monitor data.

            This filing also includes as Attachment 1 an updated Table 9-3-1 and Table 9-3-2. These tables
            present the maximum modeled design concentrations for each census block group within 50
            kilometers of the Project. Additionally, figures that present modeled concentration isopleths
            are provided in Attachment 2. These figures present the full range of concentrations for all

         3 https://www.epa.gov/system/files/documents/2022-07/Guidance_for_O3_PM25_Permit_Modeling.pdf




                                                                                                JA500
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           criteria pollutants for two scenarios: the stationary sources with marine sources hoteling, and
           stationary sources with marine sources maneuvering/transiting.

           With regard to FERC Staff’s request to provide detailed modeling protocol and methodology,
           Texas LNG previously filed this information with FERC as follows:

                 With the exception of modeling Rio Grande LNG, LLC, Texas LNG provided the
                  requested information in response to the Commission’s February 3, 2022
                  Environmental Information Request (FERC Accession # 20220203-3050).
                 Texas LNG excluded Rio Grande LNG LLC from the modeling updates at the
                  Commission’s request in Texas LNG’s response (FERC Accession # 20220502-5075,
                  filed on 4/29/2022). Texas LNG satisfied that EIR in that response, including a
                  description of each update made to the modeling report previously filed with FERC
                  (Document Accession # 20170928-5165 filed on 9/28/2017) titled, Air Dispersion
                  Modeling and Air Quality Impact Analysis, Texas LNG Project, Cameron County, Port
                  of Brownsville, Texas, FERC Docket CP16-116, September 2017. Note that Table 9-
                  3-1 in this filing was later revised and re-submitted to FERC, see FERC Accession #
                  20221107-5114. Also note that Table 9-4 in this filing was later revised and re-
                  submitted to FERC, see FERC Accession # 20220915-5265.


        Response by: Pawandeep Singh, Vice President
                     Texas LNG Brownsville LLC
                     443-771-5990




                                                                                              JA501
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         2.     Using the model developed in response to question 1 above, evaluate the maximum
         contribution of the Texas LNG Terminal to any modeled NAAQS exceedance using the
         MAXDCONT option in AERMOD.

         Response 2

            The modeling results presented in this revision are shown for two scenarios (originally, the
            results presented in Table 9-4 were for the highest of the two scenarios):

                   stationary sources with marine sources hoteling; and
                   stationary sources with marine sources maneuvering/transiting

            The modeling results for the hoteling scenario and maneuvering scenario are presented in Table
            9-5 and Table 9-6, respectively. Further analysis was not performed because no modeled
            exceedances were identified in the analysis.

         Response by: Pawandeep Singh, Vice President
                      Texas LNG Brownsville LLC
                      443-771-5990




                                                                                              JA502
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                                                    Table 9-4
                          Seasonal 98th Percentile PM2.5 24-hour Ambient Background
                            Concentration in Brownsville (Monitor ID 48-061-0006)

                             Year         Winter      Spring    Summer        Fall
                             2018          20.30      21.90       26.10      16.60
                             2019          24.00      25.10       22.60      24.30
                             2020          22.50      34.00       30.30      28.00
                         3-Year Average    22.27      27.00       26.33      22.97




                                                                                         JA503
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                                                                                               Table 9-5
                                                                     Results of the Cumulative Impact Analysis – Hoteling Scenario



                                                                                  Coordinates of Maximum Impact                           Distance of
                                      Highest Predicted          Ambient                                                                                                                     Maximum
                                                                                                                         Direction of     Max Impact
                                     Concentration (Max         Background                                                                                   NAAQS            Over           TX LNG
        Pollutant    Ave Period                                                                                          Max Impact        from TX
                                          Impact)                Values (1)                                                                                                  NAAQS?          Impact (5)
                                                                                                                                             LNG
                                                                                                                                                                                                   USCA Case #23-1175




                                                                                                                        from TX LNG
                                                                                    Easting (X)       Northing (Y)

                                            (µg/m3)                (µg/m3)              (m)                (m)                                (km)           (µg/m3)                          (µg/m3)
                       1-hour              6,867.45               3,778.50           673,368.13        2,877,693.75           SW              5.40           40,000             No             951.23
          CO
                       8-hour              4,545.67               2,175.50           673,368.13        2,877,693.75           SW              5.40           10,000             No             120.37
                                                                     (2)
                       1-hour               147.78                                   677,313.96        2,881,360.45           SE              0.38             188              No             124.55
          NO2
                       Annual                9.60                   4.72             677,181.70        2,881,130.04            S              0.53             100              No              4.79
          PM10         24-hour              112.99                  69.67            664,218.13        2,873,193.75           SW              15.36            150              No              4.04
                     24-hour (3)                                     (2)
                                             32.29                                   636,718.13        2,897,943.75          NW               43.50             35              No              3.33
         PM2 5
                      Annual (4)             11.75                  10.13            663,768.13        2,873,193.75           SW              15.74             12              No              0.17
                                                                                                                                                                                                   Document #2045210




                       1-hour               140.96                  14.85            651,718.13        2,878,943.75           W               25.48            196              No              10.80
                       3-hour                96.41                  5.24             651,718.13        2,878,943.75           W               25.48           1,300             No              53.37
          SO2
                       24-hour               21.34                  3.14             651,718.13        2,878,943.75           W               25.48            365              No              6.85
                       Annual                5.19                   1.36             673,068.13        2,877,993.75           SW              5.40              80              No              0.92
   Notes:
   (1) Ambient background values are included in the Highest Predicted Concentration (Maximum Impact) values.
   (2) Seasonal/diurnal background data were developed for use in the 1-hour NO2 modeling analysis; seasonal background data were developed for use in the 24-hour PM25 modeling analysis. Table 9-4
   summarizes the PM2 5 seasonal background concentrations that were developed based on the three-year average of seasonal 98th percentile 24-hr monitor values.
   (3) Secondary 24-hour PM2 5 impact of 0.2617 µg/m3 added to the Maximum Impact and Texas LNG Impact.
                                                                                                                                                                                                   Filed: 03/15/2024




   (4) Secondary annual PM2 5 impact of 0.0077 µg/m3 added to the Maximum Impact and Texas LNG Impact.
   (5) Maximum Texas LNG contribution that could occur anywhere or anytime on the grid. The Texas LNG impact is not paired in time or space with the peak concentration.




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                                                                                        Table 9-6
                                                      Results of the Cumulative Impact Analysis - Maneuvering and Transit Scenario



                                                                               Coordinates of Maximum                         Distance
                                           Highest                                                            Direction of
                                                              Ambient                  Impact                                  of Max                                    Maximum
                                          Predicted                                                              Max
                                                             Background                                                        Impact        NAAQS          Over         TX LNG
                                                                                                                                                                                      USCA Case #23-1175




          Pollutant    Ave Period       Concentration                                                           Impact
                                                              Values (1)                                                      from TX                      NAAQS?        Impact (5)
                                        (Max Impact)                                                           from TX
                                                                              Easting (X)     Northing (Y)                      LNG
                                                                                                                 LNG
                                           (µg/m3)             (µg/m3)            (m)             (m)                            (km)        (µg/m3)                       (µg/m3)
                          1-hour           6,867.45            3,778.50        673,368.13     2,877,693.75        SW             5.40         40,000          No           973.34
             CO
                          8-hour           4,545.67            2,175.50        673,368.13     2,877,693.75        SW             5.40         10,000          No           113.16
                                                                  (2)
                          1-hour            141.54                             637,718.13     2,899,943.75        NW            43.38          188            No            81.86
            NO2
                         Annual              8.06                4.72          655,668.13     2,870,043.75        SW            24.33          100            No             1.87
            PM10         24-hour            112.98              69.67          664,218.13     2,873,193.75        SW            15.36          150            No             1.76
                        24-hour (3)                               (2)
                                            32.29                              636,718.13     2,897,943.75        NW            43.50           35            No             1.46
                                                                                                                                                                                      Document #2045210




           PM2 5
                        Annual (4)          11.75               10.13          663,768.13     2,873,193.75        SW            15.74           12            No             0.10
                          1-hour            140.96              14.85          651,718.13     2,878,943.75         W            25.48          196            No            10.80
                          3-hour            96.41                5.24          651,718.13     2,878,943.75         W            25.48         1,300           No            53.37
            SO2
                         24-hour            21.34                3.14          651,718.13     2,878,943.75         W            25.48          365            No             6.84
                         Annual              5.19                1.36          673,068.13     2,877,993.75        SW             5.40           80            No             0.92
         Notes:
         (1) Ambient background values are included in the Highest Predicted Concentration (Maximum Impact) values.
         (2) Seasonal/diurnal background data were developed for use in the 1-hour NO2 modeling analysis; seasonal background data were developed for use in the 24-hour PM2 5
         modeling analysis. Table 9-4 summarizes the PM2 5 seasonal background concentrations that were developed based on the three-year average of seasonal 98th percentile 24-hr
         monitor values.
                                                                                                                                                                                      Filed: 03/15/2024




         (3) Secondary 24-hour PM2 5 impact of 0.2617 µg/m3 added to the Maximum Impact and Texas LNG Impact.
         (4) Secondary annual PM2 5 impact of 0.0077 µg/m3 added to the Maximum Impact and Texas LNG Impact.
         (5) Maximum Texas LNG contribution that could occur anywhere or anytime on the grid. The Texas LNG impact is not paired in time or space with the peak concentration.




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                                                                         Filed: 03/15/2024     Page 515 ofLLC
                                                                                                           562
                                                                               2800 NORTH LOOP WEST, SUITE 910
                                                                                            HOUSTON, TX 77092
                                                                                                           USA

         February 22, 2023


         Kimberly D. Bose
         Office of the Secretary
         Federal Energy Regulatory Commission
         888 First Street, N.E.
         Washington, DC 20426

         Re:     Texas LNG Brownsville LLC, FERC Docket No. CP16-116-000
                 Texas LNG Project
                 Response to February 7, 2023 Request for Additional Information


         Dear Ms. Bose,

                 On November 22, 2019, the Federal Energy Regulatory Commission (“Commission” or
        “FERC”) authorized Texas LNG Brownsville LLC (“Texas LNG”) to construct and operate
        facilities for the liquefaction and export of domestically produced natural gas at a liquefied natural
        gas (“LNG”) terminal on the north side of the Brownsville Ship Channel in Cameron County,
        Texas (“Texas LNG Project”).1

                On February 7, 2023, Texas LNG received an informal request from Commission staff that
         Texas LNG update previously filed information with more recent census block data. Texas LNG
         hereby submits the enclosed material to respond to the Commission Staff’s February 7, 2023,
         informal request for additional information.

               If you have any questions, please do not hesitate to contact                                 me    at
         pawandeep.singh@aldermidcompanies.com or 443-771-5990 (Direct Phone).

                                                          Sincerely,

                                                          /s/ Pawandeep Singh

                                                          Pawandeep Singh
                                                          Vice President
                                                          Texas LNG Brownsville LLC

         Enclosures

         cc:     Kareem Monib, FERC
                 Robin Griffin, FERC
         1
           Texas LNG Brownsville LLC, 169 FERC ¶ 61,130 (2019), order on reh’g and stay, 170 FERC ¶ 61,139 (2020),
         remanded without vacatur, Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321 (D.C. Cir.
         2021).



                                                              1
                                                                                                       JA506
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          Tristan Brown                                    Willie Phillips
          Deputy Administrator                             Chairman,
          Pipeline and Hazardous Materials Safety          Federal Energy Regulatory Commision
          Administration                                   888 First St NE
          U.S. Department of Transportation                Washington, DC 20426
          1200 New Jersey Avenue, SE
          Washington, DC 20590


         CC:
         Commissioner James Danly
         Commissioner Allison Clements
         Commissioner Mark C. Christie

         March 17, 2023

         Dear Deputy Administrator Brown and Chairman Phillips,

         We, the undersigned, are residents of communities on the frontline of the extreme and
         overwhelming buildout of LNG export terminals in the region. All of us live, work, and recreate
         near existing or planned LNG sites and over the past few years we have been forced to grapple
         with the challenges of what that means for our families and communities. The purpose of this
         letter is to express solidarity with the people of Freeport who are very worried about the
         reopening of Freeport LNG and share with you a few of our needs moving forward.

         We have had a stiff learning curve. We’ve had to teach ourselves about “flaring,” research the
         carcinogenic effects of chemicals like “benzene,” and learn how the air pollutants and particulate
         matter in our environments cause respiratory illness and impact our reproductive health. Our
         fishermen and shrimpers have had to learn to navigate around massive LNG tankers and to find
         new places to harvest shrimp and oysters. We have kept our heads above water during
         unprecedented hurricanes and winter storms just to struggle with less tourism, a decrease in
         commercial and recreational fishing, and other environmentally-friendly industries that cannot
         exist along with the LNG export terminals. While we were promised that industry would be good
         for our local economies, we have learned that tax abatement programs mean no new money for
         our counties and parishes and that the industry hires most of its skilled labor from other parts of
         this nation. Households have learned that exporting gas to Asia and Europe means that our own
         energy prices go up, along with the cost of food and our other daily products. All of this new
         collective knowledge has led us to the conclusion that WE DO NOT WANT these LNG export
         terminals.

         After Freeport LNG exploded last June, we learned that we also need to worry about “vapor
         clouds”, “blast zones”, and “emergency management plans”. We learned that all of the claims
         that LNG is SAFE are wrong. It turns out that of the five LNG export terminals operating in the




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        Gulf, at least two (Freeport LNG and Sabine Pass LNG) have had major problems that could
        have been catastrophic for our communities. And when we ask about their safety and risk
        management plans, we are told that the information is either classified to protect national
        security or classified because the companies want to protect their business trade secrets. This
        is an un-American conspiracy. It makes no sense that these big industries and your government
        agencies put us at risk of major explosions and catastrophe, and then keep that information
        about these risks from us - including safety plans we could use to protect ourselves, our
        families, and our communities. We are indeed a “sacrifice zone” for greed and world energy
        policies that do not even take our own people into account.

        LNG export terminals were forced onto and forcibly marketed to our communities. And we want
        to reiterate that WE DO NOT WANT THEM and the risks that they pose to our children, our
        landscape, our rich culture, our way of life, and our future possibilities for diverse and
        self-sufficient economies. We will continue to speak out against the ones that have not yet been
        built and will continue to work to hold those that are operational accountable for their corporate
        sins. We will keep demanding that government agencies like FERC and PHMSA put our
        families’ wellbeing over oil and gas interests. We want to have OUR VOICE HEARD in how
        these LNG terminals are permitted and regulated, and we want for us and our loved ones to
        have access to information about what is happening in our backyards. We are at this point far
        too aware of all of the previous gas-related disasters, including the 2004 explosion at a gas
        liquefaction plant in Algeria that killed 27 people and the 2005 vapor cloud that exploded at the
        BP refinery that killed 15 people. No one should have to die for profit, and we feel every single
        one of those losses.

        Today, we, the undersigned, write in support of the good people and families of Brazoria County,
        Texas and their adamant opposition to FERC’s recent order to allow Freeport LNG to resume
        producing and shipping LNG. We share the concern that appropriate repairs have not been
        made to the facility and that the company has not done enough to ensure that they will not
        experience another catastrophic event. We echo the call of Brazoria County’s families for FERC
        and PHMSA to rescind the authorization letters allowing Freeport LNG to resume operation, and
        we further demand accountability in the form of protective measures, action plans, and
        investments in our public spaces and public health for putting us directly in harm's way.

        This is what we want from FERC and PHMSA.

        Inspections. We want to know what the inspection protocols and schedules are - and not just
        for Freeport reopening, but for all of the LNG terminals. We do not trust oil and gas companies
        to be honest and forthcoming in their self-inspections, and we demand that FERC and PHMSA
        do a better job inspecting them, holding them accountable, and informing us and our
        communities when any issues arise. We also want to have UNREDACTED access to inspection
        reports so that we can know about the issues that a facility is having before it has an explosion
        that kills and poisons people. IF your response is as it has been in the past that FERC and
        PHMSA do not have the resources to conduct regular, in-person inspections, then you should




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         just shut down the plants until you can get those resources. We are Americans too, and you are
         supposed to represent and fight for us like you would represent and fight for your own families.

         Anonymous Reporting. We have learned that for most industrial accidents in the U.S., workers
         flagged the problem before the accident occurred and the plant operators failed to take action.
         Often, these accidents occur as a direct result of continuously dangerous working cultures. The
         EPA Risk Management Program is considering adopting a rule creating an anonymous reporting
         mechanism, which gives plant workers a way to report issues directly to the agency, bypassing
         the company. This ensures that workers do not suffer retaliation for reporting problems and it
         gives regulatory agencies notice when problems arise, maximizing the response time. We want
         FERC and PHMSA to adopt anonymous reporting through accessible, convenient, and
         protective means so that workers can communicate issues as they arise. We also want FERC
         and PHMSA to follow up immediately, restricting operations at the facility if necessary - even if it
         means the company has to sacrifice short term profits. Again, if you cannot fund or staff this,
         then simply DO NOT PERMIT any additional facilities until you can. If an employee reports a
         potential problem and FERC and PHMSA deem it a possible threat, our communities have the
         right to know.

         Hazardous Materials. Our communities should know on a daily basis how much methane gas,
         LNG, refrigerants, and other hazardous materials are on site as well as when permit violations
         occur due to the release of these materials. This will help us know what we are being exposed
         to and when our risks are highest, so that we can plan potential safety measures.

         Transparency. We need and demand access to more information. Trade secrets are not more
         important than our lives, and it is corrupt and simply ethically abhorrent that Freeport LNG was
         allowed to redact so much of their accident report. We need and have a right to know what
         exactly happened and what these folks are doing to mitigate risks of their future explosions. We
         also need and have a right to access risk analyses of all LNG export terminals, both planned
         and currently operational. We need and have a right to know the “blast zones” for the plants and
         how companies will respond in case of emergency. We do not want to keep running into issues
         like they do in Cameron, LA, where they report that alarms go off all the time at Venture
         Global’s Calcasieu Pass LNG, but they do not even know what they mean. Companies like
         Venture Global should be proactively and consistently communicating with their local residents
         about these alarms, why they are constantly burning massive flares, and what risks the plant
         does actually pose across a variety of metrics to the communities they exist within.

         And national security is not a real reason to act sneaky and keep information from us. If these
         plants are such a threat to national security, simply do not build them, and certainly do not put
         them where people live.

         Additionally, the recent Freeport explosion demonstrates that mechanical failure and human
         error happen all of the time and are significant risks impacting frontline communities. It also
         shows that the existing emergency management plans are not sufficient and most likely will fail -




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         just like Freeport LNG’s plan did on June 8, 2022. We need something better and we need
         something NOW.

         Counties and Parishes in Texas and Louisiana are supposed to have local Emergency
         Management Committees. Sadly, those committees are largely populated by industry staff and
         supporters and local politicians that support industry. Residents do not feel like these are safe,
         productive spaces and have largely stayed away from them.

         Worker Safety. It is extremely lucky and by the grace of some sort of higher power that no one
         was killed by the Freeport explosion and fire. However, several people and even someone
         standing outside of the plant were injured. Our communities are deeply concerned about worker
         safety - not only for our friends and families working in the plants, but even for the workers that
         come from out of state. During the February 11, 2023 community meeting, our Freeport friends
         asked PHMSA officials how they are protecting workers. They told us that OSHA is the agency
         responsible for worker safety. However, when we looked into that, we found an OSHA Standard
         Interpretation that says, “OSHA’s PSM Standard, 29 CFR § 1910.119 does not apply to LNG
         facilities, including export facilities, subject to the U.S. Department of Transportation’s (DOT)
         pipeline safety regulation, 49 CFR Part 193. OSHA’s PSM Standard is preempted by DOT
         regulation, 49 CFR § 193 which address the same working conditions.”1

         Who is protecting our workers at these LNG plants? PHMSA? OSHA? What is being done to
         mitigate the risks of harm to our friends and family working in these LNG terminals?

         Evacuation Plans. Recognizing that LNG facilities pose a risk to our region, community
         members have the right to know what the evacuation plans are in case there is an explosion or
         emergency. The residents of Quintana Island were not evacuated, though the risk of an even
         larger blast was significant in the wake of the first. Venture Global is currently building
         Plaquemines LNG on the only road in and out of the Parish. If Plaquemines were to have an
         incident like Freeport, or worse, the few thousand people south of the facility would not even
         have one single escape route. This would be especially problematic if an explosion were
         coupled with a hurricane or other flooding event. FERC and PHMSA must require LNG export
         terminals to coordinate with other existing area agencies and boards to have effective
         evacuation plans that are well-coordinated with local emergency responders and which even
         protect the most vulnerable areas.

         These are just a few of our needs from FERC and PHMSA.

         We are grateful that PHMSA staff took the time to come to Freeport to meet with the families
         concerned about Freeport LNG. However, they are just one community of the many more who
         are worried for the safety and wellbeing of our families in proxy to the LNG buildout. We need
         more face-to-face meetings to talk about our concerns. Last fall, two FERC Commissioners and
         their staff visited Port Arthur, Texas and Lake Charles, Louisiana, as well as Plaquemines
         Parish, Louisiana. They met with community members and started a conversation about how
         1
             (https://www.osha.gov/laws-regs/standardinterpretations/2021-04-27)



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         these facilities impact families, and how they can partner with other federal and state agencies
         to keep people safe and healthy. We want more of this. And we want community voices
         reflected in agency decisions regarding these projects.
         We invite FERC and PHMSA officials and staff to join our conversation even more. Come learn
         about us like we have had to learn about you. Our communities are warm and loving, and while
         we cannot always promise you clean air or clean water, we will gladly get you a bowl of gumbo
         or plate of tacos and show you some hospitality. You cannot do your jobs well unless you get
         out of your DC offices and learn about the places and people impacted by your decisions.

         Jessi Parfait                                       Gwen Jones
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         Sierra Club                                         Better Brazoria

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         Texas Campaign for the Environment                  Sierra Club




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                            UNITED STATES OF AMERICA
                             DEPARTMENT OF ENERGY
                     FEDERAL ENERGY REGULATORY COMMISSION

 IN THE MATTER OF                             )
                                              )
 Texas LNG Brownsville LLC                    )      Docket No.      CP16-116-002


  Request for Rehearing of Vecinos para el Bienestar de la Comunidad Costera, Sierra Club,
                                     and City of Port Isabel
        Vecinos para el Beienestar de la Comunidad Costera, Sierra Club, and City of Port Isabel

 request rehearing of Texas LNG LLC, Order on Remand, 183 FERC ¶ 61,047, Dkt. Nos. CP16-

 116 (Apr. 21, 2023) (“Remand Order”).

        This order purports to respond to the remand issued in Vecinos para el Bienestar de la

 Comunidad Costera v. FERC, 6 F.4th 1321 (D.C. Cir. 2021) (Vecinos). Vecinos found, inter alia,

 that FERC had violated the National Environmental Policy Act (NEPA). In every other case the

 undersigned are aware of—including FERC’s handling of prior remands—after a court found an

 agency found to have violated NEPA, the agency responded by publishing new a NEPA analysis.

 But astonishingly, FERC has refused to do so here. This procedural shortcut itself renders FERC’s

 inaction invalid. Moreover, the information FERC does provide is incomplete, and demonstrates

 that rather than exercise its independent judgment, FERC has simply uncritically accepted the

 representations of the industry FERC is supposed to regulate.

        In his concurrence and in other statements regarding the project, Chairman Phillips notes

 that it has been two years since the D.C. Circuit decided Vecinos. Numerous others have filed

 comments with FERC complaining about how long the remand has taken. But NEPA does not

 allow agencies to skip procedural steps or approve a project without the required hard look simply

 because the agency, applicant, or others have gotten impatient. If anything, as Commissioner

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 Clements explained in her dissenting statement, FERC’s decision to skip legally required steps

 and analysis here will further postpone the project, if it takes litigation and a court order to compel

 FERC to do what FERC should have done, and should have known it needed to do, in the first

 place.

          The undersigned remain opposed to this project. If FERC had properly solicited and

 considered community input, and taken a hard look at the project, FERC would have seen that it

 is contrary to the public interest and should be denied. FERC cannot avoid the issue by skipping

 steps and failing to fully grapple with these adverse impacts.

          FERC should correct this error now, withdraw its approval, and refrain from making a

 final decision until FERC has provided the analysis and public participation opportunities the law

 requires.

                                        I.   Statement of Issues

          Pursuant to 18 C.F.R. § 385.713(c)(1), we offer the following concise statement of alleged
 errors. These errors are explained in greater detail below.
    1. FERC cannot refuse to consider issues purportedly outside the scope of the remand order

          or amendment request. FERC has prepared a completely new analysis of air pollution

          impacts, with changes regarding the sources, amounts, and impacts of air pollution.

          Members of the public must have the opportunity to comment on and dispute this new

          material. And beyond the new material FERC has already considered, FERC must also

          consider other significant new information bearing on the projects, in light of FERC’s

          ongoing control and authority to act on that information. 40 C.F.R. § 1502.9(d).




    2. FERC’s analysis of air pollution impacts on environmental justice communities is

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       arbitrary.

           a. FERC failed to explain, or even acknowledge, substantial changes to the estimates

               of project air emissions. NEPA requires such explanation. Moreover, FERC’s

               failure to explain these changes indicates that FERC has uncritically accepted the

               applicant’s submissions without exercising FERC’s own independent judgment.



           b. In discussing PM2.5 pollution, FERC ignored data from the air monitor closes to

               the terminal site. This monitor, at Isla Blanca, reports higher baseline values of

               PM2.5. Using these baseline values indicates that the project is likely to cause or

               contribute to NAAQS exceedances.



           c. In discussing ozone, FERC fails to provide, cite to, or otherwise incorporate an

               actual analysis. FERC merely cites the applicants’ statement that an ozone analysis

               was performed, without providing the analysis or explaining where it could be

               found. Moreover, FERC indicates that the ozone analysis here updates that

               performed in the FEIS, without recognizing that the FEIS’s ozone analysis was

               incomplete, as FERC recognized in the prior rehearing order.



           d. Insofar as FERC relied on the claim that project contributions to pollution would

               be below significant impact levels, it is unclear whether FERC included all

               foreseeable sources of pollution attributable to the projects, rather than merely

               considering pollution from stationary sources regulated by the Clean Air Act.



           e. FERC improperly determined that impacts to environmental justice communities

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              will be less than significant based on its conclusion that the NAAQS would not be

              exceeded. FERC must consider the possibility of significant or harmful impacts at

              air pollution levels below the NAAQS, especially as a result of cumulative

              exposure to multiple pollutants. Calvert Cliffs’ Coordinating Comm., Inc. v. U.S.

              Atomic Energy Comm’n, 449 F.2d 1109, 1123 (D.C. Cir. 1971).



           f. Rather than merely identify the proportion of low income and minority

              communities within 50 kilometers of the project, FERC was required to identify

              which communities would actually experience impacts as a result of the project,

              and address whether the communities that would actually be harmed were

              disproportionately environmental justice communities.



           g. Where FERC acknowledges the potential for significant impacts, FERC cannot

              conclude that mitigation will avoid those impacts, where no actual mitigation plan

              has been developed, and where FERC has not even demonstrated that mitigation

              would be possible.




           h. FERC could not cure the NEPA deficiencies identified in Vecinos without

              publishing a new NEPA document, and providing the public with the opportunity

              to comment thereon. FERC failed to publish its updated environmental justice

              analysis in a supplemental EIS or other NEPA document. FERC’s failure to do so

              had several adverse consequences. FERC’s decision effectively limited public

              participation, including participation by the newly identified environmental justice

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               communities that may be impacted by the Project. This is exacerbated by FERC’s

               refusal to provide any written materials in Spanish, despite the prevalence of

               Spanish speakers in the project area. Additionally, FERC’s updated analysis

               contradicts its previous environmental justice analysis. Ultimately, FERC’s failure

               to comply with NEPA in response to the Vecinos remand is unlawful.



    3. FERC’s analysis of the impacts of the Project’s greenhouse gas emissions is arbitrary.

           a. FERC’s conclusion that the it cannot evaluate the significance of greenhouse gas

               emissions was arbitrary and unsupported by evidence. The Natural Gas Act and

               NEPA require FERC to consider greenhouse gas emissions in FERC’s public

               interest analysis and to determine whether greenhouse gas emissions are

               significant. Sierra Club v. FERC, 867 F.3d 1357 (D.C. Cir. 2017) (“Sabal Trail”).

               Here, FERC’s claim that it lacked any viable method for doing so was arbitrary,

               where FERC does not dispute that the social cost of carbon is generally accepted in

               the scientific community, and where FERC’s criticisms of that tool are

               unsupported. Vecinos, 6 F.4th 1321. In the alternative, FERC’s refusal to apply its

               own interim climate guidance, or to otherwise make an ad hoc determination, was

               also arbitrary.



    4. FERC arbitrarily failed to supplement its EIS based on new information concerning

       SpaceX.

           a. On the same day FERC issued the Remand Order, SpaceX performed a test launch

               of the Starship Superheavy Rocket. While FERC previously assessed impacts from



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                  launches of smaller rockets, FERC did not assess impacts from this kind of rocket.

                  The Superheavy’s radius and magnitude of impacts was far outside what FERC

                  analyzed in its FEIS. Thus, this new information about SpaceX triggers FERC’s

                  obligation to supplement its FEIS for the Project.


           A.   FERC Cannot Limit Its Analysis to The Two Issues Identified in the Vecinos
                Remand and Rio Bravo’s Proposed Design Changes

           Vecinos held that FERC’s analysis was deficient in two ways, undermining both FERC’s

 NEPA and Natural Gas Act analyses. First, FERC had not justified limiting its analysis of

 environmental justice impacts to communities within two miles of the terminal, given FERC’s

 statements that impacts would be felt outside this radius (e.g., that air quality would be impacted

 up to 31 miles away). 1 Second, FERC failed to address whether 40 C.F.R. § 1502.21 (formerly §

 1502.22) required FERC to use methods generally accepted in the scientific community, including

 the social cost of carbon, to evaluate greenhouse gas emissions. 2

           The Remand Order states that FERC will not consider comments that do not pertain to

 these two issues. 3 But the order itself is not so limited, nor could it be. Both the project and the

 environmental context have changed significantly since FERC’s prior approval, and FERC cannot

 turn a blind eye to these changes.

           For example, rather than merely redo the environmental justice analysis based on the prior

 analysis of air impacts, FERC requested that Texas LNG redo the air pollution and environmental



 1
  Vecinos para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321, 1325 (D.C. Cir.
 2021).
 2
     Id.
 3
     Remand Order P15.

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 justice analyses in their entirety. The new analysis of air pollution predicts fewer emissions from

 terminal operation than the FEIS predicted. 4 The Remand Order does not explain these changes.

 And neither does the record.

          Rather than merely reconsidering the scope of the environmental justice analysis, FERC

 now rests on applicant submissions that consider a different set of emission sources, with different

 emission rates, and different baseline pollution levels. We agree that it would have been improper

 for FERC to ignore this new information—FERC needs to consider the project that the developers

 actually intend to build, and the impacts the surrounding communities would actually suffer. And

 FERC plainly had authority to do so. Even though the remand specifically concerned FERC’s

 prior analysis of the Project’s climate and environmental justice impacts, “once FERC reacquired

 jurisdiction, it had the discretion to reconsider the whole of its original decision.”5 But the public

 must have a meaningful opportunity to review and comment on this new information, and in

 particular, to raise objections, errors, or other concerns with FERC.

          Relatedly, FERC cannot turn a blind eye to other new information beyond that provided

 by Texas LNG or addressed in the Remand Order. NEPA imposes an ongoing duty to supplement

 analyses in the face of new information.6 Here, new information about the SpaceX facility—

 including the recent severe explosion—must be considered in FERC’s safety and cumulative




 4
     Compare Accession 20220502-5075 at Table 9-1, with FEIS at 4-186.
 5
     Se. Michigan Gas Co. v. FERC, 133 F.3d 34, 38 (D.C. Cir. 1998).
 6
   40 C.F.R. § 1502.9. FERC also has a continuing obligation to consider changed circumstances
 under the Natural Gas Act. See 15 U.S.C. § 717o (FERC can only amend orders when it is
 “necessary or appropriate” to do so); Michigan v. EPA, 576 U.S. 743, 752 (2015) (“[A]ppropriate
 is the classic broad and all-encompassing term that naturally and traditionally includes
 consideration of all the relevant factors.”

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 impact analyses. 7

            Finally, regardless of changed circumstances, FERC still must consider the environmental

 justice issues that were litigated but not decided in Vecinos, including FERC’s refusal to

 acknowledge the potential for significant, disproportionately adverse impacts from air pollution

 that does not violate the National Ambient Air Quality Standards. 8


            B.   FERC’s Analysis of Environmental Justice Impacts of Air Pollution Is
                 Arbitrary

                      1.   FERC Has Not Explained, or Even Acknowledged, Substantial Changes
                           in Emission Data

            The Remand Order rests on new air pollution emission and modeling data submitted by

 the applicants. This data reflects a different set of rates, and background than what was considered

 in the FEIS.

            For example, the applicants’ May 2022 response estimates NOx emissions to be only

 three-quarters what was estimated in the FEIS: 110.43 tpy, down from 142.6. 9 The applicant’s

 updated modeling also identifies lower marine vessel VOC, CO, PM10, SOx, and greenhouse

 gases.10 The Remand Order does not identify any change at all in the number, type, or behavior of

 marine vessels, much less a change that would explain an order-of-magnitude reduction in these

 emissions.

            FERC cannot rely on these new, lower emission estimates without explaining to the public



 7
     Infra § II(D).
 8
  California Public Utilities Commission v. Federal Energy Regulatory Commission, 29 F.4th
 454, 462 (9th Cir. 2022); accord Canning v. NLRB, 823 F.3d 76, 79 (D.C. Cir. 2016).
 9
     Compare FEIS at 4-182 with Accession No. 20220505-5075 at Table B-33.
 10
      Id.

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 what has changed and why, and without providing the public with a meaningful opportunity to

 comment thereon. And FERC itself cannot uncritically accept the applicants’ submissions. The

 FEIS purportedly reflects FERC’s estimates of likely emissions. Before accepting new estimates,

 FERC’s technical staff must review them, pass judgment on them, and demonstrate that they have

 done so. As it stands, it was arbitrary for FERC to accept the new, lower emission estimates

 without an explanation as to why these estimates are lower than those presented in the FEIS.


                   2.   FERC Must Consider Data Showing Higher Baseline Pollution, and
                        Thus Increased Risk of NAAQS Exceedances.

           There are two PM2.5 air monitors in Cameron County, where the terminal would be

 located. The applicants based their analysis on baseline data from the monitor that is farther from

 the terminal site, which reports lower baseline levels of PM2.5 pollution. FERC must also

 consider data from the closer monitor, which indicates that operation of the project may lead to

 exceedances of the hourly and annual PM2.5 NAAQS.

           Texas LNG’s analysis relied on baseline data from the AQS ID 48061006 air monitor, in

 Brownsville. 11 This monitor is roughly 28 km from the terminal site. According to Texas LNG

 this monitor shows background PM2.5 levels of 10.3µg/m³ on an annual basis, and only discloses

 the seasonal 3-year average for the 24-hour PM2.5 concentrations. 12 When added to the PM2.5

 emissions that Texas LNG modeled for these projects, Texas LNG estimated PM2.5 levels barely

 below the NAAQS: 0.25 and 2.71 µg/m below the annual and hourly NAAQS, respectively. 13

           The Texas Commission on Environmental Quality maintains another PM2.5 air monitor,


 11
      Accession 20230130-5250 at Table 9-4.
 12
      Accession 20230130-5250 at Table 9-4 & 9-5.
 13
      Id. at Tables 9-5 & 9-6.

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 AQS ID 480612004, in Isla Blanca. 14 For years 2020-2022 the Isla Blanca monitor shows an

 annual PM2.5 concentration of 11.2 µg/m³ and an hourly PM2.5 concentration of 31 µg/m³,

 higher than the background values indicated by the more distant Brownsville monitor. 15 If Texas

 LNG’s cumulative impact analysis is modified to use the higher baseline value for annual PM2.5

 the result shows potential violation of the annual NAAQS by .95 µg/m³ . A similar comparison

 cannot be made for the 24-hour PM2.5 NAAQS because it is unclear what baseline background

 concentration was used in Texas LNG’s cumulative analysis and FERC did not provide that

 information in the reauthorization order. However, the Isla Blanca 24-hour PM2.5 average of 31

 µg/m³ is 4 - 8.73 µg/m³ greater than the seasonal averages provided by Texas LNG. 16

          When using monitor data from a monitor more closely situated to the facility site, FERC’s

 conclusion that the total concentration of background criteria pollutants would remain under the

 applicable NAAQS does not hold. Crucially, this table only includes operational emissions, rather

 than the higher emissions considered in the Remand’s discussion of cumulative operation and

 construction. This indicates that NAAQS exceedances may be long term, rather than limited to the

 temporary period in which construction and operation occur simultaneously. And it suggests that

 impacts may occur farther away than the 1.6 mile radius that FERC estimates for construction




 14
    TCEQ, Monitor Information for Isla Blanca State Park Road,
 https://www17.tceq.texas.gov/tamis/index.cfm?fuseaction=report.view_site&siteAQS=48061200
 4
 15
    Data from this monitor, AQI 480612004, was downloaded from the TCEQ website for January
 1, 2020 through December 31, 2022. This data was then used to calculate the annual mean over 3
 years. Data available here:
 https://www17.tceq.texas.gov/tamis/index.cfm?fuseaction=report.view_site&siteAQS=48061200
 4.
 16
      See Accession 20230130-5250 at Table 9-4

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 emissions. For instance, the EPA’s report on the environment finds that PM2.5 can remain air

 borne for long periods and travel hundreds of miles. 17

            FERC has an obligation to consider the full impacts of the decision to reauthorize the

 project and inform the public of those impacts. 18 To do so, FERC must “make use of reliable

 existing data and resources.”19 TCEQ’s monitor at Isla Blanca is a reliable existing source of data

 on the air quality where the project will be located. FERC has an obligation to incorporate data

 from this monitor into its analysis of the projects’ impacts on air quality because it more

 accurately reflects the current true conditions of PM2.5 levels near the project site. Thus, it more

 accurately discloses what the project’s impacts will be on local air quality and the health and

 safety of nearby residents. This is particularly true as data from Isla Blanca monitor indicates

 cumulative operational PM2.5 levels will exceed the NAAQS, whereas data from the Brownsville

 monitor does not.


                   3.    FERC’s Ozone Estimates Are Unexplained

            In discussing ozone impacts, the Remand Order simply recites its findings in the EIS that

 Texas LNG would contribute less than 10% of the annual NOx emissions estimated for the Rio

 Grande LNG Terminal.20 Based on that FERC concludes that if Rio Grande LNG’s ozone impacts

 are increased by 10%, there will be no exceedance of the NAAQS for ozone. 21 FERC has



 17
    EPA, Report on the Environment: Particulate Matter Emissions. (Available at
 https://cfpub.epa.gov/roe/indicator.cfm?i=19).
 18
      40 CFR § 1502.1.
 19
      40 CFR § 1502.23.
 20
      Remand Order P74.
 21
      Id.

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 provided no justification for the use of simple multiplication to estimate Texas LNG’s ozone

 impacts, particularly when Texas LNG has provided an estimation of its ozone contribution. 22

            Additionally, it is unclear whether FERC’s overall cumulative analysis is flawed based on

 excluding mobile emission sources from Rio Grande LNG’s ozone analysis. The Rio Grande

 LNG Remand Order states that Rio Grande updated the analysis presented in the FEIS. 23 But the

 analysis presented in the Rio Grande FEIS was itself deeply flawed, as FERC recognized in the

 Rio Grande rehearing order, because it excluded cumulative emissions from Texas LNG and

 emissions from both terminals’ marine vessel traffic. 24 Here, it is unclear whether the updated

 ozone modeling repeats that error. And if this modeling did include marine vessel emissions, it is

 unclear what estimates of vessel emissions it used.


                   4.    FERC’s Analysis Misuses “Significant Impact Levels”

            The remand order states that the radius of air impacts from the Texas LNG Terminal is 24

 kilometers.25 FERC justifies this determination by relying on the level at which criteria pollutants

 from Texas LNG drop below significant impact levels. 26 It does not appear that Texas LNG

 conducted any significant impact level modeling and FERC does not cite any filing by Texas

 LNG that identifies the results of any significant impact level modeling.27 If FERC is relying on


 22
   Accession 20220505-5075 at Table 9-2. Contra 40 CFR § 1502.23 (“Agencies shall make use
 of reliable existing data and resources.”)
 23
      Rio Grande Remand Order P150.
 24
      Accession 20200123-3129 at P55.
 25
      Remand Order P33.
 26
      Id.
 27
    See Id. at fn. 82 (citing paragraphs 67-78 of the Remand Order, none of which discuss
 significant impact levels).

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 significant impact levels to identify the radius or significance of Texas LNG’s air emissions

 impacts, FERC must disclose the basis of its conclusions. 28

          It is also unclear whether FERC relied on significant impact levels as any part of the basis

 of its conclusion that that air impacts from the Terminal’s emissions are insignificant. To the

 extent that it did, this is a misuse of significant impact levels.

          As justification for using the significant impact levels to identify the radius of air

 emissions impact from Texas LNG’s terminal, FERC, without citation states that emissions

 modeled below significant impact levels “may generally be considered to be a sufficient

 demonstration that the proposed source will not cause or contribute to a violation of the applicable

 National Ambient Air Quality Standard or Prevention of Significant Deterioration increment.”29 It

 is unclear whether FERC relied on the SILs modeling to determine that the project would not

 cause or contribute to a NAAQS violation and therefore were insignificant, 30 but to the extent that

 it did, that was inappropriate.

          SILS are tools designed for use in the Clean Air Act’s Prevention of Significant

 Deterioration program, but they are contentious—and litigated—even in that context. 31



 28
    40 CFR § 1502.23 (Agencies “shall make explicit reference to the scientific and other sources
 relied upon for conclusions…”).
 29
      Remand Order P33 n.81.
 30
      Remand Order P75.
 31
    See e.g. Sierra Club v. EPA, 705 F.3d 458, 465-66 (D.C. Cir. 2013) (vacating EPA’s PM 2.5
 SILs regulation because EPA lacks “authority to exempt sources from the requirements of the”
 Clean Air Act and the regulation “simply states that the demonstration required under [section]
 165(a)(3) is deemed to have been made if a proposed source or modification’s air quality impact
 is below the SIL.”); Sierra Club v. EPA, 955 F.3d 56, 63-64 (D.C. Cir. 2020) (Affirming that the
 Court lacks jurisdiction to vacate a non-binding policy document as part of a facial challenge but
 explaining that “[t]he SILs Guidance is not sufficient to support a permitting decision—simply
 quoting the SILs Guidance is not enough to justify a permitting decision without more evidence in

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 Moreover, EPA has emphasized that a source can cause or contribute to a NAAQS violation even

 when the source’s emissions do not exceed significant impact levels. 32 EPA regulations say that

 “a major source or major modification will be considered to cause or contribute to a violation of

 the national ambient air quality standard when such a source or modification would, at a

 minimum, exceed the [] significance levels…”33 This means that an exceedance of the SIL

 unequivocally demonstrates causation of or contribution to a NAAQS violation, should one occur

 the area of the facility. It does not mean that a facility does not cause or contribute to a NAAQS

 violation if its emissions do not exceed the SIL. EPA itself recognizes that the only reason these

 impact levels remain legally valid is because “the regulatory text in that section did not say that a

 proposed source that has an impact less than the significance level is always deemed to not cause

 or contribute to a violation.”34


                  5.   Significant Impacts Can Occur, Especially for Environmental Justice
                       Communities, Even Where Pollution Does Not Exceed the NAAQS

           Regardless of whether Texas LNG’ cumulative impact will cause a violation of the

 NAAQS, there is significant evidence that there are harmful and adverse health impacts to

 communities exposed to increased air pollution at levels below the NAAQS. FERC’s

 assumption that air pollution which does not violate the NAAQS will not have health impacts




 the record, including technical and legal documents.”).
 32
    See EPA, Attachment 1 to Guidance on Significant Impact Levels for Ozone and Fine Particles
 in the Prevention of Significant Deterioration Permitting Program, at 7 (Apr. 17, 2018).
 33
      40 C.F.R. § 51.165(b)(2) (emphasis added).
 34
    See EPA, Attachment 1 to Guidance on Significant Impact Levels for Ozone and Fine Particles
 in the Prevention of Significant Deterioration Permitting Program, at 7 (Apr. 17, 2018).

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 and will be insignificant is mistaken. 35

       The EPA has recognized that levels of PM2.5, ozone, nitrogen-dioxide, and carbon

 monoxide below the NAAQS thresholds can result in adverse health impacts. In January of this

 year the EPA announced a proposal to reduce the annual PM2.4 NAAQS between 9.0 and 10.0

 µg/m³.36 According to the Policy Assessment for this announcement, the EPA has determined

 that the current PM2.5 NAAQS are not adequately protective of human health and that scientific

 evidence supporting that conclusion has been available since at least 2020. 37 The annual PM2.5

 concentration from the air quality monitor located as Isla Blanca State Park, approximately 10

 km from the Project site and 5 km away from the City of Port Isabel, is 11.2 μg/m³.38 This is just


 35
    Reauthorization P75. In the instance where FERC found that NAAQS violations may be
 possible, concurrent construction and operation, FERC still determines that the impact will not be
 significantly adverse to EJ communities because Texas LNG must submit a plan on how to
 address those violations at some point prior to commissioning. Id. P 72.
 36
   EPA, National Ambient Air Quality Standards for PM. https://www.epa.gov/pm-
 pollution/national-ambient-air-quality-standards-naaqs-pm; EPA Press Office, EPA Proposes to
 Strengthen Air Quality Standards to Protect the Public from Harmful Effects of Soot (Jan. 6,
 2023). https://www.epa.gov/newsreleases/epa-proposes-strengthen-air-quality-standards-protect-
 public-harmful-effects-soot.
 37
    EPA, Policy Assessment for the Reconsideration of the National Ambient Air Quality
 Standards for Particulate Matter at 1-14-15 (May 2022) (“The EPA is reconsidering the
 December 2020 decision because the available scientific evidence and technical information
 indicate that the current standard may not be adequate to protect public health and welfare, as
 required by the Clean Air Act. We note that the 2020 [Policy Assessment] concluded that the
 scientific evidence and information supported revising the level of the primary annual PM2.5
 standard to below the current level of 12.0 µg/m³.”); see also EPA Press Office, EPA Proposes to
 Strengthen Air Quality Standards to Protect the Public from Harmful Effects of Soot (Jan. 6,
 2023) (“EPA estimates that if finalized, a strengthened primary annual PM2.5 standard at a level
 of 9 micrograms per cubic meter, the lower end of the proposed range, would prevent: up to 4,200
 premature deaths per year; 270,000 lost workdays per year; result in as much as $43 billion in net
 health benefits in 2032.”) (Available at https://www.epa.gov/newsreleases/epa-proposes-
 strengthen-air-quality-standards-protect-public-harmful-effects-soot.)
 38
    Data from this monitor, AQI 480612004, was downloaded from the TCEQ website for January
 1, 2020 to December 31, 2022. This data was then used to calculate the annual mean over 3 years.

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 .8 μg/m³ below the NAAQS and more than the proposed revision of the annual NAAQS. The

 EPA’s policy assessment indicates that nearby EJ communities are likely already suffering

 adverse impacts from the level of PM2.5 concentrations in their region. Any addition from

 projects like Texas LNG should be considered significant no matter the quantity.

            Additionally, the policy assessment for the EPA’s 2010 Rulemaking for NO2 NAAQS

 thresholds found there was “little evidence of any effect threshold” for NO2. 39 That same PA

 found evidence of adverse health effects from NO2 exposure at levels below 53 ppb and from

 short term NO2 exposure. 40 This is less than the current NO2 NAAQS threshold of 100 ppb. 41

 Similarly, in its 2011 Rulemaking for the carbon-monoxide (CO) standards, the EPA recognized

 that epidemiological studies showed associations between worsened cardiovascular outcomes at

 levels below the current NAAQS threshold for CO. 42 The EPA also found in the 2015

 rulemaking on the current ozone standard, that exposure to ozone at 60 parts per billion (ppb)

 could result in adverse health impacts, such as declining lung function and pulmonary

 inflammation, which is 10 ppb less than the current ozone standard. 43 As discussed supra, it is



 Data available here:
 https://www17.tceq.texas.gov/tamis/index.cfm?fuseaction=report.view site&siteAQS=48061200
 4. As already discussed, data from this monitor was not used by the Applicant to assess the air
 quality impacts of the project. Instead, it used a monitor from Brownsville, approximately 28 km
 away from the Project site.
 39
      75 Fed. Reg. 6474 at 6880 (Feb. 9, 2010) (citing Integrated Science Assessment, section 3.1.7
 and 5.3.2.1).
 40
      Id.
 41
      40 C.F.R. Pt. 50, App. S §3.2.
 42
      76 Fed. Reg. 54294, 54307 (Aug. 31, 2011).
 43
      NAAQS for Ozone, 80 Fed. Reg. 65292, 65303 & 65317-65318 & 65322 (Oct. 26, 2015).

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 unclear whether FERC corrected its prior ozone analysis deficiencies by including mobile

 emissions emissions in its updated ozone analysis. If it didn’t, this project likely contributes to

 ozone concentrations above 60 ppb given that the Rio Grande LNG terminal’s emissions alone

 bring ozone contributions to 58.6 ppb. 44

          These repeat finding by EPA demonstrate that even if FERC were correct in concluding

 that the cumulative air impacts would not exceed the NAAQS thresholds, this would not

 demonstrate that the cumulative air pollution would not adversely affect the health of nearby

 communities.

         The consequences of health impacts below the NAAQS may be more acutely experienced

 by the EJ populations FERC has identified in the updated EJ and air impacts analysis. As EPA has

 explained in its guidance on evaluating environmental justice impacts in NEPA review: “Focusing

 the analysis [on the relevant environmental justice context] may show that potential impacts,

 which are not significant in the NEPA context, are particularly disproportionate or particularly

 severe on minority and/or low-income communities.”45 Thus, the direct, indirect, and cumulative

 effects of a project may have a disproportionately severe or adverse impact on an environmental

 justice community even if an agency determines that the general impacts are not significant. For

 instance, EPA recognizes that lack of access to health care is a factor which increases a

 community’s risk of environmental hazards. 46 In Cameron County, 30% of the Hispanic/Latino




 44
      Rio Grande Remand Order P 150.
 45
      EPA Guidance at 3.2.2.
 46
      EPA Guidance at 2.3

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 population is uninsured. 47 This is nearly twice the uninsured rate of 18% for Texas as a whole. 48

 Moreover, the communities closest to the facilities do not have access to a hospital. FERC has an

 obligation to determine whether factors such as this and others increase the significance of the

 cumulative effect of emissions from multiple facilities on nearby environmental justice

 communities, regardless of whether ambient air quality remains below the NAAQS. 49


                  6.    FERC’s Environmental Justice Analysis Does Not Identify Which
                        Communities Will Actually Be Impacted

           FERC identified a potentially impacted population of residents in census blocks groups

 within 50 km of the project based on EPA standards for cumulative air modeling. 50 FERC also

 finds that for air impacts a less conservative radius of impact is 24 km based on assertion that this

 is the distance at which criteria pollutants will decline below Significant Impact Levels.51 Id.

 FERC does not disclose how it reached the 24 km radius, only citing other paragraphs in the

 reauthorization order that do not discuss significant impact levels. 52 Regardless, FERC fails to

 identify which census block groups, within a 50 km or 24 km radius, are likely to be impacted by

 the increased emissions from the project.


 47
      https://data.census.gov/table?t=Health&g=040XX00US48_050XX00US48061
 48
      https://data.census.gov/table?t=Health&g=040XX00US48_050XX00US48061
 49
   See e.g. Glick Dissent to Original FERC Authorization, at 10 (“we cannot turn a blind eye to
 the incremental impact that increased pollution will have on economically disadvantaged
 communities.”)
 50
      Remand Order P118.
 51
   Id. Requesters do not believe that the significant impact levels analysis FERC refers to
 sufficiently includes all emissions associated with the project, nor do requesters believe that SILs
 are always an appropriate standard to set a radius of impact. However, since FERC ultimately
 used a wider 50 km radius, these criticisms are unnecessary to expand on.
 52
      Reauthorization P33 n.82.

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           It is not enough for FERC to identify that EJ populations exist within the project’s zone of

 impact, FERC must take the next step and identify which of those EJ populations will be most

 heavily impacted by constructions and operation of the project. 53 FERC is clearly aware of its

 obligation to conduct such an analysis. In the reauthorization’s analysis of the EJ impacts from

 impacts to wetlands, recreational and subsistence fishing, road traffic, marine traffic, and visual

 impacts, FERC identified which census block groups were most likely to feel the effects of the

 impacts. 54

           FERC did not make a similar disclosure for the census block groups that would experience

 the effects of increased concentrations of air emissions from the terminal. This is despite having

 modeled impacts of criteria pollutant emissions for all census block groups within a 50 km radius

 of the terminal. 55 FERC has the information necessary to identify which EJ communities are most

 likely to be affected by FERC’s reauthorization of the project and has failed to provide that

 analysis to the public.


                  7.    FERC’s Reliance on a Hypothetical Future Mitigation Plan Is
                        Arbitrary

           FERC concluded that concurrent construction and operation of the Terminal may lead to

 exceedances of the National Ambient Air Quality Standards (NAAQS) for NO2, PM10, and

 PM2.5 on its own and cumulatively with Rio Grande LNG. 56 Nonetheless, FERC instructed



 53
   CEQ, Guidance on Environmental Justice, 14 (“When a disproportionately high and adverse
 human health or environmental effect on an [EJ population] has been identified, agencies should
 analyze how environmental and health effects are distributed through the affected community.”)
 54
      Reauthorization PP36, 39, 47, 55, and 78.
 55
      Accession 20230130-5250, Table 9-3-1.
 56
      Remand Order P69. As explained in more detail infra, FERC wrongly dismisses the

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 Texas LNG to come up with a plan to mitigate these impacts, and FERC concluded that the

 requirement to come up with a plan rendered these possible NAAQS exceedances an insignificant

 problem. Specifically, FERC determined that air quality impacts to environmental justice

 communities “would be less than significant” because of “the addition of Environmental

 Condition 130 in Appendix A.”57 This condition provides that Texas LNG: “shall file with the

 Secretary, for review and written approval … a Project Ambient Air Quality Mitigation and

 Monitoring Plan for periods when construction, commissioning and start-up, and operation of the

 LNG terminal occur simultaneously.” 58

           As Commissioner Clements’ dissent explains, this condition is “vague”59 and there is no

 indication that it will be effective in reducing air quality impacts to environmental justice

 communities below the significance threshold. Thus, FERC’s determination that these impacts on

 environmental justice communities are not significant is unsupported and arbitrary.

           FERC has not event attempted to explain how this proposed mitigation measure will

 reduce air quality impacts to environmental justice communities below the significance level. The

 new condition is essentially a plan to have a plan. FERC has ordered Texas LNG to come up with

 a monitoring and mitigation plan rather than developing such a plan. 60 Because the monitoring

 and mitigation plan is currently hypothetical, it is impossible to determine its effectiveness. 61 And



 significance of this new disclosure on the basis of a not-yet-written mitigation plan. Id.
 57
      Id. P71.
 58
      Id. at Appendix A, Condition 130.
 59
      Clements Dissent P4.
 60
      Accord id. P4 n.11.
 61
   Cf. Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989) (NEPA’s EIS
 requirement “ensures that the agency, in reaching its decision, will have available, and will

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 the condition is so vague as to preclude even an inference on whether the ultimate mitigation

 measures will work. For example, it is not clear that Texas LNG will have to include any

 mitigation measures to prevent a NAAQS exceedance rather than acting after an exceedance has

 occurred. It’s not clear what FERC would do to ensure that NAAQS are not exceeded. The

 condition provides no criteria for when FERC will approve or disapprove Texas LNG’s plan. It’s

 not even clear from the text whether this is a “condition” in the ordinary sense of the term. Can

 construction, commissioning, or operations occur before the plan is approved by FERC? In short,

 FERC has not justified its finding that these impacts will not be significant on the basis of this

 environmental “condition.”

           This is not to say that mitigation is not worthwhile. NEPA requires FERC to consider

 possibilities for mitigation, and the Natural Gas Act provides FERC with authority to require

 mitigation. And in particular, in some circumstances, NEPA permits agencies to rely on

 mitigation measures to determine that a given environmental effect is less than significant. 62 But

 when an agency does so, it must “sufficiently demonstrate that the mitigation measures

 adequately address and remediate the adverse impacts so that they will not significantly affect the

 environment.” 63 Thus, agencies are required to provide “a serious and thorough evaluation” of

 proposed mitigation measures.64 “[M]ere perfunctory or conclusory language will not be deemed

 to constitute an adequate record and cannot serve to support the agency’s” determination that an


 carefully consider, detailed information concerning significant environmental impacts.”).
 62
   Cabinet Mountains Wilderness/Scothman’s Peak Grizzly Bears v. Peterson, 681-82 (D.C. Cir.
 1982).
 63
   O’Reilly v. U.S. Army Corps of Engineers, 477 F.3d 225, 234 (5th Cir. 2007); accord Nat’l
 Audubon Soc. v. Hoffman, 132 F.3d 7, 16-17 (2d Cir. 1997).
 64
      O’Reilly, 477 F.3d at 231 (internal quotations omitted).

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 effect lacks significance. 65 Here, however, the requirement to come up with a future mitigation

 plan falls short of these requirements.

            The problem is not just that FERC doesn’t have any facts or details with which FERC

 could plausibly assure itself that mitigation would work. The public must also have an opportunity

 to comment on mitigation. Approving the project now, on the basis of a mitigation plan that has

 not yet been developed, unlawfully deprives the public of this opportunity. FERC must provide

 for public comment on the mitigation plan so that the public, and especially impacted

 environmental justice communities, can weigh in. Absent public comment, the record is

 incomplete. FERC must also invite comment from the Environmental Protection Agency

 (“EPA”), the federal agency charged with administering the Clean Air Act. 66 The condition must

 contain mandatory and enforceable provisions that actually ensure emissions will be sufficiently

 reduced. On monitoring, FERC must consult with EPA to determine the appropriate amount and

 location of ambient air quality monitors. FERC must ensure that there are sufficient monitors to

 ensure that the air quality in all potentially impacted environmental justice communities is below

 the NAAQS. FERC must also consult EPA to determine appropriate monitoring at the sources of

 air pollution. FERC could require Texas LNG to have dedicated employees that monitor pollution

 on site or high definition cameras that can monitor particulate matter emissions. FERC must also

 ensure the mitigation plan is enforceable. FERC must make the adequate monitoring and

 mitigation plan part of the Project’s Certificate Order and FERC must require Texas LNG to

 amend its Title V air permit to include the plan as an enforceable condition in that permit. Finally,



 65
      Id.
 66
      See 40 C.F.R. § 1501.8(a).

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 as part of the plan, FERC must determine what happens when a NAAQS exceedance occurs.

 FERC should require immediate cessation of activities and further mitigation measures to reduce

 emissions.


                 8.   NEPA Required FERC to Publish Its Updated Environmental Justice
                      Analysis in a Supplemental EIS or Other NEPA Document

          FERC invited comment on some of the Applicants’ responses to FERC Environmental

 Information Requests. 67 And deficiencies in the Applicants’ air modeling were identified in those

 comments. 68 FERC requested new information from the Applicants’ in response to those

 comments. 69 But FERC did not provide for public comment on this new information despite

 FERC’s reliance on that information here. 70 If FERC utilized the NEPA supplementation process,

 public comment would have been required. 71

          Through its updated EJ analysis, FERC also now acknowledges that impacts on

 environmental justice communities will be “disproportionately high and adverse because they will

 be predominantly borne by environmental justice communities.”72 Previously, FERC found the



 67
      See Remand Order P11.
 68
      See Accession 20221019-5066.
 69
      See Accession 2030106-3039.
 70
   Compare Remand Order P10 (identifying dates of information requests and responses) with
 Remand Order P11 (identify date of solicitation of comments on responses).
 71
    40 C.F.R. § 1503.1(a)(2)(v). To be clear, FERC allowing comment on the Applicants’
 responses to Environmental Information Requests does not alleviate FERC’s obligation to provide
 its own analysis in the form of an SEIS. FERC must provide impact statements “in plain
 language” so that the public “can readily understand such statements.” See 40 C.F.R. § 1502.8.
 These statements must be based on FERC’s analysis, supporting data from relevant scientific
 sources. Id.
 72
      Remand Order P82.

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 Terminal “there is no evidence that these communities would be disproportionately affected by

 the Project or that impacts on these communities would appreciably exceed impacts on the

 general population.”73 NEPA requires FERC to take a “hard look” at environmental impacts. 74

 and “to consider every significant aspect of environmental impact of a proposed action.”75 This

 complete reversal of position triggers the need for an SEIS. 76

           Also concerning is FERC’s conclusion that 274 new environmental justice communities

 may be impacted by the Project.77 These newly identified effected EJ populations are effectively

 shut out of this process as none were provided the opportunity to intervene into these dockets,

 protest, or request rehearing. Again, this obvious issue would have been remedied had FERC

 utilized the NEPA process. 78

           FERC’s failure to engage impacted communities in its decision making process by

 publishing an SEIS is made more profound by its finding that the impacts of the project will

 disproportionately high and adverse for these environmental justice communities. The executive

 order mandating environmental justice reviews of agency actions specifically calls on federal

 agencies to conduct their programs in a manner that does not “have the effect of excluding



 73
      FEIS at 4-157.
 74
   City of Los Angeles, California v. Federal Aviation Administration, 63 F.4th 835, 841 (9th Cir.
 2023).
 75
    Baltimore Gas and Elec. Co. v. NRDC, 462 U.S. 87, 97 (1983). See also 40 C.F.R. § 1502.8
 (requiring impact statements to be based on “analysis and supporting data from natural and social
 sciences and the environmental design arts.”).
 76
   Native Ecosystems Council v. Tidwell, 599 F.3d 926, 938 (9th Cir. 2010) (finding an SEIS is
 required where new information directly contradicts previously published NEPA documents).
 77
      Remand Order P33.
 78
      See 18 C.F.R. 380.10(a)(1)(i).

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 persons (including populations) from participation” in its programs. 79 FERC itself acknowledges

 that Environmental Justice is “the fair treatment and meaningful involvement of all people . . .

 with respect to the development, implementation, and enforcement of environmental laws,

 regulations, and policies.” 80 The Commission further cites the EPA in stating that “[m]eaningful

 involvement . . . means: (1) people have an appropriate opportunity to participate in decisions

 about a proposed activity that may affect their environment and/or health . . . (3) community

 concerns will be considered in the decision-making process; and (4) decision makers will seek out

 and facilitate the involvement of those potentially affected.”81 In addition to its decision to forgo

 an environmental impact statement,82 FERC has also failed to meet these Environmental Justice

 mandates by denying community requests for a public meeting and by failing to provide any

 materials in Spanish.


                         a)     FERC Failed to Provide a Public Meeting


            In their comments to responses by the Applicant to FERC’s information requests, many




 79
   Executive Order 12898: Federal Actions to Address Environmental Justice in Minority
 Populations and Low-Income Populations at 2-2 (Feb. 11, 1994).
 80
    Remand Order P19 (citing EPA, Learn About Environmental Justice,
 https://www.epa.gov/environmentaljustice/learn-about-environmental-justice (Sep. 6, 2022)).
 81
      Id.
 82
   As raised by the Clements Dissent, the newly identified impacted EJ communities were not
 invited or even provided an opportunity to participate or intervene in these proceedings. There
 were no hearings to participate in and the communities were unaware that they should have been
 submitting comments. The point of the notification process is that it “provides an opportunity for
 property owners and residents located near a proposed pipeline to express their concerns,
 including any issue regarding the impact on particular segments of the community.” Horizon
 Pipeline Co., L.L.C. Nat. Gas Pipeline Co. of Am., 96 FERC ¶ 61,053, 61,153 (2001).

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 community groups requested that FERC hold a public meeting on the Project. 83 FERC denied these

 requests finding “the record is sufficient for [FERC] to address the issues identified by the court.”84

 Yet, based on this new record, FERC made significant new findings of impact and a public hearing

 would have provided the impacted public with the opportunity to express opposing technical or

 scientific view (which can be based on several sources, including the community) from agencies

 regarding specific impacts and/or methods of analysis,” which “may warrant discussion in a NEPA

 document.”85 Public meetings afford impacted EJ communities the opportunity to express whether

 they “may be differently affected by past, present, or reasonably foreseeable future impacts than the

 general population.”86 Or, whether the effects of the Project on this population would be amplified

 by “past exposure histories, and social factors.”87 The Commission is, in essence, deciding to deny

 itself the opportunity to be educated and to have the community “help identify the means to identify

 alternatives and/or mitigate the impacts.”88 By denying impacted communities’ request for a public

 meeting, FERC has systemically excluded them from the Commission’s decisionmaking.


                          b)      FERC Failed to Provide Information in Spanish


            In addition, FERC declined to provide any written materials in Spanish. 89 As FERC



 83
      Remand Order P14.
 84
      Remand Order P15.
 85
   Interagency Working Group on Environmental Justice & NEPA Committee, Promising
 Practices for EJ Methodologies in NEPA Reviews, 30 (2016) [hereinafter “Promising Practices”].
 86
      Id.
 87
      Id. at 31.
 88
      EPA 1998 Guidance § 4.2.
 89
      Reauthorization P15.

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 recognized, the majority of impacted census block groups are majority Hispanic/Latino. 90 Many

 of these communities have limited English proficiency and require translations in order to fully

 evaluate the impacts of FERC’s decisions. For instance, in Port Isabel, the closest city to the

 Project, a majority of the population speaks Spanish at home and 27.1% speak English less than

 very well.91 Similarly in Cameron County, 70% of the residents speak Spanish at home and

 33.5% of the Spanish speaking population speaks English less than very well. 92 Even faced with

 this demographic information, 93 the Commission has again refused to provide translated

 documents, effectively excluding a significant portion of the impacted populations from

 participating in the decisionmaking process contra to mandates by EJ guidance. 94 This exclusion

 also ignores multiple long-standing executive orders focused on language access and

 environmental justice. 95 The inability to effectively participate in FERC’s proceedings only



 90
      Reauthorization P34.
 91
    U.S. Census Bureau, American Community Surveys: S1601: Language Spoken at Home, Port
 Isabel, available at
 https://data.census.gov/table?q=Port+Isabel+city;+Texas,+language&tid=ACSST5Y2021.S1601
 (last viewed May 7, 2023).
 92
    U.S. Census Bureau, American Community Surveys: S1601: Language Spoken at Home,
 Cameron County, available at
 https://data.census.gov/table?q=language+spoken+at+home&g=050XX00US48061
 93
   This issue was previously raised by commenters. See Rebekah Hinojosa August 27, 2020
 Comment.
 94
   CEQ Guidance on EJ at 16 (“Agencies should also consider translating documents into
 languages other than English where appropriate and practical.”); Promising Practices at 10
 (Consistent with applicable requirements, agencies should prepare NEPA documents in plain,
 clear language and provide multiple forms of communication (e.g. written, oral, pictorial) to
 accommodate varied levels of reading proficiency, to facilitate meaningful engagement, and to
 account for limited English proficiency.”
 95
   For example, EO 13166 issued more than 20 years ago required that each agency develop a
 language access plan which “shall include the steps the agency will take to ensure that eligible
 LEP persons can meaningfully access the agency's programs and activities.” Exec. Order 13,166,

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 amplifies the disproportionately high and adverse impacts of this Project on EJ communities. 96


                  9.  FERC Must Consider Environmental Justice Impacts Under the
                  Natural Gas Act

           FERC’s obligation to consider and disclose impacts to environmental justice communities

 does not end with NEPA. FERC must also consider these impacts under the Natural Gas Act and

 issue a certificate “only if a project’s public benefits (such as meeting unserved market demand)

 outweigh its adverse effects (such as a deleterious environmental impact on the surrounding

 community.” 97 Yet, FERC does not even attempt to grapple with how approving a new LNG

 terminal which will have “disproportionately high and adverse” impacts on EJ communities and

 whose impacts will be “predominately [borne]” by EJ communities is in the public interest. 98

           There is a long history of siting industrial facilities in black, brown, and poor communities



 Improving Access to Services for Persons with Limited English Proficiency (Aug. 16, 2000). The
 mandate of that EO was re-emphasized in a memorandum last fall which stated “[a]ll people in
 this country, regardless of the language they speak, deserve meaningful access to programs and
 activities that are conducted or supported by federal agencies.”95 Memorandum For Heads of Fed.
 Agencies, Heads of Civil Rts. Off., and Gen. Counsels: Strengthening the Fed. Gov’t’s
 Commitment to Language Access, DEP’T OF JUSTICE (Nov. 21, 2022). In addition, Executive
 Order 14096 specifically addresses the Environmental Justice concerns presented by failing to
 provide public information in languages other than English in stating that the “Government must
 continue to remove barriers to the meaningful involvement of the public in such decision-making,
 particularly those barriers that affect members of communities with environmental justice
 concerns, including those related to disability, language access, and lack of resources.” Exec.
 Order 14,096, Revitalizing Our Nation's Commitment to Environmental Justice for All (April 26,
 2023) (“environmental justice can successfully occur only through meaningful engagement and
 collaboration with underserved and overburdened communities to address the adverse conditions
 they experience and ensure they do not face additional disproportionate burdens or
 underinvestment.”).
 96
      See Promising Practices, 43.
 97
    City of Oberlin, Ohio v. FERC, 937 F.3d 599, 602 (D.C. Cir. 2019) (“City of Oberlin”)
 (citations omitted).
 98
      Remand Order PP83, 85.

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 in the United States. 99 The very purpose of requiring environmental justice reviews is to try and

 correct this long-standing practice. 100 The growing development of natural gas infrastructure is

 already creating disparity in which populations are subject to the emissions and degradation of the

 natural environment caused by this industry. 101 FERC’s authorization of the Rio Grande project is

 a continuation of practices by federal and state agencies of creating sacrifice zones in low-income

 black, brown, and poor communities. FERC unequivocally recognizes that EJ communities will

 once again be asked to bear the burden of environmental harm for “the greater public good” and

 chose to completely disregard that perpetuating racist siting of industrial polluters is not in the

 public interest.


         C.    Greenhouse Gases

         In reauthorizing the terminal and pipeline, and in approving the pipeline amendment,
 FERC failed to reasonably respond to the Vecinos remand regarding greenhouse gases.




 99
   See Donaghy, Timothy et. al., Fossil Fuel Racism in the United States: How Phasing Out Coal,
 Oil, and Gas Can Protect Communities, Energy Research & Social Science V. 100 (June 2023).
 100
    See Memorandum for the heads of all departments and agencies: executive order on federal
 actions to address environmental justice in populations and low-income populations (Feb. 11,
 1994) (available at https://www.epa.gov/sites/default/files/2015-
 02/documents/clinton memo 12898.pdf) (EO 12898 “is designed to focus Federal attention on
 the environmental and human health conditions in minority communities and low-income
 communities with the goal of achieving environmental justice. That order is also intended to
 promote non-discrimination in Federal programs substantially affecting human health and the
 environment…”).
 101
    Donaghy, et at. § 5.2 (“With the shale boom, the U.S. has seen a rapid build-out of oil and gas
 pipelines, as well as liquified natural gas (LNG) and crude export terminals, which has had the
 effect of converging significant volumes of oil and gas into regions that are already experiencing
 environmental justice burdens. These include “Cancer Alley”, Corpus Christi, Houston [175],
 Port Arthur, and other Gulf South communities.”)

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                 1.   FERC’s Claim that It Cannot Evaluate the Significance of Greenhouse
                 Gas Emissions Is Arbitrary and Unsupported

          As the D.C. Circuit affirmed in Sierra Club v. FERC, 867 F.3d 1357, 1376 (D.C. Cir.
 2017) (“Sabal Trail”), the Natural Gas Act provides FERC with the authority and obligation to
 consider greenhouse gas emissions in making its public interest determinations. NEPA therefore
 requires FERC to inform those determinations with a hard look at, inter alia, the significance and
 impact of greenhouse gas emissions. Id.; accord Vecinos, 6 F.4th at 1331.
          Here, FERC estimates operation of the Texas LNG terminal will emit about 701,709 tons
 per year of carbon dioxide equivalent. 102 But FERC refused to provide any analysis of the
 significance of these emissions, claiming it was impossible to do so. FERC’s reasons for rejecting
 the social cost of carbon or other methods for weighing these impacts were arbitrary. And FERC
 violated the Natural Gas Act by failing to factor these emissions into FERC’s public interest
 analysis. If FERC’s conclusions will not change no matter how many tons of greenhouse gases
 are emitted, or no matter what level of impact those emissions have, then greenhouse gas
 emissions do not actually play any role in FERC’s decisionmaking. But the Natural Gas Act and
 NEPA do not permit FERC to ignore this issue.

                        a)   FERC’s Refusal to Use Social Cost Remains Arbitrary Where
                        FERC Also Fails to Provide Any Alternative Analysis

          As Vecinos explained, NEPA and the Natural Gas Act do not permit FERC to throw up its
 hands, or to hold out for a perfect methodology. Where, as here, FERC claims that it is missing
 information relevant to reasonably foreseeable adverse impacts, NEPA requires FERC to, inter
 alia, evaluate impacts “based upon theoretical approaches or research methods generally accepted
 in the scientific community.” Id. at 1328 (quoting 40 C.F.R. § 1502.21(c)(4)); accord Mont.
 Wilderness Ass’n v. McAllister, 666 F.3d 549, 559 (9th Cir. 2011) (when confronted with a
 difficult problem, “the proper response to that problem is for [the agency] to do the best it can
 with the data it has, not to ignore the [issue] completely.”). Thus, the issue isn’t whether FERC
 thinks the tool is acceptable, but whether the broader scientific community does. Vecinos, 6 F.4th
 at 1329.


 102
       Remand Order P23.

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           Here, FERC does not dispute that the social cost of carbon protocol is “generally accepted
 in the scientific community,” nor could it. FERC has previously admitted the same. Fla. Se.
 Connection, LLC Transcon. Gas Pipe Line Co., LLC Sabal Trail Transmission, LLC, 164 FERC ¶
 61,099, P10 (2018). And here, FERC calculated the social cost of the projects’ emissions
 (excluding upstream and downstream emissions associated with gas production and use), using
 the range of discount rates recommended by the Interagency Working Group. 103 But FERC
 refused to use these estimates to make a determination of whether the Project’s foreseeable
 greenhouse gas emissions were significant or, apparently, to factor these estimates into FERC’s
 evaluation of whether the project’s benefits outweighed its harms.104 Instead, FERC stated it that
 it was providing these estimates for “informational purposes,” 105 but not, apparently, to inform
 FERC’s own decisionmaking.
           The reasons FERC gives here for refusing to consider social cost in FERC’s own
 decisionmaking are arbitrary. FERC repeats its argument that social cost of carbon may be
 appropriate for “rulemaking,” but FERC asserts that it is unsuitable for project-level NEPA
 review.106 FERC provides no explanation as to why the impact of two million tons of greenhouse
 gases emitted by an individual project differs from the impact of two million tons emitted as a
 result of a regulation. Elsewhere, FERC has asserted that in rulemaking, the choice of discount
 rate is less important, because the same discount rate can be consistently applied throughout a
 cost-benefit analysis.107 But FERC is simply mistaken in suggesting that uniform application of a
 discount rate means that the choice of which rate to use is less important. Nat. Res. Def. Council,
 Inc. v. Herrington, 768 F.2d 1355, 1414 (D.C. Cir. 1985) (in reviewing energy efficiency

 103
       Id. P24.
 104
       Id. P25.
 105
       Id. P21.
 106
       Id. P20.
 107
     But see Mountain Valley Pipeline, LLC Equitrans, L.P., 163 FERC ¶ 61,197 P281 n.772
 (2018) (recognizing that BOEM, OSM, DOE, and numerous state agencies have used social cost
 of carbon in environmental review of individual projects). In that order, FERC suggested that
 greenhouse gas emissions were primarily a problem for agencies that regulate production or use
 of fossil fuels. But the direct emissions at issue here are exactly that: emissions that result from
 use of fossil fuels in a FERC-jurisdictional project.

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 standards, choice between 5%, 7%, or 10% discount rate “substantially” changed conclusion of
 regulations’ benefits). More broadly, FERC has never provided any non-arbitrary explanation as
 to why or how project-level proceedings differ from rulemakings in ways that make social cost of
 carbon appropriate for the latter but not the former. And while CEQ is working “to review, revise,
 and update its 2016” GHG guidance, CEQ has encouraged agencies to comply with the 2016
 guidance pending revision. 108 The 2016 GHG Guidance identifies social cost of carbon as “a
 harmonized, interagency metric that can give decision makers and the public useful information
 for their NEPA review.”109 FERC has not identified any CEQ statement stating that social cost of
 GHGs is, or may be, inappropriate for project-specific review.
           FERC’s only other criticism of the social cost of carbon here is that “there are no criteria
 to identify what monetized values are significant for NEPA purposes, and we are currently unable
 to identify any such appropriate criteria.”110 But there are few, if any, bright-line criteria for
 determining significance for any types of environmental impacts, and NEPA requires agencies to
 make informed judgments on these impacts as well. See Mont. Wilderness Ass’n, 666 F.3d at 559.
 And although it may be hard to know whether certain monetized costs are worth worrying about
 in other cases, here, where FERC estimates social cost of greenhouse gases directly emitted as a
 result of the Rio Grande LNG and Rio Bravo projects at over $2 billion111 in the center case, these
 emissions are plainly not something that can be shrugged off or assumed not to weigh in the
 public interest calculus.
           FERC misleadingly argues that it is justified in refusing to use the social cost of carbon in
 its own decisionmaking because courts have affirmed FERC’s rejection of the tool in the past. 112
 As Vecinos explained, prior decisions did not consider FERC’s obligations under 40 C.F.R. §
 1502.21 (or its prior codification at 40 C.F.R. § 1502.22 (2019)). Vecinos, 6 F.4th at 1329



 108
       See Accession No. 20210527-5009.
 109
    https://ceq.doe.gov/docs/ceq-regulations-and-guidance/nepa final ghg guidance.pdf at 33
 n.86.
 110
       Remand Order P25.
 111
       Id. P24.
 112
       Id. P20 n.53.

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 (distinguishing EarthReports, Inc. v. FERC, 828 F.3d 949, 956 (D.C. Cir. 2016)); see Delaware
 Riverkeeper Network v. FERC, 45 F.4th 104, 112 (D.C. Cir. 2022) (holding that petitioners there
 had failed to exhaust the argument that prevailed in Vecinos). The law is clear: where FERC
 refuses to analyze the significance of greenhouse gases with any other method, and where FERC
 fails to provide a rational explanation as to why the social cost of greenhouse gases is not a
 generally accepted as a suitable tool for this task, then FERC must use that tool here.

                          b)    Alternatively, FERC Could Apply Its Draft Greenhouse Gas
                          Guidance

           The Remand Order also represents an about-face from FERC’s 2022 practice. Instead of
 applying the social cost of carbon, last year, FERC published a proposed policy statement on
 Consideration of Greenhouse Gas Emissions in Natural Gas Infrastructure Project Reviews, 178
 FERC ¶ 61,108. That interim, now draft, policy identified a different way to evaluate the
 significance of project greenhouse gas emissions: a simple 100,000 tons per year threshold. Id.
 P79. For projects exceeding this threshold, FERC would not categorically rule that greenhouse
 gas emissions rendered the project contrary to the public interest, but these “significant”
 emissions would need to be factored into FERC’s public interest analysis. In orders issued after
 publication of this draft, FERC did not dispute that it was possible to evaluate the significance of
 greenhouse gas emissions, but FERC stated that it would not do so until this policy was finalized.
           Although, as FERC notes here, this draft policy has been “suspended,”113 that does not
 mean that FERC could not use the same principles articulated therein to make an ad-hoc
 determination for this project. Such an ad hoc evaluation might not be ideal, but the law does not
 permit FERC to refuse to consider issues simply because FERC would prefer to figure out a way
 to do so later. The direct operational emissions here, exceed 700,000 tons of carbon dioxide
 equivalent per year, 114 substantially greater than the significance threshold for lifecycle emissions
 proposed in the interim, now draft, policy. While FERC is considering how to use this proposal in
 general, or while considering an alternate proposal, that does not justify refusing to make the
 decisions required by NEPA and the Natural Gas Act here. FERC can choose how it approaches


 113
       Id. P24 n.64.
 114
       Id. P23.

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 this problem—FERC can make a case-specific significance determination here, or FERC can wait
 until it is comfortable applying the general policy and then do so here—but FERC can’t approve
 now and analyze (for other projects) later.

                          c)     Comparisons with State and National Emission Totals Would
                          Not a Substitute for Determining Significance

           Finally, FERC cannot meet its NEPA and Natural Gas Act obligations simply by
 comparing direct project emissions with emissions of the United States or Texas as a whole..
 Observing that emissions here are a small portion of regional or national totals does not illustrate
 their impact. Ctr. for Biological Diversity v. Nat’l Highway Traffic Safety Admin., 538 F.3d 1172,
 1217 (9th Cir. 2008). Even a “very small portion” of a “gargantuan source of … pollution” may
 “constitute[] a gargantuan source of … pollution on its own terms.” Sw. Elec. Power Co. v. EPA,
 920 F.3d 999, 1032 (5th Cir. 2019).

           D. FERC Must Supplement its EIS Based on New Information Concerning
           Launch Failures at the Space X Boca Chica Site

           In issuing the Remand Order, FERC ignored multiple issues that require FERC to

 supplement the Environmental Impact Statement initially issued to review the Project and relied

 on extensively in the Remand Order.

           NEPA imposes a continuing obligation to “supplement” and reconsider prior findings

 even after the initial analysis is prepared and the agency has taken initial action, when “significant

 new circumstances or information “are presented. 115 This duty persists so long as there is

 “remaining government action [that] would be environmentally significant” and the agency

 retains “a meaningful opportunity to weigh the benefits of the project versus the detrimental

 effects on the environment.”116 “When new information comes to light the agency must consider



 115
       40 C.F.R. § 1502.9(d)(1).
 116
       Marsh v. Oregon Nat. Res. Council, 490 U.S. 360, 372 (1989).

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 it, evaluate it, and make a reasoned determination whether it is of such significance as to require

 implementation of formal NEPA filing procedures.” 117

             In the FEIS, FERC analyzed the impacts for Falcon 9 and Falcon Heavy launch

 vehicles.118 FERC found that launch failures of these vehicles could result in cascading damage,

 but did not disclose what the cascading damage may be or how launch failures could have such a

 result. 119 Instead, FERC concluded that Texas LNG need only develop response procedures

 should a launch failure occur based, in part, on FAA guidance regarding SpaceX launches. 120

 FERC’s analysis did not account for “conceptual launch vehicles that may launch from the

 SpaceX launch facility such as the Big Falcon Rocket.” 121

             Since the release of the FEIS, the FAA has published written re-evaluations and

 addendums for SpaceX’s EIS in August 2019, November 2019, June 2020, May 2020, and

 December 2020, a Final Programmatic Environmental Assessment (“PEA”) in June 2022 for the

 SpaceX’s Starship Super Heavy, 122 the largest rocket every built, 123 and a written re-evaluation of

 the 2022 Final PEA in April 2023. 124 SpaceX is conducting an expanded suite of tests, is


 117
    People Against Nuclear Energy v. U.S. Nuclear Regul. Comm’n, 678 F.2d 222, 234 (D.C. Cir.
 1982), rev’d on other grounds sub nom. Metro. Edison Co. v. People Against Nuclear Energy,
 460 U.S. 766 (1983) (quotation omitted).
 118
       FEIS at 4-249.
 119
       Id.
 120
       Id. at 4-250, 4-255, 4-265.
 121
       Id. at 4-249.
 122
    https://www.faa.gov/space/stakeholder_engagement/spacex_starship. This is the current
 construction of the “Big Falcon” referenced in the FEIS.
 https://www.nasaspaceflight.com/2020/10/the-continued-evolution-of-the-big-falcon-rocket/.
 123
       https://time.com/6252046/spacex-starship-rocket/.
 124
       https://www.faa.gov/space/stakeholder_engagement/spacex_starship

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 launching larger rockets more frequently than anticipated in 2019, and has plans to continue doing

 so. According the PEA, debris from launches was “expected to be contained within the debris

 study area, which is a 700-acre area within the ‘all hard checkpoint’” immediately surrounding the

 launch site. 125 The PEA also identified impacts to historic properties, 126 essential fish habitat, 127

 and federally protected species.128 Launches from the site will also contribute to degradation of

 local air quality. 129

           Following the FAA’s PEA and program approval, SpaceX began test launching the

 Starship vehicles. Between 2020 and 2021, four of five launches ended in explosions and the fifth

 still ended in a fire.130 One of those launches in March of 2021 resulted in debris landing as far as

 5 miles from the launch site. 131 More recently, on April 20, 2023, the test launch of the Starship

 Super Heavy resulted in an explosion and a 25-foot crater at the launch site. 132 As a result, parts

 of Port Isabel, several miles away from the FAA’s predicted zone of impact, 133 were coated in

 dust and wet particulate.134 Dispersion of particulate matter as far as six-miles from the launch




 125
       FAA PEA 98.
 126
       FAA PEA S-18, ES-20, ES-22.
 127
       FAA PEA S-25
 128
   FAA PEA S-25-26; The April 2023 reassessment affirmed the conclusions of the original
 PEA.
 129
       FAA PEA - 50
 130
       https://time.com/6252046/spacex-starship-rocket/.
 131
       See CBD v. FAA suit, P 65.
 132
       https://www.nytimes.com/2023/04/21/us/spacex-rocket-dust-texas.html
 133
       FAA PEA – 700 acres.
 134
       https://www.nytimes.com/2023/04/21/us/spacex-rocket-dust-texas.html

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 site was not an FAA considered or predicted impact from the Starship program. 135 Residents have

 also reported their homes shaking during past launches. According to residents, this shaking was

 more pronounced during the April 20th launch, and at least one person has reported a broken

 window as a result of the launch’s impacts. 136

           Despite the FAA categorizing explosions of this nature “anomalies”137, ongoing

 explosions at the SpaceX launch site in Boca Chica should be expected given the SpaceX ethos of

 learning from failure and disregard for launch impacts. 138 Multiple news outlets have reported that

 SpaceX’s progress is the result of taking significant risks to learn from their mistakes.139

 However, SpaceX’s apathetic approach towards risk also results in a blind eye for safety concerns

 known to the company prior to launches. For instance, in December 2020, SpaceX ignored FAA’s

 determination that a starship launch would violate the company’s launch license. That launch

 ended in an explosion at the rocket’s landing.140 Although no individuals or homes were


 135
       FAA PEA
 136
       https://www.nytimes.com/2023/04/21/us/spacex-rocket-dust-texas.html
 137
    FAA PEA – 29 “A Starship/Super Heavy test operation or launch could result in a deviation
 from what is expected (referred to as an anomaly). An anomaly on the launch pad could cause fire
 on the launch pad and/or an explosion that spreads debris.” The PEA goes on to say that such
 anomalies are “unexpected.”
 138
    See e.g. Tweet from Elon Musk, Apr. 20, 2023 (Following the explosion that left a 25-ft crater
 in Boca Chica “Congrats @SpaceX team on an exciting test launch of Starship! Learned a lot for
 next test launch in a few months.”) Available at:
 https://twitter.com/elonmusk/status/1649050306943266819
 139
     https://www.theverge.com/2023/4/26/23699365/spacex-starship-damage-launch-pad-debris
 (“SpaceX’s high tolerance of risk is what has enabled the company to make such impressive
 strides forward in areas like reusable rockets”); https://www.space.com/every-spacex-starship-
 explosion-lessons-learned (discussing that SpaceX’s prototype spacecraft has been a risky and
 explosive process “simply because Starship is a new system trying to do unusual things.”)
 140
    https://www.theverge.com/2021/6/15/22352366/elon-musk-spacex-faa-warnings-starship-sn8-
 launch-violation-texas

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 impacted, the FAA’s concern was that impacts from an in-air explosion would extend to people’s

 homes. 141 SpaceX launched its prototype anyway. Similarly, SpaceX knew that a steel plate

 would prevent the launch pad from disintegrating during the April 20, 2023 launch but chose to

 proceed with the launch even though the plate was not ready. 142

             It appears that the frequency of explosions at the SpaceX launch site has resulted in more

 significant environmental impacts than FERC’s FEIS or the FAA’s PEA disclosed. Relatedly, the

 FAA has now been sued by several organizations for its failure to evaluate the true impacts of the

 program, including frequency of lost access to public spaces used by both indigenous tribes and

 the public at large,143 increased wildlife mortality, 144 damage to essential wildlife habitat, 145

 including losses from fires which release PM2.5146 a criteria pollutant that is already near the

 NAAQS in the local area, 147 as well as increased activities and explosive “anomalies” than

 predicted by the PEA or authorized. 148

             FERC’s previous analysis of safety and cumulative impacts based on the proximity of the

 Terminal to the SpaceX launch site and current environmental conditions 31 and 114 that Texas


 141
       Id.
 142
    https://twitter.com/elonmusk/status/1649523985837686784.;
 https://www.theverge.com/2023/4/26/23699365/spacex-starship-damage-launch-pad-debris
 143
       CBD v. FAA, petition 72-23.
 144
    Id. at 69. This includes the same migratory birds impacted by the construction and operation of
 the Project.
 145
       Id. 66-68.
 146
    https://www.epa.gov/wildfire-smoke-course/why-wildfire-smoke-health-
 concern#:~:text=Fine%20particles%20(also%20known%20as,are%20of%20greatest%20health%
 20concern.
 147
       See infra § II(B)(5).
 148
       CBD v. FAA, petition 63.

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 LNG must develop response procedures for SpaceX launches is insufficient. Experientially,

 SpaceX has demonstrated a disregard of FAA safety guidance. Its program has also demonstrated

 that launches can have impacts far outside FAA’s impact zone. FERC must supplement its initial

 environmental analysis to evaluate the potential for cascading impacts from future failed launches

 of the Starship Super Heavy, including particulate matter potentially distributed by future

 launches that may coat the terminal and vibrations that are strong enough to shatter glass several

 miles away. 149 The radius of particulate matter extended as far away as 7 miles encompassing the

 Texas site.150 FERC should also evaluate the cumulative impacts of SpaceX’s launches, launch

 failures, and the simultaneous operation of Texas LNG on the environmental justice communities

 located in the vicinity of the terminal and the SpaceX launch site. Finally, FERC should

 reconsider whether it is in the public interest to have an export terminal, pipeline, and tankers for

 volatile and combustible liquids so close to a site where rocket launches and landings are

 repeatedly resulting in explosions and fires.



                                           II.    Conclusion

        For the reasons stated above, Sierra Club hereby requests rehearing of the Remand Order

 and that FERC rescind the certificate order.

 Respectfully submitted May 22, 2023



 149
    See Wild Virginia v. United State Forest Service, 24 F.4th 915, 927-29 (4th Cir. 2022)
 (Finding NEPA violation when Forest Service and BLM violated NEPA when they failed to
 consider real-world data which indicated modeled impacts were unreasonable and inconsistent
 with actual impacts.)
 150
     On April 27, 2023, FERC requested environmental information from NextDecade relating to
 failed April 20th SpaceX launch and the possible impact on the Rio Grande LNG terminal. It does
 not appear that FERC issued such request for the Texas LNG terminal.

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                                CERTIFICATE OF SERVICE



         I hereby certify that I have this day caused the foregoing document to be served upon

  each person designated on the official service list compiled by the Secretary in this proceeding.



  Dated at Oakland, CA May 22, 2023.




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                     CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of March, 2024, I

 electronically filed the foregoing Joint Appendix with the Clerk of the

 Court using the CM/ECF system, which will send notice of such filing

 to all registered CM/ECF users.

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